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                   EXHIBIT 2
                  To Notice of Removal
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 2 of 1049 PageID #: 14
                                         SUPERIOR COURT
                                                     EFiled: Apr 01 2022 12:17PM EDT
                            CIVIL CASE INFORMATION STATEMENT
                                                     Transaction ID(CIS)
                                                                    67446229
                                                                  Case No. N22C-04-010 MMJ CCLD
COUNTY:        N        K        S                CIVIL ACTION NUMBER: ____________________________________

 AMTRUST FINANCIAL SERVICES, INC.,
                                                                     CIVIL CASE CODE: CCLD
                   Plaintiff,                                        CIVIL CASE TYPE:
                                                                      COMPLEX COMMERCIAL LITIGATION
                   v.                                                (SEE REVERSE SIDE FOR CODE AND TYPE)

                                                                     NAME AND STATUS OF PARTY FILING DOCUMENT:
 FORGE UNDERWRITING LIMITED,                                         PLAINTIFF AMTRUST FINANCIAL
 ASPEN SYNDICATE 4711, MARKEL                                        SERVICES, INC.
 BERMUDA, LIMITED, ALLIANZ GLOBAL
 US RISKS INSURANCE COMPANY, ARCH                                    DOCUMENT TYPE:(E.G., COMPLAINT, ANSWER WITH
 INSURANCE COMPANY, IRONSHORE
                                                                     COUNTERCLAIM)
 INDEMNITY, INC., and U.S. SPECIALTY
 INSURANCE COMPANY,                                                  COMPLAINT

                   Defendants.                                       JURY DEMAND: YES            X      NO ___


 ATTORNEY NAME(S):                                                   IDENTIFY ANY RELATED CASES NOW PENDING IN THE
 DAVID J. BALDWIN (NO. 1010                                          SUPERIOR COURT BY CAPTION AND CIVIL ACTION NUMBER
 PETER C. MCGIVNEY (NO. 5779)                                        INCLUDING JUDGE’S INITIAL

 ZACHARY J. SCHNAPP (NO. 6914)                                       N/A.
 Firm Name:
 BERGER HARRIS LLP                                                   EXPLAIN THE RELATIONSHIP(S): N/A.
 Address:
 1105 N. MARKET STREET, 11th FLOOR                                   OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:
 WILMINGTON, DE 19801
 Telephone Number: (302) 655-1140
                                                                     N/A.
 Fax Number:  (302) 655-1131
           dbaldwin@bergerharris.com
 E-Mail Address:                                                     (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGES)
 pmcgivney@bergerharris.com
 zschnapp@bergerharris.com
 THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL THE CASE
 INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND TO HAVE THE PLEADING PROCESSED FOR SERVICE MAY RESULT IN THE
 DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.
553603
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 3 of 1049 PageID #: 15
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 4 of 1049 PageID #: 16
                                               EFiled: Apr 01 2022 12:17PM EDT
                                               Transaction ID 67446229
                                               Case No. N22C-04-010 MMJ CCLD




                   EXHIBIT A
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 5 of 1049 PageID #: 17
Policy Number:     US00080794DO17A                   Indian Harbor Insurance Company
Renewal of Number:        N/A                                                     Members of the XL America Companies



      EXECUTIVE AND CORPORATE SECURITIES
    LIABILITY INSURANCE POLICY DECLARATIONS


Regulatory Office                                                                                    Executive Offices
505 Eagleview Blvd. Suite 100                                                                       70 Seaview Avenue
Dept: Regulatory                                                                              Stamford, CT 06902-6040
Exton, PA 19341-1120                                                                           Telephone 877-953-2636
Telephone 800-688-1840

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS POLICY ONLY APPLIES TO CLAIMS
FIRST MADE DURING THE POLICY PERIOD OR, IF APPLICABLE, THE OPTIONAL EXTENSION PERIOD. THE LIMIT OF
LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY THE
PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND
ANY INSURED. PLEASE READ AND REVIEW THE POLICY CAREFULLY.

THE INSURER(S) NAMED HEREIN IS (ARE) NOT LICENSED BY THE STATE OF NEW YORK, NOT SUBJECT TO
ITS SUPERVISION, AND IN THE EVENT OF THE INSOLVENCY OF THE INSURER(S), NOT PROTECTED BY THE
NEW YORK STATE SECURITY FUNDS. THE POLICY MAY NOT BE SUBJECT TO ALL OF THE REGULATIONS
OF THE INSURANCE DEPARTMENT PERTAINING TO POLICY FORMS.


Item 1. Name and Mailing Address of Parent Company:
        Amtrust Financial Services, Inc.
                           rd
        59 Maiden Lane, 43 Floor
        New York, NY 10038

Item 2. Policy Period: Inception Date: October 21, 2017             Expiration Date: October 21, 2018
               At 12:01AM Standard Time at your Mailing Address Shown Above

Item 3. Limit of Liability:
(A) $250,000        Maximum Aggregate Sublimit of Liability each Policy Period for all Investigation Demands

(B) $5,000,000      Maximum Aggregate Limit of Liability each Policy Period (including Defense Expenses) for all
                    Loss from all Claims, Investigation Demands and Interviews

Item 4. Retentions:
          $0.00           each Insured Person under INSURING AGREEMENT I (A) or (D)
          $5,000,000      each Claim, other than a Securities Claim, under INSURING AGREEMENT I (B) or (E)
          $5,000,000      each Securities Claim under INSURING AGREEMENT I (B) or (C)
          $0.00           each Investigation Demand under INSURING AGREEMENT I (F)
Item 5. Optional Extension Period:
         Length of Optional Extension Period: One Year after the end of the Policy Period, if elected.
         Premium for Optional Extension Period:   $1,000,000.00
Item 6. Pending and Prior Litigation Date:          October 21, 2017

Item 7. Notices required to be given to the Insurer must be addressed to:
         XL Professional Insurance
                                   th
         100 Constitution Plaza, 17 Floor
         Hartford, CT 06103
         Toll Free Telephone: 877-953-2636 or proclaimnewnotices@xlcatlin.com
Item 8. Premium:
        Taxes, Surcharges or Fees        $0.00
        Total Policy Premium             $500,000.00
BR 70 01 0914                                                                                                Page 1 of 2
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         EXECUTIVE AND CORPORATE SECURITIES LIABILITY INSURANCE POLICY DECLARATIONS


Item 9. Policy Form and Endorsements Attached at Issuance:
BR 71 00 09 14 XL 80 24 03 03 IHIC-NYSOP (02/07) BR 83 63 11 16 XL 83 13 05 00 BR 83 11 03 15
BR 83 106 07 17 XL 80 72 06 13 XL 80 74 07 13 XL 80 75 07 14

THESE DECLARATIONS AND THE POLICY, WITH THE ENDORSEMENTS, ATTACHMENTS, AND THE APPLICATION SHALL CONSTITUTE THE
ENTIRE AGREEMENT BETWEEN THE INSURER AND THE INSURED RELATING TO THIS INSURANCE.




BR 70 01 09 14                                                                                     Page 2 of 2
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                                             IN WITNESS

                             INDIAN HARBOR INSURANCE COMPANY

                                       REGULATORY OFFICE
                               505 EAGLEVIEW BOULEVARD, SUITE 100
                                    DEPARTMENT: REGULATORY
                                      EXTON, PA 19341-1120
                                       PHONE: 800-688-1840



 It is hereby agreed and understood that the following In Witness Clause supercedes any and all other
 In Witness clauses in this policy.

 All other provisions remain unchanged.




 IN WITNESS WHEREOF, the Insurer has caused this policy to be executed and attested, and, if
 required by state law, this policy shall not be valid unless countersigned by a duly authorized
 representative of the Insurer.




  Joseph Tocco                                              Toni Ann Perkins
  President                                                 Secretary




LAD 400 0314 IHIC                                                                               Page 1 of 1
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                              NOTICE TO POLICYHOLDERS


     U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN ASSETS CONTROL
                               (“OFAC”)

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions
 of your policy. You should read your policy and review your Declarations page for complete
 information on the coverages you are provided.

 This Policyholder Notice provides information concerning possible impact on your insurance
 coverage due to the impact of U.S. Trade Sanctions1. Please read this Policyholder Notice carefully.

 In accordance with the U.S. Department of the Treasury’s Office of Foreign Assets Control (“OFAC”)
 regulations, or any other U.S. Trade Sanctions applied by any regulatory body, if it is determined that
 you or any other insured, or any person or entity claiming the benefits of this insurance has violated
 U.S. sanctions law, is a Specially Designated National and Blocked Person (“SDN”), or is owned or
 controlled by an SDN, this insurance will be considered a blocked or frozen contract. When an
 insurance policy is considered to be such a blocked or frozen contract, neither payments nor
 premium refunds may be made without authorization from OFAC. Other limitations on the premiums
 and payments also apply.



 1
   “U.S Trade Sanctions” may be promulgated by Executive Order, act of Congress, regulations from
 the U.S. Departments of State, Treasury, or Commerce, regulations from the State Insurance
 Departments, etc.




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                   POLICYHOLDER DISCLOSURE
                          NOTICE OF TERRORISM
                          INSURANCE COVERAGE

Coverage for acts of terrorism is already included in your current policy. You are hereby notified
that under the Terrorism Risk Insurance Act, as amended in 2015, the definition of act of terrorism
has changed. As defined in Section 102(1) of the Act: The term “act of terrorism” means any act
that is certified by the Secretary of the Treasury, in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States—to be an act of terrorism; to be a violent
act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
damage within the United States, or outside the United States in the case of certain air carriers or
vessels or the premises of a United States mission; and to have been committed by an individual or
individuals as part of an effort to coerce the civilian population of the United States or to influence
the policy or affect the conduct of the United States Government by coercion. Under your existing
coverage, any losses resulting from certified acts of terrorism may be partially reimbursed by the
United States Government under a formula established by federal law. Under this formula, the
United States Government generally reimburses 85% through 2015; 84% beginning on January 1,
2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on
January 1, 2019; and 80% beginning on January 1, 2020, of covered terrorism losses exceeding the
statutorily established deductible paid by the insurance company providing the coverage.
However, your policy may contain other exclusions that may affect your coverage. The Terrorism
Risk Insurance Act, as amended, contains a $100 billion cap that limits U.S. Government
reimbursement as well as insurers’ liability for losses resulting from certified acts of terrorism
when the amount of such losses exceeds $100 billion in any one calendar year. If the aggregate
insured losses for all insurers exceed $100 billion, your coverage may be reduced.

The portion of your annual premium that is attributable to coverage for acts of terrorism is:
$ waived. Any premium waiver is only valid for the current Policy Period.


I ACKNOWLEDGE THAT I HAVE BEEN NOTIFIED THAT UNDER THE TERRORISM RISK INSURANCE
ACT, AS AMENDED, ANY LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM UNDER MY
POLICY COVERAGE MAY BE PARTIALLY REIMBURSED BY THE UNITED STATES GOVERNMENT
AND I HAVE BEEN NOTIFIED OF THE AMOUNT OF MY PREMIUM ATTRIBUTABLE TO SUCH
COVERAGE.

Name of Insurer:   Indian Harbor Insurance Company

Policy Number:     US00080794DO17A


____________________________
Signature of Insured

____________________________
Print Name and Title

____________________________
Date
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                               NOTICE TO POLICYHOLDERS

                                                PRIVACY POLICY

The XL Catlin insurance group (the “Companies”), believes personal information that we collect about our
customers, potential customers, and proposed insureds (referred to collectively in this Privacy Policy as
“customers”) must be treated with the highest degree of confidentiality. For this reason and in compliance with
the Title V of the Gramm-Leach-Bliley Act (“GLBA”), we have developed a Privacy Policy that applies to all of our
companies. For purposes of our Privacy Policy, the term “personal information” includes all information we obtain
about a customer and maintain in a personally identifiable way. In order to assure the confidentiality of the
personal information we collect and in order to comply with applicable laws, all individuals with access to personal
information about our customers are required to follow this policy.

Our Privacy Promise

Your privacy and the confidentiality of your business records are important to us. Information and the analysis of
information is essential to the business of insurance and critical to our ability to provide to you excellent, cost-
effective service and products. We understand that gaining and keeping your trust depends upon the security and
integrity of our records concerning you. Accordingly, we promise that:

1. We will follow strict standards of security and confidentiality to protect any information you share with us or
   information that we receive about you;
2. We will verify and exchange information regarding your credit and financial status only for the purposes of
   underwriting, policy administration, or risk management and only with reputable references and clearinghouse
   services;
3. We will not collect and use information about you and your business other than the minimum amount of
   information necessary to advise you about and deliver to you excellent service and products and to administer
   our business;
4. We will train our employees to handle information about you or your business in a secure and confidential
   manner and only permit employees authorized to use such information to have access to such information;
5. We will not disclose information about you or your business to any organization outside the XL Catlin
   insurance group of Companies or to third party service providers unless we disclose to you our intent to do so
   or we are required to do so by law;
6. We will not disclose medical information about you, your employees, or any claimants under any policy of
   insurance, unless you provide us with written authorization to do so, or unless the disclosure is for any
   specific business exception provided in the law;
7. We will attempt, with your help, to keep our records regarding you and your business complete and accurate,
   and will advise you how and where to access your account information (unless prohibited by law), and will
   advise you how to correct errors or make changes to that information; and
8. We will audit and assess our operations, personnel and third party service providers to assure that your
   privacy is respected.

Collection and Sources of Information

We collect from a customer or potential customer only the personal information that is necessary for (a)
determining eligibility for the product or service sought by the customer, (b) administering the product or service
obtained, and (c) advising the customer about our products and services. The information we collect generally
comes from the following sources:
 Submission – During the submission process, you provide us with information about you and your business,
    such as your name, address, phone number, e-mail address, and other types of personal identification
    information;
 Quotes – We collect information to enable us to determine your eligibility for the particular insurance product
    and to determine the cost of such insurance to you. The information we collect will vary with the type of
    insurance you seek;
 Transactions – We will maintain records of all transactions with us, our affiliates, and our third party service
    providers, including your insurance coverage selections, premiums, billing and payment information, claims
    history, and other information related to your account;
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                                NOTICE TO POLICYHOLDERS
   Claims – If you obtain insurance from us, we will maintain records related to any claims that may be made
    under your policies. The investigation of a claim necessarily involves collection of a broad range of
    information about many issues, some of which does not directly involve you. We will share with you any facts
    that we collect about your claim unless we are prohibited by law from doing so. The process of claim
    investigation, evaluation, and settlement also involves, however, the collection of advice, opinions, and
    comments from many people, including attorneys and experts, to aid the claim specialist in determining how
    best to handle your claim. In order to protect the legal and transactional confidentiality and privileges
    associated with such opinions, comments and advice, we will not disclose this information to you; and
   Credit and Financial Reports – We may receive information about you and your business regarding your
    credit. We use this information to verify information you provide during the submission and quote processes
    and to help underwrite and provide to you the most accurate and cost-effective insurance quote we can
    provide.

Retention and Correction of Personal Information

We retain personal information only as long as required by our business practices and applicable law. If we
become aware that an item of personal information may be materially inaccurate, we will make reasonable effort
to re-verify its accuracy and correct any error as appropriate.

Storage of Personal Information

We have in place safeguards to protect data and paper files containing personal information.

Sharing/Disclosing of Personal Information

We maintain procedures to assure that we do not share personal information with an unaffiliated third party for
marketing purposes unless such sharing is permitted by law. Personal information may be disclosed to an
unaffiliated third party for necessary servicing of the product or service or for other normal business transactions
as permitted by law.

We do not disclose personal information to an unaffiliated third party for servicing purposes or joint marketing
purposes unless a contract containing a confidentiality/non-disclosure provision has been signed by us and the
third party. Unless a consumer consents, we do not disclose “consumer credit report” type information obtained
from an application or a credit report regarding a customer who applies for a financial product to any unaffiliated
third party for the purpose of serving as a factor in establishing a consumer’s eligibility for credit, insurance or
employment. “Consumer credit report type information” means such things as net worth, credit worthiness,
lifestyle information (piloting, skydiving, etc.) solvency, etc. We also do not disclose to any unaffiliated third party
a policy or account number for use in marketing. We may share with our affiliated companies information that
relates to our experience and transactions with the customer.

Policy for Personal Information Relating to Nonpublic Personal Health Information

We do not disclose nonpublic personal health information about a customer unless an authorization is obtained
from the customer whose nonpublic personal information is sought to be disclosed. However, an authorization
shall not be prohibited, restricted or required for the disclosure of certain insurance functions, including, but not
limited to, claims administration, claims adjustment and management, detection, investigation or reporting of
actual or potential fraud, misrepresentation or criminal activity, underwriting, policy placement or issuance, loss
control and/or auditing.

Access to Your Information

Our employees, employees of our affiliated companies, and third party service providers will have access to
information we collect about you and your business as is necessary to effect transactions with you. We may also
disclose information about you to the following categories of person or entities:


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                                  NOTICE TO POLICYHOLDERS
   Your independent insurance agent or broker;
   An independent claim adjuster or investigator, or an attorney or expert involved in the claim;
   Persons or organizations that conduct scientific studies, including actuaries and accountants;
   An insurance support organization;
   Another insurer if to prevent fraud or to properly underwrite a risk;
   A state insurance department or other governmental agency, if required by federal, state or local laws; or
   Any persons entitled to receive information as ordered by a summons, court order, search warrant, or
    subpoena.

Violation of the Privacy Policy

Any person violating the Privacy Policy will be subject to discipline, up to and including termination.




For more information or to address questions regarding this privacy statement, please contact your broker.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 13 of 1049 PageID #: 25
                         NOTICE TO POLICYHOLDERS

                                           FRAUD NOTICE


   Arkansas       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
                  of a crime and may be subject to fines and confinement in prison.
   Colorado       It is unlawful to knowingly provide false, incomplete, or misleading facts or
                  information to an insurance company for the purpose of defrauding or
                  attempting to defraud the company. Penalties may include imprisonment, fines,
                  denial of insurance, and civil damages. Any insurance company or agent of an
                  insurance company who knowingly provides false, incomplete, or misleading
                  facts or information to a policyholder or claimant for the purpose of defrauding
                  or attempting to defraud the policyholder or claimant with regard to a settlement
                  or award payable from insurance proceeds shall be reported to the Colorado
                  Division of Insurance within the Department of Regulatory Agencies.
   District of    WARNING: It is a crime to provide false or misleading information to an insurer for the
   Columbia       purpose of defrauding the insurer or any other person. Penalties include imprisonment
                  and/or fines. In addition, an insurer may deny insurance benefits if false information
                  materially related to a claim was provided by the applicant.
   Florida        Any person who knowingly and with intent to injure, defraud, or deceive any insurer
                  files a statement of claim or an application containing any false, incomplete, or
                  misleading information is guilty of a felony of the third degree.
   Kansas         A "fraudulent insurance act" means an act committed by any person who, knowingly
                  and with intent to defraud, presents, causes to be presented or prepares with
                  knowledge or belief that it will be presented to or by an insurer, purported insurer,
                  broker or any agent thereof, any written, electronic, electronic impulse, facsimile,
                  magnetic, oral, or telephonic communication or statement as part of, or in support of, an
                  application for the issuance of, or the rating of an insurance policy for personal or
                  commercial insurance, or a claim for payment or other benefit pursuant to an insurance
                  policy for commercial or personal insurance which such person knows to contain
                  materially false information concerning any fact material thereto; or conceals, for the
                  purpose of misleading, information concerning any fact material thereto.
   Kentucky       Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance containing any materially false information or
                  conceals, for the purpose of misleading, information concerning any fact material
                  thereto commits a fraudulent insurance act, which is a crime.
   Louisiana      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
                  of a crime and may be subject to fines and confinement in prison.
   Maine          It is a crime to knowingly provide false, incomplete or misleading information to an
                  insurance company for the purpose of defrauding the company. Penalties may include
                  imprisonment, fines, or denial of insurance benefits.
   Maryland       Any person who knowingly or willfully presents a false or fraudulent claim for payment
                  of a loss or benefit or who knowingly or willfully presents false information in an
                  application for insurance is guilty of a crime and may be subject to fines and
                  confinement in prison.
   New Jersey     Any person who includes any false or misleading information on an application for an
                  insurance policy is subject to criminal and civil penalties.
   New Mexico     ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM
                  FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE
                  INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME
                  AND MAY BE SUBJECT TO CIVIL FINES AND CRIMINAL PENALTIES.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 14 of 1049 PageID #: 26
                         NOTICE TO POLICYHOLDERS

   New York       General: All applications for commercial insurance, other than automobile
                  insurance: Any person who knowingly and with intent to defraud any insurance
                  company or other person files an application for insurance or statement of claim
                  containing any materially false information, or conceals for the purpose of misleading,
                  information concerning any fact material thereto, commits a fraudulent insurance act,
                  which is a crime, and shall also be subject to a civil penalty not to exceed five thousand
                  dollars and the stated value of the claim for each such violation.

                  All applications for automobile insurance and all claim forms: Any person who
                  knowingly makes or knowingly assists, abets, solicits or conspires with another to make
                  a false report of the theft, destruction, damage or conversion of any motor vehicle to a
                  law enforcement agency, the department of motor vehicles or an insurance company,
                  commits a fraudulent insurance act, which is a crime, and shall also be subject to a civil
                  penalty not to exceed five thousand dollars and the value of the subject motor vehicle
                  or stated claim for each violation.

                  Fire: Any person who knowingly and with intent to defraud any insurance company or
                  other person files an application for insurance containing any false information, or
                  conceals for the purpose of misleading, information concerning any fact material
                  thereto, commits a fraudulent insurance act, which is a crime.

                  The proposed insured affirms that the foregoing information is true and agrees that
                  these applications shall constitute a part of any policy issued whether attached or not
                  and that any willful concealment or misrepresentation of a material fact or
                  circumstances shall be grounds to rescind the insurance policy.
   Ohio           Any person who, with intent to defraud or knowing that he is facilitating a fraud against
                  an insurer, submits an application or files a claim containing a false or deceptive
                  statement is guilty of insurance fraud.
   Oklahoma       WARNING: Any person who knowingly, and with intent to injure, defraud or deceive
                  any insurer, makes any claim for the proceeds of an insurance policy containing any
                  false, incomplete or misleading information is guilty of a felony.
   Pennsylvania   All Commercial Insurance, Except As Provided for Automobile Insurance:
                  Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance or statement of claim containing any materially
                  false information or conceals for the purpose of misleading, information concerning any
                  fact material thereto commits a fraudulent insurance act, which is a crime and subjects
                  such person to criminal and civil penalties.

                  Automobile Insurance: Any person who knowingly and with intent to injure or defraud
                  any insurer files an application or claim containing any false, incomplete or misleading
                  information shall, upon conviction, be subject to imprisonment for up to seven years
                  and the payment of a fine of up to $15,000.
   Puerto Rico    Any person who knowingly and with the intention of defrauding presents false
                  information in an insurance application, or presents, helps, or causes the
                  presentation of a fraudulent claim for the payment of a loss or any other benefit,
                  or presents more than one claim for the same damage or loss, shall incur a
                  felony and, upon conviction, shall be sanctioned for each violation by a fine of
                  not less than five thousand dollars ($5,000) and not more than ten thousand
                  dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both
                  penalties. Should aggravating circumstances [be] present, the penalty thus
                  established may be increased to a maximum of five (5) years, if extenuating
                  circumstances are present, it may be reduced to a minimum of two (2) years.




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                             NOTICE TO POLICYHOLDERS

   Rhode Island       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                      benefit or knowingly presents false information in an application for insurance is guilty
                      of a crime and may be subject to fines and confinement in prison.
   Tennessee          All Commercial Insurance, Except As Provided for Workers’ Compensation It is a
                      crime to knowingly provide false, incomplete or misleading information to an insurance
                      company for the purpose of defrauding the company. Penalties include imprisonment,
                      fines and denial of insurance benefits.

                      Workers’ Compensation: It is a crime to knowingly provide false, incomplete or
                      misleading information to any party to a workers’ compensation transaction for the
                      purpose of committing fraud. Penalties include imprisonment, fines and denial of
                      insurance benefits.
   Utah               Workers’ Compensation: Any person who knowingly presents false or fraudulent
                      underwriting information, files or causes to be filed a false or fraudulent claim for
                      disability compensation or medical benefits, or submits a false or fraudulent report or
                      billing for health care fees or other professional services is guilty of a crime and may be
                      subject to fines and confinement in state prison.
   Virginia           It is a crime to knowingly provide false, incomplete or misleading information to an
                      insurance company for the purpose of defrauding the company. Penalties include
                      imprisonment, fines and denial of insurance benefits.
   Washington         It is a crime to knowingly provide false, incomplete or misleading information to an
                      insurance company for the purpose of defrauding the company. Penalties include
                      imprisonment, fines and denial of insurance benefits.
   West Virginia      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                      benefit or knowingly presents false information in an application for insurance is guilty
                      of a crime and may be subject to fines and confinement in prison.
   All Other States   Any person who knowingly and willfully presents false information in an application for
                      insurance may be guilty of insurance fraud and subject to fines and confinement in
                      prison. (In Oregon, the aforementioned actions may constitute a fraudulent insurance
                      act which may be a crime and may subject the person to penalties).




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                                                                                                XL 80 24 03 03
Endorsement No.: 1                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                  TERRORISM PREMIUM ENDORSEMENT


Please note: The portion of your annual premium set forth in Item 8. of the Declarations that is attributable to
coverage for acts of terrorism is: $ waived.




All other terms, conditions and limitations of this Policy shall remain unchanged.




XL 80 24 03 03                                                                                            Page 1 of 1
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 17 of 1049 PageID #: 29
Endorsement No.: 2                                           Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.              12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                  Insurer: Indian Harbor Insurance Company




                     SERVICE OF PROCESS ENDORSEMENT

Indian Harbor Insurance Company (hereafter referred to as "the Company") pursuant to the provisions of
Regulation 41, promulgated by New York (11 NYCRR 27.16) by issuance of this policy hereby appoints
the Superintendent of Insurance of the State of New York to be its true and lawful attorney upon whom
may be served all lawful process in any proceeding instituted by or on behalf of an insured or beneficiary
arising out of this insurance policy. The Company hereby signifies its agreement that service of process
in such manner is of the same legal force and validity as personal service of process in New York upon
the Company.

For Illinois exposures, the Insurer further designates the Director of the Illinois Division of Insurance and
his successors in office, as its true and lawful attorney upon whom may be served any lawful process in
any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary hereunder
arising out of an Illinois exposure and this contract of insurance.


All other terms and conditions of this policy remain unchanged.




IHIC-NYSOP (02/07)
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                                                                                                BR 83 63 11 16
Endorsement No.: 3                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                               GENERAL E&O EXCLUSION

In consideration of the premium charged, no coverage will be available under this Policy for Loss from any Claim,
Interview or Investigation Demand based upon, arising out of, directly or indirectly resulting from, in consequence
of, or in any way involving any actual or alleged act, error, omission, misstatement, misleading statement or
breach of duty in connection with the rendering of, or actual or alleged failure to render, any services for others for
a fee or commission or on any other compensated basis by any person or entity otherwise entitled to coverage
under this Policy.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                XL 83 13 05 00
Endorsement No.: 4                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




          INSURANCE COMPANY ERRORS AND OMISSIONS
                      ENDORSEMENT


In consideration of the premium charged:

(1)     Whenever used in this endorsement, the term “Insurance Contract” means any policy or agreement of
        insurance, reinsurance or indemnity, including but not limited to bonds, annuities, endowments, pension
        contracts and risk management self-insurance programs, pools or similar programs.

(2)     No coverage will be available under this Policy for Loss, including Defense Expenses, resulting from any
        Claim based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
        involving:

        (a)      any actual or alleged refusal to offer, issue or renew, or the cancellation of, any Insurance
                 Contract;

        (b)      any actual or alleged failure or refusal to pay or in the delay in the payment of, benefits due or
                 alleged to have been due under any Insurance Contract;

        (c)      any actual or alleged lack of good faith or unfair dealing in the handling of any claim or obligation
                 under any Insurance Contract, or in the brokering or underwriting of insurance policies or risks;

        (d)      any actual or alleged conduct of the Company or of any Insured Person as an insurance agent or
                 broker in the negotiation, placement or maintenance of any Insurance Contract; or

        (e)      any actual or alleged failure to effect or maintain reinsurance.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                BR 83 11 03 15
Endorsement No.: 5                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                                PRIOR ACTS EXCLUSION


In consideration of the premium charged, no coverage will be available for any Claim, Interview or Investigation
Demand based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way involving
any act, error, omission, misstatement, misleading statement, neglect, breach of duty or Wrongful Act committed
or allegedly committed prior to October 21, 2017.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                               BR 83 106 07 17
Endorsement No.: 6                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




 SPECIFIC INVESTIGATION/CLAIM/LITIGATION/EVENT OR
                 ACT ENDORSEMENT


In consideration of the premium charged, without in any way limiting the effectiveness of Section III Exclusions
(B)(1) and (2) of the Policy, no coverage shall be available under this Policy for any Loss in connection with: (i)
any of the Claim(s), Interview(s), Investigation Demand(s), notices, events, investigations or actions set forth in
subparagraph (1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16) (hereinafter “Events”); (ii) the prosecution, adjudication,
settlement, disposition, resolution or defense of: (a) any Event; or (b) any Claim, Interview or Investigation
Demand arising from any Event; or (iii) any Wrongful Act, underlying facts, circumstances, acts or omissions in
any way relating to any Event.

EVENT(S)

(1) Erk Erginer, Derivatively on Behalf of Nominal Defendant AmTrust Financial Services, Inc., Plaintiff, v.
     Michael Karfunkel, George Karfunkel, Barry D. Zyskind, Donald T. DeCarlo, Abraham Gulkowitz, Isaac M.
     Neuberger, Jay J. Miller, Max G. Caviet, Ronald E. Pipoly, Jr., Maiden Holdings, Ltd., Maiden Insurance
     Company, Ltd., Defendants and AmTrust Financial Services, Inc., Nominal Defendant. Listed on 10k filed on
     3/15/2009
(2) Tower Group Stockholder Derivative Lawsuit received by AIG on 4/22/2017, Case Number: 13-cv-5852-AT
     (S.D.N.Y.)
(3) Cambridge Retirement Systems Stockholder Derivative Action filed on 4/07/2017, Case Number: 10879-CB
(4) Shaya Lerner Stockholder Derivative Action received by AIG on 2/08/2018, Index Number: 650538/2016
(5) David Shaev Profit Sharing Plan Stockholder Derivative Action filed on 04/27/2017
(6) Lily Ding Stockholder Derivative Action filed on 4/19/2017, Case Number : 1:17-cv-00433
(7) Benjamin Miller Class Action lawsuit recived by AIG on 3/08/2017, Case Number: 2:17-cv-01608
(8) West Palm Beach Police Pension Fund Stockholder Derivative Action filed on 5/11/2017, Case Number:
     1:17-cv-00553
(9) City of Lauderhill Police Officers Retirement Plan Stockholder Derivative Action filed on 6/28/2017
     U.S. District Court for the District of Delaware case number 1:17-cv-00843-UNA
(10) Pompano Beach Police & Firefighters Retirement System Stockholder Derivative Action filed on 6/28/2017
     U.S. District Court for the District of Delaware case number 1:17-cv-00843-UNA
(11) In re AmTrust Financial Services, Inc. Securities Litigation listed on 10Q filed 8/09/2017
(12) Miller v. AmTrust, Zyskind, and Pipoly listed on 10Q filed 8/09/2017
(13) Rubel v. AmTrust, Zyskind, and Pipoly; Sachetti v. AmTrust, Zyskind, and Pipoly listed on 10Q 8/09/2017
(14) Albano v. AmTrust Financial Services, Inc. et al. listed on 10Q filed 8/09/2017
(15) Rikhard Dauber, Pompano Beach Police & Firefighters Retirement System, Nestor Shust, and the City of
     Lauderhill Police Officers’ Retirement Plan Books and Records demands filed in April, May and June, 2017
(16) Trust Risk Group Dispute listed on 10k filed on 02/29/2016

It is further understood and agreed that no coverage shall be available under this Policy for any Loss in
connection with:

(A) any restatement, retraction, amendment or revision of in part or in whole:

        (i)     any document or statement filed or submitted or required to be filed or submitted with the
                Securities and Exchange Commission or any other similar federal, state or local agency
                (including but limited to any 10Ks, 10Qs or annual reports); or

        (ii)    any written or oral statement made regarding the assets, revenues, sales or financial conditions
                of the Company,
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        based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
        any Event or the resolution of said Event; and

B) any Claim, Interview or Investigation Demand based upon, arising out of, directly or indirectly resulting from,
in consequence of, or in any way involving an Interrelated Wrongful Act, regardless of whether or not such Claim,
Interview or Investigation Demand involved the same or different Insureds, the same or different legal causes of
action or the same or different claimants or is brought in the same or different venue or resolved in the same or
different forum.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                 XL 80 72 06 13
Endorsement No.: 7                                           Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.              12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                  Insurer: Indian Harbor Insurance Company


                            LINKED LIMIT ENDORSEMENT


In consideration of the premium charged, the Insured agrees with the Insurer that the total of all limits of liability
under this Policy and any and all other insurance policies issued or reinsured by the Insurer or its affiliates
scheduled hereunder to the Insured or any of the Insured’s worldwide affiliates, officers, directors, or employees,
(this Policy together with all such other policies being referred to herein as “Program Policies”) shall not exceed
the amount of the Program Aggregate Limit indicated below:

Program Aggregate Limit: $5,000,000

Schedule of Program Policies: (list all policies below):


              Named Insured                   Issuing XL Group           Policy Number            Policy Period
                                              Insurer
Policy 1      Amtrust Europe Ltd              XL Insurance Company       GB00072074DO17A          October 21, 2017 –
                                              SE                                                  October 21, 2018
Policy 2      Shanghai First Response         Ping An Property &         HK00015582DO17A          October 21, 2017 –
              Serivce Company Limited         Casualty Insurance                                  October 21, 2018
                                              Company of China, Ltd.
Policy 3      Amtrust International           XL Insurance Company       IE00018434DO17A          October 21, 2017 –
              Underwriters, LTD               SE                                                  October 21, 2018
Policy 4      Amtrust Insurance               XL Insurance Company       NL00007339DO17A          October 21, 2017 –
              Luxembourg SA                   SE                                                  October 21, 2018
Policy 5      All Insurance Management        XL Specialty Insurance     US00081230DO17A          October 21, 2017 –
              Limited                         Company                                             October 21, 2018

In the event that any payment is made under this Policy or any other Program Policy with the effect that the
Program Aggregate Limit is exceeded, the Insured under this Policy shall immediately upon the request of the
Insurer pay to the Insurer the sum of such excess.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                XL 80 74 07 13
Endorsement No.: 8                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




            SIMULTANEOUS TERMINATION ENDORSEMENT


In consideration of the premium charged, it is understood and agreed that if this Policy is canceled pursuant to
Section VI General Conditions (E)(1) or (E)(2) of the Policy, any and all other insurance policies issued or
reinsured by the Insurer or its affiliates scheduled below to the Insured or any of the Insured’s worldwide affiliates,
officers, directors, or employees, (this Policy together with all such other policies being referred to herein as
“Program Policies”), shall be deemed terminated and cancelled automatically and simultaneously with this Policy.

Schedule of Program Policies:

    #         Named Insured            Issuing XL Group Insurer          Policy Number             Policy Period
           Amtrust Europe Ltd          XL Insurance Company SE         GB00072074DO17A          October 21, 2017 –
    1
                                                                                                October 21, 2018
           Shanghai First              Ping An Property &              HK00015582DO17A          October 21, 2017 –
    2      Response Serivce            Casualty Insurance                                       October 21, 2018
           Company Limited             Company of China, Ltd.
           Amtrust International       XL Insurance Company SE         IE00018434DO17A          October 21, 2017 –
    3
           Underwriters, LTD                                                                    October 21, 2018
           Amtrust Insurance           XL Insurance Company SE         NL00007339DO17A          October 21, 2017 –
    4
           Luxembourg SA                                                                        October 21, 2018
           All Insurance               XL Specialty Insurance          US00081230DO17A          October 21, 2017 –
    5
           Management Limited          Company                                                  October 21, 2018




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                XL 80 75 07 14
Endorsement No.: 9                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                 WORLDWIDE COVERAGE ENDORSEMENT

In consideration of the premium charged, coverage available under this Policy shall extend outside the United
States of America, its territories or possessions anywhere in the world where legally permissible on an admitted
basis or under the following alternate bases of coverage:


            A. Permissible Unlicensed Coverage
            Coverage shall be provided on an unlicensed basis under Section I Insuring Agreements (A), (B) and
            (C) of the Policy within jurisdictions where the Insurer’s provision of coverage on an unlicensed basis
            is permissible via non-admitted, difference in condition, difference in limits coverage and/or pursuant
            to any relevant law or regulation applicable to the placement of coverage in the relevant jurisdiction;

            or

            B. Financial Interest Coverage
            Coverage shall be provided to the Parent Company for its financial interests pursuant to Section I
            Insuring Agreements (B) and (C) of the Policy located within jurisdictions where:

                 (i)     applicable law or regulation do not, to the best of the Insurer’s good faith knowledge,
                         allow it to provide coverage; and/or

                 (ii)    the Parent Company has elected that the Policy will not cover such entity directly but will
                         cover the Parent Company’s own financial interest in such entity.

            Where the financial interest coverage basis is triggered to indemnify the Parent Company under this
            Policy, the Insurer and Parent Company agree that:

                 (iii)   the Parent Company has a financial interest in the Companies intended to be covered
                         under Section I Insuring Agreements (B) and (C) of the Policy because the Parent
                         Company benefits financially from the continued operation of these Companies and/or
                         would be prejudiced by loss to, or damage to, or liability incurred by, or to Companies in
                         the operation of its business. Financial interest includes, but is not limited to, the value of
                         any direct or indirect shareholding of the Parent Company in such Companies intended to
                         be covered under Section I Insuring Agreements (B) and (C) of the Policy;

                 (iv)    subject to the terms, conditions, limitations and exceptions of this Policy, the Insurer shall
                         indemnify, by way of agreed valuation, the Parent Company in respect of its loss to its
                         financial interest, by payment to the Parent Company of a sum equal to that which would
                         be payable to the Companies intended to be covered under Section I Insuring
                         Agreements (B) and (C) of the Policy as if a policy with the same terms and conditions of
                         this Policy has been issued to such Companies in respect of its own interest, less the
                         amount of any indemnity actually received under any policy insuring such Companies in
                         respect of the same interest.

In all events this Endorsement shall not provide coverage to any entity or individual not otherwise provided
coverage under the terms, conditions and limitations of the Policy nor is this Endorsement intended to extend or
broaden the coverage otherwise available hereunder.

All other terms, conditions and limitations of the Policy shall remain unchanged.

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              EXECUTIVE AND CORPORATE SECURITIES LIABILITY INSURANCE COVERAGE FORM

      THIS IS A CLAIMS MADE POLICY WITH DEFENSE EXPENSES INCLUDED IN THE LIMIT OF LIABILITY.
                         PLEASE READ AND REVIEW THE POLICY CAREFULLY.

In consideration of the payment of the premium, and in reliance on all statements made and information
furnished to the Insurer identified in the Declarations (hereinafter the “Insurer”), including the Application,
and subject to all of the terms, conditions and limitations of all of the provisions of this Policy, the Insurer, the
Insured Persons and the Company agree as follows:

I.      INSURING AGREEMENTS

        (A)      The Insurer shall pay on behalf of the Insured Persons Loss resulting from a Claim first made
                 against the Insured Persons during the Policy Period for a Wrongful Act, except for Loss which the
                 Company is permitted or required to pay on behalf of the Insured Persons as indemnification.

        (B)      The Insurer shall pay on behalf of the Company Loss resulting from a Claim first made against the
                 Insured Persons during the Policy Period for a Wrongful Act to the extent the Company is required
                 or permitted to pay on behalf of the Insured Persons as indemnification.

        (C)      The Insurer shall pay on behalf of the Company Loss resulting solely from any Securities Claim first
                 made against the Company during the Policy Period for a Wrongful Act.

        (D)      The Insurer shall pay on behalf of the Insured Persons Defense Expenses resulting from an
                 Interview, except for Defense Expenses which the Company is permitted or required to pay on
                 behalf of the Insured Persons as indemnification.

        (E)      The Insurer shall pay on behalf of the Company Defense Expenses incurred by the Insured
                 Persons resulting from an Interview to the extent the Company is required or permitted to pay on
                 behalf of the Insured Persons such Defense Expenses.

        (F)      The Insurer shall pay on behalf of the Company Defense Expenses incurred by the Company
                 resulting from any Investigation Demand first made during the Policy Period.

II.     DEFINITIONS

        (A)      "Application" means:

                 (1)      any application, including attachments thereto, or any written information or representation,
                          provided to the Insurer by or on behalf of an Insured in connection with the underwriting of
                          this Policy; and

                 (2)      any publicly available document filed by the Company with the U.S. Securities and Exchange
                          Commission or any state, local or foreign equivalent during the twelve (12) months preceding
                          this Policy’s Inception Date.

        (B)      "Change In Control" means:

                 (1)      the merger or acquisition of the Parent Company, or of all or substantially all of its assets by
                          another entity such that the Parent Company is not the surviving entity; or

                 (2)      any person, entity or an affiliated group of persons or entities acting together, acquire (a)
                          interest representing more than fifty percent (50%) of the voting, appointment or designation
                          power for the selection of the majority of the directors, management committee members or
                          members of the board of managers of the Parent Company, as applicable to its organization,
                          or (b) such rights pursuant to written contract or the by-laws, charter, operating agreement or
                          similar document of the Parent Company;




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        (C)      “Claim” means:

                 (1)      any written demand (other than an Investigation Demand) for:

                          (a)      monetary or non-monetary relief, including injunctive relief; or

                          (b)      arbitration, mediation or other alternative dispute resolution proceeding;

                 (2)      any civil, criminal, administrative or regulatory proceeding commenced by:

                          (a)      service of a complaint or similar pleading;

                          (b)      return of an indictment, information, notice of charges or similar document;

                          (c)      an official written request for extradition of any Insured Person or the execution of a
                                   warrant for the arrest of any Insured Person where such execution is an element of
                                   extradition;

                 (3)      any investigation of an Insured Person commenced by a written statement from an
                          Enforcement Authority identifying such Insured Person as the subject of an investigation,
                          including any target letter, Wells Notice or similar document;

                 (4)      any subpoena served upon an Insured Person for testimony or documents in connection with
                          a formal or informal investigation of the Company by any Enforcement Authority; and

                 (5)      any Corporate Manslaughter Charge.

        (D)      "Company" means the Parent Company and any Subsidiary created or acquired on or before the
                 Inception Date set forth in ITEM 2 of the Declarations or during the Policy Period, subject to
                 GENERAL CONDITIONS VI (D). The term Company shall include any such entity as a debtor in
                 possession, as such term is used in Chapter 11 of the United States Bankruptcy Code or any
                 equivalent provision in any foreign jurisdiction.

        (E)      “Corporate Manslaughter Charge” means a formal criminal proceeding commenced in the United
                 Kingdom against an Insured Person of the Company domiciled or incorporated in the United
                 Kingdom for involuntary manslaughter (including constructive manslaughter or gross negligence
                 manslaughter) in his or her capacity as a director or officer of the Company and directly related to the
                 business of the Company.

        (F)      "Defense Expenses" means reasonable and necessary legal fees, expenses and other costs
                 (including experts’ fees):

                 (1)      incurred in the investigation, adjustment, settlement, defense and/or appeal of any Claim,
                          Investigation Demand or Interview, including any preparation for such an Interview;

                 (2)      incurred due to the arrest and detainment or incarceration of any Insured Person in his or her
                          capacity as a director or officer of the Company and directly related to the business of the
                          Company;

                 (3)      incurred in connection with any Claim under section 304 of the Sarbanes-Oxley Act of 2002 or
                          imposed pursuant to section 954 of the Dodd-Frank Wall Street Reform and Consumer
                          Protection Act; or

                 (4)      incurred in the defense of any Corporate Manslaughter Charge;

                 Defense Expenses will not include the Company's overhead expenses or any salaries, wages, fees,
                 or benefits of its directors, officers or employees.




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        (G)      "Employment Practices Wrongful Act" means any actual or alleged:

                 (1)      wrongful termination of employment whether actual or constructive;

                 (2)      employment discrimination of any kind, including violation of any federal, state or local law
                          involving employment or discrimination in employment, which would deprive or potentially
                          deprive any person of employment opportunities or otherwise adversely affect his or her status
                          as an employee because of such person's race, color, religion, age, sex, national origin,
                          disability, pregnancy, or other protected status;

                 (3)      sexual or other harassment in the workplace; or

                 (4)      wrongful deprivation of career opportunity, employment related misrepresentations, retaliatory
                          treatment against an employee of the Company, failure to promote, demotion, wrongful
                          discipline or evaluation, refusal to hire, negligent hiring, or negligent supervision.

        (H)      “Enforcement Authority” means any federal, state, local or foreign law enforcement or governmental
                 regulatory authority, including the United States Departments of Justice and Labor, Securities and
                 Exchange Commission, attorneys general, or the enforcement unit of any securities exchange or
                 similar self-regulatory organization.

        (I)      "Insured" means the Insured Persons and the Company.

        (J)      "Insured Person" means:

                 (1)      any past, present or future natural person director or officer, or member or manager of the
                          board of managers, of the Company and those persons serving in a functionally equivalent
                          role for the Parent Company or any Subsidiary operating or incorporated outside the United
                          States;

                 (2)      any past, present or future natural person employee of the Company (other than an individual
                          described in (J)(1) above) to the extent any Claim is: (a) a Securities Claim, or (b) made and
                          maintained against both such employee and an Insured Person as defined in (J)(1) above;

                 (3)      an individual identified in (J)(1) above who, with the consent of the Company, is or was
                          serving as a director, officer, trustee, regent or governor of a Non-Profit Entity; or

                 (4)      any individual identified in (J)(1) above who, with the consent of the Company is or was
                          serving in an elected or appointed position having fiduciary, supervisory or managerial duties
                          and responsibilities comparable to those of an Insured Person of the Company, regardless
                          of the name or title by which such position is designated, of a Joint Venture.

                 In addition:

                 In the event of the death, incapacity or bankruptcy of any individual identified above, any Claim
                 against the estate, heirs, legal representatives or assigns of such individual for a Wrongful Act of
                 such individual will be deemed to be a Claim against such individual.

                 The coverage otherwise available under this Policy to any Insured Person will be extended to such
                 Insured Person’s lawful spouse or domestic partner, but only to the extent such spouse or domestic
                 partner is a party to any Claim solely in his or her capacity as a spouse or domestic partner of such
                 persons and only for the purposes of any Claim seeking damages recoverable from marital
                 community property, property jointly held by any such person and spouse or domestic partner, or
                 property transferred from any such person to the spouse or domestic partner.

        (K)      "Interrelated Wrongful Acts" means any Wrongful Acts, based on, arising out of, directly or
                 indirectly resulting from, in consequence of, or in any way involving any of the same or related facts,
                 series of related facts, circumstances, situations, transactions or events.



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        (L)      “Interview” means:

                 (1)      a written request first received by an Insured Person during the Policy Period for a voluntary
                          interview, meeting or sworn statement by:

                          (a)      any Enforcement Authority; or

                          (b)      the Company in connection with an Investigation Demand or an investigation or
                                   other inquiry of the Company by an Enforcement Authority; or

                 (2)      an arrest or confinement of an Insured Person during the Policy Period to a specified
                          residence or secure custodial premises operated by an Enforcement Authority, but only in
                          connection with the business of the Company or an Insured Person’s capacity as such or
                          due to his/her status as such;

                 provided that Interview will not include: any document production or discovery in a legal proceeding;
                 any request that is part of any routine or regularly scheduled oversight, compliance, audit, inspection
                 or examination; or any request that is part of an employment-related investigation or Claim. Any
                 Interview as defined in (L)(1) above first received, or as defined in (L)(2) above, occurring, prior to the
                 Inception Date of this Policy are not covered under this Policy.

        (M)      “Investigation Demand” means an investigation by the Company to determine whether it is in its best
                 interest to prosecute the allegations made by a security holder of the Company in a derivative
                 demand or action. An Investigation Demand shall be deemed first made upon the earlier of: receipt
                 of such allegations by the Company or service of a civil complaint or similar proceeding setting forth
                 such allegations.

        (N)      "Joint Venture" means any corporation, partnership, joint venture, association or other entity, other
                 than a Subsidiary, during any time in which the Parent Company, either directly or through one or
                 more Subsidiary(s);

                 (1)      owns or controls at least thirty-three percent (33%), but not more than fifty percent (50%), in
                          the aggregate of the outstanding securities or other interests representing the present right to
                          vote for the election or appointment of those persons of such an entity occupying elected or
                          appointed positions having fiduciary, supervisory or managerial duties and responsibilities
                          comparable to those of an Insured Person of the Company, regardless of the name or title
                          by which such position is designated, of a Joint Venture; or

                 (2)      has the right, by written contract, ownership of securities or otherwise, to elect, appoint or
                          designate at least thirty-three percent (33%) of those persons described in (N)(1) above.

        (O)      “Loss” means damages, judgments, settlements, pre-judgment and post-judgment interest or other
                 amounts (including punitive, exemplary or multiplied damages, where insurable by law) that any
                 Insured is legally obligated to pay and Defense Expenses, including that portion of any settlement
                 which represents the claimant’s attorneys’ fees. Loss will not include that portion which constitutes:

                 (1)      fines, penalties or taxes imposed by law; provided that Loss will specifically include:

                          (a)      civil penalties assessed against any Insured Person pursuant to Section 2(g)(2)(b) of
                                   the Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-2(g)(2)(b), the United Kingdom’s
                                   Bribery Act 2010 (2010 chapter 23), and Section 308 of the Sarbanes-Oxley Act of
                                   2002 (15 U.S.C. 7246(a)); and

                          (b)      solely with respect to Loss to which Insuring Agreement (A) applies, fines, penalties
                                   or taxes that an Insured Person is obligated to pay if such fines, penalties or taxes
                                   are insurable by law and are imposed in connection with such Insured Person’s
                                   service with an insolvent Company;

                 (2)      costs incurred by an Insured to comply with an order for non-monetary relief (including
                          injunctive relief) or with any agreement to provide such relief;

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                 (3)      any amount which is uninsurable under the law pursuant to which this Policy is construed;
                          provided that the Insurer will not assert that the portion of any settlement or judgment in a
                          Claim arising from an initial or subsequent public offering of the Company’s securities
                          constitutes uninsurable loss due to the alleged violations of Section 11 and/or 12 of the
                          Securities Act of 1933 as amended (including alleged violations of Section 11 and/or 12 of the
                          Securities Act of 1933 by a Controlling Person pursuant to Section 15 of the Securities Act of
                          1933);

                 (4)      any amount arising out of the cleanup, containing, treating, testing, removing, disposing,
                          assessing, monitoring or similar costs relating to pollution, contaminants, waste of any kind,
                          pollutants, product defects that result in the release of hazardous materials or pollutants, or
                          any other hazardous materials;

                 (5)      any amount which represents or is substantially equivalent to an increase in the consideration
                          paid, or proposed to be paid, by the Company in connection with its purchase of any
                          securities or assets of any person, group of persons, or entity;

                 (6)      the return of any amounts required to be paid by an Insured Person pursuant to section 304
                          of the Sarbanes-Oxley Act of 2002 or promulgated under Section 954 of the Dodd-Frank Wall
                          Street Reform and Consumer Protection Act;

                 NOTE: With respect to judgments in which punitive, exemplary or multiplied damage are awarded, the
                       coverage provided by this Policy shall apply to the broadest extent permitted by law. If, based
                       on the written opinion of counsel for the Insured, punitive, exemplary or multiplied damages
                       are insurable under applicable law, the Insurer will not dispute the written opinion of counsel
                       for the Insured.

        (P)      "Non-Profit Entity" means any not-for-profit entity or not-for-profit organization.

        (Q)      "Parent Company" means the entity named in ITEM 1 of the Declarations.

        (R)      "Policy Period" means the period from the Inception Date to the Expiration Date set forth in ITEM 2 of
                 the Declarations or to any earlier cancellation date. Policy Period will include any Optional Extension
                 Period, if applicable.

        (S)      "Securities Claim" means a Claim, other than an administrative or regulatory proceeding against or
                 investigation of the Company:

                 (1)      made against any Insured for any actual or alleged violation of any federal, state or local
                          statute, regulation, or rule or common law regulating securities, including but not limited to the
                          purchase or sale of, or offer to purchase or sell, securities, which is:

                          (a)      brought by any person or entity resulting from, the purchase or sale of, or offer to
                                   purchase or sell, securities of the Company; or

                          (b)      brought by a security holder of the Company with respect to such security holder's
                                   interest in securities of the Company; or

                 (2)      brought derivatively on behalf of the Company by a security holder of the Company.

                 Notwithstanding the foregoing, the term Securities Claim shall include an administrative or regulatory
                 proceeding against, or a formal investigation of, the Company, but only if and only during the time that
                 such formal investigation or proceeding is also maintained against an Insured Person.




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         (T)     "Subsidiary" means any entity during any time in which the Parent Company holds directly or
                 indirectly:

                 (1)      more than fifty percent (50%) of the voting rights or issued share capital of such entity;


                 (2)      between twenty percent (20%) and fifty percent (50%) of the voting rights or issued share
                          capital, together with control of the management of such entity; or

                 (3)      the right to appoint or remove a majority of the Board of Directors of such entity.

         (U)     "Wrongful Act" means:

                 (1)      any actual or alleged act, error, omission, misstatement, misleading statement, neglect, or
                          breach of duty by an Insured Person while acting in his or her capacity as such or due to his
                          or her status as such;

                 (2)      solely with respect to a Claim as defined in Definition (C)(4) of the Policy, any other matter
                          concerning an Insured Person solely by reason of his or her capacity as such or due to his or
                          her status as such;

                 (3)      solely with respect to Insuring Agreement (C) of the Policy, any actual or alleged act, error,
                          omission, misstatement, misleading statement, neglect, or breach of duty by the Company; or

                 (4)      any Employment Practices Wrongful Act by an Insured Person while acting in his or her
                          capacity as such or due to his or her status as such.

                 Solely with respect to determining whether a securities holder derivative lawsuit which names the
                 Company as a defendant (including as a nominal defendant) is a Securities Claim against such
                 Company for purposes of Insuring Agreement (C) of the Policy, any Wrongful Act as defined in
                 subparagraph (U)(1) above will also be deemed to be a Wrongful Act of the Company; provided that
                 this provision shall not be deemed to create coverage under this Policy for Loss from any
                 Investigation Demand pursuant to Insuring Agreement (F) of the Policy. Any such coverage shall
                 only be available pursuant to Insuring Agreement (F) of the Policy.

III.     EXCLUSIONS

         (A)     No coverage shall be available under this Policy for that portion of any Claim, Interview or
                 Investigation Demand made against an Insured:

                 (1)      for any actual or alleged bodily injury, sickness, mental anguish, emotional distress, libel,
                          slander, oral or written publication of defamatory or disparaging material, disease or death of
                          any person, or damage or destruction of any property including loss of use thereof; however,
                          this Exclusion (A)(1) will not apply to: (a) any allegations of libel, slander, defamation, mental
                          anguish or emotional distress if and only to the extent that such allegations are made as part
                          of a Claim for an Employment Practices Wrongful Act; (b) any Securities Claim; (c) for
                          Corporate Manslaughter Charges; or (d) any Claim to the extent coverage is provided under
                          Insuring Agreement, (A) of the Policy;

                 (2)      for any actual or alleged violation of the Employee Retirement Income Security Act of 1974
                          (ERISA) as amended or any regulations promulgated thereunder or any similar law, federal,
                          state or local law or regulation in connection with any pension, profit sharing or employee
                          benefit program established and/or sponsored by the Company in whole or in part for the
                          benefit of the directors, officers or employees of the Company;




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                 (3)      by, on behalf of, or at the direction of the Company, or any Joint Venture or Non-Profit
                          Entity (but with respect to the Joint Venture or Non-Profit Entity, only against an Insured
                          Person for a Wrongful Act while acting in his or her capacity as a director, officer, trustee,
                          regent or governor of such Joint Venture or Non-Profit Entity, or as a person occupying an
                          elected or appointed position having fiduciary, supervisory or managerial duties and
                          responsibilities comparable to those of an Insured Person of the Company, regardless of the
                          name or title by which such position is designated of the Joint Venture); however, this
                          Exclusion (A)(3) will not apply to:

                          (a)      the extent a Claim is brought derivatively by a security holder of the Company, or by
                                   any Joint Venture or Non-Profit Entity who, when such Claim is made and
                                   maintained, is acting independently of, and without the solicitation, assistance,
                                   participation or intervention of any Insured Person unless such solicitation,
                                   assistance, participation or intervention is protected pursuant to Section 806 of the
                                   Sarbanes-Oxley Act of 2002 or any similar whistleblower statute, or the Company, or
                                   any Joint Venture or Non-Profit Entity;

                          (b)      the extent a Claim or Interview is brought by the Bankruptcy Trustee or Examiner of
                                   the Company, or by any Joint Venture or Non-Profit Entity or any assignee of such
                                   Trustee or Examiner, or any Receiver, Conservator, Rehabilitator, or Liquidator or
                                   comparable authority of the Company, Joint Venture, or Non-Profit Entity;

                          (c)      the extent a Claim is brought and maintained in a non-common law jurisdiction
                                   outside the United States of America, including its territories and possessions;

                          (d)      the extent a Claim or Interview is brought by a Creditors Committee of the
                                   Company, or any Joint Venture or Non-Profit Entity in the event the Company,
                                   Joint Venture, or Non-Profit Entity files for relief under Title 11 of the United States
                                   Code;

                          (e)      Defense Expenses covered under Insuring Agreement (A) or (D).

        (B)      No coverage shall be available under this Policy for any Claim, Interview or Investigation Demand
                 made against an Insured:

                 (1)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Pending and Prior Litigation
                          Date set forth in ITEM 6 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this Policy, was the subject of any notice given under any other
                          Management Liability policy, Directors and Officers liability policy or similar policy;

                 (3)      brought about or contributed to in fact by any:

                          (a)      deliberately fraudulent or deliberately criminal act or omission or any willful violation of
                                   any statute, rule or law by an Insured; or

                          (b)      profit or remuneration gained by an Insured to which such Insured is not legally
                                   entitled,

                          as determined by a final, non-appealable adjudication in the underlying action; however this
                          Exclusion (B)(3) will not apply to: (i) allegations in a Claim asserted against an Insured under
                          Section 11 and/or 12 of the Securities Act of 1933 as amended arising out of an initial or
                          subsequent public offering of the Company’s securities (including alleged violations of
                          Section 11 and/or 12 of the Securities Act of 1933 by a Controlling Person pursuant to Section
                          15 of the Securities Act of 1933); or (ii) Defense Expenses incurred in connection with a

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                         Claim alleging violations of section 304 of the Sarbanes-Oxley Act of 2002 or section 954 of
                         the Dodd-Frank Wall Street Reform and Consumer Protection Act;

                 No conduct of any Insured will be imputed to any other Insured Person to determine the application
                 of any of the above EXCLUSIONS. Only the conduct of the chief executive officer and/or chief
                 financial officer of the Company will be imputed to the Company.

IV.     LIMIT OF LIABILITY, INDEMNIFICATION AND RETENTIONS

        (A)      The Insurer shall pay the amount of Loss in excess of the applicable Retention(s) set forth in ITEM 4
                 of the Declarations up to the Limit of Liability set forth in ITEM 3(B) of the Declarations.

        (B)      The amount set forth in ITEM 3(B) of the Declarations shall be the maximum aggregate Limit of
                 Liability of the Insurer under this Policy whether any Loss is covered under one or more Insuring
                 Agreements. Payment of Loss, including Defense Expenses, by the Insurer shall reduce the Limit of
                 Liability.

        (C)      The amount set forth in Item 3(A) of the Declarations shall be the maximum aggregate limit of liability
                 of the Insurer under this Policy resulting from all Investigation Demands first made during the Policy
                 Period, which amount is part of, and not in addition to, the maximum aggregate Limit of Liability for the
                 Policy as set forth in Item 3(B) of the Declarations.

        (D)      With respect to the Company's indemnification of its Insured Persons, the certificate of incorporation,
                 charter, by-laws, articles of association, or other organizational documents of the Parent Company,
                 each Subsidiary and each Non-Profit Entity or Joint Venture, will be deemed to require
                 indemnification to the Insured Persons to the fullest extent permitted by law.

        (E)      No Retention will be applicable to Loss, including Defense Expenses, under Insuring Agreements,
                 (A), (D) or (F). In the event of financial insolvency of the Company, no Retention shall apply.

        (F)      In the event the Company is obligated under the Policy to pay any Retention, the Company may
                 satisfy such Retention from any source. As a precondition to such recognition of the erosion of the
                 Retention from any source other than by payment by the Company, the Company shall provide the
                 Insurer with written proof, to the Insurer’s satisfaction, that payment of such Retention has been made.

        (G)      If more than one retention is applicable to different portions of Loss, including Defense Expenses, the
                 applicable Retention(s) will be applied separately to each portion of such Loss, and the sum of such
                 Retention(s) will not exceed the largest applicable Retention set forth in ITEM 4 of the Declarations.

V.      DEFENSE, SETTLEMENT AND ALLOCATION OF LOSS

        (A)      It shall be the duty of the Insured and not the duty of the Insurer to defend any Claim, Interview or
                 Investigation Demand under this Policy.

        (B)      No Insured may incur any Defense Expenses in connection with any Claim, Interview or
                 Investigation Demand, or admit liability for, make any settlement offer with respect to, or settle any
                 Claim without the Insurer's consent, such consent not to be unreasonably delayed or withheld;
                 however, the Insured may settle a Claim without such consent, if the total amount of such settlement
                 and Defense Expenses does not exceed fifty percent (50%) of the amount of the applicable
                 Retention(s) for such Claim.

        (C)      Upon the written request of an Insured, the Insurer will advance Defense Expenses on a current
                 basis, but no less so than quarterly, excess of the applicable Retention, before the disposition of the
                 Claim, Interview or Investigation Demand for which this Policy provides coverage. As a condition of
                 the advancement of Defense Expenses, each Insured agrees that if and to the extent it is determined
                 that such Defense Expenses are not insured under this Policy, such Defense Expenses shall be
                 repaid to the Insurer by the Insureds, severally according to their respective interests.




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        (D)      If both Loss covered by this Policy and loss not covered by this Policy are incurred, either because a
                 Claim, Interview or Investigation Demand made against the Insured contains both covered and
                 uncovered matters, or because a Claim, Interview or Investigation Demand is made against both
                 the Insured and others (including the Company for Claims other than Securities Claims) not insured
                 under this Policy, the Insured and the Insurer will use their best efforts to determine a fair and
                 appropriate allocation of Loss between that portion of Loss that is covered under this Policy and that
                 portion of loss that is not covered under this Policy. Additionally, the Insured and the Insurer agree
                 that in determining a fair and appropriate allocation of Loss, the parties will take into account the
                 relative legal and financial exposures of, and relative benefits obtained in connection with the defense
                 and/or settlement of the Claim, Interview or Investigation Demand by, the Insured and others.

        (E)      In the event that an agreement cannot be reached between the Insurer and the Insured as to an
                 allocation of Loss, as described in (D) above, then the Insurer shall advance that portion of Loss
                 which the Insured and the Insurer agree is not in dispute until a final amount is agreed upon or
                 determined pursuant to the provisions of this Policy and applicable law.

VI.     GENERAL CONDITIONS

         (A)     NOTICE

                 (1)      As a condition precedent to any right to payment under this Policy with respect to any Claim
                          or Investigation Demand, the Insured shall give written notice to the Insurer of each Claim
                          or Investigation Demand as soon as practicable after it is first made, including but not limited
                          to written notice as soon as practicable of each Claim or Investigation Demand deemed to
                          constitute a single Claim or Investigation Demand pursuant to Section VI (B) below. Such
                          notice shall be provided as soon as practicable after the risk management or general counsel
                          departments of the Parent Company first becomes aware of such Claim or Investigation
                          Demand. In the event that the Insureds fail to provide timely notice to the Insurer under this
                          Section VI (A)(1), the Insurer shall not be entitled to deny coverage solely based on such
                          untimely notice unless the Insurer can demonstrate its interests were materially prejudiced by
                          reason of such untimely notice.


                 (2)      As a condition precedent to any right to payment under this Policy with respect to any
                          Interview, the Insured may elect to give the Insurer written notice thereof during the Policy
                          Period pursuant to Section VI (A)(4) below.

                 (3)      If, during the Policy Period, the Insured provides the Insurer with written notice of:

                          (a)      a specific Wrongful Act, the consequences which have resulted or may result
                                   therefrom (including but not limited to actual or potential damages), the identities of
                                   the potential claimants, and the circumstances by which the Insured first became
                                   aware of such Wrongful Act;

                          (b)      its receipt of a request to toll or waive a statute of limitations in connection with a
                                   Wrongful Act; or

                          (c)      an Interview first received during the Policy Period,

                          then any Claim or Investigation Demand subsequently made arising out of such Wrongful
                          Act, request to toll or waive a statute of limitation or Interview will be treated as if it had been
                          first made during the Policy Period, provided written notice of any subsequent Claim or
                          Investigation Demand is provided to the Insurer as soon as practicable after such Claim or
                          Investigation Demand is made.

                 (4)      All notices under Section VI (A)(1),(2) and (3) above must be sent by:

                          (a)      first class U.S. mail, overnight mail or the equivalent to the address set forth in ITEM 7
                                   of the Declarations: Attention Claim Department; or

                          (b)      electronic mail (email) to the address shown in ITEM 7 of the Declarations.
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        (B)      INTERRELATED CLAIMS

                 All Claims, Investigation Demands, Interviews or requests to toll or waive a statute of limitations,
                 arising from the same Interrelated Wrongful Acts shall be deemed to constitute a single Claim,
                 Investigation Demand or Interview and shall be deemed to have been made at the earliest of the
                 time at which the earliest such Claim, Investigation Demand, or Interview is made or deemed to
                 have been made pursuant to Section VI (A) above.


        (C)      OTHER INSURANCE AND SERVICE IN CONNECTION WITH NON-PROFIT ENTITIES AND JOINT
                 VENTURES

                 (1)      Subject to Section IV LIMIT OF LIABILITY INDEMNIFICATION AND RETENTIONS (F), all
                          coverage under this Policy will be specifically excess of and will not contribute with any other
                          valid and collectible management liability insurance, including but not limited to any insurance
                          under which there is a duty to defend, unless such other insurance is specifically excess of
                          this Policy, or a personal umbrella policy or personal directorship liability policy purchased by
                          an Insured Person. This Policy will not be subject to the terms of any other insurance policy.

                 (2)      All coverage under this Policy for Loss from Claims and Interviews made against the
                          Insured Persons while acting in their capacity as a director, officer, trustee, regent or
                          governor of a Non-Profit Entity or persons occupying elected or appointed positions having
                          fiduciary, supervisory or managerial duties and responsibilities comparable to those of the
                          Insured Persons of the Company, regardless of the name or title by which such position is
                          designated, of a Joint Venture will be specifically excess of and will not contribute with, any
                          other insurance or indemnification available to such Insured Person from such Non-Profit
                          Entity or Joint Venture by reason of his or her service as such.

        (D)      MERGERS AND ACQUISITIONS (CHANGES IN EXPOSURE OR CONTROL)

                 (1)      If during the Policy Period the Company acquires any entity by merger, consolidation or
                          otherwise such that the entity becomes a Subsidiary, coverage shall be provided for any
                          Loss involving a Claim, Interview or Investigation Demand for a Wrongful Act occurring
                          after the consummation of the transaction.

                 (2)      If, however, by reason of the transaction (or series of transactions) described in (D)(1) above,
                          the assets or liabilities so acquired or so assumed as a result of such acquisition, exceed
                          thirty-five percent (35%) of the total assets or liabilities, respectively, of the Company, as
                          represented in the Company's most recent audited consolidated financial statements,
                          coverage under this Policy shall be provided for a period of ninety (90) days or to the
                          Expiration Date, whichever occurs first, for any Loss involving a Claim, Interview or
                          Investigation Demand for a Wrongful Act that occurred after the transaction has been
                          consummated. Coverage beyond such period will be provided only if:

                          (a)      the Insurer receives written notice containing full details of the transaction(s); and

                          (b)      the Insurer at its sole discretion, agrees to provide such additional coverage upon
                                   such terms, conditions, limitations, and additional premium that it deems appropriate.

                 (3)      With respect to the acquisition, assumption, merger, consolidation or otherwise of any entity
                          as described in (D)(1) and (2) above, there will be no coverage available to the Company, an
                          Insured Person, or to the acquired entity under this Policy for Claims made against the
                          Company , an Insured Person, or the acquired entity, for a Wrongful Act committed any
                          time during which such entity, is not an Insured.

                 (4)      If any entity ceases to be a Subsidiary, the coverage provided under this Policy shall continue
                          to apply to the Insured Persons who, because of their service with such Subsidiary, were
                          covered under this Policy but only with respect to a Claim for a Wrongful Act that occurred or
                          allegedly occurred prior to the time such Subsidiary ceased to be a Subsidiary of the
                          Company.

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                 (5)      If during the Policy Period there is a Change In Control, the coverage provided under this
                          Policy shall continue to apply but only with respect to a Claim against an Insured for a
                          Wrongful Act committed or allegedly committed up to the time of the Change In Control; and

                          (a)      coverage will cease with respect to any Claim for a Wrongful Act committed
                                   subsequent to the Change In Control; and

                          (b)      the entire premium for the Policy will be deemed to be fully earned immediately upon
                                   the consummation of a Change In Control.

        (E)      CANCELLATION AND RENEWAL OF COVERAGE

                 (1)      Except for the nonpayment of premium, as set forth in (E)(2) below, the Parent Company has
                          the exclusive right to cancel this Policy. Cancellation may be effected by mailing to the Insurer
                          written notice when such cancellation shall be effective, provided the date of cancellation is
                          not later than the Expiration Date set forth in ITEM 2 of the Declarations. In such event, the
                          Insurer shall retain the customary short rate portion of the earned premium. Return or tender
                          of the unearned premium is not a condition of cancellation.

                 (2)      The Insurer may only cancel this Policy for nonpayment of premium. The Insurer will provide
                          not less than twenty (20) days written notice stating the reason for cancellation and when the
                          Policy will be canceled. Notice of cancellation will be sent to the Parent Company and the
                          agent of record for the Insured, if applicable.

                 (3)      The Insurer is under no obligation to renew this Policy upon its expiration. Once the Insurer
                          chooses to non-renew this Policy, the Insurer will deliver or mail to the Parent Company
                          written notice stating such at least sixty (60) days before the Expiration Date set forth in ITEM
                          2 of the Declarations.

        (F)      OPTIONAL EXTENSION PERIOD

                 (1)      If either the Parent Company or the Insurer does not renew this Policy, the Parent Company
                          or any Insured Person shall be entitled, upon payment of an additional premium set forth in
                          ITEM 5 of the Declarations, to an extension of the coverage provided by this Policy with
                          respect only to any Claim or Investigation Demand first made or deemed first made during
                          the period of time set forth in ITEM 5 of the Declarations after the Policy Expiration Date, but
                          only with respect to a Wrongful Act occurring prior to the Policy Expiration Date. Any such
                          Claim or Investigation Demand shall be deemed to have been made during the Policy
                          Period.

                 (2)      As a condition precedent to the right to purchase the Optional Extension Period, the total
                          premium for this Policy must have been paid in full. The right of the Parent Company or any
                          Insured Person to purchase the Optional Extension Period will be immediately terminated if
                          the Insurer does not receive written notice by the Parent Company or Insured Person
                          advising it wishes to purchase the Optional Extension Period together with full payment of the
                          premium for the Optional Extension Period within thirty (30) days after the Policy Expiration
                          Date.

                 (3)      If the Parent Company or Insured Person elects to purchase the Optional Extension Period
                          as set forth in (F)(1) and (2) above, the entire premium for the Optional Extension Period will
                          be deemed to be fully earned at the Inception Date for the Optional Extension Period.

                 (4)      The purchase of the Optional Extension Period will not in any way increase the Limit of
                          Liability set forth in ITEM 3 of the Declarations, and the Limit of Liability with respect to Claims
                          made during the Optional Extension Period shall be part of and not in addition to the Limit of
                          Liability for all Claims, Interviews and Investigation Demands made during the Policy
                          Period.




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        (G)      ASSISTANCE, COOPERATION AND SUBROGATION

                 (1)      The Insured agrees to provide the Insurer with all information, assistance and cooperation
                          that the Insurer may reasonably request in connection with any Claim, Investigation Demand
                          or Interview that is reasonably likely to be covered under this Policy, and further agrees that it
                          will do nothing which in any way increases the Insurer's exposure under this Policy or in any
                          way prejudices the Insurer's potential or actual rights of recovery against any party.

                 (2)      In the event of any payment under this Policy, the Insurer will be subrogated to the extent of
                          such payment of Loss to all of the Insured’s rights of recovery; provided that the Insurer will
                          be subrogated to any Insured’s potential or actual rights of recovery against any Insured
                          Person only in the event that Exclusion (B)(3) of the Policy is applicable to such Insured
                          Person in connection with such Loss. The Insured shall execute all papers required and will
                          do everything necessary to secure such rights including but not limited to the execution of
                          such documents as are necessary to enable the Insurer to effectively bring suit in its name,
                          and will provide all other assistance and cooperation which the Insurer may reasonably
                          require. It is understood that the failure of any Insured Person to give the Insurer cooperation
                          and information as required in this paragraph shall not impair the rights of the Company, or
                          any other Insured Person under this Policy.

                 (3)      In the event the Insurer recovers amounts it paid under this Policy, the Insurer will reinstate
                          the applicable Limits of Liability of this Policy to the extent of such recovery, less the Insurer’s
                          costs incurred in obtaining such recovery. It is understood and agreed that the Insurer shall
                          have no duty to seek such a recovery.

        (H)      EXHAUSTION

                 If the Insurer's Limit of Liability as set forth in ITEM 3 of the Declarations is exhausted by the payment
                 of Loss, the premium as set forth in ITEM 8 of the Declarations will be fully earned and, subject to
                 Section VI General Condition (G)(3), all obligations of the Insurer under this Policy will be completely
                 fulfilled and exhausted, and the Insurer will have no further obligations of any kind whatsoever under
                 this Policy.

        (I)      REPRESENTATION CLAUSE

                 The Insured represents that the statements and particulars contained in the Application as well as
                 any prior application submitted to the Insurer are true, accurate and complete, and agree that this
                 Policy is issued in reliance on the truth of that representation, and that such particulars and
                 statements, which are deemed to be incorporated into and constitute a part of this Policy, form the
                 basis of this Policy. No knowledge or information possessed by any Insured Person will be imputed to
                 any other Insured Person. With respect to Claims made under Insuring Agreement (C) only, no
                 knowledge or information possessed by any Insured Person other than a past or present chief
                 executive officer or chief financial officer of the Parent Company will be imputed to the Company. In
                 the event that any of the particulars or statements in the Application are untrue, this Policy will be
                 void with respect to any Insured who knew of such untruth.

                 This Policy shall not be rescinded by the Insurer; provided that nothing herein shall limit or waive any
                 other rights or remedies available under the Policy or applicable law.

        (J)      ACTION AGAINST THE INSURER, ASSIGNMENT, AND CHANGES TO THE POLICY

                 (1)      No action may be taken against the Insurer unless, as a condition precedent thereto, there
                          has been full compliance with all of the terms and conditions of this Policy.

                 (2)      Nothing contained herein shall give any person or entity any right to join the Insurer as a party
                          to any Claim against the Insured to determine its liability, nor may the Insured implead the
                          Insurer in any Claim.

                 (3)      Assignment of interest under this Policy shall not bind the Insurer unless its consent is
                          endorsed hereon.

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                 (4)      Notice to any agent or knowledge possessed by any agent or other person acting on behalf of
                          the Insurer will not cause a waiver or change in any part of this Policy or prevent the Insurer
                          from asserting any right under the terms, conditions and limitations of this Policy. The terms,
                          conditions and limitations of this Policy may only be waived or changed by written
                          endorsement.

        (K)      AUTHORIZATION AND NOTICES

                 It is understood and agreed that the Parent Company will act on behalf of the Company and the
                 Insured Persons with respect to:

                 (1)      the payment of the premiums;

                 (2)      the receiving of any return premiums that may become due under this Policy;

                 (3)      the giving of all notices to the Insurer as provided herein; and

                 (4)      the receiving of all notices from the Insurer.

        (L)      PRIORITY OF PAYMENTS

                 In the event of Loss, including Defense Expenses, payable under more than one of the Insuring
                 Agreements of the Policy, then the Insurer shall, to the maximum extent practicable and subject at all
                 times to the Insurer’s maximum aggregate Limit of Liability as set forth in ITEM 3 of the Declarations,
                 pay such Loss as follows:

                 (1)      first, the Insurer shall pay that Loss, if any, which the Insurer may be liable to pay on behalf of
                          the Insured Persons which the Company is not permitted nor required to pay on behalf of
                          the Insured Persons as indemnification;

                 (2)      second, the Insurer shall pay that Loss, if any, which the Insurer may be liable to pay on
                          behalf of the Company which the Company is permitted or required to pay on behalf of the
                          Insured Persons; and

                 (3)      third, the Insurer shall make such other payments which the Insurer may be liable to make
                          under Insuring Agreements (C) and/or (F) or otherwise.

        (M)      BANKRUPTCY

                 Bankruptcy or insolvency of any Insured shall not relieve the Insurer of any of its obligations under
                 this Policy. In such event, including any liquidation or reorganization proceeding of the Company,
                 then each Insured and the Insurer hereby agree not to oppose or object to any efforts by any Insured
                 Person to obtain relief from any stay or injunction.

        (N)      ENTIRE AGREEMENT – WORLDWIDE COVERAGE

                 (1)      The Insured agrees that the Declarations, Policy, including the endorsements, attachments
                          and the Application, shall constitute the entire agreement between the Insurer or any of its
                          agents and the Insured relating to this insurance. The coverage afforded by the Policy shall
                          apply anywhere in the world.

                 (2)      If the Parent Company requests management or directors and officers liability policies for
                          issuance to its foreign Subsidiaries in their own countries, the Insurer or a subsidiary or
                          affiliate of XL Group plc shall provide a quote to the Parent Company for such policies;
                          provided that the Insurer or a subsidiary or affiliate of XL Group plc can support or facilitate the
                          issuance of the policies to such foreign Subsidiaries in their applicable foreign countries. Any
                          coordination of coverage under such policies with coverage under this Policy shall be set forth
                          in an endorsement attached to this Policy.



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        (O)      CURRENCY

                 All premiums, limits of liability, retentions, Loss and other amounts under this Policy are expressed
                 and payable in the currency of the United States of America. If judgment is rendered, settlement is
                 denominated or other elements of Loss are stated or incurred in a currency other than the United
                 States of America, payment of covered Loss due under this Policy, subject to its terms, conditions and
                 limitations, will be made either in such other currency (at the option of the Insurer and with the
                 agreement of the Parent Company), or, in the United States of America dollars at the rate of
                 exchange most recently published in The Wall Street Journal on the date of the Insurer’s obligation to
                 pay such Loss is established.




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                    EXHIBIT B
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                                                                              XL Catlin - Professional Insurance
                                                                              100 Constitution Plaza
                                                                              17th Floor
                                                                              Hartford, CT 06103
                                                                              Phone      860-246-1863
                                                                              Fax        860-246-1899




October 15, 2018




Timothy Molineux
Marsh
1166 Avenue of the Americas
New York, NY 10036



Re: Amtrust Financial Services, Inc.
    Executive and Corporate Securities Liability Endorsement



Dear Timothy,


Enclosed, please find the endorsement for Amtrust Financial Services, Inc. Thank you for choosing XL Catlin -
Insurance. Please call if you have any questions or concerns.


Sincerely,




Michael Linehan
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 43 of 1049 PageID #: 55
Policy Number:      US00080794DO17A                   Indian Harbor Insurance Company
Renewal of Number:        N/A                                                     Members of the XL America Companies



      EXECUTIVE AND CORPORATE SECURITIES
    LIABILITY INSURANCE POLICY DECLARATIONS


Regulatory Office                                                                                    Executive Offices
505 Eagleview Blvd. Suite 100                                                                       70 Seaview Avenue
Dept: Regulatory                                                                              Stamford, CT 06902-6040
Exton, PA 19341-1120                                                                           Telephone 877-953-2636
Telephone 800-688-1840

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS POLICY ONLY APPLIES TO CLAIMS
FIRST MADE DURING THE POLICY PERIOD OR, IF APPLICABLE, THE OPTIONAL EXTENSION PERIOD. THE LIMIT OF
LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY THE
PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND
ANY INSURED. PLEASE READ AND REVIEW THE POLICY CAREFULLY.

THE INSURER(S) NAMED HEREIN IS (ARE) NOT LICENSED BY THE STATE OF NEW YORK, NOT SUBJECT TO
ITS SUPERVISION, AND IN THE EVENT OF THE INSOLVENCY OF THE INSURER(S), NOT PROTECTED BY THE
NEW YORK STATE SECURITY FUNDS. THE POLICY MAY NOT BE SUBJECT TO ALL OF THE REGULATIONS
OF THE INSURANCE DEPARTMENT PERTAINING TO POLICY FORMS.


Item 1. Name and Mailing Address of Parent Company:
        Amtrust Financial Services, Inc.
                           rd
        59 Maiden Lane, 43 Floor
        New York, NY 10038

Item 2. Policy Period: Inception Date: October 21, 2017             Expiration Date: October 21, 2018
               At 12:01AM Standard Time at your Mailing Address Shown Above

Item 3. Limit of Liability:
(A) $250,000        Maximum Aggregate Sublimit of Liability each Policy Period for all Investigation Demands

(B) $5,000,000      Maximum Aggregate Limit of Liability each Policy Period (including Defense Expenses) for all
                    Loss from all Claims, Investigation Demands and Interviews

Item 4. Retentions:
          $0.00           each Insured Person under INSURING AGREEMENT I (A) or (D)
          $5,000,000      each Claim, other than a Securities Claim, under INSURING AGREEMENT I (B) or (E)
          $5,000,000      each Securities Claim under INSURING AGREEMENT I (B) or (C)
          $0.00           each Investigation Demand under INSURING AGREEMENT I (F)
Item 5. Optional Extension Period:
         Length of Optional Extension Period: One Year after the end of the Policy Period, if elected.
         Premium for Optional Extension Period:   $1,000,000.00
Item 6. Pending and Prior Litigation Date:          October 21, 2017

Item 7. Notices required to be given to the Insurer must be addressed to:
         XL Professional Insurance
                                   th
         100 Constitution Plaza, 17 Floor
         Hartford, CT 06103
         Toll Free Telephone: 877-953-2636 or proclaimnewnotices@xlcatlin.com
Item 8. Premium:
        Taxes, Surcharges or Fees        $0.00
        Total Policy Premium             $500,000.00
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         EXECUTIVE AND CORPORATE SECURITIES LIABILITY INSURANCE POLICY DECLARATIONS


Item 9. Policy Form and Endorsements Attached at Issuance:
BR 71 00 09 14 XL 80 24 03 03 IHIC-NYSOP (02/07) BR 83 63 11 16 XL 83 13 05 00 BR 83 11 03 15
BR 83 106 07 17 XL 80 72 06 13 XL 80 74 07 13 XL 80 75 07 14

THESE DECLARATIONS AND THE POLICY, WITH THE ENDORSEMENTS, ATTACHMENTS, AND THE APPLICATION SHALL CONSTITUTE THE
ENTIRE AGREEMENT BETWEEN THE INSURER AND THE INSURED RELATING TO THIS INSURANCE.




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                                             IN WITNESS

                             INDIAN HARBOR INSURANCE COMPANY

                                       REGULATORY OFFICE
                               505 EAGLEVIEW BOULEVARD, SUITE 100
                                    DEPARTMENT: REGULATORY
                                      EXTON, PA 19341-1120
                                       PHONE: 800-688-1840



 It is hereby agreed and understood that the following In Witness Clause supercedes any and all other
 In Witness clauses in this policy.

 All other provisions remain unchanged.




 IN WITNESS WHEREOF, the Insurer has caused this policy to be executed and attested, and, if
 required by state law, this policy shall not be valid unless countersigned by a duly authorized
 representative of the Insurer.




  Joseph Tocco                                              Toni Ann Perkins
  President                                                 Secretary




LAD 400 0314 IHIC                                                                               Page 1 of 1
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                              NOTICE TO POLICYHOLDERS


     U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN ASSETS CONTROL
                               (“OFAC”)

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions
 of your policy. You should read your policy and review your Declarations page for complete
 information on the coverages you are provided.

 This Policyholder Notice provides information concerning possible impact on your insurance
 coverage due to the impact of U.S. Trade Sanctions1. Please read this Policyholder Notice carefully.

 In accordance with the U.S. Department of the Treasury’s Office of Foreign Assets Control (“OFAC”)
 regulations, or any other U.S. Trade Sanctions applied by any regulatory body, if it is determined that
 you or any other insured, or any person or entity claiming the benefits of this insurance has violated
 U.S. sanctions law, is a Specially Designated National and Blocked Person (“SDN”), or is owned or
 controlled by an SDN, this insurance will be considered a blocked or frozen contract. When an
 insurance policy is considered to be such a blocked or frozen contract, neither payments nor
 premium refunds may be made without authorization from OFAC. Other limitations on the premiums
 and payments also apply.



 1
   “U.S Trade Sanctions” may be promulgated by Executive Order, act of Congress, regulations from
 the U.S. Departments of State, Treasury, or Commerce, regulations from the State Insurance
 Departments, etc.




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                   POLICYHOLDER DISCLOSURE
                          NOTICE OF TERRORISM
                          INSURANCE COVERAGE

Coverage for acts of terrorism is already included in your current policy. You are hereby notified
that under the Terrorism Risk Insurance Act, as amended in 2015, the definition of act of terrorism
has changed. As defined in Section 102(1) of the Act: The term “act of terrorism” means any act
that is certified by the Secretary of the Treasury, in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States—to be an act of terrorism; to be a violent
act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
damage within the United States, or outside the United States in the case of certain air carriers or
vessels or the premises of a United States mission; and to have been committed by an individual or
individuals as part of an effort to coerce the civilian population of the United States or to influence
the policy or affect the conduct of the United States Government by coercion. Under your existing
coverage, any losses resulting from certified acts of terrorism may be partially reimbursed by the
United States Government under a formula established by federal law. Under this formula, the
United States Government generally reimburses 85% through 2015; 84% beginning on January 1,
2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on
January 1, 2019; and 80% beginning on January 1, 2020, of covered terrorism losses exceeding the
statutorily established deductible paid by the insurance company providing the coverage.
However, your policy may contain other exclusions that may affect your coverage. The Terrorism
Risk Insurance Act, as amended, contains a $100 billion cap that limits U.S. Government
reimbursement as well as insurers’ liability for losses resulting from certified acts of terrorism
when the amount of such losses exceeds $100 billion in any one calendar year. If the aggregate
insured losses for all insurers exceed $100 billion, your coverage may be reduced.

The portion of your annual premium that is attributable to coverage for acts of terrorism is:
$ waived. Any premium waiver is only valid for the current Policy Period.


I ACKNOWLEDGE THAT I HAVE BEEN NOTIFIED THAT UNDER THE TERRORISM RISK INSURANCE
ACT, AS AMENDED, ANY LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM UNDER MY
POLICY COVERAGE MAY BE PARTIALLY REIMBURSED BY THE UNITED STATES GOVERNMENT
AND I HAVE BEEN NOTIFIED OF THE AMOUNT OF MY PREMIUM ATTRIBUTABLE TO SUCH
COVERAGE.

Name of Insurer:   Indian Harbor Insurance Company

Policy Number:     US00080794DO17A


____________________________
Signature of Insured

____________________________
Print Name and Title

____________________________
Date
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                               NOTICE TO POLICYHOLDERS

                                                PRIVACY POLICY

The XL Catlin insurance group (the “Companies”), believes personal information that we collect about our
customers, potential customers, and proposed insureds (referred to collectively in this Privacy Policy as
“customers”) must be treated with the highest degree of confidentiality. For this reason and in compliance with
the Title V of the Gramm-Leach-Bliley Act (“GLBA”), we have developed a Privacy Policy that applies to all of our
companies. For purposes of our Privacy Policy, the term “personal information” includes all information we obtain
about a customer and maintain in a personally identifiable way. In order to assure the confidentiality of the
personal information we collect and in order to comply with applicable laws, all individuals with access to personal
information about our customers are required to follow this policy.

Our Privacy Promise

Your privacy and the confidentiality of your business records are important to us. Information and the analysis of
information is essential to the business of insurance and critical to our ability to provide to you excellent, cost-
effective service and products. We understand that gaining and keeping your trust depends upon the security and
integrity of our records concerning you. Accordingly, we promise that:

1. We will follow strict standards of security and confidentiality to protect any information you share with us or
   information that we receive about you;
2. We will verify and exchange information regarding your credit and financial status only for the purposes of
   underwriting, policy administration, or risk management and only with reputable references and clearinghouse
   services;
3. We will not collect and use information about you and your business other than the minimum amount of
   information necessary to advise you about and deliver to you excellent service and products and to administer
   our business;
4. We will train our employees to handle information about you or your business in a secure and confidential
   manner and only permit employees authorized to use such information to have access to such information;
5. We will not disclose information about you or your business to any organization outside the XL Catlin
   insurance group of Companies or to third party service providers unless we disclose to you our intent to do so
   or we are required to do so by law;
6. We will not disclose medical information about you, your employees, or any claimants under any policy of
   insurance, unless you provide us with written authorization to do so, or unless the disclosure is for any
   specific business exception provided in the law;
7. We will attempt, with your help, to keep our records regarding you and your business complete and accurate,
   and will advise you how and where to access your account information (unless prohibited by law), and will
   advise you how to correct errors or make changes to that information; and
8. We will audit and assess our operations, personnel and third party service providers to assure that your
   privacy is respected.

Collection and Sources of Information

We collect from a customer or potential customer only the personal information that is necessary for (a)
determining eligibility for the product or service sought by the customer, (b) administering the product or service
obtained, and (c) advising the customer about our products and services. The information we collect generally
comes from the following sources:
 Submission – During the submission process, you provide us with information about you and your business,
    such as your name, address, phone number, e-mail address, and other types of personal identification
    information;
 Quotes – We collect information to enable us to determine your eligibility for the particular insurance product
    and to determine the cost of such insurance to you. The information we collect will vary with the type of
    insurance you seek;
 Transactions – We will maintain records of all transactions with us, our affiliates, and our third party service
    providers, including your insurance coverage selections, premiums, billing and payment information, claims
    history, and other information related to your account;
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                                NOTICE TO POLICYHOLDERS
   Claims – If you obtain insurance from us, we will maintain records related to any claims that may be made
    under your policies. The investigation of a claim necessarily involves collection of a broad range of
    information about many issues, some of which does not directly involve you. We will share with you any facts
    that we collect about your claim unless we are prohibited by law from doing so. The process of claim
    investigation, evaluation, and settlement also involves, however, the collection of advice, opinions, and
    comments from many people, including attorneys and experts, to aid the claim specialist in determining how
    best to handle your claim. In order to protect the legal and transactional confidentiality and privileges
    associated with such opinions, comments and advice, we will not disclose this information to you; and
   Credit and Financial Reports – We may receive information about you and your business regarding your
    credit. We use this information to verify information you provide during the submission and quote processes
    and to help underwrite and provide to you the most accurate and cost-effective insurance quote we can
    provide.

Retention and Correction of Personal Information

We retain personal information only as long as required by our business practices and applicable law. If we
become aware that an item of personal information may be materially inaccurate, we will make reasonable effort
to re-verify its accuracy and correct any error as appropriate.

Storage of Personal Information

We have in place safeguards to protect data and paper files containing personal information.

Sharing/Disclosing of Personal Information

We maintain procedures to assure that we do not share personal information with an unaffiliated third party for
marketing purposes unless such sharing is permitted by law. Personal information may be disclosed to an
unaffiliated third party for necessary servicing of the product or service or for other normal business transactions
as permitted by law.

We do not disclose personal information to an unaffiliated third party for servicing purposes or joint marketing
purposes unless a contract containing a confidentiality/non-disclosure provision has been signed by us and the
third party. Unless a consumer consents, we do not disclose “consumer credit report” type information obtained
from an application or a credit report regarding a customer who applies for a financial product to any unaffiliated
third party for the purpose of serving as a factor in establishing a consumer’s eligibility for credit, insurance or
employment. “Consumer credit report type information” means such things as net worth, credit worthiness,
lifestyle information (piloting, skydiving, etc.) solvency, etc. We also do not disclose to any unaffiliated third party
a policy or account number for use in marketing. We may share with our affiliated companies information that
relates to our experience and transactions with the customer.

Policy for Personal Information Relating to Nonpublic Personal Health Information

We do not disclose nonpublic personal health information about a customer unless an authorization is obtained
from the customer whose nonpublic personal information is sought to be disclosed. However, an authorization
shall not be prohibited, restricted or required for the disclosure of certain insurance functions, including, but not
limited to, claims administration, claims adjustment and management, detection, investigation or reporting of
actual or potential fraud, misrepresentation or criminal activity, underwriting, policy placement or issuance, loss
control and/or auditing.

Access to Your Information

Our employees, employees of our affiliated companies, and third party service providers will have access to
information we collect about you and your business as is necessary to effect transactions with you. We may also
disclose information about you to the following categories of person or entities:


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                                  NOTICE TO POLICYHOLDERS
   Your independent insurance agent or broker;
   An independent claim adjuster or investigator, or an attorney or expert involved in the claim;
   Persons or organizations that conduct scientific studies, including actuaries and accountants;
   An insurance support organization;
   Another insurer if to prevent fraud or to properly underwrite a risk;
   A state insurance department or other governmental agency, if required by federal, state or local laws; or
   Any persons entitled to receive information as ordered by a summons, court order, search warrant, or
    subpoena.

Violation of the Privacy Policy

Any person violating the Privacy Policy will be subject to discipline, up to and including termination.




For more information or to address questions regarding this privacy statement, please contact your broker.




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                         NOTICE TO POLICYHOLDERS

                                           FRAUD NOTICE


   Arkansas       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
                  of a crime and may be subject to fines and confinement in prison.
   Colorado       It is unlawful to knowingly provide false, incomplete, or misleading facts or
                  information to an insurance company for the purpose of defrauding or
                  attempting to defraud the company. Penalties may include imprisonment, fines,
                  denial of insurance, and civil damages. Any insurance company or agent of an
                  insurance company who knowingly provides false, incomplete, or misleading
                  facts or information to a policyholder or claimant for the purpose of defrauding
                  or attempting to defraud the policyholder or claimant with regard to a settlement
                  or award payable from insurance proceeds shall be reported to the Colorado
                  Division of Insurance within the Department of Regulatory Agencies.
   District of    WARNING: It is a crime to provide false or misleading information to an insurer for the
   Columbia       purpose of defrauding the insurer or any other person. Penalties include imprisonment
                  and/or fines. In addition, an insurer may deny insurance benefits if false information
                  materially related to a claim was provided by the applicant.
   Florida        Any person who knowingly and with intent to injure, defraud, or deceive any insurer
                  files a statement of claim or an application containing any false, incomplete, or
                  misleading information is guilty of a felony of the third degree.
   Kansas         A "fraudulent insurance act" means an act committed by any person who, knowingly
                  and with intent to defraud, presents, causes to be presented or prepares with
                  knowledge or belief that it will be presented to or by an insurer, purported insurer,
                  broker or any agent thereof, any written, electronic, electronic impulse, facsimile,
                  magnetic, oral, or telephonic communication or statement as part of, or in support of, an
                  application for the issuance of, or the rating of an insurance policy for personal or
                  commercial insurance, or a claim for payment or other benefit pursuant to an insurance
                  policy for commercial or personal insurance which such person knows to contain
                  materially false information concerning any fact material thereto; or conceals, for the
                  purpose of misleading, information concerning any fact material thereto.
   Kentucky       Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance containing any materially false information or
                  conceals, for the purpose of misleading, information concerning any fact material
                  thereto commits a fraudulent insurance act, which is a crime.
   Louisiana      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
                  of a crime and may be subject to fines and confinement in prison.
   Maine          It is a crime to knowingly provide false, incomplete or misleading information to an
                  insurance company for the purpose of defrauding the company. Penalties may include
                  imprisonment, fines, or denial of insurance benefits.
   Maryland       Any person who knowingly or willfully presents a false or fraudulent claim for payment
                  of a loss or benefit or who knowingly or willfully presents false information in an
                  application for insurance is guilty of a crime and may be subject to fines and
                  confinement in prison.
   New Jersey     Any person who includes any false or misleading information on an application for an
                  insurance policy is subject to criminal and civil penalties.
   New Mexico     ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM
                  FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE
                  INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME
                  AND MAY BE SUBJECT TO CIVIL FINES AND CRIMINAL PENALTIES.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 52 of 1049 PageID #: 64
                         NOTICE TO POLICYHOLDERS

   New York       General: All applications for commercial insurance, other than automobile
                  insurance: Any person who knowingly and with intent to defraud any insurance
                  company or other person files an application for insurance or statement of claim
                  containing any materially false information, or conceals for the purpose of misleading,
                  information concerning any fact material thereto, commits a fraudulent insurance act,
                  which is a crime, and shall also be subject to a civil penalty not to exceed five thousand
                  dollars and the stated value of the claim for each such violation.

                  All applications for automobile insurance and all claim forms: Any person who
                  knowingly makes or knowingly assists, abets, solicits or conspires with another to make
                  a false report of the theft, destruction, damage or conversion of any motor vehicle to a
                  law enforcement agency, the department of motor vehicles or an insurance company,
                  commits a fraudulent insurance act, which is a crime, and shall also be subject to a civil
                  penalty not to exceed five thousand dollars and the value of the subject motor vehicle
                  or stated claim for each violation.

                  Fire: Any person who knowingly and with intent to defraud any insurance company or
                  other person files an application for insurance containing any false information, or
                  conceals for the purpose of misleading, information concerning any fact material
                  thereto, commits a fraudulent insurance act, which is a crime.

                  The proposed insured affirms that the foregoing information is true and agrees that
                  these applications shall constitute a part of any policy issued whether attached or not
                  and that any willful concealment or misrepresentation of a material fact or
                  circumstances shall be grounds to rescind the insurance policy.
   Ohio           Any person who, with intent to defraud or knowing that he is facilitating a fraud against
                  an insurer, submits an application or files a claim containing a false or deceptive
                  statement is guilty of insurance fraud.
   Oklahoma       WARNING: Any person who knowingly, and with intent to injure, defraud or deceive
                  any insurer, makes any claim for the proceeds of an insurance policy containing any
                  false, incomplete or misleading information is guilty of a felony.
   Pennsylvania   All Commercial Insurance, Except As Provided for Automobile Insurance:
                  Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance or statement of claim containing any materially
                  false information or conceals for the purpose of misleading, information concerning any
                  fact material thereto commits a fraudulent insurance act, which is a crime and subjects
                  such person to criminal and civil penalties.

                  Automobile Insurance: Any person who knowingly and with intent to injure or defraud
                  any insurer files an application or claim containing any false, incomplete or misleading
                  information shall, upon conviction, be subject to imprisonment for up to seven years
                  and the payment of a fine of up to $15,000.
   Puerto Rico    Any person who knowingly and with the intention of defrauding presents false
                  information in an insurance application, or presents, helps, or causes the
                  presentation of a fraudulent claim for the payment of a loss or any other benefit,
                  or presents more than one claim for the same damage or loss, shall incur a
                  felony and, upon conviction, shall be sanctioned for each violation by a fine of
                  not less than five thousand dollars ($5,000) and not more than ten thousand
                  dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both
                  penalties. Should aggravating circumstances [be] present, the penalty thus
                  established may be increased to a maximum of five (5) years, if extenuating
                  circumstances are present, it may be reduced to a minimum of two (2) years.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 53 of 1049 PageID #: 65
                             NOTICE TO POLICYHOLDERS

   Rhode Island       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                      benefit or knowingly presents false information in an application for insurance is guilty
                      of a crime and may be subject to fines and confinement in prison.
   Tennessee          All Commercial Insurance, Except As Provided for Workers’ Compensation It is a
                      crime to knowingly provide false, incomplete or misleading information to an insurance
                      company for the purpose of defrauding the company. Penalties include imprisonment,
                      fines and denial of insurance benefits.

                      Workers’ Compensation: It is a crime to knowingly provide false, incomplete or
                      misleading information to any party to a workers’ compensation transaction for the
                      purpose of committing fraud. Penalties include imprisonment, fines and denial of
                      insurance benefits.
   Utah               Workers’ Compensation: Any person who knowingly presents false or fraudulent
                      underwriting information, files or causes to be filed a false or fraudulent claim for
                      disability compensation or medical benefits, or submits a false or fraudulent report or
                      billing for health care fees or other professional services is guilty of a crime and may be
                      subject to fines and confinement in state prison.
   Virginia           It is a crime to knowingly provide false, incomplete or misleading information to an
                      insurance company for the purpose of defrauding the company. Penalties include
                      imprisonment, fines and denial of insurance benefits.
   Washington         It is a crime to knowingly provide false, incomplete or misleading information to an
                      insurance company for the purpose of defrauding the company. Penalties include
                      imprisonment, fines and denial of insurance benefits.
   West Virginia      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                      benefit or knowingly presents false information in an application for insurance is guilty
                      of a crime and may be subject to fines and confinement in prison.
   All Other States   Any person who knowingly and willfully presents false information in an application for
                      insurance may be guilty of insurance fraud and subject to fines and confinement in
                      prison. (In Oregon, the aforementioned actions may constitute a fraudulent insurance
                      act which may be a crime and may subject the person to penalties).




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                                                                                                XL 80 24 03 03
Endorsement No.: 1                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                  TERRORISM PREMIUM ENDORSEMENT


Please note: The portion of your annual premium set forth in Item 8. of the Declarations that is attributable to
coverage for acts of terrorism is: $ waived.




All other terms, conditions and limitations of this Policy shall remain unchanged.




XL 80 24 03 03                                                                                            Page 1 of 1
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 55 of 1049 PageID #: 67
Endorsement No.: 2                                           Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.              12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                  Insurer: Indian Harbor Insurance Company




                     SERVICE OF PROCESS ENDORSEMENT

Indian Harbor Insurance Company (hereafter referred to as "the Company") pursuant to the provisions of
Regulation 41, promulgated by New York (11 NYCRR 27.16) by issuance of this policy hereby appoints
the Superintendent of Insurance of the State of New York to be its true and lawful attorney upon whom
may be served all lawful process in any proceeding instituted by or on behalf of an insured or beneficiary
arising out of this insurance policy. The Company hereby signifies its agreement that service of process
in such manner is of the same legal force and validity as personal service of process in New York upon
the Company.

For Illinois exposures, the Insurer further designates the Director of the Illinois Division of Insurance and
his successors in office, as its true and lawful attorney upon whom may be served any lawful process in
any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary hereunder
arising out of an Illinois exposure and this contract of insurance.


All other terms and conditions of this policy remain unchanged.




IHIC-NYSOP (02/07)
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                                                                                                BR 83 63 11 16
Endorsement No.: 3                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                               GENERAL E&O EXCLUSION

In consideration of the premium charged, no coverage will be available under this Policy for Loss from any Claim,
Interview or Investigation Demand based upon, arising out of, directly or indirectly resulting from, in consequence
of, or in any way involving any actual or alleged act, error, omission, misstatement, misleading statement or
breach of duty in connection with the rendering of, or actual or alleged failure to render, any services for others for
a fee or commission or on any other compensated basis by any person or entity otherwise entitled to coverage
under this Policy.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 57 of 1049 PageID #: 69
                                                                                                XL 83 13 05 00
Endorsement No.: 4                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




          INSURANCE COMPANY ERRORS AND OMISSIONS
                      ENDORSEMENT


In consideration of the premium charged:

(1)     Whenever used in this endorsement, the term “Insurance Contract” means any policy or agreement of
        insurance, reinsurance or indemnity, including but not limited to bonds, annuities, endowments, pension
        contracts and risk management self-insurance programs, pools or similar programs.

(2)     No coverage will be available under this Policy for Loss, including Defense Expenses, resulting from any
        Claim based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
        involving:

        (a)      any actual or alleged refusal to offer, issue or renew, or the cancellation of, any Insurance
                 Contract;

        (b)      any actual or alleged failure or refusal to pay or in the delay in the payment of, benefits due or
                 alleged to have been due under any Insurance Contract;

        (c)      any actual or alleged lack of good faith or unfair dealing in the handling of any claim or obligation
                 under any Insurance Contract, or in the brokering or underwriting of insurance policies or risks;

        (d)      any actual or alleged conduct of the Company or of any Insured Person as an insurance agent or
                 broker in the negotiation, placement or maintenance of any Insurance Contract; or

        (e)      any actual or alleged failure to effect or maintain reinsurance.




All other terms, conditions and limitations of this Policy remain unchanged.




XL 83 13 05 00                                                                                            Page 1 of 1
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                                                                                                BR 83 11 03 15
Endorsement No.: 5                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                                PRIOR ACTS EXCLUSION


In consideration of the premium charged, no coverage will be available for any Claim, Interview or Investigation
Demand based upon, arising out of, directly or indirectly resulting from, in consequence of or in any way involving
any act, error, omission, misstatement, misleading statement, neglect, breach of duty or Wrongful Act committed
or allegedly committed prior to October 21, 2017.



All other terms, conditions and limitations of this Policy shall remain unchanged.




BR 83 11 03 15                                                                                    Page 1 of 1
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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 59 of 1049 PageID #: 71
                                                                                               BR 83 106 07 17
Endorsement No.: 6                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




 SPECIFIC INVESTIGATION/CLAIM/LITIGATION/EVENT OR
                 ACT ENDORSEMENT


In consideration of the premium charged, without in any way limiting the effectiveness of Section III Exclusions
(B)(1) and (2) of the Policy, no coverage shall be available under this Policy for any Loss in connection with: (i)
any of the Claim(s), Interview(s), Investigation Demand(s), notices, events, investigations or actions set forth in
subparagraph (1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16) (hereinafter “Events”); (ii) the prosecution, adjudication,
settlement, disposition, resolution or defense of: (a) any Event; or (b) any Claim, Interview or Investigation
Demand arising from any Event; or (iii) any Wrongful Act, underlying facts, circumstances, acts or omissions in
any way relating to any Event.

EVENT(S)

(1) Erk Erginer, Derivatively on Behalf of Nominal Defendant AmTrust Financial Services, Inc., Plaintiff, v.
     Michael Karfunkel, George Karfunkel, Barry D. Zyskind, Donald T. DeCarlo, Abraham Gulkowitz, Isaac M.
     Neuberger, Jay J. Miller, Max G. Caviet, Ronald E. Pipoly, Jr., Maiden Holdings, Ltd., Maiden Insurance
     Company, Ltd., Defendants and AmTrust Financial Services, Inc., Nominal Defendant. Listed on 10k filed on
     3/15/2009
(2) Tower Group Stockholder Derivative Lawsuit received by AIG on 4/22/2017, Case Number: 13-cv-5852-AT
     (S.D.N.Y.)
(3) Cambridge Retirement Systems Stockholder Derivative Action filed on 4/07/2017, Case Number: 10879-CB
(4) Shaya Lerner Stockholder Derivative Action received by AIG on 2/08/2018, Index Number: 650538/2016
(5) David Shaev Profit Sharing Plan Stockholder Derivative Action filed on 04/27/2017
(6) Lily Ding Stockholder Derivative Action filed on 4/19/2017, Case Number : 1:17-cv-00433
(7) Benjamin Miller Class Action lawsuit recived by AIG on 3/08/2017, Case Number: 2:17-cv-01608
(8) West Palm Beach Police Pension Fund Stockholder Derivative Action filed on 5/11/2017, Case Number:
     1:17-cv-00553
(9) City of Lauderhill Police Officers Retirement Plan Stockholder Derivative Action filed on 6/28/2017
     U.S. District Court for the District of Delaware case number 1:17-cv-00843-UNA
(10) Pompano Beach Police & Firefighters Retirement System Stockholder Derivative Action filed on 6/28/2017
     U.S. District Court for the District of Delaware case number 1:17-cv-00843-UNA
(11) In re AmTrust Financial Services, Inc. Securities Litigation listed on 10Q filed 8/09/2017
(12) Miller v. AmTrust, Zyskind, and Pipoly listed on 10Q filed 8/09/2017
(13) Rubel v. AmTrust, Zyskind, and Pipoly; Sachetti v. AmTrust, Zyskind, and Pipoly listed on 10Q 8/09/2017
(14) Albano v. AmTrust Financial Services, Inc. et al. listed on 10Q filed 8/09/2017
(15) Rikhard Dauber, Pompano Beach Police & Firefighters Retirement System, Nestor Shust, and the City of
     Lauderhill Police Officers’ Retirement Plan Books and Records demands filed in April, May and June, 2017
(16) Trust Risk Group Dispute listed on 10k filed on 02/29/2016

It is further understood and agreed that no coverage shall be available under this Policy for any Loss in
connection with:

(A) any restatement, retraction, amendment or revision of in part or in whole:

        (i)     any document or statement filed or submitted or required to be filed or submitted with the
                Securities and Exchange Commission or any other similar federal, state or local agency
                (including but limited to any 10Ks, 10Qs or annual reports); or

        (ii)    any written or oral statement made regarding the assets, revenues, sales or financial conditions
                of the Company,
BR 83 106 07 17                                                                                   Page 1 of 1
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        based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
        any Event or the resolution of said Event; and

B) any Claim, Interview or Investigation Demand based upon, arising out of, directly or indirectly resulting from,
in consequence of, or in any way involving an Interrelated Wrongful Act, regardless of whether or not such Claim,
Interview or Investigation Demand involved the same or different Insureds, the same or different legal causes of
action or the same or different claimants or is brought in the same or different venue or resolved in the same or
different forum.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                 XL 80 72 06 13
Endorsement No.: 7                                           Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.              12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                  Insurer: Indian Harbor Insurance Company


                            LINKED LIMIT ENDORSEMENT


In consideration of the premium charged, the Insured agrees with the Insurer that the total of all limits of liability
under this Policy and any and all other insurance policies issued or reinsured by the Insurer or its affiliates
scheduled hereunder to the Insured or any of the Insured’s worldwide affiliates, officers, directors, or employees,
(this Policy together with all such other policies being referred to herein as “Program Policies”) shall not exceed
the amount of the Program Aggregate Limit indicated below:

Program Aggregate Limit: $5,000,000

Schedule of Program Policies: (list all policies below):


              Named Insured                   Issuing XL Group           Policy Number            Policy Period
                                              Insurer
Policy 1      Amtrust Europe Ltd              XL Insurance Company       GB00072074DO17A          October 21, 2017 –
                                              SE                                                  October 21, 2018
Policy 2      Shanghai First Response         Ping An Property &         HK00015582DO17A          October 21, 2017 –
              Serivce Company Limited         Casualty Insurance                                  October 21, 2018
                                              Company of China, Ltd.
Policy 3      Amtrust International           XL Insurance Company       IE00018434DO17A          October 21, 2017 –
              Underwriters, LTD               SE                                                  October 21, 2018
Policy 4      Amtrust Insurance               XL Insurance Company       NL00007339DO17A          October 21, 2017 –
              Luxembourg SA                   SE                                                  October 21, 2018
Policy 5      All Insurance Management        XL Specialty Insurance     US00081230DO17A          October 21, 2017 –
              Limited                         Company                                             October 21, 2018

In the event that any payment is made under this Policy or any other Program Policy with the effect that the
Program Aggregate Limit is exceeded, the Insured under this Policy shall immediately upon the request of the
Insurer pay to the Insurer the sum of such excess.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                XL 80 74 07 13
Endorsement No.: 8                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




            SIMULTANEOUS TERMINATION ENDORSEMENT


In consideration of the premium charged, it is understood and agreed that if this Policy is canceled pursuant to
Section VI General Conditions (E)(1) or (E)(2) of the Policy, any and all other insurance policies issued or
reinsured by the Insurer or its affiliates scheduled below to the Insured or any of the Insured’s worldwide affiliates,
officers, directors, or employees, (this Policy together with all such other policies being referred to herein as
“Program Policies”), shall be deemed terminated and cancelled automatically and simultaneously with this Policy.

Schedule of Program Policies:

    #         Named Insured            Issuing XL Group Insurer          Policy Number             Policy Period
           Amtrust Europe Ltd          XL Insurance Company SE         GB00072074DO17A          October 21, 2017 –
    1
                                                                                                October 21, 2018
           Shanghai First              Ping An Property &              HK00015582DO17A          October 21, 2017 –
    2      Response Serivce            Casualty Insurance                                       October 21, 2018
           Company Limited             Company of China, Ltd.
           Amtrust International       XL Insurance Company SE         IE00018434DO17A          October 21, 2017 –
    3
           Underwriters, LTD                                                                    October 21, 2018
           Amtrust Insurance           XL Insurance Company SE         NL00007339DO17A          October 21, 2017 –
    4
           Luxembourg SA                                                                        October 21, 2018
           All Insurance               XL Specialty Insurance          US00081230DO17A          October 21, 2017 –
    5
           Management Limited          Company                                                  October 21, 2018




All other terms, conditions and limitations of this Policy shall remain unchanged.




XL 80 74 07 13                                                                                     Page 1 of 1
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                                                                                                XL 80 75 07 14
Endorsement No.: 9                                          Effective: October 21, 2017
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                 WORLDWIDE COVERAGE ENDORSEMENT

In consideration of the premium charged, coverage available under this Policy shall extend outside the United
States of America, its territories or possessions anywhere in the world where legally permissible on an admitted
basis or under the following alternate bases of coverage:


            A. Permissible Unlicensed Coverage
            Coverage shall be provided on an unlicensed basis under Section I Insuring Agreements (A), (B) and
            (C) of the Policy within jurisdictions where the Insurer’s provision of coverage on an unlicensed basis
            is permissible via non-admitted, difference in condition, difference in limits coverage and/or pursuant
            to any relevant law or regulation applicable to the placement of coverage in the relevant jurisdiction;

            or

            B. Financial Interest Coverage
            Coverage shall be provided to the Parent Company for its financial interests pursuant to Section I
            Insuring Agreements (B) and (C) of the Policy located within jurisdictions where:

                 (i)     applicable law or regulation do not, to the best of the Insurer’s good faith knowledge,
                         allow it to provide coverage; and/or

                 (ii)    the Parent Company has elected that the Policy will not cover such entity directly but will
                         cover the Parent Company’s own financial interest in such entity.

            Where the financial interest coverage basis is triggered to indemnify the Parent Company under this
            Policy, the Insurer and Parent Company agree that:

                 (iii)   the Parent Company has a financial interest in the Companies intended to be covered
                         under Section I Insuring Agreements (B) and (C) of the Policy because the Parent
                         Company benefits financially from the continued operation of these Companies and/or
                         would be prejudiced by loss to, or damage to, or liability incurred by, or to Companies in
                         the operation of its business. Financial interest includes, but is not limited to, the value of
                         any direct or indirect shareholding of the Parent Company in such Companies intended to
                         be covered under Section I Insuring Agreements (B) and (C) of the Policy;

                 (iv)    subject to the terms, conditions, limitations and exceptions of this Policy, the Insurer shall
                         indemnify, by way of agreed valuation, the Parent Company in respect of its loss to its
                         financial interest, by payment to the Parent Company of a sum equal to that which would
                         be payable to the Companies intended to be covered under Section I Insuring
                         Agreements (B) and (C) of the Policy as if a policy with the same terms and conditions of
                         this Policy has been issued to such Companies in respect of its own interest, less the
                         amount of any indemnity actually received under any policy insuring such Companies in
                         respect of the same interest.

In all events this Endorsement shall not provide coverage to any entity or individual not otherwise provided
coverage under the terms, conditions and limitations of the Policy nor is this Endorsement intended to extend or
broaden the coverage otherwise available hereunder.

All other terms, conditions and limitations of the Policy shall remain unchanged.

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                                                                                                BR 80 74 11 15
Endorsement No.: 10                                         Effective: October 21, 2018
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                 AMEND POLICY PERIOD ENDORSEMENT

In consideration of an additional premium of $41,000.00 charged:

(1)     Item 2 of the Declarations is amended to read as follows:

        Item 2. Policy Period: Inception Date: October 21, 2017 Expiration Date: November 20, 2018
        At 12:01 AM Standard Time at your Mailing Address Shown Above.

(2)     It is expressly understood and agreed that the maximum aggregate Limit of Liability set forth in Item 3 of
        the Declarations shall continue to be the maximum aggregate Limit of Liability for the entire Policy Period,
        as amended above.

(3)     Item 8 of the Declarations is amended to read as follows:

        Item 8. Premium:
                Taxes, Surcharges or Fees:                 $0.00
                Total Policy Premium:                      $541,000.00

(4)     The term “Application,” as used in this Policy, shall be deemed to include any additional application and
        any updated or supplemental information relating to the application for this Policy attached to and forming
        part of this Policy, including any materials submitted therewith, all of which are on file with the Insurer and
        are a part of the Policy, as if physically attached.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                BR 80 74 11 15
Endorsement No.: 11                                         Effective: November 20, 2018
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                 AMEND POLICY PERIOD ENDORSEMENT

In consideration of an additional premium of $56,000.00 charged:

(1)     Item 2 of the Declarations is amended to read as follows:

        Item 2. Policy Period: Inception Date: October 21, 2017 Expiration Date: December 31, 2018
        At 12:01 AM Standard Time at your Mailing Address Shown Above.

(2)     It is expressly understood and agreed that the maximum aggregate Limit of Liability set forth in Item 3 of
        the Declarations shall continue to be the maximum aggregate Limit of Liability for the entire Policy Period,
        as amended above.

(3)     Item 8 of the Declarations is amended to read as follows:

        Item 8. Premium:
                Taxes, Surcharges or Fees:                 $0.00
                Total Policy Premium:                      $597,000.00

(4)     The term “Application,” as used in this Policy, shall be deemed to include any additional application and
        any updated or supplemental information relating to the application for this Policy attached to and forming
        part of this Policy, including any materials submitted therewith, all of which are on file with the Insurer and
        are a part of the Policy, as if physically attached.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 66 of 1049 PageID #: 78
                                                                                                XL 80 20 01 02
Endorsement No.: 12                                         Effective: November 29, 2018
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




                        ADD/DELETE AN ENDORSEMENT
                         (FOR ADDITIONAL PREMIUM)

In consideration of an additional premium of $1,000,000.00 charged:

(1)     Endorsement No. 3 and Endorsement No. 4 are deleted from this Policy.

(2)     Item 8. of the Declarations is amended to read in its entirety as follows:

        “Item 8. Premium: $1,597,000.00 Total Policy Premium”




All other terms, conditions and limitations of this Policy shall remain unchanged.




XL 80 20 01 02                                                                                     Page 1 of 1
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 67 of 1049 PageID #: 79
                                                                                    BR 83 43 02 16
Endorsement No.: 13                             Effective: November 29, 2018
Named Insured: Amtrust Financial Services, Inc. 12:01 A.M. Standard Time
Policy No.: US00080794DO17A                     Insurer: Indian Harbor Insurance Company
Policy Form: EXECUTIVE AND CORPORATE SECURITIES LIABILITY


                              GENERAL E&O EXCLUSION

In consideration of the premium charged:

(1)     No coverage will be available under this Policy for Loss from any Claim, Interview or Investigation
        Demand based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
        involving any actual or alleged act, error, omission, misstatement, misleading statement or breach of duty
        in connection with the rendering of, or actual or alleged failure to render, any services for others for a fee
        or commission or on any other compensated basis by any person or entity otherwise entitled to coverage
        under this Policy.

(2)     Paragraph (1) above is not intended, however, nor shall it be construed, to apply to Loss in connection
        with any Securities Claim brought by a security holder of the Company, or a derivative action brought by
        or on behalf of, or in the name or right of, the Company, and brought and maintained independently of,
        and without the solicitation, assistance, participation or intervention of, an Insured.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                DO 83 74 06 03
Endorsement No.: 14                                         Effective: November 29, 2018
Named Insured: Amtrust Financial Services, Inc.             12:01 A.M. Standard Time
Policy No.: US00080794DO17A                                 Insurer: Indian Harbor Insurance Company




         INSURANCE ERRORS & OMISSIONS EXCLUSION

In consideration of the premium charged:

(1)     Whenever used in this endorsement, the term “Insurance Contract” means any policy or agreement of
        insurance, reinsurance or indemnity, including but not limited to bonds, annuities, endowments, pension
        contracts and risk management self-insurance programs, pools or similar programs.

(2)     No coverage will be available under this Policy for Claims based upon, arising out of, directly or indirectly
        resulting from, in consequence of, or in any way involving:

        (a)      the actual or alleged refusal to offer, issue or renew, or the cancellation of, any Insurance
                 Contract;

        (b)      the actual or alleged failure or refusal to pay, or delay in the payment of, benefits due or alleged
                 to have been due under any Insurance Contract;

        (c)      the actual or alleged lack of good faith or unfair dealing in the handling of any claim or obligation
                 under any Insurance Contract, or the brokering or underwriting of insurance policies or risks;

        (d)      the actual or alleged conduct of the Company or any Insured Person as an insurance agent or
                 insurance broker in the negotiation, placement or maintenance of any Insurance Contract;

        (e)      the rendering of professional services for others in the Company’s capacity as investment
                 counselor, manager or advisor, investment banker, securities broker or dealer, financial planner
                 or analyst, insurance agent or broker, general partner, limited partner or partnership unit
                 distributor, or any similar capacity;

        (f)      the sponsorship, ownership, control, management or operation of any investment company
                 required to be registered with the United States Securities and Exchange Commission by the
                 Investment Company Act of 1940;

        (g)      the offering or sale of shares in any unit investment trust or management investment company or
                 of variable annuity plans;

        (h)      any diminution of assets in connection with the activities described in subparagraphs (2)(f) and
                 (2)(g) above; or

        (i)      any actual or alleged failure to effect or maintain reinsurance.

(3)     Paragraph (2) above is not intended, however, nor shall it be construed, to apply to Loss in connection
        with any Securities Claim brought by a security holder of the Company, or a derivative action brought by
        or on behalf of, or in the name or right of, the Company, and brought and maintained independently of,
        and without the solicitation, assistance, participation or intervention of, an Insured.




All other terms, conditions and limitations of this Policy shall remain unchanged.




DO 83 74 06 03                                                                                            Page 1 of 1
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                                                                                  BRX 80 152 09 18
Endorsement No.: 15                             Effective: November 29, 2018
Named Insured: Amtrust Financial Services, Inc. 12:01 A.M. Standard Time
Policy No.: US00080794DO17A                     Insurer: Indian Harbor Insurance Company
Policy Form: EXECUTIVE AND CORPORATE SECURITIES LIABILITY


       AMEND PRIOR ACTS EXCLUSION ENDORSEMENT

In consideration of the premium charged:

(1)     Solely with respect to Claims, Interviews or Investigation Demands first made on or after the Effective
        Date of this Endorsement, Endorsement No. 5 to this Policy shall be deleted in its entirety.

(2)     It is understood and agreed that with respect to Claims, Interviews or Investigation Demands made on or
        after the Effective Date of this Endorsement, no coverage will be available under this Policy for Claims,
        Interviews or Investigation Demands based upon, arising out of, directly or indirectly resulting from, in
        consequence of, or in any way involving any fact, circumstance, situation, transaction, event or Wrongful
        Act which, before such Effective Date, was the subject of any notice given under this or any other
        Management Liability policy, Directors and Officers liability policy or similar policy.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                   BR 80 179 08 16
Endorsement No.: 16                             Effective: November 29, 2018
Named Insured: Amtrust Financial Services, Inc. 12:01 A.M. Standard Time
Policy No.: US00080794DO17A                     Insurer: Indian Harbor Insurance Company
Policy Form: EXECUTIVE AND CORPORATE SECURITIES LIABILITY


                  CONVERT TO RUN-OFF ENDORSEMENT

In consideration of an additional premium of $1,000,000.00 (the “Run-off Premium”):

(1)     The amount of unearned premium for the Original Policy Period, as defined below, is $43,680.00

(2)     Item 2 of the Declarations is amended to read in its entirety as follows:

        “Item 2. Policy Period: From: October 21, 2017      To: November 29, 2024
        At 12:01 AM Standard Time at your Mailing Address Shown Above”

(3)     It is expressly understood and agreed that the maximum aggregate Limit of Liability set forth in Item 3 of
        the Declarations shall continue to be the maximum aggregate Limit of Liability for the entire Policy Period,
        as amended in paragraph (2) above.

(4)     Item 5 of the Declarations is deleted in its entirety.

(5)     Item 8 of the Declarations is amended to read in its entirety as follows:

        “Item 8. Premium:
                 Original Premium:                 $597,000.00
                 Run-off Premium:                  $1,000,000.00
                 Unearned Premium:                 $43,680.00
                 Taxes, Surcharges or Fees:        $0.00
                 Total Policy Premium:             $1,553,320.00

(6)     No coverage will be available under this Policy for any Claim based upon, arising out of, directly or
        indirectly resulting from, in consequence of, or in any way involving any a Wrongful Act committed or
        allegedly committed on or after November 29, 2018 or with respect to any Interview or Investigation
        demand in connection with any act, fact, circumstance, transaction, or event taking place on or after
        November 29, 2018.

(7)     Section VI General Conditions (D)(5) of the Policy is deleted in its entirety.

(8)     Section VI General Conditions (E)(1) of the Policy is amended to read in its entirety as follows:

        “(1)    Except for the nonpayment of premium, as set forth in (E)(2) below, the Parent Company has the
                exclusive right to cancel this Policy. Cancellation may be effected by mailing to the Insurer written
                notice stating when such cancellation shall be effective, provided the date of cancellation is not
                later than the Expiration Date set forth in ITEM 2 of the Declarations.”

(9)     Section VI General Conditions (F) of the Policy is deleted in its entirety. All other references in the Policy
        to the Optional Extension Period are deleted.

(10)    The entire premium for this Policy shall as set forth in paragraph (5) above be deemed fully earned as of
        November 29, 2018.

(11)    Section VI General Conditions (A)(3) of the Policy is deleted in its entirety.

(12)    Solely for the purposes of this endorsement, the term Original Policy Period means the period of time
        from October 21, 2017 to November 29, 2018.

All other terms, conditions and limitations of this Policy shall remain unchanged.
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              EXECUTIVE AND CORPORATE SECURITIES LIABILITY INSURANCE COVERAGE FORM

      THIS IS A CLAIMS MADE POLICY WITH DEFENSE EXPENSES INCLUDED IN THE LIMIT OF LIABILITY.
                         PLEASE READ AND REVIEW THE POLICY CAREFULLY.

In consideration of the payment of the premium, and in reliance on all statements made and information
furnished to the Insurer identified in the Declarations (hereinafter the “Insurer”), including the Application,
and subject to all of the terms, conditions and limitations of all of the provisions of this Policy, the Insurer, the
Insured Persons and the Company agree as follows:

I.      INSURING AGREEMENTS

        (A)      The Insurer shall pay on behalf of the Insured Persons Loss resulting from a Claim first made
                 against the Insured Persons during the Policy Period for a Wrongful Act, except for Loss which the
                 Company is permitted or required to pay on behalf of the Insured Persons as indemnification.

        (B)      The Insurer shall pay on behalf of the Company Loss resulting from a Claim first made against the
                 Insured Persons during the Policy Period for a Wrongful Act to the extent the Company is required
                 or permitted to pay on behalf of the Insured Persons as indemnification.

        (C)      The Insurer shall pay on behalf of the Company Loss resulting solely from any Securities Claim first
                 made against the Company during the Policy Period for a Wrongful Act.

        (D)      The Insurer shall pay on behalf of the Insured Persons Defense Expenses resulting from an
                 Interview, except for Defense Expenses which the Company is permitted or required to pay on
                 behalf of the Insured Persons as indemnification.

        (E)      The Insurer shall pay on behalf of the Company Defense Expenses incurred by the Insured
                 Persons resulting from an Interview to the extent the Company is required or permitted to pay on
                 behalf of the Insured Persons such Defense Expenses.

        (F)      The Insurer shall pay on behalf of the Company Defense Expenses incurred by the Company
                 resulting from any Investigation Demand first made during the Policy Period.

II.     DEFINITIONS

        (A)      "Application" means:

                 (1)      any application, including attachments thereto, or any written information or representation,
                          provided to the Insurer by or on behalf of an Insured in connection with the underwriting of
                          this Policy; and

                 (2)      any publicly available document filed by the Company with the U.S. Securities and Exchange
                          Commission or any state, local or foreign equivalent during the twelve (12) months preceding
                          this Policy’s Inception Date.

        (B)      "Change In Control" means:

                 (1)      the merger or acquisition of the Parent Company, or of all or substantially all of its assets by
                          another entity such that the Parent Company is not the surviving entity; or

                 (2)      any person, entity or an affiliated group of persons or entities acting together, acquire (a)
                          interest representing more than fifty percent (50%) of the voting, appointment or designation
                          power for the selection of the majority of the directors, management committee members or
                          members of the board of managers of the Parent Company, as applicable to its organization,
                          or (b) such rights pursuant to written contract or the by-laws, charter, operating agreement or
                          similar document of the Parent Company;




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        (C)      “Claim” means:

                 (1)      any written demand (other than an Investigation Demand) for:

                          (a)      monetary or non-monetary relief, including injunctive relief; or

                          (b)      arbitration, mediation or other alternative dispute resolution proceeding;

                 (2)      any civil, criminal, administrative or regulatory proceeding commenced by:

                          (a)      service of a complaint or similar pleading;

                          (b)      return of an indictment, information, notice of charges or similar document;

                          (c)      an official written request for extradition of any Insured Person or the execution of a
                                   warrant for the arrest of any Insured Person where such execution is an element of
                                   extradition;

                 (3)      any investigation of an Insured Person commenced by a written statement from an
                          Enforcement Authority identifying such Insured Person as the subject of an investigation,
                          including any target letter, Wells Notice or similar document;

                 (4)      any subpoena served upon an Insured Person for testimony or documents in connection with
                          a formal or informal investigation of the Company by any Enforcement Authority; and

                 (5)      any Corporate Manslaughter Charge.

        (D)      "Company" means the Parent Company and any Subsidiary created or acquired on or before the
                 Inception Date set forth in ITEM 2 of the Declarations or during the Policy Period, subject to
                 GENERAL CONDITIONS VI (D). The term Company shall include any such entity as a debtor in
                 possession, as such term is used in Chapter 11 of the United States Bankruptcy Code or any
                 equivalent provision in any foreign jurisdiction.

        (E)      “Corporate Manslaughter Charge” means a formal criminal proceeding commenced in the United
                 Kingdom against an Insured Person of the Company domiciled or incorporated in the United
                 Kingdom for involuntary manslaughter (including constructive manslaughter or gross negligence
                 manslaughter) in his or her capacity as a director or officer of the Company and directly related to the
                 business of the Company.

        (F)      "Defense Expenses" means reasonable and necessary legal fees, expenses and other costs
                 (including experts’ fees):

                 (1)      incurred in the investigation, adjustment, settlement, defense and/or appeal of any Claim,
                          Investigation Demand or Interview, including any preparation for such an Interview;

                 (2)      incurred due to the arrest and detainment or incarceration of any Insured Person in his or her
                          capacity as a director or officer of the Company and directly related to the business of the
                          Company;

                 (3)      incurred in connection with any Claim under section 304 of the Sarbanes-Oxley Act of 2002 or
                          imposed pursuant to section 954 of the Dodd-Frank Wall Street Reform and Consumer
                          Protection Act; or

                 (4)      incurred in the defense of any Corporate Manslaughter Charge;

                 Defense Expenses will not include the Company's overhead expenses or any salaries, wages, fees,
                 or benefits of its directors, officers or employees.




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        (G)      "Employment Practices Wrongful Act" means any actual or alleged:

                 (1)      wrongful termination of employment whether actual or constructive;

                 (2)      employment discrimination of any kind, including violation of any federal, state or local law
                          involving employment or discrimination in employment, which would deprive or potentially
                          deprive any person of employment opportunities or otherwise adversely affect his or her status
                          as an employee because of such person's race, color, religion, age, sex, national origin,
                          disability, pregnancy, or other protected status;

                 (3)      sexual or other harassment in the workplace; or

                 (4)      wrongful deprivation of career opportunity, employment related misrepresentations, retaliatory
                          treatment against an employee of the Company, failure to promote, demotion, wrongful
                          discipline or evaluation, refusal to hire, negligent hiring, or negligent supervision.

        (H)      “Enforcement Authority” means any federal, state, local or foreign law enforcement or governmental
                 regulatory authority, including the United States Departments of Justice and Labor, Securities and
                 Exchange Commission, attorneys general, or the enforcement unit of any securities exchange or
                 similar self-regulatory organization.

        (I)      "Insured" means the Insured Persons and the Company.

        (J)      "Insured Person" means:

                 (1)      any past, present or future natural person director or officer, or member or manager of the
                          board of managers, of the Company and those persons serving in a functionally equivalent
                          role for the Parent Company or any Subsidiary operating or incorporated outside the United
                          States;

                 (2)      any past, present or future natural person employee of the Company (other than an individual
                          described in (J)(1) above) to the extent any Claim is: (a) a Securities Claim, or (b) made and
                          maintained against both such employee and an Insured Person as defined in (J)(1) above;

                 (3)      an individual identified in (J)(1) above who, with the consent of the Company, is or was
                          serving as a director, officer, trustee, regent or governor of a Non-Profit Entity; or

                 (4)      any individual identified in (J)(1) above who, with the consent of the Company is or was
                          serving in an elected or appointed position having fiduciary, supervisory or managerial duties
                          and responsibilities comparable to those of an Insured Person of the Company, regardless
                          of the name or title by which such position is designated, of a Joint Venture.

                 In addition:

                 In the event of the death, incapacity or bankruptcy of any individual identified above, any Claim
                 against the estate, heirs, legal representatives or assigns of such individual for a Wrongful Act of
                 such individual will be deemed to be a Claim against such individual.

                 The coverage otherwise available under this Policy to any Insured Person will be extended to such
                 Insured Person’s lawful spouse or domestic partner, but only to the extent such spouse or domestic
                 partner is a party to any Claim solely in his or her capacity as a spouse or domestic partner of such
                 persons and only for the purposes of any Claim seeking damages recoverable from marital
                 community property, property jointly held by any such person and spouse or domestic partner, or
                 property transferred from any such person to the spouse or domestic partner.

        (K)      "Interrelated Wrongful Acts" means any Wrongful Acts, based on, arising out of, directly or
                 indirectly resulting from, in consequence of, or in any way involving any of the same or related facts,
                 series of related facts, circumstances, situations, transactions or events.



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        (L)      “Interview” means:

                 (1)      a written request first received by an Insured Person during the Policy Period for a voluntary
                          interview, meeting or sworn statement by:

                          (a)      any Enforcement Authority; or

                          (b)      the Company in connection with an Investigation Demand or an investigation or
                                   other inquiry of the Company by an Enforcement Authority; or

                 (2)      an arrest or confinement of an Insured Person during the Policy Period to a specified
                          residence or secure custodial premises operated by an Enforcement Authority, but only in
                          connection with the business of the Company or an Insured Person’s capacity as such or
                          due to his/her status as such;

                 provided that Interview will not include: any document production or discovery in a legal proceeding;
                 any request that is part of any routine or regularly scheduled oversight, compliance, audit, inspection
                 or examination; or any request that is part of an employment-related investigation or Claim. Any
                 Interview as defined in (L)(1) above first received, or as defined in (L)(2) above, occurring, prior to the
                 Inception Date of this Policy are not covered under this Policy.

        (M)      “Investigation Demand” means an investigation by the Company to determine whether it is in its best
                 interest to prosecute the allegations made by a security holder of the Company in a derivative
                 demand or action. An Investigation Demand shall be deemed first made upon the earlier of: receipt
                 of such allegations by the Company or service of a civil complaint or similar proceeding setting forth
                 such allegations.

        (N)      "Joint Venture" means any corporation, partnership, joint venture, association or other entity, other
                 than a Subsidiary, during any time in which the Parent Company, either directly or through one or
                 more Subsidiary(s);

                 (1)      owns or controls at least thirty-three percent (33%), but not more than fifty percent (50%), in
                          the aggregate of the outstanding securities or other interests representing the present right to
                          vote for the election or appointment of those persons of such an entity occupying elected or
                          appointed positions having fiduciary, supervisory or managerial duties and responsibilities
                          comparable to those of an Insured Person of the Company, regardless of the name or title
                          by which such position is designated, of a Joint Venture; or

                 (2)      has the right, by written contract, ownership of securities or otherwise, to elect, appoint or
                          designate at least thirty-three percent (33%) of those persons described in (N)(1) above.

        (O)      “Loss” means damages, judgments, settlements, pre-judgment and post-judgment interest or other
                 amounts (including punitive, exemplary or multiplied damages, where insurable by law) that any
                 Insured is legally obligated to pay and Defense Expenses, including that portion of any settlement
                 which represents the claimant’s attorneys’ fees. Loss will not include that portion which constitutes:

                 (1)      fines, penalties or taxes imposed by law; provided that Loss will specifically include:

                          (a)      civil penalties assessed against any Insured Person pursuant to Section 2(g)(2)(b) of
                                   the Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-2(g)(2)(b), the United Kingdom’s
                                   Bribery Act 2010 (2010 chapter 23), and Section 308 of the Sarbanes-Oxley Act of
                                   2002 (15 U.S.C. 7246(a)); and

                          (b)      solely with respect to Loss to which Insuring Agreement (A) applies, fines, penalties
                                   or taxes that an Insured Person is obligated to pay if such fines, penalties or taxes
                                   are insurable by law and are imposed in connection with such Insured Person’s
                                   service with an insolvent Company;

                 (2)      costs incurred by an Insured to comply with an order for non-monetary relief (including
                          injunctive relief) or with any agreement to provide such relief;

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                 (3)      any amount which is uninsurable under the law pursuant to which this Policy is construed;
                          provided that the Insurer will not assert that the portion of any settlement or judgment in a
                          Claim arising from an initial or subsequent public offering of the Company’s securities
                          constitutes uninsurable loss due to the alleged violations of Section 11 and/or 12 of the
                          Securities Act of 1933 as amended (including alleged violations of Section 11 and/or 12 of the
                          Securities Act of 1933 by a Controlling Person pursuant to Section 15 of the Securities Act of
                          1933);

                 (4)      any amount arising out of the cleanup, containing, treating, testing, removing, disposing,
                          assessing, monitoring or similar costs relating to pollution, contaminants, waste of any kind,
                          pollutants, product defects that result in the release of hazardous materials or pollutants, or
                          any other hazardous materials;

                 (5)      any amount which represents or is substantially equivalent to an increase in the consideration
                          paid, or proposed to be paid, by the Company in connection with its purchase of any
                          securities or assets of any person, group of persons, or entity;

                 (6)      the return of any amounts required to be paid by an Insured Person pursuant to section 304
                          of the Sarbanes-Oxley Act of 2002 or promulgated under Section 954 of the Dodd-Frank Wall
                          Street Reform and Consumer Protection Act;

                 NOTE: With respect to judgments in which punitive, exemplary or multiplied damage are awarded, the
                       coverage provided by this Policy shall apply to the broadest extent permitted by law. If, based
                       on the written opinion of counsel for the Insured, punitive, exemplary or multiplied damages
                       are insurable under applicable law, the Insurer will not dispute the written opinion of counsel
                       for the Insured.

        (P)      "Non-Profit Entity" means any not-for-profit entity or not-for-profit organization.

        (Q)      "Parent Company" means the entity named in ITEM 1 of the Declarations.

        (R)      "Policy Period" means the period from the Inception Date to the Expiration Date set forth in ITEM 2 of
                 the Declarations or to any earlier cancellation date. Policy Period will include any Optional Extension
                 Period, if applicable.

        (S)      "Securities Claim" means a Claim, other than an administrative or regulatory proceeding against or
                 investigation of the Company:

                 (1)      made against any Insured for any actual or alleged violation of any federal, state or local
                          statute, regulation, or rule or common law regulating securities, including but not limited to the
                          purchase or sale of, or offer to purchase or sell, securities, which is:

                          (a)      brought by any person or entity resulting from, the purchase or sale of, or offer to
                                   purchase or sell, securities of the Company; or

                          (b)      brought by a security holder of the Company with respect to such security holder's
                                   interest in securities of the Company; or

                 (2)      brought derivatively on behalf of the Company by a security holder of the Company.

                 Notwithstanding the foregoing, the term Securities Claim shall include an administrative or regulatory
                 proceeding against, or a formal investigation of, the Company, but only if and only during the time that
                 such formal investigation or proceeding is also maintained against an Insured Person.




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         (T)     "Subsidiary" means any entity during any time in which the Parent Company holds directly or
                 indirectly:

                 (1)      more than fifty percent (50%) of the voting rights or issued share capital of such entity;


                 (2)      between twenty percent (20%) and fifty percent (50%) of the voting rights or issued share
                          capital, together with control of the management of such entity; or

                 (3)      the right to appoint or remove a majority of the Board of Directors of such entity.

         (U)     "Wrongful Act" means:

                 (1)      any actual or alleged act, error, omission, misstatement, misleading statement, neglect, or
                          breach of duty by an Insured Person while acting in his or her capacity as such or due to his
                          or her status as such;

                 (2)      solely with respect to a Claim as defined in Definition (C)(4) of the Policy, any other matter
                          concerning an Insured Person solely by reason of his or her capacity as such or due to his or
                          her status as such;

                 (3)      solely with respect to Insuring Agreement (C) of the Policy, any actual or alleged act, error,
                          omission, misstatement, misleading statement, neglect, or breach of duty by the Company; or

                 (4)      any Employment Practices Wrongful Act by an Insured Person while acting in his or her
                          capacity as such or due to his or her status as such.

                 Solely with respect to determining whether a securities holder derivative lawsuit which names the
                 Company as a defendant (including as a nominal defendant) is a Securities Claim against such
                 Company for purposes of Insuring Agreement (C) of the Policy, any Wrongful Act as defined in
                 subparagraph (U)(1) above will also be deemed to be a Wrongful Act of the Company; provided that
                 this provision shall not be deemed to create coverage under this Policy for Loss from any
                 Investigation Demand pursuant to Insuring Agreement (F) of the Policy. Any such coverage shall
                 only be available pursuant to Insuring Agreement (F) of the Policy.

III.     EXCLUSIONS

         (A)     No coverage shall be available under this Policy for that portion of any Claim, Interview or
                 Investigation Demand made against an Insured:

                 (1)      for any actual or alleged bodily injury, sickness, mental anguish, emotional distress, libel,
                          slander, oral or written publication of defamatory or disparaging material, disease or death of
                          any person, or damage or destruction of any property including loss of use thereof; however,
                          this Exclusion (A)(1) will not apply to: (a) any allegations of libel, slander, defamation, mental
                          anguish or emotional distress if and only to the extent that such allegations are made as part
                          of a Claim for an Employment Practices Wrongful Act; (b) any Securities Claim; (c) for
                          Corporate Manslaughter Charges; or (d) any Claim to the extent coverage is provided under
                          Insuring Agreement, (A) of the Policy;

                 (2)      for any actual or alleged violation of the Employee Retirement Income Security Act of 1974
                          (ERISA) as amended or any regulations promulgated thereunder or any similar law, federal,
                          state or local law or regulation in connection with any pension, profit sharing or employee
                          benefit program established and/or sponsored by the Company in whole or in part for the
                          benefit of the directors, officers or employees of the Company;




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                 (3)      by, on behalf of, or at the direction of the Company, or any Joint Venture or Non-Profit
                          Entity (but with respect to the Joint Venture or Non-Profit Entity, only against an Insured
                          Person for a Wrongful Act while acting in his or her capacity as a director, officer, trustee,
                          regent or governor of such Joint Venture or Non-Profit Entity, or as a person occupying an
                          elected or appointed position having fiduciary, supervisory or managerial duties and
                          responsibilities comparable to those of an Insured Person of the Company, regardless of the
                          name or title by which such position is designated of the Joint Venture); however, this
                          Exclusion (A)(3) will not apply to:

                          (a)      the extent a Claim is brought derivatively by a security holder of the Company, or by
                                   any Joint Venture or Non-Profit Entity who, when such Claim is made and
                                   maintained, is acting independently of, and without the solicitation, assistance,
                                   participation or intervention of any Insured Person unless such solicitation,
                                   assistance, participation or intervention is protected pursuant to Section 806 of the
                                   Sarbanes-Oxley Act of 2002 or any similar whistleblower statute, or the Company, or
                                   any Joint Venture or Non-Profit Entity;

                          (b)      the extent a Claim or Interview is brought by the Bankruptcy Trustee or Examiner of
                                   the Company, or by any Joint Venture or Non-Profit Entity or any assignee of such
                                   Trustee or Examiner, or any Receiver, Conservator, Rehabilitator, or Liquidator or
                                   comparable authority of the Company, Joint Venture, or Non-Profit Entity;

                          (c)      the extent a Claim is brought and maintained in a non-common law jurisdiction
                                   outside the United States of America, including its territories and possessions;

                          (d)      the extent a Claim or Interview is brought by a Creditors Committee of the
                                   Company, or any Joint Venture or Non-Profit Entity in the event the Company,
                                   Joint Venture, or Non-Profit Entity files for relief under Title 11 of the United States
                                   Code;

                          (e)      Defense Expenses covered under Insuring Agreement (A) or (D).

        (B)      No coverage shall be available under this Policy for any Claim, Interview or Investigation Demand
                 made against an Insured:

                 (1)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Pending and Prior Litigation
                          Date set forth in ITEM 6 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this Policy, was the subject of any notice given under any other
                          Management Liability policy, Directors and Officers liability policy or similar policy;

                 (3)      brought about or contributed to in fact by any:

                          (a)      deliberately fraudulent or deliberately criminal act or omission or any willful violation of
                                   any statute, rule or law by an Insured; or

                          (b)      profit or remuneration gained by an Insured to which such Insured is not legally
                                   entitled,

                          as determined by a final, non-appealable adjudication in the underlying action; however this
                          Exclusion (B)(3) will not apply to: (i) allegations in a Claim asserted against an Insured under
                          Section 11 and/or 12 of the Securities Act of 1933 as amended arising out of an initial or
                          subsequent public offering of the Company’s securities (including alleged violations of
                          Section 11 and/or 12 of the Securities Act of 1933 by a Controlling Person pursuant to Section
                          15 of the Securities Act of 1933); or (ii) Defense Expenses incurred in connection with a

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                         Claim alleging violations of section 304 of the Sarbanes-Oxley Act of 2002 or section 954 of
                         the Dodd-Frank Wall Street Reform and Consumer Protection Act;

                 No conduct of any Insured will be imputed to any other Insured Person to determine the application
                 of any of the above EXCLUSIONS. Only the conduct of the chief executive officer and/or chief
                 financial officer of the Company will be imputed to the Company.

IV.     LIMIT OF LIABILITY, INDEMNIFICATION AND RETENTIONS

        (A)      The Insurer shall pay the amount of Loss in excess of the applicable Retention(s) set forth in ITEM 4
                 of the Declarations up to the Limit of Liability set forth in ITEM 3(B) of the Declarations.

        (B)      The amount set forth in ITEM 3(B) of the Declarations shall be the maximum aggregate Limit of
                 Liability of the Insurer under this Policy whether any Loss is covered under one or more Insuring
                 Agreements. Payment of Loss, including Defense Expenses, by the Insurer shall reduce the Limit of
                 Liability.

        (C)      The amount set forth in Item 3(A) of the Declarations shall be the maximum aggregate limit of liability
                 of the Insurer under this Policy resulting from all Investigation Demands first made during the Policy
                 Period, which amount is part of, and not in addition to, the maximum aggregate Limit of Liability for the
                 Policy as set forth in Item 3(B) of the Declarations.

        (D)      With respect to the Company's indemnification of its Insured Persons, the certificate of incorporation,
                 charter, by-laws, articles of association, or other organizational documents of the Parent Company,
                 each Subsidiary and each Non-Profit Entity or Joint Venture, will be deemed to require
                 indemnification to the Insured Persons to the fullest extent permitted by law.

        (E)      No Retention will be applicable to Loss, including Defense Expenses, under Insuring Agreements,
                 (A), (D) or (F). In the event of financial insolvency of the Company, no Retention shall apply.

        (F)      In the event the Company is obligated under the Policy to pay any Retention, the Company may
                 satisfy such Retention from any source. As a precondition to such recognition of the erosion of the
                 Retention from any source other than by payment by the Company, the Company shall provide the
                 Insurer with written proof, to the Insurer’s satisfaction, that payment of such Retention has been made.

        (G)      If more than one retention is applicable to different portions of Loss, including Defense Expenses, the
                 applicable Retention(s) will be applied separately to each portion of such Loss, and the sum of such
                 Retention(s) will not exceed the largest applicable Retention set forth in ITEM 4 of the Declarations.

V.      DEFENSE, SETTLEMENT AND ALLOCATION OF LOSS

        (A)      It shall be the duty of the Insured and not the duty of the Insurer to defend any Claim, Interview or
                 Investigation Demand under this Policy.

        (B)      No Insured may incur any Defense Expenses in connection with any Claim, Interview or
                 Investigation Demand, or admit liability for, make any settlement offer with respect to, or settle any
                 Claim without the Insurer's consent, such consent not to be unreasonably delayed or withheld;
                 however, the Insured may settle a Claim without such consent, if the total amount of such settlement
                 and Defense Expenses does not exceed fifty percent (50%) of the amount of the applicable
                 Retention(s) for such Claim.

        (C)      Upon the written request of an Insured, the Insurer will advance Defense Expenses on a current
                 basis, but no less so than quarterly, excess of the applicable Retention, before the disposition of the
                 Claim, Interview or Investigation Demand for which this Policy provides coverage. As a condition of
                 the advancement of Defense Expenses, each Insured agrees that if and to the extent it is determined
                 that such Defense Expenses are not insured under this Policy, such Defense Expenses shall be
                 repaid to the Insurer by the Insureds, severally according to their respective interests.




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        (D)      If both Loss covered by this Policy and loss not covered by this Policy are incurred, either because a
                 Claim, Interview or Investigation Demand made against the Insured contains both covered and
                 uncovered matters, or because a Claim, Interview or Investigation Demand is made against both
                 the Insured and others (including the Company for Claims other than Securities Claims) not insured
                 under this Policy, the Insured and the Insurer will use their best efforts to determine a fair and
                 appropriate allocation of Loss between that portion of Loss that is covered under this Policy and that
                 portion of loss that is not covered under this Policy. Additionally, the Insured and the Insurer agree
                 that in determining a fair and appropriate allocation of Loss, the parties will take into account the
                 relative legal and financial exposures of, and relative benefits obtained in connection with the defense
                 and/or settlement of the Claim, Interview or Investigation Demand by, the Insured and others.

        (E)      In the event that an agreement cannot be reached between the Insurer and the Insured as to an
                 allocation of Loss, as described in (D) above, then the Insurer shall advance that portion of Loss
                 which the Insured and the Insurer agree is not in dispute until a final amount is agreed upon or
                 determined pursuant to the provisions of this Policy and applicable law.

VI.     GENERAL CONDITIONS

         (A)     NOTICE

                 (1)      As a condition precedent to any right to payment under this Policy with respect to any Claim
                          or Investigation Demand, the Insured shall give written notice to the Insurer of each Claim
                          or Investigation Demand as soon as practicable after it is first made, including but not limited
                          to written notice as soon as practicable of each Claim or Investigation Demand deemed to
                          constitute a single Claim or Investigation Demand pursuant to Section VI (B) below. Such
                          notice shall be provided as soon as practicable after the risk management or general counsel
                          departments of the Parent Company first becomes aware of such Claim or Investigation
                          Demand. In the event that the Insureds fail to provide timely notice to the Insurer under this
                          Section VI (A)(1), the Insurer shall not be entitled to deny coverage solely based on such
                          untimely notice unless the Insurer can demonstrate its interests were materially prejudiced by
                          reason of such untimely notice.


                 (2)      As a condition precedent to any right to payment under this Policy with respect to any
                          Interview, the Insured may elect to give the Insurer written notice thereof during the Policy
                          Period pursuant to Section VI (A)(4) below.

                 (3)      If, during the Policy Period, the Insured provides the Insurer with written notice of:

                          (a)      a specific Wrongful Act, the consequences which have resulted or may result
                                   therefrom (including but not limited to actual or potential damages), the identities of
                                   the potential claimants, and the circumstances by which the Insured first became
                                   aware of such Wrongful Act;

                          (b)      its receipt of a request to toll or waive a statute of limitations in connection with a
                                   Wrongful Act; or

                          (c)      an Interview first received during the Policy Period,

                          then any Claim or Investigation Demand subsequently made arising out of such Wrongful
                          Act, request to toll or waive a statute of limitation or Interview will be treated as if it had been
                          first made during the Policy Period, provided written notice of any subsequent Claim or
                          Investigation Demand is provided to the Insurer as soon as practicable after such Claim or
                          Investigation Demand is made.

                 (4)      All notices under Section VI (A)(1),(2) and (3) above must be sent by:

                          (a)      first class U.S. mail, overnight mail or the equivalent to the address set forth in ITEM 7
                                   of the Declarations: Attention Claim Department; or

                          (b)      electronic mail (email) to the address shown in ITEM 7 of the Declarations.
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        (B)      INTERRELATED CLAIMS

                 All Claims, Investigation Demands, Interviews or requests to toll or waive a statute of limitations,
                 arising from the same Interrelated Wrongful Acts shall be deemed to constitute a single Claim,
                 Investigation Demand or Interview and shall be deemed to have been made at the earliest of the
                 time at which the earliest such Claim, Investigation Demand, or Interview is made or deemed to
                 have been made pursuant to Section VI (A) above.


        (C)      OTHER INSURANCE AND SERVICE IN CONNECTION WITH NON-PROFIT ENTITIES AND JOINT
                 VENTURES

                 (1)      Subject to Section IV LIMIT OF LIABILITY INDEMNIFICATION AND RETENTIONS (F), all
                          coverage under this Policy will be specifically excess of and will not contribute with any other
                          valid and collectible management liability insurance, including but not limited to any insurance
                          under which there is a duty to defend, unless such other insurance is specifically excess of
                          this Policy, or a personal umbrella policy or personal directorship liability policy purchased by
                          an Insured Person. This Policy will not be subject to the terms of any other insurance policy.

                 (2)      All coverage under this Policy for Loss from Claims and Interviews made against the
                          Insured Persons while acting in their capacity as a director, officer, trustee, regent or
                          governor of a Non-Profit Entity or persons occupying elected or appointed positions having
                          fiduciary, supervisory or managerial duties and responsibilities comparable to those of the
                          Insured Persons of the Company, regardless of the name or title by which such position is
                          designated, of a Joint Venture will be specifically excess of and will not contribute with, any
                          other insurance or indemnification available to such Insured Person from such Non-Profit
                          Entity or Joint Venture by reason of his or her service as such.

        (D)      MERGERS AND ACQUISITIONS (CHANGES IN EXPOSURE OR CONTROL)

                 (1)      If during the Policy Period the Company acquires any entity by merger, consolidation or
                          otherwise such that the entity becomes a Subsidiary, coverage shall be provided for any
                          Loss involving a Claim, Interview or Investigation Demand for a Wrongful Act occurring
                          after the consummation of the transaction.

                 (2)      If, however, by reason of the transaction (or series of transactions) described in (D)(1) above,
                          the assets or liabilities so acquired or so assumed as a result of such acquisition, exceed
                          thirty-five percent (35%) of the total assets or liabilities, respectively, of the Company, as
                          represented in the Company's most recent audited consolidated financial statements,
                          coverage under this Policy shall be provided for a period of ninety (90) days or to the
                          Expiration Date, whichever occurs first, for any Loss involving a Claim, Interview or
                          Investigation Demand for a Wrongful Act that occurred after the transaction has been
                          consummated. Coverage beyond such period will be provided only if:

                          (a)      the Insurer receives written notice containing full details of the transaction(s); and

                          (b)      the Insurer at its sole discretion, agrees to provide such additional coverage upon
                                   such terms, conditions, limitations, and additional premium that it deems appropriate.

                 (3)      With respect to the acquisition, assumption, merger, consolidation or otherwise of any entity
                          as described in (D)(1) and (2) above, there will be no coverage available to the Company, an
                          Insured Person, or to the acquired entity under this Policy for Claims made against the
                          Company , an Insured Person, or the acquired entity, for a Wrongful Act committed any
                          time during which such entity, is not an Insured.

                 (4)      If any entity ceases to be a Subsidiary, the coverage provided under this Policy shall continue
                          to apply to the Insured Persons who, because of their service with such Subsidiary, were
                          covered under this Policy but only with respect to a Claim for a Wrongful Act that occurred or
                          allegedly occurred prior to the time such Subsidiary ceased to be a Subsidiary of the
                          Company.

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                 (5)      If during the Policy Period there is a Change In Control, the coverage provided under this
                          Policy shall continue to apply but only with respect to a Claim against an Insured for a
                          Wrongful Act committed or allegedly committed up to the time of the Change In Control; and

                          (a)      coverage will cease with respect to any Claim for a Wrongful Act committed
                                   subsequent to the Change In Control; and

                          (b)      the entire premium for the Policy will be deemed to be fully earned immediately upon
                                   the consummation of a Change In Control.

        (E)      CANCELLATION AND RENEWAL OF COVERAGE

                 (1)      Except for the nonpayment of premium, as set forth in (E)(2) below, the Parent Company has
                          the exclusive right to cancel this Policy. Cancellation may be effected by mailing to the Insurer
                          written notice when such cancellation shall be effective, provided the date of cancellation is
                          not later than the Expiration Date set forth in ITEM 2 of the Declarations. In such event, the
                          Insurer shall retain the customary short rate portion of the earned premium. Return or tender
                          of the unearned premium is not a condition of cancellation.

                 (2)      The Insurer may only cancel this Policy for nonpayment of premium. The Insurer will provide
                          not less than twenty (20) days written notice stating the reason for cancellation and when the
                          Policy will be canceled. Notice of cancellation will be sent to the Parent Company and the
                          agent of record for the Insured, if applicable.

                 (3)      The Insurer is under no obligation to renew this Policy upon its expiration. Once the Insurer
                          chooses to non-renew this Policy, the Insurer will deliver or mail to the Parent Company
                          written notice stating such at least sixty (60) days before the Expiration Date set forth in ITEM
                          2 of the Declarations.

        (F)      OPTIONAL EXTENSION PERIOD

                 (1)      If either the Parent Company or the Insurer does not renew this Policy, the Parent Company
                          or any Insured Person shall be entitled, upon payment of an additional premium set forth in
                          ITEM 5 of the Declarations, to an extension of the coverage provided by this Policy with
                          respect only to any Claim or Investigation Demand first made or deemed first made during
                          the period of time set forth in ITEM 5 of the Declarations after the Policy Expiration Date, but
                          only with respect to a Wrongful Act occurring prior to the Policy Expiration Date. Any such
                          Claim or Investigation Demand shall be deemed to have been made during the Policy
                          Period.

                 (2)      As a condition precedent to the right to purchase the Optional Extension Period, the total
                          premium for this Policy must have been paid in full. The right of the Parent Company or any
                          Insured Person to purchase the Optional Extension Period will be immediately terminated if
                          the Insurer does not receive written notice by the Parent Company or Insured Person
                          advising it wishes to purchase the Optional Extension Period together with full payment of the
                          premium for the Optional Extension Period within thirty (30) days after the Policy Expiration
                          Date.

                 (3)      If the Parent Company or Insured Person elects to purchase the Optional Extension Period
                          as set forth in (F)(1) and (2) above, the entire premium for the Optional Extension Period will
                          be deemed to be fully earned at the Inception Date for the Optional Extension Period.

                 (4)      The purchase of the Optional Extension Period will not in any way increase the Limit of
                          Liability set forth in ITEM 3 of the Declarations, and the Limit of Liability with respect to Claims
                          made during the Optional Extension Period shall be part of and not in addition to the Limit of
                          Liability for all Claims, Interviews and Investigation Demands made during the Policy
                          Period.




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        (G)      ASSISTANCE, COOPERATION AND SUBROGATION

                 (1)      The Insured agrees to provide the Insurer with all information, assistance and cooperation
                          that the Insurer may reasonably request in connection with any Claim, Investigation Demand
                          or Interview that is reasonably likely to be covered under this Policy, and further agrees that it
                          will do nothing which in any way increases the Insurer's exposure under this Policy or in any
                          way prejudices the Insurer's potential or actual rights of recovery against any party.

                 (2)      In the event of any payment under this Policy, the Insurer will be subrogated to the extent of
                          such payment of Loss to all of the Insured’s rights of recovery; provided that the Insurer will
                          be subrogated to any Insured’s potential or actual rights of recovery against any Insured
                          Person only in the event that Exclusion (B)(3) of the Policy is applicable to such Insured
                          Person in connection with such Loss. The Insured shall execute all papers required and will
                          do everything necessary to secure such rights including but not limited to the execution of
                          such documents as are necessary to enable the Insurer to effectively bring suit in its name,
                          and will provide all other assistance and cooperation which the Insurer may reasonably
                          require. It is understood that the failure of any Insured Person to give the Insurer cooperation
                          and information as required in this paragraph shall not impair the rights of the Company, or
                          any other Insured Person under this Policy.

                 (3)      In the event the Insurer recovers amounts it paid under this Policy, the Insurer will reinstate
                          the applicable Limits of Liability of this Policy to the extent of such recovery, less the Insurer’s
                          costs incurred in obtaining such recovery. It is understood and agreed that the Insurer shall
                          have no duty to seek such a recovery.

        (H)      EXHAUSTION

                 If the Insurer's Limit of Liability as set forth in ITEM 3 of the Declarations is exhausted by the payment
                 of Loss, the premium as set forth in ITEM 8 of the Declarations will be fully earned and, subject to
                 Section VI General Condition (G)(3), all obligations of the Insurer under this Policy will be completely
                 fulfilled and exhausted, and the Insurer will have no further obligations of any kind whatsoever under
                 this Policy.

        (I)      REPRESENTATION CLAUSE

                 The Insured represents that the statements and particulars contained in the Application as well as
                 any prior application submitted to the Insurer are true, accurate and complete, and agree that this
                 Policy is issued in reliance on the truth of that representation, and that such particulars and
                 statements, which are deemed to be incorporated into and constitute a part of this Policy, form the
                 basis of this Policy. No knowledge or information possessed by any Insured Person will be imputed to
                 any other Insured Person. With respect to Claims made under Insuring Agreement (C) only, no
                 knowledge or information possessed by any Insured Person other than a past or present chief
                 executive officer or chief financial officer of the Parent Company will be imputed to the Company. In
                 the event that any of the particulars or statements in the Application are untrue, this Policy will be
                 void with respect to any Insured who knew of such untruth.

                 This Policy shall not be rescinded by the Insurer; provided that nothing herein shall limit or waive any
                 other rights or remedies available under the Policy or applicable law.

        (J)      ACTION AGAINST THE INSURER, ASSIGNMENT, AND CHANGES TO THE POLICY

                 (1)      No action may be taken against the Insurer unless, as a condition precedent thereto, there
                          has been full compliance with all of the terms and conditions of this Policy.

                 (2)      Nothing contained herein shall give any person or entity any right to join the Insurer as a party
                          to any Claim against the Insured to determine its liability, nor may the Insured implead the
                          Insurer in any Claim.

                 (3)      Assignment of interest under this Policy shall not bind the Insurer unless its consent is
                          endorsed hereon.

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                 (4)      Notice to any agent or knowledge possessed by any agent or other person acting on behalf of
                          the Insurer will not cause a waiver or change in any part of this Policy or prevent the Insurer
                          from asserting any right under the terms, conditions and limitations of this Policy. The terms,
                          conditions and limitations of this Policy may only be waived or changed by written
                          endorsement.

        (K)      AUTHORIZATION AND NOTICES

                 It is understood and agreed that the Parent Company will act on behalf of the Company and the
                 Insured Persons with respect to:

                 (1)      the payment of the premiums;

                 (2)      the receiving of any return premiums that may become due under this Policy;

                 (3)      the giving of all notices to the Insurer as provided herein; and

                 (4)      the receiving of all notices from the Insurer.

        (L)      PRIORITY OF PAYMENTS

                 In the event of Loss, including Defense Expenses, payable under more than one of the Insuring
                 Agreements of the Policy, then the Insurer shall, to the maximum extent practicable and subject at all
                 times to the Insurer’s maximum aggregate Limit of Liability as set forth in ITEM 3 of the Declarations,
                 pay such Loss as follows:

                 (1)      first, the Insurer shall pay that Loss, if any, which the Insurer may be liable to pay on behalf of
                          the Insured Persons which the Company is not permitted nor required to pay on behalf of
                          the Insured Persons as indemnification;

                 (2)      second, the Insurer shall pay that Loss, if any, which the Insurer may be liable to pay on
                          behalf of the Company which the Company is permitted or required to pay on behalf of the
                          Insured Persons; and

                 (3)      third, the Insurer shall make such other payments which the Insurer may be liable to make
                          under Insuring Agreements (C) and/or (F) or otherwise.

        (M)      BANKRUPTCY

                 Bankruptcy or insolvency of any Insured shall not relieve the Insurer of any of its obligations under
                 this Policy. In such event, including any liquidation or reorganization proceeding of the Company,
                 then each Insured and the Insurer hereby agree not to oppose or object to any efforts by any Insured
                 Person to obtain relief from any stay or injunction.

        (N)      ENTIRE AGREEMENT – WORLDWIDE COVERAGE

                 (1)      The Insured agrees that the Declarations, Policy, including the endorsements, attachments
                          and the Application, shall constitute the entire agreement between the Insurer or any of its
                          agents and the Insured relating to this insurance. The coverage afforded by the Policy shall
                          apply anywhere in the world.

                 (2)      If the Parent Company requests management or directors and officers liability policies for
                          issuance to its foreign Subsidiaries in their own countries, the Insurer or a subsidiary or
                          affiliate of XL Group plc shall provide a quote to the Parent Company for such policies;
                          provided that the Insurer or a subsidiary or affiliate of XL Group plc can support or facilitate the
                          issuance of the policies to such foreign Subsidiaries in their applicable foreign countries. Any
                          coordination of coverage under such policies with coverage under this Policy shall be set forth
                          in an endorsement attached to this Policy.



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        (O)      CURRENCY

                 All premiums, limits of liability, retentions, Loss and other amounts under this Policy are expressed
                 and payable in the currency of the United States of America. If judgment is rendered, settlement is
                 denominated or other elements of Loss are stated or incurred in a currency other than the United
                 States of America, payment of covered Loss due under this Policy, subject to its terms, conditions and
                 limitations, will be made either in such other currency (at the option of the Insurer and with the
                 agreement of the Parent Company), or, in the United States of America dollars at the rate of
                 exchange most recently published in The Wall Street Journal on the date of the Insurer’s obligation to
                 pay such Loss is established.




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                    EXHIBIT C
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Dear Policyholder,
Thank you for choosing Zurich for your Management Liability Product(s). We truly appreciate your business and welcome
the opportunity to work with you.
We wanted to inform you that under the terms of this transaction you are entitled to online services and resources that are
designed just for management solutions customers. These resources are available at no additional cost to you and
include loss mitigation tips and techniques, industry-related articles and more. Here are just some examples of what is
available to you:
      eDiscovery website – a real-time information tool, including a readiness assessment for this rapidly growing
      phenomena
      Thought leadership materials – dedicated to your top-of-mind needs, including timely webinars and engaging
      white papers, even specific to your industry segment
      Security & Privacy readiness self assessment – this exposure makes headlines daily. How ready is your
      organization for this fast-growing threat?
      Strategic Risk Services and Enterprise Risk Management – on-line information source for related hot topics and
      ERM videos to minimize barriers to achieving expected business outcomes
To access this information and all other resources, simply visit www.ZurichMgmtSolutions.com. Please be sure to have
your policy number handy.
Deliver for our customers when it matters most. At Zurich, that’s the promise we make every day. I thank you again
for choosing Zurich.


Sincerely,




Frank Baron
Executive Vice President, Specialty Products




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New York Free Trade Zone Notice

NYFTZ Class:   1   Class Code: 1-60888
 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
 EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
 INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
 MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
 LAW AND REGULATIONS.




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                       President                                                    Corporate Secretary



QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):

                                               Zurich in North America
                                               Customer Inquiry Center
                                                   1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                 1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                           Email: info.source@zurichna.com




NYFTZ Class:     1    Class Code: 1-60888
  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.




                                                                                                        U-GU-319-F NY (01/09)
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Insured Name:       AMTRUST FINANCIAL SERVICES, INC.

Policy Number:      DOC 1074701-00
Effective Date:     10/21/2017




             THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                               SCHEDULE*

 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
 $4,455

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January 1, 2015 – December 31, 2015 federal share: 85%
    January 1, 2016 – December 31, 2016 federal share: 84%
    January 1, 2017 – December 31, 2017 federal share: 83%
    January 1, 2018 – December 31, 2018 federal share: 82%
    January 1, 2019 – December 31, 2019 federal share: 81%
    January 1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
    Secretary of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.




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E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.




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Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                     U-GU-873-A (06/11)
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Disclosure Statement


                 NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


           If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http://www.zurichnaproducercompensation.com

                           or call the following toll-free number: (866) 903-1192.



                 This Notice is provided on behalf of Zurich American Insurance Company

                                     and its underwriting subsidiaries.




                                                                                                    U-GU-874-A (06/11)
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Zurich Excess Select Insurance Policy
Declarations

Insurance is provided by:
                                     Zurich-American Insurance Company
                                              1299 Zurich Way
                                       Schaumburg, Illinois 60196-1056
                                             (The "Underwriter")

THIS POLICY FOLLOWS TO THE TERMS, CONDITIONS, AND LIMITATIONS OF THE FOLLOWED POLICY.
COVERAGE IS LIMITED TO LOSS FROM CLAIMS AGAINST THE POLICYHOLDER DURING THE POLICY PERIOD
OR ANY APPLICABLE EXTENDED REPORTING PERIOD, IF EXERCISED, AND REPORTED TO THE
UNDERWRITER PURSUANT TO SUBSECTION III.A. THE LIMIT OF LIABILITY SHALL BE REDUCED AND MAY BE
EXHAUSTED BY AMOUNTS INCURRED AS DEFENSE COSTS AND/OR CLAIMS EXPENSES, IF APPLICABLE.
PLEASE READ THIS POLICY CAREFULLY. DEFINED TERMS APPEAR IN BOLD AND HAVE THE MEANING SET
FORTH IN THE DECLARATIONS.
ALL COVERAGE UNDER THIS POLICY CEASES UPON TERMINATION OF COVERAGE, EXCEPT FOR THE
AUTOMATIC EXTENSION PERIOD OR THE OPTIONAL EXTENDED REPORTING PERIOD, IF PURCHASED.
UPON TERMINATION OF COVERAGE, AN AUTOMATIC EXTENSION PERIOD IS WILL BE GRANTED FOR SIXTY
(60) DAYS. AN OPTIONAL EXTENDED REPORTING PERIOD IS AVAILABLE DURING THIS PERIOD, BUT ONLY BY
ENDORSEMENT AND FOR AN ADDITIONAL PREMIUM. THIS EXTENDED REPORTING PERIOD WILL BE FOR A
TIME PERIOD OF AT LEAST ONE (1) YEAR.
POTENTIAL COVERAGE GAPS MAY ARISE UPON EXPIRATION OF THE AUTOMATIC EXTENSION PERIOD OR
THE OPTIONAL EXTENDED REPORTING PERIOD.
DURING THE FIRST SEVERAL YEARS OF THE CLAIMS-MADE RELATIONSHIP, CLAIMS-MADE RATES ARE
COMPARATIVELY LOWER THAN OCCURRENCE RATES, AND ANNUAL PREMIUM INCREASES CAN BE
EXPECTED INDEPENDENT OF OVERALL RATE LEVEL INCREASES, UNTIL THE CLAIMS-MADE RELATIONSHIP
REACHES MATURITY.
Policy Number:   DOC 1074701-00




NYFTZ Class:     1    Class Code: 1-60888




  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.

                                                                           U-FLXS-D-100-A NY (07/16)
                                                                                         Page 1 of 2
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Item 1.   Policyholder and Mailing Address:         AMTRUST FINANCIAL SERVICES, INC.
                                                    59 Maiden Lane
                                                    43rd Floor
                                                    New York, NY 10038-4639

Item 2.   Aggregate Limit of Liability:             $5,000,000

Item 3.   Underlying Insurance:
           A.           Followed Policy          Policy Type      Policy Number           Limit of Liability         Attachment
                  Indian Harbor Insurance       Primary          ELU152497-17             $5,000,000            $5,000,000
                  Company

           B.       Other Underlying Insurance               Policy Number             Limit of Liability         Attachment
                  N/A                                  N/A                             N/A                     N/A

Item 4.   Policy Period:      From: 12:01 A.M. on 10/21/2017 To: 12:01 A.M. on 10/21/2018
                              Policy incepts and expires at the local time at the address shown in Item 1.

Item 5.   Notice to Underwriter:
          A. Address for Notice of Claim or Potential Claim       B. Address for All Other Notices:
                Attn:   Zurich North America - MSG Claims             Attn:    Northeast, MASE & West Region Underwriting
                        P.O. Box 968041                                        Regional Manager
                                                                                                     th
                        Schaumburg, IL 60196-8041                              One Liberty Plaza – 30 Floor
                        Fax: 866-255-2962                                      New York, NY 10006
                        Email: msgclms@zurichna.com                            Email: NEsubmissions@zurichna.com

Item 6.   Premium:       $450,000

Item 7.   Optional Extended Reporting Period:
                        Additional Premium                                    Additional Period
                        Option 1    200.00% of the policy premium             1 year
                        Option 2    % of the policy premium                   3 years

Item 8.   Endorsements Effective at Inception:      See Attached Schedule of Forms and Endorsements




                                                                                                            U-FLXS-D-100-A NY (07/16)
                                                                                                                          Page 2 of 2
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Form and Endorsement Schedule
      Policy No.         Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.      Add'l Prem.          Return Prem.
   DOC 1074701-00          10/21/2017          10/21/2018           10/21/2017

Policyholder:       AMTRUST FINANCIAL SERVICES, INC.



This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy

                                                                                                   Edition    Endorsement
                            Form Name                                      Form Number              Date          No.

 New York Free Trade Zone Notice                                      U-GU-1029-B NY               (11/12)
 Important Notice - In-Witness Clause                                 U-GU-319-F NY                (01/09)
 Disclosure of Important Information Relating to Terrorism Risk       U-GU-630-D CW                (01/15)
 Insurance Act
 Zurich Excess Select Insurance Policy Declarations                   U-FLXS-D-100-A NY            (07/16)
 Zurich Excess Select Insurance Policy                                U-FLXS-100-A CW              (08/11)
 Sanctions Exclusion Endorsement                                      U-GU-1191-A CW               (03/15)         01
 Cap on Losses From Certified Acts of Terrorism                       U-GU-767-B CW                (01/15)         02


All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                        U-FLXS-101-B CW (04/16)
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Zurich Excess Select Insurance Policy
The Underwriter issues this policy in reliance upon the statements made in the application, warranty, if permitted,
representations or statements made by the Policyholder to the Underwriter, in the application to the insurers of the
Underlying Insurance and any binder of Underlying Insurance. All terms in bold below shall have the meaning
provided in the Declarations. In consideration of payment of the premium and subject to the Declarations and the
definitions, limitations, conditions, provisions and other terms of this policy and any endorsements hereto, the Underwriter
and the Policyholder agree as follows:
I.   INSURING CLAUSE – The Underwriter shall provide the Policyholder with insurance coverage during the Policy
     Period excess of the Underlying Insurance. The Policyholder may have the right to purchase an extended
     reporting period for purposes of reporting claims during the extended reporting period. Coverage under this policy
     shall attach only after:
     A. all the Limits of Liability of the Underlying Insurance have been exhausted solely as a result of the actual
        payment of covered loss(es); or
     B. the Policyholder and/or any other insurer(s), entity, or individual on behalf of the Policyholder has paid up to the
        full limits of liability for such loss, and satisfied any deductible(s) or retention amount(s) of the Underlying
        Insurance on behalf of the insurer(s) of any Underlying Insurance, including coverage provided pursuant to a
        difference in conditions policy.
     Coverage under this policy shall then apply in conformance with and subject to the warranties, if permitted, limitations,
     conditions, provisions, and other terms of the Followed Policy, together with the warranties, if permitted, and
     limitations of any other Underlying Insurance. In no event shall coverage under this policy be broader than
     coverage under any Underlying Insurance. In the event of reduction or exhaustion of all the Limits of Liability of the
     Underlying Insurance solely as a result of the payment of covered loss(es), this policy shall: (1) in the event of
     reduction, pay excess of the reduced Limit(s) of Liability of the Underlying Insurance, or (2) in the event of
     exhaustion, continue in force as primary or governing insurance excess of the applicable deductible(s) or retention
     amount(s) in the Followed Policy, which deductible(s) or retention(s) shall be applied to any subsequent covered
     loss as specified in the Followed Policy.
II. LIMIT OF LIABILITY
     The amount set forth in Item 2. of the Declarations shall be the Underwriter’s maximum aggregate liability under this
     policy with respect to all claims. Defense costs and/or claims expenses, if applicable, are part of and not in addition
     to the Limit of Liability and the payment by the Underwriter of such defense costs and/or claims expenses, if
     applicable, reduce the Limit of Liability.
     Any coverage under the Followed Policy that provides for a maximum Limit of Liability that is less than the Limit of
     Liability stated in Item 3. of the Declarations for such Underlying Insurance (“Sublimit of Liability”) shall not be
     provided by this policy. Provided, however, any actual payment of covered loss(es) made under the Followed Policy
     or other Underlying Insurance on account of any claim, for which coverage is subject to a Sublimit of Liability, shall
     be recognized by the Underwriter as contributing to the reduction or exhaustion of the Limit(s) of Liability designated
     in Item 3. of the Declarations.
III. CONDITIONS
     A. Reporting and Notice – As a condition precedent to exercising any rights under this policy, the Policyholder shall
        give the Underwriter written notice of any claim or any potential claim under this policy or any Underlying
        Insurance in the same manner required by the terms and conditions of the Followed Policy. Notwithstanding
        the foregoing, notice to the insurer(s) of the Followed Policy or other Underlying Insurance does not constitute
        notice to the Underwriter. Written notice of any claim or potential claim shall be provided to the Underwriter at the
        address set forth in Item 5.A. of the Declarations.




                                                                                                        U-FLXS-100-A CW (08/11)
                                                                                                                     Page 1 of 2
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   The Underwriter shall be given notice in writing to the address set forth in Item 5.B. of the Declarations as soon
   as practicable in the event of (1) termination of any Underlying Insurance, (2) any additional or return premiums
   charged or allowed in connection with any Underlying Insurance, or (3) any change to any of the Underlying
   Insurance.
B. Alteration – No change in, modification of, or assignment of interest under this policy or Underlying Insurance
   shall be effective except when made by a written agreement or endorsement to this policy by an authorized
   representative of the Underwriter. To the extent such Underlying Insurance is modified or altered, the
   Underwriter shall not recognize any new or modified coverage to which it has not consented.
C. Maintenance of Underlying Insurance – As a condition precedent to coverage under this policy, the Policyholder
   agrees to maintain the Underlying Insurance during the Policy Period in full effect with solvent insurers. To the
   extent such Underlying Insurance is not maintained, then the Policyholder shall be deemed self-insured for the
   amount of the Limit(s) of Liability of any such Underlying Insurance.




                                                                                               U-FLXS-100-A CW (08/11)
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Endorsement # 01




Sanctions Exclusion Endorsement


Policyholder: AMTRUST FINANCIAL SERVICES, INC.


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions language in
the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments or
provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this policy to the
extent that such cover, payment, service, benefit, or any business or activity of the insured would violate any applicable
trade or economic sanctions law or regulation.
The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule, coverage
parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each coverage provided.
Policy may also be referred to as contract or agreement.
We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall mean the
company providing the coverage.
Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.
These definitions may be found in various parts of the policy and any applicable riders or endorsements.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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Endorsement # 02




Cap On Losses From Certified Acts Of Terrorism

                       Insured's Name                                    Policy Number            Effective Date    Endorsement Number

             AMTRUST FINANCIAL SERVICES, INC.                           DOC 1074701-00             10/21/2017              02



THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance.
Zurich Excess Select Insurance Policy
A. Cap on Losses From Certified Terrorism Losses
   “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
   year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
   in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
   established by the Secretary of Treasury.
B. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
   terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
   limited or restricted under this policy.
ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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                    EXHIBIT D
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Dear Policyholder,
Thank you for choosing Zurich for your Management Liability Product(s). We truly appreciate your business and welcome
the opportunity to work with you.
We wanted to inform you that under the terms of this transaction you are entitled to online services and resources that are
designed just for management solutions customers. These resources are available at no additional cost to you and
include loss mitigation tips and techniques, industry-related articles and more. Here are just some examples of what is
available to you:
      eDiscovery website – a real-time information tool, including a readiness assessment for this rapidly growing
      phenomena
      Thought leadership materials – dedicated to your top-of-mind needs, including timely webinars and engaging
      white papers, even specific to your industry segment
      Security & Privacy readiness self assessment – this exposure makes headlines daily. How ready is your
      organization for this fast-growing threat?
      Strategic Risk Services and Enterprise Risk Management – on-line information source for related hot topics and
      ERM videos to minimize barriers to achieving expected business outcomes
To access this information and all other resources, simply visit www.ZurichMgmtSolutions.com. Please be sure to have
your policy number handy.
Deliver for our customers when it matters most. At Zurich, that’s the promise we make every day. I thank you again
for choosing Zurich.


Sincerely,




Frank Baron
Executive Vice President, Specialty Products




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New York Free Trade Zone Notice

NYFTZ Class:   1   Class Code: 1-60888
 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
 EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
 INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
 MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
 LAW AND REGULATIONS.




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                       President                                                    Corporate Secretary



QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):

                                               Zurich in North America
                                               Customer Inquiry Center
                                                   1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                 1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                           Email: info.source@zurichna.com




NYFTZ Class:     1    Class Code: 1-60888
  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.




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Insured Name:       AMTRUST FINANCIAL SERVICES, INC.

Policy Number:      DOC 1074701-00
Effective Date:     10/21/2017




             THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                               SCHEDULE*

 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
 $4,455

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January 1, 2015 – December 31, 2015 federal share: 85%
    January 1, 2016 – December 31, 2016 federal share: 84%
    January 1, 2017 – December 31, 2017 federal share: 83%
    January 1, 2018 – December 31, 2018 federal share: 82%
    January 1, 2019 – December 31, 2019 federal share: 81%
    January 1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
    Secretary of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.




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E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.




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                           Includes copyrighted material of Insurance Services Office, Inc., with its permission.             Page 2 of 2
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Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                     U-GU-873-A (06/11)
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Disclosure Statement


                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


          If you want to learn more about the compensation Zurich pays agents and brokers visit:

                             http://www.zurichnaproducercompensation.com

                          or call the following toll-free number: (866) 903-1192.



                This Notice is provided on behalf of Zurich American Insurance Company

                                    and its underwriting subsidiaries.




                                                                                                   U-GU-874-A (06/11)
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     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 108 of 1049 PageID #: 120




Zurich Excess Select Insurance Policy
Declarations

Insurance is provided by:
                                     Zurich-American Insurance Company
                                              1299 Zurich Way
                                       Schaumburg, Illinois 60196-1056
                                             (The "Underwriter")

THIS POLICY FOLLOWS TO THE TERMS, CONDITIONS, AND LIMITATIONS OF THE FOLLOWED POLICY.
COVERAGE IS LIMITED TO LOSS FROM CLAIMS AGAINST THE POLICYHOLDER DURING THE POLICY PERIOD
OR ANY APPLICABLE EXTENDED REPORTING PERIOD, IF EXERCISED, AND REPORTED TO THE
UNDERWRITER PURSUANT TO SUBSECTION III.A. THE LIMIT OF LIABILITY SHALL BE REDUCED AND MAY BE
EXHAUSTED BY AMOUNTS INCURRED AS DEFENSE COSTS AND/OR CLAIMS EXPENSES, IF APPLICABLE.
PLEASE READ THIS POLICY CAREFULLY. DEFINED TERMS APPEAR IN BOLD AND HAVE THE MEANING SET
FORTH IN THE DECLARATIONS.
ALL COVERAGE UNDER THIS POLICY CEASES UPON TERMINATION OF COVERAGE, EXCEPT FOR THE
AUTOMATIC EXTENSION PERIOD OR THE OPTIONAL EXTENDED REPORTING PERIOD, IF PURCHASED.
UPON TERMINATION OF COVERAGE, AN AUTOMATIC EXTENSION PERIOD IS WILL BE GRANTED FOR SIXTY
(60) DAYS. AN OPTIONAL EXTENDED REPORTING PERIOD IS AVAILABLE DURING THIS PERIOD, BUT ONLY BY
ENDORSEMENT AND FOR AN ADDITIONAL PREMIUM. THIS EXTENDED REPORTING PERIOD WILL BE FOR A
TIME PERIOD OF AT LEAST ONE (1) YEAR.
POTENTIAL COVERAGE GAPS MAY ARISE UPON EXPIRATION OF THE AUTOMATIC EXTENSION PERIOD OR
THE OPTIONAL EXTENDED REPORTING PERIOD.
DURING THE FIRST SEVERAL YEARS OF THE CLAIMS-MADE RELATIONSHIP, CLAIMS-MADE RATES ARE
COMPARATIVELY LOWER THAN OCCURRENCE RATES, AND ANNUAL PREMIUM INCREASES CAN BE
EXPECTED INDEPENDENT OF OVERALL RATE LEVEL INCREASES, UNTIL THE CLAIMS-MADE RELATIONSHIP
REACHES MATURITY.
Policy Number:   DOC 1074701-00




NYFTZ Class:     1    Class Code: 1-60888




  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.

                                                                           U-FLXS-D-100-A NY (07/16)
                                                                                         Page 1 of 2
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 109 of 1049 PageID #: 121


Item 1.   Policyholder and Mailing Address:         AMTRUST FINANCIAL SERVICES, INC.
                                                    59 Maiden Lane
                                                    43rd Floor
                                                    New York, NY 10038-4639

Item 2.   Aggregate Limit of Liability:             $5,000,000

Item 3.   Underlying Insurance:
           A.           Followed Policy          Policy Type      Policy Number           Limit of Liability         Attachment
                  Indian Harbor Insurance       Primary          ELU152497-17             $5,000,000            $5,000,000
                  Company

           B.       Other Underlying Insurance               Policy Number             Limit of Liability         Attachment
                  N/A                                  N/A                             N/A                     N/A

Item 4.   Policy Period:      From: 12:01 A.M. on 10/21/2017 To: 12:01 A.M. on 10/21/2018
                              Policy incepts and expires at the local time at the address shown in Item 1.

Item 5.   Notice to Underwriter:
          A. Address for Notice of Claim or Potential Claim       B. Address for All Other Notices:
                Attn:   Zurich North America - MSG Claims             Attn:    Northeast, MASE & West Region Underwriting
                        P.O. Box 968041                                        Regional Manager
                                                                                                     th
                        Schaumburg, IL 60196-8041                              One Liberty Plaza – 30 Floor
                        Fax: 866-255-2962                                      New York, NY 10006
                        Email: msgclms@zurichna.com                            Email: NEsubmissions@zurichna.com

Item 6.   Premium:       $450,000

Item 7.   Optional Extended Reporting Period:
                        Additional Premium                                    Additional Period
                        Option 1    200.00% of the policy premium             1 year
                        Option 2    % of the policy premium                   3 years

Item 8.   Endorsements Effective at Inception:      See Attached Schedule of Forms and Endorsements




                                                                                                            U-FLXS-D-100-A NY (07/16)
                                                                                                                          Page 2 of 2
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Form and Endorsement Schedule
      Policy No.         Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.      Add'l Prem.          Return Prem.
   DOC 1074701-00          10/21/2017          10/21/2018           10/21/2017

Policyholder:       AMTRUST FINANCIAL SERVICES, INC.



This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy

                                                                                                   Edition    Endorsement
                            Form Name                                      Form Number              Date          No.

 New York Free Trade Zone Notice                                      U-GU-1029-B NY               (11/12)
 Important Notice - In-Witness Clause                                 U-GU-319-F NY                (01/09)
 Disclosure of Important Information Relating to Terrorism Risk       U-GU-630-D CW                (01/15)
 Insurance Act
 Zurich Excess Select Insurance Policy Declarations                   U-FLXS-D-100-A NY            (07/16)
 Zurich Excess Select Insurance Policy                                U-FLXS-100-A CW              (08/11)
 Sanctions Exclusion Endorsement                                      U-GU-1191-A CW               (03/15)         01
 Cap on Losses From Certified Acts of Terrorism                       U-GU-767-B CW                (01/15)         02


All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                        U-FLXS-101-B CW (04/16)
                                                                                                                     Page 1 of 1
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Zurich Excess Select Insurance Policy
The Underwriter issues this policy in reliance upon the statements made in the application, warranty, if permitted,
representations or statements made by the Policyholder to the Underwriter, in the application to the insurers of the
Underlying Insurance and any binder of Underlying Insurance. All terms in bold below shall have the meaning
provided in the Declarations. In consideration of payment of the premium and subject to the Declarations and the
definitions, limitations, conditions, provisions and other terms of this policy and any endorsements hereto, the Underwriter
and the Policyholder agree as follows:
I.   INSURING CLAUSE – The Underwriter shall provide the Policyholder with insurance coverage during the Policy
     Period excess of the Underlying Insurance. The Policyholder may have the right to purchase an extended
     reporting period for purposes of reporting claims during the extended reporting period. Coverage under this policy
     shall attach only after:
     A. all the Limits of Liability of the Underlying Insurance have been exhausted solely as a result of the actual
        payment of covered loss(es); or
     B. the Policyholder and/or any other insurer(s), entity, or individual on behalf of the Policyholder has paid up to the
        full limits of liability for such loss, and satisfied any deductible(s) or retention amount(s) of the Underlying
        Insurance on behalf of the insurer(s) of any Underlying Insurance, including coverage provided pursuant to a
        difference in conditions policy.
     Coverage under this policy shall then apply in conformance with and subject to the warranties, if permitted, limitations,
     conditions, provisions, and other terms of the Followed Policy, together with the warranties, if permitted, and
     limitations of any other Underlying Insurance. In no event shall coverage under this policy be broader than
     coverage under any Underlying Insurance. In the event of reduction or exhaustion of all the Limits of Liability of the
     Underlying Insurance solely as a result of the payment of covered loss(es), this policy shall: (1) in the event of
     reduction, pay excess of the reduced Limit(s) of Liability of the Underlying Insurance, or (2) in the event of
     exhaustion, continue in force as primary or governing insurance excess of the applicable deductible(s) or retention
     amount(s) in the Followed Policy, which deductible(s) or retention(s) shall be applied to any subsequent covered
     loss as specified in the Followed Policy.
II. LIMIT OF LIABILITY
     The amount set forth in Item 2. of the Declarations shall be the Underwriter’s maximum aggregate liability under this
     policy with respect to all claims. Defense costs and/or claims expenses, if applicable, are part of and not in addition
     to the Limit of Liability and the payment by the Underwriter of such defense costs and/or claims expenses, if
     applicable, reduce the Limit of Liability.
     Any coverage under the Followed Policy that provides for a maximum Limit of Liability that is less than the Limit of
     Liability stated in Item 3. of the Declarations for such Underlying Insurance (“Sublimit of Liability”) shall not be
     provided by this policy. Provided, however, any actual payment of covered loss(es) made under the Followed Policy
     or other Underlying Insurance on account of any claim, for which coverage is subject to a Sublimit of Liability, shall
     be recognized by the Underwriter as contributing to the reduction or exhaustion of the Limit(s) of Liability designated
     in Item 3. of the Declarations.
III. CONDITIONS
     A. Reporting and Notice – As a condition precedent to exercising any rights under this policy, the Policyholder shall
        give the Underwriter written notice of any claim or any potential claim under this policy or any Underlying
        Insurance in the same manner required by the terms and conditions of the Followed Policy. Notwithstanding
        the foregoing, notice to the insurer(s) of the Followed Policy or other Underlying Insurance does not constitute
        notice to the Underwriter. Written notice of any claim or potential claim shall be provided to the Underwriter at the
        address set forth in Item 5.A. of the Declarations.




                                                                                                        U-FLXS-100-A CW (08/11)
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   The Underwriter shall be given notice in writing to the address set forth in Item 5.B. of the Declarations as soon
   as practicable in the event of (1) termination of any Underlying Insurance, (2) any additional or return premiums
   charged or allowed in connection with any Underlying Insurance, or (3) any change to any of the Underlying
   Insurance.
B. Alteration – No change in, modification of, or assignment of interest under this policy or Underlying Insurance
   shall be effective except when made by a written agreement or endorsement to this policy by an authorized
   representative of the Underwriter. To the extent such Underlying Insurance is modified or altered, the
   Underwriter shall not recognize any new or modified coverage to which it has not consented.
C. Maintenance of Underlying Insurance – As a condition precedent to coverage under this policy, the Policyholder
   agrees to maintain the Underlying Insurance during the Policy Period in full effect with solvent insurers. To the
   extent such Underlying Insurance is not maintained, then the Policyholder shall be deemed self-insured for the
   amount of the Limit(s) of Liability of any such Underlying Insurance.




                                                                                               U-FLXS-100-A CW (08/11)
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Endorsement # 01




Sanctions Exclusion Endorsement


Policyholder: AMTRUST FINANCIAL SERVICES, INC.


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions language in
the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments or
provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this policy to the
extent that such cover, payment, service, benefit, or any business or activity of the insured would violate any applicable
trade or economic sanctions law or regulation.
The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule, coverage
parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each coverage provided.
Policy may also be referred to as contract or agreement.
We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall mean the
company providing the coverage.
Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.
These definitions may be found in various parts of the policy and any applicable riders or endorsements.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                                      U-GU-1191-A CW (03/15)
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Endorsement # 02




Cap On Losses From Certified Acts Of Terrorism

                       Insured's Name                                    Policy Number            Effective Date    Endorsement Number

             AMTRUST FINANCIAL SERVICES, INC.                           DOC 1074701-00             10/21/2017              02



THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance.
Zurich Excess Select Insurance Policy
A. Cap on Losses From Certified Terrorism Losses
   “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
   year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
   in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
   established by the Secretary of Treasury.
B. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
   terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
   limited or restricted under this policy.
ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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Endorsement # 03



Policy Period Amended Endorsement

     Policy No.        Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Add’l Prem.           Return Prem.

  DOC 4565460-00         10/21/2018          12/31/2018          11/20/2018        $50,400.00


Policyholder: AMTRUST FINANCIAL SERVICES, INC.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy

In consideration of the premium charged, it is hereby understood and agreed that Item 4 of the Declarations is deleted
and replaced by the following:

Item 4. Policy Period: From: 12:01 A.M. on 10/21/2018 To: 12:01 A.M. on 12/31/2018
                       Policy incepts and expires at the local time at the address shown in Item1.

The amendment of the Policy Period pursuant to this endorsement does not reinstate or increase the applicable Limits
of Liability as set forth in Items 2 of the Declarations.


ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




                                                                                                     U-FLXS-MAN-A CW (01/12)
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Endorsement # 04




Cancellation Endorsement
     Policy No.         Eff. Date of Pol.   Exp. Date of Pol.      Eff. Date of End.   Add’l Prem.       Return Prem.
  DOC 4565460-00          10/21/2018           12/31/2018            11/29/2018                            -$39,312


Policyholder: AMTRUST FINANCIAL SERVICES, INC.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy
It is agreed that this policy is cancelled effective 11/29/2018:

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY SHALL APPLY AND REMAIN UNCHANGED.




                                                                                                     U-FLXS-227-B CW (01/15)
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Endorsement # 05



Run-Off Coverage Policy Purchased Endorsement

     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.   Add’l Prem.        Return Prem.

  DOC 4565460-00        10/21/2018          11/29/2018             11/29/2018       $900,000


Policyholder: AMTRUST FINANCIAL SERVICES, INC.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Zurich Excess Select Insurance Policy

It is agreed that:
In accordance with the run-off coverage election terms of the Followed Policy, the Policyholder has purchased the
following run-off coverage period ("Additional Period") for the following Additional Premium:


                        A. Additional Premium:          $900,000
                        B. Additional Period: 12:01 A.M. on 11/29/2018 to 12:01 A.M. on 11/29/2024.


ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




                                                                                                  U-FLXS-MAN-A CW (08/11)
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                     EXHIBIT E
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 119 of 1049 PageID #: 131

                                             AXIS INSURANCE COMPANY
                                    Administrative Office – 11680 Great Oaks Way, Suite 500
                                                    Alpharetta, Georgia 30022
                                           (a stock company hereinafter the “Insurer”)

                                                       Excess Policy
                           NEW YORK DECLARATIONS PAGE – CLAIMS MADE POLICY
SUBJECT TO THE PROVISIONS OF THE FOLLOWED POLICY, THIS POLICY MAY ONLY APPLY TO CLAIMS FIRST MADE WHILE THE POLICY IS IN EFFECT.
COVERAGE UNDER THE POLICY CEASES UPON TERMINATION OF THE POLICY, EXCEPT FOR THE AUTOMATIC EXTENDED REPORTING PERIOD, UNLESS THE
INSUREDS PURCHASE ADDITIONAL EXTENDED REPORTING PERIOD COVERAGE, AS SET FORTH IN THE FOLLOWED POLICY. NO COVERAGE WILL EXIST
AFTER THE EXPIRATION OF THE APPLICABLE EXTENDED REPORTING PERIOD, WHICH MAY RESULT IN A COVERAGE GAP IF PRIOR ACTS COVERAGE IS NOT
PROVIDED BY ANOTHER INSURER.
THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS MAY BE REDUCED AND EXHAUSTED BY PAYMENT OF DEFENSE COSTS OR CLAIMS
EXPENSES AND THE INSURER SHALL NOT BE LIABLE FOR DEFENSE COSTS, CLAIMS EXPENSES OR THE AMOUNT OF ANY JUDGEMENT OR SETTLEMENT AFTER THE
LIMIT IS EXHAUSTED.

Policy Number: MNN626501/01/2017                   Renewal of Policy Number: N/A
Item 1. Policyholder and Mailing Address:          AmTrust Financial Services, Inc.
                                                   59 Maiden Lane
                                                   New York, NY 10038

Item 2. Policy Period: From: 12:01 a.m. on October 21, 2017 to: 12:01 a.m. on October 21, 2018 local time at the
                       address in Item 1.
Item 3. Limit of Liability for the Policy Period: $5,000,000 excess of $10,000,000.
Item 4. Underlying Insurance: See attached Schedule of Underlying Insurance.
Item 5. Forms and Endorsements: See attached Schedule of Forms and Endorsements.
Item 6. Notices to Insurer:
          A.   Notice of claims or potential claims:               B.   All other notices:
               AXIS Insurance Company                                   AXIS Insurance Company
               Professional Lines Claims                                Professional Lines
               300 Connell Dr., P.O. Box 357                            300 Connell Dr., P.O. Box 357
               Berkeley Heights, NJ 07922-0357                          Berkeley Heights, NJ 07922-0357
               Toll Free Fax: (866) 770-5630                            Fax: (908) 508-4301
               E-mail: USClaimNoticeBH@axiscapital.com

Item 7. Premium: $405,000 (No additional premium for TRIA).

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
 EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
 INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
 MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
 LAW AND REGULATIONS.
Class: 2-14176




XS 0100-NYFTZ (06 13)                                                                                                      Page 1 of 3
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                                        Schedule of Underlying Insurance

                                              Followed Policy
Excess Directors & Officers Liability
Insurer Name                                     Policy Number             Limit

Indian Harbor Insurance Company                  ELU152497-17              $5,000,000



                                        Other Underlying Insurance
Insurer Name                                     Policy Number             Limit

Zurich American Insurance Company                DOC 1074701-00            $5,000,000




XS 0100-NYFTZ (06 13)                                                                   Page 2 of 3
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                                 Schedule of Forms and Endorsements
Notices, Forms and Disclosures:
Signature Page                                                        AXIS 102 AIC (06 15)
Excess Policy                                                         XS 0001 (12 10)
Policyholder Notice Economic and Trade Sanctions                      AXIS 906 (03 16)



Endorsements:
No.      Endorsement Name                                             Form Number

         N/A




XS 0100-NYFTZ (06 13)                                                                    Page 3 of 3
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                                           SIGNATURE PAGE
IN WITNESS WHEREOF, the Insurer has caused this policy to be issued by affixing hereto the facsimile signatures of its
President and Secretary.




       Andrew Weissert, Secretary                             Carlton Maner, President




AXIS 102 AIC (06-15)                                                                                           Page 1
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                                                 Excess Policy

In consideration of the premium paid and in reliance upon all information and representations provided or made
available by the Insureds to the Insurer in connection with the underwriting of this Policy, and subject to the
provisions of this Policy and the Declarations and any Schedules and Endorsements attached hereto, all of which are
made a part of this Policy, the Insurer and Policyholder, on behalf of all Insureds, agree as follows:

I.   INSURING AGREEMENT
     This Policy shall provide insurance excess of the Underlying Insurance. Liability shall attach to the Insurer only
     after (i) the insurers of the Underlying Insurance, the Insureds or others on behalf of the Insureds shall have
     paid in legal currency amounts covered under the respective Underlying Insurance equal to the full amount of
     the Underlying Limit, and (ii) the retention or deductible, if any, applicable under the Underlying Insurance has
     been satisfied. Except as specifically set forth herein, coverage under this Policy shall apply in conformance with
     all provisions of the Followed Policy.

II. DEFINITIONS
     When used in this Policy, whether in the singular or the plural:
     A. Insureds means all persons and entities covered under the Followed Policy.
     B. Followed Policy means the insurance policy(ies) identified as such in the Schedule of Underlying Insurance
        attached hereto.
     C. Policy Period means the period set forth in Item 2 of the Declarations.
     D. Policyholder means the person(s) or entity(ies) set forth in Item 1 of the Declarations.
     E. Underlying Insurance means the Followed Policy and all other policies, if any, identified as such in the
        Schedule of Underlying Insurance attached hereto.
     F. Underlying Limit means an amount equal to the aggregate of all limits of liability set forth in the Schedule of
        Underlying Insurance attached hereto.

III. CONDITIONS AND LIMITATIONS
     A. The Limit of Liability set forth in Item 3 of the Declarations shall be the maximum amount payable by the
        Insurer in excess of the Underlying Limit.
     B. If any amount covered under the Underlying Insurance is subject to a sublimit of liability, this Policy shall not
        apply to such amount, but the Insurer shall recognize payment of such amount in any manner described in
        Section I. Insuring Agreement as reducing the Underlying Limit by such amount.
     C. The Insureds shall give written notice to the Insurer if any Underlying Insurance is changed or terminated or
        if any insurer of the Underlying Insurance becomes financially unable to pay any amount covered under the
        Underlying Insurance. No such event shall affect coverage under this Policy, unless the Insurer so agrees in
        writing. The failure of the Insureds to comply with this section shall not invalidate coverage. However, the
        Insurer shall not be liable to a greater extent than it would have been had no such event occurred.
     D. Notice to the Insurer shall be given at the respective address shown in Item 6 of the Declarations. Notice to
        any other insurer shall not constitute notice to the Insurer unless also given to the Insurer as provided above.
     E. The Insurer may, at its sole discretion, elect to participate in the investigation, defense and settlement of any
        claim or other matter to which the coverage under this Policy could apply even if the Underlying Limit has
        not been exhausted. The Insureds shall provide the Insurer with information, assistance and cooperation as
        the Insurer reasonably requests and shall do nothing to prejudice the Insurer’s position or potential rights of
        recovery. No action by any other insurer shall bind the Insurer under this Policy.




XS 0001 (12 10)                                                                                             Page 1 of 1
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 124 of 1049 PageID #: 136




                                            POLICYHOLDER NOTICE

                                      ECONOMIC AND TRADE SANCTIONS

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by the Office of Foreign Assets Control (OFAC).

THE OFFICE OF FOREIGN ASSETS CONTROL ("OFAC") OF THE US DEPARTMENT OF THE TREASURY
ADMINISTERS AND ENFORCES ECONOMIC AND TRADE SANCTIONS BASED ON US FOREIGN POLICY AND
NATIONAL SECURITY GOALS AGAINST TARGETED FOREIGN COUNTRIES AND REGIMES, TERRORISTS,
INTERNATIONAL NARCOTICS TRAFFICKERS, THOSE ENGAGED IN ACTIVITIES RELATED TO THE
PROLIFERATION OF WEAPONS OF MASS DESTRUCTION, AND OTHER THREATS TO THE NATIONAL
SECURITY, FOREIGN POLICY OR ECONOMY OF THE UNITED STATES.

WHENEVER COVERAGE PROVIDED BY THIS POLICY WOULD BE IN VIOLATION OF ANY U.S. ECONOMIC OR
TRADE SANCTIONS, SUCH COVERAGE SHALL BE NULL AND VOID.

FOR MORE INFORMATION, PLEASE REFER TO:

HTTPS://WWW.TREASURY.GOV/RESOURCE-CENTER/SANCTIONS/PAGES/DEFAULT.ASPX




AXIS 906 (03-16)                                                                                           Page 1 of 1
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 125 of 1049 PageID #: 137




                     EXHIBIT F
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 126 of 1049 PageID #: 138

                                             AXIS INSURANCE COMPANY
                                    Administrative Office – 11680 Great Oaks Way, Suite 500
                                                    Alpharetta, Georgia 30022
                                           (a stock company hereinafter the “Insurer”)

                                                       Excess Policy
                           NEW YORK DECLARATIONS PAGE – CLAIMS MADE POLICY
SUBJECT TO THE PROVISIONS OF THE FOLLOWED POLICY, THIS POLICY MAY ONLY APPLY TO CLAIMS FIRST MADE WHILE THE POLICY IS IN EFFECT.
COVERAGE UNDER THE POLICY CEASES UPON TERMINATION OF THE POLICY, EXCEPT FOR THE AUTOMATIC EXTENDED REPORTING PERIOD, UNLESS THE
INSUREDS PURCHASE ADDITIONAL EXTENDED REPORTING PERIOD COVERAGE, AS SET FORTH IN THE FOLLOWED POLICY. NO COVERAGE WILL EXIST
AFTER THE EXPIRATION OF THE APPLICABLE EXTENDED REPORTING PERIOD, WHICH MAY RESULT IN A COVERAGE GAP IF PRIOR ACTS COVERAGE IS NOT
PROVIDED BY ANOTHER INSURER.
THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS MAY BE REDUCED AND EXHAUSTED BY PAYMENT OF DEFENSE COSTS OR CLAIMS
EXPENSES AND THE INSURER SHALL NOT BE LIABLE FOR DEFENSE COSTS, CLAIMS EXPENSES OR THE AMOUNT OF ANY JUDGEMENT OR SETTLEMENT AFTER THE
LIMIT IS EXHAUSTED.

Policy Number: MNN626501/01/2017                   Renewal of Policy Number: N/A
Item 1. Policyholder and Mailing Address:          AmTrust Financial Services, Inc.
                                                   59 Maiden Lane
                                                   New York, NY 10038

Item 2. Policy Period: From: 12:01 a.m. on October 21, 2017 to: 12:01 a.m. on October 21, 2018 local time at the
                       address in Item 1.
Item 3. Limit of Liability for the Policy Period: $5,000,000 excess of $10,000,000.
Item 4. Underlying Insurance: See attached Schedule of Underlying Insurance.
Item 5. Forms and Endorsements: See attached Schedule of Forms and Endorsements.
Item 6. Notices to Insurer:
          A.   Notice of claims or potential claims:               B.   All other notices:
               AXIS Insurance Company                                   AXIS Insurance Company
               Professional Lines Claims                                Professional Lines
               300 Connell Dr., P.O. Box 357                            300 Connell Dr., P.O. Box 357
               Berkeley Heights, NJ 07922-0357                          Berkeley Heights, NJ 07922-0357
               Toll Free Fax: (866) 770-5630                            Fax: (908) 508-4301
               E-mail: USClaimNoticeBH@axiscapital.com

Item 7. Premium: $405,000 (No additional premium for TRIA).

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
 EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
 INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
 MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
 LAW AND REGULATIONS.
Class: 2-14176




XS 0100-NYFTZ (06 13)                                                                                                      Page 1 of 3
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 127 of 1049 PageID #: 139


                                        Schedule of Underlying Insurance

                                              Followed Policy
Excess Directors & Officers Liability
Insurer Name                                     Policy Number             Limit

Indian Harbor Insurance Company                  ELU152497-17              $5,000,000



                                        Other Underlying Insurance
Insurer Name                                     Policy Number             Limit

Zurich American Insurance Company                DOC 1074701-00            $5,000,000




XS 0100-NYFTZ (06 13)                                                                   Page 2 of 3
      Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 128 of 1049 PageID #: 140



                                 Schedule of Forms and Endorsements
Notices, Forms and Disclosures:
Signature Page                                                        AXIS 102 AIC (06 15)
Excess Policy                                                         XS 0001 (12 10)
Policyholder Notice Economic and Trade Sanctions                      AXIS 906 (03 16)



Endorsements:
No.      Endorsement Name                                             Form Number

         N/A




XS 0100-NYFTZ (06 13)                                                                    Page 3 of 3
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 129 of 1049 PageID #: 141




                                           SIGNATURE PAGE
IN WITNESS WHEREOF, the Insurer has caused this policy to be issued by affixing hereto the facsimile signatures of its
President and Secretary.




       Andrew Weissert, Secretary                             Carlton Maner, President




AXIS 102 AIC (06-15)                                                                                           Page 1
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                                                 Excess Policy

In consideration of the premium paid and in reliance upon all information and representations provided or made
available by the Insureds to the Insurer in connection with the underwriting of this Policy, and subject to the
provisions of this Policy and the Declarations and any Schedules and Endorsements attached hereto, all of which are
made a part of this Policy, the Insurer and Policyholder, on behalf of all Insureds, agree as follows:

I.   INSURING AGREEMENT
     This Policy shall provide insurance excess of the Underlying Insurance. Liability shall attach to the Insurer only
     after (i) the insurers of the Underlying Insurance, the Insureds or others on behalf of the Insureds shall have
     paid in legal currency amounts covered under the respective Underlying Insurance equal to the full amount of
     the Underlying Limit, and (ii) the retention or deductible, if any, applicable under the Underlying Insurance has
     been satisfied. Except as specifically set forth herein, coverage under this Policy shall apply in conformance with
     all provisions of the Followed Policy.

II. DEFINITIONS
     When used in this Policy, whether in the singular or the plural:
     A. Insureds means all persons and entities covered under the Followed Policy.
     B. Followed Policy means the insurance policy(ies) identified as such in the Schedule of Underlying Insurance
        attached hereto.
     C. Policy Period means the period set forth in Item 2 of the Declarations.
     D. Policyholder means the person(s) or entity(ies) set forth in Item 1 of the Declarations.
     E. Underlying Insurance means the Followed Policy and all other policies, if any, identified as such in the
        Schedule of Underlying Insurance attached hereto.
     F. Underlying Limit means an amount equal to the aggregate of all limits of liability set forth in the Schedule of
        Underlying Insurance attached hereto.

III. CONDITIONS AND LIMITATIONS
     A. The Limit of Liability set forth in Item 3 of the Declarations shall be the maximum amount payable by the
        Insurer in excess of the Underlying Limit.
     B. If any amount covered under the Underlying Insurance is subject to a sublimit of liability, this Policy shall not
        apply to such amount, but the Insurer shall recognize payment of such amount in any manner described in
        Section I. Insuring Agreement as reducing the Underlying Limit by such amount.
     C. The Insureds shall give written notice to the Insurer if any Underlying Insurance is changed or terminated or
        if any insurer of the Underlying Insurance becomes financially unable to pay any amount covered under the
        Underlying Insurance. No such event shall affect coverage under this Policy, unless the Insurer so agrees in
        writing. The failure of the Insureds to comply with this section shall not invalidate coverage. However, the
        Insurer shall not be liable to a greater extent than it would have been had no such event occurred.
     D. Notice to the Insurer shall be given at the respective address shown in Item 6 of the Declarations. Notice to
        any other insurer shall not constitute notice to the Insurer unless also given to the Insurer as provided above.
     E. The Insurer may, at its sole discretion, elect to participate in the investigation, defense and settlement of any
        claim or other matter to which the coverage under this Policy could apply even if the Underlying Limit has
        not been exhausted. The Insureds shall provide the Insurer with information, assistance and cooperation as
        the Insurer reasonably requests and shall do nothing to prejudice the Insurer’s position or potential rights of
        recovery. No action by any other insurer shall bind the Insurer under this Policy.




XS 0001 (12 10)                                                                                             Page 1 of 1
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                                            POLICYHOLDER NOTICE

                                      ECONOMIC AND TRADE SANCTIONS

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by the Office of Foreign Assets Control (OFAC).

THE OFFICE OF FOREIGN ASSETS CONTROL ("OFAC") OF THE US DEPARTMENT OF THE TREASURY
ADMINISTERS AND ENFORCES ECONOMIC AND TRADE SANCTIONS BASED ON US FOREIGN POLICY AND
NATIONAL SECURITY GOALS AGAINST TARGETED FOREIGN COUNTRIES AND REGIMES, TERRORISTS,
INTERNATIONAL NARCOTICS TRAFFICKERS, THOSE ENGAGED IN ACTIVITIES RELATED TO THE
PROLIFERATION OF WEAPONS OF MASS DESTRUCTION, AND OTHER THREATS TO THE NATIONAL
SECURITY, FOREIGN POLICY OR ECONOMY OF THE UNITED STATES.

WHENEVER COVERAGE PROVIDED BY THIS POLICY WOULD BE IN VIOLATION OF ANY U.S. ECONOMIC OR
TRADE SANCTIONS, SUCH COVERAGE SHALL BE NULL AND VOID.

FOR MORE INFORMATION, PLEASE REFER TO:

HTTPS://WWW.TREASURY.GOV/RESOURCE-CENTER/SANCTIONS/PAGES/DEFAULT.ASPX




AXIS 906 (03-16)                                                                                           Page 1 of 1
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       Endorsement No.                 Effective Date                      Policy Number               Additional Premium

                  1           12:01 a.m. on October 21, 2018           MNN626501/01/2017                     $33,210



                         POLICY PERIOD EXTENDED ENDORSEMENT
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    This endorsement modifies insurance provided under the following:

    Excess Policy
    In consideration of the above premium, it is agreed that Item 2 of the Declarations is replaced with the following:

        Policy Period: From 12:01 a.m. on October 21, 2017 to 12:01 a.m. on November 20, 2018, at the address in
            Item 1.

    All other provisions of the Policy remain unchanged.




                                                                       October 17, 2018
    Authorized Representative                                          Date




XS 1114 (09 12)                                                                                                     Page 1 of 1
     Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 133 of 1049 PageID #: 145




       Endorsement No.                 Effective Date                      Policy Number               Additional Premium

                  2          12:01 a.m. on November 20, 2018           MNN626501/01/2017                     $45,360



                         POLICY PERIOD EXTENDED ENDORSEMENT
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    This endorsement modifies insurance provided under the following:

    Excess Policy
    In consideration of the above premium, it is agreed that Item 2 of the Declarations is replaced with the following:

        Policy Period: From 12:01 a.m. on October 21, 2017 to 12:01 a.m. on December 31, 2018, at the address in Item
            1.

    All other provisions of the Policy remain unchanged.




XS 1114 (09 12)                                                                                                     Page 1 of 1
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       Endorsement No.                 Effective Date                   Policy Number          Additional Premium

                  3          12:01 a.m. on November 29, 2018        MNN626501/01/2017               $810,000



            FOLLOW CHANGE TO FOLLOWED POLICY ENDORSEMENT
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    This endorsement modifies insurance provided under the following:

    Excess Policy
    In consideration of the above premium, it is agreed that:

    This Policy shall provide excess insurance coverage in conformance with Endorsement No(s). 16 Convert To Run-Off
    Endorsement of the Followed Policy.

    All other provisions of the Policy remain unchanged.




XS 1105 (09 12)                                                                                            Page 1 of 1
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                    EXHIBIT G
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  Price Forbes and Partners Limited                                                            507 PRF
  UMR: B0507 N17FA23130


                                               RISK DETAILS

  TYPE:                   EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                          REIMBURSEMENT INSURANCE


  INSURED:                AMTRUST FINANCIAL SERVICES, INC.


  MAILING
                                                rd
  ADDRESS:                59 Maiden Lane, 43 Floor
                          New York
                          New York
                          10038
                          United States of America


                                          st
  PERIOD:                 From:     21 October 2017
                                       st
                          To:       21 October 2018
                          Both days at 12:01 am local standard time, at the mailing address of the
                          Insured.


  INTEREST:               Excess Directors and Officers Liability and Company Reimbursement
                          Insurance as more fully defined in the wording referenced herein.


  LIMIT OF
  LIABILITY:              USO 10,000,000 in the aggregate

                          In excess of:

                          USO 15,000,000 in the aggregate, which in turn in excess of underlying primary
                          retention( s)


 TERRITORIAL
 LIMITS:                  Worldwide

 CONDITIONS:              1.              Excess Form as attached
                          2.              Retroactive date inception. Wording as attached.
                          3.              Short Rate Cancellation Table NMA 45 as attached
                          4.              Small AP/RP Clause NMA 1168 as attached
                          5.              Nuclear Incident Exclusion NMA 1256 as attached
                          6.              Radioactive Contamination Exclusion Clause NMA 1477 as
                                          attached
                          7.              War and Terrorism Exclusion NMA 2918 as attached.
                          8.              TRIA Clause LMA 5019 as attached.
                          9.              Sanctions Clause as attached.
                          10.             Premium Payment Clause LSW 3000 as attached.


 SUBJECTIVITIES:          None

 CHOICE OF LAW
 & JURISDICTION:          This insurance shall be governed by and construed in accordance with the law
                          of New York and each party agrees to submit to the exclusive jurisdiction of the
                          courts of the United States of America




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  507 PRF                                                                                        //.T/
  Price Forbes & Partners Limited
                                                                                           PRICE FORBES
  UMR : B0507 N17FA23130


  PREMIUM:                 USO 800,000 (100%) Annual


  PREMIUM
  PAYMENT TERMS:           Premium Payment Clause LSW 3000 (45 days)



  TAXES PAYABLE
  BY INSURED AND
  ADMINISTERED
  BY INSURER(S) :          None applicable



  INSURER
  CONTRACT
  DOCUMENTATION:           This document details the contract terms entered into by the insurer(s), and
                           constitutes the contract documentation.




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  507 PRF                                                                                                    f///
  Price Forbes & Partners Lim ited
                                                                                                      PRICE FORBES
  UMR : 8 0507 N17FA23130




  DECLARATIONS



  EXCESS INSURANCE POLICY



  SUBJECT TO ALL OF THE TERMS, CONDITIONS AND LIMITATIONS OF THE FOLLOWED POLICY,
  THIS POLICY MAY ONLY APPLY TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS DURING
  THE POLICY PERIOD PROVIDED THAT SUCH CLAIM IS REPORTED IN WRITING TO THE
  UNDERWRITERS PURSUANT TO THE POLICY PROVISIONS. AMOUNTS INCURRED AS COSTS AND
  EXPENSES INCURRED IN THE DEFENSE OR SETTLEMENT OF CLAIMS SHALL REDUCE AND MAY
  EXHAUST THE APPLICABLE LIMIT OF LIABILITY AND ARE SUBJECT TO THE RETENTIONS. THE
  UNDERWRITERS SHALL NOT BE LIABLE FOR ANY AMOUNTS AFTER THE LIMIT OF LIABILITY
  HAS BEEN EXHAUSTED. PLEASE READ THIS POLICY CAREFULLY.

  These Declarations a long with the Policy with endorsements shall constitute the contract between the Insureds and the
  Underwriters.


   Policy Number:          B0507 N17FA23130


   Item l.      Named Insured:

                AMTRUST FINANCIAL SERVICES, INC.

                Principal Address:
                59 Maiden Lane, 43rd Floor
                New York
                New York
                10038
                United States of America



   Item 2.      Policy Period:

                From:      21 st October 2017

                To:        2 I st October 2018

                Both dates at 12:0 I a.m. Local Time at the Principal Address stated in Item I.




   Item 3.      Limit of Liability:

                USO I 0,000,000 Each claim, including costs and expenses incurred in the defense or
                                settlement of such claim.
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  Price Forbes & Partners Lim ited
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  UMR: 80507 N1 7FA23130



             USD I 0,000,000 in the Aggregate for the Policy Period, including costs and expenses
                             incurred in the defense or settlement of all claims.

   Item 4.   Premium:

       USD 800,000



   Item 5.   Notification pursuant to Clause VI. shall be given to:
             Hiscox, Attention Public D&O Claims
             101 California Street
             Suite 1950
             San Francisco
             California 94111
             United States of America

             Or:
             Hiscox, Syndicate 33, using the following e-
             mail address:
             Londonmarketd&oclaims@ hiscox.com



   Item 6.
             Underlying Insurance:

             Primary Policy Number ELU152497-17 issued by Indian Harbor Insurance Company
             for a limit of USD 5,000,000 in the aggregate

             First Excess Policy Number DOC l 074701-00 issued by Zurich-American Insurance
             Company for a limit of USO 5,000,000 in the aggregate

             Second Excess Policy Number MNN62650l/0l/0l/2017 issued by Axis Insurance
             Company for a limit of USO 5,000,000 in the aggregate

   Item 7.   Endorsements Effective at Inception:
              1.         Retroactive date inception.
              2.         Short Rate Cancellation Table NMA 45.
              3.         Small AP/RP Clause NMA 1168.
              4.         Nuclear Incident Exclusion NMA 1256.
              5.         Radioactive Contamination Exclusion Clause NMA 1477.
              6.         War and Terrorism Exclusion NMA 2918.
              7.         TRIA Clause LMA 5019.
              8.         Sanctions Clause.
              9.         Premium Payment Clause LSW 3000.




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  507 PRF
  Price Forbes & Partners Limited
                                                                                                              PRICE FORBES
  UMR : B0507 N17FA23130




                                                EXCESS INSURANCE POLICY

  In consideration of the payment of the premium, in reliance upon all information and representatio ns provided or made
  available by the Insureds to the Underwriters in connection with the underwriting of this Policy, the Unde1writers and
  Named Insured, on behalf of all Insureds, agree as follows:

  I.    INSURING CLAUSE

        This Policy shall provide coverage in accordance with all of the terms, conditio ns and limitations (including, but not
        limited to, the exclusions and notice requirements) of the Followed Policy except for the Limit of Liability, the
        premium or as otherwise set forth herein. Coverage hereunder shall attach only after all of the Underlying Limits have
        been exhausted through payments by, or on behalf of, or in place of the insurers of the Underlying Insurance of
        amounts under the Underlying Insurance. The risk of uncollectibility of any Underlying Insurance (in whole or in
        part), whether because of financial impairment or insolvency of an insurer of the Underlying Insurance or for any
        other reason, is expressly retained by the Insureds and is not insured by or assumed by the Underwrite rs.

  II.   DEFINITIONS

        A.   Followed Policy means the insurance po licy identified in Item 6. of the Declarations.
        B.   Insureds mean all persons and entities covered unde r the Followed Policy.
        C.   Named Insured means all persons and entities set forth in Item I. of the Declarations.
        D.   Policy Period means the period set forth in Item 2. of the Declarations.
        E.   Underlying Insurance means the Followed Policy and all other underlying insurance policies, if any, identified
             in Item 7. of the Declarations.
        F.   Underlying Limits mean an amount equal to the aggregate of a ll limits of liabil ity of the Underlying Insurance.

  III. LIMIT OF LIABILITY

        The amount set fo1th in Item 3. of the Declarations shall be the maximum aggregate Limit of Liability of the
        Underwriters for all coverage under this Policy, regardless of the number of claims made against the Insureds o r the
        time of payment and regardless of whether or not an extended reporting period applies.

  IV. CHANGES TO UNDERLYING INSURANCE AND DEPLETION OF UNDERLYING LIMITS

        u: subsequent to the inception date of this Policy, the terms, conditions o r limitations of an Underlying Insurance are
        modified, the Insureds must notify the Underwriters in writing, as soon as practicable, of such modification. If any
        changes to the Followed Policy: (a) expand coverage, (b) change the policyholder name o r address, or (c) modify
        premium, this Policy shall not follow those changes unless the Underwriters agree in writing to do so. If any coverage
        under a ny Underlying Insurance is subj ect to a s ub-limit, then this Policy provides no coverage excess of such sub-
        limit, but the Underwriters shall recognize payment of such amount as reducing the Underlying Limit by such amount.
        Furthermore, if any amount covered under any policy issued to the Insureds outside of the United States of America (a
        "Foreign Policy") and the Underlying Insurance expressly provides for the reductio n of the Underlying Limit by
        reason of payment of such amount under the applicable Foreign Policy, then the Underwriters shall recogn ize payment
        of such amount as reducing the Underlying Limit by such amo unt.

  V.    UNDERWRITERS RIGHTS

        The Underwriters have the same rights and protections as the insurer of the F ollowed Po licy and sha ll have the right,
        but not the obligation, at their sole discretion, to elect to participate in the investigation, settlement, prosecution or
        defense of any claim.

  VI.   NOTICES




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  507 PRF
  Price Forbes & Partners Lim ited
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  UMR : 80507 N1 7FA23130


      Where notice is permitted or required by the Followed Policy, the Insureds have the same rights and obligations to
      notif), the Underwriters under this Policy, except that such notice sha ll be given to the Underwriters at the address set
      forth in Hem 5. of the Declarations. Notice to any other insurer shall not constitute notice to the Underwriters unless
      also given to the Underwriters as provided above.


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  LSW4003




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  507 PRF
  Price Forbes & Partners Lim ited
                                                                                                 PRICE FORBES
  UMR : 80507 N1 7FA23130




                                     RETROACTIVE DATE INCEPTION



  In consideration of the premium charged for this Policy, it is hereby understood and agreed that this Policy
  excludes any Loss or Claim based upon, arising out of, directly or indirectly resulting from or in consequence
  of, or in any way involving:

  1.           any Wrongful Act actually or allegedly committed or any conduct actually or allegedly
                                                             st
               undertaken prior to 12.01am Local Time on 21 October 2017,

  2.          any other Wrongful Act occurring on or subsequent to the date stated in 1. above which,
              together with a Wrongful Act occurring prior to such date, would constitute Interrelated
              Wrongful Acts, or

  3.          any other conduct occurring on or subsequent to the date stated in 1. above, together with
              conduct occurring prior to such date, have as a common nexus any fact, circumstance,
              situation, event, transaction or series of facts, circumstances, situations, events or transactions.



  All other terms and conditions of this Policy remain unchanged.
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  507 PRF
  Price Forbes & Partners Limited
                                                                                                             PRICE FORBES
  UMR: 80507 N17FA23130


  NOTWITHSTANDING anything to the contrary contained herein and in consideration of the premium for which this
  insurance is written it is agreed that in the event of cancellation thereof by the Assured the earned premium shall be
  computed as follows:

                                          SHORT RATE CANCELLATION TABLE
  A.       For insurance written for one year:-

          Days Insurance                          %of One        Days Ins urance             % of One
          In Force                                Year Premium   In Force                    Year Pre mium

            I ............................... .    5             l 54 - 156 ...................... 53
            2 ................................     6             157 - 160 ...................... 54
            3 - 4 ....................... ..       7             161 -164 ...................... 55
            5 - 6 ........................ .       8             165 - 167 ...................... 56
            7 - 8 ........................ .      . 9            168 - 171 ...................... 57
            9 - 10 .......................         10            172-175 ...................... 58
           I I - 12 ..................... .        II            176 - 178 ....................... 59
           13 - 14 ...................... .        12            179 - 182 (6 Months)... 60
           15 - 16 ..................... ..        13            I 83 - l 87 ...................... 61
           17 - 18 ..................... ..        14            188 -1 91 ...................... 62
           19 - 20 ..................... ..        15            192 - 196 ...................... 63
           21 - 22 ...................... .        16            197 - 200 ...................... 64
           23 - 25 .......................         17            201 - 205 ...................... 65
           26 - 29 ...................... .        18            206 - 209 ...................... 66
           30 - 32 (I Month) ......                19            210-214 (7 Months) ... 67
           33 - 36 ·······················         20            215 - 218 ...................... 68
           37 - 40 ...................... .        21            2 19 - 223 ······················     69
           41 - 43 ...................... .        22            224 - 228 ········ ..............     70
           44 - 47 ...................... .       23             229 - 232 ......................     71
           48 - 51 .......................        24             233 - 237 ......................      72
           52 - 54 .......................        25             238 - 241 ......................     73
           55 - 58 ...................... .       26             242 - 246 (8 Months) ...             74
           59 - 62 (2 Months) .... .              27             247 - 250 ......................     75
           63 - 65 ...................... .       28             25 1 - 255 ......................    76
           66 - 69 ·········'"············        29             256 - 260 ......................     77
           70 - 73 ...................... .       30             26 1 - 264 ......................    78
           74 - 76 ..................... ..       31             265 - 269 ......................     79
           77 - 80 ...................... .       32             270 - 273 (9 Months) ...             80
           81 - 83 ...................... .       33             274 - 278 ......................     81
           84 - 87 .......................        34             279 - 282 ......................     82
           88 - 9 I (3 Months) .... .             35             283 - 287 ......................     83
           92 - 94 ..................... ..       36             288 - 29 1 ......................    84
          95 - 98 ·········" ···· .. ·· ... .     37             292 - 296 ......................     85
          99 - 102 ................ .... .        38             297 - 301 ......................     86
          I 03 - I 05 ................... ..      39             302 - 305 ( 10 Months)..             87
          I06 - 109 .................... .        40             306 - 3 10 ......................    88
          110 - 113 .................... .        41             3 11 - 3 14 ......................   89
          114 - 116 ................... ..        42             3 15 - 3 19 ......................   90
          117 - 120 .................... .        43             320 - 323 ......................     91
          121 - 124 (4 Months) .. .               44             324 - 328 ......................     92
          125 -1 27 .....................         45             329 - 332 ......................     93
          128 - 131 .................... .        46             333 - 337 (II Months)..              94
          132 -1 35 .................... .        47             338 - 342 ......................     95
          136 - 138 .................... .        48             343 - 346 ············· .........    96
          139 -142 .....................          49             347- 35 1 ......................     97
          143 -146 .................... .         50             352 - 355 ......................     98
          147 - 149 .................... .        51             356 - 360 ......................     99
          150 - 153 (5 Months) .. .               52             36 1 - 366 ( 12 Months)..            100




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  B.      For Insurances written for more or less than one year:-

          1.      If insurance has been in force for 12 months or less, apply the short rate table to the full annual
                  premium determined as for an insurance written for a term of one year.

          2.      If insurance has been in force for more than 12:-

                  a)       Determine full annual premium as for an insurance written for a term of one year.

                  b)       Deduct such premium from the full insurance premium and on the remainder calculate the
                           pro-rata earned premium on the basis of the ratio of the length of time beyond one year the
                           insurance has been in force to the length of time beyond one year for which the insurance
                           was originally written.

                  c)       Add premium produced in accordance with items a) and b) to obtain earned premium during
                           the full period of insurance that has been in force.


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                  SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


  NOTWITHSTANDING anything to the contrary contained herein and in consideration of the premium for
  which this Insurance is written, it is understood and agreed that whenever an additional or return premium of
  $2 or less becomes due from or to the Assured on account of the adjustment of a deposit premium, or of an
  alteration in coverage or rate during the term or for any other reason, the collection of such premium from
  the Assured will be waived or the return of such premium to the Assured will not be made, as the case may
  be.


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           NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)


  For attachment to insurances of the following classifications in the U.S.A., its Territories and Possessions,
  Puerto Rico and the Canal Zone:

             Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners or
             Contractors (including railroad) Protective Liability, Manufacturers and Contractors Liability,
             Product Liability, Professional and Malpractice Liability, Storekeepers Liability, Garage Liability,
             Automobile Liability (including Massachusetts Motor Vehicle or Garage Liability),

  not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-Liability-Direct
  (Limited) applies.

  This Policy* does not apply:

      I.         Under any Liability Coverage, to injury, sickness, disease, death or destruction:

                 (a) with respect to which an insured under the Policy is also an insured under a nuclear energy
                     liability policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic
                     Energy Liability Underwriters or Nuclear Insurance Association of Canada, or would be an
                     insured under any such policy but for its termination upon exhaustion of its limit of liability;
                     or

                 (b) resulting from the hazardous properties of nuclear material and with respect to which (I)
                     any person or organization is required to maintain financial protection pursuant to the
                     Atomic Energy Act of 1954, or any law amendatory thereof, or (2) the insured is, or had this
                     Policy not been issued would be, entitled to indemnity from the United States of America,
                     or any agency thereof, under any agreement entered into by the United States of America,
                     or any agency thereof, with any person or organization.

      II.        Under any Medical Payments Coverage, or under any Supplementary Payments Provision
                 relating to immediate medical or surgical relief, to expenses incurred with respect to bodily
                 injury, sickness, disease or death resulting from the hazardous properties of nuclear material and
                 arising out of the operation of a nuclear facility by any person or organization.

      III.       Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting from
                 the hazardous properties of nuclear material, if:

                 (a) the nuclear material(!) is at any nuclear facility owned by, or operated by or on behalf of,
                     an insured or (2) has been discharged or dispersed therefrom;

                 (b) the nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
                     processed, stored, transported or disposed of by or on behalf of an insured; or

                 (c) the injury, sickness, disease, death or destruction arises out of the furnishing by an insured
                     of services, materials, parts or equipment in connection with the planning, construction,
                     maintenance, operation or use of any nuclear facility, but if such facility is located within
                     the United States of America, its territories or possessions or Canada, this exclusion (c)
                     applies only to injury to or destruction of property at such nuclear facility.

      IV.        As used in this endorsement:



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              "hazardous properties" include radioactive, toxic or explosive properties; "nuclear material"
              means source material, special nuclear material or by-product material; "source material",
              "special nuclear material", and "by-product material" have the meanings given them in the
              Atomic Energy Act 1954 or in any law amendatory thereof; "spent fuel" means any fuel element
              or fuel component, solid or liquid, which has been used or exposed to radiation in a nuclear
              reactor; "waste" means any waste material (l) containing by-product material and (2) resulting
              from the operation by any person or organization of any nuclear facility included within the
              definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility" means:

              (a) any nuclear reactor,

              (b) any equipment or device designed or used for (I) separating the isotopes of uranium or
                  plutonium, (2) processing or utilizing spent fuel, or (3) handling, processing or packaging
                  waste,

              ( c) any equipment or device used for the processing, fabricating or alloying of special nuclear
                   material if at any time the total amount of such material in the custody of the insured at the
                   premises where such equipment or device is located consists of or contains more than 25
                   grams of plutonium or uranium 233 or any combination thereof, or more than 250 grams of
                   uranium 235,

              ( d) any structure, basin, excavation, premises or place prepared or used for the storage or
                   disposal of waste,

              and includes the site on which any of the foregoing is located, all operations conducted on such
              site and all premises used for such operations; "nuclear reactor" means any apparatus designed
              or used to sustain nuclear fission in a self-suppo1ting chain reaction or to contain a critical mass
              of fissionable material. With respect to injury to or destruction of property, the word "injury" or
              "destruction" includes all forms of radioactive contamination of prope1ty.

  It is understood and agreed that, except as specifically provided in the foregoing to the contrary, this clause
  is subject to the terms, exclusions, conditions and limitations of the Policy to which it is attached.

  * NOTE: As respects policies which afford liability coverages and other forms of coverage in addition, the
  words underlined should be amended to designate the liability coverage to which this clause is to apply.


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      RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


  For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-Direct) to
  liability insurances affording worldwide coverage.

  In relation to liability arising outside the U.S.A., its Territories or Possessions, Pue110 Rico or the Canal
  Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly caused by or
  contributed to by or arising from ionising radiations or contamination by radioactivity from any nuclear fuel
  or from any nuclear waste from the combustion of nuclear fuel.


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                                  War and Terrorism Exclusion Endorsement


  Notwithstanding any provision to the contrary within this Policy or any Endorsement thereto it is agreed that
  this Policy excludes loss, damage, cost or expense of whatsoever nature directly or indirectly caused by,
  resulting from or in connection with any of the following regardless of any other cause or event contributing
  concurrently or in any other sequence to the loss;


  (1)     war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be declared or
          not), civil war, rebellion, revolution, insurrection, civil commotion assuming the proportions of or
          amounting to an uprising, military or usurped power; or

  (2)     any act of terrorism.
          For the purpose of this endorsement an act of terrorism means an act, including but not limited to
          the use of force or violence and/or the threat thereof, of any person or group(s) of persons, whether
          acting alone or on behalf of or in connection with any organisation(s) or government(s), committed
          for political, religious, ideological or similar purposes including the intention to influence any
          government and/or to put the public, or any section of the public, in fear.


  This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or indirectly
  caused by, resulting from or in connection with any action taken in controlling, preventing, suppressing or in
  any way relating to (1) and/or (2) above.


  If Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is not covered by
  this policy, the burden of proving the contrary shall be upon the Assured.

  In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder shall
  remain in full force and effect.

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                                                  TRIA Clause


  Coverage for acts of terrorism is already included in the policy (including any quotation for insurance) to
  which this notice applies. You should know that, under the policy, any losses caused by certified acts of
  terrorism would be partially reimbursed by the United States under a formula established by federal law.
  Under this formula, the United States pays 90% (85% in respect of losses occurring after 31 December
  2006) of covered terrorism losses exceeding the statutorily established deductible paid by the insurer
  providing the coverage. The portion of your annual premium that is attributable to coverage for certified acts
  of terrorism as defined in the Terrorism Risk insurance Act is: 1%



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                                            SANCTIONS CLAUSE




  No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any
  benefit hereunder to the extent that the provision of such cover, payment of such claim or provision of such
  benefit would expose the insurer, or its ultimate holding company, to any sanction, prohibition or restriction
  implemented pursuant to resolutions of the United Nations or the trade and economic sanctions, laws or
  regulations of the European Union, United Kingdom, or United States of America.



  All other terms and conditions remain unaltered




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                                          PREMIUM PAYMENT CLAUSE


  The (Re)lnsured undertakes that premium will be paid in full to Underwriters within 45 days of inception of
  this policy (or, in respect of instalment premiums, when due).

  If the premium due under this policy has not been so paid to Underwriters by the 45th day from the inception
  of this policy (and, in respect of instalment premiums, by the date they are due) Underwriters shall have the
  right to cancel this policy by notifying the (Re)lnsured via the broker in writing. In the event of cancellation,
  premium is due to Underwriters on a pro rata basis for the period that Underwriters are on risk but the full
  policy premium shall be payable to Underwriters in the event of a loss or occurrence prior to the date of
  termination which gives rise to a valid claim under this policy.

  It is agreed that Underwriters shall give not less than 10 days prior notice of cancellation to the (Re)lnsured
  via the broker. If premium due is paid in full to Underwriters before the notice period expires, notice of
  cancellation shall automatically be revoked. If not, the policy shall automatically terminate at the end of the
  notice period.

  Unless otherwise agreed, the Leading Underwriter (and Agreement Parts if appropriate) are authorised to
  exercise rights under this clause on their own behalf and on behalf of all Underwriters participating in this
  contract.

  If any provision of this clause is found by any court or administrative body of competent jurisdiction to be
  invalid or unenforceable, such invalidity or unenforceability will not affect the other provisions of this clause
  which will remain in full force and effect.

  Where the premium is to be paid through a London Market Bureau, payment to Underwriters will be deemed
  to occur on the day of delivery of a premium advice note to the Bureau.



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                                             INFORMATION



  2017 submjssion as recejved from Brown & Brown.
                                       th
  AmTrust Inc. Conference call dated 20 October 2017
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                                                   SECURITY DETAILS


  INSURER'S LIABILITY:

  (Re)insurer's liability several not joint
  The liability of a (re)insurer under this contract is several and not joint with other (re)insurers party to this
  contract. A (re)insurer is liable only for the proportion of liability it has underwritten. A (re)insurer is not jointly
  liable for the proportion of liability underwritten by any other (re)insurer. Nor is a (re)insurer otherwise
  responsible for any liability of any other (re)insurer that may underwrite this contract.

  The proportion of liability under this contract underwritten by a (re)insurer (or, in the case of a Lloyd's
  syndicate, the total of the proportions underwritten by all the members of the syndicate taken together) is
  shown next to its stamp. This is subject always to the provision concerning "signing" below.

  In the case of a Lloyd's syndicate, each member of the syndicate (rather than the syndicate itself) is a
  (re)insurer. Each member has underwritten a proportion of the total shown for the syndicate (that total itself
  being the total of the proportions underwritten by all the members of the syndicate taken together). The
  liability of each member of the syndicate is several and not joint with other members. A member is liable
  only for that member's proportion. A member is not jointly liable for any other member's proportion. Nor is
  any member otherwise responsible for any liability of any other (re)insurer that may underwrite this contract.
  The business address of each member is Lloyd's, One Lime Street, London EC3M ?HA. The identity of
  each member of a Lloyd's syndicate and their respective proportion may be obtained by writing to Market
  Services, Lloyd's, at the above address.


  Proportion of liability
  Unless there is "signing" (see below), the proportion of liability under this contract underwritten by each
  (re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions underwritten by all the
  members of the syndicate taken together) is shown next to its stamp and is referred to as its "written line".

  Where this contract permits, written lines, or certain written lines, may be adjusted ("signed"). In that case a
  schedule is to be appended to this contract to show the definitive proportion of liability under this contract
  underwritten by each (re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions
  underwritten by all the members of the syndicate taken together). A definitive proportion (or, in the case of a
  Lloyd's syndicate, the total of the proportions underwritten by all the members of a Lloyd's syndicate taken
  together) is referred to as a "signed line". The signed lines shown in the schedule will prevail over the written
  lines unless a proven error in calculation has occurred.

  Although reference is made at various points in this clause to "this contract" in the singular, where the
  circumstances so require this should be read as a reference to contracts in the plural.


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  21 June 2007




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  ORDER HEREON:            100%

  BASIS OF
  WRITTEN LINES:           Percentage of Whole

                           NMA 2419 Lines Clause, if applicable.

  SIGNING
  PROVISIONS:              In the event that the written lines hereon exceed 100% of the order, any lines
                           written "to stand" will be allocated in full and all other lines will be signed down
                           in equal proportions so that the aggregate signed lines are equal to 100% of
                           the order without further agreement of any of the (re)insurers.

                           However:

                           a) in the event that the placement of the order is not completed by the
                              commencement date of the period of insurance then all lines written by that
                              date will be signed in full;

                           b) the signed lines resulting from the application of the above provisions can
                              be varied, before or after the commencement date of the period of
                              insurance, by the documented agreement of the (re)insured, or the
                              (re)insured's representatives, and the Slip Leader. Such variation to be in
                              accordance with provision a) above with the resulting variation in signed
                              lines commencing from the date set out in that agreement.

                               Any other variation to the contracts will take effect only by the documented
                               agreement of the (re)insured, or the (re)insured's representatives, and all
                               (re)insurers whose lines are to be varied. Such variation to the contracts
                               will take effect only when all such (re)insurers have agreed with the
                               resulting variation in signed lines commencing from the date set out in that
                               agreement.

 LINE CONDITIONS:          None
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                                                  WRITTEN LINES

  In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the premium charged
  by the slip leader.

  (Re)insurers may not seek to guarantee for themselves terms as favourable as those which others
  subsequently achieve during the placement.


  Signed Line
  per cent(%)

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                                    Line to stand
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                    EXHIBIT H
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                                             MARKEL BERMUDA LIMITED

   PROFESSIONAL LIABILITY EXCESS LIABILITY INSURANCE POLICY DECLARATIONS

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS
POLICY ONLY APPLIES TO CLAIMS FIRST MADE DURING THE POLICY PERIOD. THE LIMIT
OF LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND
MAY BE EXHAUSTED BY THE PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT
PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY INSURED. PLEASE READ AND
REVIEW THE POLICY CAREFULLY.

ITEM 1: INSURED:                     Amtrust Financial Services, Inc.
        ADDRESS:                     59 Maiden Lane, 43rd Floor, New York, NY 10038 United States

ITEM 2: POLICY PERIOD:               November 29, 2018 to November 29, 2024 (12:01 a.m. prevailing time
                                                                            at the address stated in Item 1)


ITEM 3:    LIMIT OF LIABILITY: US$ 2,500,000 po US$ 5,000,000                            in the aggregate
                                                                                    (including Defense Costs)
               (Not subject to any reinstatement provision that may be provided under the Followed Policy)

          EXCESS OF TOTAL UNDERLYING LIMITS OF: US$ 15,000,000                                      in the aggregate
                                                                                              (including Defense Costs)

ITEM 4: FOLLOWED POLICY: Indian Harbor Insurance Company Policy No.: US00080794DO17A

ITEM 5: UNDERLYING INSURANCE

          SEE ENDORSEMENT NO. 1 FOR COMPLETE SCHEDULE

ITEM 6: PENDING OR PRIOR DATE:                 as per FOLLOWED POLICY

          To the extent the FOLLOWED POLICY contains an exclusion regarding pending or prior litigation, administrative,
          regulatory or other proceedings, investigations, demands, suits, orders, decrees or judgments, this Policy shall follow such
          exclusion. The applicable date for determining whether any such matter is “pending or prior” for the purpose of such
          exclusion in this policy shall be the PENDING OR PRIOR DATE set forth in this Item 6 of the Declarations.

ITEM 7: PREMIUM: $ 400,000




  Markel Bermuda Limited
  Markel House, 2 Front Street, Hamilton HM 11, Bermuda
  P.O. Box HM 2565, Hamilton HM KX, Bermuda 441 296 8800
  www.markelcorp.com
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ITEM 8: ADDRESS OF INSURER(S) FOR ALL NOTICES UNDER THIS POLICY:

          Markel Bermuda Limited
          2 Front Street
          P.O. Box 2565
          Hamilton HM KX Bermuda
          Telephone 441 296 8800
          Email: PLBermudaClaims@markelcorp.com


ITEM 9: A. DISCOVERY PERIOD PREMIUM:               as per FOLLOWED POLICY

          B. DISCOVERY PERIOD:                     as per FOLLOWED POLICY

ITEM 10: ENDORSEMENTS EFFECTIVE AT INCEPTION:
         1.  Schedule of Underlying Insurance
         2.  Prior Notice / Prior Claim Exclusion Endorsement
         3.  Tie in of Limits Endorsement
         4.  Run-off Endorsement


ITEM 11: POLICY NUMBER:           MKLB25GPL0000702


ITEM 12: PRIMARY POLICY SELF-INSURED RETENTION: $5,000,000




The INSURER hereby causes this policy to be signed on the Declarations page by a duly authorized representative of the
Insurer.


                                                                    ________________________________
                                                                    Chris Jansma, Senior Vice President



                                                                    January 16, 2019
                                                                    Date




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                                         MARKEL BERMUDA LIMITED FOLLOW FORM
                                           EXCESS LIABILITY INSURANCE POLICY

In consideration of the premium paid, and in reliance on all statements made and information furnished to Markel Bermuda Limited
herein called the "Insurer" and subject to the Declarations and endorsements made a part hereof and the terms, conditions and limitations
set forth herein, the Insurer and the Insured Entity, on its behalf and on behalf of all persons and entity(s) entitled to coverage hereunder,
agree as follows:

I.        INSURING CLAUSE

          The Insurer shall pay the Insured for loss upon exhaustion of all applicable underlying limits by actual payments by the
          insurers of the UNDERLYING INSURANCE, the Insured, any insurer of a difference-in-conditions policy that is excess of
          this policy, and/or any other source, subject to: the terms and conditions of the FOLLOWED POLICY (excluding any such
          terms and conditions that are inconsistent with the terms of this policy); the Limit of Liability as stated in Item 3 of the
          Declarations; and the terms and conditions of, and the endorsements attached to, this policy. In no event will this policy
          provide coverage broader than that provided by any UNDERLYING INSURANCE, or any policy issued by any participating
          quota share insurer, unless such broader coverage is specifically agreed to by the Insurer herein or in an endorsement to this
          policy.

II.       TERMS AND CONDITIONS

A.        NOTICE AND LOSS PROVISIONS

          1.      Any notice required to be given by the terms of the FOLLOWED POLICY shall be given to the Insurer at the address
                  indicated in Item 8 of the Declarations.
          2.      This policy shall follow the notice of claim and/or notice of circumstance provisions of the FOLLOWED POLICY,
                  except as stated otherwise herein.
          3.      With respect to the defense and settlement of any claim that appears to be reasonably likely to involve the Insurer, the
                  Insured shall give the Insurer such information, assistance and cooperation as the Insurer may reasonably request and
                  as shall be in the Insured’s power and shall do nothing that would prejudice the Insurer’s position or potential rights of
                  recovery.
          4.      Only those settlements, stipulated judgments and defense costs which have been consented to by the Insurer shall be
                  recoverable as loss under the terms of this policy. The Insurer’s consent shall not be unreasonably withheld, provided
                  the Insurer shall be entitled to effectively associate in the defense and the negotiation of any settlement of any claim.

B.        FOLLOWING FORM

          1.      This policy, except as herein stated, is subject to all terms, conditions, agreements and limitations of the FOLLOWED
                  POLICY in all respects as of the effective date of this policy. The Insured agrees that should any mid-term change to
                  the FOLLOWED POLICY be made by rewrite or endorsement, such change shall not be effective as to this policy
                  without the written consent of the Insurer, which consent shall not be unreasonably withheld. It is further agreed that
                  should the Insurer consent to any change of this policy, the premium hereon may be adjusted accordingly.
          2.      In the event of the depletion of the limits of liability of the UNDERLYING INSURANCE solely as a result of actual
                  payment of losses thereunder this policy shall, subject to the Limit of Liability set forth in Item 3 of the Declarations
                  and to the other terms of this policy, continue to apply for subsequent losses as excess insurance over the amount of
                  insurance remaining under such UNDERLYING INSURANCE. In the event of the exhaustion of all of the limits of
                  liability of such UNDERLYING INSURANCE the remaining limits available under this policy shall, subject to the
                  Limit of Liability set forth in Item 3 of the Declarations and to the other terms of this policy, continue for subsequent
                  losses as primary insurance and any retention specified in the FOLLOWED POLICY shall be imposed under this
                  policy. Payments made by insurers issuing such UNDERLYING INSURANCE in accordance with any State
                  Amendatory endorsement or sub-limit of liability shall be deemed to apply toward exhaustion of the limits of liability
                  of the UNDERLYING INSURANCE but this policy shall not follow such state amendatory endorsement or sub-limit
                  of liability.
          3.      This policy, subject to all its terms, conditions and endorsements, will not drop down to make payment for loss in place
                  of UNDERLYING INSURANCE for any reason.




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C.     CANCELLATION CLAUSE

                The Insured shall give notice to the Insurer when practicable of the cancellation of any UNDERLYING INSURANCE.
                In the event any UNDERLYING INSURANCE is cancelled by the insurer thereon, this policy shall continue in full
                force and effect for the remainder of the POLICY PERIOD and the Insurer shall be liable to the same extent that it
                would have been liable if such UNDERLYING INSURANCE had remained in effect.

             This policy shall follow the cancellation terms of the FOLLOWED POLICY except that in the event the Insurer cancels
             this policy for non-payment of premium, this policy shall be void as of the inception date of the POLICY PERIOD.

D.     PUNITIVE DAMAGES

                This policy shall cover punitive damages unless such damages are excluded under the terms and conditions of the
                FOLLOWED POLICY. Furthermore, if the FOLLOWED POLICY is determined not to cover punitive damages solely due
                to the insurability of such damages under applicable law, then this policy shall nonetheless provide coverage for punitive
                damages as if all UNDERLYING INSURANCE had provided such coverage. This policy will not drop down to provide
                coverage for punitive damages in place of UNDERLYING INSURANCE.
E.     ALTERNATIVE DISPUTE RESOLUTION

       1.   It is agreed that any dispute arising out of or in connection with this policy, including any question regarding its
               existence, validity or termination, shall be referred to and finally resolved solely by Arbitration or Alternative Dispute
               Resolution (ADR).
       2.   This policy shall follow the terms of the FOLLOWED POLICY with respect to Arbitration or ADR only when said terms
              require the dispute to proceed in Hamilton, Bermuda; London, England; or Toronto or Vancouver, Canada.
       3.   In the event the applicable FOLLOWED POLICY does not provide for Arbitration or ADR in Hamilton, Bermuda;
              London, England; or Toronto or Vancouver, Canada, the Insured shall select one of the following venues and
              procedural laws for such Arbitration or ADR:
                     (i)       Arbitration held in Hamilton, Bermuda under The Bermuda International Conciliation and Arbitration
                               Act of 1993 (exclusive of the Conciliation Part of such act) as may be amended and supplemented, or
                               under the English Arbitration Act of 1996 as may be amended and supplemented, which Acts are
                               deemed incorporated by reference into this clause, or
                     (ii)      Arbitration held in London, England under the English Arbitration Act of 1996, as may be amended and
                               supplemented, which Act is deemed incorporated by reference into this clause, or
                     (iii)     Arbitration held in Toronto or Vancouver, Canada under the English Arbitration Act of 1996, as may be
                               amended and supplemented, which Acts are deemed incorporated by reference into this clause.
       4.   Where the Insured and Insurer are parties to the dispute, the Insured shall make the selection referenced in paragraph 3
             above. Where the Insurer and a party deriving rights through or asserting rights on behalf of the Insured are parties to
             a dispute, the Insurer shall make the selection referenced in paragraph 3 above.
       5.       The number of arbitrators shall be three.
       6.        Each party shall bear the costs of its own arbitrator. The remaining cost of arbitration shall be borne equally by the
                parties.
       7.       All awards made by the Arbitration Board shall be final and no right of appeal shall lie from any award rendered by the
                Arbitration Board.
       8.       No person or organization shall have any right under this policy to join the Insurer as a party to any action against the
                Insured to determine the Insured's liability, nor shall the Insurer be impleaded by the Insured or their legal
                representatives. The Insurer and the Insured agree that in the event that claims for indemnity or contribution are
                asserted in any action or proceeding against the Insurer by any of the Insured's other insurers in a jurisdiction or forum
                other than that set forth in this clause, the Insured will in good faith take all reasonable steps requested by the Insurer to
                assist the Insurer in obtaining a dismissal of these claims (other than on the merits). The Insured will, without
                limitation, undertake to the court or other tribunal to reduce any judgment or award against such other insurers to the
                extent that the court or tribunal determines that the Insurer would have been liable to such insurers for indemnity or
                contribution pursuant to this policy. The Insured shall be entitled to assert claims against the Insurer for coverage under
                this policy, including, without limitation, for amounts by which the Insured reduced its judgment against such other




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                insurers in respect of such claims for indemnity or contribution, in an arbitration between the Insurer and the Insured
                pursuant to this clause; provided, however, that the Insurer in such arbitration in respect of such reduction of any
                judgment shall be entitled to raise any defenses under this policy and any other defenses (other than jurisdiction
                defenses) as it would have been entitled to raise in the action or proceeding with such insurers.

F.     CHOICE OF LAW

                This policy shall be construed and enforced in accordance with the applicable law determined under the FOLLOWED
                POLICY (with the exception of the procedural law required under this policy’s Alternative Dispute Resolution clause
                E.), except insofar as such laws may prohibit payment hereunder in respect of punitive damages, in which case, the
                laws of England and Wales shall apply.




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                                    SCHEDULE OF UNDERLYING INSURANCE


It is hereby understood and agreed that Item 5 of the Declarations reads as follows:

Item 5: Schedule of Underlying Insurance:

      Carrier                                         Policy Period                    Limits                Attachment

   i. Indian Harbor Insurance Company                November 29, 2018 –               $5M             as per ITEM 12 on Dec
                                                     November 29, 2024                                          page.
  ii. Zurich American Insurance Company              November 29, 2018 –               $5M                      $5M
                                                     November 29, 2024
  iii. Axis Insurance Company                        November 29, 2018 –               $5M                     $10M
                                                     November 29, 2024
                                                  Quota Share Participant(s)

  iv. Allianz Global Risk US Insurance Company        November 29, 2018 –         $2.5M po $5M                  $15
                                                      November 29, 2024



All other terms and conditions of the policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000702
of MARKEL BERMUDA LIMITED.

Issued to:         Amtrust Financial Services, Inc.

Date of Issue:     January 16, 2019

End No.:           1




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                        PRIOR NOTICE / PRIOR CLAIM EXCLUSION ENDORSEMENT




It is hereby agreed that Sections III.B(1) and B(2) of the FOLLOWED POLICY are deleted and replaced by the following:

B.       No coverage shall be available under this policy for any Claim, Interview or Investigation Demand made against
         an Insured:

                  (1)     based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Inception Date of this policy as set
                          forth in ITEM 2 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this policy as set forth in ITEM 2 of the Declarations, was the
                          subject of any notice given under any other Management Liability policy, Directors and
                          Officers liability policy or similar policy;



All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000702
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 16, 2019

End No.:         2




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                                          TIE IN OF LIMITS ENDORSEMENT


It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this policy has
been negotiated with the understanding that this policy and the policy # 17CKP170ADAA issued to the Insured by Hiscox
– Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of the premium charged,
it is understood and agreed that;

    a)    Subject to the terms and conditions of the coverage provided by the Other Policy and this policy, in the event that
          loss or damages is required to be paid under both this policy and the Other Policy, the coverage provided under
          this policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment of
                    any loss or damages under this policy; and
              ii.   any payment of loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all loss or damages on account of all claims for this policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall limit of
                    liability.

    b) The Insurer will have no obligation under this policy to make any payment of loss or damages to the extent that
       the Other Policy’s aggregate limit of liability is fully exhausted.

    c)    If the paid loss or damages under this policy are in an aggregate amount equaling $2,500,000, any and all
          obligations of the Insurer under this policy will be completely fulfilled and extinguished, and the Insurer will have
          no further obligations of any kind or nature whatsoever under this policy.

    d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay loss or
       damages under this policy in excess of $2,500,000 which is the limit of liability set forth under Item 3 of the
       Declarations of this policy.

    e)    In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this policy, the term, condition or limitation of this endorsement shall govern.


All other terms and conditions remain unchanged

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No.: MKLB25GPL0000702
of MARKEL BERMUDA LIMITED.

Issued to:          Amtrust Financial Services, Inc.

Date of Issue:      January 31, 2019

End No.             3




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                                               RUN-OFF ENDORSEMENT


In consideration of the payment of the additional premium of $400,000, it is hereby understood and agreed that:

    1.        The Insurer shall not be liable for loss on account of any claim based upon, arising out of, or attributable to or
              directly or indirectly resulting from any wrongful act, including any interrelated wrongful acts, taking place
              in whole or in part subsequent to November 29, 2018.

    2.        The policy is amended at by deleting Section II TERMS AND CONDITIONS C. CANCELLATION
              CLAUSE in its entirety.


    3.       The premium shall be fully earned and non-refundable upon inception.




Nothing herein shall be held to vary, alter, waive or extend any of the terms, conditions, exclusions or limitations of this
policy, except as expressly stated herein. This endorsement is part of such policy and incorporated herein.


All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000702
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 16, 2019

End No.:          4




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                      EXHIBIT I
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                                                Allianz Global Corporate & Specialty®




                                                Allianz
                                                Insurance
                                                Policy




                                                                 Allianz ®
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                                                DECLARATIONS
                                               EXCESS PROTECT
                                       EXCESS LIABILITY INSURANCE
NOTICE: THIS POLICY, SUBJECT TO ITS TERMS, APPLIES TO ANY CLAIM FIRST MADE AGAINST THE
INSUREDS DURING THE POLICY PERIOD AND THE DISCOVERY PERIOD, IF APPLICABLE. THE LIMIT OF
LIABILITY AVAILABLE TO PAY LOSS SHALL BE REDUCED AND MAY BE EXHAUSTED BY AMOUNTS
INCURRED AS DEFENSE COSTS. SEE CONSUMER INFORMATION NOTICE BELOW FOR FURTHER
DETAILS. THIS POLICY DOES NOT PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY OF
THE INSUREDS.
PLEASE READ THIS POLICY CAREFULLY

The Declarations along with the Policy and with endorsements attached, if any, shall constitute the contract
between the Insureds and the Insurer.

Policy Number:        USF00237518

Item 1.    Policyholder:         AmTrust Financial Services, Inc.
           Principal Address:    59 Maiden Ln
                                 New York, NY 10038-4502


Item 2.    Policy Period:         From:      November 29, 2018
                                  To:        November 29, 2024
                            The Policy Period incepts and expires as of 12:01 AM at the Policyholder’s
                            principal address.

Item 3.    Limit of Liability:   $2,500,000            In the aggregate for the Policy Period

Item 4.    Premium:              $400,000              For the Policy Period

Item 5.    Followed Policy: See Below
           Insurer:            Indian Harbor Insurance Company         Policy No.:       US00080794DO17A
           Limit of Liability: $5,000,000
           Retention:          $5,000,000
           Policy Period:      From:    October 21, 2017               To:       November 29, 2024




NOTICE: THESE     POLICY FORMS AND THE APPLICABLE RATES
ARE EXEMPT FROM THE FILING REQUIRMENTS OF THE NEW YORK
STATE INSURANCE DEPARTMENT. HOWEVER, SUCH FORMS AND
RATES MUST MEET THE MINIMUM STANDARDS OF NEW YORK LAWS
AND REGULATIONS.
New York Free Trade Zone (Risk- Code): 2-13000




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Item 6.    Underlying            See Below
           Insurance:
            st
           1 Excess Policy
           Insurer:              Zurich American Insurance Company       Policy No.:        DOC 4565460-00
           Limit of Liability:   $5,000,000
           Excess of Limit of    $5,000,000
           Liability:
           Policy Period:        From:     November 29, 2018             To:        November 29, 2024

            nd
           2 Excess Policy
           Insurer:              Axis Insurance Company                  Policy No.:      MNN626501/01/2017
           Limit of Liability:   $5,000,000
           Excess of Limit of    $10,000,000
           Liability:
           Policy Period:        From:     November 29, 2018             To:    November 29, 2024


Item 7.    Insurer:    (Coverage is provided in the following company, a stock company)

                       Allianz Global Risks US Insurance Company
                       225 West Washington Street, Suite 1800
                       Chicago, IL 60606-3484
                       Phone Number: 1-888-466-7883

           Notification to the Insurer of a Claim or circumstance pursuant to Section 2.5 of this Policy
           shall be given to:
                       Allianz Global Risks US Insurance Company
                       Attention: Claims Department
                                                                nd
                                  One Progress Point Parkway, 2 Floor
                                  O’Fallon, MO 63368
                       Email: NewLoss@agcs.allianz.com
                       Phone Number: 1-800-558-1606
                       Fax Number: 1-888-323-6450

Item 8.    Currency:                 USD

Item 9.    Endorsements attached at issuance: See Schedule of Forms and Endorsements, DO1200-MU

Marsh USA, Inc.
1166 Avenue of the Americas
New York, NY 10011




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                                            New York Addendum

               CONSUMER INFORMATION NOTICE - PLEASE READ CAREFULLY

                                            Claims Made Coverage
                                            [11 NYCRR 73 (Reg. 121)]
This policy is written on a claims-made basis and provides no coverage for claims which took place prior to the
retroactive or prior acts date stated in the policy, if any.
This Policy covers only claims actually made against the insured while the policy remains in effect, and all
coverage under the policy ceases upon the termination of the policy. Claims may, however, be reported to the
company during an automatic sixty (60) day Discovery Period, or any additional Discovery Period purchased by
the Policyholder.

Any coverage for the Discovery Period under this Policy applies only to the extent such is provided by the
Underlying Insurance.
During the first several years of the claims made relationship, claims made rates are comparatively lower than
occurrence rates. Be advised that substantial annual premium increases, independent of overall rate level
increases, should be expected if the policyholder is written at a less than mature rate. This disparity lessens the
longer the claims made relationship exists.
There is a potential for coverage gaps that may arise upon expiration of any Discovery Period.
Coverage under this policy may apply for acts, errors, or omissions which occurred prior to the effective date of
this Policy if a Claim for Loss or Damages resulting therefrom is first reported during the Policy Period or during
any applicable Discovery Period; provided, however that on or before such date the Insured did not know or could
not have reasonably foreseen that such Wrongful Act could lead to a Claim. IF THIS POLICY CONTAINS A
PRIOR ACTS EXCLUSION, THERE IS NO COVERAGE FOR CLAIMS FIRST REPORTED TO THE INSURER
ARISING OUT OF ACTS, ERRORS OR OMISSIONS THAT OCCURRED PRIOR TO THE INCEPTION DATE OF
THIS POLICY.


                                        Defense Costs: Limit of Liability
                                           [11 NYCRR 71 (Reg. 107)]
Defense Costs are part of, and not in addition to, the Limit of Liability and may be exhausted by amounts
incurred as legal defense costs. The Insurer will not be liable for further legal defense costs or for the amount of
any judgment or settlement after exhaustion of the Limit of Liability.
The Policyholder, on behalf of all Insureds has a right to an accounting, upon request, of legal defense costs
actually expended.




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Schedule of Forms and Endorsements

             Policy Number                           Effective Date                     Producer
             USF00237518                           November 29, 2018                Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

Form Name                                                              Form Number

Excess Protect Excess Liability Insurance Policy                       PX4100FL (08/15)

Notice of Terrorism Insurance Coverage                                 PHN7157-MU (03/17)

New York Amendatory Endorsement                                        PX3110NY (03/16)

Conformance with State Statutes Endorsement(Full Conformance)          DOXMAN(1209)-MU (8/15)

Sanctions Clause                                                       PX3108 (08/15)

Cap on Losses from Certified Acts of Terrorism                         145989 (03/17)

Excess Protect Amendatory Endorsement                                  DOXMAN(1257)-MU (08/15)

Pending and Prior Litigation Exclusion                                 PX3101 (08/15)

Claims Handling Clause Amended Endorsement                             DOXMAN(1257)-MU (08/15)

Quota Share Participation                                              PX3106 (08/15)

Run Off Coverage                                                       PX3107 (08/15)




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                                            EXCESS PROTECT
                                   EXCESS LIABILITY INSURANCE POLICY

THIS IS A FOLLOW FORM, CLAIMS MADE, INSURANCE POLICY THAT MUST BE READ IN CONJUNCTION
WITH ALL UNDERLYING INSURANCE POLICIES TO BE UNDERSTOOD.
In consideration of payment of the premium and in reliance upon all statements made and information furnished
to the insurance company shown in the Declarations (the “Insurer”), including the statements made in the
Application and subject to all terms, conditions and limitations of this Policy, the Insurer, the Policyholder and
the Insureds agree as follows:
1.      Insuring Agreement
This Policy provides the Insureds with insurance excess of the Underlying Insurance for Claims first made
against the Insured during the Policy Period or Discovery Period, if applicable, and reported to the Insurer
pursuant to the provisions of this Policy. Except as specifically set forth in this Policy or in any written
endorsement attached to this Policy, the coverage afforded by this Policy applies in conformance with: (1) the
terms, conditions, warranties, exclusions and limitations of the Followed Policy as they existed on the inception
date of this Policy; and (2) any narrower or more restrictive terms of the other Underlying Insurance, to the
extent the coverage of the Followed Policy is limited or restricted by the terms of such other Underlying
Insurance. This Policy shall not provide coverage broader than that provided by the Followed Policy unless the
Insurer specifically agrees to grant such broader coverage herein or by written endorsement attached to this
Policy.
2.      General Conditions
The conditions set forth in this Section 2. General Conditions are in addition to those set forth in the Followed
Policy, and are specific to the coverage provided by this Policy.
2.1   Coverage under this Policy shall attach only after exhaustion of the limits of liability of the Underlying
      Insurance. The limits of liability of the Underlying Insurance shall be exhausted by payment, in legal
      currency, of Loss by the insurers of the Underlying Insurance, the Insureds or any DIC Insurer (if such
      DIC Insurer is sitting excess of this Policy). The Insurer shall recognize any contribution in legal currency
      by or on behalf of an Insured to such exhaustion of the limits of liability of the Underlying Insurance.
2.2   The Limit of Liability as stated in Item 3 of the Declarations shall be the maximum amount payable under
      this Policy for all covered Loss, including without limitation, defense costs.
2.3   If the limits of liability of the Underlying Insurance are reduced solely due to actual payment in legal
      currency of the Underlying Insurance, this Policy shall continue in force as excess insurance above the
      remaining amount of the limits of liability of the Underlying Insurance. If the limits of liability of the
      Underlying Insurance are exhausted as described in Section 2.1, this Policy shall continue in force as
      primary insurance, subject to any applicable retention.
2.4   This Policy shall pay only in the event of reduction or the exhaustion of limit of the Underlying Insurance
      as described above and shall not drop down for any reason including, but not limited to, the uncollectibility
      in whole or in part of the Underlying Insurance or any insurance provided by a DIC Insurer. This Policy
      does not provide excess insurance above any sub-limit of liability available under any Underlying
      Insurance; however, the Insurer shall recognize the payment of such sub-limit of liability as erosion or
      reduction of the limits of liability of the Underlying Insurance.
2.5   Where any Underlying Insurance permits or requires notice to its insurer, including notice of a Claim, then
      as a condition precedent to the obligations of the Insurer under this Policy, the Insureds shall,
      contemporaneously with and according to the terms of the Followed Policy, give the same written notice to
      the Insurer at the applicable address set forth in Item 7 of the Declarations.
2.6   The Insurer may elect to, but is not obligated to, effectively associate in the investigation, settlement,
      defense or appeal of any Claim or matter that the Insurer believes, in its sole opinion, is reasonably likely
      to involve or to be covered under this Policy.
2.7   Any change in or modification to the Underlying Insurance or this Policy or assignment of interest under
      this Policy must be agreed upon in writing by the Insurer, and in no event shall any such change,
      modification or assignment affect this Policy’s excess position or attachment point.

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2.8   All Underlying Insurance shall be maintained in full force and effect. Failure to maintain any Underlying
      Insurance shall: (1) result in the Insureds becoming self-insured for the limit of liability of any such
      Underlying Insurance; and (2) not relieve the Insurer of any obligations under this Policy.
2.9   This Policy shall terminate immediately upon the effective date of the termination for any reason of the
      Followed Policy, (except by reason of the complete exhaustion of the Followed Policy as set forth above)
      whether by the Insureds or by the insurer of such policy.
3.      Definitions
3.1   Any term used in this Policy, including Application, Claim, Loss and Insured(s) that is defined in the
      Followed Policy shall have the same meaning as assigned to such term in the Followed Policy.
3.2   DIC Insurer means any insurer of an insurance policy written specifically excess of this Policy that is
      contractually obligated to drop down and pay covered Loss that is not paid by any Underlying Insurance.
      This Policy does not follow form to the provisions of the policy of such DIC Insurer.
3.3   Discovery Period means the Discovery Period or Extended Reporting Period as described in the
      Underlying Insurance. In no event shall this Policy provide a Discovery Period unless, and then only to
      the extent, it is provided by the Underlying Insurance.
3.4   Followed Policy means the insurance policy stated as such in Item 5 of the Declarations.
3.5   Insurer means the entity stated in Item 7 of the Declarations.
3.6   Policyholder means the entity stated in Item 1 of the Declarations.
3.7   Policy Period means the period stated as such in Item 2 of the Declarations.
3.8   Underlying Insurance means the Followed Policy and any other insurance policies stated as such in Item
      6 of the Declarations.




IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and Secretary.




               Secretary                                         President




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                           IMPORTANT DISCLOSURE
                  NOTICE OF TERRORISM INSURANCE COVERAGE
   ________________________________________________________________________________

   This notice applies to all type(s) of insurance provided under this policy that are subject to
   the Terrorism Risk Insurance Act ("The Act"), as amended. This policy makes available and
   provides at a premium of $0 insurance coverage for losses resulting from acts of terrorism. As
   defined in Section 102(1) of the Act: The term “act of terrorism” means any act or acts that are
   certified by the Secretary of the Treasury—in consultation with the Secretary of Homeland
   Security, and the Attorney General of the United States—to be an act of terrorism; to be a
   violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted
   in damage within the United States, or outside the United States in the case of certain air
   carriers or vessels or the premises of a United States mission; and to have been committed by
   an individual or individuals as part of an effort to coerce the civilian population of the United
   States or to influence the policy or affect the conduct of the United States Government by
   coercion.


   YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR
   LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE
   PARTIALLY REIMBURSED BY THE UNITED STATES GOVERNMENT UNDER A FORMULA
   ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN OTHER
   EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR
   NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT
   GENERALLY REIMBURSES 85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016;
   83% BEGINNING ON JANUARY 1, 2017; 82% BEGINNING ON JANUARY 1, 2018; 81%
   BEGINNING ON JANUARY 1, 2019 and 80% BEGINNING ON JANUARY 1, 2020, OF
   COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED
   DEDUCTIBLE PAID BY THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE
   PREMIUM CHARGED FOR THIS COVERAGE IS $0 AND DOES NOT INCLUDE ANY
   CHARGES FOR THE PORTION OF LOSS THAT MAY BE COVERED BY THE FEDERAL
   GOVERNMENT UNDER THE ACT.


   YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS
   AMENDED, CONTAINS A $100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
   REIMBURSEMENT AS WELL AS INSURERS’ LIABILITY FOR LOSSES RESULTING FROM
   CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE
   CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR
   ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE MAY BE REDUCED.




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 Endorsement Number 1




 New York Amendatory

               Policy Number                             Effective Date                                Producer
               USF00237518                             November 29, 2018                           Marsh USA, Inc.

 Policyholder: AmTrust Financial Services, Inc.

 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 This endorsement modifies insurance provided under the following:

 Excess Protect

 It is agreed that:
                               st
I.     The header on the 1 page of the policy form is hereby deleted in its entirety and replaced with the following:
       THIS IS A CLAIMS MADE POLICY WITH DEFENSE COSTS INCLUDED IN THE LIMIT OF LIABILITY. PLEASE
       READ THE ENTIRE POLICY CAREFULLY.
II.    The following Subsections are added to the General Conditions:
       A.     Discovery Period Upon Termination of Coverage
              1.      Upon any Termination of Coverage for reasons other than nonpayment of premium or fraud within the
                      first year of claims-made coverage with the Insurer, the Policyholder shall have the right to a
                      Discovery Period. The Insurer will advise the Policyholder in writing of the Automatic Discovery
                      Period and the availability of, the premium for, and the importance of purchasing, the Optional
                      Discovery Period. This notice will be sent no earlier than the date of notification of Termination of
                      Coverage, and no later than thirty (30) days after the effective date of the Termination of Coverage.
              2.      The Policyholder shall have the right to a period of sixty (60) days following Termination of Coverage
                      (hereinafter the Automatic Discovery Period), in which to give notice to the Insurer of Claims first
                      made against any Insured during said sixty (60) day period, for any Wrongful Act committed on or
                      after the retroactive date and prior to the effective date of Termination of Coverage, and otherwise
                      covered by this Policy.
              3.      The Policyholder shall have the option to purchase, upon payment of an additional premium equal to
                      100% of the total annual premium, an Optional Discovery Period (hereinafter Optional Discovery
                      Period). The Optional Discovery Period shall cover Claims first made against any Insured during the
                      period of twelve (12) months for Wrongful Acts committed on or after the retroactive date and prior to
                      the effective date of Termination of Coverage, and otherwise covered by this Policy. The
                      Policyholder shall have the option to purchase, upon payment of an additional premium equal to 100%
                      of the total annual premium, an Optional Discovery Period (hereinafter Optional Discovery Period).
                      The Optional Discovery Period shall cover Claims first made against any Insured during the period of
                      twelve (12) months for Wrongful Acts committed on or after the retroactive date and prior to the
                      effective date of Termination of Coverage, and otherwise covered by this Policy.
              4.      Where premium is due to the Insurer for coverage under this Policy, any monies received by the
                      Insurer from the Policyholder as payment for the Optional Discovery Period shall first be applied to
                      such premium owing for the Policy. All premiums paid with respect to the Optional Discovery Period
                      shall be deemed fully earned as of the first day of the Optional Discovery Period.
              5.      The additional premium for the Optional Discovery Period shall be based upon the rates in effect at
                      the beginning of the Policy Period. The Policyholder may purchase for an additional premium an
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                   additional Optional Discovery Period of one, two, or three years following the termination of this Policy.
                   The applicable required additional premium is set forth in (a)-(c) of the SCHEDULE below.
            6.     The Policyholder must notify the Insurer in writing of its intent to purchase an Optional Discovery
                   Period and must pay the additional premium. The Policyholder shall have the greater of the following
                   in which to submit such notice to the Insurer:
                   a.     sixty (60) days after the effective date of Termination of Coverage; or
                   b.     thirty (30) days after the date that the Insurer mails notice advising the Policyholder of the
                          availability of the Optional Discovery Period.
                   If the Policyholder elects to purchase the Optional Discovery Period, the Optional Discovery Period
                   coverage will not take effect until the premium owed for the Policy is paid in full, and the premium owed
                   for the Optional Discovery Period coverage is paid in full and promptly when due.
            7.     The aggregate Limit of Liability for the Optional Discovery Period shall be at least equal to the
                   amount of coverage remaining in the Policy’s aggregate Limit of Liability.
            8.     During a claims-made relationship and any Optional Discovery Period, a person employed or
                   otherwise affiliated with the Policyholder and covered by the Policyholder’s claims-made policy
                   during such affiliation, shall continue to be covered under such policy and any Optional Discovery
                   Period after such affiliation has ceased for such person's covered acts or omissions during such
                   affiliation.
                   A claims-made policy issued to a corporation, partnership or other entity shall provide Optional
                   Discovery Period coverage upon Termination of Coverage to any person covered under the policy,
                   if:
                   a.     such entity has been placed in liquidation or bankruptcy or permanently ceases operations;
                   b.     the entity or its designated trustee does not purchase Optional Discovery Period coverage; and
                   c.     such person requests the Optional Discovery Period coverage within 120 days of the
                          Termination of Coverage.
                   The Insurer shall have no obligation to provide any notice to any such person of the availability of the
                   Optional Discovery Period coverage. The Insurer may charge the person for whom Optional
                   Discovery Period coverage is provided a premium commensurate with such coverage.
            9.     The additional premium for the Optional Discovery Period shall be based upon the rates in effect at
                   the beginning of the Policy Period. The Policyholder may purchase for an additional premium an
                   additional Optional Discovery Period of one, two, or three years following the termination of this Policy.
                   The premium for the additional Optional Discovery Period will be as follows:
                                                                  SCHEDULE
                    (a)                 12 Months:            125%                    of the Policy Premium
                    (b)                 24 Months:            175%                    of the Policy Premium
                    (c)                 36 Months:            200%                    of the Policy Premium
            10.    Where premium is due to the Insurer for coverage under this Policy, any monies received by the
                   Insurer from the Policyholder as payment for the Optional Discovery Period shall first be applied to
                   such premium owing for the Policy. All premiums paid with respect to the Optional Discovery Period
                   shall be deemed fully earned as of the first day of the Optional Discovery Period.
      B.    Cancellation/Non-Renewal or Conditional Renewal
            1.     Cancellation
                   a.     This Policy may be cancelled by the Policyholder by surrender thereof to the Insurer or by
                          providing written notice to the Insurer stating when thereafter cancellation shall be effective. If
                          this Policy is cancelled by the Policyholder, the Insurer shall retain the customary short rate
                          proportion of the premium.
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                   b.    If this Policy has been in effect for sixty (60) days or less, and is not a renewal of a policy
                         previously issued by the Insurer, this Policy may be cancelled by or on behalf of the Insurer by
                         mailing or delivering to the Policyholder’s authorized agent or broker and to the Policyholder at
                         the address shown in Item 1. of the Declarations written notice of cancellation stating the reason
                         for cancellation at least twenty (20) days before the effective date of cancellation. If cancellation
                         is for nonpayment of premium, the notice of cancellation shall include the amount of premium that
                         is due.
                         After this Policy has been in effect for more than sixty (60) days or after the effective date of
                         renewal, this Policy may only be cancelled by or on behalf of the Insurer for one of the following
                         reasons:
                         (1)   nonpayment of premium;
                         (2)   conviction of a crime arising out of acts increasing the hazard insured against;
                         (3)   discovery of fraud or material misrepresentation in obtaining the Policy or in the
                               presentation of a Claim thereunder;
                         (4)   after issuance of this Policy or after the last renewal date, discovery of an act or omission,
                               or a violation of any Policy condition, that substantially and materially increases the hazard
                               insured against, and which occurred subsequent to inception of the current Policy Period;
                         (5)   a determination by the Superintendent that the Insurer’s continuation of the present
                               premium volume would jeopardize the Insurer’s solvency or be hazardous to the interests
                               of the Insurer’s policyholders, the Insurer’s creditors or the public; or
                         (6)   a determination by the Superintendent that the continuation of the Policy would violate, or
                               would place the Insurer in violation of New York law.
                         Cancellation shall be effected by mailing or delivering to the Policyholder’s authorized agent or
                         broker and to the Policyholder at the address shown in Item 1. of the Declarations written notice
                         of cancellation specifying the grounds for cancellation at least fifteen (15) days before the
                         effective date of cancellation. If cancellation is for nonpayment of premium, the notice of
                         cancellation shall include the amount of premium that is due. If the Insurer cancels this policy,
                         the earned premium shall be computed pro rata.
            2.     Nonrenewal or Conditional Renewal
                   Should the Insurer decide to nonrenew this Policy or conditions its renewal upon a change in the Limit
                   of Liability, change in type of coverage, reduction of coverage, increased retention, the addition of any
                   exclusion or an increase in premium in excess of 10%, then the Insurer shall mail or deliver written
                   notice of the refusal to renew or the conditional renewal to the Policyholder at the principal address
                   shown in Item 1. of the Declarations and to the Policyholders authorized agent or broker, if applicable,
                   at least sixty (60) days but not more than one hundred and twenty (120) days before the end of the
                   Policy Period. Such notice shall contain the specific reasons for the nonrenewal or the conditional
                   renewal and shall set forth the amount or a reasonable estimate of any premium increase and describe
                   any additional proposed changes.
                   If the Insurer does not provide notice of nonrenewal or conditional renewal as provided in this section,
                   coverage will remain in effect at the same terms and conditions of this Policy at the lower of the current
                   rates or the prior period’s rates until sixty (60) days after such notice is mailed or delivered unless the
                   Policyholder, during this 60-day period, has replaced the coverage or elects to cancel in which event
                   such cancellation shall be on a pro rata premium basis; provided, however, that if the Insurer elects to
                   renew on the basis of the conditional renewal notice, then such terms, conditions and rates shall govern
                   the Policy upon expiration of such sixty (60) day period unless such notice was provided at least thirty
                   (30) days prior to the expiration date of the Policy, in which event the terms, conditions and rates set
                   forth in the conditional renewal notice shall apply as of the renewal date.
                   If the Insurer provides notice of nonrenewal or conditional renewal on or after the expiration date of this
                   Policy, coverage will remain in effect at the same terms and conditions of this Policy for another Policy
                   Period, at the lower of the current rates or the prior Policy Period’s rates, unless the Policyholder,
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                     during the additional Policy Period, has replaced the coverage or elects to cancel, in which event such
                     cancellation shall be on a pro rata premium basis.
                     The Insurer will not send the Policyholder notice of nonrenewal or conditional renewal if the
                     Policyholder, the Policyholder’s authorized agent or another insurer of the Policyholder mails or
                     delivers notice that the Policy has been replaced or is no longer desired.
                     If the Policyholder elects to accept the terms, conditions and rates of the conditional renewal notice
                     pursuant to the cancellation provisions, a new limit of insurance shall become effective as of the
                     inception date of renewal, subject to regulations promulgated by the Superintendent of Insurance.
III.    The following Subsections in General Conditions are amended:
        A.    The following is added to Subsection 2.2:
              Transfer of Duties When a Limit of Liability is Exhausted
              1.     If the Insurer concludes that, based on incidents, occurrences, offenses, Claims or suits which have
                     been reported to the Insurer and to which this insurance may apply, that any limit (each Claim, each
                     incident, each occurrence, aggregate, or other) under the Policy is likely to be exhausted in the
                     payment of judgments, settlements or Defense Costs, the Insurer will notify the Policyholder and
                     Insureds, in writing, to that effect.
              2.     When a Limit of Liability described above has actually been exhausted in the payment of judgments,
                     settlements or Defense Costs:
                     a.    If the Insurer concludes that, based on incidents, occurrences, offenses, claims or suits which
                           have been reported to the Insurer and to which this insurance may apply, that any limit (each
                           claim, each incident, each occurrence, aggregate, or other) under the policy is likely to be
                           exhausted in the payment of judgments or settlements and/or
                     b.    The Insurer will notify the Policyholder and Insureds, in writing, as soon as practicable, that:
                           (1)   such a limit has actually been exhausted; and
                           (2)   the Insurer’s duty to defend suits seeking damages subject to that limit has ended.
                     c.    The Insurer will initiate, and cooperate in, the transfer of control, to any appropriate Insured, of
                           all Claims seeking damages which are subject to that limit and which are reported to the Insurer
                           before that limit is exhausted. That Insured must cooperate in the transfer of control of said
                           Claims.
                           The Insurer agrees to take such steps, as the Insurer deems appropriate, to avoid a default in,
                           or continue the defense of, such Claims until such transfer is completed, provided the
                           appropriate Insured is cooperating in completing such transfer. The Insurer has no obligation to
                           take any action whatsoever with respect to any Claim seeking damages that would have been
                           subject to that limit, had it not been exhausted, if the Claim is reported to the Insurer after that
                           Limit of Liability has exhausted.
                     d.    The Insured involved in a Claim seeking damages subject to that limit, must arrange for the
                           defense of such Claim within such time period as agreed to between the appropriate Insured
                           and the Insurer. Absent any such agreement, arrangements for the defense of such Claim must
                           be made as soon as practicable.
                     e.    The Insured will reimburse the Insurer for expenses the Insurer incurs in taking those steps the
                           Insurer deems appropriate in accordance with paragraph 2.b. above.
                     f.    The duty of the Insured to reimburse the Insurer will begin on:
                           (1)   the date on which the applicable Limit of Liability is exhausted, if the Insurer sent notice in
                                 accordance with paragraph 1 above; or
                           (2)   the date on which the Insurer sent notice in accordance with paragraph 2.a. above, if the
                                 Insurer did not send notice in accordance with paragraph 1 above.

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                          (3)   The exhaustion of any Limit of Liability by the payments of judgments, settlements or
                                Defense Costs, and the resulting end of the Insurer’s duty to defend, will not be affected
                                by the Insurer’s failure to comply with any of the provisions of this condition.
       B.     The following is added to Subsection 2.5:
             Failure to Provide Timely Notice of Claim – Prejudice Requirement
             Notice of any Claim or potential Claim given by or on behalf of the Insured to any licensed agent of the
             Insurer’s in the state of New York, with particulars sufficient to identify the Insured, shall be deemed notice
             to the Insurer. Failure to give notice to the Insurer as required under this policy shall not invalidate any
             Claim made by the Insured injured person or any other claimant, unless the failure to provide such timely
             notice has prejudiced the Insurer. However, no Claim made by the Insured, injured person or other claimant
             will be invalidated if it shall be shown not to have been reasonably possible to give such timely notice and that
             notice was given as soon as was reasonably possible thereafter.
             If the Insurer disclaims liability or denies coverage based upon the failure to provide timely notice with
             respect to a Claim arising out of death or personal injury of any person, then the injured person or other
             claimant may maintain an action directly against the Insurer, in which the sole question is the Insurer’s
             disclaimer or denial based on the failure to provide timely notice, unless within sixty (60) days following such
             disclaimer or denial, the Insurer or the Insured initiate an action to declare the rights of the parties under this
             Policy and named the injured person or other claimant as a party to the action.
       C.     The following is added to Subsection 2.6:
              This Policy affords coverage for Defense Costs even if allegations are groundless false or fraudulent, subject
              to terms, conditions and limitations of this Policy and any applicable Underlying Insurance.
IV.    The Definitions Section is amended as to add the following:
       Termination of Coverage means:
       A.     any cancellation or nonrenewal of the Policy, whether by the Insurer or Policyholder; or
       B.     decrease in limits, reduction of coverage, increased deductible, new exclusion, or any other change in
              coverage less favorable to the Policyholder.


 ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 2




Conformance with State Statutes Endorsement
(Full Conformance)

              Policy Number                             Effective Date                                 Producer
              USF00237518                            November 29, 2018                             Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that:
In the event of any inconsistency between the state amendatory attached to this Policy and any term or condition of
this Policy, the Insurer will resolve the inconsistency by applying the provision that is more favorable to the Insured, to
the extent permitted by applicable law.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 3




Sanctions Clause

                 Policy Number                     Effective Date                            Producer
                 USF00237518                     November 29, 2018                       Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following General Condition is added:
Where coverage provided by this Policy would be in violation of any foreign or U.S. economic or trade sanctions such
as, but not limited to, those sanctions administered and enforced by the U.S. Treasury Department's Office of Foreign
Assets Control ("OFAC"), such coverage shall be null and void.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 4


Cap on Losses from Certified Acts of Terrorism

                      Policy Number                                                Effective Date
                      USF00237518                                                November 29, 2018

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following provisions are added:

If aggregate insured losses attributable to terrorist acts certified under the federal Terrorism Risk Insurance Act
exceed $100 billion in a calendar year and the Insurer (the company providing coverage under this Policy) has
met its Insurer deductible under the Terrorism Risk Insurance Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that
amount are subject to pro rata allocation in accordance with procedures established by the Secretary of the
Treasury.
Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act, as
amended. The criteria contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the
following:
1.    The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
      insurance subject to the Terrorism Risk Insurance Act; and
2.    The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
      by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
      influence the policy or affect the conduct of the United States Government by coercion.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 5




Excess Protect Amendatory Endorsement


                          Policy Number                                                     Effective Date
                          USF00237518                                                     November 29, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that:
(A)    The Preamble to the Policy is deleted in its entirety and replaced with the following:
       In consideration of payment of the premium and in reliance upon all written statements made in the Application
       and subject to all terms, conditions and limitations of this Policy, the Insurer, the Policyholder and the Insureds
       agree as follows:
(B)    The Insuring Agreement is deleted in its entirety and replaced with the following:
       This Policy provides the Insureds with insurance excess of the Underlying Insurance for Claims first made
       against the Insured during the Policy Period or Discovery Period, if applicable, and reported to the Insurer
       pursuant to the provisions of this Policy. The coverage afforded by this Policy applies in conformance with the
       terms, conditions, warranties, exclusions and limitations of the Followed Policy.
(C)    General Conditions is amended as follows:
       1)    Subsection 2.1 is deleted in its entirety and replaced with the following:
             Coverage under this Policy shall attach only after exhaustion of the limits of liability of the Underlying
             Insurance. The limits of liability of the Underlying Insurance shall be exhausted by payment, in legal
             currency, of Loss by the insurers of the Underlying Insurance, the Insureds, DIC Insurer, or any other
             source. The Insurer shall recognize any contribution in legal currency by or on behalf of an Insured to such
             exhaustion of the limits of liability of the Underlying Insurance.
       2)    Subsection 2.2 is deleted in its entirety and replaced with the following:
             The Limit of Liability as stated in Item 3 of the Declarations shall be the maximum amount payable under
             this Policy for all Loss, including without limitation, defense costs.
       3)    Subsection 2.4 is amended to add the following:
             The Insurer shall recognize reduction or exhaustion of Underlying Insurance, including any applicable
             retentions, as a result of payments under any other policy that is tied in to the Underlying Insurance.
       4)    Subsection 2.5 is deleted in its entirety and replaced with the following:
             Where the Followed Policy permits or requires notice to its insurer, including notice of a Claim, the Insureds
             shall, according to the terms of the Followed Policy, give the same written notice to the Insurer at the
             applicable address set forth in Item 7 of the Declarations.



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      5)    Subsection 2.7 is deleted in its entirety and replaced with the following:
            Any change in or modification to the Followed Policy or this Policy or assignment of interest under this Policy
            must be agreed upon in writing by the Insurer.
      6)    Subsections 2.8 and 2.9 are deleted in their entirety.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 6




Pending and Prior Litigation Exclusion

                 Policy Number                        Effective Date                             Producer
                 USF00237518                       November 29, 2018                          Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following provisions are added:
The Insurer shall not be liable for any Loss arising out of, based upon or attributable to:
A. any demand, suit, proceeding or investigation occurring prior to, or pending as of, October 21, 2017 or
B. any Wrongful Act which gave rise to such prior or pending demand, suit, proceeding or investigation or any
   Interrelated Wrongful Acts thereto.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number: 7




Claims Handling Clause Amended Endorsement

                      Policy Number                                                   Effective Date
                      USF00237518                                                   November 29, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that
Section 2.6 in General Conditions is deleted in its entirety and replaced with the following:
2.6 The Insurer shall have the sole right to investigate, adjust, and settle its portion of any Claims or Losses arising
    under this Policy and it shall not be bound by the Claim or Loss decisions made by any other insurer. The Insurer
    shall have the right, in its sole discretion, but not the obligation, to effectively associate with the Insured in the
    defense and settlement of any Claim that appears to be reasonably likely to involve this Policy, including but not
    limited to effectively associating in the negotiation of a settlement. Only those settlements, stipulated judgments and
    defense costs which have been consented to by the Insurer shall be recoverable as Loss under the terms of this
    Policy. The Insurer's consent shall not be unreasonably withheld, provided that the Insurer shall be entitled to
    effectively associate in the defense and the negotiation of any settlement of any Claim in order to reach a decision as
    to reasonableness.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 8




Quota Share Participation

                 Policy Number                        Effective Date                             Producer
                 USF00237518                        November 29, 2018                        Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following provisions are added:
A. This Policy is part of a quota share participation arrangement involving a total limit of liability of $ 5,000,000
   involving the following insurers:

    Quota Share Participant                                      Policy Number                      Limit of Liability
    Allianz Global Risks US Insurance                   USF00237518                               $2,500,000
    Company
    Markel Bermuda Limited                              MKLB25GPL0000702                          $2,500,000




B. The Insurer’s percentage in the quota share arrangement is 50%. Notwithstanding any other provision of this
   Policy, the Insurer shall only be liable for its percentage participation of covered Loss.
C. The liability of each participating insurer is several and not joint. The failure of any participating insurer to pay its
   share of covered Loss shall not increase the liability of any other participating insurer.
D. Each participating insurer shall make its own determination of whether Loss is covered under its policy. No
   participating insurer shall have any authority to bind any other participating insurer regarding any matter submitted
   for coverage.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 9



Run Off Coverage

                 Policy Number                       Effective Date                             Producer
                 USF00237518                       November 29, 2018                        Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


The following provisions are added:

A.    The expiration date of the Policy Period set forth in Item 2 of the Declarations is extended from
      November 29, 2018 to November 29, 2024.

     B. This Insurer shall not pay Loss for any Wrongful Act occurring on or after November 29, 2018.

C.    The entire premium for this Policy shall be deemed fully earned as of the inception of this Policy.

D.    The Insureds shall have no right under this Policy to purchase any additional discovery or extended reporting
      period.


ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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About Allianz
Your insurance company is part of the
Allianz Group – an organization with a
125-year history of partnering with
clients and delivering exceptional
insurance products around the world.

Allianz is the world’s largest property
& casualty insurance company by
revenue and has one of the strongest
financial ratings of the leading global
property & casualty insurers. The
strength of its financial ratings and
quality of its people make Allianz the
insurer of choice for thousands of
mid-size businesses and the majority
of Global Fortune 500 companies.
                      ®




Allianz is also ranked “one of the world’s
most admired companies” by Fortune
and “one of the top 100 global brands”
by Interbrand.


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Endorsement Number 10


TIE IN OF LIMITS ENDORSEMENT

              Policy Number                           Effective Date                            Producer
              USF00237518                           November 29, 2018                       Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
 The following provisions are added:


 It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this Policy
 has been negotiated with the understanding that this Policy and the policy # 17CKP170ADAA issued to the Insured by
 Hiscox – Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of the premium
 charged, it is understood and agreed that;

     a)   Subject to the terms and conditions of the coverage provided by the Other Policy and this Policy, in the event
          that loss or damages is required to be paid under both this Policy and the Other Policy, the coverage provided
          under this Policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment
                    of any loss or damages under this Policy; and
              ii.   any payment of Loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all Loss or damages on account of all claims for this Policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall Limit
                    of Liability.

     b) The Insurer will have no obligation under this Policy to make any payment of Loss or damages to the extent
        that the Other Policy’s aggregate limit of liability is fully exhausted.

     c)   If the paid Loss or damages under this Policy are in an aggregate amount equaling $2,500,000, any and all
          obligations of the Insurer under this Policy will be completely fulfilled and extinguished, and the Insurer will
          have no further obligations of any kind or nature whatsoever under this Policy.

     d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay Loss
        or damages under this Policy in excess of $2,500,000 which is the Limit of Liability set forth under Item 3 of
        the Declarations of this Policy.

     e)   In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this Policy, the term, condition or limitation of this endorsement shall govern.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 10


TIE IN OF LIMITS ENDORSEMENT

              Policy Number                           Effective Date                            Producer
              USF00237518                           November 29, 2018                       Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
 The following provisions are added:


 It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this Policy
 has been negotiated with the understanding that this Policy and the policy # 17CKP170ADAA issued to the Insured by
 Hiscox – Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of the premium
 charged, it is understood and agreed that;

     a)   Subject to the terms and conditions of the coverage provided by the Other Policy and this Policy, in the event
          that loss or damages is required to be paid under both this Policy and the Other Policy, the coverage provided
          under this Policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment
                    of any loss or damages under this Policy; and
              ii.   any payment of Loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all Loss or damages on account of all claims for this Policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall Limit
                    of Liability.

     b) The Insurer will have no obligation under this Policy to make any payment of Loss or damages to the extent
        that the Other Policy’s aggregate limit of liability is fully exhausted.

     c)   If the paid Loss or damages under this Policy are in an aggregate amount equaling $2,500,000, any and all
          obligations of the Insurer under this Policy will be completely fulfilled and extinguished, and the Insurer will
          have no further obligations of any kind or nature whatsoever under this Policy.

     d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay Loss
        or damages under this Policy in excess of $2,500,000 which is the Limit of Liability set forth under Item 3 of
        the Declarations of this Policy.

     e)   In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this Policy, the term, condition or limitation of this endorsement shall govern.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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                      EXHIBIT J
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                                            RISK DETAILS

      UNIQUE MARKET
      REFERENCE:            B0509FINFW1800559


      TYPE:                 EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                            REIMBURSEMENT INSURANCE

      INSURED:              AMTRUST FINANCIAL SERVICES, INC.


                            PRINCIPAL ADDRESS:
                            59 Maiden Lane
                            43rd Floor
                            New York 10038
                            United States of America


      PERIOD:               From: 29th November 2018
                            To: 29th November 2024
                            Both days at 12.01 am Local Standard Time at the Principal
                            Address.


      INTEREST:             Excess Directors and Officers Liability and Company
                            Reimbursement Insurance as more fully defined in the wording
                            referenced herein.


      LIMIT OF LIABILITY:   USD 5,000,000 in the aggregate

                            In excess of:

                            USD 20,000,000 in the aggregate, which in turn in excess of
                            underlying primary retention(s)

      TERRITORIAL           Worldwide.
      LIMITS:


      CONDITIONS:              1. Excess Wording, as attached.
                               2. Schedule of underlying insurance

                               Primary Contract
                               Policy No: ELU152497-17
                               Insurer: Indian Harbor Insurance Company
                               Limit: USD 5,000,000



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                             First Excess Contract
                             Policy No: DOC1074701
                             Insurer: Zurich American Insurance Company
                             Limit: USD 5,000,000

                             Second Excess Contract
                             Policy No: MNN626501/01/01/2017
                             Insurer: Axis Insurance Company
                             Limit: USD 5,000,000

                             Third Excess Contract
                             Policy No: USF00255018
                             Insurer: Allianz Global Corporate Specialty
                             Limit: USD 5,000,000

                             3. Small AP/RP Clause NMA 1168, as attached.
                             4. Nuclear Incident Exclusion NMA 1256, as attached.
                             5. Radioactive Contamination Exclusion Clause NMA 1477, as
                                 attached.
                             6. War and Terrorism Exclusion NMA 2918, as attached.
                             7. Sanction Limitation and Exclusion Clause LMA3100, as
                                 attached.
                             8. Tie in of limits clause, Prior Policy Endorsement, as
                                 attached.
                             9. Premium Payment Clause LSW3000, as attached.
                             10. LMA 9105 (amended) – Policyholder Disclosure Notice of
                                 Terrorism Insurance Coverage, as attached.

                          Special Cancellation/Insurer Downgrade Clause as attached.

                          IUA 09-054 Foreign Account Tax Compliance Act (‘FATCA’) - only
                          to apply in respect of FATCA in scope contracts, as attached.

                          Where the terms ‘(Re)Insurer’ and/or ‘contract period’ and/or
                          ‘(Re)Insured’ do not appear in the Risk Details or attached Policy
                          wording the functional equivalents of these terms shall be deemed
                          incorporated herein.

      CHOICE OF LAW &
      JURISDICTION:       Unless stated herein to the contrary, this (Re)Insurance shall be
                          governed by and construed in accordance with the laws of US New
                          York and the exclusive jurisdiction of the US New York courts.


      PREMIUM:            USD 800,000.00 (100%)


      PREMIUM PAYMENT
      TERMS:              Premium Payment Clause LSW 3000

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      TAXES PAYABLE
      BY THE INSURED
      AND
      ADMINISTERED BY
      INSURERS:             None


      TAXES PAYABLE
      BY THE
      INSURERS AND
      ADMINISTERED BY
      INSURED OR THEIR
      AGENT:                None


      RECORDING,
      TRANSMITTING AND
      STORING
      INFORMATION:     Where Marsh Ltd maintains risk and claim data, information or
                       documents, Marsh Ltd may hold such data, information or
                       documents electronically.

      INSURER
      CONTRACT
      DOCUMENTATION:         This document details the contract terms entered into by the
                            (Re)Insurers and constitutes the contract document.

                            This contract is subject to US state Surplus lines requirements. It is
                            the responsibility of the surplus lines broker to affix a surplus lines
                            notice to the contract document before it is provided to the Insured.
                            In the event that the surplus lines notice is not affixed to the
                            contract document the Insured should contact the surplus lines
                            broker.




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                                   MARSH EXCESS LAYER POLICY

      In consideration of the Insured having paid or having promised to pay the premium, and
      subject to all of the terms, conditions and limitations of this excess policy, the insurers
      described in the SECURITY DETAILS of this policy (‘Insurer’) and the Insured agree as
      follows:

      1.     Insuring agreement

      1.1    The Insurer will provide the Insured with insurance coverage upon the terms,
             conditions and limitations of the Primary Policy except insofar as express provision
             for any matter is set out in this excess policy, and only insofar as necessary, the
             terms conditions and limitations set out in this excess policy will prevail over the
             corresponding terms, conditions and limitations of the Primary Policy.

      1.2    Subject to the Limit of Liability the Insurer will pay to or on behalf of the Insured
             that proportion of the loss which exceeds the Underlying Insurance.

      1.3    Subject to the provisions of sub-clause 1.4, unless and to the extent that clause 4 of
             this excess policy applies, the Insurer will have no liability under this excess policy
             unless and until all of the Underlying Insurance has been exhausted by the
             payment of losses under the Underlying Insurance.

      1.4    For the purposes of this excess policy, losses shall be deemed to have been paid
             under an Underlying Insurance if all or any of the insurers subscribing thereto have
             paid, or have agreed to pay such losses, or have had their liability to pay such losses
             established by judgment, arbitration award or other final binding adjudication. Such
             payment will, for the purposes of this excess policy, be deemed to have been made
             on the date of payment, agreement or adjudication, whichever occurs first.

             Furthermore:

             (a)    If a payment in respect of a loss is made under an Underlying Insurance of
                    an amount which is less than the applicable limit of liability under that
                    Underlying Insurance (but the relevant covered loss of the Insured exceeds
                    the applicable limit of liability under that Underlying Insurance), then such
                    payment will, for the purposes of determining the application of this excess
                    policy to such covered loss, be deemed to exhaust the applicable limit of
                    liability of that Underlying Insurance provided the Insurer will be liable to
                    pay only that part of the covered loss which exceeds the Underlying
                    Insurance.




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            (b)    If any insurer participating on an Underlying Insurance is or becomes
                   Insolvent then, for the purposes of this excess policy, such Insolvent insurer
                   will be deemed to have paid in full the amount of its liability for losses under
                   such Underlying Insurance, but only in the event that either:

                   (i)    any other insurer participating on the relevant Underlying Insurance
                          pays, or agrees to pay or has its liability to pay established by
                          judgment, arbitration award or other final binding adjudication,
                          whichever occurs first; or

                   (ii)   an Insured establishes that the Insurer would be liable hereunder but
                          for the Insolvency.

            (c)    The Insurer will recognise the erosion of Underlying Insurance whether or
                   not cover provided in such Underlying Insurance is also provided by this
                   excess policy.

      2.    Definitions

      2.1   Insolvent or Insolvency means that any step, application, order, proceeding or
            appointment has been taken or made in respect of an entity for composition or
            arrangement with creditors, winding-up, dissolution, administration, receivership
            (administrative or otherwise) or bankruptcy, or that the entity is unable to pay its
            debts.

      2.2   Insured means all persons, organisations and entities as are insured under the
            Primary Policy for their own separate insurable interests.

      2.3   Insurer means those entities and/or syndicates who are identified as underwriters or
            insurers by affixing of their seal or stamp in the SECURITY DETAILS section of this
            contract.

      2.4   Limit of Liability means the amount set forth in the RISK DETAILS of this policy,
            which will be the maximum sum the Insurer is liable to pay under this excess policy.

      2.5   Primary Policy means the primary contract identified in the RISK DETAILS of this
            policy.

      2.6   Policy Period means the period specified in the RISK DETAILS of this policy.

      2.7   Underlying Insurance means the Primary Policy together with any and all excess
            policies providing together the amount of cover specified at item (b) of the limit of
            liability in the RISK DETAILS of this policy, and any policies replacing any of them.




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      3.    Maintenance of Underlying Insurance

      3.1   Subject to sub-clauses 3.2 to 3.4 below, all of the Underlying Insurance will be
            maintained during the Policy Period in full effect, except for any depletion of
            underlying limits.

      3.2   The Insured’s failure to maintain Underlying Insurance by reason of an action by
            an insurer subscribing to the Underlying Insurance (other than in relation to
            cancellation for the non-payment of premium by the Insured) will not invalidate this
            excess policy but, and subject to the application of clause 4, the Insurer will not be
            liable to a greater extent or at an earlier point in time than if sub-clause 3.1 had been
            complied with. Nothing in this clause will negate clause 6 of this excess policy.

      3.3   In the event of a failure by the Insured to give notice or to exercise any extension
            under any Underlying Insurance the Insurer will not be liable under this excess
            policy to a greater extent or at an earlier point in time than they would have been in
            the absence of such failure.

      3.4   In the event of the Insolvency of any insurer participating on any Underlying
            Insurance the Insured shall not be in breach of the obligations under sub-clause 3.1
            above if the Underlying Insurance is no longer in full force and effect as a result of
            that Insolvency.

      4.    Depletion of Underlying Limits

      4.1   In the event and to the extent of the depletion or exhaustion of any limit of liability of
            the Underlying Insurance other than as provided for in sub-clause 4.2 below, and
            as a result of payment of a loss or losses under the Underlying Insurance, this
            excess policy will (subject to the Limit of Liability and terms, conditions and
            limitations of this excess policy) continue and operate for subsequent losses as
            excess insurance over the amount of the relevant limit of liability remaining under
            such Underlying Insurance.

      4.2   In the event of the exhaustion of any aggregate limit of liability applicable under the
            Underlying Insurance as a result of the payment of loss or losses under the
            Underlying Insurance this excess policy will (subject to the Limit of Liability and
            terms, conditions and limitations of this excess policy) continue for subsequent
            losses as primary insurance in respect of any subsequent loss or losses that would
            otherwise have been covered by such Underlying Insurance but for the exhaustion
            of that aggregate limit of liability.

      4.3   In the event that this excess policy is required to operate as primary insurance by
            virtue of sub-clause 4.2 above:

            (a)    any excess or retention specified in the Primary Policy shall apply to this
                   excess policy, otherwise no excess or retention shall apply to this excess
                   policy;




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            (b)    in respect of any loss or losses for which the Primary Policy imposed a sub-
                   limit of liability, this excess policy will provide cover for such loss or losses,
                   including any unpaid portion of that sub-limit.

      4.4   For the purposes of this clause 4, the determination of whether there has been any
            payment of losses under and/or exhaustion of any Underlying Insurance will be
            made in accordance with sub-clause 1.4. However, and for the purposes of this
            clause 4 only:

            (a)    if and to the extent that paragraph 1.4(a) above applies, any and all amounts
                   representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount paid by that Underlying Insurance

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above

            and

            (b)    if and to the extent that sub-paragraph 1.4(b)(i) above applies, any and all
                   amounts representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount that any insurer participating on the relevant Underlying
                           Insurance pays, or agrees to pay or has its liability to pay established
                           by judgment, arbitration award or other final binding adjudication

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above.

      4.5   An Underlying Insurance will not be deemed exhausted solely by reason of the
            Insolvency of an insurer participating thereon.

      5.    Claims

      5.1   Any first notice of a claim or circumstance (or equivalent term by which the Primary
            Policy identifies matters potentially giving rise to notifications thereunder in respect
            of a loss or losses) required to be given under the terms of the Primary Policy, will
            also be given to the Insurer under this excess policy.




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      5.2   In respect of any matter notified pursuant to sub-clause 5.1 above:

            (a)    the Insured will inform the Insurer of any material developments in relation to
                   such matter;

            (b)    without prejudice to paragraph 5.2(a) above the rights and obligations set out
                   in any claims investigation, claims co-operation, claims handling, claims
                   defence, claims assessment and/or claims settlement provisions of the
                   Primary Policy will be incorporated into this excess policy, but will not be
                   enforceable for the purpose of this excess policy unless and until the loss or
                   losses (including any defence costs or other fees incurred by the Insured for
                   which indemnity is available under the Primary Policy) likely to arise from
                   such matter have the potential to deplete the Underlying Insurance such
                   that the policy immediately underlying this excess policy will be eroded to the
                   extent of 50% or more of the limit of liability of such immediately underlying
                   policy.

      6.    Alteration

      6.1   No amendment to the Primary Policy during the Policy Period will be effective in
            extending the scope of this excess policy, until agreed in writing by the Insurer.

      6.2   No claim payment made as a consequence of an amendment to the Primary Policy
            during the Policy Period will operate to deplete or exhaust any limit of liability of the
            Underlying Insurance unless such amendment has been agreed in writing by the
            Insurer.

      7.    Governing Law and Jurisdiction

      7.1   The constructions, interpretation and meaning of the terms, exclusions limitations
            and conditions of this excess policy shall be determined in accordance with the laws
            of the state or country specified in the RISK DETAILS of this policy, and any dispute
            arising hereunder will be subject to the exclusive jurisdiction of the courts of the state
            or country specified in the RISK DETAILS of this policy.

      8.    Dispute Resolution

      8.1   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy, the provisions of the Primary Policy are incorporated into this excess
            policy for the purposes of determining the dispute resolution procedures applicable to
            this excess policy.

      8.2   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy in relation to matters that are also the subject of a dispute between the
            Insured and the insurers of any Underlying Insurance then those disputes shall be
            heard together in the same court or arbitration proceedings.




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                  SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


      NOTWITHSTANDING anything to the contrary contained herein and in consideration of the
      premium for which this Insurance is written, it is understood and agreed that whenever an
      additional or return premium of $2 or less becomes due from or to the Assured on account of
      the adjustment of a deposit premium, or of an alteration in coverage or rate during the term
      or for any other reason, the collection of such premium from the Assured will be waived or
      the return of such premium to the Assured will not be made, as the case may be.
      NMA1168




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         NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

      For attachment to insurances of the following classifications in the U.S.A., its Territories and
      Possessions, Puerto Rico and the Canal Zone:

                Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability,
                Owners or Contractors (including railroad) Protective Liability, Manufacturers and
                Contractors Liability, Product Liability, Professional and Malpractice Liability,
                Storekeepers Liability, Garage Liability, Automobile Liability (including
                Massachusetts Motor Vehicle or Garage Liability),

      not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
      Liability-Direct (Limited) applies.

      This Policy* does not apply:

         I.        Under any Liability Coverage, to injury, sickness, disease, death or destruction:

                   (a) with respect to which an insured under the Policy is also an insured under a
                       nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                       Association, Mutual Atomic Energy Liability Underwriters or Nuclear
                       Insurance Association of Canada, or would be an insured under any such
                       policy but for its termination upon exhaustion of its limit of liability; or

                   (b) resulting from the hazardous properties of nuclear material and with respect
                       to which (1) any person or organization is required to maintain financial
                       protection pursuant to the Atomic Energy Act of 1954, or any law amendatory
                       thereof, or (2) the insured is, or had this Policy not been issued would be,
                       entitled to indemnity from the United States of America, or any agency
                       thereof, under any agreement entered into by the United States of America,
                       or any agency thereof, with any person or organization.

         II.       Under any Medical Payments Coverage, or under any Supplementary Payments
                   Provision relating to immediate medical or surgical relief, to expenses incurred
                   with respect to bodily injury, sickness, disease or death resulting from the
                   hazardous properties of nuclear material and arising out of the operation of a
                   nuclear facility by any person or organization.

         III.      Under any Liability Coverage, to injury, sickness, disease, death or destruction
                   resulting from the hazardous properties of nuclear material, if:

                   (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or
                       on behalf of, an insured or (2) has been discharged or dispersed therefrom;

                   (b) the nuclear material is contained in spent fuel or waste at any time
                       possessed, handled, used, processed, stored, transported or disposed of by
                       or on behalf of an insured; or

                   (c) the injury, sickness, disease, death or destruction arises out of the furnishing
                       by an insured of services, materials, parts or equipment in connection with


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                    the planning, construction, maintenance, operation or use of any nuclear
                    facility, but if such facility is located within the United States of America, its
                    territories or possessions or Canada, this exclusion (c) applies only to injury
                    to or destruction of property at such nuclear facility.

         IV.     As used in this endorsement:

                 "hazardous properties" include radioactive, toxic or explosive properties; "nuclear
                 material" means source material, special nuclear material or by-product material;
                 "source material", "special nuclear material", and "by-product material" have the
                 meanings given them in the Atomic Energy Act 1954 or in any law amendatory
                 thereof; "spent fuel" means any fuel element or fuel component, solid or liquid,
                 which has been used or exposed to radiation in a nuclear reactor; "waste" means
                 any waste material (1) containing by-product material and (2) resulting from the
                 operation by any person or organization of any nuclear facility included within the
                 definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility"
                 means:

                 (a) any nuclear reactor,

                 (b) any equipment or device designed or used for (1) separating the isotopes of
                     uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                     processing or packaging waste,

                 (c) any equipment or device used for the processing, fabricating or alloying of
                     special nuclear material if at any time the total amount of such material in the
                     custody of the insured at the premises where such equipment or device is
                     located consists of or contains more than 25 grams of plutonium or uranium
                     233 or any combination thereof, or more than 250 grams of uranium 235,

                 (d) any structure, basin, excavation, premises or place prepared or used for the
                     storage or disposal of waste,

                 and includes the site on which any of the foregoing is located, all operations
                 conducted on such site and all premises used for such operations; "nuclear
                 reactor" means any apparatus designed or used to sustain nuclear fission in a
                 self-supporting chain reaction or to contain a critical mass of fissionable material.
                 With respect to injury to or destruction of property, the word "injury" or
                 "destruction" includes all forms of radioactive contamination of property.

      It is understood and agreed that, except as specifically provided in the foregoing to the
      contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
      Policy to which it is attached.
      * NOTE: As respects policies which afford liability coverages and other forms of coverage in
      addition, the words underlined should be amended to designate the liability coverage to
      which this clause is to apply.

      17/3/60
      NMA1256



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                                                                                         Contract Leader
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        RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


      For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-
      Direct) to liability insurances affording worldwide coverage.

      In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or
      the Canal Zone, this Policy does not cover any liability of whatsoever nature directly or
      indirectly caused by or contributed to by or arising from ionising radiations or contamination
      by radioactivity from any nuclear fuel or from any nuclear waste from the combustion of
      nuclear fuel.


      13/2/64
      NMA1477




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                        WAR AND TERRORISM EXCLUSION ENDORSEMENT

      Notwithstanding any provision to the contrary within this insurance or any endorsement
      thereto it is agreed that this insurance excludes loss, damage, cost or expense of
      whatsoever nature directly or indirectly caused by, resulting from or in connection with any of
      the following regardless of any other cause or event contributing concurrently or in any other
      sequence to the loss;

      1. war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
         declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming
         the proportions of or amounting to an uprising, military or usurped power; or

      2. any act of terrorism.

         For the purpose of this endorsement an act of terrorism means an act, including but not
         limited to the use of force or violence and/or the threat thereof, of any person or group(s)
         of persons, whether acting alone or on behalf of or in connection with any organisation(s)
         or government(s), committed for political, religious, ideological or similar purposes
         including the intention to influence any government and/or to put the public, or any
         section of the public, in fear.

      This endorsement also excludes loss, damage, cost or expense of whatsoever nature
      directly or indirectly caused by, resulting from or in connection with any action taken in
      controlling, preventing, suppressing or in any way relating to 1 and/or 2 above.

      If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or
      expense is not covered by this insurance the burden of proving the contrary shall be upon
      the Assured.

      In the event any portion of this endorsement is found to be invalid or unenforceable, the
      remainder shall remain in full force and effect.


      08/10/01
      NMA2918




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                         SANCTION LIMITATION AND EXCLUSION CLAUSE

      No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any
      claim or provide any benefit hereunder to the extent that the provision of such cover,
      payment of such claim or provision of such benefit would expose that (re)insurer to any
      sanction, prohibition or restriction under United Nations resolutions or the trade or economic
      sanctions, laws or regulations of the European Union, United Kingdom or United States of
      America.

      15/09/10
      LMA3100




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                                TIE-IN OF LIMITS CLAUSE – POLICIES

      It is agreed that:

      In consideration of the premium charged, it is hereby understood and agreed that the
      Limit of Liability of the Insurer for Loss under this Policy, UMR B0509FINFW1800559, and
      the prior Policy, UMR B0509FINFW1800152 (amended from UMR B0507N17FA23130),
      shall be combined.

      Accordingly, the Limit of Liability for Loss under either Policy mentioned above shall be
      reduced by Loss incurred under either Policy.


      All other terms, conditions and exclusions remain unchanged.




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                                      PREMIUM PAYMENT CLAUSE

      The (Re)Insured undertakes that premium will be paid in full to Underwriters within 60 days
      of inception of this policy (or, in respect of instalment premiums, when due).

      If the premium due under this policy has not been so paid to Underwriters by the 60th day
      from the inception of this policy (and, in respect of instalment premiums, by the date they are
      due) Underwriters shall have the right to cancel this policy by notifying the (Re)Insured via
      the broker in writing. In the event of cancellation, premium is due to Underwriters on a pro
      rata basis for the period that Underwriters are on risk but the full policy premium shall be
      payable to Underwriters in the event of a loss or occurrence prior to the date of termination
      which gives rise to a valid claim under this policy.

      It is agreed that Underwriters shall give not less than 15 days prior notice of cancellation to
      the (Re)Insured via the broker. If premium due is paid in full to Underwriters before the
      notice period expires, notice of cancellation shall automatically be revoked. If not, the policy
      shall automatically terminate at the end of the notice period.

      Unless otherwise agreed, the Leading Underwriter (and Agreement Parties if appropriate)
      are authorised to exercise rights under this clause on their own behalf and on behalf of all
      Underwriters participating in this contract.

      If any provision of this clause is found by any court or administrative body of competent
      jurisdiction to be invalid or unenforceable, such invalidity or unenforceability will not affect
      the other provisions of this clause which will remain in full force and effect.

      Where the premium is to be paid through a London Market Bureau, payment to Underwriters
      will be deemed to occur on the day of delivery of a premium advice note to the Bureau.


      11/01
      LSW3000




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                            Special Cancellation/Insurer Downgrade Clause

      1   The Underwriter shall give notice to the Insured’s representative, as identified in this
          Contract, as soon as practicable and in any event within 14 days, or as soon as
          permitted by its regulator if later, where the Underwriter:

          (i) a. ceases underwriting entirely; or

             b. ceases underwriting the type of insurance provided by this policy in a territory
                where the Insured is domiciled; or

             c. formally announces its intention to cease underwriting as per (i)a or (i)b above; or

          (ii) voluntarily or involuntarily elects to wind up, run off its business, enter a scheme of
               arrangement or enter into any form of bankruptcy protection or related formal or
               informal termination of its insurance operations; or

          (iii) has its authority to carry on insurance business withdrawn.

      2   The Insured or the Insured's representative may terminate an Underwriter's participation
          on this risk by giving written notice:

          (i) When one of the events identified above at Condition 1 takes place; or

          (ii) In the event that an Underwriter has its financial strength rating downgraded below
               BBB by Standard & Poor’s or A- by AM Best. For Lloyd’s syndicates it is the financial
               strength rating of Lloyd’s as a whole which is considered.

          The effective date of termination shall not be earlier than the date notice is actually given
          by the Insured or the Insured's representative.

      Upon notice of cancellation having been given by the Insured or the Insured's representative
      to the Underwriter, the Underwriter shall pay to the Insured a pro rata return premium for the
      unexpired period of the policy. Such pro rata return premium shall be paid in accordance
      with the terms of trade previously agreed between the Insured's representative and the
      Underwriter to whom notice of cancellation has been given.

      In the event that there are any notifications under this policy or the Underwriter has made
      any payments pursuant to any policy term or condition providing coverage under this policy
      to the Insured, the premium shall be deemed fully earned unless the Insured withdraws such
      notifications and/or reimburses the Underwriter for any payment(s) made.




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        POLICYHOLDER DISCLOSURE NOTICE OF TERRORISM INSURANCE COVERAGE


      Coverage for acts of terrorism is already included in the policy (including any quotation for
      insurance) to which this notice applies. You should know that, under the policy, any losses
      caused by certified acts of terrorism would be partially reimbursed by the United States
      under a formula established by federal law. Under this formula, the United States pays 85%
      through 2015; 84% beginning on January 1, 2016; 83% beginning on January 1, 2017; 82%
      beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80% beginning on
      January 1, 2020; of covered terrorism losses exceeding the statutorily established deductible
      paid by the insurer providing the coverage. However, your policy may contain certain
      exclusions which might affect your coverage, such as exclusion for nuclear events. The term
      “act of terrorism” means any act that is certified by the Secretary of the Treasury, in
      consultation with the Secretary of Homeland Security and the Attorney General of the United
      States, to be an act of terrorism; to be a violent act or an act that is dangerous to human life,
      property, or infrastructure; to have resulted in damage within the United States, or outside
      the United States in the case of an air carrier or vessel or the premises of a United States
      mission; and to have been committed by an individual or individuals, as part of an effort to
      coerce the civilian population of the United States or to influence the policy or affect the
      conduct of the United States Government by coercion. The Terrorism Risk Insurance Act, as
      amended, contains a $100 billion cap that limits U.S. Government reimbursement for losses
      resulting from certified acts of terrorism when the amount of such losses exceeds $100
      billion in any one calendar year.

      YOU ARE HEREBY NOTIFIED THAT UNDER THE TERRORISM RISK INSURANCE ACT
      OF 2002, AS AMENDED, ANY LOSSES CAUSED BY CERTIFIED ACTS OF TERRORISM
      UNDER YOUR POLICY COVERAGE WILL BE PARTIALLY REIMBURSED BY THE
      UNITED STATES, SUBJECT TO A $100 BILLION CAP, AND YOU HAVE BEEN NOTIFIED
      OF THE AMOUNT OF THE PREMIUM ATTRIBUTABLE TO SUCH COVERAGE.

      The premium allocated for this coverage is 1% of the overall premium charged for your
      policy.

      Option to reject terrorism insurance coverage

      Your policy automatically provides coverage for claims arising out of acts of terrorism as
      defined in the Terrorism Risk Insurance Act of 2002 at no additional cost to you. If you would
      prefer not to have such coverage please check the box below, sign where indicated and
      return this form to your insurance broker or intermediary. Please note that there will be no
      reduction in premium if terrorism coverage is removed from your policy.




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                  I hereby elect not to have TRIA coverage under this policy. I understand that I
                  will have no coverage for losses arising from certified acts of terrorism.



      ___________________________________          ____________________________________
                        ___                                        ___
        Policyholder / Applicants Signature                   Name of Assured


      ___________________________________
                       __
                   Print Name                                     Policy Number


      ___________/____________/___________
                      Date


      LMA9105 (amended)




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                      FOREIGN ACCOUNT TAX COMPLIANCE ACT (‘FATCA’)

      Each (Re)Insurer hereby acknowledges the requirements of Sections 1471-1474 US Internal
      Revenue Code of 1986, as amended, and the Treasury regulations and other guidance
      issued from time to time thereunder (‘FATCA’) and the obligation of each of them to provide
      to Marsh Ltd a valid Internal Revenue Service (‘IRS’) Form W8-BEN-E, W-9 or other
      documentation meeting the requirements of the FATCA regulations to establish they are not
      subject to any withholding requirement pursuant to FATCA (the ‘Required Documentation’).

      Furthermore:

      a)   If a (Re)Insurer becomes non-compliant with FATCA during the contract period or has
           not provided the Broker with the Required Documentation 14 days prior to any
           premium due date, the Withholding Agent (as defined in U.S. Treasury Regulation
           Section 1.1471-1(b)(147)) shall withhold 30% of the premium (to the extent all or a
           portion of that premium is subject to withholding pursuant to FATCA) due to that
           (Re)Insurer under this contract on that premium due date and shall promptly notify that
           (Re)Insurer via the Broker.

      b)   The withholding of premium by virtue of (a) above shall not be, and shall not be treated
           by the (Re)Insurer as a breach of any premium payment condition, warranty or other
           clause whether or not entitling the (Re)Insurer to cancel, terminate or restrict this
           contract, refuse, restrict or delay payment of any claim or invoke any interest, penalty
           or other late payment provision. The (Re)Insurer shall be liable under this contract as if
           no such withholding had been made.

      c)   The (Re)Insurer shall not recoup sums withheld under (a) above by deducting
           equivalent sums from any payments due to the (Re)Insured or by set off against any
           other sums owed by the (Re)Insurer and any general or contractual right of set-off
           enjoyed by the (Re)Insurer is hereby varied and qualified to that extent.

      d)   Where premium is withheld in error, has not yet been paid to the IRS and the
           (Re)Insurer has been paid only the net premium following such withholding, the broker
           will cooperate with the (Re)insurer to process the requisite refund.

      IUA 09-054 (FATCA)




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                                     INFORMATION
      None.




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                                     SECURITY DETAILS
      (RE)INSURER'S
      LIABILITY:          LMA3333
                          (Re)insurer’s liability several not joint

                          The liability of a (re)insurer under this contract is several and not
                          joint with other (re)insurers party to this contract. A (re)insurer is
                          liable only for the proportion of liability it has underwritten. A
                          (re)insurer is not jointly liable for the proportion of liability
                          underwritten by any other (re)insurer. Nor is a (re)insurer otherwise
                          responsible for any liability of any other (re)insurer that may
                          underwrite this contract.

                          The proportion of liability under this contract underwritten by a
                          (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the
                          proportions underwritten by all the members of the syndicate taken
                          together) is shown next to its stamp. This is subject always to the
                          provision concerning ‘signing’ below.

                          In the case of a Lloyd’s syndicate, each member of the syndicate
                          (rather than the syndicate itself) is a (re)insurer. Each member has
                          underwritten a proportion of the total shown for the syndicate (that
                          total itself being the total of the proportions underwritten by all the
                          members of the syndicate taken together). The liability of each
                          member of the syndicate is several and not joint with other
                          members. A member is liable only for that member’s proportion. A
                          member is not jointly liable for any other member’s proportion. Nor
                          is any member otherwise responsible for any liability of any other
                          (re)insurer that may underwrite this contract. The business address
                          of each member is Lloyd’s, One Lime Street, London EC3M 7HA.
                          The identity of each member of a Lloyd’s syndicate and their
                          respective proportion may be obtained by writing to Market
                          Services, Lloyd’s, at the above address.

                          Proportion of liability

                          Unless there is ‘signing’ (see below), the proportion of liability under
                          this contract underwritten by each (re)insurer (or, in the case of a
                          Lloyd’s syndicate, the total of the proportions underwritten by all the
                          members of the syndicate taken together) is shown next to its
                          stamp and is referred to as its ‘written line’.

                          Where this contract permits, written lines, or certain written lines,
                          may be adjusted (‘signed’). In that case a schedule is to be
                          appended to this contract to show the definitive proportion of
                          liability under this contract underwritten by each (re)insurer (or, in
                          the case of a Lloyd’s syndicate, the total of the proportions
                          underwritten by all the members of the syndicate taken together). A
                          definitive proportion (or, in the case of a Lloyd’s syndicate, the total
                          of the proportions underwritten by all the members of a Lloyd’s

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                          syndicate taken together) is referred to as a ‘signed line’. The
                          signed lines shown in the schedule will prevail over the written lines
                          unless a proven error in calculation has occurred.

                          Although reference is made at various points in this clause to ‘this
                          contract’ in the singular, where the circumstances so require this
                          should be read as a reference to contracts in the plural.


      ORDER HEREON:       100% of 100%

      BASIS OF WRITTEN
      LINES:              Percentage of Whole


      SIGNING
      PROVISIONS:         In the event that the written lines hereon exceed 100% of the order,
                          any lines written ‘To Stand’ will be allocated in full and all other
                          lines will be signed down in equal proportions so that the aggregate
                          signed lines are equal to 100% of the order without further
                          agreement of any of the (Re)Insurers.

                          However:

                          a)   in the event that the placement of the order is not completed
                               by the commencement date of the period of (Re)Insurance
                               then all lines written by that date will be signed in full;

                          b)   the (Re)Insured may elect for the disproportionate signing of
                               (Re)Insurers’ lines, without further specific agreement of
                               (Re)Insurers, providing that any such variation is made prior
                               to the commencement date of the period of (Re)insurance,
                               and that lines written ‘To Stand’ may not be varied without the
                               documented agreement of those (Re)Insurers;

                          c)   the signed lines resulting from the application of the above
                               provisions can be varied, before or after the commencement
                               date of the period of (Re)Insurance, by the documented
                               agreement of the (Re)Insured and all (Re)Insurers whose
                               lines are to be varied. The variation to the contracts will take
                               effect only when all such (Re)Insurers have agreed, with the
                               resulting variation in signed lines commencing from the date
                               set out in that agreement.




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      In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the
      premium charged by the leading (re)insurer.

      (Re)Insurers may not seek to guarantee for themselves terms as favourable as those which
      others subsequently achieve during the placement.

      (Re)insurers confirm and agree that where NCAD (Notice of Cancellation at Anniversary
      Date) is embedded in their stamp/line this is deemed to read and mean NCED (Notice of
      Cancellation at Expiry Date). This does not affect the right of the (re)insurer to issue a Notice
      of Cancellation in accordance with the contract terms.

      WRITTEN LINES:

      As shown below and, where placed electronically either wholly or in part via Placing Platform
      Limited (PPL), in the PPL SECURITY DETAILS.




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                              CONTRACT ADMINISTRATION

                                         AND

                                  ADVISORY DETAILS




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                               SUBSCRIPTION AGREEMENT
      CONTRACT
      LEADER:             HIS 0033

                          In respect of placements completed using PPL, the Contract
                          Leader will be indicated in the relevant field in PPL and on the
                          subsequent Security Details.

                          Wherever the term ‘Slip Leader’ appears throughout this contract it
                          is amended to read and mean ‘Contract Leader’.


      BUREAU LEADER:      The first Lloyd’s bureau stamp on this contract.
                          The first Company bureau stamp on this contract

                          In respect of placements completed using PPL, the Bureau Leader
                          will be indicated in the relevant field in PPL and on the subsequent
                          Security Details.


      BASIS OF
      AGREEMENT TO
      CONTRACT
      CHANGES:            GUA (February 2014) with Non-Marine Schedule (October 2001).

                          31 days extension, if required by the (Re)Insured/Policyholder, at
                          terms and conditions to be agreed by the Contract Leader on behalf
                          of all (Re)Insurers hereon.

                          All Notice of Cancellation at Anniversary Date terms are amended
                          to provide Notice of Cancellation at Expiry Date, including
                          subsequent period extensions.

                          Where a following (Re)Insurer has charged a different contract
                          premium to that required by the Contract Leader and there is a
                          contract change which (a) is binding upon the following
                          (Re)Insurers with the agreement of the Contract Leader only (and
                          any additional agreement party if present), and (b) involves
                          premium adjustment which is not already provided for within the
                          terms of the contract, then the following (Re)Insurers agree to
                          follow the premium adjustment agreed by the Contract Leader in
                          the same ratio as their respective contract premium bears to that of
                          the Contract Leader.


      OTHER
      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR

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      PART 2 GUA
      CHANGES ONLY:        Unless any other (Re)Insurers are specified below, the Agreement
                           Parties for Part Two changes will be the Contract Leader only.


      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR
      THEIR PROPORTION
      ONLY:            None, unless any (Re)Insurers are specified here.

                           Where a following (Re)Insurer has charged a different contract
                           premium to that required by the Contract Leader and there is a
                           contract change which

                               a) is binding upon the following (Re)Insurers with the
                                  agreement of only the Contract Leader (and any additional
                                  agreement party if present), and

                               b) involves premium adjustment which is not already provided
                                  for within the terms of the contract, then the following
                                  (Re)Insurers agree to follow the premium adjustment agreed
                                  by the Contract Leader in the same ratio as their respective
                                  contract premium bears to that of the Contract Leader


      BASIS OF CLAIMS
      AGREEMENT:           As specified under the CLAIMS AGREEMENT PARTIES and to be
                           managed in accordance with:

                              i)    The SINGLE CLAIMS AGREEMENT PARTY
                                    ARRANGEMENTS - LMA9150 for claims or circumstances
                                    assigned as Single Claims Agreement Party Claims (SCAP
                                    Claims) or, where it is not applicable, then the following shall
                                    apply as appropriate:

                              ii)   The Lloyd’s Claims Scheme (Combined), or as amended or
                                    any successor thereto.

                              iii) International Underwriting Association of London IUA claims
                                   agreement practices.

                           For non-bureau (re)insurers only, the contract leader only and to be
                           binding for non-bureau (re)insurers.


      CLAIMS
      AGREEMENT
      PARTIES:             A. Claims falling within the scope of the LMA9150 to be agreed by

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                                                                                   box will not be signed


                                                                                     Contract Leader
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 221 of 1049 PageID #: 233
      MARSH LTD
      CONTRACT NUMBER

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                              Contract Leader only on behalf of all (re)insurers subscribing
                              (1) to this Contract on the same contractual terms (other than
                              premium and brokerage) and (2) to these Arrangements.

                              For the purposes of calculating the Threshold Amount, the
                              sterling rate on the date that a financial value of the claim is
                              first established by the Contract Leader shall be used and the
                              rate of exchange shall be the Bank of England spot rate for the
                              purchase of sterling at the time of the deemed conversion.

                          B. For all other claims:

                              i)    For Lloyd’s syndicates

                                    The leading Lloyd's syndicate and, where required by the
                                    applicable Lloyd's Claims Scheme, the second Lloyd's
                                    syndicate.

                                    Where applicable, the second Lloyd’s syndicate is deemed
                                    to be the first syndicate stamp to appear after the leading
                                    Lloyd’s syndicate. For PPL the 2nd claims agreement party
                                    will be agreed by endorsement.

                              ii)   Those companies acting in accordance with the IUA
                                    claims agreement practices, excepting those that may
                                    have opted out via iii below.

                                    The first IUA company and, where required by IUA
                                    practices, the second IUA company.

                              iii) Those companies that have specifically elected to agree
                                   claims in respect of their own participation.

                              iv) All other subscribing (re)insurers that are not party to the
                                  Lloyd’s/IUA claims agreement practices, each in respect of
                                  their own participation.

                              v)    Notwithstanding anything contained in the above to the
                                    contrary, any ex gratia payments to be agreed by each
                                    (re)insurer for their own participation.


      CLAIMS
      ADMINISTRATION:     Marsh Ltd and (re)insurers agree that any claims hereunder
                          (including any claims related costs/fees) that are in scope and
                          supported by Electronic Claims File (ECF) will be notified and
                          administered via ECF with any payment(s) processed via CLASS,
                          unless both parties agree to do otherwise.

                          Where claims or circumstances are not administered via ECF,


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                                                                                 Contract Leader
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                          notification, administration and payment(s) will be email or paper
                          file.

                          Where a Lloyd’s syndicate or IUA company is not an agreement
                          party to the claim or circumstance (per CLAIMS AGREEMENT
                          PARTIES A. above), they agree to accept correct ECF sequences
                          for administrative purposes to ensure information is circulated to all
                          subscribing parties.

                          Claims, or any element thereof, settled in a currency for which
                          Marsh Ltd do not hold a banking account will be agreed using a
                          notional rate of exchange which is subject to adjustment. Any
                          difference greater than GBP1,000 per payment or in the aggregate,
                          to be paid by or refunded to (re)insurers as appropriate.

                          Extension of time to file a proof of loss to be agreed

                          a)    if the contract leader is a non-Lloyd’s (re)insurer, by the
                                contract leader and Lloyd’s Claims Agreement Parties only;

                          b)    if the contract leader is a Lloyd’s (re)insurer, by the Lloyd’s
                                Claims Agreement Parties only.

                          Notwithstanding any contrary provisions concerning notification
                          contained in applicable contract documentation to which this
                          agreement applies and in the absence of a condition specifically
                          nominating a party to whom notice must be given (other than
                          (re)insurers) and provided that notification otherwise fully satisfies
                          policy conditions then the (re)insured will be regarded as having
                          complied with contract notification provisions when Marsh Ltd or its
                          subsidiary or successor entities receives notification by email,
                          facsimile or post.


      RULES AND
      EXTENT OF ANY
      OTHER DELEGATED
      CLAIMS
      AUTHORITY:          None, unless otherwise specified here by any other claims
                          agreement parties shown above.


      EXPERT(S) FEES
      COLLECTION:         Expert fees payable by (Re)Insurers for services performed on their
                          behalf to be collected by the expert or their appointed fee collection
                          service provider.


      SETTLEMENT DUE
      DATE:               28th January 2019

                                                                                   If placed via PPL this
                                                                                   box will not be signed


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      BUREAU(X)
      ARRANGEMENTS:       De-linked accounts to be presented by Marsh Ltd to Xchanging Ins-
                          sure Services (XIS).

                          Bureau re(insurers) agree to allow XIS not to ‘group’ associated de-
                          linked signings. Each individual de-linked signing may be released
                          for settlement to XIS independently of any other associated items.

                          Presentation to XIS of a contract with a premium payment warranty
                          (PPW), premium payment condition (PPC) or prompt payment
                          condition for a signing number and date within the timeframe
                          specified within the warranty or condition shall be sufficient
                          evidence of compliance and payment to all (re)insurers participating
                          hereon. Subsequent rejection shall not affect the fact that the
                          warranty/condition and/or the settlement due date (SDD) has been
                          met by the original presentation and therefore no further update of
                          the due date is required.

                          In respect of the LSW3001 (amended) or any other Premium
                          Payment Clause, the SDD will automatically be amended to the
                          date the premium is paid to (re)insurers.

                          Where any SDD, PPW or PPC due date falls on a weekend or
                          public holiday, presentation to XIS on the next working day will be
                          deemed to be in compliance with such SDD, PPW or PPC.

                          (Re)Insurers agree that the second and subsequent premium
                          instalments are taken down as additional premiums, other than
                          annual re-signings.

                          In respect of additional premium signings the SDD will follow the
                          same payment period allowed under the original premium payment
                          terms. However, the payment period shall commence from the date
                          of the final agreement of the endorsement or the effective date,
                          whichever is the later.

                          Claims and/or return premiums may be collected and taken down
                          on production of a copy (including a photocopy) and/or duplicate of
                          the applicable contract or policy.

                          In respect of non –settlement currencies:
                          XIS to accept settlement of premium in Pounds Sterling (GBP)
                          converted at the rate of exchange at the date of receipt of payment
                          by Marsh Ltd. However, in the event Marsh Ltd are paid in Pounds
                          Sterling (GBP), U.S. Dollars (USD) or EUROS (EUR) then
                          settlement will be made via XIS in GBP, USD or EUR as received
                          by Marsh Ltd.

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                                                                                 Contract Leader
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                          Bureau (re)insurers agree to accept an interim For Declaration Only
                          (FDO) signing.

                          In the event the Settlement Due Date (as detailed in Subscription
                          Agreement) and/or the Allocation of Premium to Coding and/or
                          Year of Account (as detailed in Fiscal and Regulatory) differ from
                          those shown in the PPL SECURITY DETAILS, the information
                          recorded in the PPL SECURITY DETAILS shall take precedence.



      PLACING
      PLATFORM
      LIMITED (PPL)
      ARRANGEMENTS:       (Re)insurers instruct Xchanging to accept any attachments and
                          additional information as detailed in this Market Reform Contract
                          and any subsequent endorsements thereto, without sight of
                          agreement from (re)insurers on the understanding that Marsh Ltd
                          has obtained agreement thereto from the applicable (re)insurers.


      NON–BUREAUX
      ARRANGEMENTS:       Where any Premium Payment Warranty (PPW) or Premium
                          Payment Condition (PPC) due date falls on a weekend or public
                          holiday, payment of premium by telegraphic transfer or any other
                          relevant electronic settlement method on the next working day will
                          be deemed to be in compliance with such PPW or PPC.

                          Where (Re)Insurers have agreed to regular (weekly/ monthly/
                          quarterly) accounting the Premium Payment Warranty (PPW) or
                          Premium Payment Condition (PPC) due date shall be overridden by
                          the accounting agreement.




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                                 FISCAL AND REGULATORY

      TAX PAYABLE BY
      INSURER(S):         None


      COUNTRY OF
      ORIGIN:             United States of America


      OVERSEAS
      BROKER:             Marsh USA Incorporated
                          1166 Avenue of the Americas
                          New York 10036-2774
                          United States of America


      BROKER:             Marsh Ltd
                          Tower Place
                          London
                          EC3R 5BU


      SURPLUS LINE
      BROKER:             Surplus Line Broker Name and Licence No.
                          Thomas Orrico #892706


                          Surplus Line Broker address:
                          1166 Avenue of the Americas
                          New York,
                          NY 100362708
                          United States of America


      US
      CLASSIFICATION:     US Surplus Lines.


      ALLOCATION OF
      PREMIUM TO
      CODING:             In respect of the premium allocated to the USA:
                          99% D2
                          1% 7T

                          In respect of the premium allocated to the Rest of the World:
                          100% D2




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                                                                              box will not be signed


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      REGULATORY
      CLIENT
      CLASSIFICATION:     Large Risk




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                        BROKER REMUNERATION AND DEDUCTIONS

      FEE PAYABLE BY
      CLIENT:             No


      TOTAL
      BROKERAGE:          21.5%


      OTHER
      DEDUCTIONS
      FROM PREMIUM:       None.




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                                                                   box will not be signed


                                                                      Contract Leader
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 Policy Number: (UMR) B0509FINFW1800559



 SECURITY DETAILS

  REFERENCES
   UMR (Unique Market Reference): B0509FINFW1800559
   Date contract printed to PDF: 17:45 06 December 2018


 SIGNED UNDERWRITERS

  Hiscox Syndicates
  Gary Lill
  Written Line                                   100.00%                  Signed Line    100.00%
  Agreed on                                      17:22 06 December 2018

  For and on behalf of:                                                   Written Line   Signed Line
  Lloyd's Underwriter Syndicate No. 0033 HIS,                             100.00%        100.00%
  London, England
  Bound as Slip Leader, Lloyd’s Leader

                       Lloyd's Stamp:            0033
                       LORS Code:                L0033
                       Reference:                17D3B180ADAA
                       Description:              34 D&O
                       Risk Code(s):             7T, D4




 Market Submission - Security Details                      Page 1 of 2                         06/12/2018 1
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 Policy Number: (UMR) B0509FINFW1800559



 SETTLEMENT INFORMATION

   Allocation of Premium to Coding

   7T at 1.00%

   D4 at 99.00%


   Allocation of Premium to Year of Account

   2018


   Terms of Settlement

    Settlement Due Date:                           28 January 2019

    Instalment Premium Period of Credit:           0 day(s)

    Adjustment Premium Period of Credit:           0 day(s)


 Lloyd's Underwriter Syndicate No. 0033 HIS, London, England
 Bureau Leader and Lloyd’s Leader
 Gary Lill




 Market Submission - Security Details                          Page 2 of 2   06/12/2018 1
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                                                 EFiled: Apr 01 2022 12:17PM EDT
                                                 Transaction ID 67446229
                                                 Case No. N22C-04-010 MMJ CCLD




                    EXHIBIT K
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 Pnce Forbes and Partners Limited                                                             507 FRF
 UMR: B0507 N17FA23160


                                              RISK DETAILS

TYPE:                    EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                         REIMBURSEMENT INSURANCE


INSURED:                 AMTRUST FINANCIAL SERVICES, INC.


MAILING
ADDRESS:                 59 Maiden Lane, 43rd Floor
                         New York
                         New York
                         10038
                         United States of America


PERIOD:                  From:     21s, October 2017
                         To:       21st October 2018
                         Both days at 12:01am local standard time, at the mailing address of the
                         Insured.


INTEREST:                Excess Directors and Officers Liability and Company Reimbursement
                         Insurance as more fully defined in the wording referenced herein.


LIWIIT OF
LIABILITY:               USD 15,000,000 in the aggregate

                         In excess of:

                         USD 25,000,000 in the aggregate, which in turn in excess of underlying primary
                         retention(s)


TERRITORIAL
LIMITS:                  Worldwide
                         12 3 4




CONDITIONS:                              Excess Form as attached
                                         Retroactive date inception. Wording as attached.
                                         Short Rate Cancellation Table NMA 45 as attached
                                         Small AP/RP Clause NMA 1168 as attached
                         5 6




                                         Nuclear Incident Exclusion NMA 1256 as attached
                                         Radioactive Contamination Exclusion Clause NMA 1477 as
                                         attached
                         7 8




                                         War and Terrorism Exclusion NMA 2918 as attached.
                                         TRIA Clause LMA 5019 as attached.
                         9.
                         10
                                         Sanctions Clause as attached.
                                         Premium Payment Clause LSW 3000 as attached.


SUBJECTIVITIES:          None.

CHOICE OF LAW
& JURISDICTION:          This insurance shall be governed by and construed in accordance with the law
                         of New York and each party agrees to submit to the exclusive jurisdiction of the
                         courts of the United States of America
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                                                                                          PRICE FORBES
 UMR : BO507 N17FA23160


PREMIUM:                  USD 1,000,000 (100%) Annual


PREMIUM
PAYMENT TERMS:            Premium Payment Clause LSW 3000 (60 days)



TAXES PAYABLE
BY INSURED AND
ADMINISTERED
BY INSURERÍS):            None applicable



INSURER
CONTRACT
DOCUMENTATION:            This document details the contract terms entered into by the insurer(s), and
                          constitutes the contract documentation.
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 UMR : B0507 N17FA23160




 DECLARATIONS



 EXCESS INSURANCE POLICY



 SUBJECT TO ALL OF THE TERMS, CONDITIONS AND LIMITATIONS OF THE FOLLOWED POLICY,
 THIS POLICY MAY ONLY APPLY TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS DURING
 THE POLICY PERIOD PROVIDED THAT SUCH CLAIM IS REPORTED IN WRITING TO THE
 UNDERWRITERS PURSUANT TO THE POLICY PROVISIONS. AMOUNTS INCURRED AS COSTS AND
 EXPENSES INCURRED IN THE DEFENSE OR SETTLEMENT OF CLAIMS SHALL REDUCE AND MAY
 EXHAUST THE APPLICABLE LIMIT OF LIABILITY AND ARE SUBJECT TO THE RETENTIONS. THE
 UNDERWRITERS SHALL NOT BE LIABLE FOR ANY AMOUNTS AFTER THE LIMIT OF LIABILITY
 HAS BEEN EXHAUSTED. PLEASE READ THIS POLICY CAREFULLY.

 These Declarations along with the Policy with endorsements shall constitute the contract between the Insureds and the
 Underwriters.


  Policy Number:         B0507 N17FA23160


  Item 1.      Named Insured:

               AMTRUST FINANCIAL SERVICES, INC.

               Principal Address:
               59 Maiden Lane, 43rd Floor
               New York
               New York
               10038
               United States of America



  Item 2.      Policy Period:

               From:      21st October 2017

               To:        21st October 2018

               Both dates at 12:01 a.m. Local Time at the Principal Address stated in Item 1.




  Item 3.      Limit of Liability:

               USD 15,000,000 Each claim, including costs and expenses incurred in the defense or
                              settlement of such claim.
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 UMR : B0507 N17FA23160


            USD 25,000,000 Aggregate for the Policy Period, including costs and expenses incurred
                           in the defense or settlement of all claims.

  Item 4.   Premium:

     USD 1，⑻0,000



  Item 5.   Notification pursuant to Clause VI. shall be given to:
            Underwriters, via:
            Price Forbes and Partners
            2 Minster Court
            Mincing Lane
            London EC3R 7PD

            Attention:
            iiiliarobinson@priceforbes.com

 Item 6.
            Underlying Insurance:

            Primary Policy Number ELU 152497-17 issued by Indian Harbor Insurance Company
            for a limit of USD 5,000,000 in the aggregate

            First Excess Policy Number DOC 1074701-00 issued by Zurich-American Insurance
            Company for a limit of USD 5,000,000 in the aggregate

            Second Excess Policy Number MNN626501/01/01/2017 issued by Axis Insurance
            Company for a limit of USD 5,000,000 in the aggregate

            Third Excess Policy Number B0507 N17FA23130 issued by Hiscox (Syndicate 33 at
            Lloyd’s) for a limit of USD 10,000,000 in the aggregate

  Item 7.
            Endorsements Effective at Inception:
                        Retroactive date inception.
             2          Short Rate Cancellation Table NMA 45.
             3          Small AP/RP Clause NMA 1168.
             4          Nuclear Incident Exclusion NMA 1256.
             5          Radioactive Contamination Exclusion Clause NMA 1477.
             6          War and Terrorism Exclusion NMA 2918.
                        TRIA Clause LMA 5019.
             8          Sanctions Clause.
             9          Premium Payment Clause LSW 3000.
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  UMR : B0507 N17FA23160




                                                EXCESS INSURANCE POLICY

  In consideration of the payment of the premium, in reliance upon all information and representations provided or made
  available by the Insureds to the Underwriters in connection with the underwriting of this Policy, the Underwriters and
  Named Insured, on behalf of all Insureds, agree as follows:

  I.    INSURING CLAUSE

        This Policy shall provide coverage in accordance with all of the terms, conditions and limitations (including, but not
        limited to, the exclusions and notice requirements) of the Followed Policy except for the Limit of Liability, the
        premium or as otherwise set forth herein. Coverage hereunder shall attach only after all of the Underlying Limits have
        been exhausted through payments by, or on behalf of, or in place of the insurers of the Underlying Insurance of
        amounts under the Underlying Insurance. The risk of uncollectibility of any Underlying Insurance (in whole or in
        part), whether because of financial impairment or insolvency of an insurer of the Underlying Insurance or for any
        other reason, is expressly retained by the Insureds and is not insured by or assumed by the Undcrwrilci5>.

  II.   DEFINITIONS

        A.   Followed Policy means the insurance policy identified in Item 6. of the Declarations.
        B.   Insureds mean all persons and entities covered under the Followed Policy.
        C.   Named Insured means all persons and entities set forth in Item 1. of the Declarations.
        D.   Policy Period means the period set forth in Item 2. of the Declarations.
        E.   Underlying Insurance means the Followed Policy and all other underlying insurance policies, if any, identified
             in Item 7. of the Declarations.
        F.   Underlying Limits mean an amount equal to the aggregate of all limits of liability of the Underlying Insurance.

  III. LIMIT OF LIABILITY

        The amount set forth in Item 3. of the Declarations shall be the maximum aggregate Limit of Liability of the
        Underwriters for all coverage under this Policy, regardless of the number of claims made against the Insureds or the
        time of payment and regardless of whether or not an extended reporting period applies.

  IV. CHANGES TO UNDERLYING INSURANCE AND DEPLETION OF UNDERLYING LIMITS

        If, subsequent to the inception date of this Policy, the terms, conditions or limitations of an Underlying Insurance are
        modified, the Insureds must notify the Underwriters in writing, as soon as practicable, of such modification. If any
        changes to the Followed Policy: (a) expand coverage, (b) change the policyholder name or address, or (c) modify
        premium, this Policy shall not follow those changes unless the Underwriters agree in writing to do so. If any coverage
        under any Underlying Insurance is subject to a sub-limit, then this Policy provides no coverage excess of such sub­
        limit, but the Underwriters shall recognize payment of such amount as reducing the Underlying Limit by such amount.
        Furthermore，if any amount covered under any policy issued to the Insureds outside of the United States of America (a
        “Foi.dgn Policy”)and the Underlying Insurance expressly provides for the reduction of the Underlying Limit by
        reason of payment of such amount under the applicable Foreign Policy，then the Underwriters shall recognize payment
        of such amount as reducing the Underlying Limit by such amount.

  V.    UNDERWRITERS RIGHTS

        The Undenvriters have the same rights and protections as the insurer of the Followed Policy and shall have the right,
        but not the obligation, at their sole discretion, to elect to participate in the investigation, settlement, prosecution or
        defense of any claim.

  VI. NOTICES




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  UMR : B0507 N17FA23160


      Where notice is permitted or required by the Followed Policy, the Insureds have the saine rights and obligations to
      notify the Undcrwdters under this Policy, except that such notice shall be given to the Underwriters at the address set
      forth in Item 5. of the Declarations. Notice to any other insurer shall not constitute notice to the Underwriters unless
      also given to the Underwriters as provided above.


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  507 PRF
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  UMR : B0507 N17FA23160




                                     RETROACTIVE DATE INCEPTION




  In consideration of the premium charged for this Policy, it is hereby understood and agreed that this Policy
  excludes any Loss or Claim based upon, arising out of, directly or indirectly resulting from or in consequence
  of, or in any way involving:

              any Wrongful Act actually or allegedly committed or any conduct actually or allegedly
              undertaken prior to 12.01am Local Time on 21st October 2017.

  2.          any other Wrongful Act occurring on or subsequent to the date stated in 1. above which:
              together with a Wrongful Act occurring prior to such date, would constitute Interrelated
              Wrongful Acts, or

  3.           any other conduct occurring on or subsequent to the date stated in 1. above, together with
               conduct occurring prior to such date, have as a common nexus any fact, circumstance,
               situation, event, transaction or series of facts, circumstances, situations, events or transactions.



  All other terms and conditions of this Policy remain unchanged.




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  507 PRF
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  UMR : BO507 N17FA23160


  NOTWITHSTANDING anything to the contrary contained herein and in consideration of the premium for which this
  insurance is written it is agreed that in the event of cancellation thereof by the Assured the earned premium shall be
  computed as follows:

                                  SHORT RATE CANCELLATION TABLE
  A.       For insurance written for one year:-

           Days Insurance                % of One                Days Insurance     % of One
           In Force                      Year Premium            In Force           Year Premium

                                          5                      154-156                   53
            2                             6                      157-160                   54
            3- 4. . . . . .               7                      161 - 164                 55
            5 - 6. . . . . .                8                    165-167                   56
            7 - 8. . . . . .             . 9                     168-171                   57
            9 - 10. . . . .                10                    172 - 175                 58
           11 - 12. . . . .                11                    176-178                   59
           13 - 14. . . . .                12                    179- 182(6 Months)...     60
           15- 16. . . . .                13                     183-18フ                   61
           17- 18. . . . .                14                     188-191                   62
           19- 20. . . . .                15                     192-196                   63
           21 - 22. . . . .               16                     197 - 200                 64
           23 - 25 . . . . .              17                     201 - 205                 65
           26 - 29 . . . . .              18                     206 - 209                 66
           30 - 32 (1 Month)....          19                     210-214(7 Months)...      67
           33 - 36 . . . . .              20                     215-218                   68
           37 - 40 . . . . .              21                     219-223                   69
           41 - 43. . . . .               22                     224 - 228                 70
           44 - 47 . . . . .              23                     229 - 232                 71
           48- 51. . . . .                24                     233 -237                  72
           52 - 54 . . . . .              25                     238-241                   73
           55 - 58 . . . . .              26                     242 - 246 (8 Months)...   74
           59 - 62 (2 Months) ••          27                     247-250                   75
           63 - 65 . . . . .              28                     251 -255                  76
           66 - 69 . . . . .              29                     256-260                   77
           70 - 73 . . . . .              30                     261 -264                  78
           74 - 76 . . . . .              31                     265 - 269                 79
           77- 80 . . . . .               32                     270 - 273 (9 Months)...   80
           81 - 83. . . . .               33                     274 - 278                 81
           84 - 87 . . . . .              34                     279 - 282                 82
           88- 91 (3 Months) ••           35                     283 - 287                 83
           92 - 94 . . . . .              36                     288 -291                  84
           95 - 98 . . . . .              37                     292 - 296                 85
           99- 102. . . . .               38                     297-301                   86
           103 - 105 . . . . .            39                     302 -305 (10 Months)..    87
           106- 109. . . . .              40                     306-310                   88
           110-113. . . . .               41                     311-314                   89
           114-116. . . . .               42                     315-319                   90
           117-120. . . . .               43                     320 - 323                 91
           121 - 124 (4 Months)           44                     324 - 328                 92
           125 - 127 .................    45                     329 - 332                 93
           128-131.................       46                     333 - 337 (11 Months)..   94
           132- 135 .................     47                     338 - 342                 95
           136- 138 .................     48                     343 - 346                 96
           139- 142.................      49                     347 -351                  97
           143 - 146.................     50                     352 - 355                 98
           147- 149.................      51                     356 - 360                 99
           150- 153 (5 Months)...         52                     361 -366 (12 Months)..    100



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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 239 of 1049 PageID #: 251


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  B.        For Insurances written for

                    If insurance has been in force for 12 months or less, apply the short rate table to the full annual
                    premium determined as for an insurance written for a term of one year.

            2.      If insurance has been in force for more than 12:-

                    a)       Determine ftill annual premium as for an insurance written for a term of one year.

                    b)       Deduct such premium from the full insurance premium and on the remainder calculate the
                             pro-rata earned premium on the basis of the ratio of the length of time beyond one year the
                             insurance has been in force to the length of time beyond one year for which the insurance
                             was originally written.

                    c)       Add premium produced in accordance with items a) and b) to obtain earned premium during
                             the full period of insurance that has been in force.


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                  SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


  NOTWITHSTANDING anything to the contrary contained herein and in consideration of the premium for
  which this Insurance is written, it is understood and agreed that whenever an additional or return premium of
  $2 or less becomes due from or to the Assured on account of the adjustment of a deposit premium, or of an
  aUemtion in coverage or rate during the term or for any other reason，the collection of such premium from
  the Assured will be waived or the return of such premium to the Assured will not be made, as the case may
  be.


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           NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)


  For attachment to insurances of the following classifications in the U.S.A., its Territories and Possessions,
  Puerto Rico and the Canal Zone:

             Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners or
             Contractors (including railroad) Protective Liability, Manufacturers and Contractors Liability,
             Product Liability, Professional and Malpractice Liability, Storekeepers Liability, Garage Liability,
             Automobile Liability (including Massachusetts Motor Vehicle or Garage Liability),

  not being insurances of the classifications to wmch the Nuclear Incident Exclusion Clause-Liability-Direct
  (Limited) applies.

  This Policy* does not apply:

      I.         Under any しlabiüty Coverage, to injury, sickness, disease, death or destruction:

                 (a) with respect to which an insured under the Policy is also an insured under a nuclear energy
                     liability policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic
                     Energy Liability Underwriters or Nuclear Insurance Association of Canada, or would be an
                     insured under any such policy but for its termination upon exhaustion of its limit of liability;
                     or

                 (b) resulting from the hazardous properties of nuclear material and with respect to which (1)
                     any person or organization is required to maintain financial protection pursuant to the
                     Atomic Energy Act of 1954, or any law amendatory thereof, or (2) the insured is, or had this
                     Policy not been issued would be, entitled to indemnity from the United States of America,
                     or any agency thereof, under any agreement entered into by the United States of America,
                     or any agency thereof, with any person or organization.

      II.        Under any Medical Payments Coverage, or under any Supplementary Payments Provision
                 relating to immediate medical or surgical relief, to expenses incurred with respect to bodily
                 injury, sickness, disease or death resulting from the hazardous properties of nuclear material and
                 arising out of the operation of a nuclear facility by any person or organization.

      III.       Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting from
                 the hazardous properties of nuclear material, if:

                 (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or on behalf of,
                     an insured or (2) has been discharged or dispersed therefrom;

                 (b) the nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
                     processed, stored, transported or disposed of by or on behalf of an insured; or

                 (c) the injury, sickness, disease, death or destruction arises out of the furnishing by an insured
                     of services, materials, parts or equipment in connection with the planning, construction,
                     maintenance, operation or use of any nuclear facility, but if such xacility is located within
                     the United States of America, its territories or possessions or Canada, this exclusion (c)
                     applies only to injury to or destruction of property at such nuclear facility.

      IV.        As used in this endorsement:
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              "hazardous properties" include radioactive, toxic or explosive properties; ’'nuclear material"
              means source material, special nuclear material or by-product material; "source material",
              "special nuclear material", and "by-product material" have the meanings given them in tlie
              Atomic Energy Act 1954 or in any law amendatory thereof; "spent fuel" means any fuel element
              or fuel component, solid or liquid, which has been used or exposed to radiation in a nuclear
              reactor; "waste" means any waste material (1) containing by-product material and (2) resulting
              from the operation by any person or organization of any nuclear facility included within the
              definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear xacility" means:

              (a) any nuclear reactor，

              (b) any equipment or device designed or used for (1) separating the isotopes of uranium or
                  plutonium, (2) processing or utilizing spent fuel, or (3) handling, processing or packaging
                  waste,

              (c) any equipment or device used for the processing, fabricating or alloying of special nuclear
                  material if at any time the total amount of such material in the custody of the insured at the
                  premises where such equipment or device is located consists of or contains more than 25
                  grams of plutonium or uranium 233 or any combination thereof, or more than 250 grams of
                  uranium 23d,

              (d) any structure, basin, excavation, premises or place prepared or used for the storage or
                  disposal of waste,

              and includes the site on which any of the foregoing is located, all operations conducted on such
              site and all premises used for such operations; "nuclear reactor" means any apparatus designed
              or used to sustain nuclear fission in a self-supporting chain reaction or to contain a critical mass
              of fissionable material. With respect to injury to or destruction of property, the word "injury" or
              "destruction" includes all forms of radioactive contamination of property.

  It is understood and agreed that, except as specifically provided in the foregoing to the contrary，this clause
  is subject to the terms，exclusions, conditions and limitations of the Policy to which it is attached.

  * NOTE: As respects policies which afford liability coverages and other forms of coverage in addition, the
  words underlined should be amended to designate the liability coverage to which this clause is to apply.


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     RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


  For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liabilky-Direct) to
  liability insurances affording worldwide coverage.

  In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or the Canal
  Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly caused by or
  contributed to by or arising from ionising radiations or c이itamination by radioactivity from any nuclear fuel
  or from any nuclear waste from the combustion of nuclear fuel.


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                                 War ana Terrorism Exclusion Endorsement


  Notwithstanding any provision to the contrary within this Policy or any Endorsement thereto it is agreed that
  this Policy excludes loss, damage, cost or expense of whatsoever nature directly or indirectly caused by,
  resulting from or in connection with any of the following regardless of any other cause or event contributing
  concurrently or in any other sequence to the loss;


  ⑴       war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be declared or
          not), civil war, rebellion, revolution, insurrection, civil commotion assuming the proportions of or
          amounting to an uprising, military or usurped power; or

  (2)     any act of terrorism.
          For the purpose of this endorsement an act of terrorism means an act, including but not limited to
          the use of force or violence and/or the threat thereof, of any person or group(s) of persons, whether
          acting alone or on behalf of or in connection with any organisation(s) or government(s), committed
          for political, religious, ideological or similar purposes including the intention to influence any
          government and/or to put the public, or any section of the public, in fear.


  This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or indirectly
  caused by, resulting from or in connection with any action taken in controlling, preventing, suppressing or in
  any way relating to (1) and/or (2) above.


  If Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is not covered by
  this policy, the burden of proving the contrary shall be upon the Assured.

  In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder shall
  remain in full force and effect.

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  08/10/2001




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                                                  TRIA Clause


  Coverage for acts of teiTorism is already included in the policy (including any quotation for insurance) to
  which this notice applies. You should know that, under the policy, any losses caused by certified acts of
  terrorism would be partially reimbursed by the United States under a formula established by federal law.
  Under this formula, the United States pays 90% (85% in respect of losses occurring after 31 December
  2006) of covered terrorism losses exceeding the statutorily established deductible paid by the insurer
  providing the coverage. The portion of your annual premium that is attributable to coverage for certified acts
  of terrorism as defined in the Terrorism Risk insurance Act is: 1%



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                                            SANCTIONS CLAUSE




  No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any
  benefit hereunder to the extent that the provision of such cover, payment of such claim or provision of such
  benefit would expose the insurer, or its ultimate holding company, to any sanction, prohibition or restriction
  implemented pursuant to resolutions of the United Nations or the trade and economic sanctions, laws or
  regulations of the European Union, United Kingdom, or United States of America.



  All other terms and conditions remain unaltered
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                                          PREMIUM PAYMENT CLAUSE


  The (Re)lnsured undertakes that premium will be paid in full to Underwriters within 60 days of inception of
  this policy (or, in respect of instalment premiums, when due).

  If the premium due under this policy has not been so paid to Underwriters by the 60th day from the inception
  of this policy (and, in respect of instalment premiums, by the date they are due) Underwriters shall have the
  right to cancel this policy by notifying the (Re)lnsured via the broker in writing. In the event of cancellation,
  premium is due to Underwriters on a pro rata basis for the period that Underwriters are on risk but the full
  policy premium shall be payable to Underwriters in the event of a loss or occurrence prior to the date of
  termination which gives rise to a valid claim under this policy.

  It is agreed that Underwriters shall give not less than 10 days prior notice of cancellation to the (Re)lnsured
  via the broker. If premium due is paid in full to Underwriters before the notice period expires, notice of
  cancellation shall automatically be revoked. If not, the policy shall automatically terminate at the end of the
  notice period.

  Unless otherwise agreed, the Leading Underwriter (and Agreement Parts if appropriate) are authorised to
  exercise rights under this clause on their own behalf and on behalf of all Underwriters participating in this
  contract.

  If any provision of this clause is found by any court or administrative body of competent jurisdiction to be
  invalid or unenforceable, such invalidity or unenforceability will not affect the other provisions of this clause
  which will remain in full force and effect.

  Where the premium is to be paid through a London Market Bureau, payment to Underwriters will be deemed
  to occur on the day of delivery of a premium advice note to the Bureau.



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                                              INFORMATION



  2.017 submission as received from Brown & Brown一     -
  AmTrust Inc. Conference call dated 20th October 2017




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                                                   SECURITY DETAILS


  INSURER’S LIABILITY:

  (Re)insurer’s liability several not joint
  The liability of a (re)insurer under this contract is several and not joint with other (re)insurers party to this
  contract. A (re)insurer is liable only for the proportion of liability it has underwritten. A (re)insurer is not jointly
  liable for the proportion of liability underwritten by any other (reinsurer. Nor is a (re)insurer otherwise
  responsible for any liability of any other (re)insurer that may underwrite this contract.

  The proportion of liability under this contract underwritten by a (re)insurer (or, in the case of a Lloyd's
  syndicate, the total of the proportions underwritten by all the members of the syndicate taken together) is
  shown next to its stamp. This is subject always to the provision concerning "signing" below.

  In the case of a Lloyd's syndicate, each member of the syndicate (rather than the syndicate itself) is a
  (re)insurer. Each member has underwritten a proportion of the total shown for the syndicate (that total itself
  being the total of the proportions underwritten by all the members of the syndicate taken together). The
  liability of each member of the syndicate is several and not joint with other members. A member is liable
  only for that member's proportion. A member is not jointly liable for any other member's proportion. Nor is
  any member otherwise responsible for any liability of any other (re)insurer that may underwrite this contract.
  The business address of each member is Lloyd's, One Lime Street, London EC3M 7HA. The identity of
  each member of a Lloyd's syndicate and their respective proportion may be obtained by writing to Market
  Services, Lloyd's, at the above address.


  Proportion of liability
  Unless there is “signing” (see below), the proportion of liability under this contract underwritten by each
  (re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions underwritten by all the
  members of the syndicate taken together) is shown next to its stamp and is referred to as its "written line”.

  Where this contract permits, written lines, or certain written lines, may be adjusted ぐ'signed”). In that case a
  schedule is to be appended to this contract to show the definitive proportion of liability under this contract
  underwritten by each (re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions
  underwritten by all the members of the syndicate taken together). A definitive proportion (or, in the case of a
  Lloyd's syndicate, the total of the proportions underwritten by all the members of a Lloyd's syndicate taken
  together) is referred to as a "signed l¡ne”. The signed lines shown in the schedule will prevail over the written
  lines unless a proven error in calculation has occurred.

  Although reference is made at various points in this clause to "this contract” in the singular, where the
  circumstances so require this should be read as a reference to contracts in the plural.


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  21 June 2007




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  ORDER HEREON:            100%

  BASIS OF
  WRITTEN LINES:           Percentage of Whole

                           NMA 2419 Lines Clause, if applicable.

  SIGNING
  PROVISIONS:              In the event that the written lines hereon exceed 100% of the order, any lines
                           written “to stand" will be allocated in full and all other lines will be signed down
                           in equal proportions so that the aggregate signed lines are equal to 100% of
                           the order without further agreement of any of the (re)insurers.

                           However:

                           a) in the event that the placement of the order is not completed by the
                              commencement date of the period of insurance then all lines written by that
                              date will be signed in full;

                           b) the signed lines resulting from the application of the above provisions can
                              be varied, before or after the commencement date of the period of
                              insurance, by the documented agreement of the (re)insured, or the
                              (rejinsured's representatives, and the Slip Leader. Such variation to be in
                              accordance with provision a) above with the resulting variation in signed
                              lines commencing from the date set out in that agreement.

                               Any other variation to the contracts will take effect only by the documented
                               agreement of the (re)insured, or the (re)insured's representatives, and all
                               (re)insurers whose lines are to be varied. Such variation to the contracts
                               will take effect only when all such (re)insurers have agreed with the
                               resulting variation in signed lines commencing from the date set out in that
                               agreement.

  LINE CONDITIONS:         None




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                                             WRITTEN LINES

 In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the premium charged
 by the slip leader.

(Re)insurers may not seek to guarantee for themselves terms as favourable as those which others
subsequently achieve during the placement.


 Signed Line
 per cent (%)




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                                                              Chubb Global Markets - Financial Lines
                                                          a trading name of Chubb Underwriting Agencies Ltd

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                                           All underwriters as per LPSO Registered Consortium No 9562
                                           being Lloyd’s Syndiicates BAR 1955 (66.66%) &                       17.
                                           AML 2001 (16.67%b) & EVE 2786 (16.67%)
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 252 of 1049 PageID #: 264

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                                             WRITTEN LINES

 In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the premium charged
 by the slip leader

(Re)insurers may not seek to guarantee for themselves terms as favourable as those which others
subsequently achieve during the placement.


 Signed Line
 per cent (%)


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                     EXHIBIT L
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 254 of 1049 PageID #: 266
      MARSH LTD
      CONTRACT NUMBER

      B0509FINFW1800560                                                             Page 1 of 24


                                            RISK DETAILS

      UNIQUE MARKET
      REFERENCE:            B0509FINFW1800560


      TYPE:                 EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                            REIMBURSEMENT INSURANCE

      INSURED:              AMTRUST FINANCIAL SERVICES, INC.


                            PRINCIPAL ADDRESS:
                            59 Maiden Lane
                            43rd Floor
                            New York 10038
                            United States of America


      PERIOD:               From: 29th November 2018
                            To: 29th November 2024
                            Both days at 12.01 am Local Standard Time at the Principal
                            Address.


      INTEREST:             Excess Directors and Officers Liability and Company
                            Reimbursement Insurance as more fully defined in the wording
                            referenced herein.


      LIMIT OF LIABILITY:   USD 15,000,000 in the aggregate

                            In excess of:

                            USD 25,000,000 in the aggregate, which in turn in excess of
                            underlying primary retention(s)

      TERRITORIAL
      LIMITS:               Worldwide.


      CONDITIONS:              1. Excess Wording, as attached.
                               2. Schedule of underlying Insurance:

                               Primary Contract
                               Policy No: ELU152497-17
                               Insurer: Indian Harbor Insurance Company
                               Limit: USD 5,000,000



                                                                               If placed via PPL this
                                                                              box will not be signed


                                                                                 Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

      B0509FINFW1800560                                                           Page 2 of 24



                             First Excess Contract
                             Policy No: DOC1074701
                             Insurer: Zurich American Insurance Company
                             Limit: USD 5,000,000

                             Second Excess Contract
                             Policy No: MNN626501/01/01/2017
                             Insurer: Axis Insurance Company
                             Limit: USD 5,000,000

                             Third Excess Contract
                             Policy No: USF00255018
                             Insurer: Allianz Global Corporate Specialty
                             Limit: USD 5,000,000

                             Fourth Excess Contract
                             Policy No: FINFW1800559
                             Insurer: Lloyds Syndicate 033
                             Limit: USD 5,000,000

                             3. Small AP/RP Clause NMA 1168, as attached.
                             4. Nuclear Incident Exclusion NMA 1256, as attached.
                             5. Radioactive Contamination Exclusion Clause NMA 1477, as
                                 attached.
                             6. War and Terrorism Exclusion NMA 2918, as attached.
                             7. Sanction Limitation and Exclusion Clause LMA3100, as
                                 attached.
                             8. Tie in of limits clause, Prior Policy Endorsement, as
                                 attached
                             9. Premium Payment Clause LSW3000, as attached.
                             10. LMA 9105 (amended) – Policyholder Disclosure Notice of
                                 Terrorism Insurance Coverage, as attached.

                          Special Cancellation/Insurer Downgrade Clause as attached.

                          IUA 09-054 Foreign Account Tax Compliance Act (‘FATCA’) - only
                          to apply in respect of FATCA in scope contracts, as attached.

                          Where the terms ‘(Re)Insurer’ and/or ‘contract period’ and/or
                          ‘(Re)Insured’ do not appear in the Risk Details or attached Policy
                          wording the functional equivalents of these terms shall be deemed
                          incorporated herein.


      CHOICE OF LAW &
      JURISDICTION:       Unless stated herein to the contrary, this (Re)Insurance shall be
                          governed by and construed in accordance with the laws of US New
                          York and the exclusive jurisdiction of the US New York courts.



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      MARSH LTD
      CONTRACT NUMBER

      B0509FINFW1800560                                                                 Page 3 of 24



      PREMIUM:              USD 2,000,000.00 (100%)


      PREMIUM PAYMENT
      TERMS:                Premium Payment Clause LSW 3000


      TAXES PAYABLE
      BY THE INSURED
      AND
      ADMINISTERED BY
      INSURERS:             None


      TAXES PAYABLE
      BY THE
      INSURERS AND
      ADMINISTERED BY
      INSURED OR THEIR
      AGENT:                None


      RECORDING,
      TRANSMITTING AND
      STORING
      INFORMATION:     Where Marsh Ltd maintains risk and claim data, information or
                       documents, Marsh Ltd may hold such data, information or
                       documents electronically.

      INSURER
      CONTRACT
      DOCUMENTATION:        This document details the contract terms entered into by the
                            (Re)Insurers and constitutes the contract document.

                            This contract is subject to US state Surplus lines requirements. It is
                            the responsibility of the surplus lines broker to affix a surplus lines
                            notice to the contract document before it is provided to the Insured.
                            In the event that the surplus lines notice is not affixed to the
                            contract document the Insured should contact the surplus lines
                            broker.




                                                                                   If placed via PPL this
                                                                                   box will not be signed


                                                                                     Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

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                                  MARSH EXCESS LAYER POLICY

      In consideration of the Insured having paid or having promised to pay the premium, and
      subject to all of the terms, conditions and limitations of this excess policy, the insurers
      described in the SECURITY DETAILS of this policy (‘Insurer’) and the Insured agree as
      follows:

      1.     Insuring agreement

      1.1    The Insurer will provide the Insured with insurance coverage upon the terms,
             conditions and limitations of the Primary Policy except insofar as express provision
             for any matter is set out in this excess policy, and only insofar as necessary, the
             terms conditions and limitations set out in this excess policy will prevail over the
             corresponding terms, conditions and limitations of the Primary Policy.

      1.2    Subject to the Limit of Liability the Insurer will pay to or on behalf of the Insured
             that proportion of the loss which exceeds the Underlying Insurance.

      1.3    Subject to the provisions of sub-clause 1.4, unless and to the extent that clause 4 of
             this excess policy applies, the Insurer will have no liability under this excess policy
             unless and until all of the Underlying Insurance has been exhausted by the
             payment of losses under the Underlying Insurance.

      1.4    For the purposes of this excess policy, losses shall be deemed to have been paid
             under an Underlying Insurance if all or any of the insurers subscribing thereto have
             paid, or have agreed to pay such losses, or have had their liability to pay such losses
             established by judgment, arbitration award or other final binding adjudication. Such
             payment will, for the purposes of this excess policy, be deemed to have been made
             on the date of payment, agreement or adjudication, whichever occurs first.

             Furthermore:

             (a)    If a payment in respect of a loss is made under an Underlying Insurance of
                    an amount which is less than the applicable limit of liability under that
                    Underlying Insurance (but the relevant covered loss of the Insured exceeds
                    the applicable limit of liability under that Underlying Insurance), then such
                    payment will, for the purposes of determining the application of this excess
                    policy to such covered loss, be deemed to exhaust the applicable limit of
                    liability of that Underlying Insurance provided the Insurer will be liable to
                    pay only that part of the covered loss which exceeds the Underlying
                    Insurance.




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            (b)    If any insurer participating on an Underlying Insurance is or becomes
                   Insolvent then, for the purposes of this excess policy, such Insolvent insurer
                   will be deemed to have paid in full the amount of its liability for losses under
                   such Underlying Insurance, but only in the event that either:

                   (i)    any other insurer participating on the relevant Underlying Insurance
                          pays, or agrees to pay or has its liability to pay established by
                          judgment, arbitration award or other final binding adjudication,
                          whichever occurs first; or

                   (ii)   an Insured establishes that the Insurer would be liable hereunder but
                          for the Insolvency.

            (c)    The Insurer will recognise the erosion of Underlying Insurance whether or
                   not cover provided in such Underlying Insurance is also provided by this
                   excess policy.

      2.    Definitions

      2.1   Insolvent or Insolvency means that any step, application, order, proceeding or
            appointment has been taken or made in respect of an entity for composition or
            arrangement with creditors, winding-up, dissolution, administration, receivership
            (administrative or otherwise) or bankruptcy, or that the entity is unable to pay its
            debts.

      2.2   Insured means all persons, organisations and entities as are insured under the
            Primary Policy for their own separate insurable interests.

      2.3   Insurer means those entities and/or syndicates who are identified as underwriters or
            insurers by affixing of their seal or stamp in the SECURITY DETAILS section of this
            contract.

      2.4   Limit of Liability means the amount set forth in the RISK DETAILS of this policy,
            which will be the maximum sum the Insurer is liable to pay under this excess policy.

      2.5   Primary Policy means the primary contract identified in the RISK DETAILS of this
            policy.

      2.6   Policy Period means the period specified in the RISK DETAILS of this policy.

      2.7   Underlying Insurance means the Primary Policy together with any and all excess
            policies providing together the amount of cover specified at item (b) of the limit of
            liability in the RISK DETAILS of this policy, and any policies replacing any of them.




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      3.    Maintenance of Underlying Insurance

      3.1   Subject to sub-clauses 3.2 to 3.4 below, all of the Underlying Insurance will be
            maintained during the Policy Period in full effect, except for any depletion of
            underlying limits.

      3.2   The Insured’s failure to maintain Underlying Insurance by reason of an action by
            an insurer subscribing to the Underlying Insurance (other than in relation to
            cancellation for the non-payment of premium by the Insured) will not invalidate this
            excess policy but, and subject to the application of clause 4, the Insurer will not be
            liable to a greater extent or at an earlier point in time than if sub-clause 3.1 had been
            complied with. Nothing in this clause will negate clause 6 of this excess policy.

      3.3   In the event of a failure by the Insured to give notice or to exercise any extension
            under any Underlying Insurance the Insurer will not be liable under this excess
            policy to a greater extent or at an earlier point in time than they would have been in
            the absence of such failure.

      3.4   In the event of the Insolvency of any insurer participating on any Underlying
            Insurance the Insured shall not be in breach of the obligations under sub-clause 3.1
            above if the Underlying Insurance is no longer in full force and effect as a result of
            that Insolvency.

      4.    Depletion of Underlying Limits

      4.1   In the event and to the extent of the depletion or exhaustion of any limit of liability of
            the Underlying Insurance other than as provided for in sub-clause 4.2 below, and
            as a result of payment of a loss or losses under the Underlying Insurance, this
            excess policy will (subject to the Limit of Liability and terms, conditions and
            limitations of this excess policy) continue and operate for subsequent losses as
            excess insurance over the amount of the relevant limit of liability remaining under
            such Underlying Insurance.

      4.2   In the event of the exhaustion of any aggregate limit of liability applicable under the
            Underlying Insurance as a result of the payment of loss or losses under the
            Underlying Insurance this excess policy will (subject to the Limit of Liability and
            terms, conditions and limitations of this excess policy) continue for subsequent
            losses as primary insurance in respect of any subsequent loss or losses that would
            otherwise have been covered by such Underlying Insurance but for the exhaustion
            of that aggregate limit of liability.

      4.3   In the event that this excess policy is required to operate as primary insurance by
            virtue of sub-clause 4.2 above:

            (a)    any excess or retention specified in the Primary Policy shall apply to this
                   excess policy, otherwise no excess or retention shall apply to this excess
                   policy;




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            (b)    in respect of any loss or losses for which the Primary Policy imposed a sub-
                   limit of liability, this excess policy will provide cover for such loss or losses,
                   including any unpaid portion of that sub-limit.

      4.4   For the purposes of this clause 4, the determination of whether there has been any
            payment of losses under and/or exhaustion of any Underlying Insurance will be
            made in accordance with sub-clause 1.4. However, and for the purposes of this
            clause 4 only:

            (a)    if and to the extent that paragraph 1.4(a) above applies, any and all amounts
                   representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount paid by that Underlying Insurance

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above

            and

            (b)    if and to the extent that sub-paragraph 1.4(b)(i) above applies, any and all
                   amounts representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount that any insurer participating on the relevant Underlying
                           Insurance pays, or agrees to pay or has its liability to pay established
                           by judgment, arbitration award or other final binding adjudication

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above.

      4.5   An Underlying Insurance will not be deemed exhausted solely by reason of the
            Insolvency of an insurer participating thereon.

      5.    Claims

      5.1   Any first notice of a claim or circumstance (or equivalent term by which the Primary
            Policy identifies matters potentially giving rise to notifications thereunder in respect
            of a loss or losses) required to be given under the terms of the Primary Policy, will
            also be given to the Insurer under this excess policy.




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      5.2   In respect of any matter notified pursuant to sub-clause 5.1 above:

            (a)    the Insured will inform the Insurer of any material developments in relation to
                   such matter;

            (b)    without prejudice to paragraph 5.2(a) above the rights and obligations set out
                   in any claims investigation, claims co-operation, claims handling, claims
                   defence, claims assessment and/or claims settlement provisions of the
                   Primary Policy will be incorporated into this excess policy, but will not be
                   enforceable for the purpose of this excess policy unless and until the loss or
                   losses (including any defence costs or other fees incurred by the Insured for
                   which indemnity is available under the Primary Policy) likely to arise from
                   such matter have the potential to deplete the Underlying Insurance such
                   that the policy immediately underlying this excess policy will be eroded to the
                   extent of 50% or more of the limit of liability of such immediately underlying
                   policy.

      6.    Alteration

      6.1   No amendment to the Primary Policy during the Policy Period will be effective in
            extending the scope of this excess policy, until agreed in writing by the Insurer.

      6.2   No claim payment made as a consequence of an amendment to the Primary Policy
            during the Policy Period will operate to deplete or exhaust any limit of liability of the
            Underlying Insurance unless such amendment has been agreed in writing by the
            Insurer.

      7.    Governing Law and Jurisdiction

      7.1   The constructions, interpretation and meaning of the terms, exclusions limitations
            and conditions of this excess policy shall be determined in accordance with the laws
            of the state or country specified in the RISK DETAILS of this policy, and any dispute
            arising hereunder will be subject to the exclusive jurisdiction of the courts of the state
            or country specified in the RISK DETAILS of this policy.

      8.    Dispute Resolution

      8.1   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy, the provisions of the Primary Policy are incorporated into this excess
            policy for the purposes of determining the dispute resolution procedures applicable to
            this excess policy.

      8.2   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy in relation to matters that are also the subject of a dispute between the
            Insured and the insurers of any Underlying Insurance then those disputes shall be
            heard together in the same court or arbitration proceedings.




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                  SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


      NOTWITHSTANDING anything to the contrary contained herein and in consideration of the
      premium for which this Insurance is written, it is understood and agreed that whenever an
      additional or return premium of $2 or less becomes due from or to the Assured on account of
      the adjustment of a deposit premium, or of an alteration in coverage or rate during the term
      or for any other reason, the collection of such premium from the Assured will be waived or
      the return of such premium to the Assured will not be made, as the case may be.
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         NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

      For attachment to insurances of the following classifications in the U.S.A., its Territories and
      Possessions, Puerto Rico and the Canal Zone:

                Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability,
                Owners or Contractors (including railroad) Protective Liability, Manufacturers and
                Contractors Liability, Product Liability, Professional and Malpractice Liability,
                Storekeepers Liability, Garage Liability, Automobile Liability (including
                Massachusetts Motor Vehicle or Garage Liability),

      not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
      Liability-Direct (Limited) applies.

      This Policy* does not apply:

         I.        Under any Liability Coverage, to injury, sickness, disease, death or destruction:

                   (a) with respect to which an insured under the Policy is also an insured under a
                       nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                       Association, Mutual Atomic Energy Liability Underwriters or Nuclear
                       Insurance Association of Canada, or would be an insured under any such
                       policy but for its termination upon exhaustion of its limit of liability; or

                   (b) resulting from the hazardous properties of nuclear material and with respect
                       to which (1) any person or organization is required to maintain financial
                       protection pursuant to the Atomic Energy Act of 1954, or any law amendatory
                       thereof, or (2) the insured is, or had this Policy not been issued would be,
                       entitled to indemnity from the United States of America, or any agency
                       thereof, under any agreement entered into by the United States of America,
                       or any agency thereof, with any person or organization.

         II.       Under any Medical Payments Coverage, or under any Supplementary Payments
                   Provision relating to immediate medical or surgical relief, to expenses incurred
                   with respect to bodily injury, sickness, disease or death resulting from the
                   hazardous properties of nuclear material and arising out of the operation of a
                   nuclear facility by any person or organization.

         III.      Under any Liability Coverage, to injury, sickness, disease, death or destruction
                   resulting from the hazardous properties of nuclear material, if:

                   (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or
                       on behalf of, an insured or (2) has been discharged or dispersed therefrom;

                   (b) the nuclear material is contained in spent fuel or waste at any time
                       possessed, handled, used, processed, stored, transported or disposed of by
                       or on behalf of an insured; or

                   (c) the injury, sickness, disease, death or destruction arises out of the furnishing
                       by an insured of services, materials, parts or equipment in connection with


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                    the planning, construction, maintenance, operation or use of any nuclear
                    facility, but if such facility is located within the United States of America, its
                    territories or possessions or Canada, this exclusion (c) applies only to injury
                    to or destruction of property at such nuclear facility.

         IV.     As used in this endorsement:

                 "hazardous properties" include radioactive, toxic or explosive properties; "nuclear
                 material" means source material, special nuclear material or by-product material;
                 "source material", "special nuclear material", and "by-product material" have the
                 meanings given them in the Atomic Energy Act 1954 or in any law amendatory
                 thereof; "spent fuel" means any fuel element or fuel component, solid or liquid,
                 which has been used or exposed to radiation in a nuclear reactor; "waste" means
                 any waste material (1) containing by-product material and (2) resulting from the
                 operation by any person or organization of any nuclear facility included within the
                 definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility"
                 means:

                 (a) any nuclear reactor,

                 (b) any equipment or device designed or used for (1) separating the isotopes of
                     uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                     processing or packaging waste,

                 (c) any equipment or device used for the processing, fabricating or alloying of
                     special nuclear material if at any time the total amount of such material in the
                     custody of the insured at the premises where such equipment or device is
                     located consists of or contains more than 25 grams of plutonium or uranium
                     233 or any combination thereof, or more than 250 grams of uranium 235,

                 (d) any structure, basin, excavation, premises or place prepared or used for the
                     storage or disposal of waste,

                 and includes the site on which any of the foregoing is located, all operations
                 conducted on such site and all premises used for such operations; "nuclear
                 reactor" means any apparatus designed or used to sustain nuclear fission in a
                 self-supporting chain reaction or to contain a critical mass of fissionable material.
                 With respect to injury to or destruction of property, the word "injury" or
                 "destruction" includes all forms of radioactive contamination of property.

      It is understood and agreed that, except as specifically provided in the foregoing to the
      contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
      Policy to which it is attached.
      * NOTE: As respects policies which afford liability coverages and other forms of coverage in
      addition, the words underlined should be amended to designate the liability coverage to
      which this clause is to apply.

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      NMA1256



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        RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


      For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-
      Direct) to liability insurances affording worldwide coverage.

      In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or
      the Canal Zone, this Policy does not cover any liability of whatsoever nature directly or
      indirectly caused by or contributed to by or arising from ionising radiations or contamination
      by radioactivity from any nuclear fuel or from any nuclear waste from the combustion of
      nuclear fuel.


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      NMA1477




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                        WAR AND TERRORISM EXCLUSION ENDORSEMENT

      Notwithstanding any provision to the contrary within this insurance or any endorsement
      thereto it is agreed that this insurance excludes loss, damage, cost or expense of
      whatsoever nature directly or indirectly caused by, resulting from or in connection with any of
      the following regardless of any other cause or event contributing concurrently or in any other
      sequence to the loss;

      1. war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
         declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming
         the proportions of or amounting to an uprising, military or usurped power; or

      2. any act of terrorism.

         For the purpose of this endorsement an act of terrorism means an act, including but not
         limited to the use of force or violence and/or the threat thereof, of any person or group(s)
         of persons, whether acting alone or on behalf of or in connection with any organisation(s)
         or government(s), committed for political, religious, ideological or similar purposes
         including the intention to influence any government and/or to put the public, or any
         section of the public, in fear.

      This endorsement also excludes loss, damage, cost or expense of whatsoever nature
      directly or indirectly caused by, resulting from or in connection with any action taken in
      controlling, preventing, suppressing or in any way relating to 1 and/or 2 above.

      If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or
      expense is not covered by this insurance the burden of proving the contrary shall be upon
      the Assured.

      In the event any portion of this endorsement is found to be invalid or unenforceable, the
      remainder shall remain in full force and effect.


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      NMA2918




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                         SANCTION LIMITATION AND EXCLUSION CLAUSE

      No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any
      claim or provide any benefit hereunder to the extent that the provision of such cover,
      payment of such claim or provision of such benefit would expose that (re)insurer to any
      sanction, prohibition or restriction under United Nations resolutions or the trade or economic
      sanctions, laws or regulations of the European Union, United Kingdom or United States of
      America.

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      LMA3100




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                                TIE-IN OF LIMITS CLAUSE – POLICIES

      It is agreed that:

      In consideration of the premium charged, it is hereby understood and agreed that the
      Limit of Liability of the Insurer for Loss under this Policy, UMR B0509FINFW1800560, and
      the prior Policy, UMR B0509FINFW1800153 (amended from UMR B0507N17FA23160),
      shall be combined.

      Accordingly, the Limit of Liability for Loss under either Policy mentioned above shall be
      reduced by Loss incurred under either Policy.


      All other terms, conditions and exclusions remain unchanged.




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                                      PREMIUM PAYMENT CLAUSE

      The (Re)Insured undertakes that premium will be paid in full to Underwriters within 60 days
      of inception of this policy (or, in respect of instalment premiums, when due).

      If the premium due under this policy has not been so paid to Underwriters by the 60th day
      from the inception of this policy (and, in respect of instalment premiums, by the date they are
      due) Underwriters shall have the right to cancel this policy by notifying the (Re)Insured via
      the broker in writing. In the event of cancellation, premium is due to Underwriters on a pro
      rata basis for the period that Underwriters are on risk but the full policy premium shall be
      payable to Underwriters in the event of a loss or occurrence prior to the date of termination
      which gives rise to a valid claim under this policy.

      It is agreed that Underwriters shall give not less than 15 days prior notice of cancellation to
      the (Re)Insured via the broker. If premium due is paid in full to Underwriters before the
      notice period expires, notice of cancellation shall automatically be revoked. If not, the policy
      shall automatically terminate at the end of the notice period.

      Unless otherwise agreed, the Leading Underwriter (and Agreement Parties if appropriate)
      are authorised to exercise rights under this clause on their own behalf and on behalf of all
      Underwriters participating in this contract.

      If any provision of this clause is found by any court or administrative body of competent
      jurisdiction to be invalid or unenforceable, such invalidity or unenforceability will not affect
      the other provisions of this clause which will remain in full force and effect.

      Where the premium is to be paid through a London Market Bureau, payment to Underwriters
      will be deemed to occur on the day of delivery of a premium advice note to the Bureau.


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      LSW3000




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                            Special Cancellation/Insurer Downgrade Clause

      1   The Underwriter shall give notice to the Insured’s representative, as identified in this
          Contract, as soon as practicable and in any event within 14 days, or as soon as
          permitted by its regulator if later, where the Underwriter:

          (i) a. ceases underwriting entirely; or

             b. ceases underwriting the type of insurance provided by this policy in a territory
                where the Insured is domiciled; or

             c. formally announces its intention to cease underwriting as per (i)a or (i)b above; or

          (ii) voluntarily or involuntarily elects to wind up, run off its business, enter a scheme of
               arrangement or enter into any form of bankruptcy protection or related formal or
               informal termination of its insurance operations; or

          (iii) has its authority to carry on insurance business withdrawn.

      2   The Insured or the Insured's representative may terminate an Underwriter's participation
          on this risk by giving written notice:

          (i) When one of the events identified above at Condition 1 takes place; or

          (ii) In the event that an Underwriter has its financial strength rating downgraded below
               BBB by Standard & Poor’s or A- by AM Best. For Lloyd’s syndicates it is the financial
               strength rating of Lloyd’s as a whole which is considered.

          The effective date of termination shall not be earlier than the date notice is actually given
          by the Insured or the Insured's representative.

      Upon notice of cancellation having been given by the Insured or the Insured's representative
      to the Underwriter, the Underwriter shall pay to the Insured a pro rata return premium for the
      unexpired period of the policy. Such pro rata return premium shall be paid in accordance
      with the terms of trade previously agreed between the Insured's representative and the
      Underwriter to whom notice of cancellation has been given.

      In the event that there are any notifications under this policy or the Underwriter has made
      any payments pursuant to any policy term or condition providing coverage under this policy
      to the Insured, the premium shall be deemed fully earned unless the Insured withdraws such
      notifications and/or reimburses the Underwriter for any payment(s) made.




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        POLICYHOLDER DISCLOSURE NOTICE OF TERRORISM INSURANCE COVERAGE


      Coverage for acts of terrorism is already included in the policy (including any quotation for
      insurance) to which this notice applies. You should know that, under the policy, any losses
      caused by certified acts of terrorism would be partially reimbursed by the United States
      under a formula established by federal law. Under this formula, the United States pays 85%
      through 2015; 84% beginning on January 1, 2016; 83% beginning on January 1, 2017; 82%
      beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80% beginning on
      January 1, 2020; of covered terrorism losses exceeding the statutorily established deductible
      paid by the insurer providing the coverage. However, your policy may contain certain
      exclusions which might affect your coverage, such as exclusion for nuclear events. The term
      “act of terrorism” means any act that is certified by the Secretary of the Treasury, in
      consultation with the Secretary of Homeland Security and the Attorney General of the United
      States, to be an act of terrorism; to be a violent act or an act that is dangerous to human life,
      property, or infrastructure; to have resulted in damage within the United States, or outside
      the United States in the case of an air carrier or vessel or the premises of a United States
      mission; and to have been committed by an individual or individuals, as part of an effort to
      coerce the civilian population of the United States or to influence the policy or affect the
      conduct of the United States Government by coercion. The Terrorism Risk Insurance Act, as
      amended, contains a $100 billion cap that limits U.S. Government reimbursement for losses
      resulting from certified acts of terrorism when the amount of such losses exceeds $100
      billion in any one calendar year.

      YOU ARE HEREBY NOTIFIED THAT UNDER THE TERRORISM RISK INSURANCE ACT
      OF 2002, AS AMENDED, ANY LOSSES CAUSED BY CERTIFIED ACTS OF TERRORISM
      UNDER YOUR POLICY COVERAGE WILL BE PARTIALLY REIMBURSED BY THE
      UNITED STATES, SUBJECT TO A $100 BILLION CAP, AND YOU HAVE BEEN NOTIFIED
      OF THE AMOUNT OF THE PREMIUM ATTRIBUTABLE TO SUCH COVERAGE.

      The premium allocated for this coverage is 1% of the overall premium charged for your
      policy.

      Option to reject terrorism insurance coverage

      Your policy automatically provides coverage for claims arising out of acts of terrorism as
      defined in the Terrorism Risk Insurance Act of 2002 at no additional cost to you. If you would
      prefer not to have such coverage please check the box below, sign where indicated and
      return this form to your insurance broker or intermediary. Please note that there will be no
      reduction in premium if terrorism coverage is removed from your policy.




                                                                                      If placed via PPL this
                                                                                      box will not be signed


                                                                                        Contract Leader
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                  I hereby elect not to have TRIA coverage under this policy. I understand that I
                  will have no coverage for losses arising from certified acts of terrorism.



      ___________________________________          ____________________________________
                        ___                                        ___
        Policyholder / Applicants Signature                   Name of Assured


      ___________________________________
                       __
                   Print Name                                     Policy Number


      ___________/____________/___________
                      Date


      LMA9105 (amended)




                                                                                  If placed via PPL this
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                                                                                    Contract Leader
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                      FOREIGN ACCOUNT TAX COMPLIANCE ACT (‘FATCA’)

      Each (Re)Insurer hereby acknowledges the requirements of Sections 1471-1474 US Internal
      Revenue Code of 1986, as amended, and the Treasury regulations and other guidance
      issued from time to time thereunder (‘FATCA’) and the obligation of each of them to provide
      to Marsh Ltd a valid Internal Revenue Service (‘IRS’) Form W8-BEN-E, W-9 or other
      documentation meeting the requirements of the FATCA regulations to establish they are not
      subject to any withholding requirement pursuant to FATCA (the ‘Required Documentation’).

      Furthermore:

      a)   If a (Re)Insurer becomes non-compliant with FATCA during the contract period or has
           not provided the Broker with the Required Documentation 14 days prior to any
           premium due date, the Withholding Agent (as defined in U.S. Treasury Regulation
           Section 1.1471-1(b)(147)) shall withhold 30% of the premium (to the extent all or a
           portion of that premium is subject to withholding pursuant to FATCA) due to that
           (Re)Insurer under this contract on that premium due date and shall promptly notify that
           (Re)Insurer via the Broker.

      b)   The withholding of premium by virtue of (a) above shall not be, and shall not be treated
           by the (Re)Insurer as a breach of any premium payment condition, warranty or other
           clause whether or not entitling the (Re)Insurer to cancel, terminate or restrict this
           contract, refuse, restrict or delay payment of any claim or invoke any interest, penalty
           or other late payment provision. The (Re)Insurer shall be liable under this contract as if
           no such withholding had been made.

      c)   The (Re)Insurer shall not recoup sums withheld under (a) above by deducting
           equivalent sums from any payments due to the (Re)Insured or by set off against any
           other sums owed by the (Re)Insurer and any general or contractual right of set-off
           enjoyed by the (Re)Insurer is hereby varied and qualified to that extent.

      d)   Where premium is withheld in error, has not yet been paid to the IRS and the
           (Re)Insurer has been paid only the net premium following such withholding, the broker
           will cooperate with the (Re)insurer to process the requisite refund.

      IUA 09-054 (FATCA)




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                                                                                      Contract Leader
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                                     INFORMATION
      None.




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                                     SECURITY DETAILS
      (RE)INSURER'S
      LIABILITY:          LMA3333
                          (Re)insurer’s liability several not joint

                          The liability of a (re)insurer under this contract is several and not
                          joint with other (re)insurers party to this contract. A (re)insurer is
                          liable only for the proportion of liability it has underwritten. A
                          (re)insurer is not jointly liable for the proportion of liability
                          underwritten by any other (re)insurer. Nor is a (re)insurer otherwise
                          responsible for any liability of any other (re)insurer that may
                          underwrite this contract.

                          The proportion of liability under this contract underwritten by a
                          (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the
                          proportions underwritten by all the members of the syndicate taken
                          together) is shown next to its stamp. This is subject always to the
                          provision concerning ‘signing’ below.

                          In the case of a Lloyd’s syndicate, each member of the syndicate
                          (rather than the syndicate itself) is a (re)insurer. Each member has
                          underwritten a proportion of the total shown for the syndicate (that
                          total itself being the total of the proportions underwritten by all the
                          members of the syndicate taken together). The liability of each
                          member of the syndicate is several and not joint with other
                          members. A member is liable only for that member’s proportion. A
                          member is not jointly liable for any other member’s proportion. Nor
                          is any member otherwise responsible for any liability of any other
                          (re)insurer that may underwrite this contract. The business address
                          of each member is Lloyd’s, One Lime Street, London EC3M 7HA.
                          The identity of each member of a Lloyd’s syndicate and their
                          respective proportion may be obtained by writing to Market
                          Services, Lloyd’s, at the above address.

                          Proportion of liability

                          Unless there is ‘signing’ (see below), the proportion of liability under
                          this contract underwritten by each (re)insurer (or, in the case of a
                          Lloyd’s syndicate, the total of the proportions underwritten by all the
                          members of the syndicate taken together) is shown next to its
                          stamp and is referred to as its ‘written line’.

                          Where this contract permits, written lines, or certain written lines,
                          may be adjusted (‘signed’). In that case a schedule is to be
                          appended to this contract to show the definitive proportion of
                          liability under this contract underwritten by each (re)insurer (or, in
                          the case of a Lloyd’s syndicate, the total of the proportions
                          underwritten by all the members of the syndicate taken together). A
                          definitive proportion (or, in the case of a Lloyd’s syndicate, the total
                          of the proportions underwritten by all the members of a Lloyd’s

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                                                                                   Contract Leader
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                          syndicate taken together) is referred to as a ‘signed line’. The
                          signed lines shown in the schedule will prevail over the written lines
                          unless a proven error in calculation has occurred.

                          Although reference is made at various points in this clause to ‘this
                          contract’ in the singular, where the circumstances so require this
                          should be read as a reference to contracts in the plural.


      ORDER HEREON:       58% of 100%



      BASIS OF WRITTEN
      LINES:              Percentage of Whole


      SIGNING
      PROVISIONS:         In the event that the written lines hereon exceed 100% of the order,
                          any lines written ‘To Stand’ will be allocated in full and all other
                          lines will be signed down in equal proportions so that the aggregate
                          signed lines are equal to 100% of the order without further
                          agreement of any of the (Re)Insurers.

                          However:

                          a)   in the event that the placement of the order is not completed
                               by the commencement date of the period of (Re)Insurance
                               then all lines written by that date will be signed in full;

                          b)   the (Re)Insured may elect for the disproportionate signing of
                               (Re)Insurers’ lines, without further specific agreement of
                               (Re)Insurers, providing that any such variation is made prior
                               to the commencement date of the period of (Re)insurance,
                               and that lines written ‘To Stand’ may not be varied without the
                               documented agreement of those (Re)Insurers;

                          c)   the signed lines resulting from the application of the above
                               provisions can be varied, before or after the commencement
                               date of the period of (Re)Insurance, by the documented
                               agreement of the (Re)Insured and all (Re)Insurers whose
                               lines are to be varied. The variation to the contracts will take
                               effect only when all such (Re)Insurers have agreed, with the
                               resulting variation in signed lines commencing from the date
                               set out in that agreement.




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                                                                                  Contract Leader
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          In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the
          premium charged by the leading (re)insijrer.

          (Re)lnsurers may not seek to guarantee for themselves terms as favourable as those which
          others subsequently achieve during the placement.

          (Re)insurers confirm and agree that where NCAD (Notice of Cancellation at Anniversary
          Date) is embedded in their stamp/line this is deemed to read and mean NCED (Notice of
          Cancellation at Expiry Date). This does not affect the right of the (re)insurer to issue a Notice
          of Cancellation in accordance with the contract terms.

          WRITTEN LINES:

          As shown below and, where placed electronically either wholly or in part via Placing Platform
          Limited (PPL), in the PPL SECURITY DETAILS.




                                    終 Forge
                                          1 Underwriting

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                                           Security: PannôrRe Ireland »nsurance aac
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                              CONTRACT ADMINISTRATION

                                         AND

                                  ADVISORY DETAILS




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                               SUBSCRIPTION AGREEMENT
      CONTRACT
      LEADER:             Lloyd’s Syndicate 4711

                          In respect of placements completed using PPL, the Contract
                          Leader will be indicated in the relevant field in PPL and on the
                          subsequent Security Details.

                          Wherever the term ‘Slip Leader’ appears throughout this contract it
                          is amended to read and mean ‘Contract Leader’.


      BUREAU LEADER:      The first Lloyd’s bureau stamp on this contract.
                          The first Company bureau stamp on this contract

                          In respect of placements completed using PPL, the Bureau Leader
                          will be indicated in the relevant field in PPL and on the subsequent
                          Security Details.


      BASIS OF
      AGREEMENT TO
      CONTRACT
      CHANGES:            GUA (February 2014) with Non-Marine Schedule (October 2001).

                          31 days extension, if required by the (Re)Insured/Policyholder, at
                          terms and conditions to be agreed by the Contract Leader on behalf
                          of all (Re)Insurers hereon.

                          All Notice of Cancellation at Anniversary Date terms are amended
                          to provide Notice of Cancellation at Expiry Date, including
                          subsequent period extensions.

                          Where a following (Re)Insurer has charged a different contract
                          premium to that required by the Contract Leader and there is a
                          contract change which (a) is binding upon the following
                          (Re)Insurers with the agreement of the Contract Leader only (and
                          any additional agreement party if present), and (b) involves
                          premium adjustment which is not already provided for within the
                          terms of the contract, then the following (Re)Insurers agree to
                          follow the premium adjustment agreed by the Contract Leader in
                          the same ratio as their respective contract premium bears to that of
                          the Contract Leader.


      OTHER
      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR

                                                                               If placed via PPL this
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                                                                                 Contract Leader
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      PART 2 GUA
      CHANGES ONLY:        Unless any other (Re)Insurers are specified below, the Agreement
                           Parties for Part Two changes will be the Contract Leader only.


      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR
      THEIR PROPORTION
      ONLY:            None, unless any (Re)Insurers are specified here.

                           Where a following (Re)Insurer has charged a different contract
                           premium to that required by the Contract Leader and there is a
                           contract change which

                               a) is binding upon the following (Re)Insurers with the
                                  agreement of only the Contract Leader (and any additional
                                  agreement party if present), and

                               b) involves premium adjustment which is not already provided
                                  for within the terms of the contract, then the following
                                  (Re)Insurers agree to follow the premium adjustment agreed
                                  by the Contract Leader in the same ratio as their respective
                                  contract premium bears to that of the Contract Leader


      BASIS OF CLAIMS
      AGREEMENT:           As specified under the CLAIMS AGREEMENT PARTIES and to be
                           managed in accordance with:

                              i)    The SINGLE CLAIMS AGREEMENT PARTY
                                    ARRANGEMENTS - LMA9150 for claims or circumstances
                                    assigned as Single Claims Agreement Party Claims (SCAP
                                    Claims) or, where it is not applicable, then the following shall
                                    apply as appropriate:

                              ii)   The Lloyd’s Claims Scheme (Combined), or as amended or
                                    any successor thereto.

                              iii) International Underwriting Association of London IUA claims
                                   agreement practices.

                           For non-bureau (re)insurers only, the contract leader only and to be
                           binding for non-bureau (re)insurers.


      CLAIMS
      AGREEMENT
      PARTIES:             A. Claims falling within the scope of the LMA9150 to be agreed by

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                                                                                   box will not be signed


                                                                                     Contract Leader
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                              Contract Leader only on behalf of all (re)insurers subscribing
                              (1) to this Contract on the same contractual terms (other than
                              premium and brokerage) and (2) to these Arrangements.

                              For the purposes of calculating the Threshold Amount, the
                              sterling rate on the date that a financial value of the claim is
                              first established by the Contract Leader shall be used and the
                              rate of exchange shall be the Bank of England spot rate for the
                              purchase of sterling at the time of the deemed conversion.

                          B. For all other claims:

                              i)    For Lloyd’s syndicates

                                    The leading Lloyd's syndicate and, where required by the
                                    applicable Lloyd's Claims Scheme, the second Lloyd's
                                    syndicate.

                                    Where applicable, the second Lloyd’s syndicate is deemed
                                    to be the first syndicate stamp to appear after the leading
                                    Lloyd’s syndicate. For PPL the 2nd claims agreement party
                                    will be agreed by endorsement.

                              ii)   Those companies acting in accordance with the IUA
                                    claims agreement practices, excepting those that may
                                    have opted out via iii below.

                                    The first IUA company and, where required by IUA
                                    practices, the second IUA company.

                              iii) Those companies that have specifically elected to agree
                                   claims in respect of their own participation.

                              iv) All other subscribing (re)insurers that are not party to the
                                  Lloyd’s/IUA claims agreement practices, each in respect of
                                  their own participation.

                              v)    Notwithstanding anything contained in the above to the
                                    contrary, any ex gratia payments to be agreed by each
                                    (re)insurer for their own participation.


      CLAIMS
      ADMINISTRATION:     Marsh Ltd and (re)insurers agree that any claims hereunder
                          (including any claims related costs/fees) that are in scope and
                          supported by Electronic Claims File (ECF) will be notified and
                          administered via ECF with any payment(s) processed via CLASS,
                          unless both parties agree to do otherwise.

                          Where claims or circumstances are not administered via ECF,


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                                                                                 Contract Leader
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                          notification, administration and payment(s) will be email or paper
                          file.

                          Where a Lloyd’s syndicate or IUA company is not an agreement
                          party to the claim or circumstance (per CLAIMS AGREEMENT
                          PARTIES A. above), they agree to accept correct ECF sequences
                          for administrative purposes to ensure information is circulated to all
                          subscribing parties.

                          Claims, or any element thereof, settled in a currency for which
                          Marsh Ltd do not hold a banking account will be agreed using a
                          notional rate of exchange which is subject to adjustment. Any
                          difference greater than GBP1,000 per payment or in the aggregate,
                          to be paid by or refunded to (re)insurers as appropriate.

                          Extension of time to file a proof of loss to be agreed

                          a)    if the contract leader is a non-Lloyd’s (re)insurer, by the
                                contract leader and Lloyd’s Claims Agreement Parties only;

                          b)    if the contract leader is a Lloyd’s (re)insurer, by the Lloyd’s
                                Claims Agreement Parties only.

                          Notwithstanding any contrary provisions concerning notification
                          contained in applicable contract documentation to which this
                          agreement applies and in the absence of a condition specifically
                          nominating a party to whom notice must be given (other than
                          (re)insurers) and provided that notification otherwise fully satisfies
                          policy conditions then the (re)insured will be regarded as having
                          complied with contract notification provisions when Marsh Ltd or its
                          subsidiary or successor entities receives notification by email,
                          facsimile or post.


      RULES AND
      EXTENT OF ANY
      OTHER DELEGATED
      CLAIMS
      AUTHORITY:          None, unless otherwise specified here by any other claims
                          agreement parties shown above.


      EXPERT(S) FEES
      COLLECTION:         Expert fees payable by (Re)Insurers for services performed on their
                          behalf to be collected by the expert or their appointed fee collection
                          service provider.


      SETTLEMENT DUE
      DATE:               20th December 2018

                                                                                   If placed via PPL this
                                                                                   box will not be signed


                                                                                     Contract Leader
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      BUREAU(X)
      ARRANGEMENTS:       De-linked accounts to be presented by Marsh Ltd to Xchanging Ins-
                          sure Services (XIS).

                          Bureau re(insurers) agree to allow XIS not to ‘group’ associated de-
                          linked signings. Each individual de-linked signing may be released
                          for settlement to XIS independently of any other associated items.

                          Presentation to XIS of a contract with a premium payment warranty
                          (PPW), premium payment condition (PPC) or prompt payment
                          condition for a signing number and date within the timeframe
                          specified within the warranty or condition shall be sufficient
                          evidence of compliance and payment to all (re)insurers participating
                          hereon. Subsequent rejection shall not affect the fact that the
                          warranty/condition and/or the settlement due date (SDD) has been
                          met by the original presentation and therefore no further update of
                          the due date is required.

                          In respect of the LSW3001 (amended) or any other Premium
                          Payment Clause, the SDD will automatically be amended to the
                          date the premium is paid to (re)insurers.

                          Where any SDD, PPW or PPC due date falls on a weekend or
                          public holiday, presentation to XIS on the next working day will be
                          deemed to be in compliance with such SDD, PPW or PPC.

                          (Re)Insurers agree that the second and subsequent premium
                          instalments are taken down as additional premiums, other than
                          annual re-signings.

                          In respect of additional premium signings the SDD will follow the
                          same payment period allowed under the original premium payment
                          terms. However, the payment period shall commence from the date
                          of the final agreement of the endorsement or the effective date,
                          whichever is the later.

                          Claims and/or return premiums may be collected and taken down
                          on production of a copy (including a photocopy) and/or duplicate of
                          the applicable contract or policy.

                          In respect of non –settlement currencies:
                          XIS to accept settlement of premium in Pounds Sterling (GBP)
                          converted at the rate of exchange at the date of receipt of payment
                          by Marsh Ltd. However, in the event Marsh Ltd are paid in Pounds
                          Sterling (GBP), U.S. Dollars (USD) or EUROS (EUR) then
                          settlement will be made via XIS in GBP, USD or EUR as received
                          by Marsh Ltd.

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                          Bureau (re)insurers agree to accept an interim For Declaration Only
                          (FDO) signing.

                          In the event the Settlement Due Date (as detailed in Subscription
                          Agreement) and/or the Allocation of Premium to Coding and/or
                          Year of Account (as detailed in Fiscal and Regulatory) differ from
                          those shown in the PPL SECURITY DETAILS, the information
                          recorded in the PPL SECURITY DETAILS shall take precedence.



      PLACING
      PLATFORM
      LIMITED (PPL)
      ARRANGEMENTS:       (Re)insurers instruct Xchanging to accept any attachments and
                          additional information as detailed in this Market Reform Contract
                          and any subsequent endorsements thereto, without sight of
                          agreement from (re)insurers on the understanding that Marsh Ltd
                          has obtained agreement thereto from the applicable (re)insurers.


      NON–BUREAUX
      ARRANGEMENTS:       Where any Premium Payment Warranty (PPW) or Premium
                          Payment Condition (PPC) due date falls on a weekend or public
                          holiday, payment of premium by telegraphic transfer or any other
                          relevant electronic settlement method on the next working day will
                          be deemed to be in compliance with such PPW or PPC.

                          Where (Re)Insurers have agreed to regular (weekly/ monthly/
                          quarterly) accounting the Premium Payment Warranty (PPW) or
                          Premium Payment Condition (PPC) due date shall be overridden by
                          the accounting agreement.




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                                 FISCAL AND REGULATORY

      TAX PAYABLE BY
      INSURER(S):         None


      COUNTRY OF
      ORIGIN:             United States of America


      OVERSEAS
      BROKER:             Marsh USA Incorporated
                          1166 Avenue of the Americas
                          New York 10036-2774
                          United States of America


      BROKER:             Marsh Ltd
                          Tower Place
                          London
                          EC3R 5BU


      SURPLUS LINE
      BROKER:             Surplus Line Broker Name and Licence No.
                          Thomas Orrico #892706


                          Surplus Line Broker address:
                          1166 Avenue of the Americas
                          New York,
                          NY 100362708
                          United States of America


      US
      CLASSIFICATION:     US Surplus Lines.


      ALLOCATION OF
      PREMIUM TO
      CODING:             In respect of the premium allocated to the USA:
                          99% D2
                          1% 7T

                          In respect of the premium allocated to the Rest of the World:
                          100% D2




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      REGULATORY
      CLIENT
      CLASSIFICATION:     Large Risk




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                        BROKER REMUNERATION AND DEDUCTIONS

      FEE PAYABLE BY
      CLIENT:             No


      TOTAL
      BROKERAGE:          21.5%


      OTHER
      DEDUCTIONS
      FROM PREMIUM:       None.




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                                                                      Contract Leader
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 SECURITY DETAILS

  REFERENCES
   UMR (Unique Market Reference): B0509FINFW1800560
   Date contract printed to PDF: 10:05 04 December 2018


 SIGNED UNDERWRITERS

  Aspen Insurance Ltd (Insurance)
  Simon Inzani
  Written Line                                        36.61%                   Signed Line    36.61%
  Agreed on                                           11:38 30 November 2018

  For and on behalf of:                                                        Written Line   Signed Line
  Lloyd's Underwriter Syndicate No. 4711, London,                              36.61%         36.61%
  England
  Bound as Slip Leader, Lloyd’s Leader

                        Lloyd's Stamp:               4711
                        LORS Code:                   L4711
                        Reference:                   FIA982U18A0W
                        Description:
                        Risk Code(s):                7T, D2


  Aggregated Offline Market - Proportional Signing
  Non PPL Underwriter
  Written Line                                        21.39%                   Signed Line    21.39%

  For and on behalf of:                                                        Written Line   Signed Line
  Aggregated Offline Market - Proportional Signing                             21.39%         21.39%
  Bound Offline - Evidence held on file

                        Reference:                   as per signed slip
                        Description:                 18BF10107410117




 Market Submission - Security Details                           Page 1 of 2                            04/12/2018 1
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 SETTLEMENT INFORMATION

   Allocation of Premium to Coding

   7T at 1.00%

   D2 at 99.00%


   Allocation of Premium to Year of Account

   2018


   Terms of Settlement

    Settlement Due Date:                           20 December 2018

    Instalment Premium Period of Credit:           0 day(s)

    Adjustment Premium Period of Credit:           0 day(s)


 Lloyd's Underwriter Syndicate No. 4711, London, England
 Bureau Leader and Lloyd’s Leader
 Simon Inzani




 Market Submission - Security Details                         Page 2 of 2   04/12/2018 1
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                    EXHIBIT M
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                                      ARCH INSURANCE COMPANY
                                                (A Missouri Corporation)
 Home Office Address:                                                                 Administrative Address:
 2345 Grand Blvd, Suite 900                                        Harborside 3, 210 Hudson Street, Suite 300
 Kansas City, MO 64108                                                            Jersey City, NJ 07311-1107
                                                                                           Tel: (866) 413-5550

                           ARCH ESSENTIAL EXCESS POLICY®
                  FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

    THIS POLICY APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE
                                    POLICY PERIOD.

                                                 DECLARATIONS

 Policy No.: DOX1000029-00

 Item 1. Named Insured & Address:
           AmTrust Financial Services, Inc.
           59 Maiden Lane, 43rd Floor
           New York, NY 10038

 Item 2.    Policy Period:
            From:       November 20, 2018
            To:         December 31, 2018
            12:01 a.m. local time at the address stated in Item 1

 Item 3.    Limit of Liability:      $2,700,000 Part Of $15,000,000 Excess Of $25,000,000

 Item 4.    Underlying Insurance:

 Primary Policy

 Insurer:                         Policy No.:                      Limit of Liability:        Attachment:
 Indian Harbor Insurance          US00080794DO17A                          $5,000,000
 Company




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  Underlying
  Excess
  Policies
 First Excess    Zurich American Insurance DOC 1074701-00                $5,000,000        $5,000,000
                 ghgfhgEL171717EEELELU15
                 Company

  Second Excess AXIS Insurance Company       MNN626501/01/2017            $5,000,000      $10,000,000


  Third Excess   Allianz Global Risks US      USF00237518                 $2,500,000      $15,000,000
                 Insurance Company                                            Part Of
                                                                          $5,000,000
                 Markel Bermuda Limited       MKLB25GPL0000702            $2,500,000      $15,000,000
                                                                              Part Of
                                                                          $5,000,000

  Fourth Excess Lloyds Syndicate 0033         B0509FINFW1800559           $5,000,000      $20,000,000


 Item 5.    Extended Reporting Period:
            Additional Period:  1 Year
            Additional Premium: 200.00% of Policy Premium

 Item 6.    Notices to Insurer:
                 Notice Of Claim(s) To Be Sent To:              All Other Notices To Be Sent To:
                     Arch Insurance Company                         Arch Insurance Company
                    Executive Assurance Claims                  Executive Assurance Underwriting
                   1299 Farnam Street, Suite 500                  One Liberty Plaza, 53rd Floor
                          Omaha, NE 68102                             New York, NY 10006
                           P.O. Box 542033                            Fax: (212) 651-6499
                          Omaha, NE 68154
                   Phone: 877 688-ARCH (2724)
                          Fax: 866 266-3630
                 E-mail: Claims@ArchInsurance.com

 Item 7.    Policy Premium:                                                                $364,425.00
            Taxes, Surcharges and other Assessments, if applicable                               $0.00
            Premium Attributable to Terrorism Risk Insurance                                     $0.00

            Included In Policy Premium
            In Addition To Policy Premium

 Item 8.    Endorsements: See attached schedule of endorsements and notices.




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 05 DOX0205 00 10 09                                                                       Page 2 of 2
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                                 Signature Page


 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 IN WITNESS WHEREOF, Arch Insurance Company has caused this policy to be executed
 and attested.




               John Mentz                                 Patrick K. Nails
                President                                   Secretary




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 05 ML0002 00 12 14                                                          Page 1 of 1
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                      SCHEDULE OF FORMS AND ENDORSEMENTS

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 INSURED: AmTrust Financial Services, Inc.           TERM: November 20, 2018 to December 31, 2019
 POLICY NUMBER: DOX1000030-00

  ENDT. NO.    FORM NO.                      TITLE
               05 ML0002 00 12 14            SIGNATURE PAGE (ARCH INSURANCE)
               00 DOX0204 00 10 09           ARCH ESSENTIAL EXCESS POLICY
  1            00 DOX0122 00 12 09           QUOTA SHARE PARTICIPATION
  2            00 DOX0047 00 12 09           PRIOR AND PENDING LITIGATION EXCLUSION
  3            00 DOX0309 00 01 13           RUN-OFF ENDORSEMENT
  4            00 ME3693 00 03 16            SPECIFIC FOLLOW FORM ENDORSEMENT
               00 MLE0013 33 12 08           NEW YORK INSURANCE LAW SECTION 3420 REQUIRED CLAIM
                                             NOTICE PROVISIONS (CLAIMS MADE POLICIES)
               00 DOX0186 00 10 06           EXCESS POLICY ISSUANCE NOTICE
               00 ML0065 00 06 07            U.S. TREASURY DEPARTMENT S OFFICE OF FOREIGN
                                             ASSETS CONTROL ( OFAC )
               00 MLT0027 00 01 15           TERRORISM COVERAGE DISCLOSURE NOTICE




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 00 ML0012 00 09 04                                                                   Page 1 of 1
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                          ARCH ESSENTIAL EXCESS POLICY®
                 FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 In consideration of the payment of the premium and in reliance upon the Application, the Insurer specified
 in the Declarations (the “Insurer”) and the Insureds agree as follows:

 1.    INSURING AGREEMENT

        This Policy provides excess coverage after exhaustion of the Underlying Limit. Except as
        otherwise provided in this Policy, coverage under this Policy shall follow form to, and apply in
        conformance with, the provisions of the Primary Policy as of the inception of this Policy.
        Notwithstanding the foregoing, this Policy shall provide no broader coverage than the most
        restrictive policy of Underlying Insurance.

 2.    EXHAUSTION OF THE UNDERLYING LIMIT

        A.    The Underlying Limit shall be exhausted by payment, in legal currency, of covered Loss by
              the insurers of Underlying Insurance, the Insureds, or any DIC Insurer.

        B.    If this Policy becomes primary insurance because of the exhaustion of the Underlying Limit,
              the applicable deductible or retention of the Primary Policy shall apply to each Claim handled
              by the Insurer on a primary insurance basis. No deductible or retention shall apply to any
              Claim handled by the Insurer on an excess insurance basis.

        C.    If any policy of Underlying Insurance grants any coverage subject to a sub-limit of liability,
              this Policy shall not offer such coverage. However, this Policy shall recognize any reduction
              of the Underlying Limit by any payment under such coverage.

 3.    DEFINITIONS

        Whether used in the singular or plural, the following terms shall have the meanings specified below:

        A.    “Application”, “Claim”, and “Loss” shall have the same meaning specified for such terms
              in the Primary Policy.

        B.    “DIC Insurer” means any insurer of an insurance policy written specifically excess of this
              Policy that is contractually obligated to drop down and pay covered Loss that is not paid by
              any Underlying Insurance. This Policy does not follow form to the provisions of the policy of
              such DIC Insurer.

        C.    “Insureds” means all persons and entities entitled to coverage under the Primary Policy.

        D.    “Primary Policy” and any “Underlying Excess Policies” are identified in Item 4 of the
              Declarations.

        E.    “Underlying Insurance” means the Primary Policy and any Underlying Excess Policies.


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 00 DOX0204 00 10 09                                                                              Page 1 of 2
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      F.    “Underlying Limit” means the aggregate sum of all limits of liability of all Underlying
            Insurance.

 4.   LIMIT OF LIABILITY

      The Limit of Liability specified in Item 3 of the Declarations is the maximum aggregate amount that
      the Insurer shall pay under this Policy for all covered Loss, including, without limitation, defense
      costs.

 5.   DUTIES IN THE EVENT OF A CLAIM

      The Insureds shall give notice to the Insurer of any Claim or potential Claim in conformance with
      the notice provisions of the Primary Policy except that such notice shall be delivered to the address
      specified in Item 6 of the Declarations. The Insurer shall have the right to participate in the
      investigation, settlement and defense of any Claim noticed under this Policy, even if the Underlying
      Limit has not been exhausted. The Insureds shall give the Insurer all information and cooperation
      as the Insurer may reasonably request.

 6.   EXTENDED REPORTING PERIOD

      If the Insureds elect and are granted an extended reporting period or discovery period under all
      Underlying Insurance, then the Insureds shall also be entitled to elect an extended reporting period
      under this Policy. Such extended reporting period shall follow form to, and apply in conformance with,
      the provisions of the Primary Policy provided that the premium and duration of such extended
      reporting period shall be as specified in Item 5 of the Declarations.

 7.   MAINTENANCE OF UNDERLYING INSURANCE

      All Underlying Insurance shall be maintained in full effect. Failure to maintain any Underlying
      Insurance shall: (i) result in the Insureds becoming self-insured for the limit of liability of any such
      Underlying Insurance; and (ii) not relieve the Insurer of any obligation under this Policy.

 8.   CHANGES

      This Policy shall not be changed or assigned in any manner except by written agreement of the
      Insurer.




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 00 DOX0204 00 10 09                                                                             Page 2 of 2
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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  QUOTA SHARE PARTICIPATION

  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
  FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
  REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
  STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

  It is agreed that:

  1.     This Policy is part of a quota share participation arrangement involving a total limit of liability of
         $15,000,000 involving the following insurers:

         Quota Share Participant                 Policy Number                              Limit of Liability
         Arch Insurance Company                  DOX1000029-00                                    $2,700,000
         Lloyd’s Syndicate 4711                  B0509FINFW1800560                                $5,500,000
         Forge Underwriting                      B0509FINFW1800560                                $3,200,000
         Markel Bermuda Limited                  MKLB25GPL0000685                                 $6,600,000

  2.     The Insurer’s percentage participation in the quota share arrangement is 18%. Notwithstanding any
         other provision of this Policy, the Insurer shall only be liable for its percentage participation of
         covered Loss.

  3.     The liability of each participating insurer is several and not joint. The failure of any participating
         insurer to pay its share of covered Loss shall not increase the liability of any other participating
         insurer.

  4.     Each participating insurer shall make its own determination of whether Loss is covered under its
         policy. No participating insurer shall have any authority to bind any other participating insurer
         regarding any matter submitted for coverage.

  All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 1

 Policy Number: DOX1000029-00
 Named Insured: AmTrust Financial Services, Inc.
 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 20, 2018

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 00 DOX0122 00 12 09                                                                              Page 1 of 1
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          PRIOR OR PENDING LITIGATION EXCLUSION

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 It is agreed that:

  1.     The Insurer shall not be liable to pay Loss arising out of, based upon or attributable to:

          A.    any demand, suit, formal or informal investigation occurring prior to, or pending as of October
                21, 2017; or

          B.    any Wrongful Act which gave rise to such prior or pending demand, suit or formal
                investigation or any Interrelated Wrongful Acts thereto.

  2.     “Wrongful Act” and “Interrelated Wrongful Acts” shall have the same meaning specified for
          such terms in the Primary Policy.

 All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 2

 Policy Number: DOX1000029-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 20, 2018




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 00 DOX0047 00 12 09                                                                                  Page 1 of 1
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              RUN-OFF COVERAGE

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

It is agreed that:

1.     Item 2 of the Declarations is deleted and replaced with:

        Item 2:      Policy Period
                     From: 12:01 A.M. November 20, 2018
                     To:     12:01 A.M. November 29, 2024
                     Standard time at the address shown in Item 1.

2.     Section 6 of this Policy is deleted.

3.     This Policy shall follow form to and apply in conformance with Endorsement 16 of the Primary Policy.

4.     The entire premium for this Policy shall be deemed earned as of the inception of this Policy.

All other terms and conditions of this Policy remain unchanged.


 Endorsement Number 3:

 Policy Number: DOX1000029-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 29, 2018




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 00 DOX0309 00 11 13                                                                               Page 1 of 1
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   TIE IN OF LIMITS OF LIABILITY BETWEEN CONSECUTIVE POLICIES (AMTRUST)

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.


It is agreed that:

    1. This Policy has been negotiated with the understanding that this Policy and policy # B0507N17FA23160
       issued to the Insured by Price Forbes and Partners Limited (the “Other Policy”) have a linked limit of
       liability.

    2. Any payment of Loss under the Other Policy shall reduce the Limit of Liability available under this
       Policy by an amount equal to such payment times the Insurer’s quota share participation regarding the
       Limit of Liability.

All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 4

 Policy Number: DOX1000029-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 29, 2018




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 00 ME3693 00 03 16                                                                               Page 1 of 1
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                               NEW YORK INSURANCE LAW SECTION 3420
                                 REQUIRED CLAIM NOTICE PROVISIONS
                                      (CLAIMS MADE POLICIES)



 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Notwithstanding any other provision of this policy, it is agreed that:

 1.     No claim made by an insured, injured person or other claimant during the Policy Period or any
        applicable Extended Reporting Period or Discovery Period shall be invalidated because of a failure
        to give notice of such claim within the time prescribed in the policy if it shall be shown: (i) not to have
        been reasonably possible to have given notice within the prescribed time; and (ii) notice was given
        as soon as was reasonably possible.

 2.     No claim made by an insured, injured person or other claimant during the Policy Period or any
        applicable Extended Reporting Period or Discovery Period shall be invalidated because of a failure
        to give notice of such claim within the time prescribed in the policy unless the late notice has
        prejudiced the insurer. Notwithstanding the foregoing, the insurer may deny coverage for a claim to
        the extent that notice of such claim was given to the insurer after the Policy Period or any applicable
        Extended Reporting Period or Discovery Period.

 All other terms and conditions of the policy continue to apply.




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 00 MLE0013 33 12 08                                                                                 Page 1 of 1
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                       EXCESS POLICY ISSUANCE NOTICE

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.



 NOTICE: This excess policy has been issued prior to our receipt of any underlying
          insurance policy. This excess policy has been issued based upon the
          underlying insurance policy information specified in the application for
          this policy or in the underlying insurance binders furnished to us. By
          issuing this excess policy, we do not waive our rights to seek
          appropriate legal remedies based upon any discrepancies between the
          underlying insurance policy information furnished to us at the time that
          this excess policy was bound and the actual policy provisions of any
          underlying insurance furnished to us after the issuance of our binder.




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 00 DOX0186 00 10 06                                                    Page 1 of 1
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          U.S. TREASURY DEPARTMENT’S OFFICE OF
             FOREIGN ASSETS CONTROL (“OFAC”)
           ADVISORY NOTICE TO POLICYHOLDERS
 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
 policy. You should read your policy and review your Declarations page for complete information on the
 coverages you are provided.

 This Notice provides information concerning possible impact on your insurance coverage due to directives
 issued by OFAC. Please read this Notice carefully.

 The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on
 Presidential declarations of “national emergency”. OFAC has identified and listed numerous:
     • Foreign agents;
     • Front organizations;
     • Terrorists;
     • Terrorist organizations; and
     • Narcotics traffickers;
 as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
 Treasury’s web site – http://www.treas.gov/ofac.

 In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or
 entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated
 National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen
 contract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is
 considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
 authorization from OFAC. Other limitations on the premiums and payments also apply.




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 00 ML0065 00 06 07             Includes copyrighted material of Insurance Services Office, Inc.,   Page 1 of 1
                                                     with its permission.
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                TERRORISM COVERAGE DISCLOSURE NOTICE
        NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
        FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE
        DEPARTMENT. HOWEVER, SUCH FORMS AND RATES MUST MEET THE MINIMUM
        STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.


                            TERRORISM COVERAGE PROVIDED UNDER THIS POLICY
The Terrorism Risk Insurance Act of 2002 as amended and extended by the Terrorism Risk Insurance Program
Reauthorization Act of 2015 (collectively referred to as the “Act”) established a program within the Department of the
Treasury, under which the federal government shares, with the insurance industry, the risk of loss from future terrorist
attacks. An act of terrorism is defined as any act certified by the Secretary of the Treasury, in consultation with the Secretary
of Homeland Security and the Attorney General of the United States, to be an act of terrorism; to be a violent act or an act
that is dangerous to human life, property or infrastructure; to have resulted in damage within the United States, or outside
the United States in the case of an air carrier or vessel or the premises of a United States Mission; and to have been
committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
influence the policy or affect the conduct of the United States Government by coercion.
In accordance with the Act, we are required to offer you coverage for losses resulting from an act of terrorism that is certified
under the federal program as an act of terrorism. The policy’s other provisions will still apply to such an act. Your decision
is needed on this question: do you choose to pay the premium for terrorism coverage stated in this offer of coverage, or do
you reject the offer of coverage and not pay the premium? You may accept or reject this offer.
If your policy provides commercial property coverage, in certain states, statutes or regulations may require coverage for fire
following an act of terrorism. In those states, if terrorism results in fire, we will pay for the loss or damage caused by that fire,
subject to all applicable policy provisions including the Limit of Insurance on the affected property. Such coverage for fire
applies only to direct loss or damage by fire to Covered Property. Therefore, for example, the coverage does not apply to
insurance provided under Business Income and/or Extra Expense coverage forms or endorsements that apply to those
coverage forms, or to Legal Liability coverage forms or Leasehold Interest coverage forms.
Your premium will include the additional premium for terrorism as stated in the section of this Notice titled
DISCLOSURE OF PREMIUM.
                DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% in 2015, 84% in 2016, 83% in 2017, 82% in 2018, 81% in 2019, and 80% in 2020
of that portion of the amount of such insured losses that exceeds the applicable insurer deductible during Calendar
Year 2015 and each Calendar Year thereafter through 2020.
                                      DISCLOSURE OF CAP ON ANNUAL LIABILITY
If the aggregate insured terrorism losses of all insurers exceed $100,000,000,000 during any Calendar Year provided in the
Act, the Secretary of the Treasury shall not make any payments for any portion of the amount of such losses that exceed
$100,000,000,000, and if we have met our insurer deductible, we shall not be liable for the payment of any portion of such
losses that exceeds $100,000,000,000.
                                                  DISCLOSURE OF PREMIUM
Your premium for terrorism coverage is: $0.00
(This charge/amount is applied to obtain the final premium.)
You may choose to reject the offer by signing the statement below and returning it to us. Your policy will be
changed to exclude the described coverage. If you chose to accept this offer, this form does not have to be returned.
                                                 REJECTION STATEMENT

       I hereby decline to purchase coverage for certified acts of terrorism. I understand that an exclusion of certain
       terrorism losses will be made part of this policy.

                                                                               AmTrust Financial Services, Inc.

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00 MLT0027 00 01 15                                                                                                  Page 1 of 2
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      Policyholder/Legal Representative/Applicant’s                Named Insured
                       Signature

                                                               Arch Insurance Company
              Print Name of Policyholder/Legal                   Insurance Company
                  Representative /Applicant


      Date:                                           Policy Number: DOX1000030-00




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00 MLT0027 00 01 15                                                                     Page 2 of 2
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                    EXHIBIT N
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                                             MARKEL BERMUDA LIMITED

   PROFESSIONAL LIABILITY EXCESS LIABILITY INSURANCE POLICY DECLARATIONS

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS
POLICY ONLY APPLIES TO CLAIMS FIRST MADE DURING THE POLICY PERIOD. THE LIMIT
OF LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND
MAY BE EXHAUSTED BY THE PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT
PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY INSURED. PLEASE READ AND
REVIEW THE POLICY CAREFULLY.

ITEM 1: INSURED:                     Amtrust Financial Services, Inc.
        ADDRESS:                     59 Maiden Lane, 43rd Floor, New York, NY 10038 United States

ITEM 2: POLICY PERIOD:               November 20, 2018 to December 31, 2018               (12:01 a.m. prevailing time
                                                                                        at the address stated in Item 1)


ITEM 3:    LIMIT OF LIABILITY: US$ 3,600,000 po US$ 15,000,000                           in the aggregate
                                                                                    (including Defense Costs)
               (Not subject to any reinstatement provision that may be provided under the Followed Policy)

          EXCESS OF TOTAL UNDERLYING LIMITS OF: US$ 25,000,000                                      in the aggregate
                                                                                              (including Defense Costs)

ITEM 4: FOLLOWED POLICY: Indian Harbor Insurance Company Policy No.: US00080794DO17A

ITEM 5: UNDERLYING INSURANCE

          SEE ENDORSEMENT NO. 1 FOR COMPLETE SCHEDULE

ITEM 6: PENDING OR PRIOR DATE:                 as per FOLLOWED POLICY

          To the extent the FOLLOWED POLICY contains an exclusion regarding pending or prior litigation, administrative,
          regulatory or other proceedings, investigations, demands, suits, orders, decrees or judgments, this Policy shall follow such
          exclusion. The applicable date for determining whether any such matter is “pending or prior” for the purpose of such
          exclusion in this policy shall be the PENDING OR PRIOR DATE set forth in this Item 6 of the Declarations.

ITEM 7: PREMIUM: $ 26,880




  Markel Bermuda Limited
  Markel House, 2 Front Street, Hamilton HM 11, Bermuda
  P.O. Box HM 2565, Hamilton HM KX, Bermuda 441 296 8800
  www.markelcorp.com
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ITEM 8: ADDRESS OF INSURER(S) FOR ALL NOTICES UNDER THIS POLICY:

          Markel Bermuda Limited
          2 Front Street
          P.O. Box 2565
          Hamilton HM KX Bermuda
          Telephone 441 296 8800
          Email: PLBermudaClaims@markelcorp.com


ITEM 9: A. DISCOVERY PERIOD PREMIUM:               as per FOLLOWED POLICY

          B. DISCOVERY PERIOD:                     as per FOLLOWED POLICY

ITEM 10: ENDORSEMENTS EFFECTIVE AT INCEPTION:
         1.  Prior Notice/Prior Claims Exclusion Endorsement
         2.  Tie in Limits Endorsement
         3.  Retroactive Date Exclusion
         4.  Sanctions Endorsement
         5.  Amendment Endorsement
         6.  Convert to Run-off Endorsement
         7.  Schedule of Underlying Insurance



ITEM 11: POLICY NUMBER:           MKLB25GPL0000685


ITEM 12: PRIMARY POLICY SELF-INSURED RETENTION: $5,000,000




The INSURER hereby causes this policy to be signed on the Declarations page by a duly authorized representative of the
Insurer.


                                                                    _____________________________
                                                                    Chris Jansma, Senior Vice President



                                                                    January 15, 2019
                                                                    Date




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                                         MARKEL BERMUDA LIMITED FOLLOW FORM
                                           EXCESS LIABILITY INSURANCE POLICY

In consideration of the premium paid, and in reliance on all statements made and information furnished to Markel Bermuda Limited
herein called the "Insurer" and subject to the Declarations and endorsements made a part hereof and the terms, conditions and limitations
set forth herein, the Insurer and the Insured Entity, on its behalf and on behalf of all persons and entity(s) entitled to coverage hereunder,
agree as follows:

I.        INSURING CLAUSE

          The Insurer shall pay the Insured for loss upon exhaustion of all applicable underlying limits by actual payments by the
          insurers of the UNDERLYING INSURANCE, the Insured, any insurer of a difference-in-conditions policy that is excess of
          this policy, and/or any other source, subject to: the terms and conditions of the FOLLOWED POLICY (excluding any such
          terms and conditions that are inconsistent with the terms of this policy); the Limit of Liability as stated in Item 3 of the
          Declarations; and the terms and conditions of, and the endorsements attached to, this policy. In no event will this policy
          provide coverage broader than that provided by any UNDERLYING INSURANCE, or any policy issued by any participating
          quota share insurer, unless such broader coverage is specifically agreed to by the Insurer herein or in an endorsement to this
          policy.

II.       TERMS AND CONDITIONS

A.        NOTICE AND LOSS PROVISIONS

          1.      Any notice required to be given by the terms of the FOLLOWED POLICY shall be given to the Insurer at the address
                  indicated in Item 8 of the Declarations.
          2.      This policy shall follow the notice of claim and/or notice of circumstance provisions of the FOLLOWED POLICY,
                  except as stated otherwise herein.
          3.      With respect to the defense and settlement of any claim that appears to be reasonably likely to involve the Insurer, the
                  Insured shall give the Insurer such information, assistance and cooperation as the Insurer may reasonably request and
                  as shall be in the Insured’s power and shall do nothing that would prejudice the Insurer’s position or potential rights of
                  recovery.
          4.      Only those settlements, stipulated judgments and defense costs which have been consented to by the Insurer shall be
                  recoverable as loss under the terms of this policy. The Insurer’s consent shall not be unreasonably withheld, provided
                  the Insurer shall be entitled to effectively associate in the defense and the negotiation of any settlement of any claim.

B.        FOLLOWING FORM

          1.      This policy, except as herein stated, is subject to all terms, conditions, agreements and limitations of the FOLLOWED
                  POLICY in all respects as of the effective date of this policy. The Insured agrees that should any mid-term change to
                  the FOLLOWED POLICY be made by rewrite or endorsement, such change shall not be effective as to this policy
                  without the written consent of the Insurer, which consent shall not be unreasonably withheld. It is further agreed that
                  should the Insurer consent to any change of this policy, the premium hereon may be adjusted accordingly.
          2.      In the event of the depletion of the limits of liability of the UNDERLYING INSURANCE solely as a result of actual
                  payment of losses thereunder this policy shall, subject to the Limit of Liability set forth in Item 3 of the Declarations
                  and to the other terms of this policy, continue to apply for subsequent losses as excess insurance over the amount of
                  insurance remaining under such UNDERLYING INSURANCE. In the event of the exhaustion of all of the limits of
                  liability of such UNDERLYING INSURANCE the remaining limits available under this policy shall, subject to the
                  Limit of Liability set forth in Item 3 of the Declarations and to the other terms of this policy, continue for subsequent
                  losses as primary insurance and any retention specified in the FOLLOWED POLICY shall be imposed under this
                  policy. Payments made by insurers issuing such UNDERLYING INSURANCE in accordance with any State
                  Amendatory endorsement or sub-limit of liability shall be deemed to apply toward exhaustion of the limits of liability
                  of the UNDERLYING INSURANCE but this policy shall not follow such state amendatory endorsement or sub-limit
                  of liability.
          3.      This policy, subject to all its terms, conditions and endorsements, will not drop down to make payment for loss in place
                  of UNDERLYING INSURANCE for any reason.




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C.     CANCELLATION CLAUSE

                The Insured shall give notice to the Insurer when practicable of the cancellation of any UNDERLYING INSURANCE.
                In the event any UNDERLYING INSURANCE is cancelled by the insurer thereon, this policy shall continue in full
                force and effect for the remainder of the POLICY PERIOD and the Insurer shall be liable to the same extent that it
                would have been liable if such UNDERLYING INSURANCE had remained in effect.

             This policy shall follow the cancellation terms of the FOLLOWED POLICY except that in the event the Insurer cancels
             this policy for non-payment of premium, this policy shall be void as of the inception date of the POLICY PERIOD.

D.     PUNITIVE DAMAGES

                This policy shall cover punitive damages unless such damages are excluded under the terms and conditions of the
                FOLLOWED POLICY. Furthermore, if the FOLLOWED POLICY is determined not to cover punitive damages solely due
                to the insurability of such damages under applicable law, then this policy shall nonetheless provide coverage for punitive
                damages as if all UNDERLYING INSURANCE had provided such coverage. This policy will not drop down to provide
                coverage for punitive damages in place of UNDERLYING INSURANCE.
E.     ALTERNATIVE DISPUTE RESOLUTION

       1.   It is agreed that any dispute arising out of or in connection with this policy, including any question regarding its
               existence, validity or termination, shall be referred to and finally resolved solely by Arbitration or Alternative Dispute
               Resolution (ADR).
       2.   This policy shall follow the terms of the FOLLOWED POLICY with respect to Arbitration or ADR only when said terms
              require the dispute to proceed in Hamilton, Bermuda; London, England; or Toronto or Vancouver, Canada.
       3.   In the event the applicable FOLLOWED POLICY does not provide for Arbitration or ADR in Hamilton, Bermuda;
              London, England; or Toronto or Vancouver, Canada, the Insured shall select one of the following venues and
              procedural laws for such Arbitration or ADR:
                     (i)       Arbitration held in Hamilton, Bermuda under The Bermuda International Conciliation and Arbitration
                               Act of 1993 (exclusive of the Conciliation Part of such act) as may be amended and supplemented, or
                               under the English Arbitration Act of 1996 as may be amended and supplemented, which Acts are
                               deemed incorporated by reference into this clause, or
                     (ii)      Arbitration held in London, England under the English Arbitration Act of 1996, as may be amended and
                               supplemented, which Act is deemed incorporated by reference into this clause, or
                     (iii)     Arbitration held in Toronto or Vancouver, Canada under the English Arbitration Act of 1996, as may be
                               amended and supplemented, which Acts are deemed incorporated by reference into this clause.
       4.   Where the Insured and Insurer are parties to the dispute, the Insured shall make the selection referenced in paragraph 3
             above. Where the Insurer and a party deriving rights through or asserting rights on behalf of the Insured are parties to
             a dispute, the Insurer shall make the selection referenced in paragraph 3 above.
       5.       The number of arbitrators shall be three.
       6.        Each party shall bear the costs of its own arbitrator. The remaining cost of arbitration shall be borne equally by the
                parties.
       7.       All awards made by the Arbitration Board shall be final and no right of appeal shall lie from any award rendered by the
                Arbitration Board.
       8.       No person or organization shall have any right under this policy to join the Insurer as a party to any action against the
                Insured to determine the Insured's liability, nor shall the Insurer be impleaded by the Insured or their legal
                representatives. The Insurer and the Insured agree that in the event that claims for indemnity or contribution are
                asserted in any action or proceeding against the Insurer by any of the Insured's other insurers in a jurisdiction or forum
                other than that set forth in this clause, the Insured will in good faith take all reasonable steps requested by the Insurer to
                assist the Insurer in obtaining a dismissal of these claims (other than on the merits). The Insured will, without
                limitation, undertake to the court or other tribunal to reduce any judgment or award against such other insurers to the
                extent that the court or tribunal determines that the Insurer would have been liable to such insurers for indemnity or
                contribution pursuant to this policy. The Insured shall be entitled to assert claims against the Insurer for coverage under
                this policy, including, without limitation, for amounts by which the Insured reduced its judgment against such other




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                insurers in respect of such claims for indemnity or contribution, in an arbitration between the Insurer and the Insured
                pursuant to this clause; provided, however, that the Insurer in such arbitration in respect of such reduction of any
                judgment shall be entitled to raise any defenses under this policy and any other defenses (other than jurisdiction
                defenses) as it would have been entitled to raise in the action or proceeding with such insurers.

F.     CHOICE OF LAW

                This policy shall be construed and enforced in accordance with the applicable law determined under the FOLLOWED
                POLICY (with the exception of the procedural law required under this policy’s Alternative Dispute Resolution clause
                E.), except insofar as such laws may prohibit payment hereunder in respect of punitive damages, in which case, the
                laws of England and Wales shall apply.




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                        PRIOR NOTICE / PRIOR CLAIM EXCLUSION ENDORSEMENT




It is hereby agreed that Sections III.B(1) and B(2) of the FOLLOWED POLICY are deleted and replaced by the following:

B.       No coverage shall be available under this policy for any Claim, Interview or Investigation Demand made
         against an Insured:

                  (1)     based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Inception Date of this policy as
                          set forth in ITEM 2 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this policy as set forth in ITEM 2 of the Declarations, was the
                          subject of any notice given under any other Management Liability policy, Directors and
                          Officers liability policy or similar policy;



All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 15, 2019

End No.:         1




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                                          TIE IN OF LIMITS ENDORSEMENT

It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this policy has
been negotiated with the understanding that this policy and the policy # AKDB6HTR7420D4 issued to the Insured by
Chubb Global Markets – Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of
the premium charged, it is understood and agreed that;

    a)    Subject to the terms and conditions of the coverage provided by the Other Policy and this policy, in the event that
          loss or damages is required to be paid under both this policy and the Other Policy, the coverage provided under
          this policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment of
                    any loss or damages under this policy; and
              ii.   any payment of loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all loss or damages on account of all claims for this policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall limit of
                    liability.

    b) The Insurer will have no obligation under this policy to make any payment of loss or damages to the extent that
       the Other Policy’s aggregate limit of liability is fully exhausted.

    c)    If the paid loss or damages under this policy are in an aggregate amount equaling $3,600,000, any and all
          obligations of the Insurer under this policy will be completely fulfilled and extinguished, and the Insurer will have
          no further obligations of any kind or nature whatsoever under this policy.

    d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay loss or
       damages under this policy in excess of $3,600,000 which is the limit of liability set forth under Item 3 of the
       Declarations of this policy.

    e)    In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this policy, the term, condition or limitation of this endorsement shall govern.


All other terms and conditions remain unchanged

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No.: MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:          Amtrust Financial Services, Inc.

Date of Issue:      January 31, 2019

End No.             2




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                              RETROACTIVE DATE EXCLUSION ENDORSEMENT




In consideration of the premium charged for this Policy, it is hereby understood and agreed that this Policy excludes any
Loss or Claim based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way
involving:

         1.       any Wrongful Act actually or allegedly committed or any conduct actually or allegedly undertaken prior
                  to 12.01am Local Time on 21st October 2017.

         2.       any other Wrongful Act occurring on or subsequent to the date stated in 1. above which, together with a
                  Wrongful Act occurring prior to such date, would constitute Interrelated Wrongful Acts, or

         3.       any other conduct occurring on or subsequent to the date stated in 1. above, together with conduct
                  occurring prior to such date, have as a common nexus any fact, circumstance, situation, event,
                  transaction or series of facts, circumstances, situations, events or transactions.



All other terms and conditions of this Policy remain unchanged.


All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 15, 2019

End No.:          3




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                                      SANCTIONS CLAUSE ENDORSEMENT




    No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any benefit
    hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would
    expose the insurer, or its ultimate holding company, to any sanction, prohibition or restriction implemented pursuant
    to resolutions of the United Nations or the trade and economic sanctions, laws or regulations of the European Union,
    United Kingdom, or United States of America.




All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 15, 2019

End No.:         4




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                                           AMENDMENT ENDORSEMENT



It is hereby declared and agreed that Item 2. and Item 7 of the Declaration page are deleted in their entirety and replaced
with the following:-



ITEM 2: POLICY PERIOD:               November 20, 2018 to November 29, 2018         (12:01 a.m. prevailing time
                                                                                  at the address stated in Item 1)

ITEM 7: AMENDED PREMIUM: $ 5,914




Nothing herein shall be held to vary, alter, waive or extend any of the terms, conditions, exclusions or limitations of this
Policy, except as expressly stated herein. This endorsement is part of such Policy and incorporated herein.

All other terms and conditions of this policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 15, 2019

End No.:          5




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                                       CONVERT TO RUN-OFF ENDORSEMENT


In consideration of an additional premium of $480,000 (the “Run-Off Premium”):

    1.   It is hereby declared and agreed that Item 2. of the Declaration page is amended in its entirety and replaced with
         the following:-

             Item 2. POLICY PERIOD:

             From:                    November 29, 2018
             To:                      November 29, 2024                  (12:01 a.m. prevailing time
                                                                         at the address stated in Item 1)

    2.   It is expressly understood and agreed that the maximum aggregate Limit of Liability set forth in Item 3 of the
         Declarations shall continue to be the maximum aggregate Limit of Liability for the entire Policy Period, as
         amended in paragraph 2 above, and subject to all terms and conditions of Endorsement No. 3 to the Policy.

    3.   Item 7 of the Declarations is amended to read in its entirety as follows:

         Item 7:
                   Original Premium:         $26,880
                   Amended Premium:          $5,914
                   Run-Off Premium:          $480,000
                   Total Policy Premium:     $485,914

    4.   No coverage will be available under this Policy for any Claim based upon, arising out of, directly or indirectly
         resulting from, in consequence of, or in any way involving any Wrongful Act committed or allegedly committed
         on or after November 29, 2018, or with respect to any Interview or Investigation demand in connection with any
         act, fact, circumstance, transaction, or event taking place on or after November 29, 2018. Nothing herein shall
         serve to limit or waive Endorsement No. 2 to the Policy, which shall continue in full force and effect.

    5.   The policy is amended by deleting Section II TERMS AND CONDITIONS C. CANCELLATION CLAUSE in
         its entirety.

    6.   The premium shall be fully earned and non-refundable as of November 29, 2018.

    7.   Solely for the purposes of this endorsement, the term Original Policy Period means the period of time from
         November 20, 2018 to November 29, 2018.

All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:         Amtrust Financial Services, Inc.

Date of Issue:     January 15, 2019

End No.:           6




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                                     SCHEDULE OF UNDERLYING INSURANCE


It is hereby understood and agreed that Item 5 of the Declarations reads as follows:

Item 5: Schedule of Underlying Insurance:

      Carrier                                         Policy Period                    Limits                Attachment

   i. Indian Harbor Insurance Company                 November 29, 2018 –              $5M             as per ITEM 12 on Dec
                                                      November 29,2024                                          page.
  ii. Zurich American Insurance Company               November 29, 2018 –              $5M                      $5M
                                                      November 29,2024
  iii. Axis Insurance Company                         November 29, 2018 –              $5M                     $10M
                                                      November 29,2024
  iv. Allianz Global Risk US Insurance Company        November 29, 2018 –         $2.5M po $5M                  $15
                                                      November 29,2024
   v. Markel Bermuda Limited                          November 29, 2018 –         $2.5M po $5M                 $15M
                                                      November 29,2024
  vi. Lloyd’s Underwriter - Hiscox                    November 29, 2018 –              $5M                     $20M
                                                      November 29,2024
                                                Quota Share Participant(s)
 vii. Lloyd’s Underwriters – Aspen (Lead)             November 29, 2018 –        $11.4M po $15M                $25M
                                                      November 29,2024



All other terms and conditions of the policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000685
of MARKEL BERMUDA LIMITED.

Issued to:         Amtrust Financial Services, Inc.

Date of Issue:     January 15, 2019

End No.:           7




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                    EXHIBIT O
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 Price Forbes and Partners Limited                                                                  507 PRF
 UMR: B0507 N17FA24460


                                                      QUOTE DETAILS

TYPE:                    EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                         REIMBURSEMENT INSURANCE


INSURED:                 AMTRUST FINANCIAL SERVICES, INC.


MAILING
                                                        rd
ADDRESS:                 59 Maiden Lane, 43,u Floor
                         New York
                         New York
                         10038
                         United States of America


PERIOD:                  From:     21st October 2017
                         To:       21st October 2018
                         Both days at 12:01am local standard time, at the mailing address of the
                         Insured.


INTEREST:                Excess Directors and Officers Liability and Company Reimbursement
                         Insurance as more fully defined in the wording referenced herein.


LIMIT OF
LIABILITY:               USD 10,000,000 in the aggregate

                         In excess of:

                         USD 40,000,000 in the aggregate, which in turn in excess of underlying primary
                         retention(s)


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                                   o




LIMITS:                            rid   id
                         12




CONDITIONS:                                       Excess Form as attached
                                                  Retroactive date 21st October 2017.
                         3 4 5 6




                                                  Short Rate Cancellation Table NMA 45 as attached
                                                  Small AP/RP Clause NMA 1168 as attached
                                                  Nuclear Incident Exclusion NMA 1256 as attached
                                                  Radioactive Contamination Exclusion Clause NMA 1477 as
                                                  attached
                         7 89 1




                                                  War and Terrorism Exclusion NMA 2918 as attached.
                                                  TRIA Clause LMA 5019 as attached.
                                                  Sanctions Clause as attached.
                              o




                                                  Premium Payment Clause LSW 3000 as attached.


SUBJECTIVITIES:          None

CHOICE OF LAW
& JURISDICTION:          This insurance shall be governed by and construed in accordance with the law
                         of New York and each party agrees to submit to the exclusive jurisdiction of the
                         courts of the United States of America


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 507 PRF                                                                                       」coor
 Price Forbes & Partners Limited
                                                                                          PRICE FORBES
 UMR : B0507 N17FA24460


PREMIUM:                  USD 600,000 (100%) Annual


PREMIUM
PAYMENT TERMS:            Premium Payment Clause LSW 3000 (75 days)



TAXES PAYABLE
BY INSURED AND
ADMINISTERED
BY INSURER(S):            None applicable



INSURER
CONTRACT
DOCUMENTATION:            This document details the contract terms entered into by the ¡nsurer(s), and
                          constitutes the contract documentation.




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 Price Forbes & Partners Limited
                                                                                                   PRICE FORBES
 UMR : B0507 N17FA24460



 DECLARATIONS



 EXCESS INSURANCE POLICY



SUBJECT TO ALL OF THE TERMS, CONDITIONS AND LIMITATIONS OF THE FOLLOWED POLICY,
THIS POLICY MAY ONLY APPLY TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS DURING
THE POLICY PERIOD PROVIDED THAT SUCH CLAIM IS REPORTED IN WRITING TO THE
UNDERWRITERS PURSUANT TO THE POLICY PROVISIONS. AMOUNTS INCURRED AS COSTS AND
EXPENSES INCURRED IN THE DEFENSE OR SETTLEMENT OF CLAIMS SHALL REDUCE AND MAY
EXHAUST THE APPLICABLE LIMIT OF LIABILITY AND ARE SUBJECT TO THE RETENTIONS. THE
UNDERWRITERS SHALL NOT BE LIABLE FOR ANY AMOUNTS AFTER THE LIMIT OF LIABILITY
HAS BEEN EXHAUSTED. PLEASE READ THIS POLICY CAREFULLY.

These Declarations along with the Policy with endorsements shall constitute the contract between the Insureds and the
Underwriters.


 Policy Number:         B0507 N17FA24460


 Item 1.      Named Insured:

              AMTRUST FINANCIAL SERVICES, INC.

              Principal Address:
              59 Maiden Lane, 43rd Floor
              New York
              New York
              10038
              United States of America



 Item 2.      Policy Period:

              From:      21st October 2017

              To:        21s1 October 2018

              Both dates at 12:01 a.m. Local Time at the Principal Address stated in Item 1.




 Item 3.      Limit of Liability:

              USD 10,000,000 Each claim, including costs and expenses incurred in the defense or
                             settlement of such claim.

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 Price Forbes & Partners Limited
                                                                                PRICE FORBES
 UMR : B0507 N17FA24460


            USD 10,000,000 in the Aggregate for the Policy Period, including costs and expenses
                           incuiTed in the defense or settlement of all claims.

 Item 4.   Premium:

     USD 600,000



 Item 5.    Notification pursuant to Clause VI. shall be given to:
            Underwriters, via:

            Price Forbes & Partners ltd,
            2 Minster Court,
            Mincing Lane.
            London EC3R 7PD

            Attention; iuliarobinson@,priceforbes.com


item 6.
           Underlying Insurance:

           PRIMARY Policy number ELU152497-17 issued by Indian Harbour Insurance Company for a
           limit of USD 5,000,000 in the aggregate.

           First Excess Policy number DOC 1074701-00 issued by Zurich-American Insurance Company
           for a limit of USD 5,000,000 in the aggregate.

           Second Excess Policy number MNN626501/01/01/2017 issued by Axis Insurance Company
           for a limit of USD 5,000,000 in the aggregate.

           Third Excess Policy number B0507N17FA23130 issued by Hiscox (Syndicate 33 at Lloyd’s)
           for a limit of USD 10,000,000 in the aggregate

           Forth Excess Policy number B0507N17FA23160 issued by various Insurers at Lloyd’s and
           Other insurers as per schedule attached therein.




tem 7.
           Endorsements Effective at Inception:
            1.
            2.
                       Retroactive date 21st October 2017
                       Short Rate Cancellation Table NMA 45.
                                                                                  識               \o




            3.         Small AP/RP Clause NMA 1168.
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           4          Nuclear Incident Exclusion NMA 1256.
           5          Radioactive Contamination Exclusion Clause NMA 1477.
           6          War and Terrorism Exclusion NMA 2918.
           7          TRIA Clause LMA5019.
           8          Sanctions Clause.
           9          Premium Payment Clause LSW 3000.
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                                              EXCESS INSURANCE POLICY

 In consideration of the payment of the premium, in reliance upon all information and representations provided or made
 available by the Insureds to the Underwriters in connection with the underwriting of this Policy, the Underwriters and
 Named Insured, on behalf of all Insureds, agree as follows:

 I.   INSURING CLAUSE

      This Policy shall provide coverage in accordance with all of the terms, conditions and limitations (including, but not
      limited to, the exclusions and notice requirements) of the Followed Policy except for the Limit of Liability, the
      premium or as otherwise set forth herein. Coverage hereunder shall attach only after all of the Underlying Limits have
      been exhausted through payments by, or on behalf of, or in place of the insurers of the Underlying Insurance of
      amounts under the Underlying Insurance. The risk of uncollectibility of any Underlying Insurance (in whole or in
      part), whether because of financial impairment or insolvency of an insurer of the Underlying Insurance or for any
      other reason, is expressly retained by the Insureds and is not insured by or assumed by the Underwriters.

II.   DEFINITIONS

      A.   Followed Policy means the insurance policy identified in Item 6. of the Declarations.
      B.   Insureds mean all persons and entities covered under the Followed Policy.
      C.   Named Insured means all persons and entities set forth in Item 1. of the Declarations.
      D.   Policy Period means the period set forth in Item 2. of the Declarations.
      E.   Underlying Insurance means the Followed Policy and all other underlying insurance policies, if any, identified
           in Item 7. of the Declarations.
      F.   Underlying Limits mean an amount equal to the aggregate of all limits of liability of the Underlying Insurance.

III. LIMIT OF LIABILITY

      The amount set forth in Item 3. of the Declarati이is shall be the maximum aggregate Limit of し¡ability of the
      Underwriters for all coverage under this Policy, regardless of the number of claims made against the Insureds or the
      time of payment and regardless of whether or not an extended reporting period applies.

IV. CHANGES TO UNDERLYING INSURANCE AND DEPLETION OF UNDERLYING LIMITS

      If, subsequent to the inception date of this Policy, the terms, conditions 이. limitations of an Underlying Insurance are
      modified, the Insureds must notify the Underwriters in writing, as soon as practicable, of such modification. If any
      changes to the Followed Policy: (a) expand coverage, (b) change the policyholder name or address, 이. (c) modify
      premium, this Policy shall not follow those changes unless the Underwriters agree in writing to do so. If any coverage
      under any Underlying Insurance is subject to a sub-limit, then this Policy provides no coverage excess of such sub­
      limit, but the Underwriters shall recognize payment of such amount as reducing the Underlying Limit by such amount.
      Furtlierm이—e, if any amount covered under any policy issued to the Insureds outside of the United States of America (a
      “Foreign Policy”) and the Underlying Insurance expressly provides for the reduction of the Underlying Limit by
      reason of oavnient of such amount under the applicable Foreign Policy, then the Underwriters shall recognize payment
      of such amount as reducing the Underlying Limit by such amount.

V.    UNDERWRITERS RIGHTS

      The Underwriters have the same rights and protections as the insurer of the Followed Policy and shall have the right,
      but not the obligation, at their sole discretion, to elect to participate in the investigation, settlement, prosecution or
      defense of any claim.

VI. NOTICES

      Where notice is permitted or required by the Followed Policy, the Insureds have the same rights and obligations to         ン
      notify the Underwriters under this Policy, except that such notice shall be given to the Underwriters at the address set (Y
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    forth in Item 5. of the Declarations. Notice to any other insurer shall not constitute notice to the Underwriters unless
    also given to the Underwriters as provided above.


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                                           RETROACTIVE DATE



 In consideration of the premium charged for this Policy, it is hereby understood and agreed that this Policy
 excludes any Loss or Claim based upon, arising out of, directly or indirectly resulting from or in consequence
 of, or in any way involving:

             any Wrongful Act actually or allegedly committed or any conduct actually or allegedly
             undertaken prior to 12.01am Local Time on 21st October 2017,

 2.          any other Wrongful Act occurring on or subsequent to the date stated in 1. above which
             together with a Wrongful Act occurring prior to such date, would constitute Interrelated
             Wrongful Acts, or

 3.          any other conduct occurring on or subsequent to the date stated in 1. above, together with
             conduct occurring prior to such date, have as a common nexus any fact, circumstance,
             situation, event, transaction or series of facts, circumstances, situations, events or transactions.



All other terms and conditions of this Policy remain unchanged.




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 NOTWITHSTAND ING anything to the contrary contained herein and in consideration of the premium for which this
 insurance is written it is agreed that in the event of cancellation thereof by the Assured the earned premium shall be
 computed as follows:


                             SHORT RATE CANCELLATION TABLE
 A.       For insurance written for one year:-

         Days Insurance              % of One                   Days Insurance    % of One
         In Force                    Year Premium               In Force          Year Premium

                                      5                         154- 156                53
          2                           6                         157 - 160               54
          3 - 4. . . . . . .          7                         161 - 164               55
          5- 6. . . . . . .           8                         165 - 167               56
          7 - 8. . . . . . .         • 9                        168 - 171               57
          9 - 10. . . . . .           10                        172- 175                58
          11- 12. . . . . .           11                        176- 178                59
          13- 14. . . . . .           12                        179- 182 (6 Monlhs)... 60
          15- 16. . . . . .           13                       183 - 187                61
          17- 18. . . . . .          14                        188-191                  62
          19- 20. . . . . .          15                         192 - 196               63
         21 - 22. . . . . .          16                        197-200                  64
         23- 25 . . . . . .          17                        201 -205                 65
         26 - 29. . . . . .          18                        206 - 209                66
         30- 32 (1 Month)••••_.      19                        210-214(7 Months)... 6フ
         33 - 36 . . . . . .         20                        215-218                  68
         37 - 40. . . . . .          21                        219-223                  69
         41 - 43. . . . . .          22                        224 - 228                70
         44 - 47. . . . . .          23                        229 - 232                71
         48- 51. . . . . .           24                        233 -237                 72
         52 - 54 . . . . . .         25                        238-241                  73
         55- 58. . . . . .           26                        242 - 246 (8 Months)... 74
         59 - 62 (2 Months)…         27                        247 - 250                75
         63 - 65 . . . . . .         28                        251 -255                 76
         66 - 69 . . . . . .         29                        256 - 260                77
         70 -フ3. . . . . .           30                        261 -264                 78
         74 - 76. . . . . .          31                        265 - 269                79
         77 - 80. . . . . .          32                        270 - 273 (9 Monlhs)... 80
         81 - 83. . . . . .          33                        274 - 278                81
         84- 87 . . . . . .          34                        279 - 282                82
         88 - 91 (3 Months).....     35                        283 -287                 83
         92- 94. . . . . .           36                        288-291                  84
         95- 98 . . . . . .          37                        292 - 296                85
         99 - 102 . . . . .          38                        297-301                  86
         103 - 105 . . . . .         39                        302-305 (10 Months).. 87
         106- 109 . . . . .          40                        306-310                  88
         110-113. . . . .            41                        311 -314                 89
         114- 116. . . . .           42                        315-319                 90
         11 フ-120. . . . .           43                        320 - 323               91
         121-124 (4 Months)...       44                        324 - 328               92
         125-127 . . . . .           45                        329-332                 93
         128 - 131 . . . . .         46                        333 - 337(11 Months).. 94
         132- 135 . . . . .          47                        338- 342                95
         136- 138 . . . . .          48                        343 - 346               96
         139- 142 . . . . .          49                        347- 351                97
         143 - 146 . . . . .         50                        352 - 355               98
         147- 149 . . . . .          51                        356 - 360               99                     X
         150- 153 (5 Months)...      52                        361 - 366 (12 Months).. 100
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 B.       For Insurances written for more or less than one year:-

                  If insurance has been in force for 12 months or less, apply the short rate table to the full annual
                  premium determined as for an insurance written for a term of 이le year.

          2.      If insuratice has been in force for more than 12:-

                  a)       Determine full annual premium as for an insurance written for a term of one year.

                  b)       Deduct such premium from the full insurance premium and on the remainder calculate the
                           pro-rata earned premium on the basis of the ratio of the length of time beyond one year the
                           insurance has been in force to the length of time beyond one year for which the insurance
                           was originally written.

                  c)       Add premium produced in accordance with items a) and b) to obtain earned premium during
                           the full period of insurance that has been in force.


 NMA 45




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                SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


NOTWITHSTANDING anything to the contrary contained herein and in consideration of the premium for
which this Insurance is written, it is understood and agreed that whenever an additional or return premium of
$2 or less becomes due from or to the Assured on account of the adjustment of a deposit premium, or of an
alteration in coverage or rate during the term or for any other reason, the collection of such premium from
the Assured will be waived or the return of such premium to the Assured will not be made, as the case may
be.


NMA1168
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          NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)


 For attachment to insurances of the following classifications in the U.S.A., its Territories and Possessions,
 Puerto Rico and the Canal Zone:

           Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners or
           C이itmctors (including railroad) Protective Liability, Manufacturers and Contractors Liability,
           Product Liability, Professional and Malpractice Liability, Storekeepers Liability, Garage Liability,
           Automobile Liability (including Massachusetts Motor Vehicle or Garage Liability),

not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-しmbility-Direct
(limited) applies.

This Policy* does not apply:

               Under any Liability Coverage, to injury, sickness, disease, death or destruction:

               (a) with respect to which an insured under the Policy is also an insured under a nuclear energy
                   liability policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic
                   Energy Liability Underwriters or Nuclear Insurance Association of Canada, or would be an
                   insured under any such policy but for its termination upon exhaustion of its limit of liability;
                   or

               (b) resulting from the hazardous properties of nuclear material and with respect to which (1)
                   any person or organization is required to maintain financial protection pursuant to the
                   Atomic Energy Act of 1954, or any law amendatory thereof, or (2) the insured is, or had this
                   Policy not been issued would be, entitled to indemnity from the United States of America,
                   or any agency thereof, under any agreement entered into by the United States of America,
                   or any agency thereof, with any person or organization.

    II.        Under any Medical Payments Coverage, or under any Supplementary Payments Provision
               relating to immediate medical or surgical relief, to expenses incurred with respect to bodily
               injury, sickness，disease or death resulting from the hazardous properties of nuclear material and
               arising out of the operation of a nuclear facility by any person or organization.

    III.       Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting fram
               the hazardous properties of nuclear material, if:

               (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or on behalf of,
                   an insured or (2) has been discharged or dispersed therefrom;

               (b) the nuclear material is contained in spent ñiel or waste at any time possessed, handled, used,
                   processed, stored, transported or disposed of by or on behalf of an insured; or

               (c) the injury, sickness, disease, death or destruction arises out of the furnishing by an insured
                   of services, materials, parts or equipment in connection with the planning, construction,
                   maintenance, operation or use of any nuclear facility, but if such facility is located within
                   the United States of America, its territories or possessions or Canada, this exclusion (c)
                   applies only to injury to or destruction of property at such nuclear facility.

    IV.        As used in this endorsement:
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             "hazardous properties" include radioactive, toxic or explosive properties; "nuclear material"
             means source material, special nuclear material or by-product material; "source material",
             "special nuclear material", and "by-product material" have the meanings given them in the
             Atomic Energy Act 1954 or in any law amendatory thereof; "spent fuel" means any fticl element
             or fuel component, solid or liquid, which has been used or exposed to radiation in a nuclear
             reactor; "waste" means any waste material (1) containing by-product material and (2) resulting
             from the operation by any person or organization of any nuclear facility included within the
             definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility" means:

             (a) any nuclear reactor，

             (b) any equipment or device designed or used for (1) separating the isotopes of uranium or
                 plutonium, (2) processing or utilizing spent fuel, or (3) handling, processing or packaging
                 waste.

             (c) any equipment or device used for the processing, fabricating or alloying of special nuclear
                 material if at any time the total amount of such material in the custody of the insured at the
                 premises where such equipment or device is located consists of or contains more than 25
                 grams of plutonium or uranium 233 or any combination thereof, or more than 250 grams of
                 uranium 235,

             (d) any structure, basin, excavation, premises or place prepared or used for the storage or
                 disposal of waste,

             and includes the site on which any of the foregoing is located, all operations conducted on such
             site and all premises used for such operations; "nuclear reactor" means any apparatus designed
             or used to sustain nuclear fission in a self-supporting chain reaction or to contain a critical mass
             of fissionable material. With respect to injury to or destruction of property, the word "injury” or
             "destruction" includes all forms of radioactive contamination of property.

 It is understood and agreed that, except as specifically provided in the foregoing to the contrary, this clause
 is subject to the terms, exclusions, conditions and limitations of the Policy to which it is attached.

 * NOTE: As respects policies which afford liability coverages and other forms of coverage in addition, the
 words underlined should be amended to designate the liability coverage to which this clause is to apply.


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 NMA1256
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    RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LTABILITY-DIRECT (U.S.A.)


 For attachment (in addition to the appropriate Nuclear Incident Exclusion Claiise-Liability-Direct) to
 liability insurances affording worldwide coverage.

In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or the Canal
Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly caused by or
contributed to by or arising from ionising radiations or contamination by radioactivity from any nuclear fuel
or from any nuclear waste from the combustion of nuclear fuel.


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NMA1477
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                                War and Terrorism Exclusion Endorsement


 Notwithstanding any provision to the contrary within this Policy or any Endorsement thereto it is agreed that
 this Policy excludes loss, damage, cost or expense of whatsoever nature directly or indirectly caused by,
 resulting from or in connection with any of the following regardless of any other cause or event contributing
 concurrently or in any other sequence to the loss;


 (1)     war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be declared or
         not), civil war, rebellion, revolution, insurrection, civil commotion assuming the proportions of or
         amounting to an uprising, military or usurped power; or

 (2)     any act of terrorism.
         For the purpose of this endorsement an act of terrorism means an act, including but not limited to
         the use of force or violence and/or the threat thereof, of any person or group(s) of persons, whether
         acting alone or on behalf of or in connection with any organisation(s) or government(s), committed
         for political, religious, ideological or similar purposes including the intention to influence any
         government and/or to put the public, or any section of the public, in fear.


This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or indirectly
caused by, resulting from or in connection with any action taken in controlling, preventing, suppressing or in
any way relating to (1) and/or (2) above.


If Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is not covered by
this policy, the burden of proving the contrary shall be upon the Assured.

In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder shall
remain in full force and effect.

NMA2918
08/10/2001




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                                                 TRIA Clause


 Coverage for acts of terrorism is already included in the policy (including any quotation for insurance) to
 which this notice applies. You should know that，under the policy, any losses caused by certified acts of
 terrorism would be partially reimbursed by the United States under a formula established by federai law.
 Under this formula, the United States pays 90% (85% in respect of losses occurring after 31 December
 2006) of covered terrorism losses exceeding the statutorily established deductible paid by the insurer
 providing the coverage. The portion of your annual premium that is attributable to coverage for certified acts
 of terrorism as defined in tlie Terrorism Risk insurance Act is: 1%



LMA 5019
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                                          SANCTIONS CLAUSE




No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any
benefit hereunder to the extent that the provision of such cover, payment of such claim or provision of such
benefit would expose the insurer, or its ultimate holding company, to any sanction, prohibition or restriction
implemented pursuant to resolutions of the United Nations or the h.ade and economic sanctions, laws or
regulations of the European Lmioii, United Kingdom, or United States of America.



All other terms and conditions remain unaltered




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                                        PREMIUM PAYMENT CLAUSE

 The (Re)lnsured undertakes that premium will be paid in full to Underwriters within 45 days of inception of
 this policy (or，in respect of instalment premiums, when due).

If the premium due under this policy has not been so paid to Underwriters by the 45th day from the inception
of this policy (and, in respect of instalment premiums, by the date they are due) Underwriters shall have the
right to cancel this policy by notirymg the (Re)lnsured via the broker in writing. In the event of cancellation,
premium is due to Underwriters on a pro rata basis for the period that Underwriters are on risk but the full
policy premium shall be payable to Underwriters in the event of a loss or occurrence prior to the date of
termination which gives rise to a valid claim under this policy.

It is agreed that Underwriters shall give not less than 10 days prior notice of cancellation to the (Re)lnsured
via the broker, if premium due is paid in full to Underwriters before the notice period expires, notice of
cancellation shall automatically be revoked. If not, the policy shall automatically terminate at the end of the
notice period.

Unless otherwise agreed, the Leading Underwriter (and Agreement Parts if appropriate) are authorised to
exercise rights under this clause on their own behalf and on behalf of all Underwriters participating in this
contract.

If any provision of this clause is found by any court or administrative body of competent jurisdiction to be
invalid or unenforceable, such invalidity or unenforceability will not affect the other provisions of this clause
which will remain in full force and effect.

Where the premium is to be paid through a London Market Bureau, payment to Underwriters will be deemed
to occur on the day of delivery of a premium advice note to the Bureau.



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                                              INFORMATION




 2017 submission as received from Brown & Brown.
 AmTrust Inc. Conference call dated 20,h October 2017
 NCD dated 3rd November 2017




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                                                  SECURITY DETAILS


 INSURER’S LIABILITY:

 (Reinsurer’s liability several not joint
 The liability of a (re)insurer under this contract is several and not joint with other (re)insurers party to this
 contract. A (re)insurer is liable only for the proportion of liability it has underwritten. A (re)insurer is not jointly
 liable for the proportion of liability underwritten by any other (re)insurer. Nor ¡s a (re)insurer otherwise
 responsible for any liability of any other (re)insurer that may underwrite this contract.

 The proportion of liability under this contract underwritten by a (re)insurer (or, in the case of a Lloyd’s
 syndicate, the total of the proportions underwritten by all the members of the syndicate taken together) is
 shown next to its stamp. This is subject always to the provision concerning “signing" below.

In the case of a Lloyd's syndicate, each member of the syndicate (rather than the syndicate itself) is a
(re)insurer. Each member has underwritten a proportion of the total shown for the syndicate (that total itself
being the total of the proportions underwritten by all the members of the syndicate taken together). The
liability of each member of the syndicate is several and not joint with other members. A member is liable
only for that member's proportion. A member is not jointly liable for any other member’s proportion. Nor is
any member otherwise responsible for any liability of any other (re)insurer that may underwrite this contract.
The business address of each member is Lloyd's, One Lime Street, London EC3M 7HA. The identity of
each member of a Lloyd's syndicate and their respective proportion may be obtained by writing to Market
Services, Lloyd's, at the above address.


Proportion of liability
Unless there is “signing” (see below), the proportion of liability under this contract underwritten by each
(re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions underwritten by all the
members of the syndicate taken together) is shown next to its stamp and is referred to as its "written line".

Where this contract permits, written lines, or certain written lines, may be adjusted ("signed"). In that case a
schedule is to be appended to this contract to show the definitive proportion of liability under this contract
underwritten by each (re)insurer (or, in the case of a Lloyd's syndicate, the total of the proportions
underwritten by all the members of the syndicate taken together). A definitive proportion (or, in the case of a
Lloyd's syndicate, the total of the proportions underwritten by all the members of a Lloyd's syndicate taken
together) is referred to as a "signed line”. The signed lines shown in the schedule will prevail over the written
lines unless a proven error in calculation has occurred.

Although reference is made at various points in this clause to "this contract" in the singular, where the
circumstances so require this should be read as a reference to contracts in the plural.


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21 June 2007
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ORDER HEREON:            100%

BASIS OF
WRITTEN LINES:           Percentage of Whole

                         NMA 2419 Lines Clause, if applicable.

SIGNING
PROVISIONS:              In the event that the written lines hereon exceed 100% of the order, any lines
                         written "to stand" will be allocated in full and all other lines will be signed down
                         in equal proportions so that the aggregate signed lines are equal to 100% of
                         the order without further agreement of any of the (re)insurers.

                         However:

                         a)   in the event that the placement of the order is not completed by the
                              commencement date of the period of insurance then all lines written by that
                              date will be signed in full：

                         b) the signed lines resulting from the application of the above provisions can
                            be varied, before or after the commencement date of the period of
                            insurance, by the documented agreement of the (re)insured, or the
                            (re)insured's representatives, and the Slip Leader. Such variation to be in
                            accordance with provision a) above with the resulting variation in signed
                            lines commencing from the date set out in that agreement.

                              Any other variation to the contracts will take effect only by the documented
                              agreement of the (re)insured, or the (re)insured’s representatives, and all
                              (re)insurers whose lines are to be varied. Such variation to the contracts
                              will take effect only when all such (re)insurers have agreed with the
                              resulting variation in signed lines commencing from the date set out in that
                              agreement.

LINE CONDITIONS:       None
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                                             WRITTEN LINES

 In a co-insurance placement, following (re)msurers may, but are not obliged to, follow the premium charged
 by the slip leader.

 (Re)insurers may not seek to guarantee for themselves terms as favourable as those which others
 subsequently achieve during the placement.


  Signed Line
  per cent (%)
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                                                    Chubb Global Markets - Financial Lines
                                                a trading name of Chubb Underwriting Agencies Ltd

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                                        All underwriters as per LPSO Registered Consortium No 9562
                                        being Lloyd’s Syndicates BAR ï955 (66.66%) &
                                        AML 2001 (16.67%) & EVE 2786 (16.67%)
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                                                                                                    PRICE FORBES

                                             WRITTEN LINES

In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the premium charged
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subsequently achieve during the placement.


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per cent (%)



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                     EXHIBIT P
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                                            RISK DETAILS

      UNIQUE MARKET
      REFERENCE:            B0509FINFW1800561


      TYPE:                 EXCESS DIRECTORS & OFFICERS LIABILITY AND COMPANY
                            REIMBURSEMENT INSURANCE


      INSURED:              AMTRUST FINANCIAL SERVICES, INC.


                            PRINCIPAL ADDRESS:
                            59 Maiden Lane
                            43rd Floor
                            New York 10038
                            United States of America


      PERIOD:               From: 29th November 2018
                            To: 29th November 2024
                            Both days at 12.01 am Local Standard Time at the Principal
                            Address.


      INTEREST:             Excess Directors and Officers Liability and Company
                            Reimbursement Insurance as more fully defined in the wording
                            referenced herein.


      LIMIT OF LIABILITY:   USD 10,000,000 in the aggregate

                            In excess of:

                            USD 40,000,000 in the aggregate, which in turn in excess of
                            underlying primary retention(s)

      TERRITORIAL           Worldwide.
      LIMITS:


      CONDITIONS:              1. Excess Wording, as attached.
                               2. Schedule of underlying Insurance:

                               Primary Contract
                               Policy No: ELU152497-17
                               Insurer: Indian Harbor Insurance Company
                               Limit: USD 5,000,000


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                             First Excess Contract
                             Policy No: DOC1074701
                             Insurer: Zurich American Insurance Company
                             Limit: USD 5,000,000

                             Second Excess Contract
                             Policy No: MNN626501/01/01/2017
                             Insurer: Axis Insurance Company
                             Limit: USD 5,000,000

                             Third Excess Contract
                             Policy No: USF00255018
                             Insurer: Allianz Global Corporate Specialty
                             Limit: USD 5,000,000

                             Fourth Excess Contract
                             Policy No: FINFW1800559
                             Insurer: Lloyds Syndicate 033
                             Limit: USD 5,000,000

                             Fifth Excess Contract
                             Policy No: FINFW18001800560
                             Insurer: Lloyds Syndicate 4711
                             Limit: USD 5,000,000


                             3. Small AP/RP Clause NMA 1168, as attached.
                             4. Nuclear Incident Exclusion NMA 1256, as attached.
                             5. Radioactive Contamination Exclusion Clause NMA 1477, as
                                 attached.
                             6. War and Terrorism Exclusion NMA 2918, as attached.
                             7. Sanction Limitation and Exclusion Clause LMA3100, as
                                 attached.
                             8. Tie in of limits clause, Prior Policy Endorsement, as
                                 attached
                             9. Premium Payment Clause LSW3000, as attached.
                             10. LMA 9105 (amended) – Policyholder Disclosure Notice of
                                 Terrorism Insurance Coverage, as attached.

                          Special Cancellation/Insurer Downgrade Clause as attached.

                          IUA 09-054 Foreign Account Tax Compliance Act (‘FATCA’) - only
                          to apply in respect of FATCA in scope contracts, as attached.

                          Where the terms ‘(Re)Insurer’ and/or ‘contract period’ and/or
                          ‘(Re)Insured’ do not appear in the Risk Details or attached Policy
                          wording the functional equivalents of these terms shall be deemed
                          incorporated herein.


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      CHOICE OF LAW &
      JURISDICTION:         Unless stated herein to the contrary, this (Re)Insurance shall be
                            governed by and construed in accordance with the laws of US New
                            York and the exclusive jurisdiction of the US New York courts.


      PREMIUM:              USD 1,200,000.00 (100%)


      PREMIUM PAYMENT
      TERMS:                Premium Payment Clause LSW 3000


      TAXES PAYABLE
      BY THE INSURED
      AND
      ADMINISTERED BY
      INSURERS:             None


      TAXES PAYABLE
      BY THE
      INSURERS AND
      ADMINISTERED BY
      INSURED OR THEIR
      AGENT:                None


      RECORDING,
      TRANSMITTING AND
      STORING
      INFORMATION:     Where Marsh Ltd maintains risk and claim data, information or
                       documents, Marsh Ltd may hold such data, information or
                       documents electronically.

      INSURER
      CONTRACT
      DOCUMENTATION:         This document details the contract terms entered into by the
                            (Re)Insurers and constitutes the contract document.

                            This contract is subject to US state Surplus lines requirements. It is
                            the responsibility of the surplus lines broker to affix a surplus lines
                            notice to the contract document before it is provided to the Insured.
                            In the event that the surplus lines notice is not affixed to the
                            contract document the Insured should contact the surplus lines
                            broker.



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                                  MARSH EXCESS LAYER POLICY

      In consideration of the Insured having paid or having promised to pay the premium, and
      subject to all of the terms, conditions and limitations of this excess policy, the insurers
      described in the SECURITY DETAILS of this policy (‘Insurer’) and the Insured agree as
      follows:

      1.     Insuring agreement

      1.1    The Insurer will provide the Insured with insurance coverage upon the terms,
             conditions and limitations of the Primary Policy except insofar as express provision
             for any matter is set out in this excess policy, and only insofar as necessary, the
             terms conditions and limitations set out in this excess policy will prevail over the
             corresponding terms, conditions and limitations of the Primary Policy.

      1.2    Subject to the Limit of Liability the Insurer will pay to or on behalf of the Insured
             that proportion of the loss which exceeds the Underlying Insurance.

      1.3    Subject to the provisions of sub-clause 1.4, unless and to the extent that clause 4 of
             this excess policy applies, the Insurer will have no liability under this excess policy
             unless and until all of the Underlying Insurance has been exhausted by the
             payment of losses under the Underlying Insurance.

      1.4    For the purposes of this excess policy, losses shall be deemed to have been paid
             under an Underlying Insurance if all or any of the insurers subscribing thereto have
             paid, or have agreed to pay such losses, or have had their liability to pay such losses
             established by judgment, arbitration award or other final binding adjudication. Such
             payment will, for the purposes of this excess policy, be deemed to have been made
             on the date of payment, agreement or adjudication, whichever occurs first.

             Furthermore:

             (a)    If a payment in respect of a loss is made under an Underlying Insurance of
                    an amount which is less than the applicable limit of liability under that
                    Underlying Insurance (but the relevant covered loss of the Insured exceeds
                    the applicable limit of liability under that Underlying Insurance), then such
                    payment will, for the purposes of determining the application of this excess
                    policy to such covered loss, be deemed to exhaust the applicable limit of
                    liability of that Underlying Insurance provided the Insurer will be liable to
                    pay only that part of the covered loss which exceeds the Underlying
                    Insurance.




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            (b)    If any insurer participating on an Underlying Insurance is or becomes
                   Insolvent then, for the purposes of this excess policy, such Insolvent insurer
                   will be deemed to have paid in full the amount of its liability for losses under
                   such Underlying Insurance, but only in the event that either:

                   (i)    any other insurer participating on the relevant Underlying Insurance
                          pays, or agrees to pay or has its liability to pay established by
                          judgment, arbitration award or other final binding adjudication,
                          whichever occurs first; or

                   (ii)   an Insured establishes that the Insurer would be liable hereunder but
                          for the Insolvency.

            (c)    The Insurer will recognise the erosion of Underlying Insurance whether or
                   not cover provided in such Underlying Insurance is also provided by this
                   excess policy.

      2.    Definitions

      2.1   Insolvent or Insolvency means that any step, application, order, proceeding or
            appointment has been taken or made in respect of an entity for composition or
            arrangement with creditors, winding-up, dissolution, administration, receivership
            (administrative or otherwise) or bankruptcy, or that the entity is unable to pay its
            debts.

      2.2   Insured means all persons, organisations and entities as are insured under the
            Primary Policy for their own separate insurable interests.

      2.3   Insurer means those entities and/or syndicates who are identified as underwriters or
            insurers by affixing of their seal or stamp in the SECURITY DETAILS section of this
            contract.

      2.4   Limit of Liability means the amount set forth in the RISK DETAILS of this policy,
            which will be the maximum sum the Insurer is liable to pay under this excess policy.

      2.5   Primary Policy means the primary contract identified in the RISK DETAILS of this
            policy.

      2.6   Policy Period means the period specified in the RISK DETAILS of this policy.

      2.7   Underlying Insurance means the Primary Policy together with any and all excess
            policies providing together the amount of cover specified at item (b) of the limit of
            liability in the RISK DETAILS of this policy, and any policies replacing any of them.




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      3.    Maintenance of Underlying Insurance

      3.1   Subject to sub-clauses 3.2 to 3.4 below, all of the Underlying Insurance will be
            maintained during the Policy Period in full effect, except for any depletion of
            underlying limits.

      3.2   The Insured’s failure to maintain Underlying Insurance by reason of an action by
            an insurer subscribing to the Underlying Insurance (other than in relation to
            cancellation for the non-payment of premium by the Insured) will not invalidate this
            excess policy but, and subject to the application of clause 4, the Insurer will not be
            liable to a greater extent or at an earlier point in time than if sub-clause 3.1 had been
            complied with. Nothing in this clause will negate clause 6 of this excess policy.

      3.3   In the event of a failure by the Insured to give notice or to exercise any extension
            under any Underlying Insurance the Insurer will not be liable under this excess
            policy to a greater extent or at an earlier point in time than they would have been in
            the absence of such failure.

      3.4   In the event of the Insolvency of any insurer participating on any Underlying
            Insurance the Insured shall not be in breach of the obligations under sub-clause 3.1
            above if the Underlying Insurance is no longer in full force and effect as a result of
            that Insolvency.

      4.    Depletion of Underlying Limits

      4.1   In the event and to the extent of the depletion or exhaustion of any limit of liability of
            the Underlying Insurance other than as provided for in sub-clause 4.2 below, and
            as a result of payment of a loss or losses under the Underlying Insurance, this
            excess policy will (subject to the Limit of Liability and terms, conditions and
            limitations of this excess policy) continue and operate for subsequent losses as
            excess insurance over the amount of the relevant limit of liability remaining under
            such Underlying Insurance.

      4.2   In the event of the exhaustion of any aggregate limit of liability applicable under the
            Underlying Insurance as a result of the payment of loss or losses under the
            Underlying Insurance this excess policy will (subject to the Limit of Liability and
            terms, conditions and limitations of this excess policy) continue for subsequent
            losses as primary insurance in respect of any subsequent loss or losses that would
            otherwise have been covered by such Underlying Insurance but for the exhaustion
            of that aggregate limit of liability.

      4.3   In the event that this excess policy is required to operate as primary insurance by
            virtue of sub-clause 4.2 above:

            (a)    any excess or retention specified in the Primary Policy shall apply to this
                   excess policy, otherwise no excess or retention shall apply to this excess
                   policy;




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            (b)    in respect of any loss or losses for which the Primary Policy imposed a sub-
                   limit of liability, this excess policy will provide cover for such loss or losses,
                   including any unpaid portion of that sub-limit.

      4.4   For the purposes of this clause 4, the determination of whether there has been any
            payment of losses under and/or exhaustion of any Underlying Insurance will be
            made in accordance with sub-clause 1.4. However, and for the purposes of this
            clause 4 only:

            (a)    if and to the extent that paragraph 1.4(a) above applies, any and all amounts
                   representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount paid by that Underlying Insurance

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above

            and

            (b)    if and to the extent that sub-paragraph 1.4(b)(i) above applies, any and all
                   amounts representing the difference between:

                   (i)     any applicable limit of liability of any Underlying Insurance and

                   (ii)    the amount that any insurer participating on the relevant Underlying
                           Insurance pays, or agrees to pay or has its liability to pay established
                           by judgment, arbitration award or other final binding adjudication

                   will be included in the calculation of the amount excess of which this excess
                   policy shall then operate in accordance with sub-clause 4.1 or sub-clause 4.2
                   above.

      4.5   An Underlying Insurance will not be deemed exhausted solely by reason of the
            Insolvency of an insurer participating thereon.

      5.    Claims

      5.1   Any first notice of a claim or circumstance (or equivalent term by which the Primary
            Policy identifies matters potentially giving rise to notifications thereunder in respect
            of a loss or losses) required to be given under the terms of the Primary Policy, will
            also be given to the Insurer under this excess policy.




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      5.2   In respect of any matter notified pursuant to sub-clause 5.1 above:

            (a)    the Insured will inform the Insurer of any material developments in relation to
                   such matter;

            (b)    without prejudice to paragraph 5.2(a) above the rights and obligations set out
                   in any claims investigation, claims co-operation, claims handling, claims
                   defence, claims assessment and/or claims settlement provisions of the
                   Primary Policy will be incorporated into this excess policy, but will not be
                   enforceable for the purpose of this excess policy unless and until the loss or
                   losses (including any defence costs or other fees incurred by the Insured for
                   which indemnity is available under the Primary Policy) likely to arise from
                   such matter have the potential to deplete the Underlying Insurance such
                   that the policy immediately underlying this excess policy will be eroded to the
                   extent of 50% or more of the limit of liability of such immediately underlying
                   policy.

      6.    Alteration

      6.1   No amendment to the Primary Policy during the Policy Period will be effective in
            extending the scope of this excess policy, until agreed in writing by the Insurer.

      6.2   No claim payment made as a consequence of an amendment to the Primary Policy
            during the Policy Period will operate to deplete or exhaust any limit of liability of the
            Underlying Insurance unless such amendment has been agreed in writing by the
            Insurer.

      7.    Governing Law and Jurisdiction

      7.1   The constructions, interpretation and meaning of the terms, exclusions limitations
            and conditions of this excess policy shall be determined in accordance with the laws
            of the state or country specified in the RISK DETAILS of this policy, and any dispute
            arising hereunder will be subject to the exclusive jurisdiction of the courts of the state
            or country specified in the RISK DETAILS of this policy.

      8.    Dispute Resolution

      8.1   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy, the provisions of the Primary Policy are incorporated into this excess
            policy for the purposes of determining the dispute resolution procedures applicable to
            this excess policy.

      8.2   In the event that a dispute arises between the Insurer and the Insured under this
            excess policy in relation to matters that are also the subject of a dispute between the
            Insured and the insurers of any Underlying Insurance then those disputes shall be
            heard together in the same court or arbitration proceedings.




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                  SMALL ADDITIONAL OR RETURN PREMIUMS CLAUSE (U.S.A.)


      NOTWITHSTANDING anything to the contrary contained herein and in consideration of the
      premium for which this Insurance is written, it is understood and agreed that whenever an
      additional or return premium of $2 or less becomes due from or to the Assured on account of
      the adjustment of a deposit premium, or of an alteration in coverage or rate during the term
      or for any other reason, the collection of such premium from the Assured will be waived or
      the return of such premium to the Assured will not be made, as the case may be.
      NMA1168




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         NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

      For attachment to insurances of the following classifications in the U.S.A., its Territories and
      Possessions, Puerto Rico and the Canal Zone:

                Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability,
                Owners or Contractors (including railroad) Protective Liability, Manufacturers and
                Contractors Liability, Product Liability, Professional and Malpractice Liability,
                Storekeepers Liability, Garage Liability, Automobile Liability (including
                Massachusetts Motor Vehicle or Garage Liability),

      not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
      Liability-Direct (Limited) applies.

      This Policy* does not apply:

         I.        Under any Liability Coverage, to injury, sickness, disease, death or destruction:

                   (a) with respect to which an insured under the Policy is also an insured under a
                       nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                       Association, Mutual Atomic Energy Liability Underwriters or Nuclear
                       Insurance Association of Canada, or would be an insured under any such
                       policy but for its termination upon exhaustion of its limit of liability; or

                   (b) resulting from the hazardous properties of nuclear material and with respect
                       to which (1) any person or organization is required to maintain financial
                       protection pursuant to the Atomic Energy Act of 1954, or any law amendatory
                       thereof, or (2) the insured is, or had this Policy not been issued would be,
                       entitled to indemnity from the United States of America, or any agency
                       thereof, under any agreement entered into by the United States of America,
                       or any agency thereof, with any person or organization.

         II.       Under any Medical Payments Coverage, or under any Supplementary Payments
                   Provision relating to immediate medical or surgical relief, to expenses incurred
                   with respect to bodily injury, sickness, disease or death resulting from the
                   hazardous properties of nuclear material and arising out of the operation of a
                   nuclear facility by any person or organization.

         III.      Under any Liability Coverage, to injury, sickness, disease, death or destruction
                   resulting from the hazardous properties of nuclear material, if:

                   (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or
                       on behalf of, an insured or (2) has been discharged or dispersed therefrom;

                   (b) the nuclear material is contained in spent fuel or waste at any time
                       possessed, handled, used, processed, stored, transported or disposed of by
                       or on behalf of an insured; or

                   (c) the injury, sickness, disease, death or destruction arises out of the furnishing
                       by an insured of services, materials, parts or equipment in connection with


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                    the planning, construction, maintenance, operation or use of any nuclear
                    facility, but if such facility is located within the United States of America, its
                    territories or possessions or Canada, this exclusion (c) applies only to injury
                    to or destruction of property at such nuclear facility.

         IV.     As used in this endorsement:

                 "hazardous properties" include radioactive, toxic or explosive properties; "nuclear
                 material" means source material, special nuclear material or by-product material;
                 "source material", "special nuclear material", and "by-product material" have the
                 meanings given them in the Atomic Energy Act 1954 or in any law amendatory
                 thereof; "spent fuel" means any fuel element or fuel component, solid or liquid,
                 which has been used or exposed to radiation in a nuclear reactor; "waste" means
                 any waste material (1) containing by-product material and (2) resulting from the
                 operation by any person or organization of any nuclear facility included within the
                 definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility"
                 means:

                 (a) any nuclear reactor,

                 (b) any equipment or device designed or used for (1) separating the isotopes of
                     uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                     processing or packaging waste,

                 (c) any equipment or device used for the processing, fabricating or alloying of
                     special nuclear material if at any time the total amount of such material in the
                     custody of the insured at the premises where such equipment or device is
                     located consists of or contains more than 25 grams of plutonium or uranium
                     233 or any combination thereof, or more than 250 grams of uranium 235,

                 (d) any structure, basin, excavation, premises or place prepared or used for the
                     storage or disposal of waste,

                 and includes the site on which any of the foregoing is located, all operations
                 conducted on such site and all premises used for such operations; "nuclear
                 reactor" means any apparatus designed or used to sustain nuclear fission in a
                 self-supporting chain reaction or to contain a critical mass of fissionable material.
                 With respect to injury to or destruction of property, the word "injury" or
                 "destruction" includes all forms of radioactive contamination of property.

      It is understood and agreed that, except as specifically provided in the foregoing to the
      contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
      Policy to which it is attached.
      * NOTE: As respects policies which afford liability coverages and other forms of coverage in
      addition, the words underlined should be amended to designate the liability coverage to
      which this clause is to apply.

      17/3/60
      NMA1256



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        RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


      For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-
      Direct) to liability insurances affording worldwide coverage.

      In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or
      the Canal Zone, this Policy does not cover any liability of whatsoever nature directly or
      indirectly caused by or contributed to by or arising from ionising radiations or contamination
      by radioactivity from any nuclear fuel or from any nuclear waste from the combustion of
      nuclear fuel.


      13/2/64
      NMA1477




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                        WAR AND TERRORISM EXCLUSION ENDORSEMENT

      Notwithstanding any provision to the contrary within this insurance or any endorsement
      thereto it is agreed that this insurance excludes loss, damage, cost or expense of
      whatsoever nature directly or indirectly caused by, resulting from or in connection with any of
      the following regardless of any other cause or event contributing concurrently or in any other
      sequence to the loss;

      1. war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
         declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming
         the proportions of or amounting to an uprising, military or usurped power; or

      2. any act of terrorism.

         For the purpose of this endorsement an act of terrorism means an act, including but not
         limited to the use of force or violence and/or the threat thereof, of any person or group(s)
         of persons, whether acting alone or on behalf of or in connection with any organisation(s)
         or government(s), committed for political, religious, ideological or similar purposes
         including the intention to influence any government and/or to put the public, or any
         section of the public, in fear.

      This endorsement also excludes loss, damage, cost or expense of whatsoever nature
      directly or indirectly caused by, resulting from or in connection with any action taken in
      controlling, preventing, suppressing or in any way relating to 1 and/or 2 above.

      If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or
      expense is not covered by this insurance the burden of proving the contrary shall be upon
      the Assured.

      In the event any portion of this endorsement is found to be invalid or unenforceable, the
      remainder shall remain in full force and effect.


      08/10/01
      NMA2918




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                                                                                        Contract Leader
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                         SANCTION LIMITATION AND EXCLUSION CLAUSE

      No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any
      claim or provide any benefit hereunder to the extent that the provision of such cover,
      payment of such claim or provision of such benefit would expose that (re)insurer to any
      sanction, prohibition or restriction under United Nations resolutions or the trade or economic
      sanctions, laws or regulations of the European Union, United Kingdom or United States of
      America.

      15/09/10
      LMA3100




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                                TIE-IN OF LIMITS CLAUSE – POLICIES

      It is agreed that:

      In consideration of the premium charged, it is hereby understood and agreed that the
      Limit of Liability of the Insurer for Loss under this Policy, UMR B0509FINFW1800561, and
      the prior Policy, UMR B0509FINFW1800154 (amended from UMR B0507N17FA24460),
      shall be combined.

      Accordingly, the Limit of Liability for Loss under either Policy mentioned above shall be
      reduced by Loss incurred under either Policy.


      All other terms, conditions and exclusions remain unchanged.




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                                      PREMIUM PAYMENT CLAUSE

      The (Re)Insured undertakes that premium will be paid in full to Underwriters within 60 days
      of inception of this policy (or, in respect of instalment premiums, when due).

      If the premium due under this policy has not been so paid to Underwriters by the 60th day
      from the inception of this policy (and, in respect of instalment premiums, by the date they are
      due) Underwriters shall have the right to cancel this policy by notifying the (Re)Insured via
      the broker in writing. In the event of cancellation, premium is due to Underwriters on a pro
      rata basis for the period that Underwriters are on risk but the full policy premium shall be
      payable to Underwriters in the event of a loss or occurrence prior to the date of termination
      which gives rise to a valid claim under this policy.

      It is agreed that Underwriters shall give not less than 15 days prior notice of cancellation to
      the (Re)Insured via the broker. If premium due is paid in full to Underwriters before the
      notice period expires, notice of cancellation shall automatically be revoked. If not, the policy
      shall automatically terminate at the end of the notice period.

      Unless otherwise agreed, the Leading Underwriter (and Agreement Parties if appropriate)
      are authorised to exercise rights under this clause on their own behalf and on behalf of all
      Underwriters participating in this contract.

      If any provision of this clause is found by any court or administrative body of competent
      jurisdiction to be invalid or unenforceable, such invalidity or unenforceability will not affect
      the other provisions of this clause which will remain in full force and effect.

      Where the premium is to be paid through a London Market Bureau, payment to Underwriters
      will be deemed to occur on the day of delivery of a premium advice note to the Bureau.


      11/01
      LSW3000




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                            Special Cancellation/Insurer Downgrade Clause

      1   The Underwriter shall give notice to the Insured’s representative, as identified in this
          Contract, as soon as practicable and in any event within 14 days, or as soon as
          permitted by its regulator if later, where the Underwriter:

          (i) a. ceases underwriting entirely; or

             b. ceases underwriting the type of insurance provided by this policy in a territory
                where the Insured is domiciled; or

             c. formally announces its intention to cease underwriting as per (i)a or (i)b above; or

          (ii) voluntarily or involuntarily elects to wind up, run off its business, enter a scheme of
               arrangement or enter into any form of bankruptcy protection or related formal or
               informal termination of its insurance operations; or

          (iii) has its authority to carry on insurance business withdrawn.

      2   The Insured or the Insured's representative may terminate an Underwriter's participation
          on this risk by giving written notice:

          (i) When one of the events identified above at Condition 1 takes place; or

          (ii) In the event that an Underwriter has its financial strength rating downgraded below
               BBB by Standard & Poor’s or A- by AM Best. For Lloyd’s syndicates it is the financial
               strength rating of Lloyd’s as a whole which is considered.

          The effective date of termination shall not be earlier than the date notice is actually given
          by the Insured or the Insured's representative.

      Upon notice of cancellation having been given by the Insured or the Insured's representative
      to the Underwriter, the Underwriter shall pay to the Insured a pro rata return premium for the
      unexpired period of the policy. Such pro rata return premium shall be paid in accordance
      with the terms of trade previously agreed between the Insured's representative and the
      Underwriter to whom notice of cancellation has been given.

      In the event that there are any notifications under this policy or the Underwriter has made
      any payments pursuant to any policy term or condition providing coverage under this policy
      to the Insured, the premium shall be deemed fully earned unless the Insured withdraws such
      notifications and/or reimburses the Underwriter for any payment(s) made.




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        POLICYHOLDER DISCLOSURE NOTICE OF TERRORISM INSURANCE COVERAGE


      Coverage for acts of terrorism is already included in the policy (including any quotation for
      insurance) to which this notice applies. You should know that, under the policy, any losses
      caused by certified acts of terrorism would be partially reimbursed by the United States
      under a formula established by federal law. Under this formula, the United States pays 85%
      through 2015; 84% beginning on January 1, 2016; 83% beginning on January 1, 2017; 82%
      beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80% beginning on
      January 1, 2020; of covered terrorism losses exceeding the statutorily established deductible
      paid by the insurer providing the coverage. However, your policy may contain certain
      exclusions which might affect your coverage, such as exclusion for nuclear events. The term
      “act of terrorism” means any act that is certified by the Secretary of the Treasury, in
      consultation with the Secretary of Homeland Security and the Attorney General of the United
      States, to be an act of terrorism; to be a violent act or an act that is dangerous to human life,
      property, or infrastructure; to have resulted in damage within the United States, or outside
      the United States in the case of an air carrier or vessel or the premises of a United States
      mission; and to have been committed by an individual or individuals, as part of an effort to
      coerce the civilian population of the United States or to influence the policy or affect the
      conduct of the United States Government by coercion. The Terrorism Risk Insurance Act, as
      amended, contains a $100 billion cap that limits U.S. Government reimbursement for losses
      resulting from certified acts of terrorism when the amount of such losses exceeds $100
      billion in any one calendar year.

      YOU ARE HEREBY NOTIFIED THAT UNDER THE TERRORISM RISK INSURANCE ACT
      OF 2002, AS AMENDED, ANY LOSSES CAUSED BY CERTIFIED ACTS OF TERRORISM
      UNDER YOUR POLICY COVERAGE WILL BE PARTIALLY REIMBURSED BY THE
      UNITED STATES, SUBJECT TO A $100 BILLION CAP, AND YOU HAVE BEEN NOTIFIED
      OF THE AMOUNT OF THE PREMIUM ATTRIBUTABLE TO SUCH COVERAGE.

      The premium allocated for this coverage is 1% of the overall premium charged for your
      policy.

      Option to reject terrorism insurance coverage

      Your policy automatically provides coverage for claims arising out of acts of terrorism as
      defined in the Terrorism Risk Insurance Act of 2002 at no additional cost to you. If you would
      prefer not to have such coverage please check the box below, sign where indicated and
      return this form to your insurance broker or intermediary. Please note that there will be no
      reduction in premium if terrorism coverage is removed from your policy.




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                  I hereby elect not to have TRIA coverage under this policy. I understand that I
                  will have no coverage for losses arising from certified acts of terrorism.



      ___________________________________          ____________________________________
                        ___                                        ___
        Policyholder / Applicants Signature                   Name of Assured


      ___________________________________
                       __
                   Print Name                                     Policy Number


      ___________/____________/___________
                      Date


      LMA9105 (amended)




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                      FOREIGN ACCOUNT TAX COMPLIANCE ACT (‘FATCA’)

      Each (Re)Insurer hereby acknowledges the requirements of Sections 1471-1474 US Internal
      Revenue Code of 1986, as amended, and the Treasury regulations and other guidance
      issued from time to time thereunder (‘FATCA’) and the obligation of each of them to provide
      to Marsh Ltd a valid Internal Revenue Service (‘IRS’) Form W8-BEN-E, W-9 or other
      documentation meeting the requirements of the FATCA regulations to establish they are not
      subject to any withholding requirement pursuant to FATCA (the ‘Required Documentation’).

      Furthermore:

      a)   If a (Re)Insurer becomes non-compliant with FATCA during the contract period or has
           not provided the Broker with the Required Documentation 14 days prior to any
           premium due date, the Withholding Agent (as defined in U.S. Treasury Regulation
           Section 1.1471-1(b)(147)) shall withhold 30% of the premium (to the extent all or a
           portion of that premium is subject to withholding pursuant to FATCA) due to that
           (Re)Insurer under this contract on that premium due date and shall promptly notify that
           (Re)Insurer via the Broker.

      b)   The withholding of premium by virtue of (a) above shall not be, and shall not be treated
           by the (Re)Insurer as a breach of any premium payment condition, warranty or other
           clause whether or not entitling the (Re)Insurer to cancel, terminate or restrict this
           contract, refuse, restrict or delay payment of any claim or invoke any interest, penalty
           or other late payment provision. The (Re)Insurer shall be liable under this contract as if
           no such withholding had been made.

      c)   The (Re)Insurer shall not recoup sums withheld under (a) above by deducting
           equivalent sums from any payments due to the (Re)Insured or by set off against any
           other sums owed by the (Re)Insurer and any general or contractual right of set-off
           enjoyed by the (Re)Insurer is hereby varied and qualified to that extent.

      d)   Where premium is withheld in error, has not yet been paid to the IRS and the
           (Re)Insurer has been paid only the net premium following such withholding, the broker
           will cooperate with the (Re)insurer to process the requisite refund.

      IUA 09-054 (FATCA)




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                                     INFORMATION
      None.




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                                     SECURITY DETAILS
      (RE)INSURER'S
      LIABILITY:          LMA3333
                          (Re)insurer’s liability several not joint

                          The liability of a (re)insurer under this contract is several and not
                          joint with other (re)insurers party to this contract. A (re)insurer is
                          liable only for the proportion of liability it has underwritten. A
                          (re)insurer is not jointly liable for the proportion of liability
                          underwritten by any other (re)insurer. Nor is a (re)insurer otherwise
                          responsible for any liability of any other (re)insurer that may
                          underwrite this contract.

                          The proportion of liability under this contract underwritten by a
                          (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the
                          proportions underwritten by all the members of the syndicate taken
                          together) is shown next to its stamp. This is subject always to the
                          provision concerning ‘signing’ below.

                          In the case of a Lloyd’s syndicate, each member of the syndicate
                          (rather than the syndicate itself) is a (re)insurer. Each member has
                          underwritten a proportion of the total shown for the syndicate (that
                          total itself being the total of the proportions underwritten by all the
                          members of the syndicate taken together). The liability of each
                          member of the syndicate is several and not joint with other
                          members. A member is liable only for that member’s proportion. A
                          member is not jointly liable for any other member’s proportion. Nor
                          is any member otherwise responsible for any liability of any other
                          (re)insurer that may underwrite this contract. The business address
                          of each member is Lloyd’s, One Lime Street, London EC3M 7HA.
                          The identity of each member of a Lloyd’s syndicate and their
                          respective proportion may be obtained by writing to Market
                          Services, Lloyd’s, at the above address.

                          Proportion of liability

                          Unless there is ‘signing’ (see below), the proportion of liability under
                          this contract underwritten by each (re)insurer (or, in the case of a
                          Lloyd’s syndicate, the total of the proportions underwritten by all the
                          members of the syndicate taken together) is shown next to its
                          stamp and is referred to as its ‘written line’.

                          Where this contract permits, written lines, or certain written lines,
                          may be adjusted (‘signed’). In that case a schedule is to be
                          appended to this contract to show the definitive proportion of
                          liability under this contract underwritten by each (re)insurer (or, in
                          the case of a Lloyd’s syndicate, the total of the proportions
                          underwritten by all the members of the syndicate taken together). A
                          definitive proportion (or, in the case of a Lloyd’s syndicate, the total
                          of the proportions underwritten by all the members of a Lloyd’s

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                                                                                   Contract Leader
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                          syndicate taken together) is referred to as a ‘signed line’. The
                          signed lines shown in the schedule will prevail over the written lines
                          unless a proven error in calculation has occurred.

                          Although reference is made at various points in this clause to ‘this
                          contract’ in the singular, where the circumstances so require this
                          should be read as a reference to contracts in the plural.


      ORDER HEREON:       38% of 100%

      BASIS OF WRITTEN
      LINES:              Percentage of Whole



      SIGNING
      PROVISIONS:         In the event that the written lines hereon exceed 100% of the order,
                          any lines written ‘To Stand’ will be allocated in full and all other
                          lines will be signed down in equal proportions so that the aggregate
                          signed lines are equal to 100% of the order without further
                          agreement of any of the (Re)Insurers.

                          However:

                          a)   in the event that the placement of the order is not completed
                               by the commencement date of the period of (Re)Insurance
                               then all lines written by that date will be signed in full;

                          b)   the (Re)Insured may elect for the disproportionate signing of
                               (Re)Insurers’ lines, without further specific agreement of
                               (Re)Insurers, providing that any such variation is made prior
                               to the commencement date of the period of (Re)insurance,
                               and that lines written ‘To Stand’ may not be varied without the
                               documented agreement of those (Re)Insurers;

                          c)   the signed lines resulting from the application of the above
                               provisions can be varied, before or after the commencement
                               date of the period of (Re)Insurance, by the documented
                               agreement of the (Re)Insured and all (Re)Insurers whose
                               lines are to be varied. The variation to the contracts will take
                               effect only when all such (Re)Insurers have agreed, with the
                               resulting variation in signed lines commencing from the date
                               set out in that agreement.




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          In a co-insurance placement, following (re)insurers may, but are not obliged to, follow the
          premium charged by the leading (re)insurer.

          (Re)lnsurers may not seek to guarantee for themselves terms as favourable as those which
          others subsequently achieve during the placement.

          (Re)insurers confirm and agree that where NCAD (Notice of Cancellation at Anniversary
          Date) is embedded in their stamp/line this is deemed to read and mean NCED (Notice of
          Cancellation at Expiry Date). This does not affect the right of the (re)insurer to issue a Notice
          of Cancellation in accordance with the contract terms.

          WRITTEN LINES:

          As shown below and, where placed electronically either wholly or in part via Placing Platform
          Limited (PPL), in the PPL SECURITY DETAILS.




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                              CONTRACT ADMINISTRATION

                                         AND

                                  ADVISORY DETAILS




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                               SUBSCRIPTION AGREEMENT
      CONTRACT
      LEADER:             Lloyds Syndicate 4711

                          In respect of placements completed using PPL, the Contract
                          Leader will be indicated in the relevant field in PPL and on the
                          subsequent Security Details.

                          Wherever the term ‘Slip Leader’ appears throughout this contract it
                          is amended to read and mean ‘Contract Leader’.


      BUREAU LEADER:      The first Lloyd’s bureau stamp on this contract.
                          The first Company bureau stamp on this contract

                          In respect of placements completed using PPL, the Bureau Leader
                          will be indicated in the relevant field in PPL and on the subsequent
                          Security Details.


      BASIS OF
      AGREEMENT TO
      CONTRACT
      CHANGES:            GUA (February 2014) with Non-Marine Schedule (October 2001).

                          31 days extension, if required by the (Re)Insured/Policyholder, at
                          terms and conditions to be agreed by the Contract Leader on behalf
                          of all (Re)Insurers hereon.

                          All Notice of Cancellation at Anniversary Date terms are amended
                          to provide Notice of Cancellation at Expiry Date, including
                          subsequent period extensions.

                          Where a following (Re)Insurer has charged a different contract
                          premium to that required by the Contract Leader and there is a
                          contract change which (a) is binding upon the following
                          (Re)Insurers with the agreement of the Contract Leader only (and
                          any additional agreement party if present), and (b) involves
                          premium adjustment which is not already provided for within the
                          terms of the contract, then the following (Re)Insurers agree to
                          follow the premium adjustment agreed by the Contract Leader in
                          the same ratio as their respective contract premium bears to that of
                          the Contract Leader.


      OTHER
      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR

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      PART 2 GUA
      CHANGES ONLY:        Unless any other (Re)Insurers are specified below, the Agreement
                           Parties for Part Two changes will be the Contract Leader only.


      AGREEMENT
      PARTIES FOR
      CONTRACT
      CHANGES, FOR
      THEIR PROPORTION
      ONLY:            None, unless any (Re)Insurers are specified here.

                           Where a following (Re)Insurer has charged a different contract
                           premium to that required by the Contract Leader and there is a
                           contract change which

                               a) is binding upon the following (Re)Insurers with the
                                  agreement of only the Contract Leader (and any additional
                                  agreement party if present), and

                               b) involves premium adjustment which is not already provided
                                  for within the terms of the contract, then the following
                                  (Re)Insurers agree to follow the premium adjustment agreed
                                  by the Contract Leader in the same ratio as their respective
                                  contract premium bears to that of the Contract Leader


      BASIS OF CLAIMS
      AGREEMENT:           As specified under the CLAIMS AGREEMENT PARTIES and to be
                           managed in accordance with:

                              i)    The SINGLE CLAIMS AGREEMENT PARTY
                                    ARRANGEMENTS - LMA9150 for claims or circumstances
                                    assigned as Single Claims Agreement Party Claims (SCAP
                                    Claims) or, where it is not applicable, then the following shall
                                    apply as appropriate:

                              ii)   The Lloyd’s Claims Scheme (Combined), or as amended or
                                    any successor thereto.

                              iii) International Underwriting Association of London IUA claims
                                   agreement practices.

                           For non-bureau (re)insurers only, the contract leader only and to be
                           binding for non-bureau (re)insurers.


      CLAIMS
      AGREEMENT
      PARTIES:             A. Claims falling within the scope of the LMA9150 to be agreed by

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                              Contract Leader only on behalf of all (re)insurers subscribing
                              (1) to this Contract on the same contractual terms (other than
                              premium and brokerage) and (2) to these Arrangements.

                              For the purposes of calculating the Threshold Amount, the
                              sterling rate on the date that a financial value of the claim is
                              first established by the Contract Leader shall be used and the
                              rate of exchange shall be the Bank of England spot rate for the
                              purchase of sterling at the time of the deemed conversion.

                          B. For all other claims:

                              i)    For Lloyd’s syndicates

                                    The leading Lloyd's syndicate and, where required by the
                                    applicable Lloyd's Claims Scheme, the second Lloyd's
                                    syndicate.

                                    Where applicable, the second Lloyd’s syndicate is deemed
                                    to be the first syndicate stamp to appear after the leading
                                    Lloyd’s syndicate. For PPL the 2nd claims agreement party
                                    will be agreed by endorsement.

                              ii)   Those companies acting in accordance with the IUA
                                    claims agreement practices, excepting those that may
                                    have opted out via iii below.

                                    The first IUA company and, where required by IUA
                                    practices, the second IUA company.

                              iii) Those companies that have specifically elected to agree
                                   claims in respect of their own participation.

                              iv) All other subscribing (re)insurers that are not party to the
                                  Lloyd’s/IUA claims agreement practices, each in respect of
                                  their own participation.

                              v)    Notwithstanding anything contained in the above to the
                                    contrary, any ex gratia payments to be agreed by each
                                    (re)insurer for their own participation.


      CLAIMS
      ADMINISTRATION:     Marsh Ltd and (re)insurers agree that any claims hereunder
                          (including any claims related costs/fees) that are in scope and
                          supported by Electronic Claims File (ECF) will be notified and
                          administered via ECF with any payment(s) processed via CLASS,
                          unless both parties agree to do otherwise.

                          Where claims or circumstances are not administered via ECF,


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                          notification, administration and payment(s) will be email or paper
                          file.

                          Where a Lloyd’s syndicate or IUA company is not an agreement
                          party to the claim or circumstance (per CLAIMS AGREEMENT
                          PARTIES A. above), they agree to accept correct ECF sequences
                          for administrative purposes to ensure information is circulated to all
                          subscribing parties.

                          Claims, or any element thereof, settled in a currency for which
                          Marsh Ltd do not hold a banking account will be agreed using a
                          notional rate of exchange which is subject to adjustment. Any
                          difference greater than GBP1,000 per payment or in the aggregate,
                          to be paid by or refunded to (re)insurers as appropriate.

                          Extension of time to file a proof of loss to be agreed

                          a)    if the contract leader is a non-Lloyd’s (re)insurer, by the
                                contract leader and Lloyd’s Claims Agreement Parties only;

                          b)    if the contract leader is a Lloyd’s (re)insurer, by the Lloyd’s
                                Claims Agreement Parties only.

                          Notwithstanding any contrary provisions concerning notification
                          contained in applicable contract documentation to which this
                          agreement applies and in the absence of a condition specifically
                          nominating a party to whom notice must be given (other than
                          (re)insurers) and provided that notification otherwise fully satisfies
                          policy conditions then the (re)insured will be regarded as having
                          complied with contract notification provisions when Marsh Ltd or its
                          subsidiary or successor entities receives notification by email,
                          facsimile or post.


      RULES AND
      EXTENT OF ANY
      OTHER DELEGATED
      CLAIMS
      AUTHORITY:          None, unless otherwise specified here by any other claims
                          agreement parties shown above.


      EXPERT(S) FEES
      COLLECTION:         Expert fees payable by (Re)Insurers for services performed on their
                          behalf to be collected by the expert or their appointed fee collection
                          service provider.


      SETTLEMENT DUE
      DATE:               TBC

                                                                                   If placed via PPL this
                                                                                   box will not be signed


                                                                                     Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

      B0509FINFW1800561                                                             Page 6 of 10




      BUREAU(X)
      ARRANGEMENTS:       De-linked accounts to be presented by Marsh Ltd to Xchanging Ins-
                          sure Services (XIS).

                          Bureau re(insurers) agree to allow XIS not to ‘group’ associated de-
                          linked signings. Each individual de-linked signing may be released
                          for settlement to XIS independently of any other associated items.

                          Presentation to XIS of a contract with a premium payment warranty
                          (PPW), premium payment condition (PPC) or prompt payment
                          condition for a signing number and date within the timeframe
                          specified within the warranty or condition shall be sufficient
                          evidence of compliance and payment to all (re)insurers participating
                          hereon. Subsequent rejection shall not affect the fact that the
                          warranty/condition and/or the settlement due date (SDD) has been
                          met by the original presentation and therefore no further update of
                          the due date is required.

                          In respect of the LSW3001 (amended) or any other Premium
                          Payment Clause, the SDD will automatically be amended to the
                          date the premium is paid to (re)insurers.

                          Where any SDD, PPW or PPC due date falls on a weekend or
                          public holiday, presentation to XIS on the next working day will be
                          deemed to be in compliance with such SDD, PPW or PPC.

                          (Re)Insurers agree that the second and subsequent premium
                          instalments are taken down as additional premiums, other than
                          annual re-signings.

                          In respect of additional premium signings the SDD will follow the
                          same payment period allowed under the original premium payment
                          terms. However, the payment period shall commence from the date
                          of the final agreement of the endorsement or the effective date,
                          whichever is the later.

                          Claims and/or return premiums may be collected and taken down
                          on production of a copy (including a photocopy) and/or duplicate of
                          the applicable contract or policy.

                          In respect of non –settlement currencies:
                          XIS to accept settlement of premium in Pounds Sterling (GBP)
                          converted at the rate of exchange at the date of receipt of payment
                          by Marsh Ltd. However, in the event Marsh Ltd are paid in Pounds
                          Sterling (GBP), U.S. Dollars (USD) or EUROS (EUR) then
                          settlement will be made via XIS in GBP, USD or EUR as received
                          by Marsh Ltd.

                                                                               If placed via PPL this
                                                                               box will not be signed


                                                                                 Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

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                          Bureau (re)insurers agree to accept an interim For Declaration Only
                          (FDO) signing.

                          In the event the Settlement Due Date (as detailed in Subscription
                          Agreement) and/or the Allocation of Premium to Coding and/or
                          Year of Account (as detailed in Fiscal and Regulatory) differ from
                          those shown in the PPL SECURITY DETAILS, the information
                          recorded in the PPL SECURITY DETAILS shall take precedence.



      PLACING
      PLATFORM
      LIMITED (PPL)
      ARRANGEMENTS:       (Re)insurers instruct Xchanging to accept any attachments and
                          additional information as detailed in this Market Reform Contract
                          and any subsequent endorsements thereto, without sight of
                          agreement from (re)insurers on the understanding that Marsh Ltd
                          has obtained agreement thereto from the applicable (re)insurers.


      NON–BUREAUX
      ARRANGEMENTS:       Where any Premium Payment Warranty (PPW) or Premium
                          Payment Condition (PPC) due date falls on a weekend or public
                          holiday, payment of premium by telegraphic transfer or any other
                          relevant electronic settlement method on the next working day will
                          be deemed to be in compliance with such PPW or PPC.

                          Where (Re)Insurers have agreed to regular (weekly/ monthly/
                          quarterly) accounting the Premium Payment Warranty (PPW) or
                          Premium Payment Condition (PPC) due date shall be overridden by
                          the accounting agreement.




                                                                              If placed via PPL this
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                                                                                Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

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                                 FISCAL AND REGULATORY

      TAX PAYABLE BY
      INSURER(S):         None


      COUNTRY OF
      ORIGIN:             United States of America


      OVERSEAS
      BROKER:             Marsh USA Incorporated
                          1166 Avenue of the Americas
                          New York 10036-2774
                          United States of America


      BROKER:             Marsh Ltd
                          Tower Place
                          London
                          EC3R 5BU


      SURPLUS LINE
      BROKER:             Surplus Line Broker Name and Licence No.
                          Thomas Orrico #892706


                          Surplus Line Broker address:
                          1166 Avenue of the Americas
                          New York,
                          NY 100362708
                          United States of America


      US
      CLASSIFICATION:     US Surplus Lines.


      ALLOCATION OF
      PREMIUM TO
      CODING:             In respect of the premium allocated to the USA:
                          99% D2
                          1% 7T

                          In respect of the premium allocated to the Rest of the World:
                          100% D2




                                                                              If placed via PPL this
                                                                              box will not be signed


                                                                                Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

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      REGULATORY
      CLIENT
      CLASSIFICATION:     Large Risk




                                                                    If placed via PPL this
                                                                   box will not be signed


                                                                      Contract Leader
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      MARSH LTD
      CONTRACT NUMBER

      B0509FINFW1800561                                                 Page 10 of 10

                        BROKER REMUNERATION AND DEDUCTIONS

      FEE PAYABLE BY
      CLIENT:             No


      TOTAL
      BROKERAGE:          21.5%


      OTHER
      DEDUCTIONS
      FROM PREMIUM:       None.




                                                                    If placed via PPL this
                                                                   box will not be signed


                                                                      Contract Leader
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 Policy Number: (UMR) B0509FINFW1800561



 SECURITY DETAILS

  REFERENCES
   UMR (Unique Market Reference): B0509FINFW1800561
   Date contract printed to PDF: 12:10 07 December 2018


 SIGNED UNDERWRITERS

  Aspen Insurance Ltd (Insurance)
  Simon Inzani
  Written Line                                        20.085%                  Signed Line    20.085%
  Agreed on                                           11:39 30 November 2018

  For and on behalf of:                                                        Written Line   Signed Line
  Lloyd's Underwriter Syndicate No. 4711, London,                              20.085%        20.085%
  England
  Bound as Slip Leader, Lloyd’s Leader

                        Lloyd's Stamp:               4711
                        LORS Code:                   L4711
                        Reference:                   FIA9A3818A0G
                        Description:
                        Risk Code(s):                7T, D2


  Aggregated Offline Market - Proportional Signing
  Non PPL Underwriter
  Written Line                                        18.00%                   Signed Line    17.915%

  For and on behalf of:                                                        Written Line   Signed Line
  Aggregated Offline Market - Proportional Signing                             18.00%         17.915%
  Bound Offline - Evidence held on file

                        Reference:                   reference per slip
                        Description:                 18BF10198260118




 Market Submission - Security Details                           Page 1 of 2                         07/12/2018 1
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 Policy Number: (UMR) B0509FINFW1800561



 SETTLEMENT INFORMATION

   Allocation of Premium to Coding

   7T at 1.00%

   D2 at 99.00%


   Allocation of Premium to Year of Account

   2018


   Terms of Settlement

    Settlement Due Date:                           20 December 2018

    Instalment Premium Period of Credit:           0 day(s)

    Adjustment Premium Period of Credit:           0 day(s)


 Lloyd's Underwriter Syndicate No. 4711, London, England
 Bureau Leader and Lloyd’s Leader
 Simon Inzani




 Market Submission - Security Details                         Page 2 of 2   07/12/2018 1
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                    EXHIBIT Q
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                                      ARCH INSURANCE COMPANY
                                                (A Missouri Corporation)
 Home Office Address:                                                                 Administrative Address:
 2345 Grand Blvd, Suite 900                                        Harborside 3, 210 Hudson Street, Suite 300
 Kansas City, MO 64108                                                            Jersey City, NJ 07311-1107
                                                                                           Tel: (866) 413-5550

                           ARCH ESSENTIAL EXCESS POLICY®
                  FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

    THIS POLICY APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE
                                    POLICY PERIOD.

                                                 DECLARATIONS

 Policy No.: DOX1000030-00

 Item 1. Named Insured & Address:
           AmTrust Financial Services, Inc.
           59 Maiden Lane, 43rd Floor
           New York, NY 10038

 Item 2.    Policy Period:
            From:       November 20, 2018
            To:         December 31, 2018
            12:01 a.m. local time at the address stated in Item 1

 Item 3.    Limit of Liability:      $2,200,000 Part Of $10,000,000 Excess Of $40,000,000

 Item 4.    Underlying Insurance:

 Primary Policy

 Insurer:                         Policy No.:                      Limit of Liability:        Attachment:
 Indian Harbor Insurance          US00080794DO17A                          $5,000,000
 Company




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 05 DOX0205 00 10 09                                                                             Page 1 of 2
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  Underlying
  Excess
  Policies
 First Excess    Zurich American Insurance DOC 1074701-00             $5,000,000        $5,000,000
                 ghgfhgEL171717EEELELU15
                 Company

  Second Excess AXIS Insurance Company       MNN626501/01/2017         $5,000,000      $10,000,000


  Third Excess   Allianz Global Risks US     USF00237518               $2,500,000      $15,000,000
                 Insurance Company                                         Part Of
                                                                       $5,000,000
                 Markel Bermuda Limited      MKLB25GPL0000702          $2,500,000      $15,000,000
                                                                           Part Of
                                                                       $5,000,000

  Fourth Excess Lloyds Syndicate 0033        B0509FINFW1800559         $5,000,000      $20,000,000
  Fifth Excess   Arch Insurance Company      DOX1000029-00             $2,700,000      $25,000,000
                                                                           Part Of
                                                                      $15,000,000

                 Lloyds Syndicate 4711       B0509FINFW1800560         $5,500,000      $25,000,000
                                                                           Part Of
                                                                      $15,000,000

                 Markel Bermuda Limited      MKLB25GPL0000685          $3,600,000      $25,000,000
                                                                           Part Of
                                                                      $15,000,000

                 Forge Underwriting          B0509FINFW1800560         $3,200,000      $25,000,000
                                                                           Part Of
                                                                      $15,000,000


 Item 5.    Extended Reporting Period:
            Additional Period:  1 Year
            Additional Premium: 200.00% of Policy Premium

 Item 6.    Notices to Insurer:
                 Notice Of Claim(s) To Be Sent To:           All Other Notices To Be Sent To:
                     Arch Insurance Company                      Arch Insurance Company
                    Executive Assurance Claims               Executive Assurance Underwriting
                   1299 Farnam Street, Suite 500               One Liberty Plaza, 53rd Floor
                          Omaha, NE 68102                          New York, NY 10006
                           P.O. Box 542033                         Fax: (212) 651-6499
                          Omaha, NE 68154
                   Phone: 877 688-ARCH (2724)
                          Fax: 866 266-3630
                 E-mail: Claims@ArchInsurance.com
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 Item 7.   Policy Premium:                                                    $267,245.00
           Taxes, Surcharges and other Assessments, if applicable                   $0.00
           Premium Attributable to Terrorism Risk Insurance                         $0.00

           Included In Policy Premium
           In Addition To Policy Premium

 Item 8.   Endorsements: See attached schedule of endorsements and notices.




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                                 Signature Page


 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 IN WITNESS WHEREOF, Arch Insurance Company has caused this policy to be executed
 and attested.




               John Mentz                                 Patrick K. Nails
                President                                   Secretary




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 05 ML0002 00 12 14                                                          Page 1 of 1
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                      SCHEDULE OF FORMS AND ENDORSEMENTS

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 INSURED: AmTrust Financial Services, Inc.           TERM: November 20, 2018 to December 31, 2019
 POLICY NUMBER: DOX1000030-00

  ENDT. NO.    FORM NO.                      TITLE
               05 ML0002 00 12 14            SIGNATURE PAGE (ARCH INSURANCE)
               00 DOX0204 00 10 09           ARCH ESSENTIAL EXCESS POLICY
  1            00 DOX0122 00 12 09           QUOTA SHARE PARTICIPATION
  2            00 DOX0047 00 12 09           PRIOR AND PENDING LITIGATION EXCLUSION
  3            00 DOX0309 00 01 13           RUN-OFF ENDORSEMENT
  4            00 ME3693 00 03 16            SPECIFIC FOLLOW FORM ENDORSEMENT
               00 MLE0013 33 12 08           NEW YORK INSURANCE LAW SECTION 3420 REQUIRED CLAIM
                                             NOTICE PROVISIONS (CLAIMS MADE POLICIES)
               00 DOX0186 00 10 06           EXCESS POLICY ISSUANCE NOTICE
               00 ML0065 00 06 07            U.S. TREASURY DEPARTMENT S OFFICE OF FOREIGN
                                             ASSETS CONTROL ( OFAC )
               00 MLT0027 00 01 15           TERRORISM COVERAGE DISCLOSURE NOTICE




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 00 ML0012 00 09 04                                                                   Page 1 of 1
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                          ARCH ESSENTIAL EXCESS POLICY®
                 FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 In consideration of the payment of the premium and in reliance upon the Application, the Insurer specified
 in the Declarations (the “Insurer”) and the Insureds agree as follows:

 1.    INSURING AGREEMENT

        This Policy provides excess coverage after exhaustion of the Underlying Limit. Except as
        otherwise provided in this Policy, coverage under this Policy shall follow form to, and apply in
        conformance with, the provisions of the Primary Policy as of the inception of this Policy.
        Notwithstanding the foregoing, this Policy shall provide no broader coverage than the most
        restrictive policy of Underlying Insurance.

 2.    EXHAUSTION OF THE UNDERLYING LIMIT

        A.    The Underlying Limit shall be exhausted by payment, in legal currency, of covered Loss by
              the insurers of Underlying Insurance, the Insureds, or any DIC Insurer.

        B.    If this Policy becomes primary insurance because of the exhaustion of the Underlying Limit,
              the applicable deductible or retention of the Primary Policy shall apply to each Claim handled
              by the Insurer on a primary insurance basis. No deductible or retention shall apply to any
              Claim handled by the Insurer on an excess insurance basis.

        C.    If any policy of Underlying Insurance grants any coverage subject to a sub-limit of liability,
              this Policy shall not offer such coverage. However, this Policy shall recognize any reduction
              of the Underlying Limit by any payment under such coverage.

 3.    DEFINITIONS

        Whether used in the singular or plural, the following terms shall have the meanings specified below:

        A.    “Application”, “Claim”, and “Loss” shall have the same meaning specified for such terms
              in the Primary Policy.

        B.    “DIC Insurer” means any insurer of an insurance policy written specifically excess of this
              Policy that is contractually obligated to drop down and pay covered Loss that is not paid by
              any Underlying Insurance. This Policy does not follow form to the provisions of the policy of
              such DIC Insurer.

        C.    “Insureds” means all persons and entities entitled to coverage under the Primary Policy.

        D.    “Primary Policy” and any “Underlying Excess Policies” are identified in Item 4 of the
              Declarations.

        E.    “Underlying Insurance” means the Primary Policy and any Underlying Excess Policies.


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 00 DOX0204 00 10 09                                                                              Page 1 of 2
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      F.    “Underlying Limit” means the aggregate sum of all limits of liability of all Underlying
            Insurance.

 4.   LIMIT OF LIABILITY

      The Limit of Liability specified in Item 3 of the Declarations is the maximum aggregate amount that
      the Insurer shall pay under this Policy for all covered Loss, including, without limitation, defense
      costs.

 5.   DUTIES IN THE EVENT OF A CLAIM

      The Insureds shall give notice to the Insurer of any Claim or potential Claim in conformance with
      the notice provisions of the Primary Policy except that such notice shall be delivered to the address
      specified in Item 6 of the Declarations. The Insurer shall have the right to participate in the
      investigation, settlement and defense of any Claim noticed under this Policy, even if the Underlying
      Limit has not been exhausted. The Insureds shall give the Insurer all information and cooperation
      as the Insurer may reasonably request.

 6.   EXTENDED REPORTING PERIOD

      If the Insureds elect and are granted an extended reporting period or discovery period under all
      Underlying Insurance, then the Insureds shall also be entitled to elect an extended reporting period
      under this Policy. Such extended reporting period shall follow form to, and apply in conformance with,
      the provisions of the Primary Policy provided that the premium and duration of such extended
      reporting period shall be as specified in Item 5 of the Declarations.

 7.   MAINTENANCE OF UNDERLYING INSURANCE

      All Underlying Insurance shall be maintained in full effect. Failure to maintain any Underlying
      Insurance shall: (i) result in the Insureds becoming self-insured for the limit of liability of any such
      Underlying Insurance; and (ii) not relieve the Insurer of any obligation under this Policy.

 8.   CHANGES

      This Policy shall not be changed or assigned in any manner except by written agreement of the
      Insurer.




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 00 DOX0204 00 10 09                                                                             Page 2 of 2
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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     QUOTA SHARE PARTICIPATION

  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
  FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
  REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
  STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

  It is agreed that:

  1.     This Policy is part of a quota share participation arrangement involving a total limit of liability of
         $10,000,000 involving the following insurers:

         Quota Share Participant                     Policy Number                          Limit of Liability
         Arch Insurance Company                      DOX1000030-00                                $2,200,000
         Lloyd’s Syndicate 4711                      B0509FINFW1800561                            $2,000,000
         Forge Underwriting                          B0509FINFW1800561                            $1,800,000
         Markel Bermuda Limited                      MKLB25GPL0000686                             $1,400,000
         Allianz Global Risks US Insurance Company   USF00255018                                  $2,600,000

  2.     The Insurer’s percentage participation in the quota share arrangement is 22%. Notwithstanding any
         other provision of this Policy, the Insurer shall only be liable for its percentage participation of
         covered Loss.

  3.     The liability of each participating insurer is several and not joint. The failure of any participating
         insurer to pay its share of covered Loss shall not increase the liability of any other participating
         insurer.

  4.     Each participating insurer shall make its own determination of whether Loss is covered under its
         policy. No participating insurer shall have any authority to bind any other participating insurer
         regarding any matter submitted for coverage.

  All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 1

 Policy Number: DOX1000030-00
 Named Insured: AmTrust Financial Services, Inc.
 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 20, 2018

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 00 DOX0122 00 12 09                                                                              Page 1 of 1
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          PRIOR OR PENDING LITIGATION EXCLUSION

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 It is agreed that:

  1.     The Insurer shall not be liable to pay Loss arising out of, based upon or attributable to:

          A.    any demand, suit, formal or informal investigation occurring prior to, or pending as of October
                21, 2017; or

          B.    any Wrongful Act which gave rise to such prior or pending demand, suit or formal
                investigation or any Interrelated Wrongful Acts thereto.

  2.     “Wrongful Act” and “Interrelated Wrongful Acts” shall have the same meaning specified for
          such terms in the Primary Policy.

 All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 2

 Policy Number: DOX1000030-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 20, 2018




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 00 DOX0047 00 12 09                                                                                  Page 1 of 1
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              RUN-OFF COVERAGE

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

It is agreed that:

1.     Item 2 of the Declarations is deleted and replaced with:

        Item 2:      Policy Period
                     From: 12:01 A.M. November 20, 2018
                     To:     12:01 A.M. November 29, 2024
                     Standard time at the address shown in Item 1.

2.     Section 6 of this Policy is deleted.

3.     This Policy shall follow form to and apply in conformance with Endorsement 16 of the Primary Policy.

4.     The entire premium for this Policy shall be deemed earned as of the inception of this Policy.

All other terms and conditions of this Policy remain unchanged.


 Endorsement Number 3:

 Policy Number: DOX1000030-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 29, 2018




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 00 DOX0309 00 11 13                                                                               Page 1 of 1
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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   TIE IN OF LIMITS OF LIABILITY BETWEEN CONSECUTIVE POLICIES (AMTRUST)

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.


It is agreed that:

    1. This Policy has been negotiated with the understanding that this Policy and policy #B0507N17FA24460
       issued to the Insured by Price Forbes and Partners Limited (the “Other Policy”) have a linked limit of
       liability.

    2. Any payment of Loss under the Other Policy shall reduce the Limit of Liability available under this
       Policy by an amount equal to such payment times the Insurer’s quota share participation regarding the
       Limit of Liability.

All other terms and conditions of this Policy remain unchanged.




 Endorsement Number: 4

 Policy Number: DOX1000030-00

 Named Insured: AmTrust Financial Services, Inc.

 This endorsement is effective on the inception date of this Policy unless otherwise stated herein:

 Endorsement Effective Date: November 29, 2018




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 00 ML0207 00 11 03                                                                       Page 1 of 1
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                               NEW YORK INSURANCE LAW SECTION 3420
                                 REQUIRED CLAIM NOTICE PROVISIONS
                                      (CLAIMS MADE POLICIES)



 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 Notwithstanding any other provision of this policy, it is agreed that:

 1.     No claim made by an insured, injured person or other claimant during the Policy Period or any
        applicable Extended Reporting Period or Discovery Period shall be invalidated because of a failure
        to give notice of such claim within the time prescribed in the policy if it shall be shown: (i) not to have
        been reasonably possible to have given notice within the prescribed time; and (ii) notice was given
        as soon as was reasonably possible.

 2.     No claim made by an insured, injured person or other claimant during the Policy Period or any
        applicable Extended Reporting Period or Discovery Period shall be invalidated because of a failure
        to give notice of such claim within the time prescribed in the policy unless the late notice has
        prejudiced the insurer. Notwithstanding the foregoing, the insurer may deny coverage for a claim to
        the extent that notice of such claim was given to the insurer after the Policy Period or any applicable
        Extended Reporting Period or Discovery Period.

 All other terms and conditions of the policy continue to apply.




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 00 MLE0013 33 12 08                                                                                 Page 1 of 1
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                       EXCESS POLICY ISSUANCE NOTICE

 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.



 NOTICE: This excess policy has been issued prior to our receipt of any underlying
          insurance policy. This excess policy has been issued based upon the
          underlying insurance policy information specified in the application for
          this policy or in the underlying insurance binders furnished to us. By
          issuing this excess policy, we do not waive our rights to seek
          appropriate legal remedies based upon any discrepancies between the
          underlying insurance policy information furnished to us at the time that
          this excess policy was bound and the actual policy provisions of any
          underlying insurance furnished to us after the issuance of our binder.




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          U.S. TREASURY DEPARTMENT’S OFFICE OF
             FOREIGN ASSETS CONTROL (“OFAC”)
           ADVISORY NOTICE TO POLICYHOLDERS
 NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
 FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE LAW AND
 REGULATIONS. HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM
 STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
 policy. You should read your policy and review your Declarations page for complete information on the
 coverages you are provided.

 This Notice provides information concerning possible impact on your insurance coverage due to directives
 issued by OFAC. Please read this Notice carefully.

 The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on
 Presidential declarations of “national emergency”. OFAC has identified and listed numerous:
     • Foreign agents;
     • Front organizations;
     • Terrorists;
     • Terrorist organizations; and
     • Narcotics traffickers;
 as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
 Treasury’s web site – http://www.treas.gov/ofac.

 In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or
 entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated
 National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen
 contract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is
 considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
 authorization from OFAC. Other limitations on the premiums and payments also apply.




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 00 ML0065 00 06 07             Includes copyrighted material of Insurance Services Office, Inc.,   Page 1 of 1
                                                     with its permission.
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                TERRORISM COVERAGE DISCLOSURE NOTICE
        NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT
        FROM THE FILING REQUIREMENTS OF THE NEW YORK INSURANCE
        DEPARTMENT. HOWEVER, SUCH FORMS AND RATES MUST MEET THE MINIMUM
        STANDARDS OF THE NEW YORK INSURANCE LAW AND REGULATIONS.


                            TERRORISM COVERAGE PROVIDED UNDER THIS POLICY
The Terrorism Risk Insurance Act of 2002 as amended and extended by the Terrorism Risk Insurance Program
Reauthorization Act of 2015 (collectively referred to as the “Act”) established a program within the Department of the
Treasury, under which the federal government shares, with the insurance industry, the risk of loss from future terrorist
attacks. An act of terrorism is defined as any act certified by the Secretary of the Treasury, in consultation with the Secretary
of Homeland Security and the Attorney General of the United States, to be an act of terrorism; to be a violent act or an act
that is dangerous to human life, property or infrastructure; to have resulted in damage within the United States, or outside
the United States in the case of an air carrier or vessel or the premises of a United States Mission; and to have been
committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
influence the policy or affect the conduct of the United States Government by coercion.
In accordance with the Act, we are required to offer you coverage for losses resulting from an act of terrorism that is certified
under the federal program as an act of terrorism. The policy’s other provisions will still apply to such an act. Your decision
is needed on this question: do you choose to pay the premium for terrorism coverage stated in this offer of coverage, or do
you reject the offer of coverage and not pay the premium? You may accept or reject this offer.
If your policy provides commercial property coverage, in certain states, statutes or regulations may require coverage for fire
following an act of terrorism. In those states, if terrorism results in fire, we will pay for the loss or damage caused by that fire,
subject to all applicable policy provisions including the Limit of Insurance on the affected property. Such coverage for fire
applies only to direct loss or damage by fire to Covered Property. Therefore, for example, the coverage does not apply to
insurance provided under Business Income and/or Extra Expense coverage forms or endorsements that apply to those
coverage forms, or to Legal Liability coverage forms or Leasehold Interest coverage forms.
Your premium will include the additional premium for terrorism as stated in the section of this Notice titled
DISCLOSURE OF PREMIUM.
                DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% in 2015, 84% in 2016, 83% in 2017, 82% in 2018, 81% in 2019, and 80% in 2020
of that portion of the amount of such insured losses that exceeds the applicable insurer deductible during Calendar
Year 2015 and each Calendar Year thereafter through 2020.
                                      DISCLOSURE OF CAP ON ANNUAL LIABILITY
If the aggregate insured terrorism losses of all insurers exceed $100,000,000,000 during any Calendar Year provided in the
Act, the Secretary of the Treasury shall not make any payments for any portion of the amount of such losses that exceed
$100,000,000,000, and if we have met our insurer deductible, we shall not be liable for the payment of any portion of such
losses that exceeds $100,000,000,000.
                                                  DISCLOSURE OF PREMIUM
Your premium for terrorism coverage is: $0.00
(This charge/amount is applied to obtain the final premium.)
You may choose to reject the offer by signing the statement below and returning it to us. Your policy will be
changed to exclude the described coverage. If you chose to accept this offer, this form does not have to be returned.
                                                 REJECTION STATEMENT

       I hereby decline to purchase coverage for certified acts of terrorism. I understand that an exclusion of certain
       terrorism losses will be made part of this policy.

                                                                               AmTrust Financial Services, Inc.

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      Policyholder/Legal Representative/Applicant’s                Named Insured
                       Signature

                                                               Arch Insurance Company
              Print Name of Policyholder/Legal                   Insurance Company
                  Representative /Applicant


      Date:                                           Policy Number: DOX1000030-00




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                     EXHIBIT R
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                                             MARKEL BERMUDA LIMITED

   PROFESSIONAL LIABILITY EXCESS LIABILITY INSURANCE POLICY DECLARATIONS

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS
POLICY ONLY APPLIES TO CLAIMS FIRST MADE DURING THE POLICY PERIOD. THE LIMIT
OF LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND
MAY BE EXHAUSTED BY THE PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT
PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY INSURED. PLEASE READ AND
REVIEW THE POLICY CAREFULLY.

ITEM 1: INSURED:                     Amtrust Financial Services, Inc.
        ADDRESS:                     59 Maiden Lane, 43rd Floor, New York, NY 10038 United States

ITEM 2: POLICY PERIOD:               November 20, 2018 to December 31, 2018               (12:01 a.m. prevailing time
                                                                                        at the address stated in Item 1)


ITEM 3:    LIMIT OF LIABILITY: US$ 1,400,000 po US$ 10,000,000                           in the aggregate
                                                                                    (including Defense Costs)
               (Not subject to any reinstatement provision that may be provided under the Followed Policy)

          EXCESS OF TOTAL UNDERLYING LIMITS OF: US$ 40,000,000                                      in the aggregate
                                                                                              (including Defense Costs)

ITEM 4: FOLLOWED POLICY: Indian Harbor Insurance Company Policy No.: US00080794DO17A

ITEM 5: UNDERLYING INSURANCE

          SEE ENDORSEMENT NO. 1 FOR COMPLETE SCHEDULE

ITEM 6: PENDING OR PRIOR DATE:                 as per FOLLOWED POLICY

          To the extent the FOLLOWED POLICY contains an exclusion regarding pending or prior litigation, administrative,
          regulatory or other proceedings, investigations, demands, suits, orders, decrees or judgments, this Policy shall follow such
          exclusion. The applicable date for determining whether any such matter is “pending or prior” for the purpose of such
          exclusion in this policy shall be the PENDING OR PRIOR DATE set forth in this Item 6 of the Declarations.

ITEM 7: PREMIUM: $ 9,408




  Markel Bermuda Limited
  Markel House, 2 Front Street, Hamilton HM 11, Bermuda
  P.O. Box HM 2565, Hamilton HM KX, Bermuda 441 296 8800
  www.markelcorp.com
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ITEM 8: ADDRESS OF INSURER(S) FOR ALL NOTICES UNDER THIS POLICY:

          Markel Bermuda Limited
          2 Front Street
          P.O. Box 2565
          Hamilton HM KX Bermuda
          Telephone 441 296 8800
          Email: PLBermudaClaims@markelcorp.com


ITEM 9: A. DISCOVERY PERIOD PREMIUM:               as per FOLLOWED POLICY

          B. DISCOVERY PERIOD:                     as per FOLLOWED POLICY

ITEM 10: ENDORSEMENTS EFFECTIVE AT INCEPTION:
         1.  Prior Notice/Prior Claims Exclusion Endorsement
         2.  Tie in Limits Endorsement
         3.  Retroactive Date Exclusion
         4.  Sanctions Endorsement
         5.  Amendment Endorsement
         6.  Convert to Run-off Endorsement
         7.  Schedule of Underlying Insurance



ITEM 11: POLICY NUMBER:           MKLB25GPL0000686


ITEM 12: PRIMARY POLICY SELF-INSURED RETENTION: $5,000,000




The INSURER hereby causes this policy to be signed on the Declarations page by a duly authorized representative of the
Insurer.


                                                                    _____________________________
                                                                    Chris Jansma, Senior Vice President



                                                                    January 15, 2019
                                                                    Date




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                                         MARKEL BERMUDA LIMITED FOLLOW FORM
                                           EXCESS LIABILITY INSURANCE POLICY

In consideration of the premium paid, and in reliance on all statements made and information furnished to Markel Bermuda Limited
herein called the "Insurer" and subject to the Declarations and endorsements made a part hereof and the terms, conditions and limitations
set forth herein, the Insurer and the Insured Entity, on its behalf and on behalf of all persons and entity(s) entitled to coverage hereunder,
agree as follows:

I.        INSURING CLAUSE

          The Insurer shall pay the Insured for loss upon exhaustion of all applicable underlying limits by actual payments by the
          insurers of the UNDERLYING INSURANCE, the Insured, any insurer of a difference-in-conditions policy that is excess of
          this policy, and/or any other source, subject to: the terms and conditions of the FOLLOWED POLICY (excluding any such
          terms and conditions that are inconsistent with the terms of this policy); the Limit of Liability as stated in Item 3 of the
          Declarations; and the terms and conditions of, and the endorsements attached to, this policy. In no event will this policy
          provide coverage broader than that provided by any UNDERLYING INSURANCE, or any policy issued by any participating
          quota share insurer, unless such broader coverage is specifically agreed to by the Insurer herein or in an endorsement to this
          policy.

II.       TERMS AND CONDITIONS

A.        NOTICE AND LOSS PROVISIONS

          1.      Any notice required to be given by the terms of the FOLLOWED POLICY shall be given to the Insurer at the address
                  indicated in Item 8 of the Declarations.
          2.      This policy shall follow the notice of claim and/or notice of circumstance provisions of the FOLLOWED POLICY,
                  except as stated otherwise herein.
          3.      With respect to the defense and settlement of any claim that appears to be reasonably likely to involve the Insurer, the
                  Insured shall give the Insurer such information, assistance and cooperation as the Insurer may reasonably request and
                  as shall be in the Insured’s power and shall do nothing that would prejudice the Insurer’s position or potential rights of
                  recovery.
          4.      Only those settlements, stipulated judgments and defense costs which have been consented to by the Insurer shall be
                  recoverable as loss under the terms of this policy. The Insurer’s consent shall not be unreasonably withheld, provided
                  the Insurer shall be entitled to effectively associate in the defense and the negotiation of any settlement of any claim.

B.        FOLLOWING FORM

          1.      This policy, except as herein stated, is subject to all terms, conditions, agreements and limitations of the FOLLOWED
                  POLICY in all respects as of the effective date of this policy. The Insured agrees that should any mid-term change to
                  the FOLLOWED POLICY be made by rewrite or endorsement, such change shall not be effective as to this policy
                  without the written consent of the Insurer, which consent shall not be unreasonably withheld. It is further agreed that
                  should the Insurer consent to any change of this policy, the premium hereon may be adjusted accordingly.
          2.      In the event of the depletion of the limits of liability of the UNDERLYING INSURANCE solely as a result of actual
                  payment of losses thereunder this policy shall, subject to the Limit of Liability set forth in Item 3 of the Declarations
                  and to the other terms of this policy, continue to apply for subsequent losses as excess insurance over the amount of
                  insurance remaining under such UNDERLYING INSURANCE. In the event of the exhaustion of all of the limits of
                  liability of such UNDERLYING INSURANCE the remaining limits available under this policy shall, subject to the
                  Limit of Liability set forth in Item 3 of the Declarations and to the other terms of this policy, continue for subsequent
                  losses as primary insurance and any retention specified in the FOLLOWED POLICY shall be imposed under this
                  policy. Payments made by insurers issuing such UNDERLYING INSURANCE in accordance with any State
                  Amendatory endorsement or sub-limit of liability shall be deemed to apply toward exhaustion of the limits of liability
                  of the UNDERLYING INSURANCE but this policy shall not follow such state amendatory endorsement or sub-limit
                  of liability.
          3.      This policy, subject to all its terms, conditions and endorsements, will not drop down to make payment for loss in place
                  of UNDERLYING INSURANCE for any reason.




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C.     CANCELLATION CLAUSE

                The Insured shall give notice to the Insurer when practicable of the cancellation of any UNDERLYING INSURANCE.
                In the event any UNDERLYING INSURANCE is cancelled by the insurer thereon, this policy shall continue in full
                force and effect for the remainder of the POLICY PERIOD and the Insurer shall be liable to the same extent that it
                would have been liable if such UNDERLYING INSURANCE had remained in effect.

             This policy shall follow the cancellation terms of the FOLLOWED POLICY except that in the event the Insurer cancels
             this policy for non-payment of premium, this policy shall be void as of the inception date of the POLICY PERIOD.

D.     PUNITIVE DAMAGES

                This policy shall cover punitive damages unless such damages are excluded under the terms and conditions of the
                FOLLOWED POLICY. Furthermore, if the FOLLOWED POLICY is determined not to cover punitive damages solely due
                to the insurability of such damages under applicable law, then this policy shall nonetheless provide coverage for punitive
                damages as if all UNDERLYING INSURANCE had provided such coverage. This policy will not drop down to provide
                coverage for punitive damages in place of UNDERLYING INSURANCE.
E.     ALTERNATIVE DISPUTE RESOLUTION

       1.   It is agreed that any dispute arising out of or in connection with this policy, including any question regarding its
               existence, validity or termination, shall be referred to and finally resolved solely by Arbitration or Alternative Dispute
               Resolution (ADR).
       2.   This policy shall follow the terms of the FOLLOWED POLICY with respect to Arbitration or ADR only when said terms
              require the dispute to proceed in Hamilton, Bermuda; London, England; or Toronto or Vancouver, Canada.
       3.   In the event the applicable FOLLOWED POLICY does not provide for Arbitration or ADR in Hamilton, Bermuda;
              London, England; or Toronto or Vancouver, Canada, the Insured shall select one of the following venues and
              procedural laws for such Arbitration or ADR:
                     (i)       Arbitration held in Hamilton, Bermuda under The Bermuda International Conciliation and Arbitration
                               Act of 1993 (exclusive of the Conciliation Part of such act) as may be amended and supplemented, or
                               under the English Arbitration Act of 1996 as may be amended and supplemented, which Acts are
                               deemed incorporated by reference into this clause, or
                     (ii)      Arbitration held in London, England under the English Arbitration Act of 1996, as may be amended and
                               supplemented, which Act is deemed incorporated by reference into this clause, or
                     (iii)     Arbitration held in Toronto or Vancouver, Canada under the English Arbitration Act of 1996, as may be
                               amended and supplemented, which Acts are deemed incorporated by reference into this clause.
       4.   Where the Insured and Insurer are parties to the dispute, the Insured shall make the selection referenced in paragraph 3
             above. Where the Insurer and a party deriving rights through or asserting rights on behalf of the Insured are parties to
             a dispute, the Insurer shall make the selection referenced in paragraph 3 above.
       5.       The number of arbitrators shall be three.
       6.        Each party shall bear the costs of its own arbitrator. The remaining cost of arbitration shall be borne equally by the
                parties.
       7.       All awards made by the Arbitration Board shall be final and no right of appeal shall lie from any award rendered by the
                Arbitration Board.
       8.       No person or organization shall have any right under this policy to join the Insurer as a party to any action against the
                Insured to determine the Insured's liability, nor shall the Insurer be impleaded by the Insured or their legal
                representatives. The Insurer and the Insured agree that in the event that claims for indemnity or contribution are
                asserted in any action or proceeding against the Insurer by any of the Insured's other insurers in a jurisdiction or forum
                other than that set forth in this clause, the Insured will in good faith take all reasonable steps requested by the Insurer to
                assist the Insurer in obtaining a dismissal of these claims (other than on the merits). The Insured will, without
                limitation, undertake to the court or other tribunal to reduce any judgment or award against such other insurers to the
                extent that the court or tribunal determines that the Insurer would have been liable to such insurers for indemnity or
                contribution pursuant to this policy. The Insured shall be entitled to assert claims against the Insurer for coverage under
                this policy, including, without limitation, for amounts by which the Insured reduced its judgment against such other




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                insurers in respect of such claims for indemnity or contribution, in an arbitration between the Insurer and the Insured
                pursuant to this clause; provided, however, that the Insurer in such arbitration in respect of such reduction of any
                judgment shall be entitled to raise any defenses under this policy and any other defenses (other than jurisdiction
                defenses) as it would have been entitled to raise in the action or proceeding with such insurers.

F.     CHOICE OF LAW

                This policy shall be construed and enforced in accordance with the applicable law determined under the FOLLOWED
                POLICY (with the exception of the procedural law required under this policy’s Alternative Dispute Resolution clause
                E.), except insofar as such laws may prohibit payment hereunder in respect of punitive damages, in which case, the
                laws of England and Wales shall apply.




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                        PRIOR NOTICE / PRIOR CLAIM EXCLUSION ENDORSEMENT




It is hereby agreed that Sections III.B(1) and B(2) of the FOLLOWED POLICY are deleted and replaced by the following:

B.       No coverage shall be available under this policy for any Claim, Interview or Investigation Demand made
         against an Insured:

                  (1)     based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Inception Date of this policy as
                          set forth in ITEM 2 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this policy as set forth in ITEM 2 of the Declarations, was the
                          subject of any notice given under any other Management Liability policy, Directors and
                          Officers liability policy or similar policy;



All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 15, 2019

End No.:         1




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                                          TIE IN OF LIMITS ENDORSEMENT

It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this policy has
been negotiated with the understanding that this policy and the policy # AKDE6HTR7702D4 issued to the Insured by
Chubb Global Markets – Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of
the premium charged, it is understood and agreed that;

    a)    Subject to the terms and conditions of the coverage provided by the Other Policy and this policy, in the event that
          loss or damages is required to be paid under both this policy and the Other Policy, the coverage provided under
          this policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment of
                    any loss or damages under this policy; and
              ii.   any payment of loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all loss or damages on account of all claims for this policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall limit of
                    liability.

    b) The Insurer will have no obligation under this policy to make any payment of loss or damages to the extent that
       the Other Policy’s aggregate limit of liability is fully exhausted.

    c)    If the paid loss or damages under this policy are in an aggregate amount equaling $1,400,000 any and all
          obligations of the Insurer under this policy will be completely fulfilled and extinguished, and the Insurer will have
          no further obligations of any kind or nature whatsoever under this policy.

    d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay loss or
       damages under this policy in excess of $1,400,000 which is the limit of liability set forth under Item 3 of the
       Declarations of this policy.

    e)    In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this policy, the term, condition or limitation of this endorsement shall govern.


All other terms and conditions remain unchanged

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No.: MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:          Amtrust Financial Services, Inc.

Date of Issue:      January 30, 2019

End No.             2




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                              RETROACTIVE DATE EXCLUSION ENDORSEMENT




In consideration of the premium charged for this Policy, it is hereby understood and agreed that this Policy excludes any
Loss or Claim based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way
involving:

         1.       any Wrongful Act actually or allegedly committed or any conduct actually or allegedly undertaken prior
                  to 12.01am Local Time on 21st October 2017.

         2.       any other Wrongful Act occurring on or subsequent to the date stated in 1. above which, together with a
                  Wrongful Act occurring prior to such date, would constitute Interrelated Wrongful Acts, or

         3.       any other conduct occurring on or subsequent to the date stated in 1. above, together with conduct
                  occurring prior to such date, have as a common nexus any fact, circumstance, situation, event,
                  transaction or series of facts, circumstances, situations, events or transactions.



All other terms and conditions of this Policy remain unchanged.


All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 15, 2019

End No.:          3




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                                      SANCTIONS CLAUSE ENDORSEMENT




    No insurer shall be deemed to provide cover and no insurer shall be liable to pay any claim or provide any benefit
    hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would
    expose the insurer, or its ultimate holding company, to any sanction, prohibition or restriction implemented pursuant
    to resolutions of the United Nations or the trade and economic sanctions, laws or regulations of the European Union,
    United Kingdom, or United States of America.




All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 20, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 15, 2019

End No.:         4




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                                            AMENDMENT ENDORSEMENT



It is hereby declared and agreed that Item 2. and Item 7. of the Declaration page are deleted in their entirety and replaced
with the following:-



ITEM 2: POLICY PERIOD:               November 20, 2018 to November 29, 2018          (12:01 a.m. prevailing time
                                                                                   at the address stated in Item 1)


ITEM 7: PREMIUM: $ 2,070




Nothing herein shall be held to vary, alter, waive or extend any of the terms, conditions, exclusions or limitations of this
Policy, except as expressly stated herein. This endorsement is part of such Policy and incorporated herein.

All other terms and conditions of this policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 15, 2019

End No.:          5




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                                       CONVERT TO RUN-OFF ENDORSEMENT


In consideration of an additional premium of $168,000 (the “Run-Off Premium”):

    1.   It is hereby declared and agreed that Item 2. of the Declaration page is amended in its entirety and replaced with
         the following:-

             Item 2. POLICY PERIOD:

             From:                    November 29, 2018
             To:                      November 29, 2024                  (12:01 a.m. prevailing time
                                                                         at the address stated in Item 1)

    2.   It is expressly understood and agreed that the maximum aggregate Limit of Liability set forth in Item 3 of the
         Declarations shall continue to be the maximum aggregate Limit of Liability for the entire Policy Period, as
         amended in paragraph 2 above, and subject to all terms and conditions of Endorsement No. 3 to the Policy.

    3.   Item 7 of the Declarations is amended to read in its entirety as follows:

         Item 7:
                   Original Premium:          $9,408
                   Amended Premium:           $2,070
                   Run-Off Premium:           $168,000
                   Total Policy Premium:      $170,070

    4.   No coverage will be available under this Policy for any Claim based upon, arising out of, directly or indirectly
         resulting from, in consequence of, or in any way involving any Wrongful Act committed or allegedly committed
         on or after November 29, 2018, or with respect to any Interview or Investigation demand in connection with any
         act, fact, circumstance, transaction, or event taking place on or after November 29, 2018. Nothing herein shall
         serve to limit or waive Endorsement No. 2 to the Policy, which shall continue in full force and effect.

    5.   The policy is amended by deleting Section II TERMS AND CONDITIONS C. CANCELLATION CLAUSE in
         its entirety.

    6.   The premium shall be fully earned and non-refundable as of November 29, 2018.

    7.   Solely for the purposes of this endorsement, the term Original Policy Period means the period of time from
         November 20, 2018 to November 29, 2018.

All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:         Amtrust Financial Services, Inc.

Date of Issue:     January 15, 2019

End No.:           6




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                                     SCHEDULE OF UNDERLYING INSURANCE


It is hereby understood and agreed that Item 5 of the Declarations reads as follows:

Item 5: Schedule of Underlying Insurance:

      Carrier                                         Policy Period                    Limits                Attachment

   i. Indian Harbor Insurance Company                 November 29, 2018 –              $5M             as per ITEM 12 on Dec
                                                      November 29, 2024                                         page.
  ii. Zurich American Insurance Company               November 29, 2018 –              $5M                      $5M
                                                      November 29, 2024
  iii. Axis Insurance Company                         November 29, 2018 –              $5M                     $10M
                                                      November 29, 2024
  iv. Allianz Global Risk US Insurance Company        November 29, 2018 –         $2.5M po $5M                 $15M
                                                      November 29, 2024
   v. Markel Bermuda Limited                          November 29, 2018 –         $2.5M po $5M                 $15M
                                                      November 29, 2024
  vi. Lloyd’s Underwriter - Hiscox                    November 29, 2018 –              $5M                     $20M
                                                      November 29, 2024
 vii. Lloyd’s Underwriters – Aspen (Lead)             November 29, 2018 –        $11.4M po $15M                $25M
                                                      November 29, 2024
 viii. Markel Bermuda Limited                         November 29, 2018 –         $3.6M po $15M                $25M
                                                      November 29, 2024
                                                Quota Share Participant(s)
  ix. Lloyd’s Underwriter – Aspen (Lead)              November 29, 2018 –         $8.6M po $10M                $40M
                                                      November 29, 2024



All other terms and conditions of the policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000686
of MARKEL BERMUDA LIMITED.

Issued to:         Amtrust Financial Services, Inc.

Date of Issue:     January 15, 2019

End No.:           7




MBL PLFF 2012                                       Page 12 of 12
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                     EXHIBIT S
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                                                Allianz Global Corporate & Specialty®




                                                Allianz
                                                Insurance
                                                Policy




                                                                 Allianz ®
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                                                DECLARATIONS
                                               EXCESS PROTECT
                                       EXCESS LIABILITY INSURANCE
NOTICE: THIS POLICY, SUBJECT TO ITS TERMS, APPLIES TO ANY CLAIM FIRST MADE AGAINST THE
INSUREDS DURING THE POLICY PERIOD AND THE DISCOVERY PERIOD, IF APPLICABLE. THE LIMIT OF
LIABILITY AVAILABLE TO PAY LOSS SHALL BE REDUCED AND MAY BE EXHAUSTED BY AMOUNTS
INCURRED AS DEFENSE COSTS. SEE CONSUMER INFORMATION NOTICE BELOW FOR FURTHER
DETAILS. THIS POLICY DOES NOT PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY OF
THE INSUREDS.
PLEASE READ THIS POLICY CAREFULLY

The Declarations along with the Policy and with endorsements attached, if any, shall constitute the contract
between the Insureds and the Insurer.

Policy Number:        USF00255018

Item 1.    Policyholder:         AmTrust Financial Services, Inc.
           Principal Address:    59 Maiden Ln
                                 New York, NY 10038-4502


Item 2.    Policy Period:         From:      November 20, 2018
                                  To:        December 31, 2018
                            The Policy Period incepts and expires as of 12:01 AM at the Policyholder’s
                            principal address.

Item 3.    Limit of Liability:   $2,600,000            In the aggregate for the Policy Period

Item 4.    Premium:              $315,844              For the Policy Period

Item 5.    Followed Policy: See Below
           Insurer:            Indian Harbor Insurance Company         Policy No.:       US00080794DO17A
           Limit of Liability: $5,000,000
           Retention:          $5,000,000
           Policy Period:      From:    November 29, 2018              To:       November 29, 2024




NOTICE: THESE     POLICY FORMS AND THE APPLICABLE RATES
ARE EXEMPT FROM THE FILING REQUIRMENTS OF THE NEW YORK
STATE INSURANCE DEPARTMENT. HOWEVER, SUCH FORMS AND
RATES MUST MEET THE MINIMUM STANDARDS OF NEW YORK LAWS
AND REGULATIONS.
New York Free Trade Zone (Risk- Code): 2-13000




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Item 6.    Underlying            See Schedule of Underlying, PX3100
           Insurance:
            st
           1 Excess Policy
           Insurer:                                                      Policy No.:
           Limit of Liability:
           Excess of Limit of
           Liability:
           Policy Period:        From:                                   To:


Item 7.    Insurer:    (Coverage is provided in the following company, a stock company)

                       Allianz Global Risks US Insurance Company
                       225 West Washington Street, Suite 1800
                       Chicago, IL 60606-3484
                       Phone Number: 1-888-466-7883

           Notification to the Insurer of a Claim or circumstance pursuant to Section 2.5 of this Policy
           shall be given to:
                       Allianz Global Risks US Insurance Company
                       Attention: Claims Department
                                                                nd
                                  One Progress Point Parkway, 2 Floor
                                  O’Fallon, MO 63368
                       Email: NewLoss@agcs.allianz.com
                       Phone Number: 1-800-558-1606
                       Fax Number: 1-888-323-6450

Item 8.    Currency:                 USD

Item 9.    Endorsements attached at issuance: See Schedule of Forms and Endorsements, DO1200-MU

Marsh USA, Inc.
1166 Avenue of the Americas
New York, NY 10011




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                                            New York Addendum

               CONSUMER INFORMATION NOTICE - PLEASE READ CAREFULLY

                                            Claims Made Coverage
                                            [11 NYCRR 73 (Reg. 121)]
This policy is written on a claims-made basis and provides no coverage for claims which took place prior to the
retroactive or prior acts date stated in the policy, if any.
This Policy covers only claims actually made against the insured while the policy remains in effect, and all
coverage under the policy ceases upon the termination of the policy. Claims may, however, be reported to the
company during an automatic sixty (60) day Discovery Period, or any additional Discovery Period purchased by
the Policyholder.

Any coverage for the Discovery Period under this Policy applies only to the extent such is provided by the
Underlying Insurance.
During the first several years of the claims made relationship, claims made rates are comparatively lower than
occurrence rates. Be advised that substantial annual premium increases, independent of overall rate level
increases, should be expected if the policyholder is written at a less than mature rate. This disparity lessens the
longer the claims made relationship exists.
There is a potential for coverage gaps that may arise upon expiration of any Discovery Period.
Coverage under this policy may apply for acts, errors, or omissions which occurred prior to the effective date of
this Policy if a Claim for Loss or Damages resulting therefrom is first reported during the Policy Period or during
any applicable Discovery Period; provided, however that on or before such date the Insured did not know or could
not have reasonably foreseen that such Wrongful Act could lead to a Claim. IF THIS POLICY CONTAINS A
PRIOR ACTS EXCLUSION, THERE IS NO COVERAGE FOR CLAIMS FIRST REPORTED TO THE INSURER
ARISING OUT OF ACTS, ERRORS OR OMISSIONS THAT OCCURRED PRIOR TO THE INCEPTION DATE OF
THIS POLICY.


                                        Defense Costs: Limit of Liability
                                           [11 NYCRR 71 (Reg. 107)]
Defense Costs are part of, and not in addition to, the Limit of Liability and may be exhausted by amounts
incurred as legal defense costs. The Insurer will not be liable for further legal defense costs or for the amount of
any judgment or settlement after exhaustion of the Limit of Liability.
The Policyholder, on behalf of all Insureds has a right to an accounting, upon request, of legal defense costs
actually expended.




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                                      Schedule of Underlying Insurance

Item 6.      Underlying Insurance:

             Primary Policy
             Insurer: Indian Harbor Insurance Company                         Policy No.:      US00080794DO17A
             Limit of Liability: $5,000,000
             Retention: $5,000,000
             Policy Period:           From: November 29, 2018      To:     November 29, 2024
                  st
             1 Excess Policy
             Insurer: Zurich American Insurance Company                       Policy No.:       DOC 4565460-00
             Limit of Liability: $5,000,000
             Excess of Limit
             of Liability: $5,000,000
             Policy Period:           From: November 29, 2018      To:     November 29, 2024
                 nd
             2 Excess Policy
             Insurer: Axis Insurance Company                                 Policy No.:       MNN626501/01/2017
             Limit of Liability: $5,000,000
             Excess of Limit
             of Liability: $10,000,000
             Policy Period:           From: November 29, 2018     To:     November 29, 2024

             3rd Excess Policy(Quota Share)
             Insurer: Allianz Global Risk US Insurance Company                Policy No.:       USF00237518
             Limit of Liability: $2,500,000
             Excess of Limit
             of Liability: $15,000,000
             Policy Period:           From: November 29, 2018      To:     November 29, 2024

             Insurer: Markel Bermuda Limited                               Policy No.:      MKLB25GPL0000686
             Limit of Liability: $2,500,000
             Excess of Limit
             of Liability: $15,000,000
             Policy Period:           From: November 29, 2018    To:     November 29, 2024
                 th
            4 Excess Policy
            Insurer: Lloyd’s Syndicate 0033                                Policy No.:      B0509FINFW1800559
            Limit of Liability: $5,000,000
            Excess of Limit
            of Liability: $20,000,000
            Policy Period:           From: November 29, 2018     To:     November 29, 2024

            5th Excess Policy(Quota Share)
            Insurer: Lloyd’s Syndicate 4711                                Policy No.:      B0509FINFW1800560
            Limit of Liability: $5,500,000 part of $15,000,000
            Excess of Limit
            of Liability: $25,000,000
            Policy Period:           From: November 29, 2018     To:     November 29, 2024




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             Insurer: Markel Bermuda Limited                                 Policy No.:     MKLB25GPL0000685
             Limit of Liability: $3,600,000 part of $15,000,000
             Excess of Limit
             of Liability: $25,000,000
             Policy Period:           From: November 29, 2018     To:     November 29, 2024

             Insurer: Arch Insurance Company                                  Policy No.:       DOX1000029-00
             Limit of Liability: $2,700,000 part of $15,000,000
             Excess of Limit
             of Liability: $25,000,000
             Policy Period:           From: November 29, 2018       To:    November 29, 2024

            Insurer: Forge Underwriting                                     Policy No.:     B0509FINFW1800560
            Limit of Liability: $3,200,000 part of $15,000,000
            Excess of Limit
            of Liability: $25,000,000
            Policy Period:          From: November 29, 2018       To:     November 29, 2024




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Schedule of Forms and Endorsements

             Policy Number                           Effective Date                     Producer
             USF00255018                           November 20, 2018                Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

Form Name                                                              Form Number

Schedule of Underlying Insurance                                       PX3100 (08/15)

Excess Protect Excess Liability Insurance Policy                       PX4100FL (08/15)

Notice of Terrorism Insurance Coverage                                 PHN7157-MU (03/17)

New York Amendatory Endorsement                                        PX3110NY (03/16)

Conformance with State Statutes Endorsement(Full Conformance)          DOXMAN(1209)-MU (8/15)

Sanctions Clause                                                       PX3108 (08/15)

Cap on Losses from Certified Acts of Terrorism                         145989 (03/17)

Excess Protect Amendatory Endorsement                                  DOXMAN(1253)-MU (08/15)

Pending and Prior Litigation Exclusion                                 PX3101 (08/15)

Claims Handling Clause Amended Endorsement                             DOXMAN(1257)-MU (08/15)

Quota Share Participation                                              PX3106 (08/15)

Run Off Coverage                                                       PX3107 (08/15)

Cancellation Endorsement (Return Premium)                              DOMAN(1383)-MU (08/15)




DO1200-MU (08/15)                           Page 1 of 1
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                                            EXCESS PROTECT
                                   EXCESS LIABILITY INSURANCE POLICY

THIS IS A FOLLOW FORM, CLAIMS MADE, INSURANCE POLICY THAT MUST BE READ IN CONJUNCTION
WITH ALL UNDERLYING INSURANCE POLICIES TO BE UNDERSTOOD.
In consideration of payment of the premium and in reliance upon all statements made and information furnished
to the insurance company shown in the Declarations (the “Insurer”), including the statements made in the
Application and subject to all terms, conditions and limitations of this Policy, the Insurer, the Policyholder and
the Insureds agree as follows:
1.      Insuring Agreement
This Policy provides the Insureds with insurance excess of the Underlying Insurance for Claims first made
against the Insured during the Policy Period or Discovery Period, if applicable, and reported to the Insurer
pursuant to the provisions of this Policy. Except as specifically set forth in this Policy or in any written
endorsement attached to this Policy, the coverage afforded by this Policy applies in conformance with: (1) the
terms, conditions, warranties, exclusions and limitations of the Followed Policy as they existed on the inception
date of this Policy; and (2) any narrower or more restrictive terms of the other Underlying Insurance, to the
extent the coverage of the Followed Policy is limited or restricted by the terms of such other Underlying
Insurance. This Policy shall not provide coverage broader than that provided by the Followed Policy unless the
Insurer specifically agrees to grant such broader coverage herein or by written endorsement attached to this
Policy.
2.      General Conditions
The conditions set forth in this Section 2. General Conditions are in addition to those set forth in the Followed
Policy, and are specific to the coverage provided by this Policy.
2.1   Coverage under this Policy shall attach only after exhaustion of the limits of liability of the Underlying
      Insurance. The limits of liability of the Underlying Insurance shall be exhausted by payment, in legal
      currency, of Loss by the insurers of the Underlying Insurance, the Insureds or any DIC Insurer (if such
      DIC Insurer is sitting excess of this Policy). The Insurer shall recognize any contribution in legal currency
      by or on behalf of an Insured to such exhaustion of the limits of liability of the Underlying Insurance.
2.2   The Limit of Liability as stated in Item 3 of the Declarations shall be the maximum amount payable under
      this Policy for all covered Loss, including without limitation, defense costs.
2.3   If the limits of liability of the Underlying Insurance are reduced solely due to actual payment in legal
      currency of the Underlying Insurance, this Policy shall continue in force as excess insurance above the
      remaining amount of the limits of liability of the Underlying Insurance. If the limits of liability of the
      Underlying Insurance are exhausted as described in Section 2.1, this Policy shall continue in force as
      primary insurance, subject to any applicable retention.
2.4   This Policy shall pay only in the event of reduction or the exhaustion of limit of the Underlying Insurance
      as described above and shall not drop down for any reason including, but not limited to, the uncollectibility
      in whole or in part of the Underlying Insurance or any insurance provided by a DIC Insurer. This Policy
      does not provide excess insurance above any sub-limit of liability available under any Underlying
      Insurance; however, the Insurer shall recognize the payment of such sub-limit of liability as erosion or
      reduction of the limits of liability of the Underlying Insurance.
2.5   Where any Underlying Insurance permits or requires notice to its insurer, including notice of a Claim, then
      as a condition precedent to the obligations of the Insurer under this Policy, the Insureds shall,
      contemporaneously with and according to the terms of the Followed Policy, give the same written notice to
      the Insurer at the applicable address set forth in Item 7 of the Declarations.
2.6   The Insurer may elect to, but is not obligated to, effectively associate in the investigation, settlement,
      defense or appeal of any Claim or matter that the Insurer believes, in its sole opinion, is reasonably likely
      to involve or to be covered under this Policy.
2.7   Any change in or modification to the Underlying Insurance or this Policy or assignment of interest under
      this Policy must be agreed upon in writing by the Insurer, and in no event shall any such change,
      modification or assignment affect this Policy’s excess position or attachment point.

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2.8   All Underlying Insurance shall be maintained in full force and effect. Failure to maintain any Underlying
      Insurance shall: (1) result in the Insureds becoming self-insured for the limit of liability of any such
      Underlying Insurance; and (2) not relieve the Insurer of any obligations under this Policy.
2.9   This Policy shall terminate immediately upon the effective date of the termination for any reason of the
      Followed Policy, (except by reason of the complete exhaustion of the Followed Policy as set forth above)
      whether by the Insureds or by the insurer of such policy.
3.      Definitions
3.1   Any term used in this Policy, including Application, Claim, Loss and Insured(s) that is defined in the
      Followed Policy shall have the same meaning as assigned to such term in the Followed Policy.
3.2   DIC Insurer means any insurer of an insurance policy written specifically excess of this Policy that is
      contractually obligated to drop down and pay covered Loss that is not paid by any Underlying Insurance.
      This Policy does not follow form to the provisions of the policy of such DIC Insurer.
3.3   Discovery Period means the Discovery Period or Extended Reporting Period as described in the
      Underlying Insurance. In no event shall this Policy provide a Discovery Period unless, and then only to
      the extent, it is provided by the Underlying Insurance.
3.4   Followed Policy means the insurance policy stated as such in Item 5 of the Declarations.
3.5   Insurer means the entity stated in Item 7 of the Declarations.
3.6   Policyholder means the entity stated in Item 1 of the Declarations.
3.7   Policy Period means the period stated as such in Item 2 of the Declarations.
3.8   Underlying Insurance means the Followed Policy and any other insurance policies stated as such in Item
      6 of the Declarations.




IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and Secretary.




               Secretary                                         President




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                           IMPORTANT DISCLOSURE
                  NOTICE OF TERRORISM INSURANCE COVERAGE
   ________________________________________________________________________________

   This notice applies to all type(s) of insurance provided under this policy that are subject to
   the Terrorism Risk Insurance Act ("The Act"), as amended. This policy makes available and
   provides at a premium of $0 insurance coverage for losses resulting from acts of terrorism. As
   defined in Section 102(1) of the Act: The term “act of terrorism” means any act or acts that are
   certified by the Secretary of the Treasury—in consultation with the Secretary of Homeland
   Security, and the Attorney General of the United States—to be an act of terrorism; to be a
   violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted
   in damage within the United States, or outside the United States in the case of certain air
   carriers or vessels or the premises of a United States mission; and to have been committed by
   an individual or individuals as part of an effort to coerce the civilian population of the United
   States or to influence the policy or affect the conduct of the United States Government by
   coercion.


   YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR
   LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE
   PARTIALLY REIMBURSED BY THE UNITED STATES GOVERNMENT UNDER A FORMULA
   ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN OTHER
   EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR
   NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT
   GENERALLY REIMBURSES 85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016;
   83% BEGINNING ON JANUARY 1, 2017; 82% BEGINNING ON JANUARY 1, 2018; 81%
   BEGINNING ON JANUARY 1, 2019 and 80% BEGINNING ON JANUARY 1, 2020, OF
   COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED
   DEDUCTIBLE PAID BY THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE
   PREMIUM CHARGED FOR THIS COVERAGE IS $0 AND DOES NOT INCLUDE ANY
   CHARGES FOR THE PORTION OF LOSS THAT MAY BE COVERED BY THE FEDERAL
   GOVERNMENT UNDER THE ACT.


   YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS
   AMENDED, CONTAINS A $100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
   REIMBURSEMENT AS WELL AS INSURERS’ LIABILITY FOR LOSSES RESULTING FROM
   CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE
   CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR
   ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE MAY BE REDUCED.




   PHN7157-MU (03/17)                    Page 1 of 1
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 Endorsement Number 1




 New York Amendatory

               Policy Number                             Effective Date                                Producer
               USF00255018                             November 20, 2018                           Marsh USA, Inc.

 Policyholder: AmTrust Financial Services, Inc.

 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 This endorsement modifies insurance provided under the following:

 Excess Protect

 It is agreed that:
                               st
I.     The header on the 1 page of the policy form is hereby deleted in its entirety and replaced with the following:
       THIS IS A CLAIMS MADE POLICY WITH DEFENSE COSTS INCLUDED IN THE LIMIT OF LIABILITY. PLEASE
       READ THE ENTIRE POLICY CAREFULLY.
II.    The following Subsections are added to the General Conditions:
       A.     Discovery Period Upon Termination of Coverage
              1.      Upon any Termination of Coverage for reasons other than nonpayment of premium or fraud within the
                      first year of claims-made coverage with the Insurer, the Policyholder shall have the right to a
                      Discovery Period. The Insurer will advise the Policyholder in writing of the Automatic Discovery
                      Period and the availability of, the premium for, and the importance of purchasing, the Optional
                      Discovery Period. This notice will be sent no earlier than the date of notification of Termination of
                      Coverage, and no later than thirty (30) days after the effective date of the Termination of Coverage.
              2.      The Policyholder shall have the right to a period of sixty (60) days following Termination of Coverage
                      (hereinafter the Automatic Discovery Period), in which to give notice to the Insurer of Claims first
                      made against any Insured during said sixty (60) day period, for any Wrongful Act committed on or
                      after the retroactive date and prior to the effective date of Termination of Coverage, and otherwise
                      covered by this Policy.
              3.      The Policyholder shall have the option to purchase, upon payment of an additional premium equal to
                      100% of the total annual premium, an Optional Discovery Period (hereinafter Optional Discovery
                      Period). The Optional Discovery Period shall cover Claims first made against any Insured during the
                      period of twelve (12) months for Wrongful Acts committed on or after the retroactive date and prior to
                      the effective date of Termination of Coverage, and otherwise covered by this Policy. The
                      Policyholder shall have the option to purchase, upon payment of an additional premium equal to 100%
                      of the total annual premium, an Optional Discovery Period (hereinafter Optional Discovery Period).
                      The Optional Discovery Period shall cover Claims first made against any Insured during the period of
                      twelve (12) months for Wrongful Acts committed on or after the retroactive date and prior to the
                      effective date of Termination of Coverage, and otherwise covered by this Policy.
              4.      Where premium is due to the Insurer for coverage under this Policy, any monies received by the
                      Insurer from the Policyholder as payment for the Optional Discovery Period shall first be applied to
                      such premium owing for the Policy. All premiums paid with respect to the Optional Discovery Period
                      shall be deemed fully earned as of the first day of the Optional Discovery Period.
              5.      The additional premium for the Optional Discovery Period shall be based upon the rates in effect at
                      the beginning of the Policy Period. The Policyholder may purchase for an additional premium an
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                   additional Optional Discovery Period of one, two, or three years following the termination of this Policy.
                   The applicable required additional premium is set forth in (a)-(c) of the SCHEDULE below.
            6.     The Policyholder must notify the Insurer in writing of its intent to purchase an Optional Discovery
                   Period and must pay the additional premium. The Policyholder shall have the greater of the following
                   in which to submit such notice to the Insurer:
                   a.     sixty (60) days after the effective date of Termination of Coverage; or
                   b.     thirty (30) days after the date that the Insurer mails notice advising the Policyholder of the
                          availability of the Optional Discovery Period.
                   If the Policyholder elects to purchase the Optional Discovery Period, the Optional Discovery Period
                   coverage will not take effect until the premium owed for the Policy is paid in full, and the premium owed
                   for the Optional Discovery Period coverage is paid in full and promptly when due.
            7.     The aggregate Limit of Liability for the Optional Discovery Period shall be at least equal to the
                   amount of coverage remaining in the Policy’s aggregate Limit of Liability.
            8.     During a claims-made relationship and any Optional Discovery Period, a person employed or
                   otherwise affiliated with the Policyholder and covered by the Policyholder’s claims-made policy
                   during such affiliation, shall continue to be covered under such policy and any Optional Discovery
                   Period after such affiliation has ceased for such person's covered acts or omissions during such
                   affiliation.
                   A claims-made policy issued to a corporation, partnership or other entity shall provide Optional
                   Discovery Period coverage upon Termination of Coverage to any person covered under the policy,
                   if:
                   a.     such entity has been placed in liquidation or bankruptcy or permanently ceases operations;
                   b.     the entity or its designated trustee does not purchase Optional Discovery Period coverage; and
                   c.     such person requests the Optional Discovery Period coverage within 120 days of the
                          Termination of Coverage.
                   The Insurer shall have no obligation to provide any notice to any such person of the availability of the
                   Optional Discovery Period coverage. The Insurer may charge the person for whom Optional
                   Discovery Period coverage is provided a premium commensurate with such coverage.
            9.     The additional premium for the Optional Discovery Period shall be based upon the rates in effect at
                   the beginning of the Policy Period. The Policyholder may purchase for an additional premium an
                   additional Optional Discovery Period of one, two, or three years following the termination of this Policy.
                   The premium for the additional Optional Discovery Period will be as follows:
                                                                  SCHEDULE
                    (a)                 12 Months:            125%                    of the Policy Premium
                    (b)                 24 Months:            175%                    of the Policy Premium
                    (c)                 36 Months:            200%                    of the Policy Premium
            10.    Where premium is due to the Insurer for coverage under this Policy, any monies received by the
                   Insurer from the Policyholder as payment for the Optional Discovery Period shall first be applied to
                   such premium owing for the Policy. All premiums paid with respect to the Optional Discovery Period
                   shall be deemed fully earned as of the first day of the Optional Discovery Period.
      B.    Cancellation/Non-Renewal or Conditional Renewal
            1.     Cancellation
                   a.     This Policy may be cancelled by the Policyholder by surrender thereof to the Insurer or by
                          providing written notice to the Insurer stating when thereafter cancellation shall be effective. If
                          this Policy is cancelled by the Policyholder, the Insurer shall retain the customary short rate
                          proportion of the premium.
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                   b.    If this Policy has been in effect for sixty (60) days or less, and is not a renewal of a policy
                         previously issued by the Insurer, this Policy may be cancelled by or on behalf of the Insurer by
                         mailing or delivering to the Policyholder’s authorized agent or broker and to the Policyholder at
                         the address shown in Item 1. of the Declarations written notice of cancellation stating the reason
                         for cancellation at least twenty (20) days before the effective date of cancellation. If cancellation
                         is for nonpayment of premium, the notice of cancellation shall include the amount of premium that
                         is due.
                         After this Policy has been in effect for more than sixty (60) days or after the effective date of
                         renewal, this Policy may only be cancelled by or on behalf of the Insurer for one of the following
                         reasons:
                         (1)   nonpayment of premium;
                         (2)   conviction of a crime arising out of acts increasing the hazard insured against;
                         (3)   discovery of fraud or material misrepresentation in obtaining the Policy or in the
                               presentation of a Claim thereunder;
                         (4)   after issuance of this Policy or after the last renewal date, discovery of an act or omission,
                               or a violation of any Policy condition, that substantially and materially increases the hazard
                               insured against, and which occurred subsequent to inception of the current Policy Period;
                         (5)   a determination by the Superintendent that the Insurer’s continuation of the present
                               premium volume would jeopardize the Insurer’s solvency or be hazardous to the interests
                               of the Insurer’s policyholders, the Insurer’s creditors or the public; or
                         (6)   a determination by the Superintendent that the continuation of the Policy would violate, or
                               would place the Insurer in violation of New York law.
                         Cancellation shall be effected by mailing or delivering to the Policyholder’s authorized agent or
                         broker and to the Policyholder at the address shown in Item 1. of the Declarations written notice
                         of cancellation specifying the grounds for cancellation at least fifteen (15) days before the
                         effective date of cancellation. If cancellation is for nonpayment of premium, the notice of
                         cancellation shall include the amount of premium that is due. If the Insurer cancels this policy,
                         the earned premium shall be computed pro rata.
            2.     Nonrenewal or Conditional Renewal
                   Should the Insurer decide to nonrenew this Policy or conditions its renewal upon a change in the Limit
                   of Liability, change in type of coverage, reduction of coverage, increased retention, the addition of any
                   exclusion or an increase in premium in excess of 10%, then the Insurer shall mail or deliver written
                   notice of the refusal to renew or the conditional renewal to the Policyholder at the principal address
                   shown in Item 1. of the Declarations and to the Policyholders authorized agent or broker, if applicable,
                   at least sixty (60) days but not more than one hundred and twenty (120) days before the end of the
                   Policy Period. Such notice shall contain the specific reasons for the nonrenewal or the conditional
                   renewal and shall set forth the amount or a reasonable estimate of any premium increase and describe
                   any additional proposed changes.
                   If the Insurer does not provide notice of nonrenewal or conditional renewal as provided in this section,
                   coverage will remain in effect at the same terms and conditions of this Policy at the lower of the current
                   rates or the prior period’s rates until sixty (60) days after such notice is mailed or delivered unless the
                   Policyholder, during this 60-day period, has replaced the coverage or elects to cancel in which event
                   such cancellation shall be on a pro rata premium basis; provided, however, that if the Insurer elects to
                   renew on the basis of the conditional renewal notice, then such terms, conditions and rates shall govern
                   the Policy upon expiration of such sixty (60) day period unless such notice was provided at least thirty
                   (30) days prior to the expiration date of the Policy, in which event the terms, conditions and rates set
                   forth in the conditional renewal notice shall apply as of the renewal date.
                   If the Insurer provides notice of nonrenewal or conditional renewal on or after the expiration date of this
                   Policy, coverage will remain in effect at the same terms and conditions of this Policy for another Policy
                   Period, at the lower of the current rates or the prior Policy Period’s rates, unless the Policyholder,
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                     during the additional Policy Period, has replaced the coverage or elects to cancel, in which event such
                     cancellation shall be on a pro rata premium basis.
                     The Insurer will not send the Policyholder notice of nonrenewal or conditional renewal if the
                     Policyholder, the Policyholder’s authorized agent or another insurer of the Policyholder mails or
                     delivers notice that the Policy has been replaced or is no longer desired.
                     If the Policyholder elects to accept the terms, conditions and rates of the conditional renewal notice
                     pursuant to the cancellation provisions, a new limit of insurance shall become effective as of the
                     inception date of renewal, subject to regulations promulgated by the Superintendent of Insurance.
III.    The following Subsections in General Conditions are amended:
        A.    The following is added to Subsection 2.2:
              Transfer of Duties When a Limit of Liability is Exhausted
              1.     If the Insurer concludes that, based on incidents, occurrences, offenses, Claims or suits which have
                     been reported to the Insurer and to which this insurance may apply, that any limit (each Claim, each
                     incident, each occurrence, aggregate, or other) under the Policy is likely to be exhausted in the
                     payment of judgments, settlements or Defense Costs, the Insurer will notify the Policyholder and
                     Insureds, in writing, to that effect.
              2.     When a Limit of Liability described above has actually been exhausted in the payment of judgments,
                     settlements or Defense Costs:
                     a.    If the Insurer concludes that, based on incidents, occurrences, offenses, claims or suits which
                           have been reported to the Insurer and to which this insurance may apply, that any limit (each
                           claim, each incident, each occurrence, aggregate, or other) under the policy is likely to be
                           exhausted in the payment of judgments or settlements and/or
                     b.    The Insurer will notify the Policyholder and Insureds, in writing, as soon as practicable, that:
                           (1)   such a limit has actually been exhausted; and
                           (2)   the Insurer’s duty to defend suits seeking damages subject to that limit has ended.
                     c.    The Insurer will initiate, and cooperate in, the transfer of control, to any appropriate Insured, of
                           all Claims seeking damages which are subject to that limit and which are reported to the Insurer
                           before that limit is exhausted. That Insured must cooperate in the transfer of control of said
                           Claims.
                           The Insurer agrees to take such steps, as the Insurer deems appropriate, to avoid a default in,
                           or continue the defense of, such Claims until such transfer is completed, provided the
                           appropriate Insured is cooperating in completing such transfer. The Insurer has no obligation to
                           take any action whatsoever with respect to any Claim seeking damages that would have been
                           subject to that limit, had it not been exhausted, if the Claim is reported to the Insurer after that
                           Limit of Liability has exhausted.
                     d.    The Insured involved in a Claim seeking damages subject to that limit, must arrange for the
                           defense of such Claim within such time period as agreed to between the appropriate Insured
                           and the Insurer. Absent any such agreement, arrangements for the defense of such Claim must
                           be made as soon as practicable.
                     e.    The Insured will reimburse the Insurer for expenses the Insurer incurs in taking those steps the
                           Insurer deems appropriate in accordance with paragraph 2.b. above.
                     f.    The duty of the Insured to reimburse the Insurer will begin on:
                           (1)   the date on which the applicable Limit of Liability is exhausted, if the Insurer sent notice in
                                 accordance with paragraph 1 above; or
                           (2)   the date on which the Insurer sent notice in accordance with paragraph 2.a. above, if the
                                 Insurer did not send notice in accordance with paragraph 1 above.

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                          (3)   The exhaustion of any Limit of Liability by the payments of judgments, settlements or
                                Defense Costs, and the resulting end of the Insurer’s duty to defend, will not be affected
                                by the Insurer’s failure to comply with any of the provisions of this condition.
       B.     The following is added to Subsection 2.5:
             Failure to Provide Timely Notice of Claim – Prejudice Requirement
             Notice of any Claim or potential Claim given by or on behalf of the Insured to any licensed agent of the
             Insurer’s in the state of New York, with particulars sufficient to identify the Insured, shall be deemed notice
             to the Insurer. Failure to give notice to the Insurer as required under this policy shall not invalidate any
             Claim made by the Insured injured person or any other claimant, unless the failure to provide such timely
             notice has prejudiced the Insurer. However, no Claim made by the Insured, injured person or other claimant
             will be invalidated if it shall be shown not to have been reasonably possible to give such timely notice and that
             notice was given as soon as was reasonably possible thereafter.
             If the Insurer disclaims liability or denies coverage based upon the failure to provide timely notice with
             respect to a Claim arising out of death or personal injury of any person, then the injured person or other
             claimant may maintain an action directly against the Insurer, in which the sole question is the Insurer’s
             disclaimer or denial based on the failure to provide timely notice, unless within sixty (60) days following such
             disclaimer or denial, the Insurer or the Insured initiate an action to declare the rights of the parties under this
             Policy and named the injured person or other claimant as a party to the action.
       C.     The following is added to Subsection 2.6:
              This Policy affords coverage for Defense Costs even if allegations are groundless false or fraudulent, subject
              to terms, conditions and limitations of this Policy and any applicable Underlying Insurance.
IV.    The Definitions Section is amended as to add the following:
       Termination of Coverage means:
       A.     any cancellation or nonrenewal of the Policy, whether by the Insurer or Policyholder; or
       B.     decrease in limits, reduction of coverage, increased deductible, new exclusion, or any other change in
              coverage less favorable to the Policyholder.


 ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 2




Conformance with State Statutes Endorsement
(Full Conformance)

              Policy Number                             Effective Date                                 Producer
              USF00255018                            November 20, 2018                             Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that:
In the event of any inconsistency between the state amendatory attached to this Policy and any term or condition of
this Policy, the Insurer will resolve the inconsistency by applying the provision that is more favorable to the Insured, to
the extent permitted by applicable law.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 3




Sanctions Clause

                 Policy Number                     Effective Date                            Producer
                 USF00255018                     November 20, 2018                       Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following General Condition is added:
Where coverage provided by this Policy would be in violation of any foreign or U.S. economic or trade sanctions such
as, but not limited to, those sanctions administered and enforced by the U.S. Treasury Department's Office of Foreign
Assets Control ("OFAC"), such coverage shall be null and void.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 4


Cap on Losses from Certified Acts of Terrorism

                      Policy Number                                                Effective Date
                      USF00255018                                                November 20, 2018

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following provisions are added:

If aggregate insured losses attributable to terrorist acts certified under the federal Terrorism Risk Insurance Act
exceed $100 billion in a calendar year and the Insurer (the company providing coverage under this Policy) has
met its Insurer deductible under the Terrorism Risk Insurance Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that
amount are subject to pro rata allocation in accordance with procedures established by the Secretary of the
Treasury.
Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act, as
amended. The criteria contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the
following:
1.    The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
      insurance subject to the Terrorism Risk Insurance Act; and
2.    The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
      by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
      influence the policy or affect the conduct of the United States Government by coercion.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 5




Excess Protect Amendatory Endorsement


                          Policy Number                                                     Effective Date
                          USF00255018                                                     November 20, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that:
(A)    The Preamble to the Policy is deleted in its entirety and replaced with the following:
       In consideration of payment of the premium and in reliance upon all written statements made in the Application
       and subject to all terms, conditions and limitations of this Policy, the Insurer, the Policyholder and the Insureds
       agree as follows:
(B)    The Insuring Agreement is deleted in its entirety and replaced with the following:
       This Policy provides the Insureds with insurance excess of the Underlying Insurance for Claims first made
       against the Insured during the Policy Period or Discovery Period, if applicable, and reported to the Insurer
       pursuant to the provisions of this Policy. The coverage afforded by this Policy applies in conformance with the
       terms, conditions, warranties, exclusions and limitations of the Followed Policy.
(C)    General Conditions is amended as follows:
       1)    Subsection 2.1 is deleted in its entirety and replaced with the following:
             Coverage under this Policy shall attach only after exhaustion of the limits of liability of the Underlying
             Insurance. The limits of liability of the Underlying Insurance shall be exhausted by payment, in legal
             currency, of Loss by the insurers of the Underlying Insurance, the Insureds, DIC Insurer, or any other
             source. The Insurer shall recognize any contribution in legal currency by or on behalf of an Insured to such
             exhaustion of the limits of liability of the Underlying Insurance.
       2)    Subsection 2.2 is deleted in its entirety and replaced with the following:
             The Limit of Liability as stated in Item 3 of the Declarations shall be the maximum amount payable under
             this Policy for all Loss, including without limitation, defense costs.
       3)    Subsection 2.4 is amended to add the following:
             The Insurer shall recognize reduction or exhaustion of Underlying Insurance, including any applicable
             retentions, as a result of payments under any other policy that is tied in to the Underlying Insurance.
       4)    Subsection 2.5 is deleted in its entirety and replaced with the following:
             Where the Followed Policy permits or requires notice to its insurer, including notice of a Claim, the Insureds
             shall, according to the terms of the Followed Policy, give the same written notice to the Insurer at the
             applicable address set forth in Item 7 of the Declarations.



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      5)    Subsection 2.7 is deleted in its entirety and replaced with the following:
            Any change in or modification to the Followed Policy or this Policy or assignment of interest under this Policy
            must be agreed upon in writing by the Insurer.
      6)    Subsections 2.8 and 2.9 are deleted in their entirety.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 6




Pending and Prior Litigation Exclusion

                 Policy Number                        Effective Date                             Producer
                 USF00255018                       November 20, 2018                          Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following provisions are added:
The Insurer shall not be liable for any Loss arising out of, based upon or attributable to:
A. any demand, suit, proceeding or investigation occurring prior to, or pending as of, October 21, 2017 or
B. any Wrongful Act which gave rise to such prior or pending demand, suit, proceeding or investigation or any
   Interrelated Wrongful Acts thereto.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number: 7




Claims Handling Clause Amended Endorsement

                      Policy Number                                                   Effective Date
                      USF00255018                                                   November 20, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

Excess Protect

It is agreed that
Section 2.6 in General Conditions is deleted in its entirety and replaced with the following:
2.6 The Insurer shall have the sole right to investigate, adjust, and settle its portion of any Claims or Losses arising
    under this Policy and it shall not be bound by the Claim or Loss decisions made by any other insurer. The Insurer
    shall have the right, in its sole discretion, but not the obligation, to effectively associate with the Insured in the
    defense and settlement of any Claim that appears to be reasonably likely to involve this Policy, including but not
    limited to effectively associating in the negotiation of a settlement. Only those settlements, stipulated judgments and
    defense costs which have been consented to by the Insurer shall be recoverable as Loss under the terms of this
    Policy. The Insurer's consent shall not be unreasonably withheld, provided that the Insurer shall be entitled to
    effectively associate in the defense and the negotiation of any settlement of any Claim in order to reach a decision as
    to reasonableness.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 8




Quota Share Participation

                 Policy Number                        Effective Date                             Producer
                 USF00237518                        November 29, 2018                        Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following provisions are added:
A. This Policy is part of a quota share participation arrangement involving a total limit of liability of $ 10,000,000
   involving the following insurers:

    Quota Share Participant                             Policy Number                             Limit of Liability
    Allianz Global Risks US Insurance                   USF00255018                               $2,600,000
    Company
    Lloyd’s Syndicate 4711                              B0509FINFW1800561                         $2,000,000
    Arch Insurance Company                              DOX1000030-00                             $2,200,000
    Forge Underwriting                                  B0509FINFW1800561                         $1,800,000
    Markel Bermuda Limited                              MKLB25GPL0000686                          $1,400,000
B. The Insurer’s percentage in the quota share arrangement is 26%. Notwithstanding any other provision of this
   Policy, the Insurer shall only be liable for its percentage participation of covered Loss.
C. The liability of each participating insurer is several and not joint. The failure of any participating insurer to pay its
   share of covered Loss shall not increase the liability of any other participating insurer.
D. Each participating insurer shall make its own determination of whether Loss is covered under its policy. No
   participating insurer shall have any authority to bind any other participating insurer regarding any matter submitted
   for coverage.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 9



Run Off Coverage

                         Policy Number                                                       Effective Date
                         USF00255018                                                      November 20, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



In consideration of the payment of the additional net premium of $312,000, it is agreed that:
I.     Item 2 of the Declarations is deleted in its entirety and replaced with the following:
       Policy Period:            From:                November 20, 2018
                                 To:                  November 29, 2024
       The Policy Period incepts and expires as of 12:01 AM at the Policyholder’s
       principal address
II.    The following provisions are added:
       A.    This Insurer shall not pay Loss for any Wrongful Act occurring on or after November 29, 2018.
       B.    The entire premium for this Policy shall be deemed fully earned as of the inception of the Policy Period.
       C.    The Insureds shall have no right under this Policy to purchase any additional discovery or extended reporting
             period.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 10


Cancellation Endorsement
(Return Premium)

                          Policy Number                                                   Effective Date
                          USF00255018                                                  November 20, 2018

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:

Excess Protect

In consideration of the return premium of $13,628, it is agreed that:
Coverage under this Policy shall be cancelled as of the effective date of this Endorsement, and the Policy Period as stated in
Item 2. of the Declarations shall be deleted in its entirety and replaced with the following:
Item 2. Policy Period:            From:   November 29, 2018
                                  To:     December 31, 2018
                                  The Policy Period incepts and expires as of 12:01 AM at the Policyholder’s principal
                                  address.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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Endorsement Number 11


TIE IN OF LIMITS ENDORSEMENT


              Policy Number                           Effective Date                            Producer
              USF00255018                           November 29, 2018                       Marsh USA, Inc.

Policyholder: AmTrust Financial Services, Inc.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
 The following provisions are added:


 It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this Policy
 has been negotiated with the understanding that this Policy and the policy # AKDE6HTR7702D4 issued to the Insured
 by Chubb Global Markets– Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in
 consideration of the premium charged, it is understood and agreed that;

     a)   Subject to the terms and conditions of the coverage provided by the Other Policy and this Policy, in the event
          that loss or damages is required to be paid under both this Policy and the Other Policy, the coverage provided
          under this Policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment
                    of any loss or damages under this Policy; and
              ii.   any payment of Loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all Loss or damages on account of all claims for this Policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall Limit
                    of Liability.

     b) The Insurer will have no obligation under this Policy to make any payment of Loss or damages to the extent
        that the Other Policy’s aggregate limit of liability is fully exhausted.

     c)   If the paid Loss or damages under this Policy are in an aggregate amount equaling $2,600,000, any and all
          obligations of the Insurer under this Policy will be completely fulfilled and extinguished, and the Insurer will
          have no further obligations of any kind or nature whatsoever under this Policy.

     d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay Loss
        or damages under this Policy in excess of $2,600,000 which is the Limit of Liability set forth under Item 3 of
        the Declarations of this Policy.

     e)   In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this Policy, the term, condition or limitation of this endorsement shall govern.

ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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                     EXHIBIT T
          Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 439 of 1049 PageID #: 451
EXCESS LIABILITY POLICY DECLARATIONS

                                                                                                                 Corporate Office
                                                                                                                 945 E. Paces Ferry Rd.
                                                                                                                 Suite 1800
COMPANY SYMBOL    POLICY PREFIX & NUMBER    RENEWAL OF                                                           Atlanta, GA 30326
      L          HS674647                  N/A
                            ●THIS IS A CLAIMS MADE POLICY. PLEASE READ IT CAREFULLY.●
THIS POLICY IS ISSUED BY: Landmark American Insurance Company (hereinafter referred to as the Insurer)
ITEM 1. INSURED’S NAME AND MAILING ADDRESS                         PRODUCER’S NAME AND ADDRESS

        AMTRUST FINANCIAL SERVICES, INC.
        59 MAIDEN LANE
        43RD FLOOR
        NEW YORK, NY 10038

IN CONSIDERATION OF THE PAYMENT OF THE PREMIUM, IN RELIANCE UPON THE STATEMENTS HEREIN OR
ATTACHED HERETO, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, THE INSURER AGREES TO PROVIDE THE
INSURANCE AS STATED IN THIS POLICY.
ITEM 2. POLICY PERIOD:
          FROM         11/28/2017          TO     10/21/2018      12:01 AM Standard Time at the Insured’s address as stated herein

ITEM 3. LIMIT OF LIABILITY:           $         10,000,000     (A) Aggregate Limit of Liability each policy period
                                      $         50,000,000     (B) Underlying Limits of Liability

ITEM 4. PREMIUM:          $ 400,000.00


ITEM 5. COVERAGE:        Directors and Officers Liability
ITEM 6. POLICY FORM AND ENDORSEMENTS MADE A PART OF THIS POLICY AT THE TIME OF ISSUE:
SEE RSG 230013 0807 - SUPPLEMENTAL DECLARATIONS - SCHEDULE OF UNDERLYING INSURANCE; RSG 230014 1007 -
SUPPLEMENTAL DECLARATIONS - SCHEDULE OF ENDORSEMENTS; RSG 231007 0609 - EXCESS LIABILITY POLICY - 2009
ITEM 7. FOLLOWED POLICY
          Insurer                                Policy Number                Limits                      Premium
          Indian Harbor Insurance Company        ELU152497-17                 5,000,000                   $500,000.00


ITEM 8. UNDERLYING INSURANCE
                                                           (A) Primary Policy:
          Insurer                                Policy Number             Limits                         Premium
          Indian Harbor Insurance Company        ELU152497-17              5,000,000                      $500,000.00


                                                   (B) Underlying Excess Policy(ies):
          Insurer                                Policy Number            Limits                          Premium
          Zurich-American Insurance              DOC 1074701-00           5,000,000 excess                $450,000.00
          Company                                                         5,000,000




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


Countersigned:                                               January 09, 2018
                                                                  DATE                      AUTHORIZED REPRESENTATIVE


RSG 230012 0807                                                                                              A member of Alleghany Insurance Holdings LLC
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EXCESS LIABILITY POLICY SUPPLEMENTAL DECLARATIONS




POLICY NUMBER:        LHS674647

                                   SCHEDULE OF UNDERLYING EXCESS POLICY(IES):


             INSURER                        POLICY NUMBER              LIMITS            PREMIUM
AXIS Insurance Company                  MNN626501/01/2017      5,000,000 excess    $405,000.00
                                                               10,000,000

Hiscox (Syndicate 33 at Lloyd's)        B0507 N17FA23130       10,000,000 excess   $800,000.00
                                                               15,000,000

Various Insurers at Lloyd's and Other   B0507 N17FA23160       15,000,000 excess   $1,000,000.00
Insurers (see Schedule of Underlying                           25,000,000
Manuscript)
Various Insurers at Lloyd's and Other   B0507 N17FA24460       10,000,000 excess   $600,000.00
Insurers (see Schedule of Underlying                           40,000,000
Manuscript)




RSG 230013 0807
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EXCESS LIABILITY POLICY SUPPLEMENTAL DECLARATIONS




POLICY NUMBER:       LHS674647

                                           SCHEDULE OF ENDORSEMENTS


     TITLE                                                            FORM NUMBER

     Disclosure Pursuant to Terrorism Risk Insurance Act              RSG 204123 0116

     Cap on Losses From Certified Acts of Terrorism                   RSG 204081 0315

     Exclusion - Prior Acts                                           RSG 206069 1009

     Recognize DIC Payments as Underlying Insurance                   RSG 234026 0608

     Schedule of Underlying Manuscript




RSG 230014 1007
        Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 LANDMARK
                                                            Page 442AMERICAN
                                                                     of 1049 PageID #: 454
                                                                              INSURANCE  COMPANY




THIS ENDORSEMENT IS ATTACHED TO AND MADE A PART OF THIS POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER
THIS POLICY.

                       DISCLOSURE PURSUANT TO TERRORISM RISK
                                   INSURANCE ACT
                                                           SCHEDULE*

       Terrorism Premium                         $0.00

       Additional information, if any, concerning the terrorism premium:
       The portion of your premium for the policy term attributable to coverage for all acts of terrorism
       covered under this policy including terrorist acts certified under the Act is listed above.




       *Information required to complete this Schedule, if not shown above, will be shown in the Declarations Page.
A. Disclosure of Premium
   In accordance with the federal Terrorism Risk Insurance Act, as amended, the Insurer is required to provide the Insured with
   a notice disclosing the portion of the Insured’s premium, if any, attributable to coverage for terrorist acts certified under the
   Terrorism Risk Insurance Act. The portion of the Insured’s premium attributable to such coverage is shown in the Schedule
   of this endorsement or in the policy Declarations Page.
   As defined in Section 102(1) of the Act: The term “act of terrorism” means any act or acts that are certified by the Secretary of
   the Treasury – in consultation with the Secretary of Homeland Security, and the Attorney General of the United States – to be
   an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
   damage within the United States, or outside the United States in the case of certain air carriers or vessels or the premises of a
   United States mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
   population of the United States or to influence the policy or affect the conduct of the United States Government by coercion.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
   The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
   program. Under the formula, the United States Government generally reimburses 85% through 2015; 84% beginning on
   January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on January 1, 2019
   and 80% beginning on January 1, 2020, of covered terrorism losses that exceeds the applicable Insurer retention. However,
   if aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in
   a calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
   billion.
C. Cap Insurer Participation in Payment of Terrorism Losses
   If aggregate Insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion
   in a calendar year and the Insurer has met our Insurer deductible under the Terrorism Risk Insurance Act, the Insurer will
   not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case Insured
   losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
   Treasury.


                                                                       Policy No.: LHS674647           Effective: 11/28/2017
RSG 204123 0116
                       Includes copyrighted material of Insurance Services Office, Inc., with its permission.
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                                                                INSURANCE   #: 455
                                                                          COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefully.

       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

          DIRECTORS AND OFFICERS LIABILITY POLICY – NOT FOR PROFIT ORGANIZATIONS
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                      EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                 EXCESS LIABILITY POLICY

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
$100 billion in a calendar year and the Insurer has met our insurer deductible under the Terrorism Risk Insurance
Act, the Insurer shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
procedures established by the Secretary of the Treasury.

Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism pursuant to such Act. The criteria
contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
   insurance subject to the Terrorism Risk Insurance Act; and
2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
   by an individual or individuals, as part of an effort to coerce the civilian population of the United States or to
   influence the policy or affect the conduct of the United States Government by coercion.
The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do
not serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses
excluded by the Nuclear Exclusion.
All other terms and conditions of this policy remain unchanged.




                                                            Policy No.: LHS674647             Effective: 11/28/2017
RSG 204081 0315
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                                                                INSURANCE   #: 456
                                                                          COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

                                   EXCLUSION – PRIOR ACTS
This endorsement modifies insurance provided under the following:

            DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                  DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                       EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                  EXCESS LIABILITY POLICY

The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured that alleges, arises out of, is based upon or attributable to, directly or indirectly, in whole or in part, any
actual or alleged Wrongful Acts which first occurred prior to November 28, 2017.
All other terms and conditions of this policy remain unchanged.




                                                           Policy No.: LHS674647          Effective: 11/28/2017
RSG 206069 1009
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                                                                INSURANCE   #: 457
                                                                          COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

     RECOGNIZE DIC PAYMENT AS UNDERLYING INSURANCE
This endorsement modifies insurance provided under the following:

                                          EXCESS LIABILITY POLICY

SECTION III. - LIMIT OF LIABILITY AND PAYMENTS UNDER UNDERLYING INSURANCE, A. is deleted and
replaced by the following:

    A. The Insurer shall be liable to pay Loss only after all Insurers that issued the Underlying Insurance, the
       Insureds and/or the Insurers of any excess DIC Side A policy specifically excess of this policy shall have
       paid the full amount of the limits provided by the Underlying Insurance. The Insurer shall then be liable
       to pay only such additional amount up to the Limit of Liability set forth in Item 3. (A) of the Declarations
       Page.

SECTION IV. – MAINTENANCE OF UNDERLYING INSURANCE, B. and C. are deleted and replaced by the
following:

    B. The Underlying Insurance shall be maintained in full effect while this policy is in force, except for any
       reduction of the aggregate limits contained therein (as provided for in this Endorsement, or otherwise in
       this policy), and such maintenance shall be a condition precedent to the attachment of any liability of the
       Insurer under this policy. To the extent that any Underlying Insurance is not maintained in full effect
       while this policy is in force and no difference in conditions carrier paid, the Insured shall be deemed to be
       self-insured for the amount of the Underlying Insurance limit (s) that is not maintained.
    C. The Insurer’s obligation under this policy shall not be increased, expanded or otherwise modified or
       changed as a result of the receivership, insolvency, inability or refusal to pay any Underlying Insurance.
       It is agreed that the Insurer shall not pay any amount until all retentions and all Underlying Insurance
       limits have actually been paid by Insurers that issued the Underlying Insurance, the Insureds and/or the
       Insurers of any excess DIC Side A policy specifically excess of this policy.

All other terms and conditions of this policy remain unchanged.




                                                          Policy No.: LHS674647          Effective: 11/28/2017
RSG 234026 0608
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                                             LANDMARK AMERICAN INSURANCE COMPANY



                     This Endorsement Changes The Policy. Please Read It Carefully.

                  SCHEDULE OF UNDERLYING MANUSCRIPT
This endorsement modifies insurance provided under the following:

           DIRECTORS AND OFFICERS LIABILITY POLICY - NOT FOR PROFIT ORGANIZATION
                DIRECTORS AND OFFICERS LIABILITY POLICY - PRIVATE COMPANY
                 DIRECTORS AND OFFICERS LIABILITY POLICY - PUBLIC COMPANY
                      EXCESS DIRECTORS AND OFFICERS LIABILITY POLICY
                                 EXCESS LIABILITY POLICY

In regards to the limit of liability that is $15,000,000 excess of 25,000,000 and $10,000,000 excess of
$40,000,000 the various Insurers at Lloyd’s and other insurers as per schedule are as listed below:

N17FA23160 $15,000,000 excess of $25,000,000:

    21.3958% Lloyd's Syndicate CGM 2488 Chubb Global Markets

    21.3901% Lloyd's Syndicate ASP 4711 Aspen

    10.6918% Lloyd's syndicate PEM 4000 Pembroke

    14.4398% Barbican Financial & Professional Lines consortium 9562 (BAR 1955 -66.66% (barbican)/AML
    2001 - 16.67% (MS AMLIN) & EVE 2786 16.67% (Everest) )

    10.6918% Lloyd's syndicate TAL 1183 (Talbot Validus group)

    21.39% Forge Underwriting - for Partner Re Ireland Insurance


N17FA24460 $10,000,000 excess of $40,000,000:

    17.9% Lloyd's Syndicate CGM 2488 Chubb Global Markets

    17.9% Lloyd's Syndicate ASP 4711 Aspen

    13.962% Lloyd's syndicate PEM 4000 Pembroke

    7.5% Barbican Financial & Professional Lines consortium 9562 (BAR 1955 -66.66% (barbican)/AML 2001 -
    16.67% (MS AMLIN) & EVE 2786 16.67% (Everest) )

    25% Lloyd's syndicate HIS 33 - Hiscox

    17.915% Forge Underwriting - for Partner Re Ireland Insurance

All other terms and conditions of this policy remain unchanged.




                                                          Policy No.: LHS674647          Effective: 11/28/2017
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                                                                INSURANCE   #: 459
                                                                          COMPANY




                               NEW YORK REGULATION 121
                               DISCLOSURE SUPPLEMENT
The words “Us” and “We” as used in this Supplement means the Company issuing this policy. “You” or “Your”
means the Insured named on the Declarations Page of this policy.
1. Claims-Made Relationship
   “Claims-made Relationship” means the period of time between the effective date of the first claims-made
   policy between Us and You and the cancellation and nonrenewal of the last consecutive claims-made policy
   between Us and You, where there has been no gap in coverage and does not include any period covered by
   Discovery Period coverage.
   During the first several years of this “claims-made relationship”, claims-made rates are comparatively lower
   than rates for occurrence policies. However, You can expect substantial annual premium increases;
   independent of overall rate level increases, until the “claims made relationship” reaches maturity.
2. Prior Act(s) Exclusion
   Coverage under this policy may apply for acts, errors or omissions which occurred prior to the effective date
   of this policy if a Claim for Damages resulting therefrom is first reported during the Policy Period or during any
   applicable Discovery Period; provided, however, that, on or before such date You did not know or could not
   have reasonably foreseen that such Wrongful Act could lead to a Claim. If this policy contains a Prior Act(s)
   Exclusion, THERE IS NO COVERAGE FOR CLAIMS FIRST REPORTED TO US ARISING OUT OF ACTS,
   ERRORS OR OMISSIONS THAT OCCURRED PRIOR TO THE INCEPTION DATE OF THIS POLICY.
3. Claims-Made Policy
   Under a Claims-Made policy, coverage is provided for liability ONLY IF THE CLAIM FOR DAMAGES IS
   FIRST MADE AGAINST THE INSURED AND REPORTED TO US IN WRITING DURING THE POLICY
   PERIOD, ANY SUBSEQUENT RENEWAL AND ANY APPLICABLE DISCOVERY PERIOD. All coverage
   ceases upon termination of this policy, except for the Automatic Discovery Period, and if You purchase an
   Optional Discovery Period.
4. Discovery Period Coverage
   The Discovery Period will increase the time in which a Claim may be eligible for this policy’s coverage. This
   time period helps to prevent the occurrence of a Claim not being covered because of the cancellation or
   nonrenewal of this policy or other termination of the coverage provided by this policy. It provides a period of
   time after termination of coverage during which Claims first made against You and reported to Us in writing,
   for acts, error, or missions that occurred before the termination of coverage and otherwise covered under this
   policy,(subject to the terms conditions and exclusions of this policy), will be covered. An Automatic Discovery
   Period goes into effect immediately upon termination of coverage, at no additional premium charge to You.
   This Automatic Discovery Period lasts only sixty (60) days if You are not a “public entity,” or ninety (90) days if
   You are a “public entity.” “Public entity” is defined under Section 107(a)(5 I) of the New York Insurance Laws.
   During the time the Automatic Discovery Period is in effect, You will have the option of purchasing an Optional
   Discovery Period. The length of time under the Optional Discovery Period is one (1) year if You are a for
   profit organization and three (3) years if You are a not for profit organization. The Optional Discovery Periods
   are available to You for an additional premium charge. The Optional Discovery Periods are not available,
   however, if coverage is terminated by Us because of non-payment of premium or fraud by You, or if, at the
   time coverage terminates, a “claims-made relationship” has been in effect for less than one year.
   At the end of the Discovery Period, You may have a gap in Your insurance coverage unless You have
   obtained the appropriate coverage to fill the gap. UPON TERMINATION OF COVERAGE, IT IS VERY
   IMPORTANT THAT YOU CONSULT WITH YOUR INSURANCE AGENT OR BROKER OR OTHER
   PROFESSIONAL INSURANCE ADVISOR.




RSG 209003 0104                                                                                          Page 1 of 2
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   Premium Charge for the Optional Discovery Period
   The length of the Optional Discovery Period offered in this policy and the premium charge for it is as follows
   (please see the policy and relevant endorsements for complete details):
       If You are a “for profit organization,” You may purchase an Optional Discovery Period of one (1) year for
       an additional premium charge of one hundred percent (100%) of the expiring policy Premium.
       If You are a “not for profit organization,” You may purchase an Optional Discovery Period of three (3)
       years for an additional premium charge of two hundred percent (200%) of the expiring policy Premium.
THIS SUPPLEMENTAL DISCLOSURE GENERALLY DISCUSSES CERTAIN IMPORTANT FEATURES OF
THE POLICY. PLEASE READ THE ENTIRE POLICY CAREFULLY AND DISCUSS IT WITH YOUR
INSURANCE AGENT OR BROKER OR OTHER PROFESSIONAL INSURANCE ADVISOR. THE PROVISIONS
OF THE POLICY AND THE ENDORSEMENTS ATTACHED THERETO ARE CONTROLLING.




RSG 209003 0104                                                                                      Page 2 of 2
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                                                   Landmark American Insurance Company
                                                                  Corporate Office
                                                                  945 East Paces Ferry Rd.
                                                                  Atlanta, GA 30326-1160




                     EXCESS LIABILITY POLICY




         NOTICE:   THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY
                   TO THOSE CLAIMS FIRST MADE AGAINST THE INSURED DURING THE
                   POLICY PERIOD AND REPORTED TO THE INSURER DURING THE POLICY
                   PERIOD. THE LIMIT OF LIABILITY AVAILABLE TO PAY LOSS MAY BE
                   REDUCED OR TOTALLY EXHAUSTED BY PAYMENT OF DEFENSE
                   EXPENSES. PLEASE REFER TO THE FOLLOWED POLICY FOR MORE
                   INFORMATION.




                          PLEASE READ YOUR POLICY CAREFULLY



                                  CLAIM NOTICE
                       Mail notices to:   RSUI Group, Inc.
                                          945 East Paces Ferry Rd.
                                          Suite 1800
                                          Atlanta, GA 30326-1160
                       Fax notices to:    (404) 231-3755
                                          Attn: Claims Department
                       E-mail notices to: reportclaims@rsui.com


                                                                    A member of Alleghany Insurance Holdings LLC


RSG 231007 0609                                                                               Page 1 of 3
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Words and phrases that appear in bold text have special meaning. Refer to SECTION II. - DEFINITIONS.
 I.    INSURING AGREEMENT
       The Insurer designated on the Declarations Page, in consideration of the payment of the premium and in reliance upon all
       applications, documents and information provided or made available to it by or on behalf of the Insured, and subject to all of the
       terms, conditions and other provisions of this policy, including endorsements hereto, agrees with the Insured that the Insurer
       shall provide the Insured with insurance during the Policy Period which is in excess of the total limits of liability and any
       retention or deductible amounts under the Underlying Insurance, as set forth in Item 8. of the Declarations Page, and shall pay
       Loss arising from a Claim for a Wrongful Act first made during the Policy Period.

II.    DEFINITIONS
       A.   Followed Policy means the policy indicated in Item 7. of the Declarations page.
       B.   Insured means any natural person or entity designated as such in the Underlying Insurance.
       C.   Policy Period means the period beginning at the inception date and ending at the expiration date stated in Item 2. of the
            Declarations Page or any earlier cancellation or termination date.
       D.   Underlying Insurance means the Primary Policy and Underlying Excess Policy(ies) listed in Item 8. of the Declarations
            page.
       E.   The terms Wrongful Act, Loss and Claim shall each have the same meaning as defined in the Primary Policy.

III.   LIMIT OF LIABILITY AND PAYMENTS UNDER UNDERLYING INSURANCE
       A.   The Insurer shall be liable to pay Loss only after any combination of the Insured and all Insurers that issued the
            Underlying Insurance shall have paid the full amount of the limits provided by the Underlying Insurance. The Insurer
            shall then be liable to pay only such additional amount up to the Limit of Liability set forth in Item 3. (A) of the Declarations
            Page.
       B.   Any Claim, Loss or coverage that is subject to any Sublimit shall not be considered a covered Loss under this policy, but
            shall, for purposes of this policy’s attachment, be deemed to have reduced or exhausted the Underlying Insurance limits.
       C.   In the event of the reduction or exhaustion of the aggregate limits of liability in the Underlying Insurance by reason of Loss
            paid thereunder for Claim(s) first made during the Policy Period, this policy shall (1) in the event of reduction, continue in
            force in excess of the remaining amount of Underlying Insurance; or (2) in the event of total exhaustion, continue in force
            as would the Followed Policy, subject to all terms, conditions and other provisions of this policy, including endorsements
            hereto; provided that in the event of this policy becoming primary insurance, it shall only pay excess of the retention or
            deductible amount, if any, that would be applicable in the absence of Underlying Insurance exhaustion, which retention or
            deductible amount shall be applied to any subsequent Loss. Notice of reduction or exhaustion of any limits of liability within
            the Underlying Insurance shall be given to the Insurer promptly upon such reduction or exhaustion. Nothing herein shall be
            construed to provide for any duty on the part of the Insurer to defend any Insured or to pay defense costs or any other part
            of Loss in addition to the Limit of Liability set forth in Item 3. (A) of the Declarations Page.

IV. MAINTENANCE OF UNDERLYING INSURANCE
       A.   This policy is subject to the same terms, conditions, other provisions and endorsements (except as regards the premium, the
            amount and limits of liability, and duty to defend, and except as otherwise provided herein) as are contained in the Followed
            Policy as such policy has been represented to the Insurer to be issued, or as may be added at a later time to restrict
            coverage. Any changes made to such Followed Policy to expand or broaden it shall be effective as part of this policy solely
            where accepted in writing by the Insurer.
       B.   The Underlying Insurance shall be maintained in full effect while this policy is in force, except for any reduction of the
            aggregate limits contained therein (as provided for in Section III. C. above), and such maintenance shall be a condition
            precedent to the attachment of any liability of the Insurer under this policy. To the extent that any Underlying Insurance is
            not maintained in full effect while this policy is in force, the Insured shall be deemed to be self-insured for the amount of the
            Underlying Insurance limit(s) that is not maintained.
       C.   The Insurer’s obligation under this policy shall not be increased, expanded or otherwise modified or changed as a result of
            the receivership, insolvency, inability or refusal to pay any Underlying Insurance. It is agreed that the Insurer shall not pay
            any amount until all retentions and all Underlying Insurance limits have actually been paid by any combination of the
            Insured and all Insurers constituting the Underlying Insurance.
V.     CLAIM AND OTHER NOTICES
       The Insurer shall be given notice in writing as soon as practicable: (a) in the event of cancellation or non-renewal of any
       Underlying Insurance; and (b) of any additional or return premiums assessed in connection with any Underlying Insurance.
       Any changes in policy provisions in the Underlying Insurance or any changes in the Insured that would require notice under the
       Underlying Insurance shall be reported to the Insurer in writing as soon as practicable, provided always that the Insurer shall
       not be bound by any such changes without its consent.
       Written notice of Claim made against any Insured or any circumstances or matters that might later result in a Claim shall be
       given to the Insurer in the same manner and at the same time as given to the Followed Policy.



RSG 231007 0609                                                                                                               Page 2 of 3
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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be valid
unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.




                        Secretary                                                      President




RSG 231007 0609                                                                                           Page 3 of 3
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                                                 EFiled: Apr 01 2022 12:17PM EDT
                                                 Transaction ID 67446229
                                                 Case No. N22C-04-010 MMJ CCLD




                    EXHIBIT U
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                                             MARKEL BERMUDA LIMITED

   PROFESSIONAL LIABILITY EXCESS LIABILITY INSURANCE POLICY DECLARATIONS

THIS IS A CLAIMS MADE POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS
POLICY ONLY APPLIES TO CLAIMS FIRST MADE DURING THE POLICY PERIOD. THE LIMIT
OF LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND
MAY BE EXHAUSTED BY THE PAYMENT OF DEFENSE EXPENSES. THIS POLICY DOES NOT
PROVIDE FOR ANY DUTY BY THE INSURER TO DEFEND ANY INSURED. PLEASE READ AND
REVIEW THE POLICY CAREFULLY.

ITEM 1: INSURED:                     Amtrust Financial Services, Inc.
        ADDRESS:                     59 Maiden Lane, 43rd Floor, New York, NY 10038 United States

ITEM 2: POLICY PERIOD:               November 29, 2018 to November 29, 2024 (12:01 a.m. prevailing time
                                                                            at the address stated in Item 1)


ITEM 3:    LIMIT OF LIABILITY: US$ 2,500,000 po US$ 10,000,000                                   in the aggregate
                                                                                    (including Defense Costs)
               (Not subject to any reinstatement provision that may be provided under the Followed Policy)

          EXCESS OF TOTAL UNDERLYING LIMITS OF: US$ 50,000,000                                      in the aggregate
                                                                                              (including Defense Costs)

ITEM 4: FOLLOWED POLICY: Indian Harbor Insurance Company Policy No.: US00080794DO17A

ITEM 5: UNDERLYING INSURANCE

          SEE ENDORSEMENT NO. 1 FOR COMPLETE SCHEDULE

ITEM 6: PENDING OR PRIOR DATE:                 as per FOLLOWED POLICY

          To the extent the FOLLOWED POLICY contains an exclusion regarding pending or prior litigation, administrative,
          regulatory or other proceedings, investigations, demands, suits, orders, decrees or judgments, this Policy shall follow such
          exclusion. The applicable date for determining whether any such matter is “pending or prior” for the purpose of such
          exclusion in this policy shall be the PENDING OR PRIOR DATE set forth in this Item 6 of the Declarations.

ITEM 7: PREMIUM: $ 200,000




  Markel Bermuda Limited
  Markel House, 2 Front Street, Hamilton HM 11, Bermuda
  P.O. Box HM 2565, Hamilton HM KX, Bermuda 441 296 8800
  www.markelcorp.com
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ITEM 8: ADDRESS OF INSURER(S) FOR ALL NOTICES UNDER THIS POLICY:

          Markel Bermuda Limited
          2 Front Street
          P.O. Box 2565
          Hamilton HM KX Bermuda
          Telephone 441 296 8800
          Email: PLBermudaClaims@markelcorp.com


ITEM 9: A. DISCOVERY PERIOD PREMIUM:               as per FOLLOWED POLICY

          B. DISCOVERY PERIOD:                     as per FOLLOWED POLICY

ITEM 10: ENDORSEMENTS EFFECTIVE AT INCEPTION:
         1.  Schedule of Underlying Insurance
         2.  Prior Notice / Prior Claim Exclusion Endorsement
         3.  Tie in of Limits Endorsement
         4.  Run-off Endorsement


ITEM 11: POLICY NUMBER:           MKLB25GPL0000703


ITEM 12: PRIMARY POLICY SELF-INSURED RETENTION: $5,000,000




The INSURER hereby causes this policy to be signed on the Declarations page by a duly authorized representative of the
Insurer.


                                                                    ________________________________
                                                                    Chris Jansma, Senior Vice President



                                                                    January 16, 2019
                                                                    Date




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                                         MARKEL BERMUDA LIMITED FOLLOW FORM
                                           EXCESS LIABILITY INSURANCE POLICY

In consideration of the premium paid, and in reliance on all statements made and information furnished to Markel Bermuda Limited
herein called the "Insurer" and subject to the Declarations and endorsements made a part hereof and the terms, conditions and limitations
set forth herein, the Insurer and the Insured Entity, on its behalf and on behalf of all persons and entity(s) entitled to coverage hereunder,
agree as follows:

I.        INSURING CLAUSE

          The Insurer shall pay the Insured for loss upon exhaustion of all applicable underlying limits by actual payments by the
          insurers of the UNDERLYING INSURANCE, the Insured, any insurer of a difference-in-conditions policy that is excess of
          this policy, and/or any other source, subject to: the terms and conditions of the FOLLOWED POLICY (excluding any such
          terms and conditions that are inconsistent with the terms of this policy); the Limit of Liability as stated in Item 3 of the
          Declarations; and the terms and conditions of, and the endorsements attached to, this policy. In no event will this policy
          provide coverage broader than that provided by any UNDERLYING INSURANCE, or any policy issued by any participating
          quota share insurer, unless such broader coverage is specifically agreed to by the Insurer herein or in an endorsement to this
          policy.

II.       TERMS AND CONDITIONS

A.        NOTICE AND LOSS PROVISIONS

          1.      Any notice required to be given by the terms of the FOLLOWED POLICY shall be given to the Insurer at the address
                  indicated in Item 8 of the Declarations.
          2.      This policy shall follow the notice of claim and/or notice of circumstance provisions of the FOLLOWED POLICY,
                  except as stated otherwise herein.
          3.      With respect to the defense and settlement of any claim that appears to be reasonably likely to involve the Insurer, the
                  Insured shall give the Insurer such information, assistance and cooperation as the Insurer may reasonably request and
                  as shall be in the Insured’s power and shall do nothing that would prejudice the Insurer’s position or potential rights of
                  recovery.
          4.      Only those settlements, stipulated judgments and defense costs which have been consented to by the Insurer shall be
                  recoverable as loss under the terms of this policy. The Insurer’s consent shall not be unreasonably withheld, provided
                  the Insurer shall be entitled to effectively associate in the defense and the negotiation of any settlement of any claim.

B.        FOLLOWING FORM

          1.      This policy, except as herein stated, is subject to all terms, conditions, agreements and limitations of the FOLLOWED
                  POLICY in all respects as of the effective date of this policy. The Insured agrees that should any mid-term change to
                  the FOLLOWED POLICY be made by rewrite or endorsement, such change shall not be effective as to this policy
                  without the written consent of the Insurer, which consent shall not be unreasonably withheld. It is further agreed that
                  should the Insurer consent to any change of this policy, the premium hereon may be adjusted accordingly.
          2.      In the event of the depletion of the limits of liability of the UNDERLYING INSURANCE solely as a result of actual
                  payment of losses thereunder this policy shall, subject to the Limit of Liability set forth in Item 3 of the Declarations
                  and to the other terms of this policy, continue to apply for subsequent losses as excess insurance over the amount of
                  insurance remaining under such UNDERLYING INSURANCE. In the event of the exhaustion of all of the limits of
                  liability of such UNDERLYING INSURANCE the remaining limits available under this policy shall, subject to the
                  Limit of Liability set forth in Item 3 of the Declarations and to the other terms of this policy, continue for subsequent
                  losses as primary insurance and any retention specified in the FOLLOWED POLICY shall be imposed under this
                  policy. Payments made by insurers issuing such UNDERLYING INSURANCE in accordance with any State
                  Amendatory endorsement or sub-limit of liability shall be deemed to apply toward exhaustion of the limits of liability
                  of the UNDERLYING INSURANCE but this policy shall not follow such state amendatory endorsement or sub-limit
                  of liability.
          3.      This policy, subject to all its terms, conditions and endorsements, will not drop down to make payment for loss in place
                  of UNDERLYING INSURANCE for any reason.




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C.     CANCELLATION CLAUSE

                The Insured shall give notice to the Insurer when practicable of the cancellation of any UNDERLYING INSURANCE.
                In the event any UNDERLYING INSURANCE is cancelled by the insurer thereon, this policy shall continue in full
                force and effect for the remainder of the POLICY PERIOD and the Insurer shall be liable to the same extent that it
                would have been liable if such UNDERLYING INSURANCE had remained in effect.

             This policy shall follow the cancellation terms of the FOLLOWED POLICY except that in the event the Insurer cancels
             this policy for non-payment of premium, this policy shall be void as of the inception date of the POLICY PERIOD.

D.     PUNITIVE DAMAGES

                This policy shall cover punitive damages unless such damages are excluded under the terms and conditions of the
                FOLLOWED POLICY. Furthermore, if the FOLLOWED POLICY is determined not to cover punitive damages solely due
                to the insurability of such damages under applicable law, then this policy shall nonetheless provide coverage for punitive
                damages as if all UNDERLYING INSURANCE had provided such coverage. This policy will not drop down to provide
                coverage for punitive damages in place of UNDERLYING INSURANCE.
E.     ALTERNATIVE DISPUTE RESOLUTION

       1.   It is agreed that any dispute arising out of or in connection with this policy, including any question regarding its
               existence, validity or termination, shall be referred to and finally resolved solely by Arbitration or Alternative Dispute
               Resolution (ADR).
       2.   This policy shall follow the terms of the FOLLOWED POLICY with respect to Arbitration or ADR only when said terms
              require the dispute to proceed in Hamilton, Bermuda; London, England; or Toronto or Vancouver, Canada.
       3.   In the event the applicable FOLLOWED POLICY does not provide for Arbitration or ADR in Hamilton, Bermuda;
              London, England; or Toronto or Vancouver, Canada, the Insured shall select one of the following venues and
              procedural laws for such Arbitration or ADR:
                     (i)       Arbitration held in Hamilton, Bermuda under The Bermuda International Conciliation and Arbitration
                               Act of 1993 (exclusive of the Conciliation Part of such act) as may be amended and supplemented, or
                               under the English Arbitration Act of 1996 as may be amended and supplemented, which Acts are
                               deemed incorporated by reference into this clause, or
                     (ii)      Arbitration held in London, England under the English Arbitration Act of 1996, as may be amended and
                               supplemented, which Act is deemed incorporated by reference into this clause, or
                     (iii)     Arbitration held in Toronto or Vancouver, Canada under the English Arbitration Act of 1996, as may be
                               amended and supplemented, which Acts are deemed incorporated by reference into this clause.
       4.   Where the Insured and Insurer are parties to the dispute, the Insured shall make the selection referenced in paragraph 3
             above. Where the Insurer and a party deriving rights through or asserting rights on behalf of the Insured are parties to
             a dispute, the Insurer shall make the selection referenced in paragraph 3 above.
       5.       The number of arbitrators shall be three.
       6.        Each party shall bear the costs of its own arbitrator. The remaining cost of arbitration shall be borne equally by the
                parties.
       7.       All awards made by the Arbitration Board shall be final and no right of appeal shall lie from any award rendered by the
                Arbitration Board.
       8.       No person or organization shall have any right under this policy to join the Insurer as a party to any action against the
                Insured to determine the Insured's liability, nor shall the Insurer be impleaded by the Insured or their legal
                representatives. The Insurer and the Insured agree that in the event that claims for indemnity or contribution are
                asserted in any action or proceeding against the Insurer by any of the Insured's other insurers in a jurisdiction or forum
                other than that set forth in this clause, the Insured will in good faith take all reasonable steps requested by the Insurer to
                assist the Insurer in obtaining a dismissal of these claims (other than on the merits). The Insured will, without
                limitation, undertake to the court or other tribunal to reduce any judgment or award against such other insurers to the
                extent that the court or tribunal determines that the Insurer would have been liable to such insurers for indemnity or
                contribution pursuant to this policy. The Insured shall be entitled to assert claims against the Insurer for coverage under
                this policy, including, without limitation, for amounts by which the Insured reduced its judgment against such other




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                insurers in respect of such claims for indemnity or contribution, in an arbitration between the Insurer and the Insured
                pursuant to this clause; provided, however, that the Insurer in such arbitration in respect of such reduction of any
                judgment shall be entitled to raise any defenses under this policy and any other defenses (other than jurisdiction
                defenses) as it would have been entitled to raise in the action or proceeding with such insurers.

F.     CHOICE OF LAW

                This policy shall be construed and enforced in accordance with the applicable law determined under the FOLLOWED
                POLICY (with the exception of the procedural law required under this policy’s Alternative Dispute Resolution clause
                E.), except insofar as such laws may prohibit payment hereunder in respect of punitive damages, in which case, the
                laws of England and Wales shall apply.




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                                      SCHEDULE OF UNDERLYING INSURANCE


It is hereby understood and agreed that Item 5 of the Declarations reads as follows:

Item 5: Schedule of Underlying Insurance:

         Carrier                                       Policy Period                   Limits                Attachment

    i. Indian Harbor Insurance Company                November 29, 2018 –              $5M             as per ITEM 12 on Dec
                                                      November 29, 2024                                         page.
   ii.   Zurich American Insurance Company            November 29, 2018 –              $5M                      $5M
                                                      November 29, 2024
  iii.   Axis Insurance Company                       November 29, 2018 –              $5M                     $10M
                                                      November 29, 2024
  iv.    Allianz Global Risk US Insurance Company     November 29, 2018 –         $2.5M po $5M                 $15M
                                                      November 29, 2024
   v.    Markel Bermuda Limited                       November 29, 2018 –         $2.5M po $5M                 $15M
                                                      November 29, 2024
  vi.    Lloyd’s Underwriters – Hiscox (Lead)         November 29, 2018 –              $5M                     $20M
                                                      November 29, 2024
 vii.    Lloyd’s Underwriters – Aspen Insurance Ltd   November 29, 2018 –              $15M                    $25M
         (Lead)                                       November 29, 2024
 viii.   Allianz Global Risks US Insurance Company November 29, 2018 –            $2.6M po $10M                $40M
                                                      November 29, 2024
  ix.    Lloyd’s Underwriters – Aspen Insurance Ltd   November 29, 2018 –         $7.4M po $10M                $40M
         (Lead)                                       November 29, 2024
                                                   Quota Share Participant(s)

   x. Ironshore Indemnity Inc.                         November 29, 2018 –         $5M po $10M                 $50M
                                                       November 29, 2024
  xi. U.S. Specialty Insurance Company                 November 29, 2018 –        $2.5M po $10M                $50M
                                                       November 29, 2024



All other terms and conditions of the policy remain unchanged.


The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000703
of MARKEL BERMUDA LIMITED.

Issued to:           Amtrust Financial Services, Inc.

Date of Issue:       January 16, 2019

End No.:             1




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                        PRIOR NOTICE / PRIOR CLAIM EXCLUSION ENDORSEMENT




It is hereby agreed that Sections III.B(1) and B(2) of the FOLLOWED POLICY are deleted and replaced by the following:

B.       No coverage shall be available under this policy for any Claim, Interview or Investigation Demand made against
         an Insured:

                  (1)     based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act underlying
                          or alleged in any prior and/or pending litigation or administrative or regulatory proceeding or
                          arbitration against an Insured which was brought prior to the Inception Date of this policy as set
                          forth in ITEM 2 of the Declarations;

                 (2)      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
                          way involving any fact, circumstance, situation, transaction, event or Wrongful Act which,
                          before the Inception Date of this policy as set forth in ITEM 2 of the Declarations, was the
                          subject of any notice given under any other Management Liability policy, Directors and
                          Officers liability policy or similar policy;



All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000703
of MARKEL BERMUDA LIMITED.

Issued to:       Amtrust Financial Services, Inc.

Date of Issue:   January 16, 2019

End No.:         2




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                                          TIE IN OF LIMITS ENDORSEMENT


It is hereby agreed that it is expressly acknowledged by the Insured and the Insurer that the premium for this policy has
been negotiated with the understanding that this policy and the policy # HS674647 issued to the Insured by RSUI –
Financial Lines (the “Other Policy”) have a linked limit of liability. Therefore, in consideration of the premium charged, it
is understood and agreed that;

    a)    Subject to the terms and conditions of the coverage provided by the Other Policy and this policy, in the event that
          loss or damages is required to be paid under both this policy and the Other Policy, the coverage provided under
          this policy shall be in excess of the coverage provided under the Other Policy in that:

              i.    any loss or damages required to be paid under the Other Policy shall be fully paid prior to the payment of
                    any loss or damages under this policy; and
              ii.   any payment of loss or damages under the Other Policy will proportionally reduce the maximum
                    aggregate limit of liability for all loss or damages on account of all claims for this policy. Such
                    proportion shall be the amount paid under the Other Policy divided by the Other Policy’s overall limit of
                    liability.

    b) The Insurer will have no obligation under this policy to make any payment of loss or damages to the extent that
       the Other Policy’s aggregate limit of liability is fully exhausted.

    c)    If the paid loss or damages under this policy are in an aggregate amount equaling $2,500,000, any and all
          obligations of the Insurer under this policy will be completely fulfilled and extinguished, and the Insurer will have
          no further obligations of any kind or nature whatsoever under this policy.

    d) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to pay loss or
       damages under this policy in excess of $2,500,000 which is the limit of liability set forth under Item 3 of the
       Declarations of this policy.

    e)    In the event that any term, conditions or limitation of this endorsement conflicts with any term condition or
          limitation of this policy, the term, condition or limitation of this endorsement shall govern.


All other terms and conditions remain unchanged

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No.: MKLB25GPL0000703
of MARKEL BERMUDA LIMITED.

Issued to:          Amtrust Financial Services, Inc.

Date of Issue:      January 31, 2019

End No.             3




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                                               RUN-OFF ENDORSEMENT


In consideration of the payment of the additional premium of $400,000, it is hereby understood and agreed that:

    1.        The Insurer shall not be liable for loss on account of any claim based upon, arising out of, or attributable to or
              directly or indirectly resulting from any wrongful act, including any interrelated wrongful acts, taking place
              in whole or in part subsequent to November 29, 2018.


    2.        The policy is amended at by deleting Section II TERMS AND CONDITIONS C. CANCELLATION
              CLAUSE in its entirety.


    3.       The premium shall be fully earned and non-refundable upon inception.

Nothing herein shall be held to vary, alter, waive or extend any of the terms, conditions, exclusions or limitations of this
policy, except as expressly stated herein. This endorsement is part of such policy and incorporated herein.


All other terms and conditions of the POLICY remain unchanged.

The effective date of this endorsement is November 29, 2018
(at 12:01 A.M. prevailing time at the address of the Named Insured as shown in item 1 of the Declarations)

This endorsement is attached to and made a part of Policy No. MKLB25GPL0000703
of MARKEL BERMUDA LIMITED.

Issued to:        Amtrust Financial Services, Inc.

Date of Issue:    January 16, 2019

End No.:          4




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                    EXHIBIT V
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                                        IRONSHORE INDEMNITY INC.
                                                 (A Stock Company)
                                                  Mailing Address:
                                                    PO Box 3407
                                                New York, NY 10008
                                                   (877) IRON411

    NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
     EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
   INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
   RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                INSURANCE LAW AND REGULATIONS.

                  This Policy is issued by the stock insurance company listed above (herein "Insurer").


          EXCESS LIABILITY INSURANCE POLICY DECLARATIONS – NEW YORK
THE LIMITS OF LIABILITY AVAILABLE TO PAY JUDGMENT OR SETTLEMENT AMOUNTS MAY BE REDUCED AND TOTALLY
EXHAUSTED BY PAYMENT OF DEFENSE COSTS. PLEASE READ THIS POLICY CAREFULLY.

TO THE EXTENT THAT THE POLICY LIMITS ARE EXCEEDED, WE SHALL NOT BE LIABLE FOR LEGAL DEFENSE COSTS OR FOR
THE AMOUNT OF ANY JUDGMENT OR SETTLEMENT.

UNLESS OTHERWISE PROVIDED IN THE FOLLOWED POLICY THIS POLICY IS WRITTEN ON A CLAIMS-MADE BASIS AND
PROVIDES NO COVERAGE FOR CLAIMS ARISING OUT OF INCIDENTS, OCCURRENCES OR ALLEGED WRONGFUL ACTS
WHICH TOOK PLACE PRIOR TO THE RETROACTIVE DATE, IF ANY, STATED IN THE POLICY.

Policy No. 003892500

ITEM 1.    INSURED COMPANY PRINCIPAL ADDRESS:

           AmTrust Financial Services, Inc.
           59 Maiden Lane 43rd Floor
           New York, NY 10038

ITEM 2.    COVERAGE PROVIDED: Excess Public Company Directors, Officers And Securities Liability

ITEM 3.    FOLLOWED POLICY: Executive And Corporate Securities Liability Insurance
           INSURER: Indian Harbor Insurance Company
           POLICY NUMBER: US00080794DO17A

ITEM 4.    POLICY PERIOD:

           From: November 29, 2018 12:01 A.M. To: November 29, 2024 12:01 A.M.
           (Local time at the address shown in Item 1.)

ITEM 5.    PREMIUM: $400,000.00

EXC.003 NY (0913)                                                                                         Page 1 of 3
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            Extended Reporting Period (if elected): N/A


ITEM 6.     LIMIT OF LIABILITY/AGGREGATE LIMIT: $5,000,000 for all Loss under all Coverages combined.

ITEM 7.     UNDERLYING POLICY LIMITS/ATTACHMENT POINT: $50,000,000

ITEM 8.     PENDING & PRIOR LITIGATION DATE: October 21, 2017

ITEM 9.     NOTICE TO INSURER:

            A.    Notice of Claim, Wrongful Act or Loss:

                  Send to Company Indicated Above
                  c/o Ironshore Insurance Services, LLC
                  28 Liberty Street
                  5th Floor
                  New York, NY 10005



            B.    All other notices:

                  Send to Company Indicated Above
                  c/o Ironshore Insurance Services, LLC
                  28 Liberty Street
                  5th Floor
                  New York, NY 10005

ITEM 10. BROKER
         ADDRESS:

            Timothy Molineux
            Marsh USA, Inc. (NYC)
            1166 Avenue of the Americas, 38th floor
            New York, NY 10036

ITEM 11. FORMS AND ENDORSEMENTS:

          1. EDO NY (0108) New York Amendatory Endorsement
          2. IRON.PN.001 (0513) OFAC Compliance Notice
          3. EXC.PN.001 NY (0913) Claims-Made Policyholder Notice- New York
          4. IRON.END.ALL.016 NYFTZ (0317) Insurer Street Address Change
          5. EDO 003; Edited (0707) Pending and Prior Litigation Endorsement
          6. EDO.008 (708) Quota Share Amendment of Declarations (Excess)
          7. EXC.EXMT.619 (0519) Tie In Of Limits




EXC.003 NY (0913)                                                                                       Page 2 of 3
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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THESE DECLARATIONS, TOGETHER WITH THE COMPLETED AND SIGNED APPLICATION, FOR THIS POLICY AND THE
FOLLOWED POLICY, INCLUDING INFORMATION FURNISHED IN CONNECTION THEREWITH WHETHER DIRECTLY OR
THROUGH PUBLIC FILING, AND THE POLICY FORM ATTACHED HERETO, CONSTITUTE THE INSURANCE POLICY.




Date: June 5, 2019
      MO/DAY/YR                                                          Authorized Representative




EXC.003 NY (0913)                                                                  Page 3 of 3
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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                            OFFEREE DISCLOSURE NOTICE OF
                           TERRORISM INSURANCE COVERAGE
                             (new policies and renewals with no terrorism
                             exclusion or sublimit and no premium charge)

You are hereby notified that, under the Terrorism Risk Insurance Act of 2002 (the “Act”) effective
November 26, 2002, we are making available to you insurance for losses arising out of certain acts of
international terrorism. The policy you are purchasing already includes insurance for such acts.
Terrorism is defined as any act certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and Attorney General of the United States, to be an act of terrorism; to be a violent
act or an act that is dangerous to human life, property or infrastructure; to have resulted in damage
within the United States, or outside the United States in the case of an air carrier or vessel or the
premises of a United States Mission; and to have been committed by an individual or individuals
acting on behalf of any foreign person or foreign interest, as part of an effort to coerce the civilian
population of the United States or to influence the policy or affect the conduct of the United States
Government by coercion.


You should know that the insurance provided by your policy for losses caused by acts of terrorism is
partially reimbursed by the United States under the formula set forth in the Act. Under this formula,
the United States pays 90% of covered terrorism losses that exceed the statutorily established
deductible to be paid by the insurance company providing the coverage. The portion of the offered
policy’s annual premium that is attributable to insurance for acts of terrorism is: $ -0-.


If you have any questions about this notice, please contact your agent or broker.
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                                           IRONSHORE INDEMNITY INC.
                                                    (A Stock Company)
                                                     Mailing Address:
                                                       PO Box 3407
                                                   New York, NY 10008
                                                      (877) IRON411

Policy Number: 003892500


                      EXCESS LIABILITY INSURANCE POLICY – NEW YORK
                                                  IMPORTANT NOTICE
                                   (CLAIM EXPENSES ARE WITHIN THE LIMIT OF LIABILITY)

UNLESS OTHERWISE PROVIDED IN THE FOLLOWED POLICY, THIS POLICY IS A CLAIMS MADE POLICY WHICH COVERS ONLY
CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD.

THE LIMITS OF LIABILITY AVAILABLE TO PAY JUDGMENT OR SETTLEMENT AMOUNTS MAY BE REDUCED AND TOTALLY
EXHAUSTED BY PAYMENT OF DEFENSE COSTS. TO THE EXTENT THAT THE POLICY LIMITS ARE EXCEEDED, WE SHALL NOT
BE LIABLE FOR LEGAL DEFENSE COSTS OR FOR THE AMOUNT OF ANY JUDGMENT OR SETTLEMENT.

PLEASE READ THE POLICY CAREFULLY.


I.     INSURING AGREEMENT

       In consideration of the payment of the premium and in reliance upon all statements made in the application for this
       Policy and the Followed Policy, including the information furnished in connection therewith, and subject to all terms,
       definitions, conditions, exclusions and limitations of this Policy, the Insurer agrees to provide insurance coverage to
       the Insureds in accordance with the terms, definitions, conditions, exclusions and limitations of the Followed Policy,
       except as may be otherwise provided in this Policy.

II.    LOSS PAYABLE PROVISION

       It is agreed the Insurer shall pay on behalf of the Insured as defined in the Followed Policy for Loss by reason of
       exhaustion of all Underlying Policy Limits, without regard to whether or not the underlying amounts have actually
       been paid, of all underlying policies by the underlying insurers issuing such underlying policies and/or the Insureds,
       subject to i) the terms and conditions of the Followed Policy as that form is submitted to the Insurer; ii) the Limit of
       Liability as stated in Item 6 of the Declarations; and iii) the terms and conditions of, and the endorsements attached
       to, this Policy. In no event shall this Policy grant broader coverage than would be provided by the Followed Policy.

III.   DEFINITIONS

       A. The Terms “Insurer” and “Followed Policy” shall have the meanings attributed to them in the Declarations.

       B. The term "Insureds” means those individuals and entities insured by the Followed Policy.

       C. The term "Policy Period" means the period set forth in Item 4 of the Declarations.

       D. The term "Underlying Policy Limits/Attachment Point" means an amount equal to the aggregate of all limits of
          liability as set forth in Item 7 of the Declarations for all Underlying Policies, plus the uninsured retention, if any,
          applicable to the Underlying Policies.



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IV.   POLICY TERMS

      A. This Policy is subject to the same representations contained in the Application for the Followed Policy and has the
         same terms, definitions, conditions, exclusions and limitations (except as regards the premium, the limits of
         liability, the policy period and as may be otherwise in this Policy) as are contained in the Followed Policy.


      B. If during the Policy Period or any Discovery Period the terms, conditions, exclusions or limitations of the Followed
         Policy are changed in any manner, the Insureds shall give to the Insurer written notice of the full particulars
         thereof and secure the Insurer’s affirmative consent to such modification before coverage will be effective.

      C.        As a condition precedent to their rights under this Policy, the Insureds shall give to the Insurer as soon as
                practicable written notice in accordance with the terms, conditions, definitions, exclusions and limitations of the
                Followed Policy.

      D. Notwithstanding any of the terms of this Policy which might be construed otherwise, this Policy shall drop down
         only in the event of reduction or exhaustion of the Underlying Limit and shall not drop down for any other reason
         including, but not limited to, uncollectibility (in whole or in part) of any Underlying Limits. The risk of
         uncollectibility of such Underlying Limits (in whole or in part) whether because of financial impairment or
         insolvency of an underlying insurer or for any other reason, is expressly retained by the Insureds and is not in any
         way or under any circumstances insured or assumed by the carrier.

V.    POLICY CONDITIONS

           A. FOLLOWING FORM

                  Notwithstanding anything to the contrary in this Policy, the insurance coverage afforded by this Policy as
                  respects operations in New York State shall conform to the requirements of the applicable New York State
                  Insurance Laws and the applicable New York State Insurance Department Regulations; provided, however, that
                  the limits of liability as stated in this Policy shall be excess of the limits of liability of any underlying insurance as
                  stated in the Declarations or in any endorsement attached hereto.

                  This provision still applies when the underlying insurance is issued by an unlicensed company.

           B. BANKRUPTCY

                  The bankruptcy or insolvency of any Insured or of the Insured’s estate will not relieve the Insurer of its
                  obligations under this Policy.

           C.     CANCELLATION/NONRENEWAL/CONDITIONAL RENEWAL

                  CANCELLATION

                  This Policy may be cancelled by the Insured by surrender thereof to the Insurer or by providing written notice
                  to the Insurer stating when thereafter cancellation shall be effective. If this Policy is cancelled by the Insured,
                  the Insurer shall retain the customary short rate proportion of the premium.

                  If this Policy has been in effect for sixty (60) days or less, and is not a renewal of a policy previously issued by
                  the Insurer, this Policy may be cancelled by or on behalf of the Insurer by mailing or delivering to the Insured’s
                  authorized agent or broker and to the Insured at the address shown in Item 1. of the Declarations written
                  notice of cancellation stating the reason for cancellation at least twenty (20) days before the effective date of
                  cancellation. If cancellation is for nonpayment of premium, the notice of cancellation shall include the amount
                  of premium that is due.

                  After this Policy has been in effect for more than sixty (60) days or after the effective date of renewal, this
                  Policy may only be cancelled by or on behalf of the Insurer for one of the following reasons:

                  1) nonpayment of premium;



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            2) conviction of a crime arising out of acts increasing the hazard insured against;

            3) discovery of fraud or material misrepresentation in obtaining the policy or in the presentation of a Claim
               thereunder;

            4) after issuance of this Policy or after the last renewal date, discovery of an act or omission, or a violation of
               any policy condition, that substantially and materially increases the hazard insured against, and which
               occurred subsequent to inception of the current Policy Period;

            5) a determination by the Superintendent that the Insurer’s continuation of the present premium volume
               would jeopardize the Insurer’s solvency or be hazardous to the interests of the Insurer’s policyholders, the
               Insurer’s creditors or the public; or

            6) a determination by the Superintendent that the continuation of the Policy would violate, or would place
               the Insurer in violation of New York law.

            Cancellation shall be effected by mailing or delivering to the Insured’s authorized agent or broker and to the
            Insured at the address shown in Item 1. of the Declarations written notice of cancellation specifying the
            grounds for cancellation at least fifteen (15) days before the effective date of cancellation. If cancellation is for
            nonpayment of premium, the notice of cancellation shall include the amount of premium that is due. If the
            Insurer cancels this Policy, the earned premium shall be computed pro rata.

            NONRENEWAL AND RENEWAL

            Should the Insurer decide to nonrenew this Policy or conditions its renewal upon a change in the Limit of
            Liability, change in type of coverage, reduction of coverage, increased retention, the addition of any exclusion
            or an increase in premium in excess of 10%, then the Insurer shall mail or deliver written notice of the refusal to
            renew or the conditional renewal to the Insured at the principal address shown in Item 1. of the Declarations
            and to the Insured’s authorized agent or broker, if applicable, at least sixty (60) days but not more than one
            hundred and twenty (120) days before the end of the of the Policy Period. Such notice shall contain the specific
            reasons for the nonrenewal or the conditional renewal and shall set forth the amount or a reasonable estimate
            of any premium increase and describe any additional proposed changes.

            If the Insurer does not provide notice of nonrenewal or conditional renewal as provided in this section,
            coverage will remain in effect at the same terms and conditions of this Policy at the lower of the current rates
            or the prior period’s rates until sixty (60) days after such notice is mailed or delivered unless the Insured, during
            this 60-day period, has replaced the coverage or elects to cancel in which event such cancellation shall be on a
            pro rata premium basis; provided, however, that if the Insurer elects to renew on the basis of the conditional
            renewal notice, then such terms, conditions and rates shall govern the Policy upon expiration of such sixty (60)
            day period unless such notice was provided at least thirty (30) days prior to the expiration date of the Policy, in
            which event the terms, conditions and rates set forth in the conditional renewal notice shall apply as of the
            renewal date.

            If the Insurer provides notice of nonrenewal or conditional renewal on or after the expiration date of this
            Policy, coverage will remain in effect at the same terms and conditions of this Policy for another Policy Period,
            at the lower of the current rates or the prior Policy Period’s rates, unless the Insured, during the additional
            Policy Period, has replaced the coverage or elects to cancel, in which event such cancellation shall be on a pro
            rata premium basis.

            The Insurer will not send the Insured notice of nonrenewal or conditional renewal if the Insured, the Insured’s
            authorized agent or another insurer of the Insured mails or delivers notice that the Policy has been replaced or
            is no longer desired.

            If the Insureds elect to accept the terms, conditions and rates of the conditional renewal notice pursuant to the
            Cancellation provisions, a new limit of insurance shall become effective as of the inception date of renewal,
            subject to regulations promulgated by the Superintendent of Insurance.

      D.    DUTY TO DEFEND


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            The Insurer shall have the right and duty to defend any Claim against the Insured seeking sums payable under
            this Policy, even if the allegations of the Claim are groundless, false or fraudulent. The Insurer shall make such
            investigation and settlement of any Claim as it deems expedient, but the Insurer shall not be obligated to pay
            any Claim or judgment or continue to defend any Claim after the applicable Limit of Liability has been
            exhausted by payment of Loss and/or Defense Costs.

      E.    ACTION AGAINST INSURER

            If judgment against an Insured is not satisfied within thirty (30) days, an action can be brought against the
            Insurer. No action shall lie against the Insurer unless, as a condition precedent thereto, there shall have been
            full compliance with all of the terms of this Policy, and the amount of the Insured's obligation to pay shall have
            been finally determined either by judgment against the Insured or by written agreement of the Insured, the
            claimant and the Insurer.

      F.    TRANSFER OF DUTIES WHEN A LIMIT OF INSURANCE IS EXHAUSTED

            1) If the Insurer concludes that, based on incidents, occurrences, offenses, claims or suits which have been
               reported to the Insurer and to which this insurance may apply, that any limit (each claim, each incident,
               each occurrence, aggregate, or other) under the Policy is likely to be exhausted in the payment of
               judgments or settlements and/or Defense Costs, the Insurer will notify the Insured, in writing, to that
               effect.

            2) When a Limit of Liability described above has actually been exhausted in the payment of judgments or
               settlements and/or Defense Costs:

                (a) The Insurer will notify the Insureds, in writing, as soon as practicable, that:

                         (i) such a limit has actually been exhausted; and

                         (ii) the Insurer’s duty to defend suits seeking damages subject to that limit has ended.

                (b)   The Insurer will initiate, and cooperate in, the transfer of control, to any appropriate Insured, of all
                      claims seeking damages which are subject to that limit and which are reported to the Insurer before
                      that limit is exhausted. That Insured must cooperate in the transfer of control of said claims.

                      The Insurer agrees to take such steps, as the Insurer deems appropriate, to avoid a default in, or
                      continue the defense of, such claims until such transfer is completed, provided the appropriate
                      Insured is cooperating in completing such transfer. The Insurer has no obligation to take any action
                      whatsoever with respect to any claim seeking damages that would have been subject to that limit,
                      had it not been exhausted, if the claim is reported to the Insurer after that Limit of Liability has been
                      exhausted.

                (c)   The Insured involved in a claim seeking damages subject to that limit, must arrange for the defense of
                      such claim within such time period as agreed to between the appropriate Insured and the Insurer.
                      Absent any such agreement, arrangements for the defense of such claim must be made as soon as
                      practicable.

            3) The Insured will reimburse the Insurer for expenses the Insurer incurs in taking those steps the Insurer
               deems appropriate in accordance with paragraph 2)(b) above.

                The duty of the Insured to reimburse the Insurer will begin on:

                (a)   the date on which the applicable Limit of Liability is exhausted, if the Insurer sent notice in
                      accordance with paragraph 1) above; or

                (b)   the date on which the Insurer sent notice in accordance with paragraph 2)(a) above, if the Insurer did
                      not send notice in accordance with paragraph 1) above.


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             4) The exhaustion of any Limit of Liability by the payments of judgments or settlements and/or Defense Costs,
                and the resulting end of the Insurer’s duty to defend, will not be affected by the Insurer’s failure to comply
                with any of the provisions of this condition.

      G.     NOTICE

             Unless otherwise provided in the Followed Policy, this is a Claims Made Policy. This Policy covers only those
             Claims first made against the Insured during the Policy Period or Discovery Period.

             All notices to the Insurer shall refer to the Policy Number and shall be given in writing and sent by mail, prepaid
             express courier or by facsimile, to the address listed in the Declarations and shall be effective upon receipt.

             The Insured shall give written notice to the Insurer at the address or facsimile number listed in the Declarations
             of a Claim made against an Insured as soon as practicable after the Insured first becomes aware of the Claim,
             but in all events no later than sixty (60) days after the end of the Policy Period or the Discovery Period.

             Notice of any Claim or potential Claim given by or on behalf of the Insured, or written notice by or on behalf of
             the injured person or any other claimant, to any licensed agent of the Insurer in the state of New York, with
             particulars sufficient to identify the Insured, shall be deemed notice to the Insurer.

             Failure to give notice to the Insurer in the time prescribed will not invalidate any Claim made by the Insured, an
             injured person, or any other claimant, unless the failure to provide such timely notice has prejudiced the
             Insurer. However, no Claim made by the Insured, an injured person, or any other claimant will be invalidated if
             it shall be shown not to have been reasonably possible to give such timely notice and that notice was given as
             soon as reasonably possible thereafter. If the Insurer disclaims liability or denies coverage based upon the
             failure to provide timely notice of a Claim, then the injured person or other claimant may maintain an action
             directly against the Insurer, in which the sole question is the Insurer’s disclaimer or denial based on the failure
             to provide timely notice, unless within sixty (60) days following such disclaimer or denial, the Insurer or the
             Insured:
                 (a) Initiate an action to declare the rights of the parties under this Policy and
                 (b) Name the injured person or other claimant as a party to the action.

      H.     OTHER INSURANCE

             This insurance is excess over any other valid and collective insurance whether such insurance is primary, excess,
             contingent, or otherwise; unless such other insurance is written to be specifically excess over the insurance
             provided by this Policy.




Ironshore Indemnity Inc. by:




Secretary                                                       President




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                                            IRONSHORE INDEMNITY INC.
                                                      (A Stock Company)
                                                       Mailing Address:
                                                         PO Box 3407
                                                     New York, NY 10008
                                                        (877) IRON411


                                                         Endorsement # 1

Policy Number: 003892500                                                  Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.

      NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
       EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
     INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
     RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                  INSURANCE LAW AND REGULATIONS.


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              NEW YORK AMENDATORY ENDORSEMENT
Endorsement forming part of and attaching to this Excess Liability Insurance Policy as stated above.

It is hereby understood and agreed that:

1.       The following introductory paragraphs are added to the policy:

         UNLESS OTHERWISE PROVIDED IN THE FOLLOWED POLICY, THIS POLICY IS A CLAIMS MADE POLICY WHICH
         COVERS ONLY CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD.

         THE LIMITS OF LIABILITY AVAILABLE TO PAY JUDGMENT OR SETTLEMENT AMOUNTS MAY BE REDUCED AND
         TOTALLY EXHAUSTED BY PAYMENT OF DEFENSE COSTS.

         TO THE EXTENT THAT THE POLICY LIMITS ARE EXCEEDED, WE SHALL NOT BE LIABLE FOR LEGAL DEFENSE COSTS
         OR FOR THE AMOUNT OF ANY JUDGMENT OR SETTLEMENT.

         PLEASE READ THE POLICY CAREFULLY.

2.       The following provision is added to the policy and supersedes anything to the contrary:

         FOLLOWING FORM

         Notwithstanding anything to the contrary in this policy, the insurance coverage afforded by this policy as respects
         operations in New York State shall conform to the requirements of the applicable New York State Insurance Laws

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        and the applicable New York State Insurance Department Regulations; provided, however, that the limits of
        liability as stated in this policy shall be excess of the limits of liability of any underlying insurance as stated in the
        Declarations or in any endorsement attached hereto.

        This provision still applies when the underlying insurance is issued by an unlicensed company.

3.      Section I. INSURING AGREEMENT is hereby deleted in its entirety and replaced by the following:
        In consideration of the payment of the premium and in reliance upon all statements made in the application for
        this Policy and the Followed Policy, including the information furnished in connection therewith, and subject to all
        terms, definitions, conditions, exclusions and limitations of this policy, the Insurer agrees to provide insurance
        coverage to the Insureds in accordance with the terms, definitions, conditions, exclusions and limitations of the
        Followed Policy, except as may be otherwise provided in this Policy.

4.      Section II. LOSS PAYABLE PROVISION is hereby deleted in its entirety and replaced by the following:
        It is agreed the Insurer shall pay on behalf of the Insured as defined in the Followed Policy for Loss by reason of
        exhaustion of all Underlying Policy Limits, without regard to whether or not the underlying amounts have actually
        been paid, of all underlying policies by the underlying insurers issuing such underlying policies and/or the Insureds,
        subject to i) the terms and conditions of the Followed Policy as that form is submitted to the Insurer; ii) the Limit of
        Liability as stated in Item 6 of the Declarations; and iii) the terms and conditions of, and the endorsements
        attached to, this Policy. In no event shall this policy grant broader coverage than would be provided by the
        Followed Policy.

5.      Paragraph B. of Section IV. POLICY TERMS is hereby deleted in its entirety and replaced by the following:
        If during the Policy Period or any Discovery Period the terms, conditions, exclusions or limitations of the Followed
        Policy are changed in any manner, the Insureds shall give to the Insurer written notice of the full particulars
        thereof and secure the Insurers affirmative consent to such modification before coverage will be effective.

6.      The following provision is added to Section IV. POLICY TERMS:

        BANKRUPTCY

        The bankruptcy or insolvency of any Insured or of the Insured’s estate will not relieve the Insurer of its obligations
        under this policy.

7.      The following provision is added to Section IV. POLICY TERMS:

        CANCELLATION/NONRENEWAL/CONDITIONAL RENEWAL

        Cancellation

        This policy may be cancelled by the Insured by surrender thereof to the Insurer or by providing written notice to
        the Insurer stating when thereafter cancellation shall be effective. If this policy is cancelled by the Insured, the
        Insurer shall retain the customary short rate proportion of the premium.
        If this policy has been in effect for sixty (60) days or less, and is not a renewal of a policy previously issued by the
        Insurer, this policy may be cancelled by or on behalf of the Insurer by mailing or delivering to the Insured’s
        authorized agent or broker and to the Insured at the address shown in Item 1. of the Declarations written notice of
        cancellation stating the reason for cancellation at least twenty (20) days before the effective date of cancellation.
        If cancellation is for nonpayment of premium, the notice of cancellation shall include the amount of premium that
        is due.

        After this policy has been in effect for more than sixty (60) days or after the effective date of renewal, this policy
        may only be cancelled by or on behalf of the Insurer for one of the following reasons:

        1)       nonpayment of premium;

        2)       conviction of a crime arising out of acts increasing the hazard insured against;


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        3)       discovery of fraud or material misrepresentation in obtaining the policy or in the presentation of a Claim
                 thereunder;

        4)       after issuance of this policy or after the last renewal date, discovery of an act or omission, or a violation of
                 any policy condition, that substantially and materially increases the hazard insured against, and which
                 occurred subsequent to inception of the current Policy Period;

        5)       a determination by the Superintendent that the Insurer’s continuation of the present premium volume
                 would jeopardize the Insurer’s solvency or be hazardous to the interests of the Insurer’s policyholders, the
                 Insurer’s creditors or the public; or

        6)       a determination by the Superintendent that the continuation of the Policy would violate, or would place
                 the Insurer in violation of New York law.

        Cancellation shall be effected by mailing or delivering to the Insured’s authorized agent or broker and to the
        Insured at the address shown in Item 1. of the Declarations written notice of cancellation specifying the grounds
        for cancellation at least fifteen (15) days before the effective date of cancellation. If cancellation is for
        nonpayment of premium, the notice of cancellation shall include the amount of premium that is due. If the Insurer
        cancels this policy, the earned premium shall be computed pro rata.

        Nonrenewal and Renewal

        Should the Insurer decide to nonrenew this policy or conditions its renewal upon a change in the Limit of Liability,
        change in type of coverage, reduction of coverage, increased retention, the addition of any exclusion or an
        increase in premium in excess of 10%, then the Insurer shall mail or deliver written notice of the refusal to renew
        or the conditional renewal to the Insured at the principal address shown in Item 1. of the Declarations and to the
        Insured’s authorized agent or broker, if applicable, at least sixty (60) days but not more than one hundred and
        twenty (120) days before the end of the of the Policy Period. Such notice shall contain the specific reasons for the
        nonrenewal or the conditional renewal and shall set forth the amount or a reasonable estimate of any premium
        increase and describe any additional proposed changes.

        If the Insurer does not provide notice of nonrenewal or conditional renewal as provided in this section, coverage
        will remain in effect at the same terms and conditions of this policy at the lower of the current rates or the prior
        period’s rates until sixty (60) days after such notice is mailed or delivered unless the Insured, during this 60-day
        period, has replaced the coverage or elects to cancel in which event such cancellation shall be on a pro rata
        premium basis; provided, however, that if the Insurer elects to renew on the basis of the conditional renewal
        notice, then such terms, conditions and rates shall govern the policy upon expiration of such sixty (60) day period
        unless such notice was provided at least thirty (30) days prior to the expiration date of the policy, in which event
        the terms, conditions and rates set forth in the conditional renewal notice shall apply as of the renewal date.
        If the Insurer provides notice of nonrenewal or conditional renewal on or after the expiration date of this policy,
        coverage will remain in effect at the same terms and conditions of this policy for another Policy Period, at the
        lower of the current rates or the prior Policy Period’s rates, unless the Insured, during the additional Policy Period,
        has replaced the coverage or elects to cancel, in which event such cancellation shall be on a pro rata premium
        basis.

        The Insurer will not send the Insured notice of nonrenewal or conditional renewal if the Insured, the Insured’s
        authorized agent or another insurer of the Insured mails or delivers notice that the policy has been replaced or is
        no longer desired.

        If the Insured’s elects to accept the terms, conditions and rates of the conditional renewal notice pursuant to the
        Cancellation provisions, a new limit of insurance shall become effective as of the inception date of renewal, subject
        to regulations promulgated by the Superintendent of Insurance.

8.      The following provision is added to Section IV. POLICY TERMS:


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        DUTY TO DEFEND

        The Insurer shall have the right and duty to defend any Claim against the Insured seeking sums payable under this
        policy, even if the allegations of the Claim are groundless, false or fraudulent. The Insurer shall make such
        investigation and settlement of any Claim as it deems expedient, but the Insurer shall not be obligated to pay any
        Claim or judgment or continue to defend any Claim after the applicable Limit of Liability has been exhausted by
        payment of Loss and/or Defense Costs.

9.      The following provision is added to Section IV. POLICY TERMS:

        ACTION AGAINST INSURER

        If judgment against an Insured is not satisfied within thirty (30) days, an action can be brought against the Insurer.
        No action shall lie against the Insurer unless, as a condition precedent thereto, there shall have been full
        compliance with all of the terms of this policy, and the amount of the Insured's obligation to pay shall have been
        finally determined either by judgment against the Insured or by written agreement of the Insured, the claimant
        and the Insurer.

10.     The following provision is added to Section IV. POLICY TERMS:

        TRANSFER OF DUTIES WHEN A LIMIT OF INSURANCE IS EXHAUSTED

        1.       If the Insurer concludes that, based on incidents, occurrences, offenses, claims or suits which have been
                 reported to the Insurer and to which this insurance may apply, that any limit (each claim, each incident,
                 each occurrence, aggregate, or other) under the policy is likely to be exhausted in the payment of
                 judgments or settlements and/or Defense Costs , the Insurer will notify the Insured, in writing, to that
                 effect.

        2.       When a Limit of Liability described above has actually been exhausted in the payment of judgments or
                 settlements and/or Defense Costs:

                 (a)      The Insurer will notify the Insureds, in writing, as soon as practicable, that:

                          (i) such a limit has actually been exhausted; and

                          (ii) the Insurer’s duty to defend suits seeking damages subject to that limit has ended.

                 (b)      The Insurer will initiate, and cooperate in, the transfer of control, to any appropriate Insured, of
                          all claims seeking damages which are subject to that limit and which are reported to us before
                          that limit is exhausted. That Insured must cooperate in the transfer of control of said claims.
                          The Insurer agrees to take such steps, as the Insurer deems appropriate, to avoid a default in, or
                          continue the defense of, such claims until such transfer is completed, provided the appropriate
                          Insured is cooperating in completing such transfer. The Insurer has no obligation to take any
                          action whatsoever with respect to any claim seeking damages that would have been subject to
                          that limit, had it not been exhausted, if the claim is reported to the Insurer after that Limit of
                          Liability has exhausted.
                 (c)      The Insured involved in a claim seeking damages subject to that limit, must arrange for the
                          defense of such claim within such time period as agreed to between the appropriate Insured and
                          the Insurer. Absent any such agreement, arrangements for the defense of such claim must be
                          made as soon as practicable.

        3.       The Insured will reimburse the Insurer for expenses the Insurer incurs in taking those steps the Insurer
                 deems appropriate in accordance with paragraph 2.b. above.

                 The duty of the Insured to reimburse the Insurer will begin on:


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                 (a)      the date on which the applicable Limit of Liability is exhausted, if the Insurer sent notice in
                          accordance with paragraph 1. above; or

                 (b)      the date on which the Insurer sent notice in accordance with paragraph 2.a. above, if the Insurer
                          did not send notice in accordance with paragraph 1. above.

        4.       The exhaustion of any Limit of Liability by the payments of judgments or settlements and/or Defense
                 Costs, and the resulting end of the Insurer’s duty to defend, will not be affected by the Insurer’s failure to
                 comply with any of the provisions of this condition.

11.     The following provision is added to Section IV. POLICY TERMS:

        NOTICE

        Unless otherwise provided in the Followed Policy, this is a Claims Made Policy. This policy covers only those Claims
        first made against the Insured during the Policy Period or Discovery Period.
        All notices to the Insurer shall refer to the Policy Number and shall be given in writing and sent by mail, prepaid
        express courier or by facsimile, to the address listed in the Declarations and shall be effective upon receipt.
        The Insured shall give written notice to the Insurer at the address or facsimile number listed in the Declarations of
        a Claim made against an Insured as soon as practicable after the Insured first becomes aware of the Claim, but in
        all events no later than sixty (60) days after the end of the Policy Period or the Discovery Period.
        Notice of any Claim or potential Claim given by or on behalf of the Insured, or written notice by or on behalf of the
        injured person or any other claimant, to any licensed agent of the Insurer in the state of New York, with particulars
        sufficient to identify the Insured, shall be deemed notice to the Insurer.
        Failure to give any notice required by this policy within the time prescribed shall not invalidate any Claim made by
        the Insured if it shall be shown not to have been reasonably possible for the Insured to give such notice within the
        prescribed time and that notice was given as soon as was reasonably possible.

12.     The following provision is added to Section IV. POLICY TERMS:

        OTHER INSURANCE

        This insurance is excess over any other valid and collective insurance whether such insurance is primary, excess,
        contingent, or otherwise; unless such other insurance is written to be specifically excess over the insurance
        provided by this policy.



ALL OTHER TERMS AND CONDITIONS SHALL REMAIN THE SAME.




                                                                June 5, 2019
 Authorized Representative                                      Date




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                                         IRONSHORE INDEMNITY INC.
                                                  (A Stock Company)
                                                   Mailing Address:
                                                     PO Box 3407
                                                 New York, NY 10008
                                                    (877) IRON411


                                                     Endorsement # 2

Policy Number: 003892500                                             Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.


     NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
      EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
    INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
    RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                 INSURANCE LAW AND REGULATIONS.


                                       OFAC COMPLIANCE NOTICE
Payment of Loss under this Policy shall only be made in full compliance with all United States of America economic or trade
sanction laws or regulations, including, but not limited to, sanctions, laws and regulations administered and enforced by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").




IRON.PN.001 (0513)                                                                                    Page 1 of 1
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                                        IRONSHORE INDEMNITY INC.
                                                  (A Stock Company)
                                                   Mailing Address:
                                                     PO Box 3407
                                                 New York, NY 10008
                                                    (877) IRON411


                                                   Endorsement # 3

Policy Number: 003892500                                        Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.

    NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
     EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
   INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
   RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                INSURANCE LAW AND REGULATIONS.

                   CLAIMS-MADE POLICYHOLDER NOTICE – NEW YORK
                                      EXCESS LIABILITY INSURANCE POLICY

UNLESS OTHERWISE PROVIDED IN THE FOLLOWED POLICY THIS POLICY IS WRITTEN ON A CLAIMS-MADE BASIS AND
PROVIDES NO COVERAGE FOR CLAIMS ARISING OUT OF INCIDENTS, OCCURRENCES OR ALLEGED WRONGFUL ACTS WHICH
TOOK PLACE PRIOR TO THE RETROACTIVE DATE, IF ANY, STATED IN THE POLICY.

THIS POLICY COVERS ONLY CLAIMS ACTUALLY MADE AGAINST AN INSURED UNDER THE POLICY WHILE THE POLICY
REMAINS IN EFFECT OR WHILE THE AUTOMATIC EXTENDED REPORTING PERIOD OR ANY ADDITIONAL EXTENDED
REPORTING PERIOD THE INSURED MAY PURCHASE, IS IN EFFECT. ALL OTHER COVERAGE UNDER THIS POLICY CEASES UPON
THE TERMINATION OF THE POLICY.

DURING THE FIRST SEVERAL YEARS OF THE CLAIMS-MADE RELATIONSHIP, CLAIMS-MADE RATES ARE COMPARATIVELY
LOWER THAN OCCURRENCE RATES. SUBSTANTIAL ANNUAL PREMIUM INCREASES CAN BE EXPECTED, INDEPENDENT OF
OVERALL RATE LEVEL INCREASES, UNTIL THE CLAIMS-MADE RELATIONSHIP REACHES MATURITY.

UPON TERMINATION OF COVERAGE FOR ANY REASON, A SIXTY (60) DAY AUTOMATIC EXTENDED REPORTING PERIOD WILL
BE GRANTED AT NO ADDITIONAL CHARGE. THE INSURED WILL BE ABLE TO PURCHASE ADDITIONAL EXTENDED REPORTING
PERIOD COVERAGE FOR A MINIMUM OF ONE (1) YEAR OR AS IN THE FOLLOWED POLICY INCLUSIVE OF THE SIXTY (60) DAY
PERIOD SPECIFIED ABOVE, UNLESS DURING THE FIRST YEAR OF COVERAGE THIS POLICY IS TERMINATED FOR NON-
PAYMENT OF PREMIUM OR FRAUD.

WITHIN THIRTY (30) DAYS AFTER TERMINATION OF COVERAGE, THE INSURER WILL GIVE WRITTEN NOTIFICATION TO THE
INSURED THAT THE AUTOMATIC EXTENDED REPORTING PERIOD APPLIES, WHICH NOTICE WILL STATE THE IMPORTANCE OF
PURCHASING AN ADDITIONAL EXTENDED REPORTING PERIOD AND THE PREMIUM FOR SUCH ADDITIONAL COVERAGE. NO
SUCH NOTICE WILL BE SENT IF THIS POLICY HAS BEEN IN EFFECT FOR ONE YEAR OR MORE AND HAS BEEN TERMINATED FOR
NONPAYMENT OF PREMIUM OR FRAUD.

EXC.PN.001 NY (0913)                                                                              Page 1 of 1
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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THERE IS A POTENTIAL FOR COVERAGE GAPS THAT MAY ARISE UPON EXPIRATION OF ANY EXTENDED REPORTING PERIOD
COVERAGE IF PRIOR ACTS COVERAGE IS NOT SUBSEQUENTLY PROVIDED BY ANOTHER INSURER.

THE INSURED SHALL HAVE THE GREATER OF SIXTY (60) DAYS FROM THE EFFECTIVE DATE OF TERMINATION OF COVERAGE
OR THIRTY (30) DAYS FROM THE DATE OF MAILING OR DELIVERY OF THE NOTICE MENTIONED ABOVE TO SUBMIT WRITTEN
ACCEPTANCE OF THE EXTENDED REPORTING PERIOD.




EXC.PN.001 NY (0913)                                                                     Page 2 of 1
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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                                          IRONSHORE INDEMNITY INC.
                                                    (A Stock Company)
                                                     Mailing Address:
                                                       PO Box 3407
                                                   New York, NY 10008
                                                      (877) IRON411


                                                       Endorsement # 4

Policy Number: 003892500                                                Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.


      NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
       EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
     INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
     RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                  INSURANCE LAW AND REGULATIONS.

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  INSURER STREET ADDRESS CHANGE
There is no change in the mailing address or telephone number shown above.

It is hereby understood and agreed that the street address of the Insurer’s main administrative office is changed to:
                                                 28 Liberty Street, 5th Floor
                                                    New York, NY 10005

The street address for delivery of any Notice to Insurer, Representative of the Insurer and Notice of Claim reporting is
changed to:
                                            c/o Ironshore Insurance Services LLC.
                                                   28 Liberty Street, 5th Floor
                                                      New York, NY 10005

The street address for the Service of Process/Suit provision in this policy is changed to:
                                            c/o Ironshore Insurance Services LLC.
                                                  28 Liberty Street, 4th Floor
                                                     New York, NY 10005

For the purposes of this endorsement:

1.    “Insurer” means the “Insurer”, “Underwriter” or “Company” or other name specifically ascribed in this policy as the
      insurance company or underwriter for this policy.



IRON.END.ALL.016 NYFTZ (0317)                                                                               Page 1 of 2
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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2.    “Notice of Claim reporting” means any “notice of claim/circumstance”, “notice of loss”, “notice of wrongful act”, or
      other such reference in the policy designated for the reporting of claims, loss, acts, occurrences or situations that
      may give rise or result in loss under this policy.

3.    “Policy” means the policy, bond or other insurance product to which this endorsement is added.



ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.




                                                              June 5, 2019
 Authorized Representative                                    Date




IRON.END.ALL.016 NYFTZ (0317)                                                                            Page 2 of 2
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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                                          IRONSHORE INDEMNITY INC.
                                                   (A Stock Company)
                                                    Mailing Address:
                                                      PO Box 3407
                                                  New York, NY 10008
                                                     (877) IRON411


                                                      Endorsement # 5

Policy Number: 003892500                                              Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.

     NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
      EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
    INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
    RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                 INSURANCE LAW AND REGULATIONS.

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      PENDING AND PRIOR LITIGATION ENDORSEMENT
This endorsement modifies insurance provided under the following:

EXCESS LIABILITY INSURANCE POLICY

It is understood and agreed that the Limits of Liability shall not apply to claims made against the Insured based upon, arising
from, or in consequence of any demand, suit, or other proceeding pending, or order, decree or judgment entered against
any Insured prior to October 21, 2017, or the same or substantially the same fact, circumstance or situation underlying or
alleged therein.




ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                June 5, 2019
 Authorized Representative                                      Date




EDO 003; Edited(07/07)                                                                                           Page 1 of 1
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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                                          IRONSHORE INDEMNITY INC.
                                                    (A Stock Company)
                                                     Mailing Address:
                                                       PO Box 3407
                                                   New York, NY 10008
                                                      (877) IRON411


                                                       Endorsement # 6

Policy Number: 003892500                                               Effective Date of Endorsement: November 29, 2018
Insured Name: AmTrust Financial Services, Inc.


      NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
       EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
     INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND
     RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK
                  INSURANCE LAW AND REGULATIONS.
                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               QUOTA SHARE AMENDMENT OF DECLARATIONS (EXCESS)
In consideration of the premium charged, it is hereby understood and agreed that:

1.   Item 6. of the Declarations is deleted and replaced by the following:

     Item 6.     Aggregate Quota Share Layer Limit of Liability:      $10,000,000

     Maximum aggregate Limit of Liability for all Claims made during the Policy Period.

     Subject to all of its terms and conditions, this Policy shall provide coverage for Claims in excess of the Underlying
     Insurance, up to the Insurer’s quota share participation of the aggregate maximum limit stated above. Any Loss within
     the Aggregate Quota Share Layer Limit of Liability stated above shall be paid pro rata by each of the insurers
     subscribing to this Aggregate Quota Share Layer Limit of Liability in accordance with the proportion set forth in the
     Participation Agreement entered into by each such insurer. The participation of such insurers is set forth below in Item
     7. of the Declarations. The obligations of such insurers who subscribe to the quota share arrangement are several and
     not joint, and are limited to the extent of their individual subscriptions. No subscribing insurers is responsible for the
     obligation of any co-subscribing insurer.

     The Insurer's participation is set forth at Item 12. of the Declarations. The Insurer has full claims and underwriting
     control of its portion of the quota share arrangement and no action or omission by any of the co-subscribing insurers
     shall bind the Insurer or be deemed a waiver of any coverage defense the Insurer has under this Policy or available at
     law. The Insurer shall act on its own behalf with respect to all other matters concerning this Policy, and no other insurer
     subscribing to the Policy may act on behalf of or bind the Insurer with respect to the Policy terms or any matter
     concerning the Policy. All notices by an Insured to the Insurer under this Policy shall be provided to the Insurer at the
     address specified in the Declarations.


EDO.008 (7/08)                                                                                                     Page 1 of 2
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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2.   The Declarations are amended by the addition of the following:

         Item 12.

                    Insurer's Quota-Share Participation:    50%
                    Insurer's Limit of Liability:           $5,000,000

     The Insurer agrees to pay on behalf of the Insured under the Policy that proportion of covered Loss set forth above in
     the manner provided under Item 3. of the Declarations and in full conformance with all the terms and conditions of the
     Policy.

3. Item 7. of the Declarations is amended by adding the following:

Quota Share Layer Attachment Point:         $50,000,000

Quota Share Participant                     Policy Number                     Limit of Liability

Markel Bermuda Limited                      MKLB25GPL000070                   $2,500,000 po $10,000,000
HCC                                         TBD                               $2,500,000 po $10,000,000
Ironshore Insurance Company                 003892500                         $5,000,000 po $10,000,000

4.   Item 5. of the Declarations is deleted and replaced by the following:

     Item 5.        Total Quota Share Layer Premium:                      $800,000

                    Insurer's Quota-Share Participation Premium:          $400,000

     The Total Quota Share Layer Premium is payable pro rata to each of the insurers subscribing to this Quota Share Layer
     in accordance with the proportion set forth in its Participation Agreement.




ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                   June 5, 2019
 Authorized Representative                                         Date




EDO.008 (7/08)                                                                                                Page 2 of 2
NYFTZ - Class 2 - 14176 - DIRECTORS AND OFFICERS - INS COMPANIES
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                                        IRONSHORE INDEMNITY INC.
                                                  (A Stock Company)
                                                   Mailing Address:
                                                     PO Box 3407
                                                 New York, NY 10008
                                                    (877) IRON411


                                                     Endorsement # 7

    Policy Number: 003892500                                                Effective Date of Endorsement: November 29, 2018
    Insured Name: AmTrust Financial Services, Inc.

  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
   EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
    INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS
  AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
           YORK INSURANCE LAW AND REGULATIONS.

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                                TIE IN OF LIMITS
  It is hereby understood and agreed that the Policy is amended as follows:
  I.        The following is added to section III. Definitions:

           •   The term “Other Policy” means policy # HS674647 issued to the Insured by Landmark American
               Insurance Company.

  II.      Section IV. Policy Conditions is amended by adding the following:

           Notwithstanding any other terms and conditions of this Policy:

           1) Any coverage provided under this Policy shall be specifically in excess of the coverage provided under
              the Other Policy, and any loss or damages required to be paid under the Other Policy shall be fully paid
              prior to the payment of any loss or damages under this Policy;

           2) Any payment of loss or damages under the Other Policy will proportionally reduce the maximum
              aggregate limit of liability for all loss or damages on account of all claims for this Policy. Such proportion
              shall be the amount paid under the Other Policy divided by the Other Policy’s aggregate limit of liability;




  EXC.EXMT.619 (0519)                                                                                    Page 1 of 2
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         3) The Insurer will have no obligation under this Policy to make any payment of loss or damages if the
            Other Policy’s aggregate limit of liability is fully exhausted;

         4) If the paid loss or damages paid under this Policy are in an aggregate amount equaling $5,000,000,
            any and all obligations of the Insurer under this Policy will be completely fulfilled and extinguished,
            and the Insurer will have no further obligations of any kind or nature whatsoever under this Policy; and

         5) Nothing in this endorsement is intended, nor shall be construed, to obligate or require the Insurer to
            pay loss or damages under this Policy in excess of the Policy aggregate limit of liability set forth in the
            Declarations of this policy.



  ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                 June 5, 2019
   Authorized Representative                                     Date




  EXC.EXMT.619 (0519)                                                                               Page 2 of 2
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                    EXHIBIT W
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                  U.S. SPECIALTY INSURANCE COMPANY
     THIS IS A CLAIMS MADE EXCESS POLICY WHICH APPLIES ONLY TO CLAIMS FIRST
     MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD. THE LIMITS OF
     LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS WILL BE REDUCED, AND
     MAY BE EXHAUSTED, BY THE PAYMENT OF DEFENSE EXPENSES.

                                             DECLARATIONS

                                     EXCESS INDEMNITY POLICY

     POLICY NUMBER: 24-MGU-18-A45519                                   RENEWAL OF: N/A

     ITEM 1.     INSURED:           Amtrust Financial Services, Inc.
                                    59 Maiden Lane 43rd Floor
                                    New York, NY 10038

     ITEM 2.   POLICY PERIOD:
                   (a)      Inception Date: 11/29/2018
                   (b)      Expiration Date: 11/29/2024
                   at 12:01 a.m. at the Principal Address stated in ITEM 1.

     ITEM 3.   LIMIT OF LIABILITY (INCLUSIVE OF DEFENSE EXPENSES):
               $2,500,000 Limit of Liability part of $10,000,000 excess of $50,000,000 Underlying Limits

     ITEM 4.   SCHEDULE OF UNDERLYING INSURANCE:
               See Attached Schedule of Underlying Insurance.

     ITEM 5.   PREMIUM: $200,000.00

     ITEM 6.   NOTICES REQUIRED TO BE GIVEN TO INSURER MUST BE ADDRESSED TO:

                Street Address:                        Facsimile Number:      E-mail Address:
                Tokio Marine HCC – D&O Group           (860) 676-1737         usclaims@tmhcc.com
                8 Forest Park Drive
                Farmington, CT 06032
                Attn: Claims Manager




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    ITEM   7.   ENDORSEMENTS ATTACHED AT ISSUANCE
                994-917 NY9 NYlo NYll NY12 NYl3 994-922 80016

    IN WITNESS WHEREOF, the lnsurer has caused this Policy to be signed on the Declarations Page by its
    President, a Secretary and a duly authorized representative ofthe Insurer.



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                                                                                        ,l
                    Secretary                        President




    Date: December 26,2018                                                               ussrc 993 (04D002)
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                                           ENDORSEMENT NUMBER: 1

                                 SCHEDULE OF UNDERLYING INSURANCE

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged it is hereby agreed and understood that the Schedule of
     Underlying Insurance on the Declarations page is amended to read as follows:


                      Insurer                                       Policy Number                 Limits
      Primary         Indian Harbor Insurance Company               US00080794DO17A               $5,000,000
      1st Excess      Zurich American Insurance Company             DOC 4565460-00                $5,000,000
      2nd Excess      AXIS Insurance Company                        MNN626501/01/2017             $5,000,000
      3rd Excess      Markel Bermuda Limited                        MKLB25GPL0000702              $2,500,000
      3rd Excess      Allianz Global Risks US Insurance             USF00237518                   $2,500,000
                      Company
      4th Excess      Hiscox Insurance Company Inc.                 B0509FINFW1800559             $5,000,000
      5th Excess      Lloyd's of London                             B0509FINFW1800560             $8,700,000
      5th Excess      Arch Insurance Company                        DOX100002900                  $2,700,000
      5th Excess      Markel Bermuda Limited                        MKLB25GPL0000685              $3,600,000
      6th Excess      Lloyd's of London                             B0509FINFW1800561             $3,800,000
      6th Excess      Arch Insurance Company                        DOX100003000                  $2,200,000
      6th Excess      Markel Bermuda Limited                        MKLB25GPL0000686              $1,400,000
      6th Excess      Allianz Global Risks US Insurance             USF00238018                   $2,600,000
                      Company

     Schedule of Quota Share Participants
     Aggregate Limit for all quota share participants: $10,000,000
                         Insurer                        Policy Limits              Policy Number
     Participant         Ironshore Indemnity Inc.       $5,000,000                003892500
     Participant         Markel Bermuda Limited         $2,500,000                MKLB25GPL0000703

     All other terms, conditions and limitations of this Policy will remain unchanged, including but not limited
     to the maximum aggregate Limit of Liability set forth in ITEM 3. of the Declarations.

     Complete the following only when this endorsement is not prepared with the Policy or is not to be effective
     with the Policy.

              Effective date of this endorsement:


                                                    By: ________________________________
                                                           Attorney-in-Fact




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                                           ENDORSEMENT NUMBER: 2

                               NEW YORK AMENDATORY ENDORSEMENT:
                             COMPLIANCE WITH NEW YORK INSURANCE LAW

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged, it is hereby understood and agreed that, notwithstanding anything
     in this Policy to the contrary, with respect to such insurance as is afforded by this Policy, the terms of this
     Policy as respects coverage for operations in the State of New York shall conform to the coverage
     requirements of the applicable insurance laws of the State of New York or the applicable regulations of the
     New York Insurance Department; provided, however, that the Insurer’s limit of liability as stated in this
     Policy shall be excess of the limits of liability of any underlying insurance or self-insurance as stated in the
     Declarations or in any endorsement attached hereto.



     All other terms, conditions and limitations of this Policy shall remain unchanged.


                                                   _____________________________________
                                                          Authorized Representative




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                                          ENDORSEMENT NUMBER: 3

                                NEW YORK AMENDATORY ENDORSEMENT:
                                             NOTICES

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged, Section VIII. NOTICES is amended to read as follows:

         VIII.    NOTICES

                  A.      If the Insureds give any notice of any matter under the Underlying Insurance, the
                          Insureds must also give the Insurer written notice of such matter in the same manner
                          as required by the terms and conditions of the Primary Policy, except that such
                          written notice must be sent to the Insurer at the address set forth in ITEM 6 of the
                          Declarations.

                  B.      Notice of any matter, whether by or on behalf of any person or entity entitled to
                          coverage under this Policy or by or on behalf of any claimant against any such person
                          or entity, will be deemed written notice to the Insurer if given to any licensed agent of
                          the Insurer in this state, with particulars sufficient to identify the person or entity
                          entitled to coverage.

                  C.      Failure by any person or entity entitled to coverage under this Policy to give any
                          notice required to be given within any prescribed time will not invalidate any
                          coverage that would otherwise have been available if it is shown that (a) it was not
                          reasonably possible to give such notice within the prescribed time and (b) notice was
                          given as soon as reasonably possible. Notice given during any applicable Discovery
                          Period will be deemed notice during the Policy Period.

                  D.      The Insureds shall give the Insurer notice in writing as soon as practicable of:

                          1.    the cancellation of any Underlying Insurance, or

                          2.    any additional or return premiums charged or allowed in connection with any
                                Underlying Insurance.

     All other terms, conditions and limitations of this Policy shall remain unchanged.


                                                  _____________________________________
                                                         Authorized Representative




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                                          ENDORSEMENT NUMBER: 4

                            NEW YORK AMENDATORY ENDORSEMENT:
                        REGULATION 121 – DECLARATIONS PAGE SUPPLEMENT

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged:

     (1)      This is a “claims-made” policy which means, generally, that coverage applies under this Policy for
              only those claims first made against the Insured during the Policy Period.

     (2)      This Policy provides no coverage for claims arising out of incidents, occurrences or alleged
              wrongful acts which took place prior to the retroactive date, if any, stated in the Policy.

     (3)      This Policy covers only claims actually made against the Insured while the Policy remains in
              effect and all coverage under the Policy ceases upon the termination of the Policy, except for any
              automatic discovery period coverage that may be available pursuant to the provisions of the
              Underlying Insurance, unless the Insured purchases additional discovery period coverage
              available pursuant to the provisions of the Underlying Insurance.

     (4)      During the first several years of being covered under a “claims-made” policy, claims-made
              premium rates are comparatively lower than rates on other types of policies. You can expect
              substantial annual premium increases, independent of overall rate level increases, until the claims-
              made relationship reaches maturity.




     All other terms, conditions and limitations of this Policy shall remain unchanged.


                                                  _____________________________________
                                                         Authorized Representative




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                                          ENDORSEMENT NUMBER: 5

                              NEW YORK AMENDATORY ENDORSEMENT:
                             REGULATION 121 – APPLICATION SUPPLEMENT

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged:

     (1)      This is a “claims-made” policy which means, generally, that coverage applies under this Policy for
              only those claims first made against the Insured during the Policy Period.

     (2)      This Policy provides no coverage for claims arising out of incidents, occurrences or alleged
              wrongful acts which took place prior to the retroactive date, if any, stated in the Policy.

     (3)      This Policy covers only claims actually made against the Insured while the Policy remains in
              effect and all coverage under the Policy ceases upon the termination of the Policy, except for any
              automatic discovery period coverage that may be available pursuant to the provisions of the
              Underlying Insurance, unless the Insured purchases additional discovery period coverage
              available pursuant to the provisions of the Underlying Insurance.




     All other terms, conditions and limitations of this Policy shall remain unchanged.


                                                  _____________________________________
                                                         Authorized Representative




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                                           ENDORSEMENT NUMBER: 6

                                NEW YORK AMENDATORY ENDORSEMENT:
                                          REGULATION 162

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged:

     (1)      To the extent this Policy provides coverage for Defense Expenses incurred defending a criminal
              proceeding, such coverage is limited to that permitted by Section 726 of the Business Corporation
              Law, Section 726 of the Not-for-Profit Corporation Law, and Section 7023 of the Banking Law,
              whichever is applicable.

     (2)      There is no coverage under this Policy for legal services insurance with respect to any claim that is
              an administrative proceeding or seeks injunctive or other non-pecuniary relief if such claim:

              (a)      involves entitlement to non-employment related benefits, provided directly or indirectly,
                       from any government, governmental agency or political subdivision pursuant to an
                       entitlement program; or

              (b)      is initiated or instituted by a large commercial insured, as defined in Section 71.1 of
                       Department Regulation No. 107.

     (3)      No more than twenty-five percent (25%) of this Policy’s Limit of Liability may be reduced by the
              payment of loss constituting legal services insurance.




     All other terms, conditions and limitations of this Policy shall remain unchanged.


                                                  _____________________________________
                                                         Authorized Representative




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                                                ENDORSEMENT NUMBER: 7

                                        RUN-OFF COVERAGE FROM INCEPTION

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged, 100% of which is hereby deemed to be fully earned as of the
     effective date of this endorsement, and notwithstanding anything in this Policy to the contrary, it is agreed
     that:

     (1)      The coverage provided under this Policy will apply only to losses, including defense costs or
              expenses, from claims for acts, errors, omissions, misstatements, misleading statements, neglect or
              breaches of duty committed or attempted, or allegedly committed or attempted, before the
              inception date set forth in ITEM 2 of the Declarations. No coverage will be available under this
              Policy for losses, including defense costs or expenses, from any claim for or arising out of, based
              upon or attributable to any act, error, omission, misstatement, misleading statement, neglect or
              breach of duty committed or attempted, or allegedly committed or attempted, on or after the
              inception date set forth in ITEM 2 of the Declarations.

     (2)      The Insureds will have no right to any Discovery Period, Extended Reporting Period or Optional
              Extension Period upon any cancellation or nonrenewal of this Policy, and the coverage provided
              under this Policy will not apply in conformance with, or subject to, any terms, conditions,
              limitations and endorsements of the Primary Policy under which the Insureds may have any such
              right.

     (3)      The Insurer may not cancel this Policy except for non-payment of premium and, because the entire
              premium for this Policy shall be deemed fully earned as of the effective date of this endorsement,
              the Insureds will be entitled to no adjustment or refund of premium in the event of cancellation by
              the Insureds. Section IX of this Policy will be deemed to have been amended accordingly.


     All other terms, conditions and limitations of this Policy shall remain unchanged.

     Complete the following only when this endorsement is not prepared with the Policy or is not to be effective
     with the Policy.

              Effective date of this endorsement:


                                                    By: ________________________________
                                                           Attorney-in-Fact




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                                            ENDORSEMENT NUMBER: 8

                    POLICYHOLDER DISCLOSURE – TERRORISM PREMIUM NOTICE

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     Your Policy contains coverage for certain losses caused by terrorism. We are required to notify you of the
     portion of the premium, if any, attributable to the coverage for terrorist acts certified under the Terrorism
     Risk Insurance Act, as amended in 2015 (hereinafter “TRIA”). TRIA also requires us to provide disclosure
     of federal participation in payment of terrorism losses resulting from an “act of terrorism” as defined by
     Section 102(1) of TRIA.

     Section 102(1) of TRIA defines the term “act of terrorism” as any act that is certified by the Secretary of
     the Treasury of the United States – in concurrence with the Secretary of Homeland Security and the
     Attorney General of the United States – to be an act of terrorism; to be a violent act or an act that is
     dangerous to human life, property, or infrastructure; to have resulted in damage within the United States, or
     outside the United States in the case of an air carrier or vessel or the premises of a United States mission;
     and to have been committed by an individual or individuals acting on behalf of any foreign person or
     foreign interest, as part of an effort to coerce the civilian population of the United States or to influence the
     policy or affect the conduct of the United States Government by coercion.

     Please be advised that the actual coverage provided by your Policy for acts of terrorism, as is true for all
     coverages, is limited by the terms, conditions, exclusions, limits and other provisions of your Policy, any
     endorsements to the Policy and generally applicable rules of law.

     YOU SHOULD KNOW THAT, WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES
     RESULTING FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY
     REIMBURSED BY THE UNITED STATES GOVERNMENT UNDER A FORMULA ESTABLISHED
     BY FEDERAL LAW. UNDER THIS FORMULA, THE UNITED STATES GOVERNMENT generally
     reimburses 85% through 2015; 84% beginning on January 1, 2016; 83% beginning on January 1, 2017;
     82% beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80% beginning on January 1,
     2020 of covered terrorism losses exceeding the statutorily established deductible paid by the insurance
     company providing the coverage. The Terrorism Risk Insurance Act, as amended, contains a $100 billion
     cap that limits U.S. Government reimbursement as well as insurers’ liability for losses resulting from




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     certified acts of terrorism when the amount of such losses exceeds $100 billion in any one calendar year. If
     the aggregate insured losses for all insurers exceed $100 billion, your coverage may be reduced.

     The amount of your premium that is attributable to coverage for terrorist acts certified under TRIA is $0.




     All other terms, conditions and limitations of this Policy will remain unchanged.

     Complete the following only when this endorsement is not prepared with the Policy or is not to be effective
     with the Policy.

              Effective date of this endorsement:


                                                    By:________________________________
                                                           Attorney-in-Fact




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     U.S. SPECIALTY INSURANCE COMPANY




                 Excess Indemnity Policy




                                              D&O Group
                                              8 Forest Park Drive, Farmington, Connecticut 06032
                                              main 860 674 1900 facsimile 860 676 1737




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                     U.S. SPECIALTY INSURANCE COMPANY
                                             EXCESS INDEMNITY POLICY

                                  This is a claims made policy. Please read it carefully.

     In consideration of the payment of the premium, and in reliance upon all statements made and information
     furnished to the Insurer and to the issuers of the Underlying Insurance and subject to the Declarations and
     the limitations, conditions, provisions, any endorsements to and all other terms of this Policy, the Insurer
     and the Insureds agree as follows:


     I.       INSURING AGREEMENT

              The Insurer shall provide the Insureds with insurance excess of the Underlying Insurance
              scheduled in ITEM 4 of the Declarations. Except as specifically set forth in the terms, conditions
              or endorsements of this Policy, coverage hereunder shall apply in conformance with the terms,
              conditions, limitations and endorsements of the policy immediately underlying this Policy, except
              that coverage hereunder shall attach only after all Underlying Insurance has been exhausted by
              actual payment of claims or losses thereunder.

     II.      PRIMARY AND UNDERLYING INSURANCE

              A.           Maintenance of Underlying Insurance

                           All of the Underlying Insurance scheduled in ITEM 4 of the Declarations shall be
                           maintained during the Policy Period in full effect except for any reduction of the limits
                           of liability available under the Underlying Insurance solely by reason of actual payment
                           of claims or losses thereunder. Subject at all times to Section II.B of this Policy, the
                           Insurer shall not be liable under this policy earlier or to any greater extent than it would
                           have been if the Insureds had complied with this condition.

              B.           Cancellation of Underlying Insurance

                           This Policy shall terminate immediately upon the cancellation of any one or more of the
                           policies scheduled in ITEM 4 of the Declarations, whether cancelled by the Insureds or
                           the applicable insurer. Notice of cancellation or non-renewal of any such policies duly
                           given by any of the applicable insurers shall serve as notice of the cancellation or non-
                           renewal of this Policy by the Insurer.

              C.           Amendment of Underlying Insurance

                           No amendment to any Underlying Insurance during the Policy Period shall be effective
                           in extending the coverage or limits of liability afforded by this Policy unless the Insurer
                           so agrees in writing.

     III.     DEFINITIONS

              A.           Insured means any person or organization insured under the policy immediately
                           underlying this Policy.

              B.           Policy Period means the period from the inception date to the expiration date set forth in
                           ITEM 2 of the Declarations, or to any earlier cancellation date.

              C.           Primary Policy means the policy scheduled as such in ITEM 4 of the Declarations.



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              D.           Underlying Insurance means all policies scheduled in ITEM 4 of the Declarations and
                           any policies replacing them.

     IV.      LIMITS OF LIABILITY

              A.           The amount or amounts stated in ITEM 3 of the Declarations are the limits of the
                           Insurer’s liability and shall be the maximum amount(s) payable by the Insurer under this
                           Policy. The limits of liability available under this Policy to pay damages or settlements
                           shall be reduced, and may be exhausted, by the payment of defense expenses.

              B.           In the event of the reduction of the limits of liability of the Underlying Insurance solely
                           as the result of actual payment of claims or losses thereunder by the applicable insurers,
                           this Policy shall, subject to the Insurer’s limits of liability and to the other terms,
                           conditions and endorsements of this Policy, continue to apply to claims or losses as
                           excess insurance over the amount of insurance remaining under such Underlying
                           Insurance.

              C.           In the event of the exhaustion of all of the limits of liability of such Underlying
                           Insurance solely as the result of actual payment of claims or losses thereunder, the
                           remaining limits available under this Policy shall, subject to the Insurer’s limits of
                           liability and to the other terms, conditions and endorsements of this Policy, continue for
                           subsequent claims or losses as primary insurance. Under such circumstances, any
                           retention or deductible specified in the Primary Policy shall also apply to this Policy.

     V.       SETTLEMENT

              The Insureds shall not admit liability for or settle any claim for any amount that would involve
              the coverage afforded by this Policy without the Insurer’s prior written consent.

     VI.      CLAIM PARTICIPATION

              The Insurer may, at its sole discretion, elect to participate in the investigation, settlement and/or
              defense of any claim against the Insureds even if the Underlying Insurance has not been
              exhausted.

     VII.     SUBROGATION AND RECOVERIES

              A.           In the event of any payment under this Policy, the Insurer shall be subrogated to all the
                           Insureds’ rights of recovery against any person or organization, and the Insureds shall
                           execute and deliver all instruments and papers and do whatever else is necessary to
                           secure such rights.

              B.           Any amount recovered after payment under this Policy shall be apportioned in the inverse
                           order of payment to the extent of actual payment. The expenses of all such recovery
                           proceedings shall be apportioned in the same ratio as the recoveries.

     VIII.    NOTICES

              A.           If the Insureds give any notice of any matter under the Underlying Insurance, the
                           Insureds must also give the Insurer written notice of such matter in the same manner as
                           required by the terms and conditions of the Primary Policy, except that such written
                           notice must be sent to the Insurer at the address set forth in ITEM 6 of the Declarations.

              B.           The Insureds shall give the Insurer notice in writing as soon as practicable of:




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                           1.       the cancellation of any Underlying Insurance, or

                           2.       any additional or return premiums charged or allowed in connection with any
                                    Underlying Insurance.

     IX.      POLICY TERMINATION

              A.           This Policy may be canceled by the Insureds at any time either by surrender of this
                           Policy or by written notice stating when thereafter such cancellation is to be effective.
                           The mailing of such notice as aforesaid shall be sufficient proof of notice and this policy
                           shall terminate at the date and hour specified in such notice.

              B.           The Insurer shall refund the unearned premium computed at the customary short rate if
                           the Policy is canceled by the Insureds.

     X.       CONFORMITY TO STATUTE

              Any terms of this Policy which are in conflict with the terms of any applicable laws construing
              this Policy are hereby amended to conform to such laws.

     XI.      AUTHORIZATION AND NOTICES

              The person or entity named in ITEM 1 of the Declarations shall be the sole agent, and shall act on
              behalf, of the Insureds with respect to all matters under this Policy, including but not limited to
              giving and receiving notices and other communication, effecting or accepting any endorsements to
              or notice of cancellation of this Policy, paying premium and receiving any return premiums.

     XII.     NO ALTERATIONS WITHOUT ENDORSEMENT

              No change in or modification of this Policy shall be effective unless made by endorsement signed
              by an authorized employee of the Insurer or any of its agents relating to this Policy.


     In witness whereof the Insurer has caused this Policy to be executed by its authorized officers, but this
     Policy will not be valid unless countersigned on the Declarations Page by a duly authorized representative
     of the Insurer.




                     Secretary                              President




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                                           ENDORSEMENT NUMBER: 9

            FOLLOW FORM OF SPECIFIC QUOTA SHARE PARTICIPANT ENDORSEMENT

             To be attached to and made a part of Policy No. 24-MGU-18-A45519, issued to
     Amtrust Financial Services, Inc. by U.S. Specialty Insurance Company.


     In consideration of the premium charged, it is agreed that:

     (1)      Coverage under this Policy is amended in accordance with Endorsement No. 3 , titled “TIE IN OF
              LIMITS ENDORSEMENT,” which has been added to the following Quota Share Participant
              policy:

              Policy number MKLB25GPL0000703 issued by Markel Bermuda Limited.

     (2)      For purposes of this endorsement, “Quota Share Participant” means those insurers described as
              such in Endorsement No. 994-917, titled “Schedule of Underlying Insurance,” of this Policy.



     All other terms, conditions and limitations of this Policy will remain unchanged.

     Complete the following only when this endorsement is not prepared with the Policy or is not to be effective
     with the Policy.

              Effective date of this endorsement: 11/29/2018




                                                  By:________________________________
                                                         Attorney-in-Fact




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                    EXHIBIT X
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                        SETTLEMENT AND RELEASE AGREEMENT

          This is a Settlement and Release Agreement (“Agreement”) between XL Specialty
  Insurance Company (“XL Specialty”), Catlin Specialty Insurance Company (“Catlin”), and
  Indian Harbor Insurance Company (“Indian Harbor”) (collectively, “XL”) on the one hand, and
  AmTrust Financial Services, Inc. (“AmTrust”), Evergreen Parent, L.P. (“Evergreen”), as well
  as Donald T. DeCarlo, Susan C. Fisch, Abraham Gulkowitz, George Karfunkel, Michael
  Karfunkel, Jay J. Miller, Barry Zyskind, Leah Karfunkel, Raul Rivera, Adam Karkowsky,
  Mark Serock, John F. Shettle Jr., and Chris Stroup (collectively, the “Individual
  Defendants”), on the other hand. The signatories to this Agreement will be referred to
  singularly or collectively as, respectively, a “Party” or the “Parties.” AmTrust, Evergreen,
  and the Individual Defendants who are Parties to this Agreement, are collectively referred to as
  the “Insureds.”

         WHEREAS, XL Specialty issued Policy No. ELU136322-14 to AmTrust for the period
  of September 30, 2014 to September 30, 2015 (the “14-15 XL Policy”);

        WHEREAS, Catlin issued Policy No. XSP-690901-0914 to AmTrust for the period of
  September 30, 2014 to September 30, 2015 (the “14-15 Catlin Policy”);

          WHEREAS, Indian Harbor issued Policy No. US00080794DO17A, which was
  originally issued to AmTrust for the period of October 21, 2017 to October 21, 2018, and,
  per endorsement, is now issued to AmTrust for the period of October 21, 2017 to November
  29, 2024 (the “17-24 Indian Harbor Policy”);

          WHEREAS, Indian Harbor issued Policy No. ELU152511-17 to AmTrust for the period
  of October 21, 2017 to October 21, 2018, and, per endorsement, is now issued to AmTrust for
  the period of October 21, 2017 to November 29, 2024 (the “17-24 Indian Harbor A-Side Policy”)

         WHEREAS, Indian Harbor issued Policy No. US00087433DO18A to Evergreen for the
  period of November 29, 2018 to November 29, 2019 (the “18-19 Indian Harbor Policy”);

         WHEREAS, Indian Harbor issued Policy No. ELU158988-18 to Evergreen for the
  period of November 29, 2018 to November 29, 2019 (the “18-19 Indian Harbor A-Side Policy”)
  (together with the 14-15 XL Policy, the 14-15 Catlin Policy, the 17-24 Indian Harbor Policy,
  the 17-18 Indian Harbor A-Side Policy, and the 18-19 Indian Harbor Policy, the “XL Policies”);

          WHEREAS, the Insureds have sought coverage from XL in connection with the lawsuits
  listed in Exhibit A, including any and all claim(s) asserted in or in connection with such
  lawsuits (collectively, the “Claims”);

         WHEREAS, the Insureds and XL dispute whether and/or to what extent the XL Policies
  provide coverage for the Claims;

          WHEREAS, AmTrust and the Individual Defendants named in the Consolidated
  Stockholder Litigation and Martinek Delisting Action (as defined in Exhibit A) are
  in negotiations to settle those Claims for amounts in excess of the Retention and Limits of
  Liability of the 17-24 Indian Harbor Policy;
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          WHEREAS, the Parties to this Agreement agree and acknowledge that this Agreement
  shall not be construed as an admission by any Party of any liability, coverage, or responsibility
  with regard to the Consolidated Stockholder Litigation or the Martinek Delisting Action, the
  Parties now wish to, and hereby do, resolve all disputes between and among them with regard to
  coverage for the Consolidated Stockholder Litigation and the Martinek Delisting Action under
  the 17-24 Indian Harbor Policy, which, upon the disbursement of the Settlement Payment under
  this Agreement, shall be fully released, exhausted, and extinguished as set forth herein;

         WHEREAS, the Parties further desire to settle all of their disputes between and among
  them with regard to coverage for all the Claims under the XL Policies, which, upon the
  disbursement of the Settlement Payment under this Agreement, shall be fully released,
  exhausted, and extinguished as set forth herein.

         NOW THEREFORE, in consideration of and in reliance upon the respective
  representations, covenants, terms and conditions herein contained, as well as other good and
  valuable consideration, the receipt of which is hereby acknowledged, the Parties agree as
  follows:

  1.     Settlement Payment

         A.      In exchange for the consideration reflected in this Agreement, XL shall pay Ten
                 Million Dollars ($10,000,000) to AmTrust, for use in the satisfaction of the
                 settlement of AmTrust’s and the Individual Defendants’ obligations under the
                 Consolidated Stockholder Litigation and/or the Martinek Delisting Action (the
                 “Settlement Payment”).

         B.      The Settlement Payment shall be made within fifteen (15) business days of the
                 Effective Date of this Agreement and receipt by XL of a W-9 for the payee of the
                 Settlement Payment, whichever date is later, and in accordance with the wire
                 transfer instructions attached hereto as Exhibit B.

         C.      Upon payment of the Settlement Payment by XL, the Parties acknowledge that:
                 (a) the legal liability and obligations of XL under the XL Policies shall be fully
                 satisfied; (b) the XL Policies shall be deemed fully exhausted and released; and
                 (c) XL shall bear no further obligations, duties, or responsibilities under the XL
                 Policies or for the Claims.

  2.     Releases.

          Upon XL’s payment of the Settlement Payment, the Parties hereby discharge each other
  and their respective affiliates, parents, subsidiaries, predecessors, successors, agents, officers,
  directors, employees, attorneys, reinsurers, representatives and agents, heirs, beneficiaries, and
  assigns and any person acting on his, her or its behalf from any and all claims, actions, causes of
  action, rights or obligations, whether known or unknown, now existing or hereafter arising,
  whether contractual, extra-contractual, in tort or otherwise that the Parties now have or may have
  against each other arising out of, related to, based upon, by reason of, or in any way involving:

         (a)     the XL Policies;

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         (b)     the Claims, or any claim or matter arising from the same “Interrelated Wrongful
                 Acts” (as defined in the 17-24 Indian Harbor Policy) as the Claims (the “Related
                 Claims”); or

         (c)     any claim for misrepresentations, fraud, indemnity, contribution, breach of
                 contract, breach of duty, negligence, “bad faith,” violation of statute or regulation,
                 unfair claims handling, or damages of any kind whatsoever arising out of or
                 relating to the XL Policies or the Claims or the Related Claims, except claims to
                 enforce the terms of this Agreement.

  3.      Express Waiver of Rights by the Parties. This Agreement shall be effective as a full
  and final accord and satisfaction and a general release of the matters released by this Agreement
  except as specifically set forth by the terms of this Agreement. In furtherance of this intention,
  the Parties, for themselves and their respective affiliates, parents, subsidiaries, predecessors,
  successors, agents, officers, directors, employees, attorneys, reinsurers, representatives and
  agents, heirs, beneficiaries, and assigns and any person acting on his, her or its behalf, and each
  of them, expressly waive any and all rights they may have under any statute or provision of
  common law limiting releases of unknown claims.

  4.     Warranties.

         (a)     The Parties represent and warrant that they have not assigned to any other person
                 or entity any claims released pursuant to this Agreement. If, contrary to this
                 representation and warranty, a Party assigns or has assigned such rights to any
                 other person or entity, that Party shall defend, indemnify, and hold harmless the
                 other Party with respect to any claim or action brought by any assignee of any
                 interest assigned contrary to this representation and warranty.

         (b)     Each Party to this Agreement acknowledges that this Agreement is made and
                 executed by such Party’s own free will and in accordance with such Party’s own
                 judgment and upon advice of counsel. No Party has been influenced, coerced, or
                 induced to make this compromise and settlement by improper actions by any
                 other Party.

         (c)     Each of the Parties represents and warrants that he, she or it is authorized to enter
                 into this Agreement; that the execution and delivery of this Agreement and the
                 consummation of this transaction will not conflict with or result in any violation
                 or default under any provision of its articles of incorporation, charter, by-laws or
                 partnership agreement or of any decree, statute, law, ordinance, rule or regulation;
                 and that no further consent, approval, order, authorization or filing with any
                 governmental authority is required in connection with the execution and delivery
                 of this Agreement or the consummation of the transactions described in this
                 Agreement.

         (d)     Each signatory of this Agreement declares, warrants, and represents that he, she
                 or it has general and specific authority to enter into and to execute this
                 Agreement.

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         (e)        Each Party understands, acknowledges, and agrees that if any fact now believed to
                    be true is found to be other than, or different from, that which is now believed,
                    each expressly assumes the risk of such difference and agrees that this Agreement
                    will remain effective notwithstanding any such difference in fact.

  5.       No Admission of Liability. Nothing in this Agreement shall be an admission of any
  liability on the part of any Party to this Agreement.

  6.      Complete Agreement. All agreements and understandings between the Parties are
  embodied in and expressed in this Agreement, and any prior agreements or understandings are
  fully superseded by this Agreement. The Parties acknowledge that, except for those
  representations in the Agreement, no representations have been made to them by any of the other
  Parties to induce the execution of this Agreement.

  7.       Construction of Agreement. The Parties and their counsel each have contributed to this
  Agreement. The language used in this Agreement is language chosen by the Parties to express
  their mutual intent, and no rule of strict construction will be applied against any Party. This
  Agreement shall not be construed against any one Party as drafter and instead shall be construed
  as if all Parties participated equally in the drafting of the Agreement. Each Party agrees that this
  Agreement will be binding on and inure to the benefit of the Parties and any corporation,
  partnership or other entity into which any Party may merge, consolidate, or reorganize. The
  Parties further agree that nothing in this Agreement shall be construed as a waiver or release of,
  or to otherwise affect any obligations that any Party has or may have, with respect to any other
  Party under any other contract, agreement or arrangement, or under applicable law, including,
  but not limited to, any contractual or legal rights to indemnification and advancement of legal
  fees and expenses.

  8.     Modifications. This Agreement shall not be modified, altered, or discharged except by a
  writing signed by each of the Parties.

  9.   Notices. Any notices under this agreement will be delivered via either email or
  commercial overnight delivery as follows:

  If to XL:                                             If to the Insureds:
  Vicky Juliano                                         Michael T. Rasnick
  AXA XL                                                AmTrust Financial Services, Inc.
  100 Constitution Plaza                                59 Maiden Lane, 43rd Floor
  Hartford, CT 06103                                    New York, NY 10038
  vicky.juliano@axaxl.com                               michael.rasnick@amtrustgroup.com

  with a copy to:                                       with a copy to:

  David H. Topol                                        Peter M. Gillon
  Wiley Rein LLP                                        Pillsbury Winthrop Shaw Pittman LLP
  1776 K St NW                                          1200 Seventeenth Street NW
  Washington, DC 20006                                  Washington, DC 200036
  dtopol@wileyrein.com                                  peter.gillon@pillsburylaw.com

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  10.     Counterparts. This Agreement may be executed in two or more counterparts, each of
  which shall be deemed an original, but all of which together shall constitute one and the same
  Agreement. This Agreement shall be effective and finally executed on the date that identical
  counterparts, when taken together bear the signature of all Parties, have been delivered to
  counsel or representatives for all the Parties, either by e-mail or overnight delivery service (the
  “Effective Date”). Copies of all or part(s) of this Agreement, including signature pages which
  are transmitted by e-mail, are valid.

  11.     Headings and Captions. The headings and captions used in this Agreement are for
  convenience only, are not a part of this Agreement, and will not alter or determine any rights or
  obligations under this Agreement.

  12.    Authority of Signatures. The individuals executing this Agreement on behalf of XL,
  AmTrust, Evergreen, and the Individual Defendants represent and warrant that they are
  authorized to enter into and execute this Agreement on behalf of their respective Parties, that the
  appropriate corporate resolutions or other consents have been passed and/or obtained, and that
  this Agreement will be binding on XL, AmTrust, Evergreen, and the Individual Defendants.
  AmTrust and Evergreen further represent and warrant that they are authorized to enter into and
  execute this Agreement on behalf of the Individual Defendants.

                                  [SIGNATURE PAGE FOLLOWS]




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                                           EXHIBIT A

     1. Cambridge Retirement System v. Donald T. DeCarlo, No. 10879-CB (Del. Ch. Ct.);

     2. Cambridge Retirement System v. AmTrust Financial Services, Inc., No. 2019-0829 (Del.
        Ch. Ct.);

     3. In re AmTrust Financial Services, Inc. Derivative Litigation, No. 17-cv-553 (D. Del.);

     4. City of Lauderhill Police Officers Retirement Plan and Pompano Beach Police &
        Firefighters Retirement System et al v. Zyskind et al., No. 17-cv-00843 (D.Del.);

     5. David Shaev Profit Sharing Plan v. Donald T. DeCarlo et al., No. 652273/2017;

     6. In Re AmTrust Financial Services, Inc. Stockholder Litigation, No. 2018-0396-AGB
        (Del. Ch. Ct.) (the “Consolidated Stockholder Litigation”);

     7. Cambridge Retirement System v. Donald D. DeCarlo, No. 2018-0402 (Del. Ch. Ct.);

     8. Arca Investments et al. v. Barry S. Zyskind et al., No. 2019-0144-AGB (Del. Ch. Ct.);

     9. Mark Gottlieb v. Barry D. Zyskind et al., No. 2019-0091 (Del. Ch. Ct.);

     10. Keefe, Bruyette & Woods Inc. v. AmTrust Financial Services, Inc., No. 650695/2019
         (N.Y. Supp. Ct.);

     11. Lonny Matlick et al. v. AmTrust Financial Services., Inc., No. 651349/2019 (N.Y. Sup.
         Ct.); and

     12. Jan Martinek et al. v. AmTrust Financial Services, Inc. et al., No. 19-cv-8030
         (S.D.N.Y.)(the “Martinek Delisting Action”).
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                                            EXHIBIT B

                  AmTrust Financial Services, Inc. Wire Transfer Instructions


  Bank Name          JP Morgan Chase

  Bank Address       270 Park Avenue, New York, NY 10017
  SWIFT Code         CHASUS33
  ABA/Routing #      021000021

  A/C                     6457
  Account Name       AmTrust Financial Services, Inc.
                                       Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 514 of 1049 PageID #: 526

Form
(Rev. October 2018)
                                       W-9                                                  Request for Taxpayer
                                                                                  Identification Number and Certification
                                                                                                                                                                                      Give Form to the
                                                                                                                                                                                      requester. Do not
Department of the Treasury                                                                                                                                                            send to the IRS.
Internal Revenue Service                                                    a   Go to www.irs.gov/FormW9 for instructions and the latest information.
                                       1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.

                                       AmTrust Financial Service, Inc.
                                       2 Business name/disregarded entity name, if different from above
See Specific Instructions on page 3.




                                       3 Check appropriate box for federal tax classification of the person whose name is entered on line 1. Check only one of the    4 Exemptions (codes apply only to
                                         following seven boxes.                                                                                                       certain entities, not individuals; see
                                                                                                                                                                      instructions on page 3):
                                                                                 ✔   C Corporation      S Corporation          Partnership             Trust/estate
                                            Individual/sole proprietor or
                                            single-member LLC                                                                                                         Exempt payee code (if any)                 5
           Print or type.




                                            Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=Partnership) a
                                            Note: Check the appropriate box in the line above for the tax classification of the single-member owner. Do not check Exemption from FATCA reporting
                                            LLC if the LLC is classified as a single-member LLC that is disregarded from the owner unless the owner of the LLC is
                                                                                                                                                                  code (if any)
                                            another LLC that is not disregarded from the owner for U.S. federal tax purposes. Otherwise, a single-member LLC that
                                            is disregarded from the owner should check the appropriate box for the tax classification of its owner.
                                           Other (see instructions) a                                                                                                 (Applies to accounts maintained outside the U.S.)

                                       5 Address (number, street, and apt. or suite no.) See instructions.                                         Requester’s name and address (optional)

                                       800 Superior Ave E, Floor 21
                                       6 City, state, and ZIP code

                                       Cleveland, OH 44114
                                       7 List account number(s) here (optional)


      Part I                                    Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                                                       Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the instructions for Part I, later. For other                                                                 –                  –
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a
TIN, later.                                                                                                                                               or
Note: If the account is in more than one name, see the instructions for line 1. Also see What Name and                                                     Employer identification number
Number To Give the Requester for guidelines on whose number to enter.
                                                                                                                                                            0   4     – 3       1 0         6      3     8      9
   Part II                                      Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me); and
2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am
   no longer subject to backup withholding; and
3. I am a U.S. citizen or other U.S. person (defined below); and
4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding because
you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage interest paid,
acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and generally, payments
other than interest and dividends, you
                                     y are not required
                                                  q      to sign
                                                              g the certification, but you must provide your correct TIN. See the instructions for Part II, later.

Sign                                        Signature of
Here                                        U.S. person a                                                                                      Date a


General Instructions
             uctions                                                                                                     • Form 1099-DIV (dividends,, including those from
                                                                                                                         funds)
                                                                                                                                                                      fr   stocks or mutual

Section references are to the Internal Revenue Code unless otherwise                                                     • Form 1099-MISC (various types of income, prizes, awards, or gross
noted.                                                                                                                   proceeds)
Future developments. For the latest information about developments                                                       • Form 1099-B (stock or mutual fund sales and certain other
related to Form W-9 and its instructions, such as legislation enacted                                                    transactions by brokers)
after they were published, go to www.irs.gov/FormW9.
                                                                                                                         • Form 1099-S (proceeds from real estate transactions)
Purpose of Form                                                                                                          • Form 1099-K (merchant card and third party network transactions)
An individual or entity (Form W-9 requester) who is required to file an                                                  • Form 1098 (home mortgage interest), 1098-E (student loan interest),
information return with the IRS must obtain your correct taxpayer                                                        1098-T (tuition)
identification number (TIN) which may be your social security number                                                     • Form 1099-C (canceled debt)
(SSN), individual taxpayer identification number (ITIN), adoption
taxpayer identification number (ATIN), or employer identification number                                                 • Form 1099-A (acquisition or abandonment of secured property)
(EIN), to report on an information return the amount paid to you, or other                                                  Use Form W-9 only if you are a U.S. person (including a resident
amount reportable on an information return. Examples of information                                                      alien), to provide your correct TIN.
returns include, but are not limited to, the following.                                                                     If you do not return Form W-9 to the requester with a TIN, you might
• Form 1099-INT (interest earned or paid)                                                                                be subject to backup withholding. See What is backup withholding,
                                                                                                                         later.

                                                                                                Cat. No. 10231X                                                                     Form W-9 (Rev. 10-2018)
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                     EXHIBIT Z
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           SETTLEMENT AGREEMENT AND MUTUAL CLAIM/POLICY RELEASE

           This Settlement Agreement and Mutual Claim/Policy Release (the “Agreement”) is made

  and entered into by and between (1) AXIS Insurance Company (“AXIS”) and (2) AmTrust

  Financial Services, Inc., George Karfunkel, Leah Karfunkel, Abraham Gulkowitz, Susan C. Fisch,

  Donald T. DeCarlo, Raul Rivera, Jay Miller, Barry D. Zyskind, and Ronald E. Pipoly, Jr., (the

  “Insureds” 1). AXIS and the Insureds collectively are referred to as the “Parties,” and each,

  individually, as a “Party.” This Agreement will become effective on the final date it is executed

  by all Parties.

           WHEREAS, AXIS issued excess insurance policy number MNN626501/01/2017 (the

  “AXIS Excess Policy”) to the Insureds for the October 21, 2017 to November 29, 2024 Policy

  Period, which provides a $5 million Limit of Liability excess of $5 million provided by Zurich

  Insurance Company excess insurance policy number DOC 1074701-00 (the “Zurich First Excess

  Policy”), which is excess of $5 million provided by Indian Harbor Insurance Company primary

  insurance policy number US0008794DO17A (the “XL Primary Policy”), to which the AXIS

  Excess Policy follows form (the XL Primary Policy and the Zurich First Excess Policy collectively

  are referred to as the “Underlying Insurance”);

           WHEREAS, during the Policy Period, the Insureds provided notice of the following

  lawsuits captioned In re AmTrust Financial Services, Inc. Stockholder Litigation, No. 2018-0396-

  AGB (Del. Ch. Ct.), and Jan Martinek v. AmTrust Financial Services, Inc., et. al., Case No. 1:19-

  cv-8030, U.S. Dist. Ct., S.D.N.Y. (the “Submitted Matters”);

           WHEREAS, the XL Primary Policy and Zurich First Excess Policy have been or will be

  exhausted by payments of Loss; and



  1
      Terms in bold are defined in the AXIS Excess Policy and/or the XL Primary Policy.
                                                    1
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          WHEREAS, the Parties desire to resolve any and all issues between them with respect to

  coverage under the AXIS Excess Policy for the Submitted Matters.

          NOW, THEREFORE, for full and valuable consideration and on the terms, conditions,

  and covenants contained in this Agreement, the receipt and sufficiency of which are hereby

  acknowledged, the Parties agree as follows:

          1.      The AXIS Payment

          Within ten (10) days after complete execution of this Agreement, receipt of wire transfer

  instructions, and completed W-9 Form, AXIS will wire transfer Four Million Five Hundred

  Thousand Dollars and 00/100 cents ($4,500,000.00) to AmTrust in accordance with the wire

  transfer instructions attached hereto as Exhibit A.

          AmTrust will use AXIS’ payment either to pay Loss or Defense Costs incurred in

  connection with the Submitted Matters that exceed the $10 million in collective limits of liability

  under the Underlying Insurance.

          2.      Mutual Releases

          (a) Effective on the date of AXIS’ payment of the AXIS Payment, the Insureds, on behalf

  of themselves and all of their respective officers, directors, employees, agents, shareholders,

  parents, subsidiaries, shareholders, representatives, administrators, successors, heirs, executors,

  estates, beneficiaries, attorneys, and assigns (the “Insured Related Persons and Entities”), do

  hereby release, remise, acquit and forever discharge AXIS and its predecessors and successors in

  interest, affiliates, representatives, subsidiaries, parents, divisions, claims managers, heirs, assigns,

  insurers, reinsurers, shareholders, creditors, liquidators, administrators, executors, former, present

  and future directors and officers, and all employees, principals, attorneys or agents of all of the

  foregoing in their capacity as such (the “AXIS Related Persons and Entities”) of and from any and



                                                     2
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  all claims, actions or causes of action (including without limitation any claims for contract or tort

  damages, punitive damages, fraud, misrepresentation, violation of statute, breach of the duty of

  good faith, extra-contractual damages, and any other damages or loss or other form of relief), debts,

  demands, payments, rights, obligations, loss, judgments, awards, attorneys’ fees, costs, interests,

  damages, liabilities, benefits and causes of action of whatever kind or character, known or

  unknown, suspected, fixed or contingent, past, present, or future, in law or in equity, that they

  have, have had, or may have against AXIS and the AXIS Related Persons and Entities arising out

  of, based upon, relating to, or in any way involving the Submitted Matters, the Wrongful Acts

  alleged in the Submitted Matters or the AXIS Excess Policy.

          (b) Effective on the date of the AXIS Payment, AXIS, on behalf of itself and the AXIS

  Related Parties and Entities, does hereby release, remise, acquit and forever discharge the

  Insureds and the Insured Related Persons and Entities of and from any and all claims, actions or

  causes of action (including without limitation any claims for contract or tort damages, punitive

  damages, fraud, misrepresentation, violation of statute, breach of the duty of good faith, extra-

  contractual damages, and any other damages or loss or other form of relief), debts, demands,

  payments, rights, obligations, loss, judgments, awards, attorneys’ fees, costs, interests, damages,

  liabilities, benefits and causes of action of whatever kind or character, known or unknown,

  suspected, fixed or contingent, past, present, or future, in law or in equity, that they have, have

  had, or may have against the Insureds and the Insured Related Persons and Entities arising out

  of, based upon, relating to, or in any way involving the Submitted Matters, the Wrongful Acts

  alleged in the Submitted Matters or the AXIS Excess Policy.




                                                   3
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         3.      No Assignment

         Each of the Parties represents and warrants that it or he has not sold, assigned or otherwise

  transferred any interest in the claims, demands, rights, actions, causes of action or liabilities that

  are the subject of the releases contained in this Agreement, and each agrees to indemnify and hold

  harmless the other from any liabilities, claims, demands, damages, costs, expenses and/or

  attorneys’ fees incurred as a result of any such assignment or transfer.

         4.      No Admission of Liability or Coverage

         The Parties acknowledge and agree that neither the execution nor the performance of any

  of the terms of this Agreement will constitute or be construed as an admission by either of the

  Parties of any liability, an admission of coverage or lack of coverage under the AXIS Excess

  Policy, or an admission of the validity or enforceability of any matters that are released pursuant

  to this Agreement. The Parties acknowledge and agree that this Agreement will not be taken or

  used, nor will this Agreement be admissible in evidence, in any action, cause of action or

  proceeding, except in an action to enforce the terms of this Agreement.

         5.      Authority & Policy Release

         AXIS and the Insureds each represent and warrant that the individuals executing this

  Agreement are authorized to enter into and execute this Agreement on behalf of their respective

  Parties and that the appropriate corporate resolutions or other consents have been passed and/or

  obtained. This Agreement will be binding on AXIS and the Insureds. AmTrust further warrants

  that it is authorized to provide the policy release of the AXIS Excess Policy on behalf of all

  Insureds.




                                                    4
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         6.      Construction of Agreement

         This Agreement will not be construed against the Party preparing it but will be construed

  as if all Parties had prepared it, and it will not be construed against AXIS merely because AXIS is

  an insurance company. The Parties agree that this Agreement will be binding on and inure to the

  benefit of the Parties and their Related Persons and Entities and any corporation, partnership or

  other entity into which either Party may merge, consolidate or reorganize.

         7.      Entire Agreement

         This Agreement constitutes the entire agreement between the Parties with respect to the

  matters addressed herein and supersedes all prior oral or written agreements that address these

  matters, other than the AXIS Excess Policy. This Agreement cannot be amended, altered or

  modified, except by an instrument in writing signed by both Parties.

         8.      Headings and Captions

         The headings and captions used in this Agreement are for convenience only, are not a part

  of this Agreement, and will not alter or determine any rights or obligations under this Agreement.

         9.      Choice of Law

         This Agreement shall be governed by and construed in accordance with the laws of the

  State of Delaware, without regard to conflict of law principles.

         10.     Execution in Counterparts

         This Agreement may be executed in counterparts, each of which will be deemed an

  original, and both of which, together, will constitute but one and the same instrument, which

  instrument will for all purposes be sufficiently evidenced by either counterpart. A pdf, DocuSign

  or other electronic signature shall be deemed the same as, and the equivalent of, an original

  signature.



                                                   5
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         IN WITNESS WHEREOF, each of the undersigned Parties has caused this Agreement to

  be duly executed on its behalf.


                                                 AXIS INSURANCE COMPANY
                                                                       Digitally signed by: Magedoff, Ari


           6/8/2021                                  Magedoff, Ari     DN: CN = Magedoff, Ari email = ari.
                                                                       magedoff@axiscapital.com OU = ClientsV2,

                                                 By: ____________________________
                                                                       BerkeleyHeights, Users
                                                                       Date: 2021.06.08 14:09:27 -04'00'


   Dated: ____________________________              Head of Management Liability Claims
                                                 Its: ____________________________



                                                 AMTRUST FINANCIAL SERVICES, INC.


                                                 By: ____________________________
   Dated: ____________________________
                                                 Its: ____________________________




                                             6
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                                           EXHIBIT A

                  AmTrust Financial Services, Inc. Wire Transfer Instructions

  Bank Name         JP Morgan Chase

  Bank Address      270 Park Avenue, New York, NY 10017
  SWIFT Code        CHASUS33
  ABA/Routing #     021000021

  A/C                    6457
  Account Name      AmTrust Financial Services, Inc.
                                       Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 524 of 1049 PageID #: 536

Form
(Rev. October 2018)
                                       W-9                                                  Request for Taxpayer
                                                                                  Identification Number and Certification
                                                                                                                                                                                      Give Form to the
                                                                                                                                                                                      requester. Do not
Department of the Treasury                                                                                                                                                            send to the IRS.
Internal Revenue Service                                                    a   Go to www.irs.gov/FormW9 for instructions and the latest information.
                                       1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.

                                       AmTrust Financial Service, Inc.
                                       2 Business name/disregarded entity name, if different from above
See Specific Instructions on page 3.




                                       3 Check appropriate box for federal tax classification of the person whose name is entered on line 1. Check only one of the    4 Exemptions (codes apply only to
                                         following seven boxes.                                                                                                       certain entities, not individuals; see
                                                                                                                                                                      instructions on page 3):
                                                                                 ✔   C Corporation      S Corporation          Partnership             Trust/estate
                                            Individual/sole proprietor or
                                            single-member LLC                                                                                                         Exempt payee code (if any)                 5
           Print or type.




                                            Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=Partnership) a
                                            Note: Check the appropriate box in the line above for the tax classification of the single-member owner. Do not check Exemption from FATCA reporting
                                            LLC if the LLC is classified as a single-member LLC that is disregarded from the owner unless the owner of the LLC is
                                                                                                                                                                  code (if any)
                                            another LLC that is not disregarded from the owner for U.S. federal tax purposes. Otherwise, a single-member LLC that
                                            is disregarded from the owner should check the appropriate box for the tax classification of its owner.
                                           Other (see instructions) a                                                                                                 (Applies to accounts maintained outside the U.S.)

                                       5 Address (number, street, and apt. or suite no.) See instructions.                                         Requester’s name and address (optional)

                                       800 Superior Ave E, Floor 21
                                       6 City, state, and ZIP code

                                       Cleveland, OH 44114
                                       7 List account number(s) here (optional)


      Part I                                    Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                                                       Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the instructions for Part I, later. For other                                                                 –                  –
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a
TIN, later.                                                                                                                                               or
Note: If the account is in more than one name, see the instructions for line 1. Also see What Name and                                                     Employer identification number
Number To Give the Requester for guidelines on whose number to enter.
                                                                                                                                                            0   4     – 3       1 0         6      3     8      9
   Part II                                      Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me); and
2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am
   no longer subject to backup withholding; and
3. I am a U.S. citizen or other U.S. person (defined below); and
4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding because
you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage interest paid,
acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and generally, payments
other than interest and dividends, you
                                     y are not required
                                                  q      to sign
                                                              g the certification, but you must provide your correct TIN. See the instructions for Part II, later.

Sign                                        Signature of
Here                                        U.S. person a                                                                                      Date a


General Instructions
             uctions                                                                                                     • Form 1099-DIV (dividends,, including those from
                                                                                                                         funds)
                                                                                                                                                                      fr   stocks or mutual

Section references are to the Internal Revenue Code unless otherwise                                                     • Form 1099-MISC (various types of income, prizes, awards, or gross
noted.                                                                                                                   proceeds)
Future developments. For the latest information about developments                                                       • Form 1099-B (stock or mutual fund sales and certain other
related to Form W-9 and its instructions, such as legislation enacted                                                    transactions by brokers)
after they were published, go to www.irs.gov/FormW9.
                                                                                                                         • Form 1099-S (proceeds from real estate transactions)
Purpose of Form                                                                                                          • Form 1099-K (merchant card and third party network transactions)
An individual or entity (Form W-9 requester) who is required to file an                                                  • Form 1098 (home mortgage interest), 1098-E (student loan interest),
information return with the IRS must obtain your correct taxpayer                                                        1098-T (tuition)
identification number (TIN) which may be your social security number                                                     • Form 1099-C (canceled debt)
(SSN), individual taxpayer identification number (ITIN), adoption
taxpayer identification number (ATIN), or employer identification number                                                 • Form 1099-A (acquisition or abandonment of secured property)
(EIN), to report on an information return the amount paid to you, or other                                                  Use Form W-9 only if you are a U.S. person (including a resident
amount reportable on an information return. Examples of information                                                      alien), to provide your correct TIN.
returns include, but are not limited to, the following.                                                                     If you do not return Form W-9 to the requester with a TIN, you might
• Form 1099-INT (interest earned or paid)                                                                                be subject to backup withholding. See What is backup withholding,
                                                                                                                         later.

                                                                                                Cat. No. 10231X                                                                     Form W-9 (Rev. 10-2018)
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                  EXHIBIT CC
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 526 of 1049 PageID #: 538
                                                   EFiled: Apr 07 2015 12:04PM EDT
                                                   Transaction ID 57000168
                                                   Case No. 10879-

     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

  CAMBRIDGE RETIREMENT
  SYSTEM, derivatively on behalf of
  nominal defendant AMTRUST
  FINANCIAL SERVICES, INC.,

                   Plaintiff,

             v.                            C.A. No. __________

  DONALD D. DECARLO, SUSAN C.
  FISCH, ABRAHAM GULKOWITZ,
  GEORGE KARFUNKEL, MICHAEL
  KARFUNKEL, JAY J. MILLER,
  BARRY ZYSKIND, LEAH
  KARFUNKEL, and ACP RE, LTD.,

                      Defendants,

             and

  AMTRUST FINANCIAL SERVICES,
  INC., a Delaware corporation,

                   Nominal Defendant.


          VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT

  YOU ARE IN POSSESSION OF A CONFIDENTIAL FILING FROM THE
  COURT OF CHANCERY OF THE STATE OF DELAWARE

  If You Are Not Authorized By Court Order To View Or Retrieve This Document
  Read No Further Than This Page. You Should Contact The Following Person(s):



  THIS DOCUMENT IS A CONFIDENTIAL FILING. ACCESS IS PROHIBITED
             EXCEPT AS AUTHORIZED BY THE COURT.
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  OF COUNSEL:                               Christine S. Azar (#4170)
                                            Ned Weinberger (#5256)
  Christopher J. Keller                     LABATON SUCHAROW LLP
  Eric J. Belfi                             300 Delaware Ave., Suite 1340
  Michael W. Stocker                        Wilmington, DE 19801
  LABATON SUCHAROW LLP                      (302) 573-2540
  140 Broadway
  New York, NY 10005                        Counsel for Plaintiff
  (212) 907-0700

  Jeremy Friedman
  Spencer Oster
  FRIEDMAN OSTER PLLC
  240 East 79th Street, Suite A
  New York, NY 10075
  Tel: (888) 529-1108

  Counsel for Plaintiff

  Dated: April 7, 2015



  A public version of this document will be filed on or before April 10, 2015.




                              -2-
  THIS DOCUMENT IS A CONFIDENTIAL FILING. ACCESS IS PROHIBITED
             EXCEPT AS AUTHORIZED BY THE COURT.
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     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

  CAMBRIDGE RETIREMENT
  SYSTEM, derivatively on behalf of
  nominal defendant AMTRUST
  FINANCIAL SERVICES, INC.,

                    Plaintiff,

              v.                              C.A. No. __________

  DONALD D. DECARLO, SUSAN C.
  FISCH, ABRAHAM GULKOWITZ,
  GEORGE KARFUNKEL, MICHAEL
  KARFUNKEL, JAY J. MILLER,
  BARRY ZYSKIND, LEAH
  KARFUNKEL, and ACP RE, LTD.,

                       Defendants,

              and

  AMTRUST FINANCIAL SERVICES,
  INC., a Delaware corporation,

                    Nominal Defendant.


          VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT

        Plaintiff Cambridge Retirement System (“Cambridge” or “Plaintiff”), for the

  benefit of nominal defendant AmTrust Financial Services, Inc. (“AmTrust” or the

  “Company”), brings the following Verified Stockholder Derivative Complaint (the

  “Complaint”) against the members of the board of directors of AmTrust (the
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  “Board” or “AmTrust Board”), ACP Re, Ltd. (“ACP”), and Leah Karfunkel. The

  allegations of the Complaint are based on the knowledge of Plaintiff as to itself,

  and on information and belief, including the investigation of counsel and review of

  publicly available information and internal Company documents produced in

  response to Plaintiff’s demands for the inspection of books and records pursuant to

  Section 220 of the Delaware General Corporation Law (the “Section 220

  Demand”), as to all other matters.

                                   INTRODUCTION

        1.    This case arises from a usurpation of corporate opportunity by

  AmTrust’s controlling stockholder group, the Karfunkel Family,1 in connection

  with a series of transactions involving property and casualty insurer Tower Group

  International, Ltd. (“Tower”).

        2.    AmTrust is a property and casualty insurer that was founded by

  members of the Karfunkel Family. As of March 25, 2015, the Karfunkel Family

  owned approximately 51.8% of AmTrust’s outstanding common stock.

  Furthermore, members of the Karfunkel Family – specifically, Michael Karfunkel

  and his son-in-law Zyskind – currently occupy the Company’s Board Chairman
  1
   As used herein, the “Karfunkel Family” means George Karfunkel, Michael
  Karfunkel, Leah Karfunkel, and Barry Zyskind (“Zyskind”), collectively.

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  and Chief Executive Officer (“CEO”) positions, respectively.             A majority of

  AmTrust’s seven-member Board also consists of either Karfunkel Family members

  – including Zyskind, Michael Karfunkel, and Michael Karfunkel’s younger brother

  George Karfunkel – or their loyalists.

          3.     In the fall of 2013, AmTrust submitted a letter of intent to acquire

  then-struggling property and casualty insurer, Tower. Shortly thereafter, however,

  members of the Karfunkel Family unilaterally decided that AmTrust would

  withdraw its bid and that ACP, a Bermuda insurer owned by The Michael

  Karfunkel 2005 Grantor Retained Annuity Trust (the “Michael Karfunkel Trust”),2

  would buy Tower instead.

          4.     After ACP submitted an offer for Tower, AmTrust’s CEO and

  member of the Karfunkel Family, Zyskind, informed the Board that AmTrust

  would no longer be pursuing the Tower transaction and that AmTrust management

  now contemplated that Zyskind’s father-in-law’s company, ACP, would pursue the

  acquisition in AmTrust’s stead.

          5.      Following only approximately one hour of deliberation, and based

  solely on representations by the plainly conflicted Zyskind that an AmTrust

  2
      Leah Karfunkel is the sole trustee of the Michael Karfunkel Trust.

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  acquisition of Tower would purportedly be undesirable for the Company, the

  Board approved the Karfunkel Family’s purchase of Tower through ACP. As

  explained below, that purchase included a series of other related transactions,

  including AmTrust’s purchase from ACP of Tower’s commercial lines insurance

  business upon closing of the ACP/Tower acquisition.

        6.    In light of, among other things, AmTrust’s prior interest in acquiring

  Tower and its financial ability to consummate a purchase, ACP’s purchase of

  Tower constituted a usurpation of AmTrust’s corporate opportunity. Similarly, the

  AmTrust Board breached its fiduciary duties by (a) failing to meaningfully explore

  whether an acquisition of Tower by AmTrust remained in the Company’s best

  interests, and (b) relying solely on the representations of a conflicted executive

  whose family was simultaneously competing with AmTrust for the opportunity to

  acquire Tower.

        7.    Following the execution of the transaction documents, members of the

  Karfunkel Family continued to work largely outside of the Board’s view to modify

  the deal terms to their benefit. Among other things, members of the Karfunkel

  Family dictated that AmTrust and National General Holdings Corp. (“NGHC”),

  another public company affiliated with Karfunkel Family, would loan ACP $250


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  million to facilitate ACP’s acquisition of Tower. With little to no meaningful

  deliberation, the AmTrust Board rubber-stamped the revised transaction structure.

        8.     Although the Board ultimately retained a financial advisor, the

  advisor’s mandate was effectively limited to assisting the Board in setting the

  specific terms (e.g., the interest rate) for the massive related-party loan to ACP.

        9.     The Karfunkel Family’s abuse of AmTrust, and the Board’s

  acquiescence thereto, continued. For instance, the Karfunkel Family was able to

  negotiate a purchase price reduction from Tower. Instead of passing along some or

  all of the cost savings to AmTrust (i.e., the publicly-traded entity from which the

  Karfunkel Family had misappropriated the opportunity in the first instance), the

  Karfunkel Family sought a potential additional payment from AmTrust in the form

  of an “earn-out.”

        10.    As with the other aspects of the Tower-related transactions, the

  AmTrust Board indulged the Karfunkel Family and ultimately agreed to provide

  ACP an “earn-out” payment of up to $30 million.

        11.    Through this action, Plaintiff seeks to hold (a) the Karfunkel Family

  accountable for their breaches of fiduciary duty, including their usurpation of

  AmTrust’s corporate opportunity, in their capacity as AmTrust’s controlling


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  stockholder; and (b) the AmTrust Board accountable for their breaches of fiduciary

  duty.

                                    THE PARTIES

          12.   Plaintiff Cambridge is a stockholder of AmTrust and has owned

  shares of AmTrust continuously at all times relevant to this action.

          13.   Nominal defendant AmTrust underwrites and provides property and

  casualty insurance products, including workers’ compensation, commercial

  automobile, general liability and extended service and warranty coverage, in the

  United States and internationally, to niche customer groups.           AmTrust is

  headquartered at 59 Maiden Lane, New York, NY, 10038. AmTrust’s common

  stock is listed on the NASDAQ Global Select Market (“NASDAQ”) under the

  symbol “AFSI.”

          14.   Defendant Donald D. DeCarlo (“DeCarlo”) has served as a member of

  the AmTrust Board since 2006.         DeCarlo also serves on NGHC’s board of

  directors.

          15.   Defendant Susan C. Fisch (“Fisch”) has served as a member of the

  AmTrust Board since 2010.

          16.   Defendant Abraham Gulkowitz (“Gulkowitz”) has served as a


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  member of the AmTrust Board since 2006.

        17.   Defendant George Karfunkel has served as a member of the AmTrust

  Board since 1998. George Karfunkel is one of the co-founders of AmTrust. As of

  March 25, 2015, George Karfunkel beneficially owned 16,419,204 shares, or

  20.0%, of the Company’s outstanding common stock.         George Karfunkel is

  Michael Karfunkel’s younger brother.

        18.   Defendant Michael Karfunkel has served as Chairman of the AmTrust

  Board since 1998. Michael Karfunkel is one of the co-founders of AmTrust. As of

  March 25, 2015, Michael Karfunkel beneficially owned 1,096,412 shares, or 1.3%,

  of the Company’s outstanding common stock. Michael Karfunkel is also currently

  the Chairman, President and CEO of NGHC. Additionally, the Michael Karfunkel

  Trust owns 99% of the outstanding stock of ACP’s parent company.3 Michael

  Karfunkel is George Karfunkel’s brother, Leah Karfunkel’s husband, and

  Zyskind’s father-in-law.

        19.   Defendant Jay Miller (“Miller”) has served as a member of the

  AmTrust Board since 1998 and was AmTrust’s corporate secretary (without

  compensation) from 1998 to 2005. Miller also serves as a director of several of
  3
   ACP is 100% owned by ACP Re Holdings, LLC, which is 99.9% owned by the
  Michael Karfunkel Trust.

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  AmTrust’s wholly-owned subsidiaries, including Security National Insurance

  Company, Technology Insurance Company, AmTrust North America of Florida

  Inc. and AmTrust North America of Texas Inc.         Additionally, Miller is the

  Chairman of the board of directors of Gulf USA Corporation, a property and

  natural resource company controlled by the Karfunkels. Furthermore, Miller is the

  trustee of The George Karfunkel 2007 Grantor Retained Annuity Trust #1 and The

  George Karfunkel 2007 Grantor Retained Annuity Trust #2 (together, the “George

  Karfunkel Trusts”). Moreover, Miller serves as an advisor to GK Acquisition, a

  private investment company co-founded by George Karfunkel.

        20.   Defendant Zyskind has served as a director of the Company since

  1998 and currently serves as AmTrust’s CEO and President. Zyskind has held

  senior management positions with the Company since 1998. Zyskind also serves

  as an officer and director of many of AmTrust’s wholly-owned subsidiaries.

  Zyskind is a member of NGHC’s board of directors.           Zyskind is Michael

  Karfunkel and Leah Karfunkel’s son-in-law. As of March 25, 2015, Zyskind

  beneficially owned 15,058,164 shares, or 18.3%, of the Company’s outstanding

  common stock.

        21.   The defendants listed in paragraphs 14 through 20 above are


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  collectively referred to herein as the “Director Defendants.”

        22.    Defendant Leah Karfunkel is a member of AmTrust’s controlling

  stockholder group, the Karfunkel Family. Leah Karfunkel is the wife of Michael

  Karfunkel. As of March 25, 2015, Leah Karfunkel beneficially owned 10,029,637

  shares – or 12.2% – of the Company’s outstanding common stock.

        23.    Defendant ACP is a Bermuda insurer owned by the Michael

  Karfunkel Trust.

                          SUBSTANTIVE ALLEGATIONS

  I.    History of AmTrust

        24.    Brothers George Karfunkel and Michael Karfunkel, along with

  AmTrust’s CEO and Michael Karfunkel’s son-in-law, Zyskind, founded AmTrust

  in 1998 to provide property and casualty insurance to small businesses. Through a

  combination of acquisitions and organic growth, AmTrust grew into a

  multinational property and casualty insurer specializing in coverage for small to

  mid-sized businesses.

        25.    In November 2006, AmTrust conducted its initial public offering and

  began trading on the NASDAQ under the symbol “AFSI.”

        26.    AmTrust continues to be controlled by the Karfunkel Family.


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  According to the Company’s Form 10-K filed with the U.S. Securities and

  Exchange Commission (“SEC”) on March 2, 2015 (the “2015 10-K”):

        Based on the number of shares outstanding as of December 31, 2014,
        Barry D. Zyskind, Michael Karfunkel, Leah Karfunkel (wife of
        Michael Karfunkel and sole trustee of the Trust) and George
        Karfunkel [i.e., the Karfunkel Family], directly or indirectly,
        collectively own or control approximately 57% of our outstanding
        common stock.4 As a result, these stockholders, acting together, have
        the ability to control all matters requiring approval by our
        stockholders, including the election and removal of directors,
        amendments to our certificate of incorporation and bylaws, any
        proposed merger, consolidation or sale of all or substantially all of our
        assets and other corporate transactions. These stockholders may have
        interests that are different from other stockholders. In addition, we
        are a “controlled company” as defined in NASDAQ Listing Rule
        5615(c).

        27.   Similarly, the Company’s annual meeting proxy statement filed with

  the SEC on March 31, 2015 (the “2015 Proxy”) states:

        We are a “controlled company” as defined in Rule 5615(c)(1) of
        NASDAQ’s listing standards because George Karfunkel, Michael
        Karfunkel, Leah Karfunkel and Barry Zyskind, directly or indirectly,
        collectively beneficially own or control approximately 51.8% of our
        voting power . . . Therefore, we are exempt from the requirements of
        NASDAQ Marketplace Rule 5605[.]

  (Emphasis added)

        28.   In addition to the Karfunkel Family’s majority equity stake, they also
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   Between December 31, 2014 and March 25, 2015, the Karfunkel Family’s
  collective ownership stake in AmTrust decreased from 57% to 51.8%.
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  occupy a number of the Company’s most powerful and influential positions,

  including the following:

               a.    Zyskind is the Company’s CEO and President;

               b.    Michael Karfunkel is the Board’s Chairman;

               c.    Michael Karfunkel and George Karfunkel, together with
                     Zyskind, form the Board’s Executive Committee; and

               d.    Michael Karfunkel and Miller, a longtime Karfunkel
                     Family associate and advisor, comprise two-thirds of the
                     Board’s Nominating and Corporate Governance
                     Committee.

        29.    The Company also engages in a number of related-party transactions

  with the Karfunkel Family and entities they control or in which they have a

  significant interest, all of which constitute further indicia of control over AmTrust

  and its operations. These related-party transactions include:

               a.    Various reinsurance and service agreements between
                     AmTrust      and      Maiden      Holdings,    Ltd.
                     (“Maiden”). Maiden is a publicly-held Bermuda
                     insurance holding company formed by Michael
                     Karfunkel, George Karfunkel, and Zyskind.      The
                     Karfunkel Family owns roughly 30% of Maiden.

               b.    AmTrust leases its New York headquarters from 59
                     Maiden Lane Associates, LLC, an entity that is wholly-
                     owned by Michael Karfunkel and George Karfunkel.

               c.    The Company provides NGHC and its affiliates with
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                    information technology development services.

              d.    AmTrust provides investment management services to
                    ACP, as well as accounting and administrative services.

              e.    The Company’s wholly-owned subsidiary, AmTrust
                    Underwriters, Inc. (“AUI”), is a party to an aircraft time
                    share agreement with each of Maiden and NGHC. For
                    personal travel, Zyskind and Michael Karfunkel each
                    entered into an aircraft reimbursement agreement with
                    AUI.

  II.   Tower’s Struggles Push            The     Company’s        Stock
        Price To Bargain Levels

        30.   Prior to 2013 (and ACP’s acquisition of Tower), Tower was a

  publicly-traded, diversified casualty and property insurance company that was

  highly regarded within the industry and broader market.

        31.   On August 7, 2013, Tower announced that it was indefinitely

  suspending the release of its second quarter 2013 earnings. As a result, insurance

  rating agency A.M. Best placed Tower “under review” and indicated it would treat

  the announcement negatively. At or around the same time, Tower began exploring

  its strategic alternatives and retained J.P. Morgan to serve as its lead financial

  advisor.

        32.   On September 23, 2013, Tower entered into various reinsurance

  agreements to reduce its exposure to adverse loss development.
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         33.   On October 5, 2013, Tower’s board of directors publicly expressed

  concern over the company’s liquidity, capital, and business prospects.

         34.   On October 7, 2013, Tower announced a goodwill impairment charge

  of $215 million, and stated its intention to increase loss reserves by $365 million.

  Also on October 7, 2013, Fitch Ratings downgraded Tower’s issuer default rating

  from “BBB” to “B,” and reduced Tower’s operating subsidiaries’ insurer financial

  strength ratings from “A-” to “BB”.

         35.   On October 8, 2013, A.M. Best downgraded the financial strength

  rating of Tower’s insurance subsidiaries from A- (Excellent) to B++ (Good), and

  issuer credit ratings from “a-” to “bbb.” A.M. Best also downgraded the issuer

  credit rating and debt rating for Tower’s Convertible Notes from “bbb-” to “bb”.

         36.   Under heavy pressure from the ratings downgrades, Tower’s stock

  price tumbled. Between October 7, 2013 and October 8, 2013, Tower’s stock price

  declined from $7.41 per share to $4.39 per share, a decrease of 40.8%.

  III.   Tower’s Troubles Pique AmTrust’s Interest

         37.   On or around October 31, 2013, AmTrust submitted a letter of intent

  to Tower contemplating (a) the sale of two of Tower’s insurance subsidiaries (the

  “Tower Subsidiaries”) to AmTrust in exchange for cash consideration of $50


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  million, (b) a $100 million preferred stock investment by AmTrust in Tower, and

  (c) a managing general agent (“MGA”) agreement between Tower and the two

  Tower Subsidiaries, pursuant to which the Tower Subsidiaries would exclusively

  write business produced by Tower.

        38.    On November 5, 2013, the AmTrust Board convened a regularly-

  scheduled meeting, during which Zyskind reported on discussions with Tower.

  The meeting minutes, however, do not indicate that the Board engaged in any

  discussion   or   deliberation   concerning   the   potential   Tower   transaction.

  Furthermore, as explained below, the Board would not meet again until after

  AmTrust management (i.e., members of the Karfunkel Family) had already (a)

  submitted two revised proposals to acquire Tower and (b) ultimately determined to

  drop its bid entirely for Tower in favor of ACP.

        39.    On November 14, 2013, Tower announced its intention to restate its

  financial statements for 2011 and 2012 in order to fix accounting errors in the

  company’s premium balances. Tower also expressed doubt that it would be able to

  continue as a “going concern.”

        40.    The struggling company revealed that Tower’s management had

  “concluded . . . that material weaknesses exist in internal control over financial


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  reporting related to the company’s loss reserving and premiums receivable

  reconciliation processes,” and expressed doubt that it would be able to continue as

  a “going concern.”     Tower concluded that “its internal control over financial

  reporting was not effective as of Dec. 31, 2012 and disclosure controls procedures

  were not effective as of Dec. 31, 2012.”

        41.    On November 22, 2013, Tower announced a net loss for the second

  quarter of 2013 of over $507 million, driving the Company’s stock price below $4

  per share. Tower therefore was in an extremely vulnerable position and “ripe” for

  a takeover at a heavily distressed price.

        42.    AmTrust management subsequently decided to revise the Company’s

  proposal to Tower. On November 28, 2013, AmTrust’s CEO, Zyskind, indicated

  to Tower (and in separate conversations, to Tower’s advisors at J.P. Morgan) that

  AmTrust would be interested in an acquisition of Tower in its entirety.

        43.    On December 2, 2013, AmTrust submitted a letter of intent to acquire

  Tower. AmTrust’s letter of intent reflected a proposal for AmTrust to acquire

  Tower for $5.50 per share.

        44.    During the course of the following week, AmTrust conducted several

  due diligence sessions with representatives from Tower and J.P. Morgan.


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         45.   On December 5, 2013, AmTrust provided a revised letter of intent that

  expressly permitted Tower to consummate the sale of its stake in Canopius Group

  Limited and thus exclude that asset from AmTrust’s acquisition of Tower.

         46.   On December 10, 2013, AmTrust sent Tower a draft merger

  agreement.

         47.   In a sudden turn of events, on December 12, 2013, AmTrust

  management, led by Karfunkel Family member Zyskind, decided to withdraw

  AmTrust’s indication of interest in acquiring Tower. Documents produced in

  response to Plaintiff’s Section 220 Demand indicate that this decision was never

  considered – much less approved – by any independent directors. Nevertheless,

  management proceeded to advise Tower that the Company was withdrawing its

  bid.

  IV.    Tower’s Stock Price Continues To Slide, Making A Potential
         Acquisition Of Tower By AmTrust Even More Attractive

         48.   On December 17, 2013, Tower indicated that it would increase its loss

  reserves for the third quarter of 2013. On December 20, 2013, A.M. Best again

  downgraded Tower’s credit rating.

         49.   By December 20, 2013, Tower was trading at $2.65 per share—a 35%

  decrease from its trading price when AmTrust submitted its December 2, 2013
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  letter of intent to acquire Tower for $5.50 per share. Thus, over the course of just a

  few weeks, an acquisition of Tower took on a whole new investment profile, as its

  market capitalization had dropped significantly. At this point, the AmTrust Board

  should have revisited the possibility of acquiring Tower outright, as the target

  company was now seemingly available at a fraction of the price it could have

  commanded just weeks earlier.

        50.    But the AmTrust Board never did. To the contrary, as indicated

  below, by the time the Board finally reconvened, AmTrust management, without

  Board knowledge or approval, had already agreed to forgo an acquisition of Tower

  and had begun to facilitate an alternative transaction between the Karfunkel

  Family-owned ACP and Tower.

  V.    The Karfunkel Family Usurps A Corporate Opportunity
        From AmTrust

        51.    Leveraging the information gathered while evaluating Tower as a

  potential acquisition target on behalf of the Company, members of the Karfunkel

  Family formulated their own bid for Tower in December 2013. According to

  Tower’s public SEC filings, sometime before December 29, 2013, Zyskind told

  J.P. Morgan that AmTrust intended to immediately withdraw its existing proposal,

  and that ACP proposed to acquire Tower for $3.00 per share instead. The proposal
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  included reinsurance side agreements with AmTrust and NGHC that, at that time,

  had been neither deliberated upon nor authorized by the AmTrust Board.

        52.   On December 30, 2013, Tower’s counsel sent ACP a draft merger

  agreement that was merely a revised version of the draft agreement AmTrust had

  sent to Tower weeks earlier when AmTrust had proposed acquiring the company.

        53.   Also on December 30, 2013, Zyskind finally (and simultaneously)

  informed the Board about (a) AmTrust’s withdrawal of its bid to acquire Tower

  and (b) ACP’s pending bid to acquire Tower. Specifically, during a telephonic

  Board meeting that lasted only 25 minutes, Zyskind reported that, through due

  diligence, management had purportedly become concerned about an acquisition of

  Tower. As a result, management contemplated that ACP – not AmTrust – would

  acquire Tower, and that AmTrust would then purchase certain assets of Tower

  directly from ACP upon ACP’s acquisition of the insurer.

        54.   By presenting this information to the Board after (a) AmTrust had

  withdrawn its bid and (b) ACP had tendered its proposal to Tower, Zyskind and

  members of the Karfunkel Family effectively deprived the Board of the ability to

  (c) determine whether an acquisition of Tower, particularly in light of its

  plummeting stock price, still presented a value proposition for AmTrust and (d)


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  explore alternative transaction structures that did not contemplate the Karfunkel

  Family’s entity, ACP, acquiring Tower.

        55.   At the conclusion of the December 30, 2013 meeting, the Board

  approved AmTrust senior management’s (i.e., Zyskind’s) continuation of

  negotiations with Tower.

        56.   The AmTrust Board met again on January 3, 2014. The meeting

  lasted for approximately fifteen minutes.     Zyskind explained that ACP would

  acquire Tower for $3.00 per share and that AmTrust and NGCH would then

  acquire Tower’s underlying commercial lines and personal lines businesses,

  respectively, from Tower. Zyskind expected that AmTrust would pay between

  $100 million and $125 million for the asset purchase.

        57.   At the end of the meeting, Zyskind asked each Board member to offer

  any opinions before the full Board made a recommendation to the AmTrust Audit

  Committee.5 With three members of the Karfunkel Family (George Karfunkel,

  Michael Karfunkel, and Zyskind) and AmTrust’s senior management team in

  attendance, this was an unacceptable substitute for independent deliberation.

        58.   Immediately after the Board meeting concluded, a 15-minute Audit
  5
   The AmTrust Audit Committee consists of directors DeCarlo, Fisch, and
  Gulkowitz.

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  Committee meeting commenced. Karfunkel Family member Zyskind explained

  that AmTrust purportedly could not acquire Tower directly, but expected that the

  Company could ultimately purchase Tower’s statutory companies from ACP for

  $100 million to $125 million.

        59.   Despite the fact that (a) the Audit Committee had only recently

  learned about the Company’s withdrawal of its bid for Tower and ACP’s substitute

  offer, and (b) the Audit Committee’s only source of information was a member of

  the Karfunkel Family who was directly interested in the transaction, the Audit

  Committee failed to hit the “pause button” or seek to play an active role in the

  conflicted process. According to minutes produced by the Company, the Audit

  Committee did not even inquire about retaining independent legal or financial

  advisors to help determine whether it was actually unadvisable for AmTrust to

  acquire Tower, or whether an acquisition of Tower by AmTrust – as opposed to

  ACP – for $3.00 per share would have been in the best interest of the Company.6

  Instead, the Audit Committee simply approved the transaction structure as fed to it


  6
    Indeed, if an acquisition of Tower by AmTrust for $5.50 per share was
  compelling in early December 2013, it is reasonable to assume that an acquisition
  of Tower by AmTrust for $3.00 per share would have been compelling
  approximately one month later.

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  by Zyskind.7

        60.      Indeed, the Audit Committee was obligated to, but did not, take steps

  to confirm that abandoning a potential acquisition of Tower and ceding it to

  AmTrust’s controlling stockholder was in the best interests of the Company.

  Instead, the Audit Committee relied entirely on the conflicted Karfunkel Family as

  their sole source of information and guidance.

        61.      On January 3, 2014, ACP and Tower executed a merger agreement

  (the “Original Merger Agreement”) for ACP to acquire all of Tower for $3.00 per

  share, which valued Tower at approximately $172.1 million. Concurrently with

  execution of the Original Merger Agreement, AmTrust and ACP entered into a

  commercial lines stock and asset purchase agreement (the “CL SPA”), by which

  AmTrust agreed to purchase from ACP the renewal rights and certain other assets

  related to Tower’s commercial lines insurance operations (“Commercial Lines

  7
    Any argument that an acquisition of Tower by AmTrust was too risky or that an
  acquisition was not financially attractive is undercut by the fact that the Karfunkel
  Family was eager to acquire Tower in its entirety in their personal capacity. Had
  the Karfunkel Family truly believed that acquiring Tower for $3.00 per share
  represented a losing proposition, the Karfunkel Family would not have agreed to
  acquire Tower through a vehicle in which they hold 100% of the equity. The
  reality is that the Karfunkel Family realized that Tower represented a tremendous
  opportunity and they wanted to divert a larger percentage of the potential upside to
  themselves.

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  Assets”), including certain of Tower’s U.S.-domiciled insurance companies, for a

  purchase price equal to the tangible book value of the companies, which was

  expected to be $125 million.

        62.   In connection with the entry into the CL SPA with AmTrust, ACP

  also entered into a personal lines stock and asset purchase agreement (the “PL

  SPA”) with NGHC, by which NGHC agreed to purchase from ACP the renewal

  rights and certain other assets related to Tower’s personal lines insurance

  operations (“Personal Lines Assets”), including certain of Tower’s U.S.-domiciled

  insurance companies, for a purchase price equal to the tangible book value of the

  companies, which also was anticipated to be $125 million.

  VI.   Members Of The Karfunkel Family Work To Restructure
        The Terms Of The Tower Transaction Outside Of The
        AmTrust Board’s View

        63.   Over the next several months, the Karfunkel Family considered

  potential changes to the structure and financing of ACP’s acquisition of Tower.

  Despite the impact of these potential changes on AmTrust, members of the

  Karfunkel Family neglected to raise them at the February 2014 and March 2014

  AmTrust Board meetings.

        64.   On April 7, 2014, Zyskind finally informed the Audit Committee that


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  the Karfunkel Family had decided to modify the deal structure for ACP’s

  acquisition of Tower. Zyskind proposed a new structure whereby ACP would

  purchase Tower and all of its subsidiaries, but the Company would retain the

  renewal rights. The revised structure called for the Company to finance ACP’s

  acquisition through a loan.

        65.    After meeting for less than half an hour – and without the benefit of

  independent financial or legal advisors, or even any prepared materials – the Audit

  Committee somehow determined that it was in the best interests of the Company

  and its unaffiliated stockholders to approve and proceed with the newly-structured

  transaction with ACP.     The Audit Committee also agreed to the Company’s

  termination of the stock and asset purchase agreement, its entry into the master

  agreement, and an AmTrust loan to ACP of up to $125 million.

        66.    The very next day, AmTrust, ACP, and NGHC agreed to revise the

  transaction structure. Under the terms of the new arrangement, AmTrust, ACP and

  NGHC agreed that (a) Tower (i.e., ACP upon consummation of the Tower

  acquisition) would retain ownership of all of Tower’s U.S. insurance companies,

  and (b) AmTrust and NGHC would (i) acquire the Commercial Lines Assets and

  the Personal Lines Assets; (ii) administer the run-off of Tower’s historical


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  commercial lines claims and personal lines claims at cost; (iii) in their discretion,

  place commercial lines business and personal lines business with the Tower

  insurance companies, which they would exclusively manage and fully reinsure for

  a net 2% ceding fee payable to the Tower insurance companies; (iv) retain the

  expirations on all business written by the Tower insurance companies through

  AmTrust and NGHC, as managers; and (v) receive the agreement of the Tower

  insurance companies and ACP not to compete with respect to the commercial lines

  business and personal lines business (the “Revised Plan”).

        67.    In connection with the Revised Plan, AmTrust and NGHC expected to

  provide ACP with financing in an aggregate principal amount of up to $125

  million each, subject to terms that were to be negotiated (but that would have a

  term of no shorter than seven years), and would pay a market interest rate. In

  addition, AmTrust and NGHC agreed to issue a $250 million aggregate stop-loss

  reinsurance agreement to Tower by which each company, as reinsurers, would

  provide, severally, $125 million of stop-loss coverage (the “Stop-Loss”).

        68.    AmTrust also terminated the CL SPA and entered into a commercial

  lines master agreement with ACP (the “Master Agreement”), which provided for

  the implementation of the Revised Plan and AmTrust’s acquisition of the


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  Commercial Line Assets.

        69.    All of these transactions were structured and agreed upon without any

  independent financial or legal advice, and without any independent negotiation on

  behalf of AmTrust. The only item that the Audit Committee sought to negotiate –

  or seek advice on – was the Company’s $125 million related-party loan to ACP.

  VII. Members Of The Karfunkel Family Negotiate A Purchase
       Price Reduction For Tower

        70.    In late April 2014, Zyskind and AmTrust’s mergers and acquisitions

  executive Adam Karkowsky began negotiations with Tower to reduce ACP’s

  previously agreed-upon $3.00 per share proposal. Over the next week, ACP and

  Tower continued negotiations on a revised transaction even though nobody was

  representing AmTrust’s interests in those discussions or taking any steps to protect

  the Company’s interests as the third party in the new deal structure.

        71.    On May 2, 2014, Michael Karfunkel, on behalf of ACP, offered

  Tower a revised purchase price of $2.50 per share of Tower common stock.

        72.    Between May 6, 2014 and May 8, 2014, Tower and ACP negotiated

  the specific terms of an amendment to the Original Merger Agreement (the

  “Merger Agreement Amendment”).          In its final form, the Merger Agreement

  Amendment, among other things, (a) reduced the merger consideration from $3.00
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  per share to $2.50 per share, (b) reduced the termination fee in an amount

  proportionate to the reduction in the merger consideration, and (c) made a series of

  changes to the material adverse effect provision in the Original Merger Agreement

  to exempt from the provision deterioration in Tower’s financial performance.

        73.    On May 8, 2014, more than four months after learning about a

  potential transaction involving Tower and AmTrust, and after a handful of material

  changes in the deal structure and terms, the Audit Committee finally retained a

  financial advisor.

        74.    The Audit Committee retained as its financial advisor Griffin Partners

  (“Griffin”), a corporate advisory firm that has a business history with the

  Karfunkel Family and AmTrust, and agreed to pay Griffin $175,000.8 There is no

  indication that the Audit Committee met with or considered any alternative

  advisors.

  VIII. The Karfunkels Continue To Seek Improved Terms For
        ACP At The Expense Of The Company

        75.    On May 29, 2014, the Audit Committee convened a conference call.

  DeCarlo sought to recuse himself from the call on the basis that in addition to
  8
    Griffin advised Mutual Insurers Holding Company in its 2013 sale to AmTrust.
  Stevens & Lee, an affiliate of Griffin, advised First Nonprofit Companies, Inc. in a
  stock sale to AmTrust.

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  serving on AmTrust’s Board, he also serves as a member of NGHC’s board of

  directors. The Audit Committee then decided to form a subcommittee consisting

  of directors Gulkowitz and Fisch (the “Subcommittee”).

        76.   On June 26, 2014, the Subcommittee convened for a conference call

  to discuss ACP’s comments to the credit facility term sheet, as well as feedback

  from Griffin and Michael Karfunkel relating to the Company’s loan to ACP.

        77.   The Subcommittee met on July 1, 2014 and discussed that ACP had

  proposed an earn-out structure as one possible means of contingent consideration

  that would be based on renewal rights of Tower’s commercial and personal lines

  businesses. The very next day, the Subcommittee authorized an earn-out payment

  to ACP.

        78.   By July 10, 2014, AmTrust and ACP were preparing to present their

  agreements to insurance regulators, even though the terms were purportedly still

  being negotiated.

  IX.   The Audit Committee Approves The Terms Of The Credit
        Agreement And Stop-Loss Retrocession

        79.   On July 22, 2014, the Subcommittee approved the terms of the credit

  agreement between AmTrust, ACP and NGHC (the “Credit Agreement”). The

  Credit Agreement contemplated a $250 million secured loan with a seven-year
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  term and a 7% annual interest rate.

        80.   That same day, the Subcommittee also approved the terms of the

  Stop-Loss and Retrocession. The Stop-Loss premium will be equal to $56 million,

  payable five years following the closing of the Tower Merger (the “Stop-Loss

  Premium”). The Retrocession premium will be equal to the Stop-Loss Premium,

  less a fee of 5.5% of the Stop-Loss Premium to be retained by AmTrust and

  NGHC.

        81.   On August 7, 2014, the Audit Committee met and reviewed a

  summary of the terms of the earn-out payment to be made to ACP. The Audit

  Committee also agreed to cause the Company to either sub-lease or assume certain

  office leases from ACP.

        82.   On September 15, 2014, AmTrust entered into various agreements

  with Tower (then-owned by ACP) including, primarily, a renewal rights agreement

  and a quota share reinsurance agreement. Based on the terms of the renewal rights

  agreement, AmTrust is required to pay ACP an earn-out of up to $30 million over

  a three-year period based on 3% of the gross written premiums of the Tower

  commercial lines business (the “Earn-Out”). The quota share agreement replaced

  the Cut-Through Reinsurance Agreement. Additionally, AmTrust entered into the


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  Credit Agreement to finance ACP’s purchase of Tower.

         83.    Thus, not only did the Karfunkel Family usurp from AmTrust the

  corporate opportunity presented by an acquisition of Tower, but they also (i) saved

  money as a result of the reduced purchase price, and (ii) extracted improved terms

  from the Company. Instead of passing along some of the cost savings to AmTrust,

  the Karfunkel Family again enriched itself to the detriment of the Company.

                           DERIVATIVE ALLEGATIONS

         84.    Plaintiff brings this action derivatively to redress injuries suffered by

  the Company as a direct result of breaches of fiduciary duties by Defendants and

  usurpation of corporate opportunity by ACP and the Karfunkel Family.

         85.    Plaintiff has owned AmTrust stock continuously during this relevant

  period.

         86.    Plaintiff will adequately and fairly represent the interests of AmTrust

  and its stockholders in enforcing and prosecuting its rights and has retained

  counsel competent and experienced in stockholder derivative litigation.

       DEMAND ON THE AMTRUST BOARD IS EXCUSED AS FUTILE

         87.    Plaintiff repeats and realleges each and every allegation above as if set

  forth in full herein.


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        88.    Plaintiff has not made a demand on the AmTrust Board to investigate

  or initiate the claims asserted herein because demand is excused as futile.

        89.    Such demand would be futile and useless, and is thereby excused,

  because the allegations herein, at a minimum, permit the inference that a majority

  of the members of the AmTrust Board are either interested in the Tower

  Transactions,9 or lack the requisite independence from the Karfunkel Family to

  determine fairly whether to pursue claims relating to the Tower Transactions that

  would be adverse to the Karfunkel Family’s economic interests. Additionally, the

  Board’s decision to consummate the Tower Transactions was not the product of a

  valid exercise of business judgment.

        90.    The AmTrust Board is comprised of seven directors. Three of the

  members of the AmTrust Board are members of the Karfunkel Family – George

  Karfunkel, Michael Karfunkel and Zyskind. As detailed herein, the Karfunkel

  Family, through their ownership of ACP, was interested in the Tower Transactions.

        91.    Additionally, George Karfunkel, Michael Karfunkel and Zyskind are

  not independent for demand futility purposes. Indeed, the 2015 Proxy concedes
  9
    As used herein, the term “Tower Transactions” means, collectively, (a) ACP’s
  acquisition of Tower, (b) the CL SPA, (c) the PL SPA, (d) the Revised Plan, (e) the
  Stop-Loss, (f) the Master Agreement, (g) the Credit Agreement and (h) the Earn-
  Out.

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  that “Barry Zyskind, George Karfunkel, and Michael Karfunkel do not qualify as

  independent directors.”

        92.    A fourth member of the Board, Defendant Miller, is not independent

  of the Karfunkels, and in turn, is not independent for purposes of determining

  whether to pursue claims relating to the Tower Transactions. Miller has served on

  the AmTrust Board since the Karfunkel Family founded the Company in 1998.

  Miller also serves as director or advisor on a number of other entities controlled by,

  or partially-owned by, the Karfunkel Family, including as director of American

  Stock Transfer & Trust Co., Security National Insurance Company, Technology

  Insurance Company, AmTrust North America of Florida Inc. and AmTrust North

  America of Texas Inc.

        93.    Furthermore, Miller is the trustee of the George Karfunkel Trusts. As

  trustee for the George Karfunkel Trusts, Miller is a fiduciary of George Karfunkel.

  Miller is therefore ethically obligated to protect and advance the interests of

  George Karfunkel, and could not independently consider a demand on the Board to

  investigate or prosecute the claims alleged herein.

        94.    Additionally, Miller serves as an “advisor” to George Karfunkel’s

  personal investment vehicle – GK Acquisition.


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        95.   Miller’s role as trustee and advisor for George Karfunkel evidences

  George Karfunkel’s faith in Miller’s loyalty and ability to safeguard and advance

  George Karfunkel’s interests.

        96.   Miller’s loyalty to the Karfunkel Family is also evidenced by Miller’s

  unpaid service as AmTrust’s corporate secretary from 1998 to 2005.

        97.   Miller’s long-term and multifaceted personal and professional

  relationship with the Karfunkel Family makes him incapable of properly and

  disinterestedly considering a demand on the AmTrust Board to investigate or

  prosecute the claims alleged herein.

        98.   Miller’s loyalty to, and mutually beneficial relationship with, the

  Karfunkel Family is also evidenced by his outsized compensation for serving on

  the AmTrust Board. For the fiscal year ended December 31, 2014, Miller received

  a total of $291,958 in cash and equity awards for his Board service.

        99.   Indeed, all of the purportedly independent AmTrust directors enjoy

  outsized director compensation. For the fiscal year ended December 31, 2014,

  Gulkowitz received $246,480 in cash and equity awards for his Board service;

  Fisch received $234,480 in cash and equity awards for her Board service; and

  DeCarlo received $348,480 in cash and equity awards for his Board service.


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         100. In light of the foregoing, demand on the AmTrust Board to investigate

  or prosecute the claims alleged herein is excused as futile.

                                       COUNT I

                   DERIVATIVE CLAIM FOR
  BREACH OF FIDUCIARY DUTY AGAINST THE KARFUNKEL FAMILY
                    IN THEIR CAPACITY AS
           AMTRUST’S CONTROLLING STOCKHOLDER


         101. Plaintiff repeats and realleges each and every allegation above as if set

  forth in full herein.

         102. As detailed herein, the Karfunkel Family is AmTrust’s controlling

  stockholder.     As a controlling stockholder, the Karfunkel Family owes the

  Company and its stockholders the utmost fiduciary duties of due care, good faith,

  candor, and loyalty.

         103. AmTrust had an interest in acquiring Tower, as evidenced by the

  Company’s overtures to Tower and its advisors, including but not limited to the

  offer to purchase Tower submitted by the Company in December 2013.

         104. An acquisition of Tower was a business opportunity that AmTrust was

  financially able to undertake.

         105. Without first informing the AmTrust Board, the Karfunkel Family


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  improperly and selfishly caused the Company to abandon its pursuit of Tower and

  instead initiated its own pursuit of Tower on behalf of ACP (i.e., the Karfunkel

  Family’s personal entity).

        106. In connection with the Tower Transactions, the Karfunkel Family’s

  improper conduct included, among other things, (a) usurping a corporate

  opportunity from the Company through ACP, (b) initially revising the transaction

  terms without Board input, (c) causing the Company to participate in a $250

  million loan to ACP to facilitate its acquisition of Tower, and (d) demanding the

  Earn-Out Payment. This conduct constitutes a breach of the Karfunkel Family’s

  fiduciary duties owed to the Company and its stockholders.

        107. AmTrust has been and continues to be harmed by the Karfunkel

  Family’s improper usurpation of the Company’s corporate opportunity to acquire

  Tower and breaches of fiduciary duty in causing the Company to enter into related

  agreements unfair to the Company, including the term loan and Earn-Out Payment.

        108. The Company is entitled to restitution including disgorgement of any

  profits received by ACP or the Karfunkel Family (in their personal capacity rather

  than their capacity as AmTrust stockholders) as a result of the Tower Transactions.




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                                      COUNT II

   DERIVATIVE CLAIM FOR BREACH OF FIDUCIARY DUTY AGAINST
                 THE DIRECTOR DEFENDANTS

         109. Plaintiff repeats and realleges each and every allegation above as if set

  forth in full herein.

         110. The Director Defendants, as AmTrust directors and officers, owe the

  Company the utmost fiduciary duties of due care, good faith, candor and loyalty.

  By virtue of their positions as directors and/or officers of AmTrust and/or their

  exercise of control and ownership over the business and corporate affairs of the

  Company, the Director Defendants have, and at all relevant times had, the power to

  control and influence and did control and influence and cause the Company to

  engage in the practices complained of herein. Each of the Director Defendants was

  required to, among other things:      (a) use their ability to control and manage

  AmTrust in a fair, just and equitable manner; and (b) act in furtherance of the best

  interests of AmTrust and its stockholders, and not in furtherance of their own.

         111. The Director Defendants breached their fiduciary duties by failing to

  inform themselves regarding AmTrust’s strategic alternatives with respect to

  Tower and instead allowing conflicted fiduciaries to dominate and control the

  Company’s deliberations about and negotiations with Tower.
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         112. The Director Defendants breached their fiduciary duties in agreeing to

  the Revised Plan, the Earn-Out and the Credit Agreement on terms unfair to the

  Company.

         113. The Director Defendants also breached their fiduciary duties by

  failing to safeguard the Company’s interests in the face of a clearly conflicted

  series of transactions.

                                      COUNT III

         DERIVATIVE CLAIM AGAINST THE KARFUNKEL FAMILY
                 AND ACP FOR UNJUST ENRICHMENT

         114. Plaintiff repeats and realleges each and every allegation above as if set

  forth in full herein.

         115. The Tower Transactions were the product of breaches of fiduciary

  duty by the Director Defendants and/or the usurpation of a corporate opportunity

  by ACP and the Karfunkel Family.

         116. The terms of the Tower Transactions are unfair to the Company and

  provide improper benefits to the Karfunkel Family and ACP.

         117. The process by which the Tower Transactions were orchestrated was

  also improper, and unduly influenced by the Karfunkel Family.

         118. The Karfunkel Family and ACP were – and continue to be – the direct
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  recipients of the benefits flowing from the Tower Transactions. Those benefits

  were derived by improper and unlawful means.

        119. It would be unconscionable for the Karfunkel Family and ACP to be

  permitted to retain these benefits that were derived by improper and unlawful

  means.

        120. The Karfunkel Family and ACP have therefore been unjustly enriched

  as a result of the Tower Transactions and the Company is entitled to restitution.

                               RELIEF REQUESTED

        WHEREFORE, Plaintiff demands judgment as follows:

               a.    Finding that demand on the AmTrust Board is excused as futile;

               b.    Finding the Karfunkel Family, in their capacity as controlling

                     stockholder of AmTrust, liable for breaching their fiduciary

                     duties owed to AmTrust and it stockholders, by among other

                     things, usurping a corporate opportunity from AmTrust;

               c.    Finding the Director Defendants liable for breaching their

                     fiduciary duties;

               d.    Finding the Karfunkel Family and ACP liable for unjust

                     enrichment;


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              e.    Requiring AmTrust to improve its corporate governance

                    practices and/or change the composition of the Board to better

                    protect the Company and its stockholders from the undue

                    influence of the Karfunkel Family;

              f.    Awarding the Company compensatory damages, together with

                    pre-and post-judgment interest;

              g.    Requiring ACP and the Karfunkel Family to account for and

                    disgorge all profits resulting from the Tower Transactions;

              h.    Awarding Plaintiff the costs and disbursements of this action,

                    including attorneys’, accountants’, and experts’ fees; and

              i.    Awarding such other and further relief as is just and equitable.

  Dated: April 7, 2015                  LABATON SUCHAROW LLP

                                        By /s/ Ned Weinberger
  OF COUNSEL:                              Christine S. Azar (#4170)
                                           Ned Weinberger (#5256)
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  Counsel for Plaintiff




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
                                                                        X
          DAVID SHAEV PROFIT SHARING PLAN                                     Index No:

                                                           Plaintiff,
                         -against-

                                                                             jsUMMONS \
         DONALD T. DECARLO, SUSAN FISCH,
         ABRAHAM GULKOWITZ, JAY J. MILLER,
         MICHAEL KARFUNKEL, RONALD E. PYZALY, JR.
         BARRY D. ZYSKING AND
         AMTRUST FINANCIAL SERVICES, INC.                                    Date Index No. Purchased:

                                                      Defendants.
                                                                        X

         To the above named Defendants:

                 You are hereby summoned to answer the Complaint in this action and to serve a copy of your
         answer, or, if the complaint is not served with this summons, to serve a notice of appearance, on the
         Plaintiffs attorney within twenty days after service of this summons, exclusive of the day of service,
         or within thirty days after service is complete if this summons is not personally delivered to you
         within the State of New York. In case of your failure to appear or answer, judgment will be taken
         against you by default for the relief demanded in the complaint.

                The basis of the venue designated is New York County which is Defendants’ office.


         Dated: New York, New York
                April 26, 2017
                                                              Ballon Stoll Bader 착 Nadler, P.C.


                                                               Irving Bizぞ
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          SUPREME COURT OF THE STATE OF NEW YORK

          COUNTY OF NEW YORK


           DAVID SHAEV PROFIT SHARING PLAN

                                                 Plaintiff,
                          -against-
                                                                              COMPLAINT


          DONALD T. DECARLO, SUSAN FISCH,

          ABRAHAM GULKOWITZ, JAY J. MILLER,

          MICHAEL KARFUNKEL, RONALD E. PYZALY, JR.

          BARRY D. ZYSKING AND AMTRUST FINANCIAL
          SERVICES, INC.



                                                 Defendant.




                Plaintiff, David Shaev Profit Sharing Plan ("Plaintiff'), by and through its undersigned

         attorneys for its Complaint (the “Complaint”)against the defendants, alleges upon information

        and belief, except as to paragraphs 1 and 4 which are alleged on knowledge：


             1. Plaintiff is a stockholder of Defendant AmTrust Financial Services, Inc. (“AmTrust”

                  hereinafter) having acquired its shares prior to the times and events alleged herein and

                 has continually owned its shares since its acquisition.

             2. The individual defendants are the directors of defendant AmTrust and were its directors

                 throughout the times hereinafter alleged with defendant Michael Karfunkel as the

                 chairman of the Board of Directors and its chairman throughout the times alleged below.

                 He is the father in law of defendant Barry D. Zyskind.

            3. Defendant Zyskind is the President and Chief Executive officer of AmTrust.

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              4.    Defendant AmTrust is a corporation organized and existing under the laws of the State of

                     Delaware with its principal place and executive offices in New York City at 59 Maiden

                    Lane and actively doing and authorized to do business in New York. As part of drat

                    authorization, it agreed to be bound by and obey the laws of New York.

             5. AmTrust’s business is to underwrite and provide property and casualty insurance.

             6.    It owns a 12% interest in National General Holdings Corp. (“NYHC”) which operates

                    fifteen insurance companies in the United States providing a variety of insurance

                    products.

             7. Defendants Michael Karfunkel and the Michael Karfunkel 2003 Family Trust are the two

                    largest shareholders of NYHC. One of the beneficiaries of that family trust is defendant

                    Zyskind’s wife.

             8. As a public company, AmTrust was required to file truthful statements with the Securities

                   and Exchange Commission and ro have appropriate controls over its financial reporting.

            9. All financial reports were appropriately filed with the various regulatory bodies, including

                   the Securities and Exchange Commission, and they contained certifications that the

                   internal control over its financial reporting was in place and effective. They also

                   contained certifications that the financial information and the comments provided in the

                   statements were true and correct.

            10. Subsequently, it was learned that the financial statements the Company had issued for the

                   years 2014, 2015 and the first three quarters of 2016 pursuant to the Sarbanes Oxley

                   Act, were erroneous, false and misleading. Corrected statements to be filed were

                   promised. Those subsequently filed statements reflected the fact that the Company had

                   filed incorrect financial statements due to material weaknesses in the internal control



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                    over financial reporting. Corrections were expected to be made in the prior public

                    financial statements.

              11. The filing of false and incorrect financial statements violated federal and state law.

             12. The market price of the publicly traded shares of the Company rapidly declined by at least

                    $5 per share.

             13. Class action suits have been commenced, targeting the Company.

             14. The Company has been und will likely be substantially damaged and will likely pay

                    substantial monies in connection with the foregoing suits both in damages and legal

                    expense.

             15. Demand upon the Board to bring or authorize this suit is not necessary for the following

                    reasons：

                         a. The Board authorized and/or permitted the improper conduct which violated

                               the law.

                         b. The individual defendants as members of the Board having authorized or

                               approved the improper acts are liable and cannot make an impartial decision to

                               sue themselves.


               WHEREFORE, plaintiff demands judgment against the individual defendants for an

               accounting of all the damages sustained and to be sustained by AmTrust and for

               reasonable attorneys’ fees and reimbursement of costs.


                                                         Ballon Stoll Bader & Nadler, P.C.
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  IN RE AMTRUST FINANCIAL SERVICES,
  INC. DERIVATIVE LITIGATION                 Case No. 1:17-CV-00553-GMS

                                             DEMAND FOR JURY TRIAL


        VERIFIED SECOND AMENDED STOCKHOLDER DERIVATIVE COMPLAINT


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         Co-Lead Plaintiffs City of Lauderhill Police Officers’ Retirement Plan, Pompano Beach

  Police & Firefighters’ Retirement System, and West Palm Beach Police Pension Fund

  (“Plaintiffs”), stockholders of AmTrust Financial Services, Inc. (“AmTrust” or the “Company”),

  bring this action on AmTrust’s behalf seeking relief under federal and state law for the

  misconduct perpetrated against the Company by the current and former officers and directors

  identified below (collectively, “Defendants”) arising from AmTrust’s long-running and wide-

  ranging accounting manipulation, leading the Company to understate the Company’s loss

  reserves, overstate line items including revenue, total service and fee income, and net income,

  and misrepresent its loss reserve practices and financial results. 1       Plaintiffs, through their

  counsel, have conducted an investigation into the facts supporting the allegations in this

  Complaint and believe discovery will elicit further evidentiary support for their allegations. 2


                          NATURE AND SUMMARY OF THE ACTION

         1.      This stockholder derivative action arises from the actions of AmTrust’s

  controlling stockholders (the “Control Group”) to fraudulently misstate the company’s financial

  performance. The Control Group’s fraudulent conduct allowed the Company to raise enormous

  amounts of investor capital – which was used to grow the Company and the value of the Control

  Group’s holdings – and engage in lucrative related party transactions. Further, because the

  compensation of the CEO – who is a member of the Control Group family – was tied to the


  1
    While AmTrust is named as a nominal defendant, any reference to “Defendants” does not
  encompass the Company.
  2
    Plaintiffs’ investigation included a review of: (i) filings by AmTrust with the U.S. Securities
  and Exchange Commission (“SEC”); (ii) press releases and other publications disseminated by
  certain of the Defendants and other related non-parties; (iii) news articles, shareholder
  communications, conference call transcripts, and postings on AmTrust’s website concerning the
  Company’s public statements; and (iv) other publicly available information concerning AmTrust
  and the Defendants.
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  Company’s financial results, the Control Group was incentivized to inflate the Company’s

  financials, resulting in excessive compensation for the CEO.

         2.      From at least December 12, 2013 to the present (the “Relevant Period”), AmTrust

  used a wide range of fraudulent techniques to understate the Company’s loss reserves and

  overstate its financial results. Defendants – who include the Company’s CEO, CFO, controlling

  shareholders, and the three members of the Company’s Audit Committee – either actively

  participated in the accounting manipulation or consciously disregarded it, to the point that, in

  2017, the Company was forced to restate nearly three years’ worth of revenue, total service and

  fee income, net income, and other important metrics by double-digit percentages.

         3.      Certain of the Defendants, including Chief Financial Officer (“CFO”) Ron Pipoly

  (“Pipoly”), actively participated in manipulating the Company’s financials, while other

  Defendants, who sat on the Board and its Audit Committee, deferred to the Control Group and

  consciously abdicated their duties to ensure legal compliance and strong internal controls over

  financial reporting.    The Audit Committee members also failed to properly oversee the

  Company’s auditor, BDO USA, LLP (“BDO”), who, based on evidence collected by a

  whistleblower within BDO, appears to have participated in the accounting fraud, and whose

  adequacy was called into doubt by a New York Department of Financial Services (“NYDFS”)

  letter to AmTrust in late 2014. 3

         4.      In addition to causing massive and devastating financial restatements,

  Defendants’ accounting manipulation has led to investigations of AmTrust by the Federal Bureau

  of Investigation (“FBI”), the United States Securities and Exchange Commission (“SEC”) and


  3
    BDO is also named as a co-Defendant in federal securities litigation against AmTrust and
  certain officers and directors of the Company. See In re AmTrust Financial Services, Inc.
  Securities Litigation, No. 1:17-cv-01545-LAK (S.D.N.Y.).


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  NYDFS. Defendants’ misconduct has dramatically eroded the Company’s stock price, caused

  securities fraud litigation, and harmed the Company’s reputation and business. It caused and is

  causing the Company to overpay to acquire its own stock by over $100 million and incur

  millions of dollars in expenses related to restating the Company’s financials and defending (and

  in the future likely settling) securities fraud litigation.   Moreover, the misconduct caused

  insurance rating agency A.M. Best to revise its outlook on AmTrust’s (and its subsidiaries’)

  Long-Term Issuer Credit Rating from stable to negative.

         5.      Further, certain Defendants not only actively participated in or willfully

  overlooked the Company’s pervasive accounting manipulation, but profited from it at the

  Company’s expense. Specifically, the Board improperly approved stock buybacks that led

  AmTrust to repurchase over 8 million shares at artificially inflated prices. In approving these

  buybacks at inflated prices, Defendants breached their fiduciary duties to the Company and

  wasted corporate assets. In addition, three Defendants – CFO Ronald E. Pipoly, Jr. (“Pipoly”),

  and Audit Committee members Abraham Gulkowitz (“Gulkowitz”) and Donald T. DeCarlo

  (“DeCarlo”) – sold a combined $5.6 million worth of stock at inflated prices during the Relevant

  Period. In selling their stock prior to the public disclosure of this restatement, defendants used

  their insider information to personally profit.

         6.      The Company’s culture of accounting manipulation and internal control

  weaknesses were fostered by AmTrust’s controlling shareholder family – co-founder and

  director George Karfunkel (“G. Karfunkel”), director Leah Karfunkel (“L. Karfunkel”), and

  CEO and director Barry Zyskind (“Zyskind”), who is married to the daughter of L. Karfunkel

  and deceased co-founder Michael Karfunkel (“M. Karfunkel”). Together, these three own or

  control approximately 44% of the Company’s common stock, and control and dominate the




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  Company’s Board. The Karfunkels and Zyskind have a long history of pushing the Company

  into transactions with related entities that they also control, for their own benefit, and of using

  those other entities to foster AmTrust’s accounting manipulation and under-reserving. The so-

  called “independent” directors on the Board have consistently rubber-stamped these transactions

  with little deliberation. As such, they are incapable of evaluating a demand to bring the claims

  asserted herein because they are dominated by the conflicted Control Group and, as a result of

  their conscious disregard of the Company’s fraudulent accounting, face a substantial likelihood

  of liability for violating federal securities law and breaching their fiduciary duties.

         7.      In fact, throughout the Relevant Period, Defendants consciously disregarded a

  plethora of including red flags regarding the Company’s internal controls over financial

  reporting, as well as red flags regarding that specifically warned Defendants about the issues that

  led to the 2017 restatements. For example, on February 8, 2014, financial publication Barron’s

  issued the first of three scathing articles about AmTrust’s accounting, suggesting that

  management is using “complicated” accounting schemes to “make the business look much better

  than it really is.” The article, titled “An Insurer’s Feat: Turning Losses Into Gains” discussed,

  inter alia, how AmTrust’s management uses an intricate “web of related-party deals with the

  Karfunkels” to mask insurance losses and boost profits by “deferring costs more aggressively

  than the matching revenues” using a balance sheet line item called “deferred policy acquisition

  costs.” Barron’s reporting about AmTrust’s fraudulent accounting for deferred acquisition costs

  was ultimately proven correct, as it was one of the stated reasons for the Company’s 2017

  financial restatements. Defendants not only obviously were aware of this article, but Defendant

  Zyskind specifically spoke with Barron’s for purposes of the article. Yet Defendants took no

  steps to remedy the issues raised by the article.




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         8.       On May 31, 2014, Barron’s again questioned AmTrust’s accounting, including

  the adequacy of its reserves, suggesting that AmTrust selected unusually low estimates for its

  eventual losses. Barron’s explained that AmTrust paid out a higher percentage of its original

  estimate for losses on accidents in the years 2006 through 2012 than its peers in the workers’

  compensation insurance industry. This explained why the Company’s premium revenue as of

  March 31, 2014 was more than five times tangible book value, an exorbitant rate considering the

  industry average was 1.4. In spite of this red flag, Defendants took no action to investigate or

  remedy the issues raised.

         9.       On September 16, 2014, the Company filed a Form 8-K with the SEC disclosing

  that NYDFS had, inter alia, indicated that BDO would no longer have the resources necessary to

  serve as the Company’s auditor. NYDFS had demanded that “[i]n light of AmTrust’s growth

  and increased geographic footprint, AmTrust will engage an external auditing firm with

  corresponding global resources and skills beginning with the audit for the annual period ending

  December 31, 2015.” Yet AmTrust retained ignored the NYDFS and retained BDO for its 2015

  audit and did not dismiss BDO until April 2016, when it replaced them with KPMG LLP

  (“KPMG”). KPMG’s first audit of AmTrust would lead to the Company’s 2017 financial

  restatements.

         10.      On December 18, 2014, Alistair Capital Management, LLC (“Alistair Capital”), a

  sophisticated institutional investor, sent a 16-page letter (the “Alistair Capital Letter”) directly to

  the Audit Committee of the Board, alerting them to a panoply of accounting issues. The Alistair

  Capital Letter called into question: (i) the efficacy of AmTrust’s internal accounting controls for

  financial reporting; (ii) AmTrust’s accounting for deferred acquisition costs; (iii) AmTrust’s

  valuation of life settlement contracts; (iv) the sizable difference between balance sheet accounts




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  reported by AmTrust and the amounts reported by a related-party for the corresponding accounts

  in its financial statements; (v) AmTrust’s accounting for Luxembourg Reinsurance Captives; and

  (vi) AmTrust’s accounting for loss and loss adjustment reserves in conjunction with acquisitions.

  Five pages of the letter were devoted to signs that the Company’s overall internal controls over

  financial reporting were weak. These signs were “indicative of an environment in which an

  accounting fraud could be perpetuated if members of the Audit Committee fail to fulfill their

  duty of care in diligently monitoring the Company’s control environment.”               This red flag

  warning was borne out by the Company’s later disclosures and financial restatements. Indeed,

  on February 27, 2017, the Company disclosed that it had identified material weaknesses in its

  internal controls, as well as accounting problems relating to its deferred acquisition costs.

  Notably, prior to the Alistair Capital Letter, the Company had recently sued Alistair Capital for

  alleged defamatory statements, and Alistair Capital had sent the letter in response.            After

  receiving the letter, AmTrust quietly dismissed its defamation suit, likely because it feared that

  the truth of Alistair Capital’s claims would be revealed if the litigation continued.

         11.     On April 23, 2016, after continued inaction and silence by AmTrust’s Board,

  Barron’s took the extraordinary step of questioning—for the third time—the adequacy of

  AmTrust’s reserves and its accounting. In this article, Barron’s asserted that “[t]he insurance

  filings of its subsidiaries show that the cost of settling claims for policies issued in the seasoned

  years 2007-13 have climbed hundreds of millions of dollars above the reserves that AmTrust

  initially set aside.” Barron’s further noted that even analysts at AmTrust’s investment banker,

  Keefe, Bruyette & Woods, Inc. (“KBW”), wondered in various notes whether the insurer’s

  underwriting margins were overstated. The Board not only failed to meaningfully acknowledge




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  the red flags raised in the Barron’s articles and Alistair Capital Letter, but instead vehemently

  attacked their credibility and decided against proactively investigating these potential issues.

         12.     In response to repeated questions regarding its accounting and the adequacy of its

  reserves, AmTrust consistently responded that its processes were rigorous and that it was more

  than adequately reserved. Even worse, rather than investigating the myriad of issues outlined in

  the Barron’s articles, the Board approved an increase in the Company’s stock buyback program

  of $200 million in April 2016. AmTrust proceeded to engage in a massive buying spree of

  Company stock at tremendously inflated prices over the next four months, purchasing nearly 5.5

  million shares at a cost of $135 million from April to July 2016.

         13.     As was inevitable, on February 27, 2017, AmTrust finally disclosed a litany of

  accounting issues in its fourth quarter 2016 earnings press release, including inadequate reserves,

  material weaknesses in its internal controls, and the need to make adjustments to previously

  issued financial statements. For Q4 2016, AmTrust reported financial results that fell well short

  of Wall Street expectations in large part because of the $65 million reserve charge primarily

  related to strengthening prior-year loss and loss-adjustment reserves in its “Specialty Program”

  segment. AmTrust also indicated it would be unable to timely file its annual report and that it

  had identified material weaknesses in its internal controls over financial reporting that existed as

  of December 31, 2016. The Company not only warned that additional adjustments and/or

  material weaknesses could be identified but disclosed a multitude of accounting errors dating

  back to at least 2012 pertaining to improperly accrued bonuses, incorrect foreign exchange

  calculations, and wrongfully booked revenue.

         14.     In reaction to these disclosures, AmTrust’s share price plummeted $5.32 per

  share, or 19%, from $27.66 per share on Friday, February 24, 2017 to $22.34 per share on




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  Monday, February 27, 2017—wiping out over $900 million in market capitalization in one

  trading day.

         15.     Just weeks later, on March 16, 2017, AmTrust disclosed that it needed additional

  time to complete its consolidated financial statements for fiscal year 2016. The Company

  revealed that its consolidated financial statements for fiscal years 2014 and 2015 (including for

  each of the four quarters of 2015) as well as for the first three quarters of 2016 needed to be

  restated and should no longer be relied upon. The Form 10-K filing delay and the restatements

  largely related to the timing of recognition of revenue.

         16.     Investors were stunned by these disclosures and AmTrust’s share price was

  punished anew as a result, dropping $4.03 per share, or 18.6%, from $21.61 per share on

  Thursday, March 16, 2017 to $17.58 per share on Friday, March 17, 2017—wiping out over

  $686 million in Company market capitalization.

         17.     On April 4, 2017, the Company filed its 2016 Annual Report on Form 10-K

  which included restated financial statements for 2014 and 2015. The restated financials reduced

  2014 and 2015 net income by 7.2% and 11.2%, respectively. The Form 10-K also revealed that

  the Company had taken additional reserve charges beyond the $65 million originally disclosed in

  February. In fact, the Form 10-K disclosed that for the year ended December 31, 2016, total

  charges related to prior period adverse development amounted to $257.9 million.

         18.     Then, on April 11, 2017, The Wall Street Journal reported that the SEC, the FBI,

  and the NYDFS, were each probing AmTrust’s accounting practices. According to The Wall

  Street Journal, a former BDO auditor-turned-whistleblower casually walked around BDO’s

  offices in 2014 striking up conversations with colleagues about BDO’s audits of AmTrust.

  Unknown to his colleagues, the whistleblower was recording all conversations for the FBI. The




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  whistleblower claimed to be in possession of documents demonstrating that AmTrust shifted

  $277 million in losses to an “offshore affiliate from 2009 to 2012, bolstering AmTrust’s

  operating income by that amount.” Although the FBI’s investigation concerns whether BDO

  tried to bury poor accounting practices in its AmTrust audits, the SEC’s investigation is

  ultimately centered on AmTrust’s accounting practices themselves.

         19.    In reaction to The Wall Street Journal article, AmTrust’s shares declined $3.57

  per share, or 18.9%, from $18.87 per share on Monday, April 10, 2017 to $15.30 per share on

  Tuesday, April 11, 2017.

         20.    On November 6, 2017, Amtrust made additional disclosures that further

  confirmed the issues that had been raised by Barron's, Alistair Capital and others. Specifically,

  on that day Amtrust announced that it would be forced to increase reserves for the third quarter

  ended September 30, 2017 by a staggering $327 million. The increase was so large that it wiped

  out more than 2/3 of the net income that the Company reported for all of 2016, and was more

  than five times greater than the $61.6 million in net income the Company reported for the first

  six months of 2017.

         21.    Significantly, precisely as Barron’s had warned 18 months earlier, the massive

  reserve increase confirmed that the Company had materially understated its reserves in prior

  years. Indeed, the Company admitted that the reserve increase was not necessitated by some

  recent developments, but was instead attributable to cases that had existed for years, and as far

  back as 2013. As Barron’s noted on November 7, 2017, "[n]umbers contained in the latest

  announcement suggest that most of the newly-announced adverse development occurred on

  cases already known to the company – something we warned about in 2016." Following that

  announcement, the price of Amtrust’s stock fell almost 25%, or more than $3, on heavy volume.




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          22.    In short, Defendants failed—repeatedly and brazenly—to serve the best interests

  of AmTrust and its stockholders.      Despite overwhelming and specific warnings about the

  Company’s accounting, internal controls and related-party dealings, including a letter written

  directly to the Board’s Audit Committee, Defendants failed to properly investigate these matters.

  By engaging in a massive stock repurchase program at inflated prices just months before

  ultimately revealing the very issues the Board was on notice about, Defendants caused enormous

  damage to the Company. As a result of their misconduct, Defendants are liable to the Company

  for breaches of their fiduciary duties of care, good faith and loyalty under Delaware law, and for

  violations of Sections 10(b), 20A and/or 29(b) of the Securities Exchange Act of 1934

  (“Exchange Act”), as well as other violations of state and federal law.

                                  JURISDICTION AND VENUE

          23.    This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).               This Court has

  supplemental jurisdiction pursuant to 28 U.S.C. §1367(a) over all other claims that are so related

  to claims in the action within such original jurisdiction that they form part of the same case or

  controversy under Article III of the United States Constitution. This action is not a collusive

  action designed to confer jurisdiction on a court of the United States that it would not otherwise

  have.

          24.    Venue is proper in this District because AmTrust is incorporated in this District,

  Defendants have conducted business in this District, and Defendants’ actions have had an effect

  in this District.   In addition, pursuant to AmTrust’s Amended and Restated By-Laws, all

  derivative proceedings brought on behalf of the corporation shall be litigated in a “state or

  federal court located within the State of Delaware.”




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                                           PARTIES

  I.     Plaintiffs

         25.    Co-Lead Plaintiff City of Lauderhill Police Officers’ Retirement Plan

  (“Lauderhill”) is a current stockholder of AmTrust. Lauderhill has continuously held AmTrust

  common stock since January 2014.

         26.    Co-Lead Plaintiff Pompano Beach Police & Firefighters’ Retirement System

  (“Pompano Beach”) is a current stockholder of AmTrust. Pompano Beach has continuously held

  AmTrust common stock since January 2014.

         27.    Co-Lead Plaintiff West Palm Beach Police Pension Fund (“West Palm”) is a

  current stockholder of AmTrust. West Palm has continuously held AmTrust common stock

  since August 2014.

  II.    Nominal Defendant

         28.    Nominal Defendant AmTrust Financial Services, Inc. (“AmTrust” or the

  “Company”) is a Delaware corporation with its principal executive offices located at 59 Maiden

  Lane, 43rd Floor, New York, NY 10038. AmTrust’s shares trade on the NASDAQ under the

  ticker symbol “AFSI.”

         29.    AmTrust was founded in 1998 by brothers George and Michael Karfunkel (“G.

  Karfunkel” and “M. Karfunkel” respectively). Defendant Barry Zyskind (“Zyskind”), son-in-

  law of the late M. Karfunkel, and members of the Karfunkel family collectively own over 44%

  of AmTrust’s common stock.

         30.    AmTrust, through its subsidiaries, operates through three business segments:

  Small Commercial Business Insurance, Specialty Program Business Insurance, and Specialty

  Risk and Extended Warranty.




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         31.     The Company’s Small Commercial Business segment provides worker’s

  compensation to small businesses that operate in low and medium hazard classes, such as

  restaurants, retail stores, physicians and other professional offices.

         32.     The Company’s Specialty Program Business Insurance segment provides

  workers’ compensation, general liability, commercial auto liability, excess surplus lines

  insurance programs and other specialty commercial property and casualty insurance through

  managing general agents.

         33.     The Company’s Specialty Risk and Extended Warranty segment provides custom

  designed coverage, such as accidental damage plans and payment protection plans sold in

  connection with the sale of consumer and commercial goods in the United States and Europe.

  III.   Officer Defendants

         34.     Defendant Barry D. Zyskind has served as a director on the Company’s Board

  since 1998 and as the Chairman of the Board since May 2016. Zyskind has also served as Chief

  Executive Officer (“CEO”) and President of AmTrust since 2000. As of March 24, 2017,

  Zyskind beneficially owned 44,876,575 shares of AmTrust common stock, approximately 26.2%

  of the Company’s issued and outstanding shares. Zyskind is a founding stockholder of the

  Company and is son-in-law of director Leah Karfunkel (“L. Karfunkel”). Zyskind signed the

  Company’s annual report, filed with the SEC on Form 10-K, each year during the Relevant

  Period. As explained in more detail in paragraphs 287 to 288, a large portion of Zyskind’s

  compensation is directly tied to the Company’s financial results. For the 2013, 2014, 2015, and

  2016 fiscal years, Zyskind received total compensation of $4,916,858, $22,130,044,

  $13,942,205, and $4,902,193 respectively. As acknowledged by the Company, Zyskind is not an

  independent director under the NASDAQ listing rules.




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         35.    Defendant Ronald E. Pipoly, Jr. (“Pipoly”) served as Executive Vice President

  and Chief Financial Officer of AmTrust from 2005 to June 5, 2017. As of March 24, 2017,

  Pipoly beneficially owned 593,358 shares of AmTrust common stock.            A large portion of

  Pipoly’s compensation is tied to the Company’s financial results.         Pipoly’s employment

  agreement provides that each year, he will receive an annual bonus comparable to other senior

  executives subject to a cap of three times his annual salary. Moreover, Pipoly is eligible for an

  annual discretionary bonus as determined each year by the Compensation Committee. In 2013

  and 2014, Pipoly received a bonus of $2.1 million, including a $300,000 discretionary bonus

  granted upon the recommendation of Zyskind, with one-third of the value paid in the form of

  restricted stock units. In 2015, Pipoly received a bonus of $2.5 million, including a $400,000

  discretionary bonus granted upon the recommendation of Zyskind, with 44% of the value paid in

  the form of restricted stock units. Moreover, the Company attributed Pipoly’s increased bonus in

  2015 to “the increase in the size of our finance department and his contributions in overseeing

  updates to certain accounting systems.” For the 2013, 2014, and 2015, fiscal years, Pipoly

  received total compensation of $2,685,521, $2,709.281, and $3,215,181, respectively.

         36.    Defendants Zyskind and Pipoly are referenced collectively in this Complaint as

  the “Officer Defendants.”

  IV.    Director Defendants

         37.    Defendant George Karfunkel has served as a director on the Company’s Board

  since 1998.   G. Karfunkel is a founding stockholder of the Company.          According to the

  Definitive Proxy Statement filed on Schedule 14A with the SEC on April 11, 2017 (“2017 Proxy

  Statement”), G. Karfunkel beneficially owns 32,438,408 shares of the Company’s common

  stock, approximately 19.0% of the Company’s issued and outstanding shares. G. Karfunkel is

  the brother-in-law of Leah Karfunkel. G. Karfunkel is not considered an independent director


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  under the NASDAQ listing rules. G. Karfunkel signed the Company’s annual report, filed with

  the SEC on Form 10-K, each year during the Relevant Period.

            38.   Defendant Leah Karfunkel (“L. Karfunkel”) has served as a director since May

  2016. According to the 2017 Proxy, L. Karfunkel beneficially owns 22,252,098 shares of

  AmTrust common stock, approximately 13.0% of the Company’s issued and outstanding shares.

  L. Karfunkel is the sister-in-law of G. Karfunkel and the mother-in-law of Zyskind. She is also

  the widowed wife of M. Karfunkel. L. Karfunkel is not considered an independent director

  under the NASDAQ listing rules.

            39.   Defendants Zyskind, G. Karfunkel, and L. Karfunkel (together, the “Control

  Group”) act as a controlling group of the Company. As such, Zyskind, G. Karfunkel, and L.

  Karfunkel file a Schedule 13D/As with the SEC indicating that each was a member of a “group”

  for purposes of reporting beneficial ownership under Section 13 of the Exchange Act.

  According to the last such Schedule 13D/A filed on June 7, 2017, the Control Group collectively

  owns 84,062,519 shares of AmTrust common stock, or 44% of the total outstanding shares.

  However, they owned 49% of the Company’s outstanding shares prior to a May 25, 2017 private

  placement of $300 million of AmTrust stock, 24,096,384 shares, to undisclosed family members

  of the Control Group. When these shares are added to the Control Group’s shares as disclosed in

  SEC filings, the Karfunkel family owns approximately 55% of the Company’s outstanding

  shares.

            40.   AmTrust’s most recent Form 10-K states in relevant part, that the Control Group

  “acting together, [has] the ability to control all matters requiring approval by our stockholders,

  including the election and removal of directors, amendments to our certificate of incorporation




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  and bylaws, any proposed merger, consolidation or sale of all or substantially all of our assets

  and other corporate transactions.”

         41.     Defendant Abraham Gulkowitz (“Gulkowitz”) has served as a director on the

  Company’s Board since 2006. At all relevant times, Gulkowitz has served as a member and the

  Chair of the Board’s Audit Committee.        He is also a director of several of AmTrust’s

  subsidiaries. Gulkowitz signed the Company’s annual report, filed with the SEC on Form 10-K,

  each year during the Relevant Period. Moreover, Gulkowitz is a co-founder and partner of

  Brookville Advisory (“Brookville”), an investment fund specializing in credit analysis. The Hod

  Foundation, a private foundation owned and controlled by the Control Group, was the beneficial

  owner of at least 10% of FrontPoint Brookville Credit Opportunities L.P. (“FrontPoint”).

  FrontPoint is managed by Brookville, which means that Gulkowitz personally benefited from the

  investment by the Control Group.

         42.     Defendant Susan C. Fisch (“Fisch”) has served as a director on the Company’s

  Board since 2010, as well as a director of several AmTrust subsidiaries. At all relevant times,

  Fisch has served as a member of the Board’s Audit Committee. She also currently serves as a

  member on the Board’s Compensation Committee and Nominating and Corporate Governance

  Committee. Fisch signed the Company’s annual report, filed with the SEC on Form 10-K, each

  year during the Relevant Period. Based on public disclosures by AmTrust, Fisch has not been

  employed since joining AmTrust’s Board, nor has she served on the Board of any other

  companies (beside AmTrust’s subsidiaries). As such, all of her publicly reported income is from

  AmTrust.

         43.     Defendant Donald T. DeCarlo (“DeCarlo”) has served as a director on the

  Company’s Board since 2006. At all relevant times, DeCarlo has served as a member of the




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  Board’s Audit Committee. DeCarlo signed the Company’s annual report, filed with the SEC on

  Form 10-K, each year during the Relevant Period. DeCarlo is also a director of National General

  Holdings Corp. (“NGHC”).

          44.    Defendant Raul Rivera (“Rivera”) has served as a Company director since August

  2016.

          45.    Defendant Jay Miller (“Miller”) served as an AmTrust director from its founding

  in 1998 until August 1, 2016 and was AmTrust’s corporate secretary from 1998-2005. Miller

  has extremely close ties to the Karfunkel family. Miller is the Chairman of the board of directors

  of Gulf USA Corporation, a property and natural resource company controlled by the

  Karfunkels. Furthermore, Miller is the trustee of The George Karfunkel 2007 Grantor Retained

  Annuity Trust #1 and The George Karfunkel 2007 Grantor Retained Annuity Trust #2, of which

  G. Karfunkel is a beneficiary. Miller was also a director of American Stock Transfer & Trust

  Company, which was founded and owned by the Karfunkel family, until the Karfunkels sold it in

  2008. Miller serves as an advisor to GK Acquisition, a private investment company co-founded

  by George Karfunkel. Miller has also previously served as litigation counsel for the Karfunkel

  Family.

          46.    Defendants Zyskind, G. Karfunkel, L. Karfunkel, Gulkowitz, Fisch, DeCarlo,

  Rivera, and Miller are collectively referred to hereinafter as the “Director Defendants.” In

  addition, Defendants Pipoly, Gulkowitz, and DeCarlo comprise the “Insider Selling Defendants.”

  V.      Relevant Non-Parties

          47.    M. Karfunkel co-founded AmTrust in 1998 and served as the Company’s

  Chairman of the Board from 1998 until his death in April 2016. According to the Definitive

  Proxy Statement filed on Schedule 14A with the SEC on March 29, 2016 (“2016 Proxy

  Statement”), as of March 23, 2016, M. Karfunkel beneficially owned 2,192,824 shares of


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  AmTrust common stock, approximately 1.3% of the Company’s issued and outstanding shares.

  The Company also disclosed in the 2016 Proxy Statement that M. Karfunkel was not considered

  an independent director under the NASDAQ listing rules. During the Relevant Period, and

  before his death, M. Karfunkel was involved in at least thirteen separate related-party

  transactions involving AmTrust and other entities he was affiliated with or owned in part, as

  outlined further herein.

         48.     According to the 2016 Proxy Statement, M. Karfunkel was also a member of the

  controlling stockholder group, along with Zyskind, G. Karfunkel, and L. Karfunkel. He was the

  husband of L. Karfunkel, brother to G. Karfunkel, and father-in-law to Defendant Zyskind.

         49.     The Michael Karfunkel Family 2005 Trust (the “Karfunkel Trust”) held

  15,504,562 shares of the Company’s common stock as of March 27, 2017, which represents

  approximately 9.06% of the Company’s total shares of common stock. The shares held by the

  Karfunkel Trust are beneficially owned and effectively controlled by L. Karfunkel and Zyskind.

  Defendants Zyskind and L. Karfunkel are co-trustees of the Karfunkel Trust, with the ultimate

  beneficiaries of the Karfunkel Trust being M. Karfunkel’s children, one of whom is married to

  Defendant Zyskind.         The Karfunkel Trust is involved in several related-party transactions

  concerning AmTrust, as described below.

         50.     Maiden Holdings, Ltd. (“Maiden”) is a publicly held Bermuda insurance holding

  company that has various reinsurance and service agreements with AmTrust. Maiden was

  formed by M. Karfunkel and Defendants G. Karfunkel and Zyskind. As of December 31, 2015,

  Defendant G. Karfunkel owned or controlled approximately 4.4% of the issued and outstanding

  capital stock of Maiden. As of December 31, 2016, Defendants L. Karfunkel and Zyskind




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  owned or controlled approximately 7.9% and 7.5%, respectively, of the issued and outstanding

  capital stock of Maiden. Defendant Zyskind serves as chairman of Maiden’s board of directors.

         51.    Defendants Zyskind, L. Karfunkel, and G. Karfunkel are thus involved and

  interested in any related-party transactions involving the Company and Maiden. For instance, in

  2007, AmTrust and Maiden entered into a reinsurance agreement that required a Bermuda

  subsidiary of AmTrust to retrocede an amount equal to 40% of its premiums written for certain

  lines of business (net the cost of unaffiliated inuring reinsurance) to a Bermuda subsidiary of

  Maiden. According to the 2017 Proxy, AmTrust recorded approximately $595.7 million of

  ceding commission under this agreement, which is effective until June 2019. Additionally, there

  are at least four more related-party transactions involving Maiden and AmTrust, which are

  referenced on pages 42-44 of the 2017 Proxy Statement, and incorporated by reference herein.

         52.    NGHC is a publicly held specialty personal lines insurance holding company that

  provides a variety of insurance products, including homeowners, umbrella, personal, and

  commercial automobile. AmTrust has an approximately 12% ownership interest in NGHC. The

  two largest stockholders of NGHC are the Karfunkel Trust and a grantor retained annuity trust

  controlled by L. Karfunkel. M. Karfunkel served as NGHC’s chairman and CEO until his death

  in April 2016. M. Karfunkel’s son, NGHC president Barry Karfunkel, replaced him as CEO.

  Defendants Zyskind and DeCarlo are also members of the Board of NGHC.

         53.    Defendants Zyskind and L. Karfunkel are thus involved and interested in any

  related-party transactions involving the Company and NGHC. For instance, AmTrust, pursuant

  to a master services agreement, provides NGHC and its affiliates with information technology

  services in connection with the development and licensing of a policy management system, as

  well as additional administrative services in connection with the same. In return, AmTrust




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  receives 1.25% of National General’s gross written premium, plus AmTrust’s costs for

  development and support services. In 2016, AmTrust earned over $46 million in fees related to

  the master services agreement with NGHC, up from $25.6 million in 2014 and $35.9 million in

  2015.      As a director of both NGHC and AmTrust, DeCarlo was not independent and

  disinterested in approving this agreement.

            54.    These figures do not correspond to NGHC’s financial reporting. For instance, in

  2016, NGHC recorded $51.4 million in expenses related to the master services agreement with

  AmTrust. Additionally, there are at least five more related-party transactions involving NGHC

  and AmTrust, which are referenced on pages 44-45 of the 2017 Proxy Statement, and

  incorporated by reference herein.

            55.    ACP RE Ltd. (“ACP”) is a privately held company solely owned by the Karfunkel

  Trust and thus is considered an AmTrust affiliate. In 2014, ACP usurped a corporate opportunity

  from AmTrust when it acquired Tower Group International, Ltd. (“Tower”) after AmTrust had

  already performed due diligence on Tower and submitted acquisition offers.

                                   SUBSTANTIVE ALLEGATIONS

I.      Defendants Both Encouraged and Failed to Address the Fraudulent Accounting
        Scheme

            56.    Throughout the Relevant Period, Defendants knew or consciously disregarded

  that AmTrust lacked proper internal controls over its financial reporting, and that its financial

  statements were materially inflated by pervasive and wide-ranging accounting fraud. Defendants

  manipulated AmTrust’s financials by improperly accounting for, inter alia: i) warranty fee

     revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

     measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

     owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from



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  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. Further, Defendants were utilizing an array of complicated and

  fraudulent maneuvers that included chronic underreserving of liabilities and inconsistent

  reporting of ceded losses in reinsurance agreements between AmTrust and the other Karfunkel

  family’s businesses. Notwithstanding their significant obligations as members of the Board or as

  corporate officers, and as members of committees charged with overseeing AmTrust’s corporate

  governance and other critical aspects of the Company’s business and operations, Defendants

  failed to investigate, remedy or disclose the illicit accounting schemes or their significant impact

  on the Company. This wholesale abnegation of their oversight responsibilities constituted a

  breach of the duties of loyalty and good faith. Further, Defendant Pipoly, as the Company’s

  CFO, breached his duties of loyalty, good faith, and care by actively participating in accounting

  manipulation and fraud. These fraudulent practices ultimately harmed the Company, leading to

  investigations by the FBI, SEC and NYDFS, costly litigation against the company, harm to the

  Company’s business and reputation, and erosion of its stock price. It caused and is causing the

  Company to overpay to acquire its own stock by over $100 million and incur millions of dollars

  in expenses related to restating the Company’s financials and defending (and in the future likely

  settling) securities fraud litigation. Moreover, the misconduct caused A.M. Best to revise its

  outlook on AmTrust’s (and its subsidiaries’) Long-Term Issuer Credit Rating from stable to

  negative.

         57.     Even as a series of articles and letters called various aspects of the Company’s

  reserve accounting and financial statements into serious doubt, Defendants failed to take any

  action to uphold their fiduciary duties, instead ignoring or denying the problems until the

  Company was finally forced to restate nearly three years of financial statements in 2017, and to




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  take multiple reserve charges totaling hundreds of millions of dollars. The red flags Defendants

  received through these articles and letters not only put them on notice of the overall weaknesses

  of the Company’s accounting, but of specific accounting problems that later contributed to the

  Company’s need to restate its financial statements. Nonetheless, the Defendants did nothing to

  comply with their fiduciary duties.

           A.     Defendants Ignored Blatant Red Flags of Improper Accounting

                  1.     Geo Investing December 2013 Article

           58.    On December 12, 2013, GEO Investing (“GEO”) published an article accusing

  AmTrust of inflating earnings and net equity through the use of offshore entities. 4 According to

  GEO, from 2009-2012, AmTrust failed to disclose a total of $276.9 million in losses ceded to

  Luxembourg subsidiaries. Moreover, GEO accused the Company of improperly valuing its life

  settlement contracts “by using egregiously aggressive assumptions relative to peers despite

  lawsuit documents showing [AmTrust] holds many policies which are probably worthless.” The

  article stated that these accounting issues “could result in large losses and regulatory scrutiny for

  the company.” GEO estimated that using industry standard discount rates to value the life

  settlement contracts would result in a $90-$135 million impairment.

           59.    In reaction to the GEO article, AmTrust’s shares dropped $2.32, or 12%, from a

  close of $19.15 on December 11, 2013 to a close of $16.83 on December 12, 2013. Defendant

  Zyskind publicly denied GEO’s allegations, affirming that the Company had “never been

  stronger” and was being targeted by short sellers looking to profit from a decline in AmTrust’s

  share price.



  4
      The GEO article was titled “AmTrust Financial Services: A House of Cards?”




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                 2.     Barron’s February 2014 Article

         60.     On February 8, 2014, Barron’s published an article questioning whether

  AmTrust’s profits were the result of smart management or aggressive accounting. 5 The article

  asserted that AmTrust’s bookkeeping was likely not as sound as it appeared, noting that even one

  of the Company’s own investment bankers, FBR Capital Markets, was confused about

  AmTrust’s accounting practices. The concerns expressed in the article were raised after “long

  interviews with AmTrust executives,” and Bill Alpert, the article’s author was left “with

  questions about some cost deferrals and reinsurance maneuvers that [other] critics highlighted.”

         61.     The article explored AmTrust’s intricate web of deals with related-parties

  involving members of the Karfunkel family. Specifically, Barron’s discussed the streamlined

  commissions AmTrust received from Tower Group International, NGHC, and Maiden, as well as

  the Karfunkel family’s ownership interest in each entity.       Because of AmTrust’s various

  arrangements with these related-parties, certain AmTrust critics expressed serious doubts as to

  whether AmTrust’s businesses were performing as well as the Company reported them to be:

  "We think that they're using a grab bag of ways to make the business look much better than it

  really is," says Mark Roberts, head of Off Wall Street.

         62.     Barron’s illustrated one example of the Company’s questionable accounting

  scheme:

         Before AmTrust cedes business to outside reinsurers like Maiden, it sends
         premiums and losses to its wholly owned captive reinsurer in Bermuda called
         AmTrust International Insurance. This captive in turn sends some losses to other
         reinsurance captives that AmTrust has in Luxembourg, where tax benefits can be


  5
    Barron’s February 8th article was titled “An Insurer's Feat: Turning Losses Into Gains” and
  subtitled “Insurer AmTrust has a key earnings call on Thursday. Can it persuade investors its
  profits result from smart management, and not aggressive accounting? Watch the stock.”




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         gained by charging those losses against a particular kind of reserve that's not
         available under U.S. accounting rules.

         63.     Through these “unusual” arrangements, AmTrust used the Luxembourg tax

  benefits to lower the Company’s reported operating expenses by roughly $28 million from 2010

  through 2012, a tactic that increased its pretax profits by half a percent.      The accounting

  irregularity, Barron’s noted, stemmed from the fact that the profits from these transactions

  appeared in AmTrust’s financial statements, while the Company’s corresponding losses ceded to

  its Luxembourg subsidiaries did not. AmTrust argued that “those losses are inflated ‘artificially’

  or ‘synthetically’ and don't reflect the real world claims on its primary insurance subsidiaries.”

  Defendant Zyskind further justified this practice as “a way to draw down theses reserves,” and

  that “[t]hey are self-created losses within our organization, so they get completely eliminated in

  consolidation.”

         64.     While AmTrust contended that this arrangement was proper under U.S. and

  Luxembourg accounting rules, in reality the Company was reporting “loss numbers to auditors

  and insurances commissioners that it acknowledges aren’t authentic.” The article also expressed

  concerns with the way AmTrust calculated its profits by deferring costs more aggressively than

  its matching revenues.    Barron’s wrote that the corresponding accounting ratios for these

  variables should be “more or less steady across time and comparable business—but in the years

  following AmTrust’s IPO, its ratio of deferred acquisition costs to unearned premiums . . . has

  climbed from a below-average 17% to as high as 41%.”




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                  3.      Barron’s May 2014 Article

          65.     On May 31, 2014, Barron’s published another article questioning “AmTrust’s

  capital footing.” 6 The article, in relevant part, asserted:

          Multimillion-dollar incongruities appear in AmTrust's various securities and
          insurance filings, for example, in inconsistent loss reserves that have the effect of
          flattering earnings and capital. That's worrisome, because poorly controlled
          reserving can prove to be a snakebite to an insurer if growth slows–triggering a
          double whammy as underwriting losses demand new capital while rendering
          earnings less attractive to investors. If AmTrust's accounting is found wanting, its
          tangible book multiple could drop back to the industry average of 1.4, bringing
          shares down below $15.

                                                   ***

          Questions about whether the company is underreserved arise because of some
          puzzling accounting disparities: AmTrust and Maiden Holdings show a $400
          million difference in their accounting for the same reinsurance activities;
          AmTrust's numbers for acquired reserves differ by $50 million in different parts
          of its financial reports; while the latest 10-K's tabulation of loss reserves leaves
          AmTrust with negative reserves for some years—an impossible accounting that
          would mean that policyholders would actually pay AmTrust millions for claims in
          those periods.

          66.     According to Barron’s, AmTrust’s head of investor relations, Beth Malone,

  emphasized that “AmTrust is more than adequately reserved.”

          67.     Barron’s also questioned AmTrust’s relationship with Maiden, the publicly traded

  insurer controlled by the Karfunkel family. The reinsurance relationship between AmTrust and

  Maiden is substantial, with the Company steering 40% of its premiums and losses to Maiden.

  However, AmTrust’s year-end balance sheet showed approximately $1.9 billion in assets

  receivable from Maiden, whereas Maiden’s balance sheet showed that the liabilities due to

  AmTrust were less than $1.5 billion. According to Barron’s, “[t]hat $400 million variance seems

  to lie mainly in the companies' different reserve estimates for policyholder losses not yet
  6
    Barron’s May 31st article was titled “Balance-Sheet Risk Makes AmTrust Shares Vulnerable”
  and subtitled “Property and casualty insurer AmTrust has shone by growing faster with
  seemingly better margins than rivals. But its accounting raises questions.”


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  reported to the insurers. But such a large disagreement invites the question of whether Maiden is

  understating its liabilities or AmTrust is overstating its assets.”

         68.     Barron’s May 31, 2014 article also accused the Company of manipulating its

  financials by funneling losses through its subsidiaries, three of which had triggered multiple

  warning flags in the IRIS database operated by the National Association of Insurance

  Commissioners:

         State insurance filings of AmTrust units show that the Bermuda captive has lost
         about $400 million under its reinsurance agreements with its AmTrust
         counterparts in the last five years. The Bermuda unit's regulatory capital fell last
         year from $499 million to $416 million, a level just over two-times the minimum
         required for "solvency" under Bermuda's relatively lenient standards. By contrast,
         Maiden ended the year with more than four times Bermuda's capital requirement.

         AmTrust's Bermuda unit is more than adequately capitalized, says Malone, and its
         numbers shouldn't be compared with those of any other reinsurer. That's because
         it reinsures only stable, predictable risks, she says.

         In its 2013 10-K, AmTrust disclosed that three of the company's U.S. subsidiaries
         have triggered four or more warning flags in the IRIS database operated by the
         National Association of Insurance Commissioners. IRIS readings indicate
         abnormal financial ratios at those insurers, which AmTrust attributed to its
         reinsurance structure.

         AmTrust clearly has its own ways of counting. As Barron's previously reported
         ("An Insurer's Feat: Turning Losses Into Gains," Feb. 10, 2014), AmTrust and its
         sister company National General have enhanced their operating margins by
         making more than $200 million in underwriting losses go unreported to investors.
         It did that by sending the losses to wholly-owned Luxembourg reinsurance
         companies. After our story, the AmTrust restated its past financials to remove the
         operating profit boost. Before National General's recent initial public offering,
         the Securities and Exchange Commission challenged its accounting for the
         Luxembourg transactions and National General restated its financials, while
         admitting in its SEC correspondence that its unusual Luxembourg accounting was
         "counterintuitive.” Businesses designed to lose money, like the Luxembourg
         reinsurers, had never been "contemplated by the accounting literature," the insurer
         told the SEC.

         Perhaps AmTrust and its sibling companies are just smarter than everyone else in
         the business.




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         69.     In reaction to Barron’s May 31, 2014 article, AmTrust’s stock price dropped

  $0.60 per share, or 2.81%, over the next two trading days, from $21.35 per share on Friday, May

  30, 2014 to $20.75 per share on Tuesday, June 3, 2014.

         70.     During the summer and fall of 2014, several investors sharply questioned the

  accounting and financial statements of AmTrust. On December 11, 2014, AmTrust filed a

  summons and notice in New York State Supreme Court, New York County, against Alistair

  Capital and others alleging, inter alia, defamation for “dissemination of actionable false and

  misleading statements concerning plaintiff’s business . . . .”

                 4.      The Alistair Capital Letter

         71.     In response, on December 18, 2014, Alistair Capital sent a letter to the Audit

  Committee—Defendants Gulkowitz, DeCarlo, and Fisch—alerting them to “numerous instances

  of improper accounting and indications of material weaknesses in internal controls over financial

  reporting” at AmTrust. The letter highlighted both of Barron’s 2014 articles, as well as several

  reports published by the independent research firm Off Wall Street, raising “serious questions

  with respect to AmTrust’s accounting practices.” In Alistair Capital’s view, “management’s

  responses to these articles have done little to refute the troubling assertions set forth therein. In

  fact, the Company’s responses appear to corroborate the detailed and specific allegations that

  AmTrust’s accounting is severely flawed.” Instead of refuting these allegations, AmTrust has

  opted to “pursue litigation scare tactics designed to silence those who raise difficult questions

  about the Company’s practices.” Given the “lengths to which management has gone in an

  attempt to silence its critics, one has to wonder what the Company is hiding. As members of

  AmTrust’s Board of Directors, and specifically its Audit Committee, we believe it is your duty to

  find out.”




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         72.      The Alistair Capital Letter called into question: (i) the efficacy of AmTrust’s

  internal accounting controls for financial reporting; (ii) AmTrust’s accounting for deferred

  acquisition costs; (iii) AmTrust’s valuation of life settlement contracts; (iv) the sizable difference

  between balance sheet accounts reported by AmTrust and the amounts Maiden reports for the

  corresponding accounts in its financial statements; (v) AmTrust’s accounting for Luxembourg

  Reinsurance Captives; and (vi) AmTrust’s accounting for loss and loss adjustment reserves in

  conjunction with acquisitions.

         73.      Alistair Capital questioned the efficacy of AmTrust’s internal controls over

  financial reporting for a number of reasons. First, Alistair Capital was “concerned about the

  frequent and material differences between amounts reported in AmTrust’s Forms 8-K . . . and

  amounts reported to the SEC in the Company’s Forms 10-K and 10-Q.” Second, Alistair Capital

  believed that the Company’s “loss reserve triangles indicate that either accident years 2008 and

  2009 are woefully deficient (the reserve triangles negative remaining services) or, more likely,

  AmTrust’s disclosures reflect flawed data that validate [Alistair Capital’s] skepticism of the

  Company’s reported financial statements.”         Third, Alistair Capital noticed that “amounts

  disclosed in AmTrust’s balance sheets, cash flow statements, and purchase price allocations ‘for

  Accrued Expenses and Other Liabilities’ appear to be irreconcilable.” Lastly, the Alistair Capital

  Letter noted that, during Defendant Pipoly’s tenure as CFO of Maiden, PricewaterhouseCoopers

  concluded that Maiden had material weaknesses in its internal controls over financial reporting.

         74.      The Alistair Capital Letter further highlighted that “AmTrust appears to

  understate its expense ratio, and therefore overstate its net income, as a result of a mismatch in

  the Company’s recognition of acquisitions costs and premiums in a way that may violate U.S.

  GAAP.”       When questioned by Barron’s about this specific issue, AmTrust’s management




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  provided a misleading answer, improperly comparing AmTrust’s net deferred acquisition costs to

  gross unearned premiums, which artificially lowered the Company’s expense ratio. GAAP rules

  require that acquisition costs be recognized proportionate to a company’s recognition of deferred

  revenue.

         75.     Moreover, Alistair Capital informed the Audit Committee that AmTrust is

  improperly valuing its life settlement contracts “by ignoring readily available information about

  the inputs market participants use to value life settlement contracts.” AmTrust purportedly

  applies a significantly lower discount rate than industry peers to estimate the fair value of its life

  settlement contracts, thereby overvaluing the contracts.

         76.     Another significant deficiency with respect to AmTrust’s accounting, in Alistair

  Capital’s view, “related to the sizeable differences between balance sheet accounts reported in

  AmTrust’s financial statements and the amounts Maiden reports for the corresponding accounts

  in its financial statement.” As set forth in the chart below, there is a significant variance between

  AmTrust’s Reinsurance Recoverable and Maiden’s Unpaid Loss and LAE Reserves:




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         77.      The Alistair Capital Letter accentuated that “[i]f AmTrust is over-estimating the

  amount it will recover from Maiden in proportion to AmTrust’s gross reserves, then AmTrust’s

  equity is directly over-stated by a material amount, particularly relative to tangible equity.” The

  Company would also be in violation of U.S. GAAP if its reinsurance recoverables and gross

  reserves are inconsistent.    Alistair Capital urged the Audit Committee to investigate this

  discrepancy in light of the important quota share agreement between the two companies and the

  related-party nature of its relationship—Defendant Zyskind is the Chairman of Maiden’s Board

  of Directors.

         78.      Alistair Capital further asserted that AmTrust’s accounting for loss and loss

  adjustment reserves assumed in conjunction with its acquisitions was problematic given the $102

  million irreconcilable difference between AmTrust’s reserve reconciliation disclosure ($807.6

  million) and its purchase price allocation disclosures ($705.3 million).




         79.      When confronted with Alistair Capital’s detailed letter to the Audit Committee

  regarding accounting and financial irregularities at AmTrust, the Company quietly backed down

  from its lawsuit. A review of the court docket shows no action was ever taken nor was any other

  filing made. If AmTrust truly believed that the allegations were without basis, it would and

  should have pursued its lawsuit. Instead, the Company and the Board knew the truth, that the

  detailed allegations were well founded. The Defendants’ action in this regard is an admission




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  that they knew the truth, which they would only admit years later with the 2017 financial

  restatement.

                 5.      Barron’s April 2016 Article

         80.     On April 23, 2016, Barron’s once again challenged the adequacy of AmTrust’s

  reserves and its accounting, asserting that “[t]he insurance filings of its subsidiaries show that the

  cost of settling claims for policies issued in the seasoned years 2007-13 have climbed hundreds

  of millions of dollars above the reserves that AmTrust initially set aside.” 7 As such, Barron’s

  explained that the Company “has had to increase substantially its estimates of the cost of settling

  claims, in contrast with the decreases enjoyed by P&C insurance leaders like Chubb (CB) and

  Travelers (TRV).” Barron’s further noted that even analysts at AmTrust’s investment banker,

  KBW, wondered whether the insurer’s underwriting margins were overstated.

         81.     The article also reexamined the Luxembourg accounting transactions.

  Specifically, the article asserted that even though the Company’s insurance losses that were

  ceded to AmTrust’s Luxembourg subsidiary “netted more than $900 million since 2008,

  according to AmTrust’s filings with insurance regulators, [those losses] aren’t reflected in the

  consolidated financials that AmTrust files” with the SEC.

         82.     In reaction to Barron’s April 23 article, AmTrust’s stock price dropped $1.22 per

  share, or 5%, from $26.01 per share on Friday, April 22, 2016 to $24.79 per share on Monday,

  April 25, 2016.

         83.     As a result of these articles, Defendants knew of AmTrust’s fraudulent accounting

  scheme.    Defendants were unquestionably aware of the Barron’s articles, as the Company


  7
    Barron’s April 23rd article was titled “Is AmTrust Stock Worth the Premium?” and subtitled
  “The property & casualty insurer has grown rapidly. But questions persist about its reserve
  adequacy and accounting.”


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  publicly responded to the articles.      In addition, AmTrust’s management provided written

  responses to ten questions posed by Barron’s in 2014. 8 The Alistair Capital letter was addressed

  directly to certain Defendants, namely Gulkowitz, DeCarlo and Fisch.

         B.     Defendants Ignored Red Flags Regarding The Specific Fraudulent
                Accounting Practices, Internal Controls Weaknesses, and Auditor
                Deficiencies that Led to the 2017 Financial Restatements

         84.    As a result of the above-discussed articles and letters, as well as other red flags,

  Defendants were directly on notice of the overall weakness of AmTrust’s internal controls over

  its financial reporting, which, as the Alistair Capital Letter said, was “indicative of an

  environment in which an accounting fraud could be perpetuated.”           Further, the red flags

  described below concerned the very same fraudulent and improper accounting practices that later

  led AmTrust to restate its financials and that subjected them to securities fraud lawsuits and

  investigations by government agencies.

                1.      Red Flags Concerning AmTrust’s Auditor

         85.    On September 12, 2014, AmTrust filed a Form 8-K with the SEC disclosing

  certain details about NYDFS’s approval of ACP’s acquisition of Tower Group International, Ltd.

  ACP is a privately held company solely owned by the Karfunkel Trust and thus is considered an

  AmTrust affiliate. Because of AmTrust’s affiliation with ACP, NYDFS recommended and the


  8
    On May 18, 2016, the Southern Investigative Reporting Foundation published a report, entitled
  “Barry Zyskind’s High Stakes Three Card Monte Game,” that further highlighted Zyskind and
  the Karfunkel family’s persistent desire to navigate financial regulations for their own personal
  gain. The report stated that Zyskind, in an attempt to avoid massive tax liabilities and
  simultaneously maintain his substantial ownership stake in the Company, transferred over $378
  million of AmTrust stock to a purportedly phantom charitable foundation in 2016. According to
  the report, a transfer of this magnitude, when taken together with the current AmTrust holdings
  of other charitable foundations, would violate IRS rules and require Zyskind and the Karfunkel
  family to sell over 23 million shares of AmTrust stock. The report’s author contacted various
  AmTrust representatives but no further investigation by the Company ensued.




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  Karfunkel Trust purportedly agreed that AmTrust would take certain actions due to “the

  significant recent growth in AmTrust’s gross written premium and the likely further future

  growth resulting from its participation in transactions related to ACP’s acquisition of Tower….”

  Among these was a statement implying that BDO was no longer sufficient as the Company’s

  external auditor:

         In light of AmTrust’s growth and increased geographic footprint, AmTrust will
         engage an external auditing firm with corresponding global resources and
         skills beginning with the audit for the annual period ending December 31,
         2015. Before the engagement is undertaken, the selection of the auditing firm
         shall be subject to the review and prior approval of the Department.

  (emphasis added). In spite of not only receiving this red flag from NYDFS, but agreeing to

  replace its auditor, AmTrust maintained BDO as its external auditor for the year ended

  December 31, 2015, and did not replace them until April 2016, when it replaced BDO with

  KPMG. A year later, the Wall Street Journal reported that a whistleblower at BDO had collected

  evidence of AmTrust’s accounting manipulation regarding its reserves and had divulged the

  evidence to the FBI.

                 2.      Red Flags Regarding Internal Controls

         86.     The December 18, 2014 Alistair Capital Letter devoted nearly five pages to

  addressing red flags about the overall inadequacy of AmTrust’s internal accounting controls over

  financial reporting. That section of the letter raised several significant reasons to doubt the

  efficacy of AmTrust’s internal controls:

         First, we are concerned about the frequent and material differences between
         amounts reported in AmTrust’s Forms 8-K, filed with the SEC in conjunction
         with quarterly earnings reports, and amounts reported to the SEC in the
         Company’s Forms 10-K and 10-Q. We believe these frequent and often material
         discrepancies indicate the Company is reporting inaccurate information in one or
         both of the filings for a given period.

         Second, we believe AmTrust’s loss reserve triangles indicate that either accident
         years 2008 and 2009 are woefully deficient (the reserve triangles negative


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         remaining reserves) or, more likely, AmTrust’s disclosures reflect flawed data
         that validate our skepticism of the Company’s reported financial statements.

         Third, we have noticed that amounts disclosed in AmTrust’s balance sheets, cash
         flow statements, and purchase price allocations for “Accrued Expenses and Other
         Liabilities” appear to be irreconcilable, as discussed further below. In addition,
         the amount AmTrust reports for Accrued Expenses and Other Liabilities in the
         footnotes to the Company’s financial statements does not even correspond to the
         amount reported in the balance sheet.

         Fourth, we note that Ronald Pipoly, Jr., AmTrust’s Chief Financial Officer
         (“CFO”), served as the CFO of Maiden Holdings, Ltd. (“Maiden”) during the
         period that PricewaterhouseCoopers determined Maiden had “deficiencies which
         aggregate to a material weakness in internal control over financial reporting”.

         87.     The Alistair Capital Letter then elaborated on each of these issues in detail,

  providing specific examples from financial statements and other documents. Consequently, the

  letter determined, “these signs of weak internal controls for financial reporting purposes are

  indicative of an environment in which an accounting fraud could be perpetuated if members

  of the Audit Committee fail to fulfill their duty of care in diligently monitoring the Company’s

  control environment” (emphasis added). As alleged further herein, such fraud was, indeed,

  perpetrated, and when Defendants could no longer continue to conceal the fraud, they were

  forced to restate several years’ worth of financial statements, including 2012-2016. As part of

  AmTrust’s February 27, 2017 press release, the Company specifically stated that it had

  “identified material weaknesses in its internal control over financial reporting that existed as of

  December 31, 2016, specifically related to ineffective assessment of the risks associated with the

  financial reporting, and an insufficient complement of corporate accounting and corporate

  financial reporting resources within the organization.” Thus, the Alistair Capital Letter put

  Defendants on notice of the overarching and severe problems with the Company’s internal

  controls and its related impact on the Company’s financial reporting.




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          88.     Further, AmTrust’s restatement of financials going back to 2012 not only

  corrected errors related to deferred acquisition costs and the understatement of expenses, but also

  corrected warranty services revenue and foreign exchange adjustment. This led to several years’

  worth of wide-ranging restatements of everything from net income to cash. Thus, the depth and

  breadth of the restatement validated Alistair’s claims that AmTrust’s “internal controls over

  financial reporting are materially deficient.”

                  3.      Red Flags Regarding Reserves

          89.     In addition to internal controls red flags—which put Defendants on notice of a

  problem underlying all of Defendants’ accounting issues—Defendants also were made aware of

  red flags regarding improper accounting regarding reserves.

          90.     For instance, a May 31, 2014 Barron’s article questioned the Company’s reserves,

  stating, “[m]ultimillion-dollar incongruities appear in AmTrust’s various securities and insurance

  filings, for example, in inconsistent loss reserves that have the effect of flattering earnings and

  capital.” Specifically, the article noted that:

          Questions about whether the company is underreserved arise because of some
          puzzling accounting disparities: AmTrust and Maiden Holdings show a $400
          million difference in their accounting for the same reinsurance activities;
          AmTrust's numbers for acquired reserves differ by $50 million in different parts
          of its financial reports; while the latest 10-K's tabulation of loss reserves leaves
          AmTrust with negative reserves for some years—an impossible accounting that
          would mean that policyholders would actually pay AmTrust millions for claims in
          those periods.

          91.     In response, Beth Malone, head of investor relations, stated, “AmTrust is more

  than adequately reserved[.]”

          92.     A subsequent April 23, 2016 Barron’s article specifically addressed the

  inadequacy of AmTrust’s reserves, stating that AmTrust’s statutory filings on behalf of its

  insurance units “show it has consistently underestimated the cost of settling claims.” The article



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  continued, “[i]f the company reserved for claims as conservatively as some bigger insurers do, its

  profits would probably be lower, and so would its shares.” Defendants not only were aware of

  this red flag, but specifically responded to it in order to falsely deny it, stating that the

  Company’s “reserving is conservative and rigorous.” Yet, a mere ten months later, on February

  27, 2017, AmTrust announced that it was taking a reserve charge of $65.0 million, or

  approximately $0.24 per diluted share, due to the fact that “this [Specialty Program] segment has

  underperformed relative to our expectations, which led us to install new leadership and to adjust

  our approach to writing programs for commercial auto, general liability, and workers’

  compensation.” As Barron’s pointed out in a subsequent March 4, 2017 article, titled “Our

  Skepticism on AmTrust Reserves Borne Out,” this meant that their prior warnings about

  AmTrust’s reserves had proven correct:

             On Monday, property and casualty insurer AmTrust Financial Services announced
             disappointing December-quarter earnings and a $65 million reserve charge that
             shouldn’t have surprised anyone familiar with questions Barron’s raised about its
             accounting and reserve levels (most recently in “Is AmTrust Stock Worth the
             Premium?” April 23, 2016). 9

             93.    Defendants not only read this Barron’s article, but issued a document on April 24,

  2016 titled “AmTrust Response to 4/22/16 [sic] Barron’s Article.” Thus, they were not only on

  notice of these red flags but responded to some of them within 24 hours. Defendants’ quick

  response also belies any suggestion that they thoroughly investigated the claims made in the

  article.

             94.    Moreover, despite the $65 million charge in Q4 2016, resulting in total reserve

  charges of $258 million for 2016, and the restatements of its previously filed financial




  9
      http://www.barrons.com/articles/our-skepticism-on-amtrust-reserves-borne-out-1488611788


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  statements, Defendants continue to under-reserve. A May 9, 2017 Barron’s article highlighted

  the issue of under-reserving:

           [A]nalysts asked a lot of questions about the adequacy of the insurer’s loss
           reserves. That’s because the March quarter showed a continuation of AmTrust’s
           practice of setting aside seemingly-low reserves against future claims, despite a
           decade of state insurance filings that show “adverse development” in its reserves
           – meaning that insurance losses have exceeded the company’s earlier estimates. 10

           95.     The fact that AmTrust materially understated its reserves for years was further

  confirmed on November 6, 2017, when AmTrust announced prior year adverse loss and

  allocated loss adjustment expenses (“loss”) reserve development of $327 million for the third

  quarter ended September 30, 2017. Significantly, the increase in loss reserves was driven not by

  recent developments, but on cases the Company had known about for years – namely its program

  business and for the 2013 through 2016 accident years. The $327 million reserve increase was

  so large, and so material that it effectively wiped out 68% of the Company’s 2016 net income

  attributable to common stockholders of $482.2 million, and was more than five times greater

  than the $61.6 million net income reported for the six months ended June 30, 2017.

           96.     The Company’s disclosure confirmed precisely what Barron’s had explicitly

  warned about 18 months earlier – namely, that the Company had been massively underreserved.

  As Barron’s made clear on November 7, 2017, “Numbers contained in the latest announcement

  suggest that most of the newly-announced adverse development occurred on cases already

  known to the company – something that we warned about, in our 2016 story.” In other words,

  the Board was on notice that the Company did not adequately account for loss reserves, but did

  nothing until after the accounting fraud was publicly disclosed.




  10
       http://www.barrons.com/articles/why-amtrust-financial-services-is-tumbling-1494360098


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         97.     Indeed, Barron’s 2016 story expressly warned that, despite continued adverse

  development since 2006, AmTrust continued to use unreasonably low claim estimates:

         The insurance filings of its subsidiaries show that the cost of settling claims for
         policies issued in the seasoned years 2007-13 have climbed hundreds of millions
         of dollars above the reserves that AmTrust initially set aside. Though AmTrust
         defends its reserving, it has had to increase substantially its estimates of the cost
         of settling claims, in contrast with the decreases enjoyed by P&C insurance
         leaders like Chubb (CB) and Travelers (TRV).

                                                ***

         Since 2006, adverse development in the reserves of AmTrust’s three biggest
         units has topped $750 million, before reinsurance. Despite this experience,
         AmTrust has continued to use low claim estimates for their recent years.
         AmTrust cautioned [Barron’s] against “a simplistic extrapolation of historical
         development” and said its reserves “reflect our expectation of ultimate losses
         based on a rigorous actuarial analysis.”

         98.     A further confirmation of the truth of the Barron’s warning is that AmTrust’s

  November 6, 2017 announcement of the $327 million charge consumed exactly the amount of

  reserve reinsurance coverage AmTrust obtained five months prior, in July 2017. On July 6,

  2017, AmTrust entered into a reinsurance agreement with Bermuda reinsurer Premia

  Reinsurance Ltd. for $400 million in adverse loss reserve development. The net loss of $327

  million announced on November 6, 2017, consumed precisely the amount of reinsurance

  coverage still available to AmTrust under that agreement. As the Wall Street Journal reported

  on November 6, “Counting $73 million in similar [reserve] charges earlier this year, the new

  reserves take AmTrust up to the maximum of $400 million in reserve coverage that the Premia

  agreement provides for.” AmTrust’s acquisition of reinsurance coverage worth exactly the

  amount by which the Company’s loss reserves were reported to be understated is no coincidence.

  The Board knew the Company did not adequately account for loss reserves well before it entered

  into the Premia transaction.




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         99.     Barron’s was not alone in alerting AmTrust’s Board to the fact that the Company

  underreserved. Indeed, the Board was confronted with a plethora of red flags alerting them to

  the Company’s massive underreserving. For example, the Alistair Capital Letter specifically

  warned that reserves for certain accident years were negative, “an accounting impossibility,”

  and that AmTrust’s accounting of its related party agreements with Maiden indicated that

  AmTrust was underreporting its necessary reserves:

         If AmTrust is over-estimating the amount it will recover from Maiden in
         proportion to AmTrust’s gross reserves, then AmTrust’s equity is directly over-
         stated by a material amount, particularly relative to tangible equity.
         Furthermore, AmTrust would be in violation of U.S. GAAP if its reinsurance
         recoverables were not consistent with its gross reserves.

         100.    The Alistair Capital Letter also raised concerns that AmTrust was underreporting

  reserves in connection with acquisitions in order to artificially inflate earnings as indicated by

  inconsistent disclosures of reserve allocation:

         The inconsistency among disclosures raises troubling questions about whether
         ASC 944-805was applied correctly throughout the financial statements. In
         addition, one has to wonder about the origin of the over $100 million of additional
         Net Loss & LAE Reserves and whether the additional Net Loss & LAE Reserves
         should have been recognized as income statement expenses. Because the other
         two methodologies line up with one another, it appears likely that AmTrust may
         have simply mischaracterized over $100 million of Net Loss & LAE Reserves –
         overstating earnings by a substantial amount in the process.

         101.    Moreover, as quoted above, the May 2014 Barron’s article warned that

  inconsistent and irreconcilable financial reporting between AmTrust’s and Maiden’s regulatory

  filings indicated that the Company may have been inadequately accounting for its reserves in

  order to inflate income. Finally, as far back as 2013, GEO warned that AmTrust appeared to be

  inaccurately reporting its reserve figures:

         The reported loss reserves in the 10-K ($449.448 million) are different from the
         sum of subsidiary loss reserves ($592.88 million) by the exact amount sitting at
         ACHL ($93.975 million). This is potentially a $93.43 million hole in the
         [AmTrust] balance sheet. . . . Using the same AM Best filings we have been


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             using throughout our article, we can also show that ACHL’s net loss reserves
             appear to not be reflected in [AmTrust’s] 2010 10K. As one would expect, since
             the premium earned ties out (as discussed earlier, unearned premiums tie out
             between AM Best and 10k from the above table, it is revealing that net loss
             reserves do not even closely match. (emphasis in original).

             102.     The revelations concerning the state of the Company’s reserves had a dramatic

  effect on the Company’s financial condition. Following the November 6 disclosure, the price of

  AmTrust stock fell almost 25%. Moreover, AmTrust’s losses forced the sale of its profitable fee

  business and endangered its credit ratings. In this regard, also on November 6, 2017, AmTrust

  announced the sale of a majority stake in some of its U.S. fee businesses to private-equity firm

  Madison Dearborn Partners for $950 million in cash. According to the WSJ, the fee businesses

  generated net income of about $53 million for AmTrust for the 12 months ended June 30, 2017.

  The Company also admitted that the sale of its U.S. fee businesses “helps AmTrust strengthen its

  balance sheet.” 11

             103.     Following the announcement of AmTrust’s reserve strengthening and its plan to

  sell some of its businesses, A.M. Best placed under review with negative implications the

  Company’s credit and financial strength ratings.                  In connection with AmTrust’s increased

  reserved charges, A.M. Best commented:

             the actions raise questions about the potential future movement of reserves for
             these accident years . . . and about price adequacy and underwriting practices for
             the current and more recent accident years. 12




  11
       https://www.wsj.com/articles/amtrust-sells-stake-in-u-s-fee-businesses-to-private-equity-firm-1510013235
  12
       http://www3.ambest.com/ambv/bestnews/presscontent.aspx?altsrc=1&refnum=25899


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                 4.     Red Flags Regarding Improper Accounting for Deferred Acquisition Costs

         104.    At least as early as February 2014, Defendants received red flags about problems

  with the way the Company accounted for its deferred acquisition costs – one of the accounting

  issues that was the subject of both the underlying fraud and the 2017 restatements.

         105.    Specifically, a February 8, 2014 Barron’s article titled “An Insurer’s Feat:

  Turning Losses Into Gains” discussed, inter alia, the ways in which “AmTrust gets an even

  bigger profit boost by deferring costs more aggressively than the matching revenues”:

         Insurers put a portion of their premium revenues into a balance sheet reserve
         called "unearned premiums," while deferring a matching portion of commissions
         and other premium-generating expenses into an asset called "deferred policy
         acquisition costs" —amortizing each over the course of the coverage. The ratio of
         these line items should be more or less steady across time and comparable
         businesses–but in the years following AmTrust's IPO, its ratio of deferred
         acquisition costs to unearned premiums, net of reinsurance items, has climbed
         from a below-average 17% to as high as 41%. Some of that rise surely reflects
         acquisition accounting, which puts the deferred costs of companies bought by
         AmTrust into the separate category of goodwill. But Off Wall Street suggests that
         AmTrust has also been violating the matching principle by capitalizing costs
         more aggressively than revenues like the ceding commission that AmTrust gets
         from Maiden.

         AmTrust's Chief Financial Officer Ronald Pipoly describes its deferral accounting
         as "very conservative.” He notes that AmTrust didn't have to restate deferrals
         when accounting rules tightened in 2011, unlike some rivals. The company
         produced for Barron's a chart showing AmTrust's cost/revenue deferrals ratio as
         18% in the September quarter, around the middle of its peers. But the ratios used
         by the company were actually an apples-to-oranges comparison of net costs to
         gross revenues, in which the deferred cost numerator was reduced by
         reinsurance commissions. However, the unearned premium denominator was
         not reduced by the corresponding prepaid reinsurance premiums. (emphasis
         added).

         106.    This article was among the red flags that put Defendants on notice of the

  Company’s improper accounting for deferred acquisition costs.          Further, Defendants were

  already on notice of this issue, as Zyskind specifically spoke with Barron’s for purposes of the

  article and the Company provided Barron’s with a chart purporting to show its cost/revenue



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  deferrals ratio. Improper deferral of acquisition costs throughout the Relevant Time Period was

  also one of the issues that caused Defendants to later restate the Company’s financials.

  II.    DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES BY CAUSING THE
         COMPANY TO REPURCHCASE STOCK AT INFLATED PRICES, AND, IN
         THE CASE OF THE SELLING DEFENDANTS, BY SELLING STOCK TO THE
         COMPANY AT INFLATED PRICES

         107.    In breach of their fiduciary duties to AmTrust and its stockholders, and, as

  explained below, in violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5,

  Defendants issued, and caused the Company to issue, statements that, in light of the illicit

  accounting scheme detailed above, were materially false or misleading when made. Defendants’

  misrepresentations artificially inflated the price of AmTrust shares, causing the Company to

  purchase shares at artificially inflated prices, through its significant stock repurchase program. 13

         108.    Defendants’ misconduct had at least three primary aims, ball of which were

  realized:

         First, by causing AmTrust to conduct share repurchases, Defendants signaled to investors

  their purported belief that AmTrust shares were trading at a discount, which caused investors to

  purchase shares and thereby drive the price up. This was particularly important to the Control

  Group which owned half of the Companies’ shares. Further, and relatedly, the Company’s

  repurchasing of shares artificially inflated its financial metrics such as earnings per share, as the

  repurchases resulted in fewer outstanding shares. The artificial inflation of AmTrust shares

  helped mask the illicit accounting scheme (and thus helped perpetuate it);

         Second, as detailed below, as a result of the artificial inflation of the price of AmTrust

  shares, the Insider Selling Defendants sold shares at higher prices, and in some instances sold


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    Defendants’ materially false and misleading statements throughout the Relevant Period are
  documented in paragraphs 125 to 136.


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  them to the Company, thus reaped greater proceeds than they would have absent the artificial

  inflation; and

          Third, as described in detail below, Zyskind, the CEO and a member of the Control

  Group, received tens of millions of dollars in compensation that was based in part on financial

  results that were later restated.


          A.       Defendants Caused AmTrust to Conduct a Massive Stock Repurchase
                   Program

          109.     AmTrust’s Board periodically authorizes the Company to repurchase its own

  shares of common stock. The Board authorized a series of share repurchases during the Relevant

  Period that, collectively, were substantially higher than any other repurchases in the Company’s

  history.

          110.     In December 2013, AmTrust’s Board of Directors approved a $150 million share

  repurchase program. In April 2016, the Board of Directors approved an increase of $200 million

  to the Company’s existing stock repurchase authorization. As detailed in the chart below,

  between June 2014 and August 2016, AmTrust repurchased approximately 8,045,787 shares of

  its stock, paying over $227 million for them:




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             Month/Year of          Shares            Weighted-            Amount
              Repurchase         Repurchased 14      Average Price

            June 2014                     266,886        $41.08            $10,963,677

            August 2014                      1,771       $42.50                $75,268

            September 2014                841,131        $39.83            $33,502,248

            October 2014                  367,379        $39.69            $14,581,273

            December 2014                  92,448        $56.25             $5,200,200

            January 2015                   10,505        $55.00               $577,775

            February 2015                  37,783        $55.60             $2,100,735

            December 2015                 184,898        $30.79             $5,693,009

            February 2016                 658,552        $24.90            $16,397,945

            March 2016                       5,539       $24.96               $138,253

            April 2016                  2,096,017        $24.79            $51,960,261

            May 2016                      448,506        $25.93            $11,629,761

            June 2016                   1,031,337        $24.57            $25,339,950

            July 2016                   1,899,645        $24.39            $46,332,342

            August 2016                   103,390        $24.34             $2,516,513

                  Total                 8,045,787                         $227,009,210



         111.   After the November 2017 announcements, concerning additional reserve charges

  and a surprise 3Q 2017 loss, AmTrust’s share price fell to $10.04. This reflected the true price

  per share of AmTrust stock had Defendants not engaged in the illicit accounting scheme detailed

  herein. Therefore, any repurchases by the Company should have been made valuing their


  14
    Includes shares that were withheld to satisfy tax withholding amounts due from certain
  employees upon the vesting of previously issued restricted shares.


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  common stock at $10.04.        As such, during the Relevant Period, AmTrust overpaid for

  repurchases of its own stock by approximately $146 million.

         112.    In conducting share repurchases, Defendants falsely signaled to the public that

  they believed AmTrust’s shares were undervalued and that the repurchases were the best use of

  the Company’s cash. The share repurchases also had the effect of growing the Company’s

  earnings per share—as share repurchases lower the number of shares outstanding, on which

  earnings per share are based—as well as its return on assets, return on equity, and other metrics.

  Together, these actions helped inflate AmTrust’s share price.

         B.      The Insider Selling Defendants Unlawfully Profited at AmTrust’s Expense
                 By Selling Back Shares to the Company at Artificially Inflated Prices

         113.    During the Relevant Period, the Insider Selling Defendants (Pipoly, Gulkowitz,

  and DeCarlo) – who were the CFO and the majority of the Audit Committee – took advantage of

  the artificial inflation of AmTrust’s shares caused by Defendants’ false or misleading statements.

  These Defendants collectively sold or otherwise disposed of over $5,625,000 in AmTrust stock

  during that time, all while in the possession of material, non-public information. The Company’s

  share price was also lifted during that time by the share repurchase program, which was

  approved despite Defendants’ knowledge or conscious disregard of the unlawful practices

  detailed in this Complaint.

         114.    As detailed in the chart below, Defendant Pipoly sold or otherwise disposed of

  89,780 shares of AmTrust common stock for a total of $3,152,561:

                  Transaction     Number of         Price per        Total Value
                     Date          Shares            Share

                  02/15/2014             2,045        $33.33               $68,160

                  02/15/2014             1,959        $33.33               $65,293




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               Transaction   Number of     Price per      Total Value
                  Date        Shares        Share

               03/05/2014         1,812         $38.16         $69,146

               03/22/2014          378          $38.87         $14,693

               01/02/2015        14,393        $56.029        $806,425

               01/02/2015          481         $56.6358        $27,242

               02/15/2015         2,841         $55.60        $157,960

               02/15/2015         2,770         $55.60        $154,012

               03/05/2015         2,238         $53.87        $120,561

               03/05/2015         2,288         $53.87        $123,255

               01/04/2016         2,000        $60.154        $120,308

               02/04/2016         4,000        $27.3534       $109,414

               02/15/2016         3,970         $25.05         $99,449

               03/04/2016         4,000        $25.605        $102,420

               03/05/2016         4,475         $25.73        $115,142

               03/05/2016         4,575         $25.73        $117,715

               03/05/2016         3,241         $25.73         $83,391

               04/04/2016         4,000        $26.4044       $105,618

               05/04/2016         4,000        $25.6055       $102,422

               01/03/2017         4,000        $27.1845       $108,738

               02/03/2017         4,000        $26.7312       $106,925

               03/03/2017         4,000        $22.6708        $90,683

               03/05/2017         3,210         $23.03         $73,926

               03/05/2017         3,282         $23.03         $75,584

               03/05/2017         2,325         $23.03         $53,545



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                 Transaction     Number of        Price per        Total Value
                    Date          Shares           Share

                 03/05/2017            3,497          $23.03              $80,536

                     Total            89,780                          $3,152,563 15



         115.   As detailed in the chart below, Defendant Gulkowitz sold or otherwise disposed

  of 22,251 shares of AmTrust common stock for a total of $859,600:

                Transaction      Number of            Price per       Total Value
                   Date           Shares               Share

                11/24/2015               7,125         $61.84             $440,610

                12/20/2016             15,126          $27.70             $418,990

                    Total              22,251                           $859,600 16



         116.   As detailed in the chart below, Defendant DeCarlo sold or otherwise disposed of

  46,673 shares of AmTrust common stock for a total of $1,613,795:

                Transaction     Number of        Price per Share      Total Value
                   Date          Shares

                05/21/2014           21,689           $44.4438            $963,942

                09/15/2016            2,200           $26.5299             $58,366

                10/03/2016            3,114           $26.1925             $81,563

                11/01/2016            3,200           $25.8859             $82,835

                12/01/2016            3,420           $25.7497             $88,064



  15
     As of April 11, 2017, Defendant Pipoly’s ownership interest in AmTrust was worth
  $5,085,077.
  16
    As of April 11, 2017, Defendant Gulkowitz’s ownership interest in AmTrust was worth
  $595,445.


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                 Transaction     Number of        Price per Share      Total Value
                    Date          Shares

                 01/03/2017             4,620          $27.1896            $125,616

                 02/01/2017             4,830          $26.6686            $128,809

                 03/01/2017             3,600           $23.50              $84,600

                      Total            46,673                          $1,613,795 17



         117.    At the time of these stock transactions, the Insider Selling Defendants knew about

  or consciously disregarded material, non-public information regarding the illicit accounting

  scheme, but nonetheless sold or otherwise disposed of AmTrust common stock on the basis of

  that information.

         C.      In Repurchasing Stock, AmTrust relied on Defendants’ False or Misleading
                 Statements

         118.    In repurchasing shares in connection with the stock repurchase program, AmTrust

  relied on Defendants’ false or misleading statements, either directly or through the “fraud on the

  market” doctrine articulated in Basic Inc. v. Levinson, 485 U.S. 224 (1988), and Halliburton Co.

  v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014), or through the doctrine articulated in

  Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).

         119.    Throughout the Relevant Period, AmTrust justifiably expected Defendants to

  disclose material information as required by law and SEC regulations in the Company’s periodic

  filings with the SEC. AmTrust would not have repurchased its securities at artificially inflated

  prices had Defendants disclosed all material information then known to them, as detailed in this

  Complaint.    Thus, reliance by AmTrust should be presumed with respect to Defendants’


  17
     As of April 11, 2017, Defendant DeCarlo’s ownership interest in AmTrust was worth
  $1,711,121.40.


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  omissions of material information as established under the Affiliated Ute presumption of

  reliance.

         120.    Additionally, the “fraud on the market” presumption applies to Defendants’

  misstatements of material fact or failures to disclose material facts.

         121.    At all relevant times, the market for AmTrust’s common stock was efficient, for

  the following reasons, among others:

         a)      AmTrust’s stock met the requirements for listing, and was listed and actively
                 traded on the NASDAQ, a highly efficient and automated market;

         b)      As a regulated issuer, AmTrust filed periodic reports with the SEC and the
                 NASDAQ;

         c)      AmTrust regularly communicated with public investors via established market
                 communication mechanisms, including through regular disseminations of press
                 releases on the national circuits of major newswire services and through other
                 wide-ranging public disclosures, such as communications with the financial press
                 and other similar reporting services;

         d)      AmTrust was followed by numerous securities analysts employed by major
                 brokerage firms, who wrote reports that were distributed to those brokerage firms’
                 sales force and certain customers, and each of those reports was publicly available
                 and entered the public market place; and

         e)      The market price of AmTrust’s stock reacted rapidly to new information entering
                 the market.

         122.    As a result of the foregoing, the market for AmTrust’s common stock promptly

  digested current information regarding the Company from all publicly available sources and

  reflected such information in the price of AmTrust’s stock. The foregoing facts indicate the

  existence of an efficient market for trading of AmTrust stock and support application of the

  fraud-on-the-market doctrine.

         123.    AmTrust relied on the integrity of the market price for the repurchase of its stock

  and is entitled to a presumption of reliance with respect to Defendants’ misstatements and

  omissions alleged in this Complaint.


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         124.    Had AmTrust known of the material adverse information not disclosed by

  Defendants, or been aware of the truth behind Defendants’ material misstatements, the Company

  would not have repurchased AmTrust stock at artificially inflated prices.

  III.   DEFENDANTS VIOLATED SECTION 10(b) OF THE EXCHANGE ACT AND
         SEC RULE 10b-5, AND BREACHED THEIR FIDUCIARY DUTIES, BY
         KNOWINGLY OR RECKLESSLY ISSUING MATERIALLY FALSE AND
         MISLEADING STATEMENTS DURING THE RELEVANT PERIOD

         125.    Throughout the Relevant Period, Defendants engaged in fraudulent manipulation

  of a wide range of AmTrust’s accounting metrics, in violation of GAAP, SEC regulations, and

  AmTrust’s own internal policies. Among other things, AmTrust failed to properly estimate its

  loss reserves, account for bonuses paid, adjust foreign currency transaction gains and losses, and

  recognize revenue. Instead of properly and conservatively reserving for its losses as it had

  repeatedly claimed, Defendants fraudulently failed to adequately reserve for losses in the

  Company’s Specialty Program segment. For each of the fiscal years discussed below (2014,

  2015, and 2016), AmTrust has admitted to improperly accounting for: (i) warranty fee revenue;

  (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange measurements; (v)

  capitalized software costs; (vi) imputed interest on contingent consideration owed as a result of

  certain business acquisitions; (vii) internal brokerage commissions paid from one subsidiary to

  another; (viii) unaccrued liabilities; and (ix) certain balance sheet items, including premium

  receivables. As a result, the Company has restated its annual financial results for each of the

  years 2014, 2015 and 2016, as well as its quarterly results for each quarter of 2015 and 2016. 18

  These restatements included substantial downward revisions of net income attributable to

  common stockholders in 2014 and 2015 by 7.2% and 11.2%, respectively, as well as downward

  18
     Because the Company has only restated its annual results, rather than each quarterly result
  individually, for 2014, Plaintiffs plead on information and belief that AmTrust’s financials for
  each quarter of 2014 were false.


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  revisions of net income attributable to common stockholders for the first three quarters of 2016

  by 19.38%, 6.00%, and 28.39%, respectively. In addition, AmTrust was forced to take a $65

  million reserve charge during Q4 2016 due to improper reserving practices in its Specialty

  Program segment.

          126.    AmTrust’s press releases, investor presentations and public filings with the SEC

  included material misstatements and/or omissions concerning the Company’s financial results,

  which included consistently touting that it was adequately reserved. These false and misleading

  statements created a false impression concerning AmTrust’s business and operational status and

  future growth prospects and caused AmTrust to repurchase $227 million worth of stock at

  artificially inflated prices.

          127.    Defendants’ knowing or reckless issuance of these false statements inflated the

  Company’s stock price throughout the Relevant Period. These practices also defrauded the

  Company, as it repurchased approximately 8 million shares at inflated prices via its buyback

  program.

          A.      False Statements

                  1.       First Quarter 2014 Financial Results

          128.    On May 1, 2014, the Company issued a press release announcing its first quarter

  2014 earnings results (“Q1 2014”). The Company reported total service and fee income of $91.0

  million; net income of $101.7 million; net income attributable to AmTrust common stockholders

  of $99.9 million; and diluted earnings per share (EPS) of $1.27. Gross written premium was

  $1.67 billion, an increase of $722.3 million, or 76.5%, from $943.9 million in the same prior

  year period. The Company also reported loss and loss expense reserves of $4.75 billion.




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          129.    On May 12, 2014, the Company filed its Form 10-Q for Q1 2014 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results.

          130.    Defendants’ financial results summarized in paragraph 128 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. As a result of this fraudulent accounting, Defendants have been

  forced to restate their financials for the full year 2014, including the metrics in paragraph 128. In

  addition, Defendants fraudulently understated their loss reserves, which has already resulted in

  the Company taking multiple reserve charges totaling approximately $585 million. The details

  of each of these improper accounting items are discussed further below at paragraphs 211 to 236.

          131.    In addition, the Q1 2014 Form 10-Q (and each of AmTrust’s subsequent quarterly

  and annual reports filed with the SEC described herein) contained certifications signed by

  Defendants Zyskind and Pipoly pursuant to §302 of the Sarbanes-Oxley Act of 2002 (“SOX”)

  attesting that the financial information contained in the filing was true, did not omit material

  facts, and that the Company’s internal and disclosure controls were effective.

          132.    For example, Defendants Zyskind and Pipoly certified in the Q1 2014 Form 10-Q

  (and each of AmTrust’s subsequent quarterly and annual reports filed with the SEC described

  herein) that:

          [T]his report does not contain any untrue statement of a material fact or omit to
          state a material fact necessary to make the statements made, in light of the



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         circumstances under which such statements were made, not misleading with
         respect to the period covered by this report.

         133.   With respect to AmTrust’s reported financial information, Defendants Zyskind

  and Pipoly certified in the Q1 2014 Form 10-Q that:

         Based on my knowledge, the financial statements, and other financial information
         included in this report, fairly present in all material respects the financial
         condition, results of operations and cash flows of the registrant as of, and for, the
         periods presented in this report.

         134.   With respect to AmTrust’s internal controls, Defendants Zyskind and Pipoly

  certified in the Q1 2014 Form 10-Q (and each of AmTrust’s subsequent quarterly and annual

  reports filed with the SEC described herein) that they personally: (i) were responsible for

  establishing and maintaining disclosure controls and procedures; (ii) designed or caused

  AmTrust’s controls or procedures to be designed to ensure that material information relating to

  AmTrust and its consolidated subsidiaries was made known to them by others within those

  entities; (iii) designed or caused AmTrust’s controls over financial reporting to provide

  reasonable assurance regarding the reliability of financial reporting and the preparation of

  financial statements for external purposes in accordance with GAAP; (iv) evaluated the

  effectiveness of AmTrust’s disclosure controls and procedures; and (v) presented in AmTrust’s

  quarterly and annual filings their conclusions about the effectiveness of the disclosure controls

  and procedures.

         135.   Defendants’ statements cited in paragraphs 132 to 134 were false and misleading,

  because, as was later revealed in connection with the Company’s 2017 financial restatements,

  AmTrust had a material weakness in its internal controls throughout the Relevant Time Period.

  Further, Defendants failed to ensure that AmTrust’s financial reporting was accurate, but rather

  deliberately or recklessly allowed the Company’s financial reporting to be false and misleading,

  including the violations of GAAP summarized at paragraphs 217 to 236 below.


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                   2.     Second Quarter 2014 Financial Results

         136.      On August 7, 2014, AmTrust issued a press release announcing its second quarter

  2014 earnings results (“Q2 2014”). The Company reported total service and fee income of $99.5

  million; net income of $104.2 million; net income attributable to AmTrust common stockholders

  of $106.3 million; and diluted earnings per share (EPS) of $1.33. In addition, “[l]oss and loss

  adjustment expense totaled $587.2 million in the second quarter 2014, compared to $364.1

  million in the second quarter 2013 and resulted in a loss ratio of 67.1% compared with 67.9% for

  the second quarter 2013.” Loss and loss adjustment expense reserves were approximately $5.08

  billion as of June 30, 2014.

         137.      Defendants’ financial results summarized in paragraph 136 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. As a result of this fraudulent accounting, Defendants have been

  forced to restate their financials for the full year 2014, including the metrics in paragraph 136. In

  addition, Defendants fraudulently understated their loss reserves, which has already resulted in

  the Company taking multiple reserve charges totaling approximately $585 million. The details

  of each of these improper accounting items are discussed further below in paragraphs 211 to 236.

         138.      On August 7, 2014, the Company held a conference call to discuss its financial

  results for the second quarter of 2014, wherein Defendants Pipoly and Zyskind discussed 2014

  loss reserves:




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         Ron Pipoly

         You know 2014, we evaluate our loss reserves in all of our lines of business on a
         monthly basis and we’re certainly encouraged about the trends that we see in prior
         excellent years as low as the current excellent year at seven month of valuation
         period. We’d encouraged about the trends we see in frequency, trends we see in
         average severity. We are holding steady with our loss picks. And, again we
         evaluate it on a monthly basis and have a lot of internal discussion about direction
         and the trends that we see and look to take advantage of the market.

         Barry Zyskind

         Just to add to it, as I said it in some previous call. [20]12, obviously, we started
         seeing a lot of improvement in the [20]12 compare to the [20]11 year, [20]13 was
         much improved over [20]12 and I would say [20]14 is tracking very similar to
         [20]13 and may be in some cases even better. So we’re looking at the trends,
         we’re seeing now for the [20]13, [20]14 and the [20]12 year and really we see
         very solid performance and again we think very conservative and discipline where
         we have to pick but we think that the performance is very, very solid and we think
         there’s a lot of profitability in those lines.

         139.    This statement was false and misleading because, in fact, Defendants were not

  “conservative” with respect to their loss reserves, but rather were deliberately and fraudulently

  under-reserving and manipulating the Company’s accounting in order to hide this fact.

         140.    On August 11, 2014, the Company filed its Form 10-Q for Q2 2014 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results. The Q2 2014 Form 10-Q represented that AmTrust’s financial results

  were accurate and presented in accordance with GAAP.             The Q2 2014 Form 10-Q also

  represented that the Company’s internal controls were effective and disclosed any material

  changes to the Company’s internal controls over financial reporting. The Q2 2014 Form 10-Q

  included Defendants Zyskind and Pipoly’s certification pursuant to SOX, identical in all material

  aspects to the certifications quoted in paragraphs 132 to 133.

         141.    Defendants’ statements cited in paragraphs 138 to 140 were false and misleading,

  because, as was later revealed in connection with the Company’s 2017 financial restatements,



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  AmTrust had a material weakness in its internal controls throughout the Relevant Time Period.

  Further, Defendants failed to ensure that AmTrust’s financial reporting was accurate, but rather

  deliberately or recklessly allowed the Company’s financial reporting to be false and misleading,

  including the violations of GAAP described in detail below in paragraphs 217 to 236.

                 3.      Third Quarter 2014 Financial Results

         142.    On November 3, 2014, AmTrust issued a press release announcing its third

  quarter 2014 earnings results (“Q3 2014”). For the quarter, the Company reported total service

  and fee income of $117.6 million; net income of $157.2 million; net income attributable to

  AmTrust common stockholders of $156.6 million; and diluted earnings per share (EPS) of $1.97.

  In addition, “[l]oss and loss adjustment expense totaled $609.4 million in the third quarter 2014,

  compared to $410.6 million in the third quarter 2013 and resulted in a loss ratio of 66.6%

  compared with 66.9% for the third quarter 2013.” As of September 30, 2014, loss and loss

  adjustment expense reserves totaled $5.298 billion.

         143.    Defendants’ financial results summarized in paragraph 142 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. As a result of this fraudulent accounting, Defendants have been

  forced to restate their financials for the full year 2014, including the metrics in paragraph 142. In

  addition, Defendants fraudulently understated their loss reserves, which has already resulted in

  the Company taking multiple reserve charges totaling approximately $585 million. The details

  of each of these improper accounting items are discussed further below in paragraphs 211 to 236.


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         144.    On November 10, 2014, the Company filed its Form 10-Q for Q3 2014 with the

  SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust’s

  previously reported financial results. The Q3 2014 Form 10-Q represented that AmTrust’s

  financial results were accurate and presented in accordance with GAAP. The Q3 2014 Form 10-

  Q also represented that the Company’s internal controls were effective and disclosed any

  material changes to the Company’s internal controls over financial reporting. The Q3 2014

  Form 10-Q included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical

  in all material aspects to the certifications quoted in paragraphs 132 to 133.

         145.    Defendants’ statements cited in paragraph 144 were false and misleading,

  because, as was later revealed in connection with the Company’s 2017 financial restatements,

  AmTrust had a material weakness in its internal controls throughout the Relevant Time Period.

  Further, Defendants failed to ensure that AmTrust’s financial reporting was accurate, but rather

  deliberately or recklessly allowed the Company’s financial reporting to be false and misleading,

  including the violations of GAAP summarized in pargraphs 217 to 236.

                 4.      Fourth Quarter and Full Year 2014 Financial Results

         146.    On February 11, 2015, AmTrust issued a press release announcing its fourth

  quarter and full year 2014 earnings results (“Q4 2014”). For the quarter, AmTrust reported

  service and fee income of $101.7 million; net income of $83.5 million; net income attributable to

  AmTrust common stockholders of $71.6 million; and diluted earnings per share (EPS) of $0.88.

  In addition, “[l]oss and loss adjustment expense totaled $587.5 million in the fourth quarter

  2014, compared to $470.4 million in the fourth quarter 2013 and resulted in a loss ratio of 64.7%

  compared with 66.5% for the fourth quarter 2013.” As of December 31, 2014, loss and loss

  adjustment expense reserves totaled $5.66 billion.




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         147.   For the full year 2014, the Company reported total service and fee income of

  $409.7 million; net income of $446.6 million; net income attributable to AmTrust common

  stockholders of $434.3 million; and diluted earnings per share (EPS) of $5.45.

         148.   Defendants’ financial results summarized in paragraphs 146 to 147 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236.         In addition, Defendants fraudulently

  understated their loss reserves, which has already resulted in the Company taking multiple

  reserve charges totaling approximately $585 million.

         149.   Indeed, as described further in paragraphs 197 to 236, Defendants subsequently

  admitted, via the Company’s 2017 financial restatements, that their financials were dramatically

  overstated for 2014, including, inter alia, net income attributable to common stockholders, which

  was overstated by 7%, or $31.3 million; and total service and fee income for 2014, which was

  overstated by 10.8%, or $44.38 million.

         150.   With respect to AmTrust’s accounting for warranty fee revenue, the 2014 Form

  10-K stated as follows:

         Warranty Fee Revenue – The Company promotes and markets extended service
         plans (“ESP”) to consumers through retailers and certain other marketing
         organizations usually with terms of coverage ranging from one to three years,
         commencing at the expiration of the manufacturers’ warranty, if applicable. The
         Company generally insures the obligations under ESPs through contractual
         liability insurance issued by one of its insurance company subsidiaries. Under the



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         terms of service agreements with various retailers, the Company provides for
         marketing and administrative services related to ESP. These agreements are
         generally for one-year terms and can be canceled by either party with thirty days
         advance notice. The Company recognizes revenue related to promotion,
         marketing and administration services at the time of the sale of ESP. However,
         the Company defers a portion of service revenue based upon an estimate of
         administrative services to be provided in future periods. (emphasis added).

         151.    This statement was false and/or misleading because, as was later revealed, the

  Company was fraudulently recognizing excessive amounts of warranty fee revenue up front and

  not deferring sufficient portions of the revenue.

         152.    On February 11, 2015, AmTrust held a conference call with analysts and investors

  to discuss Q4 and full year 2014 financial results.         During the call, Defendant Zyskind

  commented on AmTrust’s loss reserves:

         Again, I think, you get kind of the fourth quarter as if you think about exiting the
         year 2014, I am not suggesting that a 12-month period makes it a seasoned book
         of business but you start to see trends emerging in terms of loss cost and claim
         focus of ratio and the thing that as you move through the year, you get more
         comfortable from a loss pick perspective. So I think that the fourth quarter
         benefits on a quarterly basis from any revisions you make during that quarter. So I
         really think when you look at the loss ratios, I think that the year is more
         reflective of our overall view of where we’re at, but again we as I mentioned we
         continue to look at our reserves on a monthly basis. We like where we are from a
         – think we’re very conservative from actuarial pick perspectives, as I mentioned
         we’ve added over $800 million of net reserves. Our IBNR is really nearly 50% of
         our gross reserves as we sit here at December 31st 2014. Again I think things are
         encouraging thought price environment continues to remain firm. We like the
         trends that we see in comp package some of our other commercial products
         specialty risk and extended warranty, so I think 2015 is shaping up to be a very
         solid year from a loss pick perspective. (emphasis added).

         153.    This statement was false because, in fact, the Company was not “conservative”

  with respect to its reserving but rather engaged in fraudulent under-reserving practices.

         154.    On March 2, 2015, the Company filed its Annual Report on Form 10-K for the

  period ending December 31, 2014, which was signed and certified by Defendants and reiterated

  AmTrust’s previously reported financial results.         The 2014 Form 10-K represented that



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  AmTrust’s financial results were accurate and presented in accordance with GAAP. The 2014

  Form 10-K also represented that the Company’s internal controls were effective and disclosed

  any material changes to the Company’s internal controls over financial reporting. The 2014

  Form 10-K included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical

  in all material aspects to the certifications quoted in paragraphs 132 to 133.

         155.    These statements were false and misleading because, as was later revealed, in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

                 5.      First Quarter 2015 Financial Results

         156.    On May 5, 2015, AmTrust issued a press release announcing its first quarter 2015

  earnings results (“Q1 2015”). For the quarter, AmTrust reported total service and fee income of

  $112.9 million; net income of $164.1 million; net income attributable to AmTrust common

  stockholders of $154.7 million; and diluted earnings per share (EPS) of $1.85. In addition,

  “[l]oss and loss adjustment expense totaled $613.3 million in the first quarter 2015, compared to

  $558.6 million in the first quarter 2014, and resulted in a loss ratio of 64.6% compared with

  67.4% for the first quarter 2014.” As of March 31, 2015, loss and loss adjustment expense

  reserves totaled $5.886 billion.

         157.    Defendants’ financial results summarized in paragraph 156 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration


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  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables.       Indeed, as revealed by the Company’s 2017 financial

  restatements: service and fee income was later revised downward by $10.767 million, or 9.5%;

  net income was revised downward by $21.179 million, or 12.9%; net income attributable to

  common stockholders was revised downward by $21.179 million, or 13.7%, and diluted earnings

  per share was revised downward by $0.13, or 14%. The details of each of these improper

  accounting items are discussed further below in paragraphs 211 to 236. In addition, Defendants

  fraudulently understated their loss reserves, which has already resulted in the Company taking

  multiple reserve charges totaling approximately $585 million.

         158.    On May 5, 2015, AmTrust held a conference call with analysts and investors to

  discuss Q1 2015 financial results. During the conference call, Defendant Zyskind commented on

  the Company’s loss reserves, stating in pertinent part:

         I don't think there is any one event or anything. I think we do believe they are
         based on where we are now, that it's definitely, in our opinion, cash flowing
         positive. And as we mentioned in the last call, we think we have sufficient, if
         not, excess reserves in terms of a lot of reserves we’ve put up against
         contestability in these things. So we think we’re in very good position on the
         portfolio.

         159.    During the May 5 conference call, Defendant Pipoly also emphasized AmTrust’s

  conservative approach in estimating loss reserves: “Well, yes, I think at the end of the day, when

  you look at reserves and consistent with our practice over the years, we've taken a conservative

  approach as we enter these new accident years.”

         160.    The statements in paragraphs 158 to 159 were false and misleading, because, in

  fact, Defendants were using fraudulent methods to understate their reserve needs and under-

  reserve for losses.



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         161.    On May 11, 2015, the Company filed its Form 10-Q for Q1 2015 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results. The Q1 2015 Form 10-Q represented that AmTrust’s financial results

  were accurate and presented in accordance with GAAP.             The Q1 2015 Form 10-Q also

  represented that the Company’s internal controls were effective and disclosed any material

  changes to the Company’s internal controls over financial reporting. The Q1 2015 Form 10-Q

  included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical in all

  material aspects to the certifications quoted in paragraphs 132 to 133.

         162.    These statements were false and misleading because, as was later revealed, in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

                 6.     Second Quarter 2015 Financial Results

         163.    On August 4, 2015, AmTrust issued a press release announcing its second quarter

  2015 earnings results (“Q2 2015”). For the quarter, AmTrust reported total service and fee

  income of $107.7 million; net income of $80.7 million; net income attributable to AmTrust

  common stockholders of $70.7 million; and diluted earnings per share (EPS) of $0.84. In

  addition, “[l]oss and loss adjustment expense totaled $638.5 million in the second quarter 2015,

  compared to $587.2 million in the second quarter 2014, and resulted in a loss ratio of 65.9%

  compared with 67.1% for the second quarter 2014.”           As of June 30, 2015, loss and loss

  adjustment expense reserves totaled $6.38 billion.




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         164.    Defendants’ financial results summarized in paragraph 163 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables.       Indeed, as revealed by the Company’s 2017 financial

  restatements: service and fee income was later revised downward by $11.577 million, or 10.7%;

  net income was revised downward by $24.962 million, or 30.9%; net income attributable to

  common stockholders was revised downward by $24.962 million, or 25.3%, and diluted earnings

  per share was revised downward by $0.15, or 35.7%. The details of each of these improper

  accounting items are discussed further below in paragraphs 211 to 236. In addition, Defendants

  fraudulently understated their loss reserves, which has already resulted in the Company taking

  multiple reserve charges totaling approximately $585 million.

         165.    On August 10, 2015, the Company filed its Form 10-Q for Q2 2015 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results. The Q2 2015 Form 10-Q represented that AmTrust’s financial results

  were accurate and presented in accordance with GAAP.             The Q2 2015 Form 10-Q also

  represented that the Company’s internal controls were effective and disclosed any material

  changes to the Company’s internal controls over financial reporting. The Q2 2015 Form 10-Q

  included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical in all

  material aspects to the certification quoted in paragraphs 132 to 133.




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         166.    These statements were false and misleading because, as was later revealed, in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

                 7.     Third Quarter 2015 Financial Results

         167.    On November 3, 2015, AmTrust issued a press release announcing its third

  quarter 2015 earnings results (“Q3 2015”). For the quarter, AmTrust reported total service and

  fee income of $126.1 million; net income of $193 million; net income attributable to AmTrust

  common stockholders of $182.7 million; and diluted earnings per share (EPS) of $2.17. In

  addition, “[l]oss and loss adjustment expense totaled $709.6 million in the third quarter 2015,

  compared to $609.4 million in the third quarter 2014, and resulted in a loss ratio of 67.9%

  compared with 66.6% for the third quarter 2014.” As of September 30, 2015, loss and loss

  adjustment expense reserves totaled $6.69 billion.

         168.    Defendants’ financial results summarized in paragraph 167 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236. Indeed, as revealed by the Company’s 2017

  financial restatements: service and fee income was later revised downward by $13.22 million, or


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  10.5%; net income was revised upward by $3.349 million, or 1.7%; net income attributable to

  common stockholders was revised upward by $3.349 million, or 1.4%, and diluted earnings per

  share was revised upward by $0.02, or 1.4%.

         169.     In addition, Defendants fraudulently understated their loss reserves, which has

  already resulted in the Company taking multiple reserve charges totaling approximately $585

  million.

         170.    On November 9, 2015, the Company filed its Form 10-Q for Q3 2015 with the

  SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust’s

  previously reported financial results. The Q3 2015 Form 10-Q represented that AmTrust’s

  financial results were accurate and presented in accordance with GAAP. The Q3 2015 Form 10-

  Q also represented that the Company’s internal controls were effective and disclosed any

  material changes to the Company’s internal controls over financial reporting. The Q3 2015

  Form 10-Q included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical

  in all material aspects to the certification quoted in paragraphs 132 to 133.

         171.    These statements were false and misleading because, as was later revealed, in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 211 to 236.

                 8.      Fourth Quarter and Full Year 2015 Financial Results

         172.    On February 10, 2016, AmTrust issued a press release announcing its fourth

  quarter and full year 2015 earnings results. For the quarter, AmTrust reported total service and

  fee income of $131.4 million; net income of $72.6 million; net income attributable to AmTrust


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  common stockholders of $63.9 million; and diluted earnings per share (EPS) of $0.37. In

  addition, “[l]oss and loss adjustment expense totaled $720.8 million in the fourth quarter 2015,

  compared to $587.5 million in the fourth quarter 2014, and resulted in a loss ratio of 68.1%

  compared with 64.7% for the fourth quarter 2014.” As of December 31, 2015, loss and loss

  adjustment expense reserves totaled $7.2 billion.

         173.    For the full year 2015, the Company reported service and fee income of $478.2

  million; net income of $510.5 million; net income attributable to AmTrust common stockholders

  of $472 million; and diluted earnings per share (EPS) of $2.80.

         174.    Defendants’ financial results summarized in paragraphs 172 to 173 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236. Indeed, as revealed by the Company’s 2017

  financial restatements: for the fourth quarter service and fee income was later revised downward

  by $14.499 million, or 11%; net income was revised downward by $10.097 million, or 13.9%;

  net income attributable to common stockholders was revised downward by $10.097 million, or

  15.8%, and diluted earnings per share was revised downward by $0.06, or 16.2%.

         175.    In addition, Defendants fraudulently understated their loss reserves, which has

  already resulted in the Company taking multiple reserve charges totaling approximately $585

  million.




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          176.   Indeed, as described further in paragraphs 197 to 236, Defendants subsequently

  admitted that their financials were dramatically overstated for 2015, including, inter alia, net

  income attributable to common stockholders, which was overstated by 11%, or $52.9 million;

  and total service and fee income for 2014, which was overstated by 10.5%, or $50 million.

          177.   On February 10, 2016, AmTrust held a conference call with analysts and investors

  to discuss Q4 and full year 2015 financial results. During the call, Defendant Pipoly discussed

  “loss picks for 2016”:

          But I think we are talking a conservative view at where we are on the trend.
          And I think that's really reflected in the fact that as we sit here at December 31,
          2015, 53.3% of our total gross reserves were in IBNR, which is up over 4% from
          year-end 2015. So I think we are taking a conservative view towards loss picks
          for 2016. But we continue to be encouraged by the trends that we see and discuss
          on a monthly basis.

          178.   The statements in paragraph 177 were false and misleading, because, in fact,

  Defendants were using fraudulent methods to understate their reserve needs and under-reserve

  for losses.

          179.   On February 29, 2016, the Company filed its Annual Report on Form 10-K for the

  period ending December 31, 2015, which was signed and certified by Defendants and reiterated

  AmTrust’s previously reported financial results.         The 2015 Form 10-K represented that

  AmTrust’s financial results were accurate and presented in accordance with GAAP. The 2015

  Form 10-K also represented that the Company’s internal controls were effective and disclosed

  any material changes to the Company’s internal controls over financial reporting. The 2015

  Form 10-K included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical

  in all material aspects to the certification quoted in paragraphs 132 to 133.

          180.   These statements were false and misleading because, as was later revealed,

  AmTrust had a material weakness in its internal controls throughout the Relevant Time Period.



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  Further, Defendants failed to ensure that AmTrust’s financial reporting was accurate, but rather

  deliberately or recklessly allowed the Company’s financial reporting to be false and misleading,

  including the violations of GAAP summarized in paragraphs 217 to 236.

                 9.      First Quarter 2016 Financial Results

         181.    On May 3, 2016, AmTrust issued a press release announcing its first quarter 2016

  earnings results (“Q1 2016”). For the quarter, AmTrust reported total service and fee income of

  $144.2 million; net income of $113 million; net income attributable to AmTrust common

  stockholders of $100.3 million; and diluted earnings per share (EPS) of $0.56. In addition,

  “[l]oss and loss adjustment expense totaled $715.1 million in the first quarter 2016, compared to

  $613.3 million in the first quarter 2015, and resulted in a loss ratio of 66.6% compared with

  64.6% for the first quarter 2015.” As of March 31, 2016, loss and loss adjustment expense

  reserves totaled $7.516 billion.

         182.    Defendants’ financial results summarized in paragraph 181 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236. Indeed, as revealed by the Company’s 2017

  financial restatements: service and fee income was later revised downward by $15.396 million,

  or 10.7%; net income was revised downward by $16.279 million, or 14.4%; net income

  attributable to common stockholders was revised downward by $16.279 million, or 16.2%, and

  diluted earnings per share was revised downward by $0.09, or 16.1%. In addition, Defendants


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  fraudulently understated their loss reserves, which has already resulted in the Company taking

  multiple reserve charges totaling approximately $585 million.

          183.   On May 3, 2016, AmTrust held a conference call with analysts and investors to

  discuss Q1 2016 financial results. During the call, Defendant Pipoly expressed that AmTrust

  was taking “a conservative view on our current accident year,” and discussed the following:

          I think at the end of the day and maybe the commentary we gave on the third
          quarter call and the fourth quarter call last year, hopefully would have led to this
          kind of idea of somewhere in the low 90s from a combined ratios. If you think
          about any reserve movement that you may have within a truncated period whether
          from the third quarter, fourth quarter of last year, I mean expect those loss ratios
          in that quarter, so I think what you see is really stabilizing of the overall loss ratio
          and I think that reflects where we think we are at from a pricing environment not
          only in US workers comp, but in Italian med mal. So I think we are very
          comfortable at the 66.6% loss ratio we are able to achieve and I think expenses
          remain virtually unchanged at 24.6 which really is consistent with you know there
          hasn’t been a significant shift in business mix.

          184.   The statements in paragraph 183 were false and misleading, because, in fact,

  Defendants were using fraudulent methods to understate their reserve needs and under-reserve

  for losses.

          185.   On May 10, 2016, the Company filed its Form 10-Q for Q1 2016 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results. The Q1 2016 Form 10-Q represented that AmTrust’s financial results

  were accurate and presented in accordance with GAAP.                The Q1 2016 Form 10-Q also

  represented that the Company’s internal controls were effective and disclosed any material

  changes to the Company’s internal controls over financial reporting. The Q1 2016 Form 10-Q

  included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical in all

  material aspects to the certification quoted in paragraphs 132 to 133.

          186.   These statements were false and misleading because, as was later revealed in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness


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  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

                10.     Second Quarter 2016 Financial Results

         187.   On August 2, 2016, AmTrust issued a press release announcing its second quarter

  2016 earnings results (“Q2 2016”). For the quarter, AmTrust reported total service and fee

  income of $138.3 million; net income of $152.2 million; net income attributable to AmTrust

  common stockholders of $134.8 million; and diluted earnings per share (EPS) of $0.78. In

  addition, “[l]oss and loss adjustment expense totaled $784.4 million in the second quarter 2016,

  compared to $638.5 million in the second quarter 2015, and resulted in a loss ratio of 66.4%

  compared with 65.9% for the second quarter 2015.”         As of June 30, 2016, loss and loss

  adjustment expense reserves totaled $9.097 billion.

         188.   Defendants’ financial results summarized in paragraph 187 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236. Indeed, as revealed by the Company’s 2017

  financial restatements: service and fee income was later revised downward by $13.965 million,

  or 10.1%; net income was revised downward by $7.635 million, or 5.0%; net income attributable

  to common stockholders was revised downward by $7.635 million, or 5.7%, and diluted earnings


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  per share was revised downward by $0.04, or 5.1%. The details of each of these improper

  accounting items are discussed further below in paragraphs 211 to 236. In addition, Defendants

  fraudulently understated their loss reserves, which has already resulted in the Company taking

  multiple reserve charges totaling approximately $585 million.

         189.    On August 2, 2016, AmTrust held a conference call with analysts and investors to

  discuss Q2 2016 financial results. During the call, Defendant Zyskind touted AmTrust’s ability

  to properly calculate loss reserves:

         Again on an overall basis I think we do a very good job of setting reserves at
         adequate levels in order to take the claims to conclusion. I mean you’ll see
         pockets of movements within Officer lines of business on an aggregate basis,
         there was no any material adverse development related to prior accident years.

         190.    This statement was false and misleading, because, in fact, Defendants were using

  fraudulent methods to understate their reserve needs and under-reserve for losses.

         191.    On August 9, 2016, the Company filed its Form 10-Q for Q2 2016 with the SEC,

  which was signed and certified by the Officer Defendants and reiterated AmTrust’s previously

  reported financial results. The Q2 2016 Form 10-Q represented that AmTrust’s financial results

  were accurate and presented in accordance with GAAP.             The Q2 2016 Form 10-Q also

  represented that the Company’s internal controls were effective and disclosed any material

  changes to the Company’s internal controls over financial reporting. The Q2 2016 Form 10-Q

  included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical in all

  material aspects to the certification quoted in paragraphs 132 to 133.

         192.    These statements were false and misleading because, as was later revealed in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly



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  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

                 11.    Third Quarter 2016 Financial Results

         193.    On November 3, 2016, AmTrust issued a press release announcing its second

  quarter 2016 earnings results (“Q3 2016”). For the quarter, the Company reported total service

  and fee income of $146.6 million; net income of $118.1 million; net income attributable to

  AmTrust common stockholders of $103.6 million; and diluted earnings per share (EPS) of $0.60.

  In addition, “[l]oss and loss adjustment expense totaled $811.0 million in the third quarter 2016,

  compared to $709.6 million in the third quarter 2015, and resulted in a loss ratio of 67.8%

  compared with 67.9% for the third quarter 2015.” As of September 30, 2016, loss and loss

  adjustment expense reserves totaled approximately $9.428 billion.

         194.    Defendants’ financial results summarized in paragraph 193 were false and

  misleading because Defendants improperly and fraudulently accounted for: (i) warranty fee

  revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign exchange

  measurements; (v) capitalized software costs; (vi) imputed interest on contingent consideration

  owed as a result of certain business acquisitions; (vii) internal brokerage commissions paid from

  one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain balance sheet items,

  including premium receivables. The details of each of these improper accounting items are

  discussed further below in paragraphs 211 to 236. Indeed, as revealed by the Company’s 2017

  financial restatements: service and fee income was later revised downward by $12.754 million,

  or 8.7%; net income was revised downward by $22.9 million, or 19.4%; net income attributable

  to common stockholders was revised downward by $22.9 million, or 22.1%, and diluted earnings

  per share was revised downward by $0.01, or 1.7%. In addition, Defendants fraudulently




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  understated their loss reserves, which has already resulted in the Company taking multiple

  reserve charges totaling approximately $585 million.

         195.    On November 14, 2016, the Company filed its Form 10-Q for Q3 2016 with the

  SEC, which was signed and certified by the Officer Defendants and reiterated AmTrust’s

  previously reported financial results. The Q3 2016 Form 10-Q represented that AmTrust’s

  financial results were accurate and presented in accordance with GAAP. The Q3 2016 Form 10-

  Q also represented that the Company’s internal controls were effective and disclosed any

  material changes to the Company’s internal controls over financial reporting. The Q3 2016

  Form 10-Q included Defendants Zyskind and Pipoly’s certifications pursuant to SOX, identical

  in all material aspects to the certification quoted in paragraphs 132 to 133.

         196.    These statements were false and misleading because, as later revealed in

  connection with the Company’s 2017 financial restatements, AmTrust had a material weakness

  in its internal controls throughout the Relevant Time Period. Further, Defendants failed to

  ensure that AmTrust’s financial reporting was accurate, but rather deliberately or recklessly

  allowed the Company’s financial reporting to be false and misleading, including the violations of

  GAAP summarized in paragraphs 217 to 236.

         B.      False Accounting and Breaches of Fiduciary Duty Start to be Revealed

                 1.      February 27, 2017 Press Release

         197.    On February 27, 2017, AmTrust reported fourth quarter 2016 earnings that fell

  well short of Wall Street expectations due, in large part, to a $65 million reserve charge primarily

  related to strengthening of prior year loss and loss adjustment reserves in its “Specialty Program”

  segment. The Company also identified and corrected errors during the three months ended

  December 31, 2016 related to prior periods in 2015 and 2016. These errors included accruing for

  bonuses paid (which also impacted prior periods), adjusting foreign currency transactions gains


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  and losses and deferring a portion of warranty contract revenue associated with administration

  services previously recognized upfront.      AmTrust also disclosed that it expected to make

  corrections “to errors in its financial statements for fiscal years ended December 31, 2015 and

  2014 and certain financial information for fiscal years ended December 31, 2013 and 2012 for

  inclusion in the Form 10-K and these processes have not been completed.”

          198.   The February 27, 2017 press release also revealed that AmTrust would be unable

  to timely file its annual report and that it had identified material weaknesses in its internal

  controls over financial reporting that existed as of December 31, 2016 relating to its ineffective

  assessment of the risks associated with the financial reporting and an insufficient complement of

  corporate accounting and corporate financial reporting resources within the organization. The

  Company also warned that additional adjustments and/or material weaknesses could be

  identified.

                 2.      February 27, 2017 Conference Call

          199.   On February 27, 2017, the Company held a conference call with analysts and

  investors to discuss its financial results for the fiscal quarter ended December 31, 2016. During

  the conference call, Defendant Pipoly discussed AmTrust’s internal controls over financial

  reporting:

          Additional time is needed for us to conclude our consolidated financial statements
          and assess internal controls over financial reporting for fiscal year 2016. And as a
          consequence for KMPG to complete its audit procedures and to audit the
          consolidated financial statements included in Form 10-K we will need a little
          additional time. As such, we expect to file our 10-K on or before March 16th,
          which we can still be considered a timely filer for SEC reporting purposes.

          In addition as part of our year-end close work, we’ve reviewed our internal
          controls of our financial reporting as required by Section 404 of the Sarbanes-
          Oxley Act of 2002 and identify material weaknesses in our internal control
          structure over financial reporting.




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         These specifically relate to ineffective assessment of risk associated with financial
         reporting in an insufficient complement of corporate accounting and corporate
         financial reporting resources within the organization.

         We expect to complete the remaining work quickly and file the 10-K within allot
         15 day expansion period. We’ve started the process to improve our internal
         controls over financial reporting. We are expanding and enhancing our senior
         financial leadership team so we have the expertise and resources AmTrust needs.

         200.    In reaction to these disclosures, AmTrust’s stock plummeted $5.32 per share, or

  19.23%, from $27.66 per share on Friday, February 24, 2017 to $22.34 per share on Monday,

  February 27, 2017—wiping out over $900 million in Company market capitalization in one

  trading day.

                 3.     March 16, 2017 Press Release

         201.    On March 16, 2017, after the close of the financial markets, the Company

  announced that it would need additional time to complete its consolidated financial statements

  and assessment of internal controls over financial reporting for the fiscal year ended December

  31, 2016. The Company also disclosed that its consolidated financial statements for 2014 and

  2015 (including for each of the four quarters of 2015) as well as for the first three quarters of

  2016 needed to be restated and should no longer be relied upon. The press release stated that the

  Form 10-K filing delay and restatement “largely relate to the timing of recognition of revenue . .

  . in the Company's service and fee business.” These errors related to the upfront recognition of a

  portion of warranty contract revenue and bonuses that were expended in the year paid but that

  should have been accrued in the year earned.

         202.    On this news, AmTrust’s share price fell $4.03, or almost 19%, from $21.61 per

  share on Thursday, March 16, 2017 to $17.58 per share on Friday, March 17, 2017.




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                 4.     April 4, 2017 Disclosures

         203.    On April 4, 2017, AmTrust informed investors that the impact of the restatements,

  which primarily involve the timing of recognition of revenue in the Company's service and fee

  business, “to net income attributable to common stockholders in 2014 and 2015 was a decline of

  7.2% and 11.2%, respectively. Net income attributable to common stockholders in fiscal years

  2014, 2015, and 2016, was $402.9 million, $419.1 million, and $363.1 million, respectively.”

         204.    On that same date, the Company filed its 2016 Annual Report on Form 10-K with

  the SEC explaining “the impact of the Restatement on the Consolidated Statements of Income

  primarily resulted in decreased service and fee income, increased acquisition costs and other

  underwriting expenses, and decreased interest expense, which ultimately resulted in decreases to

  net income.” With regards to the Company’s balance sheets, the restatements “resulted in an

  increase of premiums receivable and other assets, a reduction of deferred policy acquisition costs

  and property plant and equipment, an increase in accrued expenses and other liabilities, and a

  decrease in stockholders’ equity.” The restatements also decreased previously reported

  stockholders' equity by $88.4 million as of December 31, 2013.

         205.    As part of the restatements, AmTrust made adjustments to correct errors in: (i)

  warranty fee revenue; (ii) accrual of bonuses; (iii) deferred acquisition costs; (iv) foreign

  exchange measurements; (v) capitalized software costs; (vi) imputed interest on contingent

  consideration owed as a result of certain business acquisitions; (vii) internal brokerage

  commissions paid from one subsidiary to another; (viii) unaccrued liabilities; and (ix) certain

  balance sheet items, including premium receivables.




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          C.      AmTrust’s Financial Reporting Through the Relevant Period was Materially
                  False and Misleading in Violation of GAAP and SEC Regulations Governing
                  Financial Reporting

          206.    During the Relevant Period, defendants violated GAAP and SEC regulations

  governing the reporting of AmTrust’s financial results and the maintenance of an effective

  system of internal control over financial reporting and public disclosure. 19 Throughout the

  Relevant Period, AmTrust issued to investors and filed with the SEC, financial statements that

  the Officer Defendants and the Director Defendants falsely represented were prepared in

  conformity with GAAP.

          207.    At issue in this case are the Company’s financial statements for years ended

  December 31, 2012 through December 31, 2015, along with each of the quarters included

  therein, as well as the first three quarters of fiscal year 2016.

          208.    AmTrust violated GAAP standards and SEC rules because, as AmTrust has

  admitted, the financial statements contained in AmTrust’s SEC filings were not prepared in

  conformity with applicable GAAP and SEC requirements, nor was the financial information a

  fair presentation of the Company’s operations.

          209.    Indeed, AmTrust has now admitted that the financial statements issued to

  investors during the Relevant Period were materially false and misleading and “should no longer

  be relied upon.” (emphasis added).




  19
     GAAP are those principles recognized by the accounting profession as the conventions, rules,
  and procedures necessary to define accepted accounting practice at a particular time. SEC
  Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) states that financial statements filed with the SEC
  which are not prepared in compliance with GAAP are presumed to be misleading and
  inaccurate, despite footnote or other disclosure. Regulation S-X requires that interim financial
  statements must also comply with GAAP.


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         210.   In fact, AmTrust has acknowledged that the Company’s Relevant Period financial

  statements were riddled with accounting errors and/or financial manipulations, resulting in

  overstatements of net income attributable to stockholders by as much as 13% in certain years.

         211.   AmTrust has restated multiple years of its financial statements to correct myriad

  GAAP violations and financial reporting improprieties, including:

         (a) Warranty Fee Revenue – During the preparation of its financial statements for
         the year ended December 31, 2016, management became aware of a potential
         misapplication of the revenue recognition guidance in relation to its accounting
         for warranty contract revenue associated with promotion, marketing and
         administration services (collectively, “administration services”) provided as part
         of extended service plans (“ESPs”). The Company has historically recognized the
         majority of revenue related to administration services at the time of the sale of
         ESP. However, the Company revised its application of the revenue recognition
         guidance to record revenue related to administration services on a straight-line
         basis over the term of the ESP contracts. This correction of an error, which
         created an overstatement of service and fee income and an overstatement of other
         expenses that were also recognized upfront in current periods, required a
         restatement of the Company’s previously issued financial statements.

         (b) Accrual of Bonuses – In prior years, the Company had expensed discretionary
         bonuses paid to its employees in the year the bonuses were paid because the
         Company did not consider the discretionary bonuses to be “probable,” which is
         the standard required for accrual. Upon review of ASC 270, Interim Reporting,
         and ASC 450, Contingencies, management determined that its application was
         incorrect because, even though the bonuses were discretionary, the bonuses
         should have been estimated and expenses assigned to interim periods so that the
         interim periods bear a reasonable portion of the anticipated annual amount. This
         created an error resulting in an overstatement of acquisition costs and other
         underwriting expenses, requiring a restatement of the Company’s previously
         issued financial statements.

         (c) Deferred Acquisition Costs – The Company corrected errors in its calculation
         of deferred acquisition costs related to (i) the over-amortization of certain
         deferred acquisition costs in 2015, resulting in an overstatement of expenses in
         2015, (ii) the capitalization of certain salaries and consulting fees that were not
         eligible for deferral, resulting in an understatement of expenses, (iii) the treatment
         of certain costs in the Company’s U.K. operations as both underwriting expenses
         and salary and benefit expenses, resulting in the duplication of the amount
         capitalized and deferred, and (iv) the inclusion of deferred warranty
         administration fees and obligor liabilities associated with the administration
         services provided to our ESPs.



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         (d) Foreign exchange gain/(loss) – The Company corrected errors related to the
         re-measurement of monetary balances denominated in foreign currencies into
         their functional currencies that were recorded as other comprehensive income.
         Given the monetary nature of some of these assets, the re-measurement impact
         should have been recorded as foreign currency transaction gain/(loss) in our
         income statements.

         (e) Capitalized software – The Company capitalized certain internally developed
         software costs that did not meet criteria for deferral under ASC 350, Intangibles -
         Goodwill and Other. This error resulted in an over-capitalization of certain
         software expenses, and an understatement of expenses.

         (f) Imputed interest – The Company corrected an error related to interest imputed
         on contingent consideration owed as a result of certain business acquisitions,
         which resulted in an understatement of interest expense in 2015.

         (g) Intercompany eliminations – The Company corrected an error related to
         internal brokerage commissions paid from one of its subsidiaries to another
         subsidiary, which should have been eliminated in consolidation, thereby causing
         an overstatement of commission income in 2015.

         (h) Other Items – The Company corrected other errors that impacted the 2014 and
         2015 consolidated financial statements, including unaccrued liabilities,
         uncollectible other receivables, accrued commissions, unrecognized amortization
         expense, unrealized loss on investments, and proper year end cut-off related to
         premiums and claims.

         (i) Balance Sheet Items – The Company historically recorded certain receivables
         (premium and other) net of commissions and now records the receivables on a
         gross basis, with the associated commission payable in other accrued expenses
         and liabilities. In addition, the Company corrected a classification error involving
         short term investments and cash/cash equivalents, and fixed assets and other
         investments in the Consolidated Balance Sheets.

                 1.      AmTrust Admitted Its Financial Statements Were Materially False and
                         Misleading

         212.    AmTrust’s March 16, 2017 press release and Form 8-K revealed that the

  Company’s previously issued consolidated financial statements for 2014 and 2015 (including for

  each of the four quarters of 2015) as well as for the first three quarters of 2016 should be restated

  and “should no longer be relied upon.”




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          213.   AmTrusts’s Form 10-K filed April 4, 2017 confirmed and expanded the numerous

  and varied violations of GAAP and financial reporting improprieties necessitating the

  restatement of AmTrust’s financial statements for the following ten consecutive reporting

  periods: (1) years ended December 31, 2012; (2) December 31, 2013; (3) December 31, 2014;

  (4) December 31, 2015; as well as the quarters ended (5) March 31, 2015; (6) June 30, 2015; (7)

  September 30, 2015; (8) March 31, 2016; (9) June 30, 2016; and (10) September 30, 2016.

  Defendants perpetrated these improprieties by deliberately employing a host of accounting

  schemes and manipulations, the majority of which can be generally classified under the

  following categories: (a) overstatement of reported revenues; (b) understatement of reported

  expenses; and (c) other GAAP violations that the Company’s deficient controls did not and could

  not prevent.

          214.   There is no dispute that AmTrust’s Relevant Period financial statements were

  false. Nor is there any dispute that those false financial statements were reported in AmTrust’s

  quarterly and annual SEC filings, and included in the various offering documents issued during

  the Relevant Period.

          215.   Defendants have restated AmTrust’s prior financial results and admitted that they

  were materially false as to, among other things: (i) AmTrust’s Income before other income

  (expense), provision for income taxes, equity in earnings of unconsolidated subsidiaries and non-

  controlling interest; (ii) net income; and (iii) earnings per share, as detailed in AmTrust’s 2016

  Form 10-K. The restatement reveals that the reported net income attributable to AmTrust

  common stockholders was overstated for years ended December 31, 2012 through December 31,

  2015:




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                        Net Income attributable to AmTrust common
                        stockholders
                        ($000)
                         Year Reported       Adjusted   Restated Diff.
                         2012    $177,987   ($22,786)   $155,201 -13%
                         2013    $286,874   ($38,056)   $240,181 -14%
                         2014    $434,276   ($31,334)   $402,942 -7%
                         2015    $472,004   ($52,889)   $419,115 -11%


         216.    The fact that AmTrust restated its previously issued financial statements is an

  admission that (i) the financial results as originally reported during the Relevant Period and its

  public statements regarding those results were materially false and misleading; and (ii) the

  financial statements reported during the Relevant Period were incorrect based on information

  available to defendants at the time the results were originally reported.

         217.    As noted by the SEC, GAAP only allows a restatement of prior financial

  statements based upon information “that existed at the time the financial statements were

  prepared,” and “restatements should not be used to make any adjustments to take into account

  subsequent information that did not and could not have existed at the time the original financial

  statements were prepared.” 20 The Financial Accounting Standards Board (“FASB”), the

  governing body that promulgated the accounting rules regarding restatements of prior financial

  statements, has defined “restatement” as “the process of revising previously issued financial

  statements to reflect the correction of an error in those financial statements.”      See FASB

  Accounting Standards Codification (“ASC”) Topic 250-10-20, Accounting Changes and Error

  Corrections. FASB also defines “errors” that may be corrected through a restatement as: “an

  error in recognition, measurement, presentation, or disclosure in financial statements resulting

  20
     In re Sunbeam Sec. Litig., No. 98-8258-Civ.- (S.D. Fla. filed Feb. 22, 2002), SEC Amicus
  Curiae Brief regarding Defendants Motion In Limine to Exclude Evidence of the Restatement
  and the Restatement Report at 11, ECF No. 870.


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  from mathematical mistakes, mistakes in the application of [GAAP], or oversight or misuse of

  facts that existed at the time that the financial statements were prepared.” Id.

                 2.      Defendants Overstated AmTrust’s Reported Revenue

         218.    Defendants violated GAAP and SEC regulations by engaging in certain practices

  that overstated AmTrust’s reported revenues, in particular the Company’s Service and Fee

  Income. First, AmTrust improperly accelerated the recognition of Warranty fee revenue, rather

  than recognizing it ratably over the term of the ESP contracts.

         219.    GAAP permits the recognition of revenue only if the following criteria are met:

  (i) persuasive evidence of an arrangement exists; (ii) delivery has occurred; (iii) the vendor's fee

  is fixed or determinable; and (iv) collectibility is probable. SEC Staff Accounting Bulletin

  (“SAB”) No. 104. Moreover, in order for revenue to be recognized, it must be earned and

  realized or realizable. Concepts Statement No. 5, Recognition and Measurement in Financial

  Statements of Business Enterprises, ¶ 83, ASC 605-10-25-1(a). Revenues are earned when the

  reporting entity has substantially accomplished what it must do to be entitled to the benefits

  represented by the revenues. Id. Revenues are realizable when related assets received or held

  are readily convertible to known amounts of cash or claims to cash. Id. If collectibility is not

  reasonably assured, revenues should be recognized on the basis of cash received. Concepts

  Statement No. 5, ¶ 84g; see also ASC 605-10-25-1. If payment is subject to a significant

  contingency, revenue recognition is improper. ASC 450-30-25-1, Loss Contingencies.

         220.    Second, defendants overstated AmTrust’s total revenues during the Relevant

  Period in violation of GAAP by improperly accounting for certain intercompany transactions.

  ASC Topic No. 810, Consolidation, provides that intercompany profits and losses are to be

  eliminated from consolidated financial statements. But in contravention of GAAP, AmTrust

  improperly recognized internal brokerage commissions paid from one of its subsidiaries to


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  another subsidiary, which should have been eliminated in consolidation, thereby causing an

  overstatement of commission income in 2015.

         221.   In improperly recognizing warranty fees and commission income, Defendants

  overstated AmTrust’s revenues, specifically Service Fee Income during the Relevant Period.

           (in thousands)                          Year Ended December 31,


           Service and fee income       2015            2014        2013        2012
           As originally reported      $478,206        $409,743    $331,559    $172,174
           As restated                  428,143         365,356     287,254     138,662
           $ Change                     (50,063)        (44,387)    (44,305)    (33,512)
           % Change                      -10.5%          -10.8%      -13.4%      -19.5%

                3.      Defendants Understated AmTrust’s Reported Expenses

         222.   In violation of some of the most basic and fundamental rules of accounting,

  defendants repeatedly devised ways to artificially overstate AmTrust’s net income by

  improperly, systematically and continually understating expenses throughout the Relevant

  Period. GAAP requires expenses to be recorded in the period they are incurred. See FASB

  Statement of Financial Accounting Concepts No. 5, Recognition and Measurement in Financial

  Statements of Business Enterprises, ¶¶ 85-87, and ASC Topic 450-20, Loss Contingencies. This

  concept, that expenses be recorded in the same period in which the corresponding benefit is

  realized, is one of, if not the, most basic tenet underlying accrual accounting. But defendants

  deliberately ignored this most basic rule and instead systematically engaged in a scheme of

  improper timing of expense recognition, typically understating its expenses in a current period

  and/or improperly delaying expense recognition for as long as possible.

         223.   Defendants overstated the Company’s net income by improperly deferring current

  period expenses to subsequent periods, as follows:

                a)      improperly deferred bonuses and commissions;


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                 b)     improperly capitalized certain expenses as Deferred Acquisition Costs;

                 c)     improperly capitalized internal software costs and other expenses;

                 d)     improperly accounted for interest expense; and

                 e)     failed to record expenses impacting fiscal years 2014 and 2015.

                        a.      Defendants Improperly Deferred Bonuses

         224.    Defendants admittedly failed to record bonus expenses on a timely basis. In prior

  years, the Company had improperly expensed discretionary bonuses paid to its employees in the

  year the bonuses were paid rather than in the period the bonus expense was incurred. ASC 270,

  Interim Reporting, and ASC 450, Contingencies, require companies to estimate bonuses and

  assign the expense to interim periods so that the interim periods bear a reasonable portion of the

  anticipated annual amount.

                        b.      Defendants Improperly Capitalized Certain Deferred Acquisition
                                Costs

         225.    AmTrust also admitted that it improperly capitalized certain expenses as Deferred

  Acquisition Costs, such as (a) salaries and consulting fees that were not eligible for deferral,

  resulting in an understatement of expenses, (b) the treatment of certain costs in the Company’s

  U.K. operations as both underwriting expenses, and salary and benefit expenses, resulting in the

  duplication of the amount capitalized and deferred, and (c) the inclusion of deferred warranty

  administration fees and obligor liabilities associated with the administration services provided to

  our ESPs.

         226.    ASC Topic No. 944, Financial Services – Insurance, establishes specific

  limitations on the deferral of those costs incurred in acquiring insurance contracts and notes that

  any such deferred costs are to be expensed over time via amortization.




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         227.   In improperly accounting for Deferred Acquisition Costs, Defendants overstated

  AmTrust’s assets and earnings during the Relevant Period.

                        c.     Defendants Improperly Capitalized Internal Software Costs and
                               Other Expenses

         228.   AmTrust improperly capitalized software development costs and failed to disclose

  a change in accounting principle related to these costs. These actions caused AmTrust to

  overstate its assets by approximately $13.6 million at December 31, 2015. According to GAAP,

  in ASC Topic No. 350, Intangibles – Goodwill and Other, to properly capitalize software

  development costs, the costs must be measurable and relate to a product that has reached

  technological feasibility. AmTrust admitted that it improperly capitalized internally developed

  software expenses as assets that did not meet the criteria for deferral, and improperly amortized

  them over time rather than properly expensing them at the time they were incurred and, and

  thereby overstating net income, assets, and stockholders’ equity. But as reflected in the table

  below, Defendants also improperly capitalized expenses related to Land and Building.



                        Property and Equipment, Net at December 31, 2015
                                               As
                                                              As
                                           Originally                    $ Change
                                                            Restated
             (in thousands)                 Reported
             Land                          $ 21,068        $ 18,618      $ (2,450)
             Building                          97,667         84,090      (13,577)

             Software                           144,920         131,356      (13,564)
             Computer equipment                  62,160          62,160                 -
             Other equipment                     57,767          57,767                 -
             Leasehold improvements              31,613          31,613                 -
                                                383,582         353,991       (29,591)
             Less: Accumulated
             depreciation and
             amortization                     (133,739)        (128,476)        5,263
                                             $ 249,843        $ 225,515      $(24,328)


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          229.   Indeed, the restatement reflects that defendants not only improperly capitalized

  software costs, but also land and building costs amounting to approximately $16 million. ASC

  Topic 360, Property, Plant, and Equipment, states that property and equipment are tangible

  property used in a productive capacity that will benefit the company for a period exceeding one

  year.   Concepts Statement No. 6 states that a company shall capitalize costs that provide

  “probable future economic benefits obtained or controlled by a particular entity as a result of past

  transactions or events.” 21 As part of the restatement, defendants admitted that these costs did not

  provide probable future economic benefit.

                 4.      Defendants Improperly Accounted for Interest Expense

          230.   AmTrust admitted that it improperly accounted for interest expense related to

  interest imputed on contingent consideration owed as a result of certain business acquisitions,

  which resulted in an understatement of interest expense in 2015 of approximately $7.3 million, in

  violation of ASC Topic 835, Interest.

                         a.     Defendants Failed to Record Other Expense Items

          231.   AmTrust also admitted that it had failed to properly record expenses impacting

  the 2014 and 2015 consolidated financial statements, including unaccrued liabilities,

  uncollectible other receivables, accrued commissions, unrecognized amortization expense, and

  unrealized loss on investments.

                                           *       *       *

          232.   As a result of Defendants’ improper, systematic and continual violations of

  GAAP, AmTrust understated expenses in excess of $27 million between 2012 and 2015.



  21
     Concepts Statement No. 6, Elements of Financial Statements - A Replacement of FASB
  Concepts Statement No. 3 (Incorporating an Amendment of FASB Concepts Statement No. 2) ¶
  25.


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                5.       Defendants’ Other GAAP Violations

                         a.    Defendants’ Improper Accounting and Reporting of Foreign
                               Currency Gains and Losses

         233.   AmTrust admitted that its financial statements during the Relevant Period were

  presented in violation of GAAP by improperly accounting for foreign currency gains and losses.

  ASC Topic No. 830, Foreign Currency Matters, states that gains and losses on monetary

  balances ensuing from changes in currency exchange rates are generally required to be included

  in determining net income for the period in which the exchange rate changes. In contravention

  of GAAP, however, AmTrust reported the re-measurement of monetary balances denominated in

  foreign currencies into their functional currencies as other comprehensive income, rather than as

  a foreign currency transaction gain/(loss) in the Company’s income statements.

                         b.    Defendants Improper Accounting of Certain Balance Sheet Items

         234.   The Company historically recorded certain receivables (premium and other) net of

  commissions and now records the receivables on a gross basis, with the associated commission

  payable in other accrued expenses and liabilities.      In addition, the Company corrected a

  classification error involving short term investments and cash/cash equivalents, and fixed assets

  and other investments in the Consolidated Balance Sheets.

                6.       AmTrust’s Contravention of GAAP Violated SEC Regulations

         235.   By failing to file financial statements with the SEC that complied with GAAP as

  discussed herein, AmTrust disseminated financial statements that were presumptively misleading

  and inaccurate according to SEC Regulation S-X (17 C.F.R. §210.4-01(a)(1)). In addition, the

  Officer Defendants, and the Director Defendants violated the dictates of §13 of the Exchange

  Act, which provides:




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         Every issuer which has a class of securities registered pursuant to section 12 of
         this title and every issuer which is required to file reports pursuant to section
         15(d) of this title shall –

         A.      make and keep books, records, and accounts, which, in reasonable detail,
         accurately and fairly reflect the transactions and dispositions of the assets of the
         issuer; and

         B.     devise and maintain a system of internal accounting controls sufficient to
         provide reasonable assurances that –

                i.      transactions are executed in accordance with management’s general or

                        specific authorization;

                ii.     transactions are recorded as necessary (I) to permit preparation of financial

                        statements in conformity with generally accepted accounting principles or

                        any other criteria applicable to such statements, and (II) to maintain

                        accountability for assets;

                iii.    access to assets is permitted only in accordance with management’s

                        general or specific authorization; and

                iv.     the recorded accountability for assets is compared with the existing assets

                        at reasonable intervals and appropriate action is taken with respect to any

                        differences.

         236.   In addition, the Company’s Form 10-Ks and 10-Qs filed with the SEC during the

  Relevant Period were also materially false and misleading in that they failed to disclose known

  trends, demands, commitments, events, and uncertainties that were reasonably likely to have a

  material adverse effect on the Company’s liquidity, net sales, revenues and income from

  continuing operations, as required by Item 303 of Regulation S-K.




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         D.      AmTrust’s Material Weaknesses in Internal Controls

         237.    Section 13(b)(2) of the Exchange Act states, in pertinent part, that every reporting

  company must: “(a) make and keep books, records and accounts which, in reasonable detail,

  accurately and fairly reflect the transactions and dispositions of the assets of the issuer; and (b)

  devise and maintain a system of internal accounting controls sufficient to provide reasonable

  assurances that . . . transactions are recorded as necessary . . . to permit [the] preparation of

  financial statements in conformity with [GAAP].” These provisions require an issuer to employ

  and supervise reliable personnel, to maintain reasonable assurances that transactions are executed

  as authorized, to properly record transactions on an issuer’s books and, at reasonable intervals, to

  compare accounting records with physical assets. SEC v. World-Wide Coin Invs., Ltd., 567 F.

  Supp. 724, 746, 750 (N.D. Ga. 1983). But as admitted by the Company, AmTrust did not have a

  sufficient complement of personnel, in certain geographic locations, with an appropriate level of

  knowledge and experience to help ensure proper selection and application of U.S. GAAP in the

  following areas: (i) Warranty Fee Revenue; (ii) Accrual of Bonuses; (iii) Deferred Acquisition

  Costs; (iv) Foreign exchange gain/(loss); (v) Capitalized software; (vi) Imputed interest; (vii)

  Intercompany eliminations; (viii) Other Items; and (ix) Balance Sheet Items.

         238.    Internal control is a process designed by, or under the supervision of, the CEO

  and CFO and carried out by a company’s board of directors, management and other personnel, to

  provide reasonable assurance that, among other things, the financial statements are reliable and

  accurate and that a company complies with applicable laws and regulations.

         239.    As acknowledged in the Company’s SEC filings, management is responsible for

  establishing and maintaining adequate internal control over financial reporting as defined in

  §§13a-15(f) and 15d-15(f) under the Exchange Act.




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          240.   Under §302 of the SOX, Defendants Zyskind and Pipoly were required to certify

  that:   (i) they are responsible for establishing, maintaining and regularly evaluating the

  effectiveness of the issuer’s internal controls; (ii) they have made certain disclosures to the

  issuer’s auditors and the audit committee of the board of directors about the issuer’s internal

  controls; and (iii) they have included information in the issuer’s quarterly and annual reports

  about their evaluation.

          241.   Under §906 of the SOX, Defendants Zyskind and Pipoly were required to certify

  each periodic report containing financial statements filed by an issuer with the SEC pursuant to

  §§13(a) or 15(d) of the Exchange Act, 15 U.S.C. §78m(a) or §78o(d), and that information

  contained in the periodic report fairly presents, in all material respects, the financial condition

  and results of operations of the issuer.

          242.   Under Item 308, Internal Control Over Financial Reporting, of Regulation S-K,

  management is required to provide a report of the registrant’s internal control over financial

  reporting (as defined in Rule 13a-15(f) or Rule 15d-15(f) under the Exchange Act) that contains:

  (a) a statement of management’s responsibility for establishing and maintaining adequate

  internal control over financial reporting for the registrant; (b) a statement identifying the

  framework used by management to evaluate the effectiveness of the registrant’s internal control

  over financial reporting as required by paragraph (c) of §13a-15 or §15d-15 under the Exchange

  Act; (c) management’s assessment of the effectiveness of the registrant’s internal control over

  financial reporting as of the end of the registrant’s most recent fiscal year, including a statement

  as to whether or not internal control over financial reporting is effective – this discussion must

  include disclosure of any material weakness in the registrant’s internal control over financial

  reporting identified by management, and management is not permitted to conclude that the




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  registrant’s internal control over financial reporting is effective if there are one or more material

  weaknesses in the registrant’s internal control over financial reporting; and (d) a statement that

  the registered public accounting firm that audited the financial statements included in the annual

  report containing the disclosure required by this Item has issued an attestation report on

  management’s assessment of the registrant’s internal control over financial reporting.

         243.    AmTrust has admitted that its internal controls over financial reporting were

  plagued with material weaknesses. A material weakness is a “deficiency, or a combination of

  deficiencies, in internal control over financial reporting, such that there is a reasonable

  possibility that a material misstatement of the Company’s annual or interim financial statements

  will not be prevented or detected on a timely basis,” as defined by Public Company Accounting

  Oversight Board (“PCAOB”) Auditing Standard (“AS”) No. 5 ¶A7.

         244.    Among the key controls AmTrust has admitted were improperly designed or

  implemented are controls over the preparation, analysis, and review of significant balances and

  closing adjustments necessary to achieve appropriately stated consolidated account balances and

  disclosures. Specifically, management did not appropriately assess the risks associated with the

  financial reporting of foreign exchange, deferred acquisition costs, goodwill impairment,

  warranty administration services revenue, capitalized costs, period-end expense accruals and the

  statements of cash flows and other comprehensive income.

         245.    AmTrust further admitted that there were material weaknesses in its internal

  control over financial reporting relating to (i) warranty services revenue, (ii) accrual of bonuses,

  (iii) foreign exchange adjustments, (iv) deferred acquisition costs, (v) and period-end accruals.

         246.    With regard to the calculation of deferred acquisition costs, AmTrust improperly

  (a) over-amortized certain deferred acquisition costs in 2015, resulting in an overstatement of




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  expenses in 2015, (b) capitalized certain salaries and consulting fees that were not eligible for

  deferral, resulting in an understatement of expenses, (c) treated certain costs in the Company’s

  U.K. operations as both underwriting expenses and salary and benefit expenses, resulting in the

  duplication of the amount capitalized and deferred, and (d) included deferred warranty

  administration fees and obligor liabilities associated with the administration services provided to

  its ESPs.

         247.    Further, the material weakness resulting from business process level control

  activities affected the consolidation process and preparation of financial statements, specifically

  subsidiary close and consolidation adjustments, segregation of duties related to the creation and

  posting of a discrete number of journal entries, foreign exchange, deferred acquisition costs,

  goodwill impairment, warranty administration services revenue, capitalized costs, period-end

  expense accruals and the statements of cash flows and other comprehensive income, and

  associated disclosures.

         248.    Additionally, the Company admitted that its “internal control[s] over financial

  reporting was not effective as of December 31, 2015.”

         249.    Accordingly, AmTrust violated §13(b)(2)(A) of the Exchange Act by failing to

  maintain accurate records concerning its expenses and net income.           Moreover, AmTrust’s

  inaccurate and false records were not an isolated or unique instance because they were

  improperly maintained for multiple years and reporting periods.

         250.    In addition, AmTrust violated §13(b)(2)(B) of the Exchange Act by failing to

  implement procedures reasonably designed to prevent accounting irregularities. For example,

  AmTrust failed to ensure that controls were in place to develop necessary accounting policies

  and procedures, to properly account for (i) warranty services revenue, (ii) accrual of bonuses,




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  (iii) foreign exchange adjustments, (iv) deferred acquisition costs, and (v) period-end accruals. It

  failed to ensure that transactions were reported in accordance with its own policies and with

  GAAP.

          251.   Zyskind and Pipoly provided the required SOX certifications described in

  paragraphs 132 to 133, as well as the report of their “assessment” of the effectiveness of the

  Company’s internal controls during each quarter of the Relevant Period.

          E.     Further Fallout from Defendants’ Accounting Manipulation

                 1.      Wall Street Journal April 11, 2017 Article

          252.   On April 11, 2017, The Wall Street Journal reported that the FBI, SEC, and

  NYDFS were probing AmTrust’s accounting practices. One of AmTrust’s prior auditors is

  assisting the FBI in its investigation. Although the status of the FBI probe, which is focused on

  whether BDO tried to bury poor practices in AmTrust’s audits, is unclear, the SEC’s

  investigation into AmTrust’s accounting scheme is ongoing.

          253.   According to the former BDO auditor quoted by The Wall Street Journal,

  “AmTrust has overstated its profits and financial health by understating what it may need to pay

  policyholders in the future.” In that regard, The Wall Street Journal article asserted:

          To mask this, they contend, the company has used complicated financial
          maneuvers, some involving related offshore companies.

          In a 2013 submission to the SEC, which has been reviewed by the Journal, the
          group claimed it used internal documents gathered by the whistleblower to
          calculate that $277 million in losses had been shifted to an offshore affiliate from
          2009 to 2012, bolstering AmTrust’s operating income by that amount. This
          accounted for 38% of net income in 2012 alone, the group calculates.

          In a presentation that the group says it gave to the FBI and federal prosecutors in
          2014, Mr. Markopolos’s team called one set of alleged accounting moves “The
          Washing Machine” for its purported cleansing effect on the bottom line, and
          another “The Loss Cemetery,” for its alleged effectiveness in burying losses in
          offshore affiliated entities.



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  In reaction to The Wall Street Journal article, AmTrust’s shares declined $3.57 per share, or

  18.9%, from $18.87 per share on Monday, April 10, 2017 to $15.30 per share on Tuesday, April

  11, 2017.

                 2.     Keefe, Bruyette & Woods’ May 2017 Note

         254.    On May 2, 2017, KBW stressed that investor confidence in AmTrust could only

  be rebuilt if the Company takes a reserve charge in the hundreds of millions of dollars and

  commits to providing more in-depth disclosures. KBW analyst Meyer Shields noted that he was

  “very uncomfortable” with AmTrust’s reserves because its 2016 underwriting results seemed

  inconsistent with management’s guidance. Shields further asserted that a review of loss triangles

  suggest a substantial deficiency, meaning that AmTrust will likely have to strengthen reserves in

  the near future.

         255.    KBW also recommended that AmTrust increase the size of its Board, reconstitute

  the Audit Committee, and select an investor friendly management team.

                 3.     AmTrust Reports Another Massive Reserve Charge and an Unexpected
                        3Q Loss.

         256.    Following the announcement of AmTrust’s reserve strengthening on November 6,

  2017 of $327 million, A.M. Best placed the Company’s credit and financial strength ratings

  under review with negative implications. In connection with AmTrust’s increased reserved

  charges, A.M. Best commented:

           the actions raise questions about the potential future movement of reserves for
           these accident years . . . and about price adequacy and underwriting practices
           for the current and more recent accident years.




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         F.      Additional Allegations Contributing to a Strong Inference of Scienter

         257.    As described further in, supra paragraphs 58 to 106, Defendants were repeatedly

  put on notice of myriad examples of improper accounting in the Company as well as overall

  weaknesses in the Company’s internal controls over financial reporting.

         258.    Defendants Gulkowitz, Fisch and DeCarlo, as the members of the Audit

  Committee, were in direct receipt of the Alistair Capital Letter, which was addressed to them.

  As such, they had extensive notice of problems with the Company’s internal controls as well as

  numerous other examples of improper accounting. Defendants on the Audit Committee were

  also likely to be made aware of the Barron’s articles, inasmuch as the Company issued press

  releases responding to them, and inasmuch as they addressed accounting issues.

         259.    Defendant Zyskind was not only aware of the Barron’s articles, but

  communicated with Barron’s regarding them. Further, the Company publicly responded to the

  May 31, 2014 and April 23, 2016 Barron’s articles via press releases. In addition, AmTrust’s

  management provided written responses to ten questions posed by Barron’s in 2014.

         260.    AmTrust’s Audit Committee Charter specifically charged the committee’s

  members with monitoring: “1) the accounting and financial reporting processes of AmTrust

  Financial Services, Inc. and its subsidiaries…and the audits of its financial statements; 2) the

  independent auditor’s qualifications and independence; 3) the performance of the Company’s

  internal audit function and independent auditors; and 4) the compliance by the Company with

  legal and regulatory requirements.” 22

         261.    Indeed, the Audit Committee members had extensive duties relating to overseeing

  and interacting with the Company’s auditor, and had the ability to recommend selection and

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    The duties outlined in the Audit Committee Charter are described in further detail below in
  paragraphs 331 to 333.


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  dismissal of independent auditors. This is particularly significant since, here, the Company’s

  independent auditor, BDO, has been implicated in the Company’s accounting manipulation by a

  whistleblower, and further, Defendants were informed by NYDFS in September 2014 that they

  needed to replace their auditor, and agreed to do so (but did not do so).

         262.    Two of the three Audit Committee members – Gulkowitz and DeCarlo – were

  also Insider Selling Defendants, and thus benefitted directly from the fraud by selling their shares

  back to the Company at prices they knew were inflated by the Company’s false statements.

         263.    Defendant Pipoly, as the Company’s CFO, signed the Company’s financial

  statements that contained the accounting errors, and was thus directly involved in the Company’s

  accounting manipulations. Pipoly also took advantage of the stock prices he knew were inflated

  by the accounting manipulation by selling over $3 million worth of his stock at inflated prices.

         264.    Finally, improper accounting practices were so pervasive and widespread in the

  Company that Defendants could not plausibly have been unaware of them; indeed, as reported by

  the Wall Street Journal, a whistleblower within BDO collected evidence that even the

  Company’s auditor was aware of fraudulent accounting taking place in the Company.

         G.      Neither the Statutory “Safe Harbor” Nor the “Bespeaks Caution” Doctrine
                 Apply to Defendants’ Misrepresentations

         265.    Neither the safe-harbor provision of the Private Securities Litigation Reform Act

  of 1995 (“PSLRA”) nor the judicially created “bespeaks caution” doctrine applicable to forward-

  looking statements under certain circumstances applies to any of the false or misleading

  statements pleaded in this Complaint. None of the subject statements constituted a forward-

  looking statement; rather, they were historical statements or statements of purportedly current

  facts and conditions at the time the statements were made, including statements about AmTrust’s

  present financial condition and its internal controls, among other things.



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         266.    Alternatively, to the extent any of the false or misleading statements pleaded in

  this Complaint could be construed as forward-looking statements, they were not accompanied by

  any meaningful cautionary language identifying important facts that could cause actual results to

  differ materially from those in the purportedly forward-looking statements. Further, to the extent

  the PSLRA’s safe harbor would otherwise apply to any forward-looking statements pleaded in

  this Complaint, Defendants are liable for those false or misleading statements because at the time

  each of those statements was made, the speaker(s) knew the statement was false or misleading,

  or the statement was authorized or approved by an executive officer of AmTrust or a Defendant

  who knew the statement was materially false or misleading when made.

         H.      The Group Pleading Doctrine Applies to Defendants’ Misstatements and
                 Omissions

         267.    While this Complaint identifies Defendant signatories or speakers with respect to

  the false or misleading statements identified above (see, e.g., ¶¶ 121, 122, 127-29, 133, 139-43,

  147-50, 154, 159, 166-68, 172-74, 178-80 & 184), the group pleading doctrine also applies to

  render Defendants responsible for statements as to which they are not explicitly identified as the

  speaker or signatory. Defendants participated in the drafting, preparation, or approval of the

  various stockholder and investor reports and other communications concerning AmTrust

  identified in this Complaint, and were aware of or recklessly disregarded the misstatements

  contained in those reports and other communications as well as the omissions from them, and

  were aware of their materially false and misleading nature. Each Defendant, by virtue of his or

  her position(s) at AmTrust, had access to adverse undisclosed information about the Company’s

  business prospects and financial condition and performance as alleged in this Complaint, and

  knew or recklessly disregarded that those adverse facts rendered the subject statements

  materially false or misleading when made.



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          268.   Defendants, because of their positions of control and authority as officers or

  directors of AmTrust, were able to and did control the content of the various SEC filings, press

  releases, and other public statements pertaining to the Company during the Relevant Period.

  Each Defendant was provided with copies of the documents alleged in this Complaint to be false

  or misleading prior to or shortly after their issuance, or had the ability or opportunity to prevent

  their issuance or to cause them to be corrected. Accordingly, each Defendant is responsible for

  the accuracy of the public reports, releases, and other statements detailed in this Complaint, and

  is therefore primarily liable for the misrepresentations in them or misleading omissions from

  them.

          I.     Defendants’ Misstatements and Omissions Caused Damage to AmTrust

          269.   Throughout the Relevant Period, the price of AmTrust’s common stock was

  artificially inflated as a result of Defendants’ materially false and misleading statements and

  omissions identified above. Defendants engaged in a scheme to deceive the market and a course

  of conduct that operated as a fraud or deceit on AmTrust, which repurchased shares at artificially

  inflated prices.   When Defendants’ prior misrepresentations and fraudulent conduct were

  disclosed and became apparent to the market, the price of AmTrust stock fell as the prior

  artificial inflation dissipated. As a result of its purchases of AmTrust shares during the Relevant

  Period, the Company suffered damages under the federal securities laws. See ¶¶ 99-101.

          270.   The decline in AmTrust’s share price was a direct result of the nature and extent

  of Defendants’ fraud finally being revealed to the market. The timing and magnitude of the

  decline in the Company’s share price negates any inference that the losses suffered by AmTrust

  were caused by changed market conditions, macroeconomic or industry factors, or Company-

  specific facts unrelated to Defendants’ fraudulent conduct.




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         271.       On May 8, 2017, AmTrust held a conference call with analysts and investors to

  discuss Q1 2017 financial results. During the call, Defendants Zyskind and Pipoly each stated

  that AmTrust incurred estimated costs of $17 million associated with the Company’s restatement

  of its financials during the first quarter of 2017. These additional costs for professional services

  were a direct result of the Defendants’ misconduct described herein and have damaged the

  Company as a result.

         272.       In addition to causing massive and devastating financial restatements,

  Defendants’ accounting manipulation has led to investigations of AmTrust by the FBI, the SEC,

  and NYDFS. It also caused and is causing the Company to overpay to acquire its own stock by

  over $100 million and incur millions of dollars in expenses related to defending (and in the

  future likely settling) securities fraud litigation. Moreover, the misconduct caused A.M. Best to

  revise its outlook on AmTrust’s (and its subsidiaries’) Long-Term Issuer Credit Rating from

  stable to negative.

                                    DERIVATIVE ALLEGATIONS

         273.       Plaintiffs bring this action derivatively in the right and for the benefit of AmTrust

  to redress the breaches of fiduciary duty and other violations of law by the Defendants, as

  alleged herein.

         274.       Plaintiffs will adequately and fairly represent the interests of AmTrust and its

  stockholders in enforcing and prosecuting the Company’s rights. Plaintiffs have retained counsel

  experienced in prosecuting this type of derivative action.

         275.       Plaintiffs have owned AmTrust shares since prior to AmTrust’s disclosure that it

  issued false and misleading financial statements and continue to hold shares of AmTrust stock.

                                 DEMAND IS EXCUSED AS FUTILE




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         276.     Plaintiffs did not make a demand on the Board to bring suit asserting the claims

  set forth herein because pre-suit demand would have been futile. The facts alleged herein show

  that, at a minimum, reasonable doubt exists as to whether a majority of the Board lacks the

  requisite disinterest to determine fairly whether these claims should be pursued.

         277.     At the time of the filing of this action, the Board consisted of the following seven

  directors:    Defendants Zyskind, G. Karfunkel, L. Karfunkel, Gulkowitz, Fisch, Rivera and

  DeCarlo. To establish demand futility, Plaintiffs need only to allege that demand is excused as

  futile as to four of these seven directors.      However, as explained below, Plaintiffs have

  sufficiently alleged that none of these seven directors are capable of independently and fairly

  evaluating a demand.

  I.     Demand is Excused as to the Control Group and Those That Lack Independence
         From It

         278.     AmTrust has been controlled by the Karfunkel family since it was founded in

  1998 by brothers George and Michael, along with Michael’s son-in-law Barry Zyskind.

  Currently, the Control Group consists of Defendants Zyskind, L. Karfunkel (M. Karfunkel’s

  Widow), and G. Karfunkel, who, in addition to their close familial connections, consider

  themselves a “group” for SEC-required beneficial ownership reporting purposes. According to

  the most recent Schedule 13D filed by the Control Group with the SEC, as of May 25, 2017, the

  Group collectively owned 84,062,519 shares of AmTrust common stock, or 44% of the total

  outstanding shares. 23


  23
    The true ownership of the Karfunkel family is higher than 44%. On May 25, 2017, AmTrust
  sold 24,096,384 shares of common stock for $12.45 per share, or a total of $300 million, to
  undisclosed certain members of the families of Barry Zyskind and G. Karfunkel. The Control
  Group’s SEC filings did not count these shares in its calculation of the Control Group’s
  ownership. Counting these shares, the Karfunkel family owns approximately 55% of AmTrust’s
  outstanding stock.


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         279.    In its Form 10-K for the fiscal year ended December 31, 2016, AmTrust admits

  that the Control Group has “the ability to control our business” as well as “all matters requiring

  approval by our stockholders, including the election and removal of directors, amendments to

  our certificate of incorporation and bylaws, any proposed merger, consolidation or sale of all or

  substantially all of our assets and other corporate transactions.” Given their control over the

  Company, AmTrust admits in its annual proxy filings that the members of the Control Group are

  not independent directors and as such cannot impartially evaluate a demand to bring the claims

  asserted herein.

         280.    The Control Group has dominated the Company since its inception and the

  members of the Board have made clear that they will not act independently from the Control

  Group. For example, the Company is currently a party to an inordinate amount of agreements

  with parties related to the Control Group, including Maiden and NGHC.            This includes a

  reinsurance agreement with Maiden that has been in place since 2007 and under which the

  Company recorded approximately $596 million of “ceding commissions” in 2016 alone, a loan

  from Maiden with an outstanding balance of $168 million, and a master services agreement with

  NGHC where AmTrust recorded $46 million in fee income in 2016. All told, AmTrust’s 2017

  annual proxy statement disclosed at least 22 related party deals with Control Group-related

  entities. This does not even include a September 2017 agreement whereby AmTrust sold a

  personal lines policy management system and related intellectual property to NGHC for $200

  million. The sheer volume and size of these related party transactions show how the Company’s

  purportedly independent directors simply accede to the demands of the Control Group. Attached

  as Exhibits 1, 2 and 3 are the relevant pages of the 2015, 2016 and 2017 proxies, respectively,

  listing the inordinate number and value of the related party transactions.




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            281.   The Control Group’s domination of the Board is perhaps best illustrated by the

  events surrounding the acquisition of Tower by ACP, which is wholly owned by the Control

  Group. During 2013, Tower experienced a significant decline in its business, making it an

  acquisition target. In the fall of 2013, AmTrust itself submitted an indication of interest whereby

  it would acquire certain of Tower’s business units and make a preferred equity investment in

  Tower. Shortly thereafter, AmTrust amended its proposal and offered to acquire the entirety of

  Tower for $5.50 per share in cash, or in excess of $500 million. Thereafter, AmTrust engaged in

  due diligence of Tower. However, by the end of 2013, Tower was told that AmTrust was

  withdrawing its proposal and the Control Group-owned ACP would be making an acquisition

  proposal instead.

            282.   Those parties would sign a merger agreement on January 3, 2014 where ACP

  acquired Tower for only $3 per share. 24 Therefore, the Control Group usurped a corporate

  opportunity from AmTrust, misappropriated AmTrust’s due diligence, and relied on AmTrust’s

  financial advisor, all with the blessing of the purportedly independent directors. Moreover, the

  Control Group forced AmTrust and NGHC to enter into a series of related agreements in support

  of ACP’s acquisition of Tower, including agreements whereby ACP foisted Tower’s poorest

  performing business segment onto AmTrust for $125 million. 25

            283.   Not only did the Control Group steal this corporate opportunity from AmTrust

  and force AmTrust to enter into suspect related transactions, but as a result, the NYDFS imposed




  24
       This purchase price would later be reduced to $2.50 per share.
  25
    This transaction structure would later be modified so that ACP acquired ownership of Tower’s
  business units, but AmTrust and NGHC each provided ACP with $125 million in financing to
  complete the deal and agreed to cover excess losses of up to $250 million incurred by a former
  Tower subsidiary.


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  requirements on AmTrust, including the retention of a new independent auditor, before it

  approved ACP’s acquisition.

         284.    The Board did nothing to protect the interests of AmTrust’s public stockholders

  and simply rubber stamped the Control Group’s machinations based solely on a presentation by

  the patently conflicted Zyskind. The Company’s board minutes indicate that the Board did not

  even discuss the Control Group’s conflicts of interest related to the Tower deal before blessing it.

  Notably, despite the fact that the Audit Committee, which consisted of the same directors as it

  does now (Defendants DeCarlo, Fisch, and Gulkowitz), is required to oversee all related party

  transactions, it abdicated its responsibility. Instead, the Audit Committee allowed the Board,

  which was comprised of a majority of directly conflicted individuals, to conduct all key

  deliberations. Immediately after the conflicted Board blessed the deal on January 3, 2014, and

  mere hours before the initial merger agreement was signed, the Audit Committee then met for

  only fifteen minutes, without independent legal or financial advisors, to rubber stamp a

  transaction that had already been structured and agreed to.        The minutes from that Audit

  Committee meeting indicate that the Committee failed to even review the transaction documents.

  Shockingly, Defendant DeCarlo was permitted to participate in that Audit Committee meeting

  despite the fact that he is also a director of NGHC, which was a party to the transactions related

  to the Tower deal. 26 He would only belatedly recuse himself months later shortly before the

  Audit Committee approved a revised transaction structure.

         285.    Unsurprisingly, the Control Group’s flagrant abuses of their fiduciary duties in

  connection with the Tower deal led to the filing of a derivative complaint in the Delaware Court


  26
     When the parties renegotiated the terms of the signed deal in May 2014, the Audit Committee
  finally retained a financial advisor. However, its choice of advisor, Griffin Partners, was
  conflicted as it was simultaneously advising NGHC on the same transactions.


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  of Chancery captioned Cambridge Retirement System v. DeCarlo, et al., C.A. No 10879-CB

  (Del. Ch.). On June 16, 2016, Chancellor Bouchard denied the motion to dismiss filed by one of

  the Company’s purportedly independent directors from the bench, expressed deep skepticism

  regarding the actions of the Audit Committee, and stated that what the Audit Committee did

  “doesn’t really look like a bona fide process.”

         286.    Based on the repeated acquiescence of Defendants DeCarlo, Gulkowitz, and Fisch

  to the Control Group, the Control Group exercises control over them so that all of its members

  are incapable of considering a pre-suit demand to bring the claims asserted herein so long as the

  Control Group itself is incapable of considering such demand.

         287.    Moreover, the Control Group was incentivized to perpetuate the Company’s

  fraudulent accounting practices and false statements during the Relevant Period so as to render

  its members incapable of impartially evaluating a pre-suit demand.

         288.    First, Barry Zyskind, as the Company’s CEO during the Relevant Period, was

  incentivized to keep AmTrust’s financial results and stock price artificially high so that he could

  personally benefit through excessive executive compensation. In each of the Company’s annual

  proxy statements since at least 2013, AmTrust stated that “[w]e believe that bonuses should be

  dependent on and tied to our financial performance, and should be paid only when we have met

  pre-determined performance criteria. Our annual profit bonus program is designed to reward

  each named executive officer for his contributions to our profitability for the fiscal year.”

         289.    Specifically, Zyskind’s employment agreement currently entitles him to an annual

  profit bonus so long as the Company’s pre-tax profit exceeds $75 million. If AmTrust reaches

  that threshold in any given year, then Zyskind receives 2% of the Company’s pre-tax profit




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  subject to an annual cap equal to four times his base salary. 27 Additionally, Zyskind is also

  entitled to receive annual incentive awards based on the Company’s performance as measured by

  three financial metrics: operating earnings, combined ratio, and return on equity. As shown in

  the chart provided below, Zyskind, and through him the Control Group, has profited enormously

  by artificially inflating the Company’s performance.

         Year                 Profit Bonus             Incentive Award     Total
                                                                           Compensation

         2013                 $3,900,000               $8,469,750          $4,916,858 28

         2014                 $3,900,000               $7,680,000          $22,130,044 29

         2015                 $3,900,000               $9,000,015          $13,942,205

         2016                 $2,000,000               $0                  $4,902,193 30

  27
     Notably, Zyskind’s employment agreement was amended twice to increase his potential
  annual profit bonus. Initially, on October 6, 2010, Zyskind’s employment agreement was
  amended to increase the pre-tax threshold to trigger a bonus payment from $29.3 million to $75
  million and to increase the multiplier on the cap from 2.5x to 3x his base salary. Then, on March
  22, 2013, Zyskind’s employment agreement was amended to increase the multiplier on the cap
  from 3x to 4x his base salary. The increased cap on Zyskind’s profit bonus allowed him to
  further profit from the Company’s fraudulent accounting practices.
  28
     The Company’s incentive award program was not in place until 2014. The incentive award
  figure listed in this table for 2013 is the value of a performance share award the Company paid
  Zyskind in restricted stock based on the Company’s performance in both 2012 and 2013. The
  Company included the full value of this award in its calculation for Zyskind’s 2012
  compensation. As such, the total compensation column for 2013 does not reflect the value of
  this incentive performance share award.
  29
    In addition to his Profit Bonus and Incentive Award, in February 2014, the Compensation
  Committee decided to grant Zyskind a discretionary award of 250,000 restricted stock units
  worth $9.54 million “in recognition of significant domestic and foreign acquisitions in 2012 and
  2013.”
  30
     Notably, Zyskind was eligible to receive a $3.9 million profit bonus and a $6 million incentive
  bonus in 2016. However, Zyskind and the Company agreed that he would forgo any bonus
  beyond the $2 million he was already paid in September 2016 “solely as a matter of good
  corporate governance.” Given the fact that the Company’s compensation committee paid him $2
  million of his bonus just a few months before the Company admitted its financial statements
  were fraudulent, it is fair to infer that Zyskind agreed to forgo his remaining bonus for public
  relations purposes to merely create the appearance of a concern for good corporate governance.


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         Total                $13,700,000             $25,149,765          $45,891,300



         290.    As such, Zyskind, and through him the rest of the Control Group, is directly

  incentivized to artificially inflate the Company’s profit to ensure he receives the highest bonus

  possible.

         291.    Furthermore, Zyskind owes fiduciary duties to AmTrust in his role as the

  Company’s CEO, in addition to his role as a director. In his capacity as CEO, he, at a minimum,

  was grossly negligent by failing to ensure that AmTrust issued accurate financial statements and,

  as such, breached his duty of care. Although directors of AmTrust cannot be held monetarily

  liable for breaches of their duty of care due to the Company’s exculpatory Section 102(b)(7)

  charter provision, corporate officers, such as Zyskind, are not protected from such liability.

  Therefore, Zyskind faces a substantial likelihood of liability as a result of his breaches of his

  duty of care as an AmTrust officer.

         292.    Second, during the time the Company’s financial statements were artificially

  inflated, AmTrust engaged in numerous debt and equity offerings. Specifically, solely since the

  beginning of 2013 and excluding certain note and stock exchange transactions, AmTrust issued:

  (i) $115 million of 6.75% Non-Cumulative Series A Preferred Stock on June 10, 2013; (ii) $250

  million of 6.125% notes due 2023 on August 15, 2013; (iii) $105 million of depository shares

  representing interests in its 7.25% Non-Cumulative Preferred Stock, Series B on July 1, 2014;

  (iv) $80 million of depository shares representing interests in its 7.625% Non-Cumulative

  Preferred Stock, Series C on September 16, 2014; (v) $76 million of 2.75% notes due 2044 on

  December 11, 2014; (vi) $172.5 million of common stock in January and February 2015; (vii)

  $182.5 million of depository shares representing interests in its 7.50% Non-Cumulative Preferred

  Stock, Series D on March 19, 2015; (viii) $150 million of 7.25% notes due 2055 on June 18,


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  2015; (ix) $135 million of 7.5% notes due 2055 on September 16, 2015; (x) $320 million of

  common stock in November and December 2015; (xi) $143.75 million of depository shares

  representing interests in its 7.75% Non-Cumulative Preferred Stock, Series E on March 15, 2016;

  and (xii) $287.5 million of depository shares representing interests in its 6.95% Non-Cumulative

  Preferred Stock, Series F on September 27, 2016.

         293.   These offerings, totaling over $2 billion, resulted in significantly higher proceeds

  than the Company could have received had it issued accurate financial statements. As a result,

  the offerings substantially increased the value of AmTrust by allowing it to grow through

  numerous acquisitions and broaden the Company’s operations. For example, these offerings

  helped fuel an enormous growth in AmTrust’s gross written premiums from $2.75 billion in

  2012 to $7.95 billion in 2016, a 189% increase. In turn, the Control Group benefited through an

  increase in the value of its AmTrust holdings and by allowing it to run a much larger company.

  Although AmTrust’s fraudulent accounting was revealed before they could fully take advantage

  of it, any controlling stockholder, including the Control Group, is incentivized to grow the

  Company as much as possible and to maximize the perceived value of its holdings so that it can

  eventually exit the Company through a sale of its stock at a profit. As such, the Control Group

  directly benefited from the Company’s failure to issue accurate financial statements and cannot

  impartially consider a pre-suit demand.

         294.   Third, a portion of AmTrust’s many accounting improprieties resulted from its

  accounting treatment of its warranty business, a portion of which was a public company called

  Warrantech before AmTrust acquired it in 2010. Prior to its acquisition by AmTrust, Warrantech

  was admonished by the SEC for improperly accelerating the recognition of revenue on service

  contracts. As a result, Warrantech was forced to restate its financial statements and change its




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  accounting practices. After AmTrust acquired Warrantech, it then proceeded to utilize the very

  same practices that led to the SEC admonishment and prior restatement. Unsurprisingly, these

  improper accounting practices were among those that led to the AmTrust restatement at issue

  herein.

            295.   The Control Group was incentivized to artificially inflate the revenues from this

  warranty business because it was looking to sell the business or spin it off. For example, at a

  November 15, 2016 Investor Day, in response to a question concerning whether the Company

  was looking to sell or spin off the warranty business, Defendant Zyskind said “[w]e’re always

  open. We’re always looking at that.” Then, on February 27, 2017, Zyskind admitted that

  AmTrust had talked to third parties about the value of the business, which he pegged at over $2

  billion, and that AmTrust “continuously evaluate[s] strategic options for this business to unlock

  shareholder value.” Finally, on August 8, 2017, Zyskind expressly acknowledged that AmTrust

  was looking to monetize this business, stating “[w]e continue to explore our options here,

  including the potential sale of a stake in parts of this highly valuable business.” Any sale or

  spin-out of the warranty business would have been very lucrative to the Control Group.

            296.   The Company finally achieved its goal of monetizing this portion of its business

  on November 6, 2017, when it announced that it reached an agreement with Madison Dearborn

  Partners (“MDP”) to sell 51% of certain of its U.S-based fee businesses in a transaction that

  values the businesses at $1.15 billion. 31 All told, AmTrust will receive gross cash proceeds of

  approximately $950 million at closing. In commenting on the deal, Defendant Zyskind stated:

  “For AmTrust, it delivers on our stated objective to unlock the value of our Fee Businesses,

  31
    The fee based businesses included in the deal provide warranty and services contracts for the
  automotive, consumer products, and specialty equipment industries, among others, and
  administer niche workers’ compensation and contractor liability coverage in the United States on
  behalf of AmTrust and other carriers.


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  while also enabling AmTrust to participate in the future success of the new company and

  ongoing upside as a significant shareholder.” If AmTrust was able to sell this business before its

  fraudulent accounting was revealed, it likely would have generated even larger proceeds.

         297.    Fourth, as explained above, AmTrust engaged in numerous related party

  transactions with entities affiliated with the Control Group in order to disguise the true state of

  the Company’s financials. For example, Maiden was formed by members of the Control Group,

  who still own approximately 15% of Maiden’s outstanding shares. Zyskind serves as Maiden’s

  Chairman and Yehuda Neuberger, G. Karfunkel’s son-in-law, serves as a Maiden director. Since

  2007, AmTrust and Maiden have engaged in numerous related party transactions, including a

  Reinsurance Agreement that has been in place since 2007. Under this agreement, during just

  2016, AmTrust recorded approximately $596 million of “ceding commissions.” Maiden also

  served as a creditor to AmTrust. As of December 31, 2016, AmTrust owed Maiden $168 million

  and AmTrust recorded $2.4 million in interest expense.

         298.    Therefore, as a result of these related party transactions, the Control Group was

  able to simultaneously artificially inflate AmTrust’s performance and increase the value of their

  personal holdings in companies such as Maiden by stripping revenue from AmTrust in favor of

  Maiden.

         299.    In light of the numerous ways the Control Group benefited from the Company’s

  fraudulent accounting practices, as well as the Company’s admission that its members are not

  independent and the substantial liability Zyskind faces for his breaches of fiduciary duty as an

  officer of AmTrust, the members of the Control Group could not impartially evaluate a pre-suit

  demand to bring the claims asserted herein. As such, demand is excused with respect to its

  members.




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         300.   Furthermore, as demand is excused with respect to the Control Group, demand is

  also excused with respect to any other director that lacks independence from the Control Group,

  i.e., Defendants DeCarlo, Gulkowitz, and Fisch, as exhibited by their past acquiescence to the

  Control Group as explained above. Moreover, at least two directors have personal ties to the

  Control Group so as to render them not independent.

         301.   Specifically, Defendant Gulkowitz is a co-founder and partner of Brookville

  Advisory (“Brookville”), an investment fund specializing in credit analysis.         The Hod

  Foundation, a private foundation owned and controlled by the Control Group, was the beneficial

  owner of at least 10% of FrontPoint Brookville Credit Opportunities L.P. (“FrontPoint”).

  FrontPoint is managed by Brookville, which means that Gulkowitz personally benefited from the

  investment by the Control Group. Additionally, Defendant DeCarlo has served as a director of

  NGHC since it was founded by members of the Control Group in 2010. As a director of NGHC,

  DeCarlo earns annual director fees of approximately $120,000 per year. He owes that income to

  his relationship with the Control Group.    As a result, neither Gulkowitz nor DeCarlo are

  independent of the Control Group and demand is excused as to them.

  II.    Demand is Excused as to the Insider Selling Defendants

         302.   While the Company’s stock price was artificially inflated by the issuance of

  inaccurate and fraudulent financial statements, Defendants DeCarlo and Gulkowitz sold large

  amounts of AmTrust stock during the Relevant Period, thus reaping an undeserved windfall.

  From December 12, 2013, the date of the GeoInvesting Report, until the Company announced it

  was restating its financial statements, DeCarlo and Gulkowitz sold stock for proceeds of $1.6

  million and $860,000 respectively. Moreover, these sales occurred during the period when the

  Company was repurchasing its own stock in the market at inflated prices. Therefore, they




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  personally profited from the Company’s accounting failures and their improper approval of stock

  repurchases. As such, they cannot fairly and independently consider a pre-suit demand.

  III.       Demand is Excused Because a Majority of the Board Faces a Substantial Likelihood
             of Liability on the Claims Asserted Herein

             303.   A majority of the members of the Board face a substantial likelihood of liability

  for the claims asserted herein because they: (i) consciously disregarded known red flags

  concerning the Company’s improper accounting practices; and/or (ii) failed to exercise valid

  business judgment when they actively approved the Company’s accounting practices and related

  actions.

             304.   The misconduct at the heart of Plaintiffs’ allegations is the Board’s failure to

  ensure the Company was accurately reporting its financial results despite being on notice since

  no later than December 2014 that AmTrust’s financial statements were not reliable. Specifically,

  the Board was aware of numerous articles and other information that made clear the Company

  was not issuing accurate financial statements, including:

         •   A December 12, 2013 public report issued by GeoInvesting, LLC that questioned the

             Company’s accounting practices in detail, including the apparent understatement of

             losses by failing to properly account for losses related to intercompany transactions;

         •   A February 8, 2014 article in Barron’s titled “Turning Losses Into Gains” that attributed

             AmTrust’s financial performance to creative bookkeeping and the use of related party

             transactions rather than legitimate superior operations and noted AmTrust’s own

             investment bankers at FBR Capital Markets were confused by the Company’s

             accounting;

         •   A May 31, 2014 article in Barron’s titled “Balance Sheet Risk Makes AmTrust Shares

             Vulnerable” that again questioned AmTrust’s accounting and noted that “[m]ultimillion-



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         dollar incongruities appear in AmTrust’s various securities and insurance filings, for

         example, in inconsistent loss reserves that have the effect of flattering earnings and

         capital” and that there were “puzzling accounting disparities” with respect to related party

         transactions;

     •   The September 12, 2014 decision by the NYDFS to condition its approval of the

         acquisition of Tower by ACP on AmTrust agreeing to hire a new auditor to replace BDO

         even though AmTrust was not a party to that acquisition as ACP is a separate private

         company wholly owned by the Control Group;

     •   A December 18, 2014 extremely detailed public letter issued by Alistair Capital to

         AmTrust’s Audit Committee in response to the Company’s frivolous defamation lawsuit

         explaining “numerous instances of improper accounting and indications of material

         weaknesses of internal controls over financial reporting,” including irreconcilable

         discrepancies in AmTrust’s public filings (some of which imply accounting

         impossibilities), and demanding the Audit Committee launch an investigation into

         AmTrust’s accounting; and

     •   An April 23, 2016 article in Barron’s titled “Is AmTrust Stock Worth the Premium?” that

         again   questioned   AmTrust’s     accounting    practices   and   highlighted   significant

         discrepancies in the Company’s regulatory filings.

         305.    Those members of the Board who were directors at the relevant times, i.e.,

  Defendants Zyskind, G. Karfunkel, Gulkowitz, Fisch, and DeCarlo were aware of all of these red

  flags as the Company issued public responses to each one of them. Moreover, the Alistair

  Capital letter caused AmTrust to abandon its frivolous defamation lawsuit. Nonetheless, in

  response to these red flags, these directors acted in bad faith by consciously disregarding their




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  fiduciary duties and doing nothing to ensure the Company issued accurate financial statements

  until the Company announced it would have to restate its financial statements on March 16,

  2017.   Any Board acting in good faith would have immediately launched an independent

  investigation to determine if the allegations in the Barron’s articles and the Alistair Capital letter

  were accurate. However, the AmTrust Board did nothing. As a result, Defendants Zyskind, G.

  Karfunkel, Gulkowitz, Fisch, and DeCarlo breached their fiduciary duties and face a substantial

  likelihood of liability for the claims asserted herein, and, as such, cannot impartially consider a

  pre-suit demand, and such demand is excused. 32

          306.   Further evidence of these directors’ awareness of the Company’s fraudulent

  accounting practices surfaced when the Company announced, on November 6 and 8, 2017, its

  loss reserve development of $327 million, which was driven not by recent events but primarily

  by cases known to AmTrust from the 2013-2016 accident years, and which it ceded to its adverse

  development cover, Premia Reinsurance Ltd. As the adverse development was related to cases

  already known to the Company, the directors overseeing the Company at the time of the articles

  cited in paragraph 303 were on notice that the Company had not been adequately accounting for

  loss reserves at that time. Moreover, that the cession to Premia consumed exactly the amount of

  reinsurance coverage remaining under the Company’s July 2017 reinsurance agreement with

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     At a minimum, the members of the Audit Committee (Defendants DeCarlo, Fisch, and
  Gulkowitz) received the December 18, 2014 letter issued by Alistair Capital as it was
  specifically addressed to them. Moreover, as explained in paragraphs 331 to 333 below,
  members of the Audit Committee have a heightened obligation to ensure the Company’s
  accounting practices are proper and its financial statements are accurate. Thus, at least these
  directors were warned about the Company’s improper accounting practices by December 2014
  and took no steps whatsoever to correct them. As such, at least these three directors face a
  substantial likelihood of liability for consciously disregarding red flags and failing to adequately
  oversee BDO, and cannot fairly and impartially consider a pre-suit demand to bring the claims
  asserted herein. Moreover, as explained in paragraphs 275 to 307, the members of the Audit
  Committee have made clear through their past actions, or lack thereof, that they are unwilling or
  unable to act independently from the Control Group.


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  Premia, as alleged above, also supports that the subsequently reported understatement of loss

  reserves was known to these directors well before July 2017.

           307.    Alternatively, if these directors did not sit idly by as the Company continued to

  defraud the public with inaccurate financial statements, then they acted in bad faith by

  affirmatively approving the continued use of improper accounting in order to artificially inflate

  the Company’s performance. Breaking the law is not a legally protected business decision and

  such conduct can in no way be considered a valid exercise of business judgment. Accordingly,

  demand on the Board is excused. Similarly, it is not a valid exercise of business judgment to:

       •   Authorize the issuance of false financial statements in bad faith;

       •   Continue to rely on BDO’s past audits of the Company’s financial statements, and allow

           it to continue to conduct future audits, after the NYDFS stated on September 12, 2014

           that it would only approve the acquisition of Tower by ACP, a private company entirely

           owned by the Control Group, if the Company agreed to hire a new auditor beginning with

           the audit for the 2015 fiscal year; 33 and

       •   Utilize a $150 million share repurchase program approved in December 2013 and

           authorize a new $200 million share repurchase program in April 2016 under which

           AmTrust repurchased millions of shares of stock for $227 million at artificially inflated

           prices resulting in overpayments of approximately $104 million.

           308.    By authorizing actions that were not the valid exercise of business judgment, a

  majority of the members of the Board breached their fiduciary duties and face a substantial


  33
    Additionally, on April 11, 2017, The Wall Street Journal published an article revealing that
  BDO actively tried to bury AmTrust’s poor accounting practices, ignored the fact that AmTrust
  provided it with inconsistent figures, signed off on audits before completing important checks,
  and manipulated the electronic metadata of certain documents so as to deceptively misstate the
  date a document was created.


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  likelihood of liability for the claims asserted herein. Therefore they cannot impartially consider

  a pre-suit demand and such demand is excused.

  IV.    Demand is Excused Because a Majority of the Board Faces a Substantial Likelihood
         of Liability for Related Violations of Federal Securities Laws

         309.    Throughout the Relevant Period, AmTrust issued numerous false and misleading

  statements concerning its finances. For example, in connection with the Company’s November

  2015 $320 million common stock offering and its September 2016 $287.5 million preferred

  stock offering, the Company filed prospectus supplements (the “Prospectus Supplements”) that

  included and/or incorporated its then current inaccurate financial statements. Each prospectus is

  considered part of a shelf registration statement the Company filed with the SEC on June 11,

  2015 (the “2015 Registration Statement”). The Registration Statement was signed by a majority

  of the current Board: Defendants Zyskind, DeCarlo, Fisch, Gulkowitz, and G. Karfunkel

  (collectively, the “Section 11 Defendants”).

         310.    Section 11 of the Securities Act of 1933 (“Section 11”) provides a private cause

  of action to security purchasers if any part of a Registration Statement covering such securities is

  materially false or misleading. Section 11 provides for strict liability and does not require

  defendants to act with scienter.     Rather, a plaintiff need only prove that statements in a

  Registration Statement are materially false or misleading in order to establish liability under

  Section 11.

         311.    As explained above, the Company later admitted the financial statements

  contained in the Prospectus Supplements were materially false and misleading and thus issued a

  restatement. This admission subjects the Section 11 Defendants, as well as any other persons

  who signed the Registration Statement, to substantial liability for losses incurred by purchasers

  in the November 2015 and September 2016 Offerings. In fact, purchasers in those offerings



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  have instituted a putative class action captioned In re AmTrust Financial Services, Inc. Securities

  Litigation, C.A. No.: 1:17-cv-01545-(LAK) (S.D.N.Y.) against, among others, the Section 11

  Defendants in order to recover damages resulting from the false statements.

         312.    Because Section 11 does not contain a scienter requirement and the Company has

  already admitted its financial statements were materially false and misleading, the Section 11

  Defendants, who comprise a majority of the Board, face a substantial risk of liability in

  connection with the Company’s failure to issue accurate financial statements and maintain

  adequate controls over financial reporting, which forms the basis of the claims asserted herein.

  Therefore, a majority of the Board is incapable of impartially and fairly assessing a pre-suit

  demand to bring the claims asserted herein.

                                           *      *       *

         313.    For the reasons stated above, a majority of the Board is incapable of fairly and

  impartially evaluating a pre-suit demand to bring the claims asserted herein. As such, demand is

  excused.

                      PLAINTIFFS ATTEMPTED TO UTILIZE THE
                220 PROCESS TO OBTAIN DOCUMENTS FROM AMTRUST

         314.    On May 16, 2017, Plaintiff Pompano served a books and record demand on

  AmTrust, pursuant to 8 Del. C. § 220. Pompano sought documents concerning, inter alia,

  AmTrust’s related-party transactions with Maiden and NGHC, respectively. On May 24, 2017,

  despite the opportunity this demand presented the Board to produce exculpatory documents

  evidencing the fairness of the Company’s transactions with other Karfunkel-dominated

  companies, the Board refused to produce anything in response to Pompano’s demand.

         315.    On June 5, 2017, Plaintiff Lauderhill served a books and records demand on

  AmTrust, pursuant to 8 Del. § 220. It was an extremely narrowly tailored demand, seeking only



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  Board minutes and materials concerning (i) the Board’s reaction to, assessment of and

  investigation concerning the Barron’s, Wall Street Journal and GEO articles and the Alistair

  Capital Letter; and (ii) the Board’s decision to terminate BDO as its auditor in April 2016. The

  demand was designed to give the Board an opportunity to present documents showing it acted

  appropriately in the face of serious allegations and when confronted by its auditor immediately

  prior to a restatement. Instead, the Company stonewalled. By letter dated June 13, 2017, the

  Company refused Lauderhill’s demand.

         316.   In light of the fact that the Board met 8, 12, 15, and 9 times in 2013, 2014, 2015

  and 2016 respectively and the Audit Committee met 8, 15, 17, and 14 times in 2013, 2014, 2015,

  and 2016 respectively, the Company’s failure to produce any exculpatory documents showing

  the Board took any action whatsoever to ensure the Company issued accurate financial

  statements is telling and gives rise to an inference that no such documents exist, further

  demonstrating the Board’s breaches of their duty. See In re China Agritech, Inc. S'holder

  Deriv. Litig., 2013 WL 2181514, at *20 (Del. Ch. May 21, 2013) (denying motion to dismiss

  pursuant to Rule 23.1; noting that the complaint supported its allegations “with references to

  books and records obtained using Section 220, and with inferences that this Court can reasonably

  draw from the absence of books and records that the Company could be expected to produce”);

  In re Tyson Foods, Inc. Consol. S'holder Litig., 919 A.2d 563, 578 (Del. Ch.2007) (explaining

  that “it is more reasonable to infer that exculpatory documents would be provided [in response to

  a Section 220 demand] than to believe the opposite: that such documents existed and yet were

  inexplicably withheld”).

         317.   It is clear that the Control Group is blocking stockholders’ efforts to ensure their

  board of directors act in compliance with its fiduciary duties. In light of the Control Group’s




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  stonewalling and divergent interests, as well as the exigencies created by the ongoing multiple

  federal investigations into the Company’s accounting practices, Plaintiffs were forced to file this

  complaint.

               DEFENDANTS WERE OBLIGATED TO SAFEGUARD
        THE COMPANY’S INTERESTS AND COMPLY WITH APPLICABLE LAWS

  I.      Duties of All Defendants

          318.       By reason of their positions as officers or directors of AmTrust and because of

  their ability to control the business, corporate, and financial affairs of the Company, Defendants

  owed AmTrust and its stockholders the duty to exercise due care and diligence in the

  management and administration of the affairs of the Company, including ensuring that AmTrust

  operated in compliance with all applicable federal and state laws, rules, and regulations.

  Defendants were and are required to act in furtherance of the best interests of AmTrust and its

  stockholders so as to benefit all stockholders equally and not in furtherance of Defendants’

  personal interest or benefit. Each director and officer owes to AmTrust and its stockholders the

  fiduciary duty to exercise good faith and diligence in the administration of the affairs of the

  Company and in the use and preservation of its property and assets, and the highest obligations

  of fair dealing.

          319.       Because of their positions of control and authority as directors or officers of

  AmTrust, Defendants were able to and did, directly or indirectly, exercise control over the

  wrongful acts detailed in this Complaint. Due to their positions with AmTrust, Defendants had

  knowledge of material non-public information regarding the Company.

          320.       To discharge their duties, Defendants were required to exercise reasonable and

  prudent supervision over the management, policies, practices, controls, and financial and




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  corporate affairs of the Company. By virtue of such duties, the officers and directors of AmTrust

  were required to, among other things:

         a)      Manage, conduct, supervise, and direct the employees, businesses, and affairs of
                 AmTrust in accordance with laws, rules, and regulations, as well as the charter
                 and by-laws of AmTrust;

         b)      Ensure that AmTrust did not engage in imprudent or unlawful practices and that
                 the Company complied with all applicable laws and regulations;

         c)      Remain informed as to how AmTrust was, in fact, operating, and, upon receiving
                 notice or information of imprudent or unsound practices, to take reasonable
                 corrective and preventative actions, including maintaining and implementing
                 adequate financial and operational controls;

         d)      Supervise the preparation, filing, or dissemination of any SEC filings, press
                 releases, audits, reports, or other information disseminated by AmTrust, and to
                 examine and evaluate any reports of examinations or investigations concerning
                 the practices, products, or conduct of officers of the Company;

         e)      Preserve and enhance AmTrust’s reputation as befits a public corporation;

         f)      Exercise good faith to ensure that the affairs of the Company were conducted in
                 an efficient, business-like manner so as to make it possible to provide the highest
                 quality performance of its business; and

         g)      Refrain from unduly benefiting themselves and other AmTrust insiders at the
                 expense of the Company.

         321.    Defendants also owed to AmTrust and its stockholders the duty of loyalty,

  mandating that each favor the interests of AmTrust and its stockholders over their own personal

  interests, and refrain from using their positions, influence or knowledge of the affairs of the

  Company to gain personal advantage.

         322.    Because of their advisory, executive, managerial, and directorial positions with

  the Company, Defendants had access to adverse, non-public information about the Company.

         323.    Defendants, because of their positions of control and authority, were able to and

  did, directly or indirectly, exercise control over the wrongful acts complained of herein, as well

  as the contents of the various public statements issued by AmTrust.



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  II.    Conspiracy, Aiding and Abetting, and Concerted Action

         324.    In committing the wrongful acts complained of herein, Defendants have pursued,

  or joined in the pursuit of, a common course of conduct, and have acted in concert with and

  conspired with one another in furtherance of their common plan or design. In addition to the

  wrongful conduct herein alleged as giving rise to primary liability, Defendants further aided and

  abetted and/or assisted each other in breaching their respective fiduciary duties.

         325.    During all times relevant hereto, Defendants, collectively and individually,

  initiated a course of conduct that was designed to and did: (i) conceal the fact that the Company

  was manipulating its financial metrics, including loss reserves, revenue, and net income; (ii)

  facilitate Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,

  waste of corporate assets, gross mismanagement, abuse of control, and violations of Sections

  10(b) and 14(a) of the Exchange Act; (iii) conceal adverse information concerning the

  Company’s operations, financial condition, legal compliance, future business prospects and

  internal controls; and (iv) artificially inflate AmTrust’s stock price while the Company

  repurchased its own stock and the Insider Selling Defendants engaged in lucrative insider sales.

         326.    Defendants engaged in a conspiracy, common enterprise, and/or course of

  conduct during the Relevant Period. During this time, Defendants concealed the true fact that

  AmTrust was misrepresenting its financial results.

         327.    Defendants accomplished their conspiracy, common enterprise, and/or common

  course of conduct by reviewing, participating in, and/or allowing the Company to purposefully

  or recklessly engage in an improper and illegal course of conduct. Because the actions described

  herein occurred under the authority of the Board, each of the Director Defendants was a direct,

  necessary, and substantial participant in the conspiracy, common enterprise and/or common

  course of conduct alleged herein.


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          328.    Each of the Defendants aided and abetted and rendered substantial assistance in

  the wrongs complained of herein. In taking such actions to substantially assist the commission

  of the wrongdoing alleged herein, each of the Defendants acted with knowledge of the primary

  wrongdoing, substantially assisted the accomplishment of that wrongdoing, and was aware of his

  or her overall contribution to and furtherance of the wrongdoing.

  III.    The Company’s Code of Business Ethics

          329.    The Company’s Code of Business Conduct and Ethics (the “Code of Ethics”)

  “applies to all AmTrust employees, officers, directors and contractors” and “sets out the values

  and principles to guide all employees, directors and officers.”

          330.    Specifically, with regard to “maintaining accurate books and records,” the Code

  of Ethics states, in pertinent part:

          We are required to maintain accurate books and records in accordance with the
          securities and accounting laws of the U.S., the countries in which our subsidiaries
          are incorporated, as well as the countries in which we operate. These documents
          form the basis of our earning statements, financial reports and other public
          disclosures and should be maintained accurately, completely, and in a timely and
          understandable manner. In addition, they guide our Company’s business actions
          and decisions. Each of us is responsible for keeping accurate records. In
          addition, we must comply with AmTrust’s system of internal controls for
          financial reporting.

          We may never make a false representation in our Company’s books or otherwise
          mischaracterize such information. This means we cannot:

          •   Intentionally distort or disguise the true nature of a transaction in any
              accounting entries;

          •   Make a representation, whether in a document or verbally, that is not
              fully accurate;

          •   Establish any undisclosed or unrecorded funds or assets, such as “slush
              funds,” for any purpose.




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         331.     Defendants, however, violated the Company’s Code of Ethics by affirmatively

  adopting, implementing, and condoning a business strategy based on deliberate and widespread

  violations of applicable laws.

  IV.    The Audit Committee

         332.     The Board’s Audit Committee is currently comprised of Defendants DeCarlo

  (Chair), Fisch, and Gulkowitz. According to the Audit Committee Charter, the Committee shall

  provide assistance to the Board with respect to its oversight of:

         •   the accounting and financial reporting processes of AmTrust and its subsidiaries and
             the audits of its financial statements;

         •   the independent auditor’s qualifications and independence;

         •   the performance of the Company’s internal audit function and independent auditors;
             and

         •   the Company’s compliance with legal and regulatory requirements.

         333.     Moreover, the Audit Committee is responsible for preparing the audit committee

  reports in the Company’s annual proxy statements that, among other things, stated the Audit

  Committee recommended to the Board that the audited financial statements of the Company be

  included in the Annual Report on Form 10-K for each year during the Relevant Period.

         334.     The Audit Committee is also tasked with the obligation to oversee and monitor

  the Company’s compliance with laws and regulations. The Audit Committee Charter in effect

  during the Relevant Period specifically provides that the Audit Committee “shall be directly

  responsible for the compensation and oversight of the work of the independent auditor . . . for the

  purpose of preparing or issuing an audit report or related report.” With respect to financial

  statements and disclosure matters, the Audit Committee Charter explicitly requires the Audit

  Committee to:




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        a)    Discuss with management and the independent auditor significant
              financial reporting issues and judgments made in connection with the
              preparation of the Company’s financial statements, including any
              significant changes in the Company’s selection or application of
              accounting principles, any major issues as to the adequacy of the
              Company’s internal controls and any special steps adopted in light of
              material control deficiencies.

        b)    Review and discuss annually reports from the independent auditors on:

              i.     All critical accounting policies and practices to be used in the
                     audit.

              ii.    All alternative treatments of financial information within
                     generally accepted accounting principles that have been
                     discussed with management, the ramifications of the use of
                     such alternative disclosures and treatments, and the treatment
                     preferred by the independent auditor.

              iii.   Other material written communications between the
                     independent auditor and management, such as any management
                     letter or schedule of unadjusted differences.

        c)    Review and discuss with management and the independent auditor any
              major issues regarding accounting principles and financial statement
              presentation, including any significant changes in the Company’s selection
              or application of accounting principles, any significant financial reporting
              issues and judgments made in connection with the preparation of the
              Company’s financial statements, and the effect of regulatory and
              accounting initiatives as well as off-balance sheet structures on the
              Company’s financial statements.

        d)    Discuss with the independent auditor the matters required to be discussed
              by Public Company Accounting Oversight Board (“PCAOB”) Auditing
              Standard No. 1301 relating to the conduct of the audit, including any
              difficulties encountered in the course of the audit work, any restrictions on
              the scope of activities or access to requested information, and any
              significant disagreements with management.

        e)    Review disclosures made to the Audit Committee by the Company’s CEO
              and CFO during their certification process for the Form 10-K and Form
              10-Q about any significant deficiencies in the design or operation of
              internal control over financial reporting or material weaknesses therein
              and any fraud involving management or other employees who have a
              significant role in the Company’s internal control over financial reporting.

        f)    To consider questions of possible conflicts of interest; to review, approve
              and oversee all related party transactions as defined in applicable rules of


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                 the national securities exchange on which the Company’s securities are
                 listed; to discuss with the independent auditor significant related party
                 transactions, and the auditor’s evaluation of the Company’s identification
                 of, accounting for, and disclosure of its relationships and transactions with
                 related parties, including any significant matters arising from the audit
                 regarding the Company’s relationships and transactions with related
                 parties, as required by PCAOB Auditing Standard No. 2410; and to
                 develop policies and procedures for the Committee’s approval of related
                 party transactions.

                                       CLAIMS FOR RELIEF

                                              COUNT I
                       Breach of Fiduciary Duty Against the Director Defendants

         335.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations

  as though fully set forth in this paragraph.

         336.    Each of the Director Defendants owed and owe fiduciary duties to AmTrust and

  its stockholders. By reason of their fiduciary relationships, the Director Defendants specifically

  owed and owe AmTrust the highest obligation of good faith, fair dealing, loyalty, and due care in

  the administration and management of the affairs of the Company, including the Company’s

  financial reporting, internal controls, and compensation practices.

         337.    Each of the Director Defendants consciously and deliberately breached their

  fiduciary duties of candor, good faith, and loyalty by either intentionally causing the Company to

  issue false financial statements or consciously ignoring numerous red flags that the Company’s

  accounting practices were fraudulent and that it lacked adequate internal controls.

         338.    These actions were not a good-faith exercise of prudent business judgment to

  protect and promote the Company’s corporate interests.

         339.    Additionally, the Director Defendants have specific fiduciary duties as defined by

  the Company’s corporate governance documents, including the Code of Conduct and the charters

  of various Board committees that, had they been discharged in accordance with Director



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  Defendants’ obligations, would have necessarily prevented the misconduct and the consequent

  harm to the Company alleged in this Complaint.

         340.    Accordingly, to the extent AmTrust’s exculpatory provision applies to the

  Director Defendants’ acts or omissions while acting in their capacity as directors, it cannot

  immunize them from (i) any non-monetary liability, (ii) monetary liability for their breaches of

  the duty of loyalty, (iii) monetary liability for acts or omissions not in good faith or that involved

  intentional misconduct or a knowing violation of law, or (iv) monetary liability in connection

  with any transaction from which they derived an improper personal benefit. As detailed in this

  Complaint, the Director Defendants’ misconduct with respect to the illicit accounting scheme (i)

  involved breaches of their duty of loyalty; (ii) involved acts or omissions not in good faith or that

  involved intentional misconduct or a knowing violation of law; and (iii) at least with respect to

  the Insider Selling Defendants, occurred in connection with a transaction from which those

  Defendants derived improper personal benefits.         AmTrust’s exculpatory provision therefore

  cannot immunize the Director Defendants from liability for that misconduct.

         341.    As a direct and proximate result of the Director Defendants’ breaches of their

  fiduciary obligations, AmTrust has sustained and continues to sustain significant damages. In

  addition to causing massive and devastating financial restatements, the Director Defendants’

  accounting manipulation has led to investigations of AmTrust by the FBI, the SEC and NYDFS.

  The Director Defendants’ misconduct has dramatically eroded the Company’s stock price,

  invited securities fraud litigation, and harmed the Company’s reputation and business. It caused

  and is causing the Company to overpay to acquire its own stock by over $100 million and incur

  millions of dollars in expenses related to restating the Company’s financials and defending (and

  in the future likely settling) securities fraud litigation. Moreover, the misconduct caused A.M.




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  Best to revise its outlook on AmTrust’s (and its subsidiaries’) Long-Term Issuer Credit Rating

  from stable to negative.

         342.    As a result of the misconduct alleged in this Complaint, the Director Defendants

  are liable to the Company.

                                             COUNT II
                        Breach of Fiduciary Duty Against the Officer Defendants

         343.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations

  as though fully set forth in this paragraph. This Count is brought against Defendants Zyskind

  and Pipoly solely in their capacity as officers.

         344.    Each of the Officer Defendants owed and owe fiduciary duties to AmTrust and its

  stockholders. By reason of their fiduciary relationships, the Officer Defendants specifically

  owed and owe AmTrust the highest obligation of good faith, fair dealing, loyalty, and due care in

  the administration and management of the affairs of the Company, including the Company’s

  financial reporting, internal controls, and compensation practices.

         345.    The Officer Defendants consciously and deliberately breached their fiduciary

  duties of candor, good faith, and loyalty by either intentionally causing the Company to issue

  false financial statements or consciously ignoring numerous red flags that the Company’s

  accounting practices were fraudulent and that it lacked adequate internal controls.

         346.    These actions were not a good-faith exercise of prudent business judgment to

  protect and promote the Company’s corporate interests.

         347.    Additionally, the Officer Defendants are not entitled to claim any immunity under

  Section 102(b)(7) to the extent this claim is asserted against them in their capacity as officers of

  the Company.




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         348.    As a direct and proximate result of the Officer Defendants’ breaches of their

  fiduciary obligations, AmTrust has sustained and continues to sustain significant damages. In

  addition to causing massive and devastating financial restatements, the Officer Defendants’

  accounting manipulation has led to investigations of AmTrust by the FBI, the SEC and NYDFS.

  The Officer Defendants’ misconduct has dramatically eroded the Company’s stock price, invited

  securities fraud litigation, and harmed the Company’s reputation and business. It caused and is

  causing the Company to overpay to acquire its own stock by over $100 million and incur

  millions of dollars in expenses related to restating the Company’s financials and defending (and

  in the future likely settling) securities fraud litigation. Moreover, the misconduct caused A.M.

  Best to revise its outlook on AmTrust’s (and its subsidiaries’) Long-Term Issuer Credit Rating

  from stable to negative.

         349.    As a result of the misconduct alleged in this Complaint, the Officer Defendants

  are liable to the Company.

                                             COUNT III
                               Unjust Enrichment Against All Defendants

         350.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations

  as though fully set forth in this paragraph.

         351.    During the Relevant Period, Defendants received bonuses, stock options, stock, or

  similar compensation from AmTrust that was tied to the Company’s financial performance, or

  otherwise received compensation that was unjust in light of Defendants’ bad faith conduct,

  violation of the Company’s code of ethics, and self-dealing.

         352.    Plaintiffs, as stockholders and representatives of AmTrust, seek restitution from

  Defendants and seek an order of this Court disgorging all profits, benefits, and other




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  compensation—including any salary, options, performance-based compensation, and stock—

  obtained by Defendants due to their wrongful conduct alleged in this Complaint.

                                              COUNT IV
    Breach of Fiduciary Duty for Insider Selling and Misappropriation of Confidential Information
                               Against the Insider Selling Defendants

         353.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations

  as though fully set forth in this paragraph.

         354.    At the time of the stock sales set forth in paragraphs 113 to 117, the Insider

  Selling Defendants—Pipoly, Gulkowitz, and DeCarlo—knew or consciously disregarded the

  information described in this Complaint regarding the illicit accounting scheme and sold

  AmTrust common stock on the basis of that information.

         355.    The information described above was proprietary non-public information

  concerning the Company’s unlawful conduct associated with its accounting. The information

  was a proprietary asset belonging to the Company, which the Insider Selling Defendants used for

  their own benefit when they sold AmTrust common stock.

         356.    The Insider Selling Defendants’ sales of AmTrust common stock while in

  possession and control of this material adverse non-public information was a breach of their

  fiduciary duties of loyalty and good faith.

         357.    Because the use of the Company’s proprietary information for their own gain

  constitutes a breach of the Insider Selling Defendants’ fiduciary duties, the Company is entitled

  to the imposition of a constructive trust on any profits the Insider Selling Defendants obtained

  thereby.




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                                               COUNT V
      Violations of Section 10(B) of the Exchange Act and Sec Rule 10b-5 Promulgated Thereunder
                                          Against All Defendants

          358.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

  set forth herein. This claim is asserted against all Defendants.

          359.    During the Relevant Period, in connection with AmTrust’s repurchases of

  AmTrust shares, Defendants disseminated or approved false or misleading statements about

  AmTrust, which they knew or recklessly disregarded were false or misleading and were intended

  to deceive, manipulate, or defraud. Those false or misleading statements and Defendants’ course

  of conduct were designed to artificially inflate the price of the Company’s common stock.

          360.    At the same time that the price of the Company’s common stock was inflated due

  to the false or misleading statements made by Defendants, Defendants caused the Company to

  repurchase millions of shares of its own common stock at prices that were artificially inflated

  due to Defendants’ false or misleading statements. Defendants engaged in a scheme to defraud

  AmTrust by causing the Company to purchase at least $227 million in shares of AmTrust stock

  at artificially inflated prices.

          361.    Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 in

  that they (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of

  material facts or omitted to state material facts necessary in order to make the statements made,

  in light of the circumstances under which they were made, not misleading; and/or (c) engaged in

  acts, practices, and a course of business that operated as a fraud or deceit upon AmTrust in

  connection with the Company’s purchases of AmTrust stock during the Relevant Period.

          362.    Defendants, individually and in concert, directly and indirectly, by the use of

  means or instrumentalities of interstate commerce or of the mails, engaged and participated in a

  continuous course of conduct that operated as a fraud and deceit upon the Company; made


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  various false or misleading statements of material facts and omitted to state material facts

  necessary in order to make the statements made, in light of the circumstances under which they

  were made, not misleading; made the above statements intentionally or with a severely reckless

  disregard for the truth; and employed devices and artifices to defraud in connection with the

  purchase and sale of AmTrust stock, which were intended to, and did: (a) deceive AmTrust

  regarding, among other things, its accounting practices, the Company’s internal controls and

  compensation practices, and the Company’s financial statements; (b) artificially inflate and

  maintain the market price of AmTrust stock; and (c) cause AmTrust to purchase the Company’s

  stock at artificially inflated prices and suffer losses when the true facts became known.

  Throughout the Relevant Period, Defendants were in possession of material, adverse non-public

  information regarding the illicit accounting scheme.

         363.    Defendants were among the senior management and the directors of the

  Company, and were therefore directly responsible for, and are liable for, all materially false or

  misleading statements made during the Relevant Period, as alleged above.

         364.    As described above, Defendants acted with scienter throughout the Relevant

  Period, in that they acted either with intent to deceive, manipulate, or defraud, or with severe

  recklessness. The misstatements and omissions of material facts set forth in this Complaint were

  either known to Defendants or were so obvious that Defendants should have been aware of them.

  Throughout the Relevant Period, Defendants also had a duty to disclose new information that

  came to their attention and rendered their prior statements to the market materially false or

  misleading.




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          365.    Defendants’ false or misleading statements and omissions were made in

  connection with the purchase or sale of the Company’s stock, both by the Company itself and by

  the Insider Selling Defendants.

          366.    As a result of Defendants’ misconduct, AmTrust has and will suffer damages in

  that it paid artificially inflated prices for AmTrust common stock purchased as part of the

  repurchase program and suffered losses when the previously undisclosed facts relating to the

  illicit accounting scheme were disclosed beginning in February 2017. AmTrust would not have

  purchased these securities at the prices it paid, or at all, but for the artificial inflation in the

  Company’s stock price caused by Defendants’ false or misleading statements.

          367.    As a direct and proximate result of Defendants’ wrongful conduct, the Company

  suffered damages in connection with its purchases of AmTrust stock during the Relevant Period.

  By reason of such conduct, Defendants are liable to the Company pursuant to Section 10(b) of

  the Exchange Act and SEC Rule 10b-5.

          368.    Plaintiffs brought this claim within two years of its discovery of the facts

  constituting the violation and within five years of the violation.

                                               COUNT VI
          Violations of Section 20a of the Exchange Act Against the Insider Selling Defendants

          369.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

  set forth herein.

          370.    The Insider Selling Defendants, by reason of their relationship with the Company

  as officers and directors of the Company, had access, directly or indirectly, to material

  information about the Company not available to the public.

          371.    The Insider Selling Defendants knowingly traded on this material, non-public

  information about the Company.



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         372.    The Insider Selling Defendants sold AmTrust securities with actual knowledge

  that the value of these securities was inflated as a result of Defendants’ false and misleading

  statements and other fraudulent activities detailed in this Complaint.

         373.    As part of AmTrust’s publicly disclosed share repurchase program, the Company

  purchased over 8 million shares of its common stock throughout the Relevant Period. AmTrust

  was a contemporaneous purchaser of AmTrust securities, pursuant to Section 20A of the

  Exchange Act, when the Insider Selling Defendants sold AmTrust securities, as set forth above.

         374.    As a contemporaneous purchaser, AmTrust was damaged by the actions of the

  Insider Selling Defendants, as alleged in this Complaint, in that (i) in reliance on the integrity of

  the market, the Company paid artificially inflated prices as a result of the violations of Section

  10(b) of the Exchange Act and SEC Rule 10b-5; and (ii) the Company would not have purchased

  the securities at the prices it paid, or at all, had it been aware that the market prices had been

  artificially inflated by Defendants’ false or misleading statements. At the time of the purchase of

  the securities by the Company, the fair and true market value of the securities was substantially

  less than the price paid by the Company.

                                               COUNT VII
             Violations of Section 29(B) of the Exchange Act Against the Officer Defendants

         375.    Plaintiffs incorporate by reference and reallege each and every allegation

  contained above, as though fully set forth in this paragraph.

         376.    As a result of their conduct, as alleged in this Complaint, the Officer Defendants

  violated Sections 10(b) and 14(a) of the Exchange Act during the time they entered into contracts

  with AmTrust regarding their compensation.

         377.    AmTrust has a compensation clawback policy that allows the Company to claw

  back compensation in certain circumstances.



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         378.     If AmTrust attempts to claw back compensation from the Officer Defendants, the

  Officer Defendants might assert a breach of contract claim.

         379.     Section 29(b) of the Exchange Act provides equitable remedies that include,

  among other things, provisions allowing for the voiding of contracts where the performance of

  the contract involved violation of any provision of the Exchange Act.

         380.     The Officer Defendants violated provisions of the Exchange Act while

  performing their duties arising under various employment and other contracts they entered into

  with AmTrust.

         381.     AmTrust was and is an innocent party with respect to the Officer Defendants’

  Exchange Act violations.

         382.     Plaintiffs, on behalf of AmTrust, seek rescission of the contracts between the

  Officer Defendants and AmTrust due to Defendants’ violations of the Exchange Act while

  performing their job duties.

         383.     Even if the contracts are not rescinded by the Court as a result of the Officer

  Defendants’ Exchange Act violations, the Court can and should award equitable remedies in the

  form of injunctive relief barring the Officer Defendants from asserting breach of contract by

  AmTrust in any action by Plaintiffs on behalf of AmTrust to claw back compensation from the

  Officer Defendants.

         384.     Plaintiffs seek only declaratory, injunctive, and equitable relief in this claim.

                                            COUNT VIII
                                 Corporate Waste Against All Defendants

         385.     Plaintiffs incorporate by reference and reallege each of the foregoing allegations

  as though fully set forth in this paragraph.




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           386.   The Director Defendants have a fiduciary duty to protect AmTrust’s assets from

  waste.

           387.   By approving the stock repurchase program, the Director Defendants breached

  this fiduciary duty and have caused AmTrust to waste its corporate assets on the repurchase of

  stock at artificially inflated prices.

           388.   As a result of the Director Defendants’ corporate waste, the Company has

  suffered damages.

                                           PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs demand for a judgment as follows:

           A.     Determination that this action is a proper derivative action maintainable under the

                  law and that demand was excused as futile;

           B.     Declaring that Defendants have breached their fiduciary duties to AmTrust;

           C.     Declaring that the Defendants have been unjustly enriched;

           D.     Declaring that the Defendants violated Section 10(b) of the Exchange Act and

                  SEC Rule 10b-5;

           E.     Declaring that the Insider Selling Defendants violated Section 20A of the

                  Exchange Act;

           F.     Declaring that the other Defendants violated Section 29(b) of the Exchange Act;

           G.     Declaring that the Defendants committed waste;

           H.     Determining and awarding to AmTrust the damages sustained by it as a result of

                  the violations set forth above from each Defendant, jointly and severally, together

                  with prejudgment and post-judgment interest thereon;

           I.     Directing AmTrust to take all necessary actions to reform and improve its

                  corporate governance and internal procedures to comply with applicable laws and


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              to protect the Company and its stockholders from a repeat of the damaging events

              described in this Complaint, including putting forward for a stockholder vote

              resolutions for amendments to the Company’s by-laws or articles of

              incorporation, and taking such other actions as may be necessary to place before

              stockholders for a vote the following corporate governance policies:

                     1.      a proposal to strengthen Board oversight and supervision of

                             AmTrust’s financial reporting procedures;

                     2.      a proposal to strengthen the Company’s disclosure controls to

                             ensure material information is adequately and timely disclosed to

                             the SEC and the public;

                     3.      a proposal to ensure that all Board members take appropriate

                             action to rid the Company of its lawless culture; and

                     4.      a proposal to strengthen the Board’s supervision of operations and

                             develop and implement procedures for greater stockholder input

                             into the policies and guidelines of the Board.

        J.    Extraordinary equitable or injunctive relief as permitted by law or equity,

              including attaching, impounding, imposing a constructive trust on, or otherwise

              restricting Defendants’ assets so as to assure that Plaintiffs, on behalf of AmTrust,

              have an effective remedy;

        K.    Awarding to AmTrust restitution from Defendants, and each of them, and

              ordering disgorgement of all profits, benefits, and other compensation obtained by

              Defendants, including the proceeds of insider transactions made in violation of

              federal and state securities laws;




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         L.      Ordering an accounting of all compensation awarded to the Officer Defendants

                 during the Relevant Period;

         M.      Increasing the size of AmTrust’s Board of Directors and reconstituting the Audit

                 Committee;

         N.      Awarding to Plaintiffs costs and disbursements related to this action, including

                 reasonable attorneys’ fees, consultant and expert fees, costs, and expenses; and

         O.      Granting such other and further relief as the Court deems just and proper.

                                    JURY TRIAL DEMANDED

  Plaintiffs hereby demand a trial by jury.

  Dated: December 11, 2017

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     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE


                                                    Consolidated C.A. No.
                                                    2018-0396-AGB
     IN RE AMTRUST FINANCIAL
     SERVICES, INC. STOCKHOLDER                     CONFIDENTIAL
     LITIGATION                                     FILING

                                                    PUBLIC VERSION DUE
                                                    MAY 15, 2019

  AMENDED VERIFIED CONSOLIDATED CLASS ACTION COMPLAINT

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     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE


                                                Consolidated C.A. No.
                                                2018-0396-AGB
    IN RE AMTRUST FINANCIAL
    SERVICES, INC. STOCKHOLDER                  CONFIDENTIAL
    LITIGATION                                  FILING

                                                PUBLIC VERSION DUE
                                                MAY 15, 2019

  AMENDED VERIFIED CONSOLIDATED CLASS ACTION COMPLAINT




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        Plaintiffs Arca Investments, a.s., Arca Capital Bohemia, a.s., and Krupa

  Global Investments f/k/a Arca Venture Capital a.s. (together, “Arca”), Pompano

  Beach Police & Firefighters’ Retirement System (“Pompano”), Cambridge

  Retirement System (“Cambridge” and, together with Arca and Pompano, the “Lead

  Plaintiffs”), City of Lauderhill Police Officers’ Retirement System and West Palm

  Beach Police Pension Fund (“Plaintiffs”), by and through their undersigned

  attorneys, submit this Amended Verified Consolidated Class Action Complaint

  against the defendants named herein, and allege upon personal knowledge with

  respect to themselves, and upon information and belief based upon, inter alia, a

  review of public filings, press releases and reports, investigations undertaken by

  Lead Plaintiffs’ counsel, including demands for the production of documents

  pursuant to Section 220 of the Delaware General Corporation Law, discovery taken

  in related matters, consultation with financial advisors, and retention of private

  investigators, as to all other allegations herein, as follows:

  I.    INTRODUCTION
        1.     Pursuant to an Agreement and Plan of Merger, dated as of March 1,

  2018 (the “Initial Merger Agreement”) between AmTrust, Evergreen Parent, L.P.

  (“Parent”), and Evergreen Merger Sub., Inc. (“Merger Sub”), the Karfunkel-Zyskind

  Family (defined below) and private equity firm Stone Point Capital LLC

  (collectively, the “Acquiring Group” or “MBO Group”) was to acquire AmTrust’s

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  minority shares for $13.50 per share (the “Merger”). The Karfunkel-Zyskind Family

  owned or controlled approximately 55% of the outstanding common shares of

  AmTrust, and all of AmTrust’s directors are either members of the Karfunkel-

  Zyskind Family, have close affiliations to the Karfunkel-Zyskind Family, or are

  beholden to the Karfunkel-Zyskind Family.

        2.    The Karfunkel-Zyskind Family attempted to structure the Merger to

  qualify for business judgment review under M&F Worldwide by conditioning the

  proposed going-private transaction on special committee approval and a majority-

  of-the-minority vote. Under M&F Worldwide

        in controller buyouts, the business judgment standard of review will be
        applied if and only if: (i) the controller conditions the procession of the
        transaction on the approval of both a Special Committee and a majority
        of the minority stockholders; (ii) the Special Committee is independent;
        (iii) the Special Committee is empowered to freely select its own
        advisors and to say no definitively; (iv) the Special Committee meets
        its duty of care in negotiating a fair price; (v) the vote of the minority
        is informed; and (vi) there is no coercion of the minority.

  88 A.3d at 645 (emphasis in original).

        3.    The effort failed spectacularly.

        4.    In reality, the Merger was negotiated between the Karfunkel-Zyskind

  Family —a 55% controlling stockholder—and a brief interloping minority common

  stockholder with no access to or cooperation with AmTrust management, no due




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  diligence, no authority to seek alternatives, no power to say “no,” and no fiduciary

  duties.

        5.      The four-person special committee, established purportedly to

  negotiate on behalf of minority stockholders (the “Special Committee” or the “Take

  Private Special Committee”) failed to do any such thing. The Special Committee

  was comprised of members who, as described below, had conflicting loyalties and

  plainly lacked independence from the Karfunkel-Zyskind Family. Moreover, they

  were each named defendants in pending derivative actions arsing from the Towers

  Transaction    and   Accounting     Restatement     (each   defined     below),   i.e.,

  mismanagement and self-dealing at AmTrust, and thus expected to benefit directly

  from any going-private transaction by the extinguishment of their derivative liability

  to AmTrust. Worse, these directors—all of whom still serve as AmTrust directors

  and continue to collect directorship fees material to them from AmTrust and other

  companies affiliated with the Karfunkel-Zyskind Family —further managed to

  engage a conflicted financial advisor that peddled financial alchemy.

        6.      Not surprisingly, this hapless and conflicted Special Committee

  purportedly charged with advancing the minority stockholders’ interest failed to

  garner majority-minority support to ratify the unfair Initial Merger Agreement.

  Instead, the Initial Merger Agreement was met with outrage. Arca, the Company’s

  largest minority stockholder, launched a public opposition compaign, encouraging
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  and meeting with market-movers such as Carl Icahn to oppose the Initial Merger

  Agreement. Recognizing that the Karfunkel-Zyskind Family was, as he described

  it in his May 17, 2018 press release, “blatantly taking advantage” of minority

  stockholders, Carl Icahn emphatically expressed his view that the Initial Merger

  Agreement clearly “undervalue[d]” the Company. So intrigued was Mr. Icahn by

  the obvious discrepancy between the true value of AmTrust stock and the price being

  offered pursuant to the Initial Merger Agreement, that between April 26 and May

  17, 2018, he quickly deployed resources to acquire a more than 9.3% interest in the

  Company, and solicited proxies to oppose the deal.

        7.    In the face of strong public opposition, the Karfunkel-Zyskind Family

  and the Company were unable to obtain the M&F Worldwide required majority-of-

  the-minority approval of the Initial Merger Agreement negotiated and agreed to

  between the Karfunkel-Zyskind Family and the Special Committee.

        8.    Instead, the Karfunkel-Zyskind Family negotiated directly with Carl

  Icahn to reach a new deal. On June 6, 2018, the terms of the Initial Merger

  Agreement were amended to a price of $14.75 per share (the “Merger Price”) and

  approved by the AmTrust Board (as amended, the “Merger Agreement”). While Mr.

  Icahn fared better than the interested and conflicted Special Committee, his efforts

  were no substitute for the arm’s-length bargaining contemplated by M&F

  Worldwide. Mr. Icahn, among other things: was armed with nothing but public
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  information; did not have the benefit of due diligence; did not have the cooperation

  of, or even access to, AmTrust management; had no authority to shop for

  alternatives; had no ability to say “no”; and, critically, he had no fiduciary duties to

  other stockholders. To be sure, Mr. Icahn had been a stockholder of the Company

  for all of four weeks, yet, he still managed to extract a higher price—albeit, still a

  grossly unfair price—from the Karfunkel-Zyskind Family than the interested and

  conflicted Special Committee.

        9.     As explained below, the interested and conflicted Special Committee’s

  halfhearted negotiations were plagued by missteps demonstrating a “controlled-

  mindset,” disloyally advancing only the Karfunkel-Zyskind Family’s interests. For

  example, the Special Committee, without prompting from the Acquiring Group,

  repeatedly sought downward revisions to the projections management provided to

  it, in essence negotiating against itself.     Moreover, despite being aware that

  AmTrust’s CEO Barry Zyskind—the leader of the Acquiring Group—had publicly

  affirmed in SEC filings that AmTrust’s stock price was not indicative of AmTrust’s

  fair value, the Special Committee nevertheless accepted the Acquiring Group’s

  anchoring of negotiations at Amtrust’s historically low trading prices (which, of

  course, were driven to such levels by all of the AmTrust directors’ disloyal conduct

  and mismanagement of AmTrust, priming and timing the Karfunkel-Zyskind

  Family’s grossly unfair squeeze-out effort).
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        10.    Nor were the advisors retained by the Special Committee independent.

  Rather, the team from Deutsche Bank that advised the Special Committee had

  numerous prior engagements with several of the Special Committee’s

  counterparties, and also anticipated earning a considerable amount of fees from these

  counterparties in the future.

        11.    After Mr. Icahn’s brief interloping, the Defendants continued to stack

  the deck against the minority, obtaining the majority of the minority approval of the

  Zyskind-Icahn negotiated Merger Price through a materially misleading proxy

  statement recommending the Merger, filed on Schedule 14A (as amended, the

  “Proxy”) with the Securities and Exchange Commission (“SEC”). For example, the

  Proxy failed to disclose that the Special Committee’s financial advisor did not

  consider hundreds of millions of dollars in projected stock repurchases as part of its

  dividend discount analysis, for the so-called “Case 1” projections (the most realistic

  set of projections provided by management), which would have significantly altered

  its fairness conclusions.       The Proxy also failed to disclose certain significant

  affiliations between members of the Special Committee. For example, the Proxy did

  not disclose that AmTrust was one of Defendant Susan Fisch’s (“Fisch”) clients prior

  to joining the AmTrust Board. Moreover, the Proxy assured stockholders that,

  despite the buyout of all minority common stockholders, AmTrust would continue

  to be subject to regulatory scrutiny from the SEC post-Merger, as the Company’s
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  preferred stock would continue to be listed on the New York Stock Exchange. That

  representation proved to be patently false.

        12.    Defendants also purposefully disenfranchised stockholders who

  purchased over 20 million AmTrust shares in April through their manipulation of

  the record date of the stockholder vote, rendering the vote coercive.

        13.    Indeed, the Merger represents the final and most egregious example

  over the past several years of the Karfunkel-Zyskind Family exerting its control over

  AmTrust in order to benefit itself and its affiliates at the expense of minority

  stockholders.

        14.    For example, in addition to taking the Company private at an unfair

  price, through an unfair process and a coerced vote, the Karfunkel-Zyskind Family:

  (i) usurped a valuable corporate opportunity for their own benefit, in a transaction

  this Court has described as “very troubling” in resulting derivative litigation (the

  “Tower Transaction”); and (ii) caused the Company to file with the United States

  Securities and Exchange Commission (the “SEC”) a series of false and misleading

  accounting statements that ultimately needed to be restated, leading to a host of

  regulatory investigations and a derivative lawsuit against the Company’s directors

  and officers (the “Accounting Restatement”).

        15.    In light of these circumstances, M&F Worldwide affords Defendants no

  protection. Accordingly the Merger is subject to entire fairness review, which
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  requires both the price and process to be entirely fair. As demonstrated herein, both

  the consideration provided to AmTrust’s minority stockholders and the process that

  led to the Merger were not entirely fair to Plaintiffs and the Company’s other

  minority stockholders.

        A.     THE TOWER TRANSACTION – USURPING OF A VALUABLE
               CORPORATE OPPORTUNITY
        16.    AmTrust is a property and casualty insurer founded by members of the

  Karfunkel-Zyskind Family. Members of the Karfunkel-Zyskind Family have

  controlled AmTrust since its founding and have long occupied multiple seats on the

  Board and key roles in AmTrust management.

        17.    In the fall of 2013, AmTrust identified an opportunity to acquire then-

  struggling property and casualty insurer, Tower Group International, Ltd.

  (“Tower”). Unbeknownst to the full Board, however, members of the Karfunkel-

  Zyskind Family determined that their family’s other enterprises should profit from

  Tower as well. Ultimately, in December 2013, the Karfunkel-Zyskind Family

  decided that ACP Re, Ltd. (“ACP”), a private, Bermuda-based investment vehicle

  owned by a Karfunkel-Zyskind Family trust, would buy Tower. Members of the

  Karfunkel-Zyskind Family also determined that another entity they controlled,

  Nationtal General Holdings Corp. (“NGHC”), would acquire certain valuable Tower

  assets that AmTrust had been negotiating to purchase from Tower. With NGHC set


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  for an initial public offering (“IPO”) in February 2014, the Karfunkel-Zyskind

  Family knew that the addition of certain of Tower’s assets would boost the value of

  NGHC and thereby increase NGHC’s stock price (as well as the value of the

  Karfunkel-Zyskind Family’s majority stake in NGHC).

        18.   After ACP submitted an offer for Tower, the Board finally learned that

  AmTrust would no longer be pursuing the Tower opportunity and that AmTrust

  management now contemplated that Karfunkel-Zyskind Family-owned ACP would

  acquire Tower in AmTrust’s stead. The Board did not react.

        19.   Following one 25-minute meeting, and based solely on representations

  by plainly-conflicted Karfunkel-Zyskind Family member and AmTrust Chief

  Executive Officer (“CEO”), President and Director Barry Zyskind (“Zyskind”), that

  an AmTrust acquisition of Tower would purportedly be undesirable for the

  Company, the Board and its so-called “independent” Audit Committee—charged

  with reviewing and approving all related-party transactions like the Tower

  Transaction—acquiesced     and   allowed    the   Karfunkel-Zyskind    Family    to

  misappropriate the Tower opportunity.

        20.   By facilitating ACP’s and NGHC’s acquisition of highly valuable

  Tower assets in exchange for no consideration to AmTrust, the Karfunkel-Zyskind

  Family usurped a valuable corporate opportunity belonging to AmTrust and

  otherwise breached their duties of loyalty. The AmTrust Board likewise failed to
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  advance or protect the best interests of the Company, and instead undertook a

  process that this Court has described as “very troubling,” “very unusual,” not “bona

  fide,” and culminating in “delegation of transaction approval” to a “conflicted audit

  committee that appeared predestined to approve an already-baked transaction.”1

  Indeed, Defendant Donald T. DeCarlo (“DeCarlo”), a member of the Audit

  Committee, has testified that the Board “didn’t take any steps” to manage any

  conflicts concerning the Tower Transaction, and DeCarlo and his fellow Audit

  Committee member Abraham Gulkowitz (“Gulkowitz”) somehow did not believe

  there were any conflicts associated with the Tower Transaction despite the

  Karfunkel-Zyskind Family’s interests in ACP, NGHC and AmTrust.

         21.   As discovery in the Cambridge Derivative Action has shown, the Tower

  Transaction was but one example of the Karfunkel-Zyskind Family—who treat

  AmTrust as their personal fiefdom and a mere component of one giant family

  enterprise—exploiting AmTrust resources for their personal benefit rather than the

  exclusive benefit of AmTrust and its minority stockholders.




  1
   See Cambridge Ret. Sys. v. DeCarlo, et al., C.A. No. 10879-CB, at 36:23-24,
  46:22-48:7 (Del. Ch. June 16, 2016) (TRANSCRIPT).

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        B.    THE ACCOUNTING RESTATEMENT
        22.   From at least December 2013 through November 2017, AmTrust used

  accounting techniques that caused the Company to restate nearly three years’ worth

  of revenue, total service and fee income, net income, and other important metrics by

  double-digit percentages in 2017. The restatement was not completed until the

  spring of 2018, on the same day the Take-Private Transaction was announced. The

  restatement also led to numerous governmental investigations, including

  investigations conducted by the New York Department of Financial Services, the

  Federal Bureau of Investigation (the “FBI”), and the SEC.

        23.   As detailed below, the Audit Committee—whose members comprised

  a majority of the Tower Transaction Special Committee (as defined below) and the

  Take Private Special Committee—received numerous red flags over a period of

  years of the Company’s improper accounting practices, including: (i) reports by

  institutional investors; (ii) articles in the highly respected financial publication

  Barron’s detailing the accounting issues; (iii) being instructed by regulators to

  replace the Company’s auditor—which the Audit Committee delayed doing for a

  year; and (iv) when AmTrust sued an investor for writing a report raising the

  accounting problems, that investor wrote a detailed letter to the Audit Committee

  substantiating the accounting misconduct, and in response the Company dropped the

  lawsuit, but the Audit Committee failed to address the accounting misconduct.

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        C.    THE UNFAIR TAKE-PRIVATE TRANSACTION
        24.   Like the Tower Transaction, the Board capitulated to the Karfunkel-

  Zyskind Family desires – this time to take the Company private, allowing the family

  to impose its will on AmTrust to the detriment of the Company’s minority

  stockholders. Having driven down the price of AmTrust stock by their own actions,

  the Karfunkel-Zyskind Family sought to take advantage of the situation they created

  by taking the Company private at an unfair price.

        25.   Once the Board learned of the Karfunkel-Zyskind Family’s intention to

  take the Company private (which the Karfunkel-Zyskind Family had been planning

  for some time), it formed a special committee to “negotiate” the deal with the

  Karfunkel-Zyskind Family (the “Take-Private Special Committee” or “Special

  Committee”). The same three Audit Committee members who “approved” (and

  breached their fiduciary duties in connection with) the Tower Transaction (i.e.,

  Defendants DeCarlo, Gulkowitz, and Fisch), and were the members of the Audit

  Committee that oversaw the accounting issues that casued the restatement, were

  appointed to the four-member Take-Private Special Committee, with DeCarlo acting

  as its Chairman.

        26.   As discovery in the Cambridge Derivative Action has underscored,

  there was never any hope of the Take-Private Special Committee protecting minority

  stockholders’ interests because the committee members were not independent of the

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  Karfunkel-Zyskind Family, disinterested, or even capable of running a well-

  functioning committee.

          27.   While the Karfunkel-Zyskind Family’s own actions caused severe

  damage to the Company’s stock price, which plummeted from more than $27 at the

  beginning of 2017 to $13.46 at the end of the third quarter of 2017, the Company

  admitted that the severe downward pressure on the stock price was an overreaction

  that did not represent the true value of the Company. AmTrust’s third quarter 2017

  Form 10-Q, signed by Zyskind and approved by the Audit Committee, filed on

  November 9, 2017, stated:

          Based on the consideration of all available evidence, including analysis
          of quantitative and qualitative factors, we believe the share price
          decline in the nine months of 2017 is relatively short-term in nature
          and is primarily related to the restatement of prior period results and
          associated material weaknesses disclosed in our Annual Report on
          Form 10-K for the year ended December 31, 2016, and is not indicative
          of an actual decline in our fair value or our reporting units’ fair value.2

          28.   At the end of the third quarter of 2017, AmTrust’s share price was

  $13.46. This is essentially the same as the unfair $13.50 per share price for the Take-

  Private Transaction that was initially announced as the result of negotiations

  between the Karfunkel-Zyskind Family and the Take-Private Special Committee.

  The statement in the Company’s Form 10-Q, filed on November 9, 2017, confirms



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  that the Karfunkel-Zyskind Family and the Audit Committee (i.e., DeCarlo,

  Gulkowitz and Fisch) believed that the Company’s shares were worth far in excess

  of $13.50.    Yet the Take-Private Special Committee recommended that the

  Company’s public stockholders accept the $13.50 per share offer, despite the

  statement in the 10-Q that the equivalent stock price did not reflect the value of the

  Company.

        29.    Plaintiffs made demands pursuant to Section 220 of the Delaware

  General Corporation Law (the “220 Demand”), and the productions made by the

  Company pursuant to these demands reflect that neither the Take-Private Special

  Committee nor its advisers either discussed or considered the fact that AmTrust’s

  management explicitly stated that the Company’s share price decline to $13.46 at

  the end of the third quarter of 2017 was artificially low and short term. In the face

  of this statement in the November 9, 201710-Q, it was impossible to conclude that

  the proposed $13.50 deal price was fair to the public stockholders.

        30.    After a perfunctory process led by the hopelessly conflicted Take-

  Private Special Committee, on March 1, 2018, the Board announced the first

  iteration of the Take-Private Transaction, a deal whereby all of the publicly held

  shares of AmTrust would be acquired by the Karfunkel-Zyskind Family and Stone

  Point Capital LLC (“Stone Point”) for $13.50 per share in cash, less than half of the

  Company’s trading price before the revelation of the accounting issues.
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        31.    The process leading to that $13.50 per share price bore no resemblance

  to true arms’-length dealing:

        32.    First, the Board waited nearly two months to form the Take-Private

  Special Committee to negotiate with the Company’s controllers after they began

  exploring the take-private deal with potential suitors and facilitating due diligence

  with those interested parties.

        33.    Second, the Take-Private Special Committee was told by the Control

  Group (defined below) that they should not bother speaking to any other prospective

  buyer because the Karfunkel-Zyskind Family would refuse to sell their control block

  of shares under any circumstances.

        34.    Third, the resolutions creating the Take-Private Special Committee

  limited its mandate exclusively to transactions proposed by the Karfunkel-Zyskind

  Family and did not permit the Take-Private Special Committee to consider whether

  a merger with a third party or an investment by a third party (or no deal at all) might

  be in the Company’s best interest.

        35.    Fourth, the Take-Private Special Committee hired a financial advisor

  that was conflicted.

        36.    Fifth, instead of seeking the highest possible price for the public

  stockholders, the Take-Private Special Committee repeatedly asked for lower

  Company projections, to justify a lower price for the Transaction.
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          37.   Sixth, the Take-Private Special Committee did not fully inform itself,

  failing to even address the Company’s own statements that $13.46 undervalued the

  Company, or ask for draft financial statements and other key documents and

  information until days prior to the Transaction being approved by them.

          38.   Seventh, the Take-Private Special Committee predictably failed to (i)

  value in good faith, or obtain fair consideration for, AmTrust’s valuable and material

  litigation assets, i.e., the claims asserted in the Cambridge Derivative Action and the

  derivative claims arising out of the accounting restatement (the “Accounting

  Derivative Claims,” and together with the Cambridge Derivative Claims, the

  “Derivative Claims”), or (ii) take any measures to preserve those claims, such as

  establishing a litigation trust. The documents produced pursuant to the 220 Demand

  and the Take-Private Transaction proxy purport that the Take-Private Special

  Committee ascribed an estimated range of value of $15 million to $25 million for an

  unspecified “contingent litigation asset” of the Company. It is thus unclear what

  value, if any, the Special Committee assigned to the Derivative Claims. Assuming,

  arguendo, that the “contingent litigation asset” referred to either or both sets of

  claims, the Special Committee nonetheless fell woefully short of assigning value to

  them.

          39.   The Take-Private Special Committee had a strong motivation for

  disposing of these material assets for modest value: any valuation of the Cambridge
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  Derivative Claims or Accounting Derivative Claims reflected in the Take-Private

  Transaction price would have implicated their own misconduct (as well as that of

  the Karfunkel-Zyskind Family) and conceded their liability to AmTrust. Thus,

  DeCarlo, Fisch and Gulkowitz—three of the four members of the Take-Private

  Special Committee—were incapable of disinterestedly and independently valuing

  the Derivative Claims and knew that the Karfunkel-Zyskind Family would not, in

  the future, prosecute those claims against them or their fellow family members and

  entities.

         40.   Eighth, the stockholder vote in favor of the Transaction was

  manipulated, uninformed and coerced.

         41.   After public outcry from certain large AmTrust stockholders, including

  Plaintiff Arca and Carl Icahn (“Icahn”), the Karfunkel-Zyskind Family and Stone

  Point agreed to increase the Take-Private Transaction consideration by $1.25 per

  share, bringing the buyout price to $14.75 per share. While this modest increase

  helped secure the support of Icahn and, eventually, minority stockholder approval of

  the Take-Private Transaction, this did not address the unfair process, the coerced

  vote, or that the merger consideration remains well outside of the range of fairness.

         42.   Without relief from this Court, the Karfunkel-Zyskind Family will

  never have to answer to AmTrust’s minority stockholders.



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  II.   PARTIES
        43.   Plaintiffs Arca Investments, a.s., Arca Capital Bohemia, a.s., and Krupa

  Global Investments, which is formerly known as Arca Venture Capital, are related

  private equity firms with offices in the Czech Republic and the Slovak Republic.

  Arca Investments, AC Bohemia, and AVC separately and beneficially held AmTrust

  common stock at all relevant times.        Collectively, these three stockholders

  (collectively, “Arca”) held 4,831,477 shares of AmTrust common stock, which

  constituted approximately 2.4% of all AmTrust shares outstanding. Arca held

  AmTrust common stock through the closing of the Transaction (“Closing”).

        44.   Plaintiff Pompano held AmTrust common stock through Closing.

        45.   Plaintiff Cambridge held AmTrust common stock through Closing.

        46.   Plaintiff City of Lauderhill Police Officers’ Retirement System held

  AmTrust common stock through the closing of the Transaction.

        47.   Plaintiff West Palm Beach Police Pension Fund held AmTrust common

  stock through the closing of the Transaction.

        48.   Zyskind: Defendant Barry D. Zyskind, the son-in-law of the late

  Michael Karfunkel, who was one of the founders of AmTrust, has served as a

  director on the Company’s Board since 1998 and as the Chairman of the Board since

  May 2016. Zyskind has served as Chief Executive Officer (“CEO”) and President

  of AmTrust since 2000. Zyskind serves as an officer and director of many of

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  AmTrust’s wholly-owned subsidiaries.      Zyskind is a member of the board of

  directors of NGHC, a company that is also part of the Karfunkel-Zyskind web of

  entities. Zyskind is also the non-executive chairman of Maiden Holdings Ltd.

  (“Maiden Holdings”), a publicly-held Bermuda insurance holding company formed

  by Michael Karfunkel (“M. Karfunkel”), George Karfunkel (“G. Karfunkel”) and

  Zyskind in 2007 that has several reinsurance and service agreements with AmTrust.

  Zyskind is M. Karfunkel and Leah Karfunkel’s (“L. Karfunkel”) son-in-law

  (together members of the Zyskind and Karfunkel family are referred to herein as the

  “Zyskind-Karfunkel Family”). As of the Closing, Zyskind beneficially owned

  44,864,556 shares of AmTrust common stock, approximately 22.8% of the

  Company’s issued and outstanding shares and his wife owned a further 2,945,113

  shares. As acknowledged by the Company, Zyskind was not an independent director

  under the NASDAQ listing rules.

        49.   George Karfunkel: Defendant George Karfunkel has served as a

  director on the Company’s Board since 1998. G. Karfunkel is, with his brother,

  Michael Karfunkel, one of the co-founders of the Company. G. Karfunkel is the

  chairman of Sabr Group, a purported consulting company which has served as the

  subscription agent for certain of AmTrust’s stock offerings. According to the

  Company’s public filings, G. Karfunkel owns various real estate holdings, including

  “major office buildings in New York, Chicago and several other cities,” through
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  entities co-owned by him and L. Karfunkel. Through these entities, G. Karfunkel

  and L. Karfunkel lease various properties to AmTrust and NGHC, including

  corporate headquarters.    As of the Closing, G. Karfunkel beneficially owned

  32,438,408 shares of the Company’s common stock, approximately 16.5% of the

  Company’s issued and outstanding shares. G. Karfunkel is M. Karfunkel’s younger

  brother and the brother-in-law of L. Karfunkel. G. Karfunkel was not considered an

  independent director under the NASDAQ listing rules.

           50.   Leah Karfunkel: Defendant Leah Karfunkel has served as a director

  on the Company’s Board since May 2016.         As of the Closing, L. Karfunkel

  beneficially owned 22,101,025 shares of AmTrust common stock, approximately

  11.3% of the Company’s issued and outstanding shares. L. Karfunkel is the sister-

  in-law of G. Karfunkel and the mother-in-law of Zyskind. She is also the widow of

  M. Karfunkel.      On a director questionnaire filled out and submitted to the

  Company’s attorneys, L. Karfunkel stated that she is also a co-founder of AmTrust.

  L. Karfunkel was not considered an independent director under the NASDAQ listing

  rules.

           51.   Defendants Zyskind, G. Karfunkel, and L. Karfunkel (together, the

  “Control Group”) act as a controlling group of the Company. As such, Zyskind, G.

  Karfunkel, and L. Karfunkel have filed Schedule 13Ds and amendments thereto with

  the SEC indicating that each is a member of a “group” for purposes of reporting
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  beneficial ownership under Section 13 of the Exchange Act. According to a

  Schedule 13D/A filed on April 30, 2018, the Control Group collectively owned

  86,844,540 shares of AmTrust common stock, or approximately 44% of the total

  outstanding shares and such disclosure was not amended by later Schedule 13D/As

  filed on July 25 and November 30, 2018. However, they owned 49% of the

  Company’s outstanding shares prior to a May 25, 2017 private placement of $300

  million of AmTrust stock, 24,096,384 shares, to previously undisclosed family

  members of the Control Group. When these shares are added to the Control Group’s

  shares, the Karfunkel-Zyskind Family “and its affiliates and certain related parties

  currently own or control approximately 55% of the outstanding shares of Common

  Stock of the Company” as disclosed in connection with the announcement of the

  Transaction.

        52.      Gulkowitz: Defendant Abraham Gulkowitz has served as a director on

  the Company’s Board since 2006 and is a director of several of AmTrust’s

  subsidiaries. Gulkowitz also has ties to the Karfunkel-Zyskind Family of businesses

  and social causes and resides within a mile of the Karfunkels and Zyskinds. For

  example, Gulkowitz is a co-founder and partner of Brookville Advisory

  (“Brookville”), an investment fund specializing in credit analysis.       The Hod

  Foundation, a private foundation owned and controlled by the Control Group (one

  of three through which the Control Group held shares), was the beneficial owner of
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  at least 10% of FrontPoint Brookville Credit Opportunities L.P. (“FrontPoint”).

  FrontPoint is managed by Brookville, which means that Gulkowitz personally

  benefited from the investment by the Control Group. Gulkowitz also served on the

  advisory board of Gryphon Investors when its portfolio company, Orchid

  Underwriters, entered into a partnership with a subsidiary of NGHC, a company that

  is part of the Karfunkel-Zyskind web of entities. Gulkowitz has sat on the boards of

  many other AmTrust affiliates (along with members of the Karfunkel-Zyskind

  Family), including AmTrust Title Insurance Company, Republic Underwriters

  Insurance Company, Southern County Mutual Insurance Company, Republic Fire &

  Casualty Insurance Company, Republic-Vanguard Insurance Company, Southern

  Insurance Company, and Southern Underwriters Insurance Company. Gulkowitz is

  the chair of the Board’s Audit Committee, is a member of its Nominating and

  Corporate Governance Committee, and served on the Special Committee that

  approved the Transaction. Gulkowtiz was a named defendant in the Derivative

  Actions.

        53.   Gulkowitz is beholden to the Karfunkel-Zyskind Family. For example,

  in 2016 alone, Gulkowitz received $217,586.00 in director compensation from

  AmTrust. According to public information reflected on Bloomberg, it appears that

  all the boards Gulkowitz sits on are affiliated with AmTrust.



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        54.    Fisch: Defendant Susan C. Fisch has served as a director on the

  Company’s Board since 2010, as well as a director of several AmTrust subsidiaries.

  Based on public disclosures by AmTrust, Fisch has not been employed since joining

  AmTrust’s Board, nor has she served on the Board of any other companies (aside

  from AmTrust’s subsidiaries). As such, all of her publicly reported income is from

  AmTrust.

        55.    Fisch testified at her deposition in the Cambridge Derivative Action

  that her relationsip with the Karfunkel-Zyskind Family dates back to 2003 when

  Fisch was working at Willis Reinsurance Brokers (“Willis”) and “asked for an

  appointment to meet Mr. Zyskind, and we had a long conversation, and I asked to

  be given an opportunity to place his reinsurance.” Fisch testified that AmTrust was

  a Willis client from at least 2003 until Fisch’s retirement in 2009. Fisch further

  testified that Willis received from AmTrust approximately $250,000 in

  “brokerage[s], or commission[s] that w[ere] a percentage of the overall premium that

  was paid to reinsurers.” Fisch also testified that she interacted with Zyskind and

  numerous AmTrust executives during the course of the Willis-AmTrust relationship.

        56.    Fisch further testified that, after her retirement, Zyskind personally

  invited her to join the Board, and later in 2016, invited her to join the board of

  directors of several of AmTrust’s subsidiaries. Fisch testified that she currently

  serves on the board of at least 20 AmTrust subsidiaries, including: Sequoia Insurance
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  Company; CorePoint Insurance Company; Developers Surety and Indemnity

  Company; Associated Industries Insurance Company; Republic Underwriters

  Insurance Company; and Rochdale Insurance Company. Fisch further testified that

  she serves on the board of directors of these companies alongside DeCarlo,

  Gulkowitz, and “senior level” AmTrust employees. According to an SEC filing,

  Fisch received $256,845.00 in director compensation from AmTrust in 2016 alone.

  At her deposition, Fisch estimated that she receives approximately $300,000 in

  annual compensation for serving on the AmTrust Board, more than triple the

  $100,000 she received when she joined the AmTrust Board in 2010. Fisch also

  testified that she has been compensated $100,000 annually for her service on the

  board of directors of AmTrust’s subsidiaries. Further, Fisch testified in the

  Cambridge Derivative Action that she has voted on approximately 20-30 related-

  party transactions involving the Karfunkel-Zyskind Family and has never voted

  against any such transaction. Nor was she aware of any other Board member having

  ever voted against any such transaction.

        57.    The director fees received by Fisch are material to her. Fisch testified

  that her other sources of income (i.e., non-AmTrust director fees) include (1) Social

  Security payments payable to she and her husband; (2) pension payments from

  Willis to Fisch totaling $50,000 per year; and (3) investment income earned by she

  and her husband averaging approximately $700,000 per year.           Utilizing these
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  figures, and excluding Social Security payments, the director fees received by Fisch

  from AmTrust and its subsidiaries total just under 35% of Fisch’s current annual

  income.

        58.   Fisch is a member of the Board’s Audit, Compensation, and

  Nominating and Corporate Governance Committees and also served on the Take-

  Private Special Committee that approved the Transaction.

        59.   DeCarlo: Defendant Donald T. DeCarlo has served as a director on the

  Company’s Board since 2006. DeCarlo has also served as a director of NGHC since

  it was founded by members of the Control Group in 2010.

        60.   DeCarlo testified at his deposition in the Cambridge Derivative Action

  that his relationship with the Karfunkel-Zyskind Family dates back to in or around

  2000 when DeCarlo was a partner at the law firm Lord Bisell & Brook and “Barry

  Zyskind and Michael Karfunkel wanted to get into the insurance business. . . .”

  DeCarlo advised Zyskind and M. Karfunkel in connection with their acquisition of

  Rochdale Insurance Company (“Rochdale”), which was their first insurance

  company acquisition. DeCarlo “helped them decide what [Rochdale] was going to

  write going forward, what line of business.” Following the acquisition Zyskind

  personally asked DeCarlo to join the Board, which DeCarlo did. DeCarlo testified

  that following the acquisition of Rochdale, he continued to regularly advise Zyskind



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  and M. Karfunkel on legal and insurance matters until they founded AmTrust and

  AmTrust hired its own general counsel.

        61.    DeCarlo further testified that he worked on between 20 to 30 separate

  matters for AmTrust between 2000 and 2005. When DeCarlo left Lord Bissell &

  Brook in or around 2004 and started his own law firm, AmTrust and the Karfunkel-

  Zyskind Family came with him as a client. DeCarlo testified that he continued to

  advise M. Karfunkel and Zyskind approximately monthly, until he joined the

  AmTrust Board in 2006.

        62.    DeCarlo also testified that he attended the wedding of Zyskind’s

  daughter and continues to have dinner with Zyskind once or twice a year. DeCarlo

  testified that he serves on the boards of at least 17 AmTrust subsidiaries, including:

  Associated Industries Insurance Company; Milwaukee Casualty Insurance

  Company; Wesco Insurance Company; Technology Insurance Company; Security

  National Insurance Company; First Nonprofit Insurance Company; Core Pointe

  Insurance Company; ARI Insurance Company Inc.; AmTrust Title Insurance

  Company; ARI Casualty Company; Developers Surety and Indemnity Company;

  Republic Underwriters Insurance Company; Republic Vanguard Insurance

  Company; Indemnity Company of California; Southern County Mutual Insurance

  Company; Southern Insurance Company; and Southern Underwriters Insurance



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  Company. DeCarlo testified that Zyskind or a member of his management team

  personally asked DeCarlo to serve on each board.

        63.   DeCarlo was likewise appointed to the NGHC board at the time of its

  founding in 2010. DeCarlo testified that M. Karfunkel personally asked him to join

  the NGHC board. DeCarlo is or has been a director of at least four NGHC

  subsidiaries: National Health Insurance Company, Imperial Fire and Casualty

  Insurance Company, National Automotive Insurance Company, and Century-

  National Insurance Company.        AmTrust’s 10-K filed on March 16, 2018,

  acknowledged that DeCarlo’s dual representation of AmTrust and NGHC “may

  present, and make [AmTrust] vulnerable to, difficult conflicts of interest, business

  opportunity issues and legal challenges.”     M. Karfunkel or a member of his

  management team personally asked DeCarlo to join each of those boards.

        64.   DeCarlo is the chairman emeritus and founder of the American Society

  of Workers’ Compensation Professionals, Inc. (“AmComp”) where Zyskind serves

  as a director.3 As a director of NGHC, DeCarlo earns annual director fees of

  approximately $120,000 per year and owes that income to his relationship with the

  Control Group. DeCarlo is a member of the Board’s Audit Committee, is the Chair



  3
    In addition to Zyskind, AmComp is staffed by other AmTrust executives and/or
  individuals affiliated with the Karfunkel-Zyskind Family. For example, AmTrust
  Senior Vice President Jeffrey Fenster serves as the President of AmComp.
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  of the Board’s Compensation and Nominating and Corporate Governance

  Committees, and served as the Chair of the Take-Private Special Committee.

         65.   In 2016 alone, DeCarlo was paid $318,086.00 for being employed as a

  director of AmTrust and its affiliates. This is in addition to the amount DeCarlo is

  paid annually for being employed as a director of NGHC, according to NGHC’s

  proxy statement. These amounts would have been material to DeCarlo.

         66.   Rivera: Defendant Raul Rivera (“Rivera”) has served as a Company

  director since August 2016. Rivera retired in January 2017 after working for several

  years at National Benefit Life Insurance Company. Rivera is a current director of the

  Insurance Federation of New York, where he has concurrently served with DeCarlo.

  Rivera is a member of the Board’s Compensation Committee and served on the

  Take-Private Special Committee. According to public information reflected on

  Bloomberg, it appears that all the boards Rivera sits on are affiliated with AmTrust.

  In 2016, Rivera received $61,667.00 in director compensation. Rivera continues to

  be employed as a director of AmTrust, now a private company.

         67.   Defendants Zyskind, G. Karfunkel, L. Karfunkel, Gulkowitz, Fisch,

  DeCarlo, and Rivera are collectively referred to herein as the “Director Defendants.”

  References to the “Board” for actions before M. Karfunkel’s passing include him as

  a director, and references to the “Board” for actions following his passing exclude

  him.
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        68.      Stone Point and Trident: Defendant Stone Point Capital LLC (“Stone

  Point”) is a Delaware limited liability company and private equity firm

  headquartered in Greenwich, Connecticut.        Stone Point manages Trident VII

  Professionals Fund, L.P., Trident VII, L.P., Trident VII DE Parallel Fund, L.P. and

  Trident VII Parallel Fund, L.P (collectively, the “Trident Funds”). The Trident

  Funds participated in the Transaction with the Control Group through Trident Pine

  Acquisition LP.

        69.      Defendant Trident Pine Acquisition LP (“Trident Pine”) is a Delaware

  limited partnership, affiliate of Stone Point and participant in the Transaction.

  According to a Definitive Proxy filed by AmTrust with the SEC on May 4, 2018 (the

  “Proxy”), Trident Pine, along with the Karfunkel-Zyskind Family, proposed the

  Transaction.

        70.      Defendants Trident Funds are private equity funds managed by Stone

  Point and participated in the Transaction.

        71.      Evergreen: Defendant Evergreen Parent, L.P. (“Evergreen Parent”) is

  a limited partnership formed under the laws of Delaware and controlled by Stone

  Point and the Karfunkel-Zyskind Family. It was one of their merger vehicles for the

  Transaction.

        72.      Defendant Evergreen Merger Sub, Inc. (“Merger Sub”) is a corporation

  formed under the laws of Delaware, is a wholly owned subsidiary of Evergreen
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  Parent, and is controlled by Stone Point and the Karfunkel-Zyskind Family. It was

  one of their merger vehicles for the Transaction.

         73.   Defendant K-Z Evergreen, LLC (“K-Z Evergreen”) is a limited liability

  company formed under the laws of Delaware and owned by Zyskind, G. Karfunkel

  and L. Karfunkel. K-Z Evergreen is a limited partner of Evergreen Parent. It is the

  Karfunkel-Zyskind Family’s investment vehicle for the Transaction.

         74.   Defendants Evergreen Parent, Merger Sub, K-Z Evergreen, Stone Point

  and Trident Pine may be referred to herein as the “Merger Partner Defendants.”

  III.   RELEVANT NON-PARTIES

         A.    AMTRUST

         75.   AmTrust is a Delaware corporation with its principal executive offices

  located at 59 Maiden Lane, 43rd Floor, New York, NY 10038. AmTrust underwrites

  and provides, among other things, property and casualty insurance products,

  including workers’ compensation, commercial automobile, general liability and

  extended service and warranty coverage, in the United States and internationally, to

  niche customer groups. AmTrust has also expanded its business to include personal

  lines insurance.   In a 2014 report by the Southern Investigative Reporting

  Foundation, a not-for-profit focused on corporate accountability issues, AmTrust

  was described as “literally a family business — apart from Barry Zyskind, several

  of Michael and George [Karfunkel]’s children hold important positions in its

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  subsidiaries — and their massive stake in the company makes it immune to takeover

  or raids from activist investors.” Prior to the Closing, AmTrust’s common shares

  traded on the NASDAQ Global Select Market under the ticker symbol “AFSI.”

        76.    AmTrust and its subsidiaries operate through three business segments:

  Small Commercial Business, Specialty Program, and Specialty Risk and Extended

  Warranty.

        77.    AmTrust has grown significantly over the years and has been highly

  acquisitive. Since its inception, “AmTrust has grown organically and through more

  than 40 acquisitions to become one of the largest property and casualty insurers in

  North America.”

        78.    While AmTrust touts commercial lines insurance as its specialty,

  AmTrust has acquired and operated personal lines insurance businesses as well. In

  recent years, both before and after the Tower Transaction that is the subject of the

  Cambridge Derivative Action, AmTrust has acquired and operated at least two

  personal lines businesses.

        79.    In April 2013, AmTrust completed the acquisition of Sequoia Insurance

  Company and its subsidiaries (“Sequoia”) for a purchase price of $60 million. In the

  transaction, AmTrust acquired a wholly-owned subsidiary of Sequoia called

  Personal Express Insurance Company (“Personal Express”). Personal Express is a



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  California-domiciled property and casualty insurance carrier that offers personal

  lines insurance products.

        80.   Recognizing the opportunity to profit from a sale of Personal Express,

  AmTrust determined to sell it. On April 25, 2013, the Board adopted resolutions

  establishing a special committee comprised of Defendants Gulkowitz and Fisch.

  The committee was advised by Griffin Financial Group LLC (“Griffin”) and

  Richards, Layton & Finger, P.A. (“RLF”). Audit Committee member and Defendant

  DeCarlo testified at his deposition that he was not a member of the Personal Express

  special committee because he harbored an actual conflict as a result of his

  simultaneously serving on the board of NGHC, which was potentially interested in

  acquiring Personal Express.

        81.   In or around November 2013 (i.e., during the early stages of the Tower

  Transaction process), AmTrust sold Personal Express to Integon National Insurance

  Company, a wholly-owned subsidiary of NGHC. The sale closed in April 2015 and

  the Company recorded a gain of $6.6 million in connection therewith.

        82.   AmTrust also acquired a personal lines insurance business from

  Republic Companies, Inc. (“Republic”). Republic is a commercial and personal lines

  property and casualty insurance provider based in Texas.        In 2014, Republic

  recorded total direct premiums of approximately $711 million. Approximately half

  of Republic’s total direct premiums on an annual basis were attributable to its
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  personal lines business. On September 27, 2015, AmTrust announced that it had

  agreed to acquire Republic for approximately $233 million, consisting of cash and a

  promissory note. AmTrust completed its acquisition of Republic on April 18, 2016.

        83.    AmTrust continues to own and operate Republic, including its personal

  lines business, and Republic continues to offer a wide array of personal lines

  insurance, including automotive, homeowners, condominiums, renters, dwelling

  fire, umbrella, and identity theft insurance. AmTrust recorded approximately $484.3

  million in gross written premiums and $5.9 million in service and fee income for the

  portion of 2016 that it owned Republic (April 18, 2016 through December 31, 2016).

  For 2017, AmTrust recorded approximately $537 million in gross written premiums

  and $8.2 million in service and fee income as a result of the Republic acquisition.

        B.     MICHAEL KARFUNKEL FAMILY 2005 TRUST
        84.    The Michael Karfunkel Family 2005 Trust (the “Karfunkel Trust”) held

  15,504,562 shares of the Company’s common stock as of the Closing, which

  represented approximately 9.06% of the Company’s total outstanding shares of

  common stock. The shares held by the Karfunkel Trust were beneficially owned

  and effectively controlled by L. Karfunkel and Zyskind. Defendants Zyskind and L.

  Karfunkel are co-trustees of the Karfunkel Trust, with the ultimate beneficiaries of

  the Karfunkel Trust being M. Karfunkel’s children, one of whom is married to



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  Defendant Zyskind.     The Karfunkel Trust is involved in several related-party

  transactions concerning AmTrust.

        C.    MAIDEN HOLDINGS, LTD.

        85.   Maiden Holdings, Ltd. is a publicly-held Bermudian insurance holding

  company that has various reinsurance and service agreements with AmTrust.

  Maiden was formed by M. Karfunkel, G. Karfunkel and Zyskind. As of December

  31, 2015, Defendant G. Karfunkel owned or controlled approximately 4.4% of the

  issued and outstanding capital stock of Maiden.       As of December 31, 2016,

  Defendants L. Karfunkel and Zyskind owned or controlled approximately 7.9% and

  7.5%, respectively, of the issued and outstanding capital stock of Maiden. Defendant

  Zyskind serves as chairman of Maiden’s board of directors.

        D.    ACP
        86.   Relevant non-party ACP is a Bermuda insurer owned by the Karfunkel

  Trust. ACP is wholly-owned by ACP Re Holdings, LLC, and the Karfunkel Trust

  owns 99.9% of the issued and outstanding stock of ACP Re Holdings, LLC. L.

  Karfunkel is the sole trustee of the Karfunkel Trust as well as a beneficiary of the

  trust. Until his passing in April 2016, M. Karfunkel was the Chairman and a Director

  of ACP. Barry Karfunkel, the son of M. Karfunkel and L. Karfunkel, is currently

  the Chairman and a director of ACP. ACP was formed and capitalized by M.



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  Karfunkel in 2010 to support NGHC. ACP operates as an investment vehicle for the

  Karfunkel-Zyskind Family.

        87.    ACP has no officers or employees and instead relies upon employees

  of AmTrust, NGHC, and other Karfunkel-Zyskind Family companies to manage its

  assets and otherwise provide services on a regular basis.

        E.     NGHC
        88.    NGHC is a publicly-held specialty personal lines insurance holding

  company that is controlled by the Karfunkel-Zyskind Family and provides a variety

  of insurance products, including homeowners, umbrella, personal, and commercial

  automobile. As of March 28, 2018, L. Karfunkel was the beneficial owner of 41.7%

  of NGHC.       Until June 2017, AmTrust subsidiaries owned an additional

  approximately 12% of NGHC. M. Karfunkel served as NGHC’s chairman and CEO

  until his death in April 2016. M. Karfunkel’s son, NGHC president Barry Karfunkel,

  replaced him as CEO. Barry Karfunkel’s brother Robert Karfunkel is NGHC’s

  Executive Vice President and Chief Marketing Officer. Defendants Zyskind and

  DeCarlo are also members of the board of NGHC along with Barry and Robert

  Karfunkel. From their positions on NGHC’s compensation committee Zyskind and

  DeCarlo enriched Barry and Robert Karfunkel with outsized shares and bonuses.




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           F.      ESTATE OF MICHAEL KARFUNKEL
           89.     The Estate of Michael Karfunkel (the “Karfunkel Estate”) is the estate

  of the deceased M. Karfunkel, who passed away in April 2016 while serving as

  Chairman of the AmTrust Board. The Karfunkel Estate was substituted for M.

  Karfunkel as a defendant in the Cambridge Derivative Action on August 16, 2017.

  M. Karfunkel was one of the co-founders of AmTrust. According to the Company’s

  public filings immediately prior to his passing, M. Karfunkel beneficially owned

  2,192,824 shares, or approximately 1.3%, of the Company’s outstanding common

  stock.        M. Karfunkel was also the founder, Chairman, President, CEO, and

  controlling stockholder of NGHC. Additionally, the Karfunkel Trust4 owns 99.9%

  of the outstanding stock of ACP’s parent company.5         M. Karfunkel was also the

  Chairman and a director of ACP. M. Karfunkel was G. Karfunkel’s older brother, L.

  Karfunkel’s husband, and Zyskind’s father-in-law. The Karfunkel Estate was among

  the defendants potentially liable for the Cambridge Derivative Claims.

           90.     The Control Group has dominated the Company since its inception, and

  the members of the Board have made clear that they will not act independently from



  4
    The Michael Karfunkel 2005 Grantor Retained Annuity Trust owned 99.9% of the
  outstanding stock of ACP’s parent company until July 28, 2015, at which time it was
  transferred to the Michael Karfunkel Trust.
  5
    ACP is 100% owned by ACP Re Holdings, LLC, which is 99.9% owned by the
  Michael Karfunkel Trust.
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  the Control Group. For example, as explained below, the Company is currently a

  party to a constellation of agreements with parties related to the Control Group,

  including Maiden and NGHC. The below diagram illustrates the incestuous nature

  of various Karfunkel-Zyskind affiliated entities, with AmTrust at the center.




  6

        91.   The sheer volume and size of these related party transactions show how

  the Company’s purportedly independent directors simply accede to the demands of

  the Control Group.



  6
     Proxy Statement, Form 14A (DFAN14A of Icahn Group), available at
  https://www.sec.gov/Archives/edgar/data/921669/000114420418030400/tv494868
  ex-1.htm.
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        92.   Based on the repeated acquiescence of Defendants DeCarlo,

  Gulkowitz, and Fisch to the Control Group, it is clear the Control Group exercises

  control over them.

  IV.   SUBSTANTIVE ALLEGATIONS

        A.    BACKGROUND OF AMTRUST AND THE CONTROL GROUP
        93.   AmTrust was founded in 1998 by Defendant G. Karfunkel and his late

  brother M. Karfunkel.     Currently, AmTrust is controlled by Defendants G.

  Karfunkel, L. Karfunkel (M. Karfunkel’s widow), and Zyskind (M. and L.

  Karfunkel’s son-in-law), who together with their affiliates and family members own

  55% of AmTrust’s common stock.7

        94.   Karfunkel-Zyskind Family members also occupy a number of the

  Company’s most powerful and influential positions. Zyskind is the Company’s

  CEO, President and Chairman of the Board. M. Karfunkel was Chairman of the

  Board until his passing in April 2016. G. and L. Karfunkel are both Board members.

  Until April 2016, M. Karfunkel, G. Karfunkel, and Zyskind formed the Board’s

  executive committee.




  7
   On May 25, 2017, AmTrust sold 24,096,384 shares at $12.45 per share for a total
  of $300 million to family members of the Control Group, increasing their ownership
  percentage from 49% to 55%.
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        95.    As admitted in the Company’s Form 10-K for the 2017 fiscal year, the

  Control Group, “acting together, have the ability to control all matters requiring

  approval by our stockholders, including the election and removal of directors,

  amendments to our certificate of incorporation and bylaws, any proposed merger,

  consolidation or sale of all or substantially all of our assets and other corporate

  transactions.” The Form 10-K goes on to concede that “[t]hese stockholders may

  have interests that are different from our other stockholders.”

        96.    The Control Group has used its dominance of AmTrust to pursue

  interests that differed from the Company’s other stockholders for its own personal

  benefit for years. In addition to the tens of millions of dollars Zyskind has extracted

  in compensation over recent years, the Company is currently a party to a startling

  number of agreements with entities related to the Control Group, including Maiden

  and NGHC. This includes: (i) a reinsurance agreement with Maiden (despite its

  subpar rating) that has been in place since 2007 and under which the Company

  recorded approximately $596 million of “ceding commissions” in 2016 alone;8 (ii)

  a loan from Maiden with an outstanding principal balance of $168 million; (iii) a

  recently terminated master services agreement with NGHC where AmTrust recorded



  8
    AmTrust failed to disclose the amount of ceding commissions recorded in 2017 in
  its disclosure of related party transactions in the Form 10-K/A it filed on April 23,
  2018.
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  $46 million in fee income in 2016; (iv) a September 2017 sale to NGHC of a personal

  lines policy management system and related intellectual property for $200 million;

  (v) a loan to ACP that resulted in AmTrust recording $128.5 million in loan and

  interest receivables in 2017; and (vi) leasing AmTrust’s corporate headquarters from

  the Control Group for $2 million per year. All told, the Company generally discloses

  more than twenty related party transactions in its annual proxy filings.

        B.     BACKGROUND OF DERIVATIVE LITIGATION PENDING AGAINST
               MEMBERS OF THE KARFUNKEL-ZYSKIND FAMILY AND AMTRUST
               BOARD AT THE TIME OF THE TAKE-PRIVATE TRANSACTION

               1.    The Cambridge Derivative Action
        97.    AmTrust has been beset by scandal and mismanagement in recent

  years. For example, in April of 2015, Cambridge Retirement System, an AmTrust

  stockholder, commenced a derivative action in the Delaware Court of Chancery on

  behalf of AmTrust against (among other defendants) Zyskind, DeCarlo Fisch,

  Gulkowitz, G. Karfunkel, and L. Karfunkel for breaching their fiduciary duties of

  loyalty and usurping a corporate opportunity from AmTrust in connection with the

  Company’s and the Karfunkel-Zyskind Family’s dealings with insurance company

  Tower Group International, Ltd. (the “Cambridge Action”).9 The Court noted that




  9
    Despite being named as a defendant in the Cambridge Derivative Action, L.
  Karfunkel claimed in her 2016 director questionnaire that she did not believe she
  was an “adverse” party in that litigation.
                                           -40-
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  the allegations of the Karfunkel-Zyskind Family’s self-dealing and the AmTrust

  Board’s acquiescence to the Karfunkel-Zyskind Family’s demands at the expense of

  the Company due to conflicts of interest were “very troubling” and “very unusual,”

  and denied the sole motion to dismiss filed.

        98.      The Cambridge Action alleged that in 2013, members of the Karfunkel-

  Zyskind Family stole AmTrust’s opportunity to acquire valuable businesses and

  assets from distressed insurer Tower. Their misconduct gave rise to meritorious

  derivative claims for money damages that this Court sustained in June 2016. As

  shown below, discovery taken in the Cambridge Action confirms that: (1) the

  Company possessed a hugely valuable asset (i.e., the Cambridge Derivative Claims)

  that Company fiduciaries were duty-bound to value in good faith and secure value

  for in connection with the Take-Private Transaction in 2018; and (2) the four-

  member Take-Private Special Committee—which included all three members of the

  Audit Committee responsible for reviewing and approving the Tower Transaction—

  was not independent of the Karfunkel-Zyskind Family and was otherwise incapable

  of protecting minority stockholders’ interests in connection with the Take-Private

  Transaction.




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                     a.    Without Telling the AmTrust Board, The Karfunkel-
                           Zyskind Family Disloyally Decided The Karfunkel-
                           Zyskind Family’s Other Businesses Should Profit
                           from the Tower Opportunity.
        99.   Tower was a publicly-traded, diversified casualty and property

  insurance company that was highly regarded within the industry and broader market.

  In the first three quarters of 2013, however, Tower suffered significant losses and

  commenced a strategic review.

        100. In response to these developments, AmTrust, led by CEO Zyskind and

  Chairman M. Karfunkel, became one of a number of companies interested in

  acquiring some or all of Tower.

        101. On October 21, 2013, AmTrust submitted a formal letter of intent

  (“LOI”) to acquire two Tower insurance subsidiaries for $50 million cash and make

  a $100 million preferred stock investment in Tower. While AmTrust was devoting

  substantial resources to pursuing Tower, including retaining and paying

  Guggenheim Securities, LLC (“Guggenheim) to advise the Company, members of

  the Karfunkel-Zyskind Family determined that certain of the Karfunkel-Zyskind

  Family’s other businsses should profit from Tower as well. In particular, NGHC was

  preparing for an IPO at the time, and profitable, near-term opportunities for NGHC

  helped ensure a successful IPO.




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        102. On October 30, 2013, Justin Rubinstein of Guggenheim emailed

  AmTrust in-house counsel John Titley a draft engagement letter that alluded to the

  Karfunkel-Zyskind Family’s disloyal plan.

        103. The email states:

        John,

        Given that National General Holdings will be acquiring one of the
        subsidiaries [of Tower] and AmTrust the other we have revised the
        engagement letter to include both companies. Please let us know if you
        have any comments.

        Best,

        Justin

        104. The plan—to divert at least a part of the Tower opportunity to NGHC—

  revealed through Rubinstein’s email is corroborated by other communications

  produced in the Cambridge Derivative Action. For example, an internal November

  4, 2013 AmTrust email among Karfunkel-Zyskind Family subordinates explicitly

  refers to an “understanding with Nat Gen [i.e., NGHC]” regarding Tower. AmTrust

  also demanded that its non-disclosure agreement (“NDA”) with Tower include an

  express carve out allowing NGHC access to due diligence.

        105. In response to AmTrust’s demand, one of Tower’s lawyers at Willkie

  Farr & Gallagher LLP (“Willkie Farr”) commented, “Did we anticipate that they

  would do a joint bid with something called National General Holdings Corp., which

  seems to have the same CEO as AmTrust?”
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        106. Of course, throughout October and November 2013, none of this was

  communicated to either the full AmTrust Board, or the standing Audit Committee,

  whose charter expressly required the committee to “oversee all related party

  transactions.…”

        107. To the contrary, Zyskind, Michael Karfunkel, and their subordinates in

  AmTrust management were actively working to conceal their plan.

        108. For example, as noted above, AmTrust demanded that the Tower NDA

  include a carve-out for NGHC. Willkie Farr responded by requesting that NGHC

  execute a joinder to the NDA, which elicited the following response from one of

  Zyskind’s subordinates in management:

        We will have [NGHC] sign a joinder once we get them involved. I
        don’t want to get them involved yet so draft language that says when
        we get them involved it will only be after they sign something.
        109. Discovery in the Cambridge Derivative Action further suggests a

  concerted effort to keep Michael Karfunkel’s fingerprints off of the Tower

  Transaction process because of his position as CEO of both ACP and NGHC, which

  ultimately received the lion’s share of Tower’s businsses and assets.

        110. For     example,   on   December     3,   2013,   Michael    Constantino

  (“Constantino”) of Guggenheim emailed Michael Karfunkel directly concerning

  Tower at his NGHC email address.



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        111. Upon learning of Constantino’s email to M. Karfunkel, Zyskind

  exploded.

        112. A December 4, 2013 email from Peter Van der Meer of Guggenheim to

  Constantino states, “As I told you Barry [Zyskind] called me and was extremely

  upset that you send [sic] email to Michael Karfunkel….This is very serious [sic]

  Barry said that if this happen [sic] again he will not work with Guggenheim going

  forward.”

        113. The email also states, “As I have told you now several times this is a

  sensitive…transaction” and then “reiterate[s]” the “very delicate nature” of the

  transaction. The email concludes by demanding that Constantino cease contacting

  both Zyskind or Michael Karfunkel.

        114. Meanwhile, on December 2, 2013, AmTrust submitted a new LOI

  proposing to acquire 100% of Tower’s outstanding stock for $5.50 per share.

        115. Ten days later, on December 12, 2013, AmTrust abrupty withdrew the

  bid. AmTrust claimed the reason was Tower’s inability to timely make quarterly

  filings with the SEC. But others, including members of Tower’s audit committee,

  believed that AmTrust’s explanation was pretext. One Tower audit committee

  member emailed internally: “My view is that their withdrawal at this point has less

  to do with Tower’s filing of the 3rd Qtr. 10-Q than it does with the recent news

  regarding their situation and the significant drop in their stock price.”
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           116. The “situation” referred to in this email was the publication of a short-

  seller report by GeoInvesting on December 12 (i.e., the same day AmTrust withdrew

  its bid) alleging various accounting improprieties at AmTrust (the “GeoInvesting

  Article”).10 Details of the report were published in numerous media outlets and

  caused a significant drop in AmTrust’s share price (see § B.2.a, infra).

           117. By December 20, 2013, following an announcement that Tower would

  increase its loss reserves for the third quarter of 2013 and that A.M. Best, an

  influential insurance rating service, was again downgrading Tower’s credit rating,

  Tower was trading at $2.65 per share—a 35% decrease from its trading price as of

  when AmTrust submitted its December 2, 2013 LOI to acquire Tower for $5.50 per

  share.

           118. That same day, representatives of AmTrust, including Zyskind,

  “expressed [to Tower management] their renewed interest in making a bid to

  purchase the entire company,” but advised that it would be “in partnership with

  National General Insurance Company and a privately-owned Bermuda reinsurance

  company [i.e., ACP] owned by Mr. Michael Karfunkel.”



  10
     At 10:22 a.m. on December 12, 2013, an AmTrust employee forwarded the
  GeoInvesting Article to Zyskind. The short seller report was then published
  approximately a half hour later on Seeking Alpha under the title “AmTrust Financial
  Services: A House of Cards?” Karkowsky called Lee about an hour and half after
  the report was published to inform him that AmTrust was pulling its bid.
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        119. On December 29, 2013, in-house counsel for AmTrust, Stephen Ungar,

  sent Tower’s legal advisors at Willkie Farr an LOI for ACP to acquire Tower for

  $3.00 per share, or $2.50 per share less than the $5.50 per share that AmTrust had

  offered in its December 2 LOI.

        120. The December 29, 2013 LOI contemplated that ACP would acquire

  Tower and retain its legacy business. ACP would then (i) sell certain of Tower’s

  going-forward commercial lines business to AmTrust, as well as enter certain

  reinsurance agreements with AmTrust relating to the commercial lines business, and

  (ii) sell Tower’s going-forward personal lines business to NGHC as well as enter

  certain reinsurance agreements with NGHC relating to the personal lines business.

                    b.     The AmTrust Board Failed to Protect the Interests of
                           the Company and its Minority Stockholders
        121. The following day, on December 30, 2013 AmTrust’s Board convened

  for its first of only two meetings before approving the Tower Transaction. Each

  meeting lasted under 30 minutes. The Audit Committee convened only once—on

  January 3, 2014—the same day the Tower merger agreement was signed, and for

  only 15 minutes. Despite his conflicts, Zykind was the sole presenter at each

  meeting. No Board member—including the three members of the Karfunkel-

  Zyskind Family—recused themselves from any portion of the December 30 or

  January 3 meetings. Zyskind was also present for the entire January 3 Audit


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  Committee meeting. No outside advisors were retained before the merger agreement

  was signed.

        122. In denying the motion to dismiss in the Cambridge Derivative Action,

  this Court considered the Board and Audit Committee minutes and materials for the

  December 30 and January 3 meetings, and described them as reflecting a process

  that did not appear to be “bona fide” and that included failures to address “obvious

  conflicts of interest,” and “delegation of transaction approval” to a “conflicted audit

  committee that appeared predestined to approve an already-baked transaction.”11

        123. Deposition testimony from the Cambridge Derivative Action is even

  more damning than the documentary record considered by the Court when denying

  the motion to dismiss. For example, the testimony of Audit Committee member

  DeCarlo, who purports to be an “independent” Board member and who would later

  be named Chair of the Take-Private Special Committee, reflects a fundamental

  unwillingness or inability to recognize, let alone manage, conflicts when dealing

  with the members of the Karfunkel-Zyskind Family.

        124. For example, DeCarlo testified that he does not believe that members

  of the Karfunkel-Zyskind Family harbored any conflicts of interest in connection

  with the Tower Transaction:


  11
    See Cambridge Ret. Sys. v. DeCarlo, et al., C.A. No. 10879-CB, at 36:23-24,
  46:22-48:7 (Del. Ch. June 16, 2016) (TRANSCRIPT).
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        Q. Would you agree that by the time of this [December 30, 2013]
        meeting when Mr. Zyskind was leading discussion concerning this
        transaction, that Mr. Zyskind had a conflict of interest?

        A.   No.

                                         ***

        Q. The fact that his family had an ownership interest in ACP Re, you
        don't think that created a conflict for Mr. Zyskind?

        A.   No, not in a negotiation, no.

                                         ***

        Q. Would you agree that Michael Karfunkel had a conflict at the time
        of the meeting?

        A. No, the same. They were negotiating -- until the point in time it
        got serious, they were going to go forward and they brought it to us,
        then -- then the potential conflicts come up.

        Q.   So while they’re negotiating, no conflict, right?

        A.   Yes.

                                         ***

        Q.     If -- so in your view, if Barry Zyskind didn't have a conflict,
        Michael Karfunkel didn't have a conflict, so I take it at this time that
        it’s your view that George Karfunkel did not have a conflict either?

        A.   Correct.

        125. DeCarlo likewise believed he was not conflicted in a potential Tower

  deal irrespective of his board position at NGHC:

        Q.   Do you think you had any conflict at this time?

        A.   No.


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        126. Audit Committee member Gulkowitz—who likewise was later

  appointed to the Take-Private Special Committee—shared DeCarlo’s bizarre and

  problematic views, testifying that he too did not think Zyskind, Michael Karfunkel

  or George Karfunkel were conflicted with respect to a potential Tower transaction

  involving ACP, AmTrust, and NGHC.

        127. DeCarlo further testified that the Board chose to remain willfully blind.

  At his deposition, he stated he could not recall any Board member asking any

  questions at the December 30 meeting, such as asking when NGHC or ACP became

  involved in the Tower Transaction. DeCarlo also took no steps to educate himself

  following the meeting.

        128. DeCarlo testified as follows:

        Q. Following the December 30 board meeting, did you do anything
        to, I guess, educate yourself on the background or history of the Tower
        transaction at AmTrust?

        [OBJECTION OMITTED]

        A. No, I was not going to get in and do management’s job for them.
        I wanted Barry to do what he said he was going to do, continue to
        negotiate and expect him to come back to us when he was ready to go
        forward or not.

        Q. So did you sort of, I guess, sit tight and wait for another -- another
        board meeting to be called; is that fair?

        A. That's correct.




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        129. Instead, DeCarlo testified that he was content to allow the members of

  the Karfunkel-Zyskind Family to structure the Tower Transaction among

  themselves:

        Q. You mentioned you expected Barry Zyskind would continue to
        negotiate. Who did you expect Mr. Zyskind to negotiate with?

        A. Well, Michael, because the way he’s describing it is Michael is
        taking the laboring oar on this deal and then secondly with Tower to
        make sure they'd go along with it.

        Q.   And when you say “Michael”, you mean Michael Karfunkel?

        A.   Michael Karfunkel.

        Q. You would have expected Barry Zyskind to continue to negotiate
        with Michael Karfunkel?

        A.   Yes.

        Q.  And would Michael Karfunkel be representing both ACP and
        NGHC in those negotiations?

        [OBJECTION OMITTED]

        A.   I would expect, yes.

        Q.   And Barry Zyskind would be the representative for AmTrust?

        A.   Correct.

        130. By January 3, 2014, a merger agreement between ACP and Tower was

  final and ready to be signed.

        131. The members of the Karfunkel-Zyskind Family knew the AmTrust

  Board and Audit Commmittee would blindly approve it.


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        132. On the morning of January 3, 2014, before the final Board and Audit

  Committee meetings, Michael Karfunkel sent family members a celebratory email

  stating, “Guys stay home & play with the kids…Tower is closing today.”

        133. Later that morning, AmTrust’s Board held a perfunctory 15-minute

  telephonic meeting at 10:30 a.m., which was immediately followed by a similarly

  perfunctory 15-minute telephonic Audit Committee meeting at 10:45.

        134. The Board and Audit Committee received a single PowerPoint

  presentation via email less than two minutes before the 10:30 a.m. meeting. DeCarlo

  was asked at his deposition whether he saw the presentation materials before the

  meeting:

        Q. Do you know whether you saw this e-mail before the 10:30 meeting?

        A. I’m speculating, but probably not.

        Q. Do you see that this e-mail attaches a presentation? Did you see this
        presentation at any time before the meeting?

        A. I don’t recall seeing it, no.

        Q. Is it possible that you didn’t see the presentation?

        A. Yes.

        135. The 10:30 a.m. AmTrust Board meeting was the first and only time

  prior to signing that the Board was informed of any of the details of the transaction.

  As DeCarlo testified at his deposition:

       Q. [] Was the January 3rd meeting the first you learned of any I guess
       specifics regarding potential transaction terms, things like price.
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        A.   To the best of my knowledge, yes.

        Q. And so before January 3rd, you were not aware what, for example,
        AmTrust was anticipating paying in the Tower transaction?

        [OBJECTION OMITTED]

        A.   Again, to the best of my knowledge, no.

        Q.   How about with respect to NGHC, prior to January 3rd?

        A.   The same.

        Q. Did you have any understanding, prior to January 3rd, what ACP
        would be paying in connection with the Tower transaction?

        A.   Yeah, to the best of my knowledge, no.

        136. DeCarlo’s testimony makes clear that Audit Committee delegation was

  a pointless exercise, as the members of the Audit Committee did not recognize any

  conflicts of interest and therefore did not consider taking any steps to manage them:

        Q. Fair to say no steps were taken to address any conflict with respect
        to Barry Zyskind up to that point in time, January 3, 2014?

        A. No, we didn’t believe there was a conflict, so we didn't take any
        steps, no.

        Q. And as for Michael Karfunkel, fair to say the Audit Committee
        didn't take any steps prior to January 3, 2014 to address any conflicts –

        A.   Same.

        Q.   -- with respect to Michael Karfunkel?

        A.   Same.

        Q. And then with respect to George Karfunkel, no steps were taken
        prior to the vote on January 3, 2014 to address any conflict with respect
        to George Karfunkel?

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        A.   No.

        137. Even now, DeCarlo maintains that neither himself, nor Zyskind, nor M.

  Karfunkel, had ever had a conflict in connection with any aspect of the Tower

  Transaction. Instead, he believes the deal was not conflicted and was negotiated at

  “arm’s-length”:

        Q. You know, I had asked you questions before about conflicts, but -
        - so at the time of the Audit Committee's approval, January 3, 2014, I
        guess, in your view, did -- by that point did Mr. Zyskind have a conflict
        of interest?

        [OBJECTION OMITTED]

        A. No, because this helped us sort of conflicts out [SIC], this structure.

        Q.   Uh-huh.

        A. If this structure was done differently, he might have had a conflict.
        And what was happening here was that ACP Re which was neither Nat
        Gen nor AmTrust, was going to buy Tower. So that fact, Zyskind had
        no conflict. Then once ACP bought Tower, we were going to buy
        commercial lines from ACP Re. We weren't interested in personal
        lines. We were going to get -- ACP was going to pick up legacy liability.
        All of that was a sweetheart deal for AmTrust. I didn't see any conflict
        at all. I thought it was a great deal. Tower was known to be writing
        business in our sweet spot, excluding the personal lines, which we
        didn't write. They were writing workers' comp in the same -- a lot of
        the same geographical areas. This was a great opportunity for us. So I
        didn't see any conflict. I saw this as an opportunity for AmTrust.

        Q. I think you said Mr. Zyskind actually prevented a conflict; there
        could have been a conflict? Did you say that?

        A.   There could have been if we didn't structure it like this.

        Q.     I guess sitting here -- what structures would -- what potential
        structures would cause a conflict in your mind?
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        A. There -- I -- I don't want to speculate on what they would be. This
        is the clearest upfront structure that would avoid a conflict. Anything
        short of that, if -- say, for example, if we had to buy the whole company,
        there might be a conflict there, if it wasn't priced right. And we
        wouldn't do that because we don't write personal lines. If the legacy
        liability was still involved where it wasn't being taken over by ACP Re,
        that would concern me immensely, and I would say that would be a
        reason not to vote for the deal. So this -- the better way of putting it,
        Ned, is that the way they presented it made what could be a nasty deal
        and conflicted deal, a perfectly acceptable deal.

        138. Gulkowitz too, at his deposition, testified that he does not believe the

  members of the Karfunkel-Zyskind Family—including M. Karfunkel, G. Karfunkel,

  and Zyskind—possessed any conflict of interest relating to the Tower Transaction

  as of January 3, 2013. He viewed NGHC and AmTrust as “sitting on the same side

  of the table.” Moreover, Gulkowitz testified that he did not even know for sure

  whether any member of the Karfunkel-Zyskind Family was an executive of NGHC

  or on the NGHC Board.

        139. Nor, as DeCarlo testified, did the Audit Committee endeavor to

  determine whether a multitude of other reasonably available transaction alternatives

  would have been more financially favorable to AmTrust:

        Q. Prior to the Audit Committee vote on January 3, 2014, did the
        Audit Committee undertake any assessment of alternative transaction
        structures involving Tower that AmTrust could potentially pursue?

        A. No, we weren't involved. It was -- management was doing all the
        work. This is the first time we saw this structure. We didn’t get into it
        before this.


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        Q. So in terms of how to structure a transaction, would you view that
        as the job of management, I guess rather than the job of the board?

        A.   Yes.

        Q.   And management would include Barry Zyskind?

        A.   Yes.

        140. Similarly, Gulkowitz could not recall any consideration of alternative

  transaction structures other than the one presented by Zyskind and went so far as to

  testify that he “can’t understand or fathom anything else.”

        141. At the end of the Audit Committee’s January 3, 2014 meeting, the Audit

  Committee, based solely on Zyskind’s presentation and the facts he communicated,

  (i) determined that ACP’s acquisition of Tower, and NGHC’s acquisition of Tower’s

  personal lines segment, were not corporate opportunities for the Company; and (ii)

  approved the Tower Transaction.

        142. Later that day, ACP executed the merger agreement with Tower to

  acquire all of Tower’s outstanding stock for $3.00 per share. AmTrust and NGHC

  executed interrelated agreements providing for, among other things: (1) ACP’s sale

  of Tower’s personal lines business to NGHC for approximately $125 million; and

  (2) ACP’s sale of Tower’s commercial lines business to AmTrust for approximately

  $125 million.




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        143. The price per share paid by ACP was well below Tower's estimated

  tangible book value, which Compass Point analyst Kenneth Billingsley estimated in

  early January 2014 as $7.50 per share.

        144. Nonetheless, in light of a deterioration in Tower’s operations in the first

  quarter of 2014, however, the Karfunkel-Zyskind Family began negotiating

  modifications to the Tower Transaction. As with the negotiations with Tower up to

  that point, the Karfunkel-Zyskind Family concealed from the Board their plan to

  modify the deal terms. The AmTrust Board convened meetings in February 2014

  and March 2014, and the Karfunkel-Zyskind Family chose not to disclose their

  ongoing negotiations to the Board at these meetings.

        145. Despite the deterioration in Tower’s business in the first quarter, the

  Tower Transaction remained profitable for the Karfunkel-Zyskind Family. Even

  before revised deal terms had been reached, on February 16, 2014, Zyskind wrote to

  M. Karfunkel, “I am sure you are making money on [T]ower.”

        146. Ultimately, on May 8, 2014, ACP and Tower executed an amendment

  to their original merger agreement which, among other things, reduced the merger

  price from $3.00 per share to $2.50 per share.

        147. Despite the fact that ACP had secured a significant price reduction (i.e.,

  a $0.50 (or 16.66%) reduction from $3.00 per AmTrust share to $2.50 per AmTrust

  share) in what was an acquisition identified, facilitated, and ultimately financed by
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  AmTrust, the Karfunkel-Zyskind Family passed none of those savings onto

  AmTrust.

        148. Instead, the transaction was simply restructured such that ACP would

  retain Tower’s subsidiaries following its acquisition, with AmTrust and NGHC

  retaining renewal rights of the commercial lines and personal lines businesses,

  respectively, and financing ACP’s acquisition of Tower through a $250 million loan,

  with AmTrust and NGHC each providing up to $125 million.

        149. Other modifications to the Tower Transaction shifted additional risks

  onto AmTrust that had previously been allocated to ACP. In addition to AmTrust’s

  commitment to provide ACP with up to $125 million in financing, upon terms to be

  negotiated and determined at a later date (the “Credit Agreement”), AmTrust and

  NGHC also agreed to cover losses of up to $250 million incurred by a former Tower

  subsidiary, CastlePoint Reinsurance Company, Ltd. (the “Stop-Loss Agreements”).

        150. In connection with the transaction restructuring, AmTrust’s Audit

  Committee determined to finally retain legal and financial advisors, but the process

  was no less abysmal than before. The Audit Committee retained Griffin as its

  financial advisor, but Griffin was simultaneously advising the NGHC board of

  directors in connection with modifications to the Tower Transaction. At his

  deposition in the Cambridge Derivative Action, DeCarlo testified that it was

  acceptable for Griffin to represent both AmTrust and NGHC because he understood
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  Griffin would erect a “Chinese wall” to manage Griffin’s potential conflict. In

  reality, however, the same individual at Griffin, Jeffrey Harenza, led Griffin’s work

  on behalf of both AmTrust and NGHC.

        Q.    Was Griffin also retained by NGHC in connection with the term
        loan?

        A.     Yes.

        Q.     Did that cause any concern to you?

        A.     Well, we talked about it and Griffin assured us -- and I don't
        know whether they used this term but it was going to be a Chinese wall,
        but they were negotiating with Nat Gen and we were negotiating with
        AmTrust and ACP Re but they were totally independent negotiations;
        the Audit Committee on behalf of AmTrust, and if I remember
        correctly, a special committee of Nat Gen on behalf of Nat Gen.

                                     *     *      *

        Q.    When you say “Chinese wall”, what do you mean by “Chinese
        wall”?

        A.     Griffin was supposed to keep their documents, their negotiations,
        the developments in connection with the negotiation on behalf of each
        party separate and apart and not share.

        Q.    Did the Audit Committee take any steps to ensure that that
        occurred?

        A.     No, but -- you know from -- no, we didn’t, no.

        Q.     Who at Griffin advised AmTrust audit committee?

        A.    I think his last name is Harenza or Farenza. I don’t know exactly,
        yeah.

        Q.     Who at Griffin advised NGHC's Audit Committee?

        A.     Same individual.
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        Q.    Same individual, Mr. Harenza?

        A.    Yeah.

        Q.    Was it Jeff Harenza?

        A.    Sounds right.

        151. The Audit Committee’s chosen legal advisor, Stevens & Lee, was also

  conflicted. Stevens & Lee and Griffin are affiliates of the same parent company,

  Stevens & Lee/Griffin, which touts itself as a “multidisciplinary professional

  services platform with approximately 150 attorneys and 50 non-lawyer business and

  consulting professionals.” Internal communications show that Griffin recommended

  that the Audit Committee hire Stevens & Lee. DeCarlo testified he was wholly

  unaware of the relationship between Stevens & Lee and Griffin:

        Q. Do you know whether Stevens & Lee has any affiliation with
        Griffin?

        A. I don't.

        152. Yet, DeCarlo testified that the Audit Committee relied on Stevens &

  Lee to advise the committee members concerning Griffin’s conflicts:

        Q. So Stevens & Lee advised with respect to potential conflicts with
        Griffin; fair to say?

        A.   I believe that's the case.

                                          ***

        Q. [] If Stevens & Lee and Griffin were affiliated with one another, do
        you think that would make it difficult for Stevens & Lee to really
        independently assess whether Griffin has any conflicts of interest?

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        [OBJECTION OMITTED]

        Yeah, I don't know. I’d leave it up to them to decide. It’s not the best of
        arrangements, but I’d leave it up to them to sort that out.

        Q. When you say “leave it up to them,” you mean Stevens & Lee?

        A. I mean Stevens & Lee and Griffen, if there was an arrangement to
        tell us about it, and then give us an opportunity to opine on it.

  The Audit Committee also failed to manage DeCarlo’s conflict. As noted above,

  DeCarlo was also a director of NGHC, which was interested in the Tower

  Tranaction. Not until May 29, 2014, did DeCarlo finally suggest to his fellow Audit

  Committee members that he recuse himself from further deliberations regarding the

  Tower Transaction given his affiliation with NGHC. At his deposition in the

  Cambridge Derivative Action, DeCarlo testified that Stevens & Lee had pointed out

  the “appearance of a conflict” created by his dual role in April 2014. He testified

  that he waited the additional month to recuse himself because “he didn’t think there

  was an urgency” because “it wasn’t a real conflict”:

        Q. Just so I understand your testimony clearly, in your view -- or is it
        your view that at no point in the transaction process did you have -- in
        fact have a conflict at AmTrust?

        [OBJECTION OMITTED]

        A. Okay. I -- from beginning to end, I thought this was a home run
        deal for AmTrust, and independently, a home run deal for Nat Gen, the
        way it was structured with ACP Re. So I never thought I had a conflict.

        153. The Audit Committee then formed a subcommittee consisting of the

  Audit Committee’s two remaining members, Gulkowitz and Fisch (the
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  “Subcommittee”), but it had no ameliorative effect. The Subcommittee ultimately

  authorized the Company to agree to pay ACP contingent consideration in the form

  of a three year earn-out (the “Earn-Out”), payable semi-annually on the last day of

  January and July, of 3% of gross written premiums of the Tower commercial lines

  business written or assumed by the Company following the merger.12

        154. On September 15, 2014, ACP and Tower consummated the Tower

  Transaction.

                     c.    The Cambridge Derivative Claims Were Worth
                           Hundreds of Millions of Dollars
        155. The Karfunkel-Zyskind Family prevented the AmTrust Board from

  implementing procedural devices to protect the interests of the Company and its

  minority stockholders. Had such devices—such as a fully empowered and informed

  independent committee that could hire advisors, say “no” to the Karfunkel-Zyskind

  Family and/or consider alternative transactions—been in place when the conflict

  with NGHC arose in October 2013, AmTrust could have negotiated for an

  alternative transaction that would have provided the Company with substantially

  more value than it ultimately received through the Tower Transaction. Instead, the

  Karfunkel-Zyskind Family orchestrated a transaction among their various entities in



  12
    Through the Earn-Out, AmTrust and NGHC each agreed to pay ACP up to $30
  million in contingent payments to ACP over a three-year period.
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  the manner that best enriched them, a pattern that repeated itself in the Take-Private

  Transaction.

        156. Each of Tower’s component parts—the personal lines business,

  commercial lines business and legacy business—were perceived to be highly

  valuable up through the September 2014 closing of the Tower Transaction.

        157. According to Griffin’s July 22, 2014 fairness opinion presentation to

  NGHC, Tower’s personal lines business was valued between approximately $340.7

  million to $662.6 million.

        158. According to Griffin’s July 22, 2014 fairness opinion presentation to

  the AmTrust [Sub-Committee], Tower’s commercial lines business was valued

  between approximately $294.59 million and $629.4 million.

        159. According to a September 2014 presentation delivered to A.M. Best,

  ACP valued Tower’s legacy business (which ACP retained after the Tower

  Transaction) at approximately $136 million.13, 14



  13
     Unless ACP was knowingly lying to the ratings agencies, this September 2014
  presentation dispels any notion that the Karfunkel-Zyskind Family was playing the
  role of “white-knight” in the Tower Transaction. To the contrary, M. Karfunkel/ACP
  saw significant profit potential in Tower’s legacy business and wanted to secure
  those profits for himself and his family.
  14
     Further, a draft ACP presentation from May 2014, states that “[p]rojected [Tower]
  loss reserves on June 30, 2014 are $1.38bn with a surplus position of $431mm” and
  concludes that “ACP Re is therefore well protected,” and that the Tower
  “Acquisition results in surplus increase for ACP Re group of companies.” In its
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        160. The perceived value of Tower’s component parts dwarfed the $307.8

  million paid by ACP at closing to acquire Tower in its entirety, and that excess value

  was not fairly allocated among AmTrust, NGHC and ACP because of an abuse of

  power by the Karfunkel-Zyskind Family. AmTrust’s Board and Audit Committee

  should have tried to—and but-for the Karfunkel-Zyskind Family’s misconduct likely

  could have—negotiated an alternative transaction structure vastly more favorable to

  the Company.

        161. For example, AmTrust could have proceeded with an acquisition of

  Tower in its entirety and, as ACP did, sold off parts of Tower to NGHC and ACP,

  resulting in the distribution of Tower’s assets and liabilities just as they ultimately

  were through the Tower Transaction: (1) AmTrust would receive Tower’s

  commercial lines business, (2) NGHC would receive Tower’s personal lines

  business, and (3) ACP would receive Tower’s legacy business. Having acquired

  Tower in its entirety, however, AmTrust could have sold the personal lines and

  legacy businesses to NGHC and ACP, respectively, each at a substantial profit.15




  September 2014 presentation to A.M. Best, ACP stated that it planned to “Earn
  investment income on $1.7 billion of Tower reserves and surplus.”
  15
     Given that NGHC and ACP bought Tower’s personal lines and legacy businesses,
  respectively, through the Tower Transaction, there can be no dispute that they were
  willing buyers of those assets.
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        162. Another potential alternative transaction available to AmTrust was for

  the Company to acquire Tower in its entirety, and then sell Tower’s personal lines

  and legacy businesses to third parties rather than NGHC and ACP. Discovery plainly

  shows significant third-party interest in Tower’s assets, which continued after entry

  into the Tower Transaction on January 3, 2014. Among other things, (a) 22 third

  parties executed NDAs in connection with a potential acquisition of Tower, (b)

  Tower received three “Whole company proposals” (including AmTrust’s), and (c)

  Tower received four “Other proposals” (including AmTrust’s).

        163. A representative of one of these interested parties, Catalina Holdings,

  emailed Zyskind on January 21, 2014:

        [W]e had a good look at the [Tower] business and were interested in
        acquiring parts of it. If you/ACP Re are interested in selling any of the
        companies or reserves post acquisition please let me know. We would
        be happy to work with you.

        164. Thus, AmTrust could have acquired Tower in its entirety, and then sold

  certain Tower subsidiaries and/or assets—including the personal lines and legacy

  businesses—to third parties. Those third parties would have likely valued Tower’s

  personal lines and legacy businesses similarly to Griffin and been willing to pay

  prices commensurate with those valuations. Like NGHC and ACP, third parties

  would therefore likely have been willing to purchase those assets from AmTrust for




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  between $340.63 million to $798.6 million, allowing AmTrust to turn a quick but

  substantial profit on the Tower Transaction.

        165. A third potential alternative transaction could have been structured so

  that AmTrust acquired and operated Tower’s personal lines business—whether just

  long enough for AmTrust to sell the personal lines at a profit, or indefinitely—in

  addition to the commercial lines business. AmTrust had previously owned and

  operated personal lines businesses before selling them for a profit, so this structure

  was known by the AmTrust Board to be feasible at the time.16 ACP agreed to

  effectively sell Tower’s personal lines business to NGHC for $125 million,

  suggesting ACP would have been willing to sell the personal lines to AmTrust on

  similar terms. As noted above, Griffin valued Tower’s personal lines business at

  between $340.7 million to $662.6 million. By acquiring a business valued at $340.7

  million to $662.6 million for only $125 million, AmTrust could have received an

  additional multi-hundred-million-dollar benefit.

        166. Finally, in addition to the specific examples set forth above, there are a

  nearly infinite number of alternative transactions more favorable to AmTrust than

  the Tower Transaction that could have been structured and agreed-upon through

  independent, informed, arms-length negotiations. The opportunity to acquire Tower



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    As noted above, AmTrust has acquired Sequoia and Republic.
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  belonged to AmTrust, which had conducted the due diligence on Tower and was a

  necessary party to any transaction involving the Karfunkel-Zyskind Family

  (including NGHC, ACP and/or any of its related entities) on the one hand, and Tower

  on the other. Neither NGHC nor ACP could acquire any portion of Tower absent

  AmTrust’s involvement and/or approval, providing AmTrust immense negotiating

  leverage. As such, any transaction involving Tower on the one hand and NGHC

  and/or ACP on the other hand reached through arms’-length negotiations in which

  AmTrust was represented by independent and informed representatives could and

  would have resulted in terms more favorable to AmTrust than the transaction

  ultimately entered into.

               2.    Defendants’ Financial Restatement Causes the Company’s
                     Stock Price to Crater, Setting the Stage for An Unfair
                     Merger

        167. During the year prior to the announcement of the Transaction,

  AmTrust’s stock price dove from $27 to $13 at the end of the 3Q 2017 because of a

  series of negative disclosures stemming from the Company’s accounting. These

  disclosures included restatements of multiple years of the Company’s financials

  stemming from issues with its financial reporting, increases in the Company’s loss

  reserves, and the public revelation of a long-running SEC investigation.

        168. In April 2013, the financial publication Off Wall Street (“OWS”)

  questioned the Company’s accounting for acquisition costs and life settlement

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  contracts (“LSCs”). Then, on December 12, 2013, GeoInvesting published its article

  alleging that the Company was hiding losses in offshore entities and improperly

  accounting for its LSCs.

        169. In February 2014, Barron’s issued an article titled “An Insurer’s Feat:

  Turning Losses Into Gains” (the “February 2014 Barron’s Article”) noting that

  “[a]fter long interviews with AmTrust executives”—including Zyskind and

  Pipoly—“[Barron’s] still ha[s] questions about some cost deferrals and reinsurance

  maneuvers that critics [such as OWS and GeoInvesting] highlighted,” and that

  “[e]ven staunch defenders like its investment bankers FBR Capital Markets

  acknowledge confusion in their recent attempts to rebut AmTrust’s critics.”

        170. In May 2014, Barron’s published an article titled “Balance-Sheet Risk

  Makes AmTrust Shares Vulnerable” (the “May 2014 Barron’s Article”) questioning

  the Company’s loss reserves and estimates and noting that “[m]ultimillion-dollar

  incongruities appear in AmTrust's various securities and insurance filings….” The

  article noted numerous accounting discrepancies between AmTrust and its

  reinsurance partner, Karfunkel-Zyskind Family-controlled Maiden Holdings, one of

  which Barron’s described as “impossible.”

        171. A key agency involved in the regulatory approval of the Tower

  Transaction was the New York State Department of Financial Services (“NYDFS”).

  By letter dated September 12, 2014 (the “Approval Letter”), the NYDFS expressly
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  conditioned its approval of the Tower Transaction on representations from a

  predecessor to the M. Karfunkel Trust that it would cause the Company to enhance

  its actuarial processes and replace the Company’s auditor, BDO USA LLP (“BDO”),

  for the 2015 financial reporting period. Nonetheless, the Company ignored the

  NYDFS’s directive and retained BDO as the Company’s external auditor for the

  fiscal year 2015 reporting period.

        172. In December 2014, AmTrust commenced a defamation lawsuit against

  Alistair Capital Management, LLC (“Alistair Capital”), a sophisticated institutional

  investor, for alleging accounting issues at AmTrust. In response, on December 18,

  2014, Alistair Capital sent a 16-page letter (the “Alistair Capital Letter”) directly to

  the Audit Committee of the Board, alerting them to a panoply of accounting issues.

  The Alistair Capital Letter called into question: (i) the efficacy of AmTrust’s internal

  accounting controls for financial reporting; (ii) AmTrust’s accounting for deferred

  acquisition costs; (iii) AmTrust’s valuation of life settlement contracts; (iv) the

  sizable difference between balance sheet accounts reported by AmTrust and the

  amounts reported by a related-party for the corresponding accounts in its financial

  statements; (v) AmTrust’s accounting for Luxembourg Reinsurance Captives; and

  (vi) AmTrust’s accounting for loss and loss adjustment reserves in conjunction with

  acquisitions. Five pages of this letter were devoted to signs that the Company’s

  overall internal controls over financial reporting were weak. These signs were
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  “indicative of an environment in which an accounting fraud could be perpetuated if

  members of the Audit Committee fail to fulfill their duty of care in diligently

  monitoring the Company’s control environment.” After receiving the Alistair

  Capital Letter, AmTrust quietly dismissed its defamation suit.

        173. In early April 2016—almost a year and a half after receiving the

  Approval Letter from the NYDFS—the Audit Committee dismissed BDO and

  retained KPMG US LLP (“KPMG”) as the Company’s new external auditor.

        174. In April 2016, Barron’s published an article titled “Is AmTrust Stock

  Worth the Premium?” (the “April 2016 Barron’s Article”), again questioning the

  Company’s accounting and underwriting practices. The article asserted that “[t]he

  insurance filings of its subsidiaries show that the cost of settling claims for policies

  issued in the seasoned years 2007-13 have climbed hundreds of millions of dollars

  above the reserves that AmTrust initially set aside.” The article noted that “the

  analysts at AmTrust’s investment banker, Keefe, Bruyette & Woods, wondered in

  recent notes whether the insurer’s underwriting margins were overstated.”

        175. On February 27, 2017, AmTrust issued a press release announcing its

  fourth quarter 2016 results, which disclosed that the Company (1) anticipated a delay

  in the filing of its annual report on Form 10-K for fiscal year 2016 (the “2016 10-

  K”) and (2) expected to make “immaterial corrections” to errors in its financial

  statements for fiscal years 2015 and 2014 and “certain financial information” for
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  fiscal years 2013 and 2012. The Company further disclosed that it “identified

  material weaknesses in its internal control over financial reporting that existed as of

  December 31, 2016, specifically related to ineffective assessment of the risks

  associated with the financial reporting, and an insufficient complement of corporate

  accounting and corporate financial reporting resources within the organization” and

  warned that “additional adjustments and/or material weaknesses could be

  identified.”

        176. The February 27, 2017 press release also disclosed a $65 million

  reserve charge in the fourth quarter of 2016 relating to the Company’s Specialty Risk

  and Extended Warranty business segment. The reserve charge confirmed Barron’s

  (and others’) suspicions about the inadequacy of the Company’s loss reserves.

  Barron’s, in a March 4, 2017 article titled “Our Skepticism on AmTrust Reserves

  Borne Out,” stated that the reserve charge announced on February 27, 2017

  “shouldn’t have surprised anyone familiar with questions Barron’s raised about

  [AmTrust’s] accounting and reserve levels[.]”

        177. After closing at $27.66 per share on the last trading day prior to this

  announcement, AmTrust’s common stock price dropped nearly 20% on this news,

  closing at $22.34 per share on February 27, 2017.

        178. Two weeks later, on March 16, 2017, AmTrust announced that its Audit

  Committee had concluded that its consolidated financial statements for the years
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  ended December 31, 2014 and 2015 and the first three quarters of 2016 “should be

  restated and should no longer be relied upon.” AmTrust also stated that audit reports

  concerning the effectiveness of its internal control over financial reporting for the

  years ended December 31, 2014 and 2015 “likewise should also no longer be relied

  upon.” On this news, AmTrust stock fell from $21.61 per share on March 16, 2017

  to close at $17.58 per share on March 17, 2017, a decrease of $4.03 per share, or

  18.6%.

        179. Zyskind described the restatement as a momentary blip in the

  Company’s path towards long-term growth:

        . . . We believe that AmTrust remains financially strong, and we
        continue to see opportunities for organic growth within our existing
        operations, as demonstrated by the gross written and net earned
        premiums that we recently reported….We are confident in our ability
        to successfully move through this period and remain focused on
        leveraging our proprietary technology and efficient operating
        structure to enhance shareholder returns, best serve our customers
        and create exciting career growth and development opportunities for
        AmTrust employees.
        180. On April 4, 2017, AmTrust filed the 2016 10-K with the SEC revealing

  that the restatement resulted in a decrease in net income in fiscal years 2014 and

  2015 of 7.2% and 11.2%, respectively. The 10-K also disclosed updated reserve

  charges of $257.9 million for fiscal year 2016 as a result of “unfavorable loss

  development due to higher actuarial estimates based on actual losses in the

  Company’s Small Commercial Business and Specialty Program segments.”

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        181. On April 4, 2017, following AmTrust’s filing of its 2016 10-K, which

  contained the Company’s restated financials, AmTrust stock rebounded, closing at

  $21.95 per share.

        182. Also on April 4, 2017, Plaintiff Arca began purchasing AmTrust

  common stock, believing that the fundamentals of the Company were sound, despite

  the recent revelations of impropriety and mismanagement. Arca believed that

  AmTrust’s fair value was not reflected in its trading price. As discussed herein,

  AmTrust management shared this belief.

        183. However, the stock rebound AmTrust experienced in connection with

  the release of its 2016 10-K would be short-lived. On April 11, 2017, the Wall Street

  Journal reported that the SEC, the FBI and the New York Department of Financial

  Services were each investigating AmTrust, and that a former auditor of AmTrust had

  been assisting the FBI through secretly recording conversations about AmTrust. The

  former auditor stated that he witnessed “seemingly unsupported adjustments to

  financial schedules by a senior AmTrust executive.” The Wall Street Journal also

  reported that Harry Markopolos (the forensic accountant who had over a decade

  earlier alerted the SEC to Bernard Madoff’s fraud) had been investigating AmTrust’s

  finances for years. On this news, AmTrust’s shares fell from $18.87 per share the

  previous day, to close at $15.30 per share on April 11, 2017, down approximately

  $3.57 per share, or 18.9%.
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        184. AmTrust’s downward movement in February, March, and April of

  2017, which, as discussed in the preceding paragraphs, was primarily due to delays

  of management’s own making, is reflected in the following image produced by the

  Wall Street Journal:




        185. The revelations of financial irregularities precipitated a number of

  lawsuits against AmTrust and its leadership.




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        186. For example, in March and April of 2017, investors filed three putative

  securities class actions in the U.S. District Court for the Southern District of New

  York against AmTrust and certain of its officers and directors. The actions, which

  are pending, were ultimately consolidated under the case name In re AmTrust

  Financial Services, Inc. Securities Litigation. The stockholders seek damages under

  Sections 10(b) and 20(a) of the Securities Exchange Act (“Exchange Act”), and Rule

  10b-5 promulgated thereunder and Sections 11, 12(a)(2) and 15 of the Securities Act

  of 1933.

        187. Additionally, on April 27, 2017, an AmTrust stockholder filed a

  derivative action in the Supreme Court of the State of New York for the County of

  New York seeking damages on behalf of the Company (Shaev v. DeCarlo et al.).

        188. Also, on May 11, 2017, and on June 28, 2017, two derivative actions

  were filed by AmTrust stockholders in the U.S. District Court for the District of

  Delaware. The District Court consolidated these two actions (collectively, the

  “Accounting Derivative Action,” discussed herein) under the case name In re

  AmTrust Financial Services, Inc. Derivative Litigation.

        189. Despite this tumult, analysts shared Arca’s and management’s belief

  that the Company was still poised for growth. For example, JMP Securities LLC

  (“JMP”), in a report dated October 4, 2017 (when AmTrust stock was trading at

  $14.12) acknowledged that “there are still steps that need to take place for the stock
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  to work from here – mainly improved financial disclosures (including better fee

  income and reserving disclosures) and remediation of the material weaknesses cited

  by its auditor at year-end.” JMP Securities LLC, Update Following Meetings with

  Management (Oct. 4, 2017). JMP also acknowledged that AmTrust had entered

  “into several related-party transactions, mostly with members of or entities

  controlled by the Karfunkel-Zyskind Family,” which it identified as investment

  risks. Nevertheless, JMP gave AmTrust a “Market Outperform” rating and a price

  target of $18.00 per share of common stock, stating that the “$300 [million] in capital

  raised earlier this year and the recently purchased $400 [million] adverse

  development cover” led it to believe that “management is committed to making

  progress on the remaining outstanding items in coming quarters.”

        190. The $300 million referenced by JMP was from a May 25, 2017 private

  placement in which AmTrust issued 24,096,384 shares of common stock, solely to

  members of the Karfunkel-Zyskind Family, at $12.45 per share (reflecting

  AmTrust’s May 25, 2017 closing price of $12.45 per share) (the “Private

  Placement”).    As the trading price of AmTrust common stock experienced a

  significant drop earlier that month, the timing of the Private Placement benefitted

  the Karfunkel-Zyskind Family.

        191. The Karfunkel-Zyskind Family’s orchestration specifically of the

  Private Placement, rather than another form of financing (such as a public offering)
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  in which unaffiliated investors could benefit from AmTrust’s temporary stock drop,

  is symptomatic of the Karfunkel-Zyskind Family taking advantage of dips in the

  market for their own selfish ends. Moreover, the Private Placement had the effect

  of further consolidating the Karfunkel-Zyskind Family’s control over AmTrust,

  which, in the event of a going-private proposal, would provide it additional leverage

  when compared to the minority stockholders, as well as a larger rollover stake in any

  future private company, all at a cost considerably lower than the $14.75 per share

  Merger Price. Specifically, as a result of the Private Placement, the Karfunkel-

  Zyskind Family substantially increased its control of AmTrust, which, of course,

  could be of considerable utility in a future buyout. The Karfunkel-Zyskind Family,

  however, in a subsequent Section 13 filing dated June 7, 2017, denied this was its

  intention, stating that it did “not have any present plans or proposals that relate to,

  or that would result in, any of the events described in paragraphs (a) to (j) of the

  instructions to Item 4 of Schedule 13D,” which included “[a]n extraordinary

  corporate transaction, such as a merger, reorganization or liquidation, involving the

  issuer or any of its subsidiaries.”

        192. On November 6, 2017, AmTrust announced that it was forced to

  increase its reserves for Q3 2017 by an additional $327 million. This confirmed that

  the Company had materially understated its reserves in prior years.



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               3.     Defendants Ignored Red Flags that Led to the 2017
                      Financial Restatements


        193. The AmTrust Board faced a substantial likelihood of liability to

  AmTrust for the damage their inaction caused to the Company.

        194. Not only was the Company taken private at an unfair price due to the

  Defendants’ misconduct, but all of the Defendants were incentivized to see AmTrust

  taken private so that they could escape liability from their breaches of fiduciary duty

  as pursued in the Derivative Actions.

        195. The Defendants, including the Audit Committee and Take Private

  Special Committee, were on notice of the red flags of the improper accounting

  practices. As a result, the Defendants knew of the unfairness of the Take Private

  price and also were not independent.

                      a.    Red Flags Concerning AmTrust’s Auditor

        196. As noted above, on September 12, 2014, AmTrust disclosed that the

  NYDFS recommended, among other things, that AmTrust replace BDO as its

  auditor. In spite of not only receiving this red flag from NYDFS, but agreeing to

  replace its auditor, AmTrust maintained BDO as its external auditor for the year

  ended December 31, 2015, and did not replace them until April 2016. A year later,

  the Wall Street Journal reported that a whistleblower at BDO had collected evidence

  of AmTrust’s accounting manipulation regarding its reserves and had divulged the

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  evidence to the FBI. And in 2018, the SEC charged certain BDO auditors with

  signing off on AmTrust’s 2013 audit prior to actually completing the audit, in

  violation of applicable SEC rules and regulations.

                         b.   Red Flags Regarding Internal Controls

        197. The December 18, 2014 Alistair Capital Letter addressed red flags

  about the overall inadequacy of AmTrust’s internal accounting controls over

  financial reporting:

        First, we are concerned about the frequent and material differences
        between amounts reported in AmTrust’s Forms 8-K, filed with the SEC
        in conjunction with quarterly earnings reports, and amounts reported to
        the SEC in the Company’s Forms 10-K and 10-Q. We believe these
        frequent and often material discrepancies indicate the Company is
        reporting inaccurate information in one or both of the filings for a given
        period.

        Second, we believe AmTrust’s loss reserve triangles indicate that either
        accident years 2008 and 2009 are woefully deficient (the reserve
        triangles negative remaining reserves) or, more likely, AmTrust’s
        disclosures reflect flawed data that validate our skepticism of the
        Company’s reported financial statements.

        Third, we have noticed that amounts disclosed in AmTrust’s balance
        sheets, cash flow statements, and purchase price allocations for
        “Accrued Expenses and Other Liabilities” appear to be irreconcilable,
        as discussed further below. In addition, the amount AmTrust reports
        for Accrued Expenses and Other Liabilities in the footnotes to the
        Company’s financial statements does not even correspond to the
        amount reported in the balance sheet.

        Fourth, we note that Ronald Pipoly, Jr., AmTrust’s Chief Financial
        Officer (“CFO”), served as the CFO of Maiden Holdings, Ltd.
        (“Maiden”) during the period that PricewaterhouseCoopers determined
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        Maiden had “deficiencies which aggregate to a material weakness in
        internal control over financial reporting.”

        198. As noted above, as part of AmTrust’s February 27, 2017 press release,

  the Company admitted that it had identified material weaknesses in its internal

  control over financial reporting that existed as of December 31, 2016.

                     c.     Red Flags Regarding Reserves

        199. The Defendants were also made aware of red flags regarding improper

  accounting regarding reserves.

        A May 31, 2014 Barron’s article questioned the Company’s reserves,
        stating, “[m]ultimillion-dollar incongruities appear in AmTrust’s
        various securities and insurance filings, for example, in inconsistent
        loss reserves that have the effect of flattering earnings and capital.” The
        article noted that:Questions about whether the company is
        underreserved arise because of some puzzling accounting disparities:
        AmTrust and Maiden Holdings show a $400 million difference in their
        accounting for the same reinsurance activities; AmTrust's numbers for
        acquired reserves differ by $50 million in different parts of its financial
        reports; while the latest 10-K's tabulation of loss reserves leaves
        AmTrust with negative reserves for some years—an impossible
        accounting that would mean that policyholders would actually pay
        AmTrust millions for claims in those periods.

        200. The April 23, 2016 Barron’s article specifically addressed the

  inadequacy of AmTrust’s reserves, stating that AmTrust’s statutory filings on behalf

  of its insurance units “show it has consistently underestimated the cost of settling

  claims.” The Defendants were not only aware of this red flag, but specifically

  responded by falsely denying it, stating that the Company’s “reserving is

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  conservative and rigorous.” Yet, a mere ten months later, on February 27, 2017,

  AmTrust announced that it was taking a reserve charge of $65.0 million, or

  approximately $0.24 per diluted share. As Barron’s pointed out in a subsequent

  March 4, 2017 article, titled “Our Skepticism on AmTrust Reserves Borne Out,” this

  meant that their prior warnings about AmTrust’s reserves had proven correct.

        201. Moreover, despite the $65 million charge in Q4 2016, resulting in total

  reserve charges of $258 million for 2016, and the restatements of its previously filed

  financial statements, the Board continued to under-reserve. A May 9, 2017 Barron’s

  article highlighted the issue of under-reserving:

        [A]nalysts asked a lot of questions about the adequacy of the insurer’s
        loss reserves. That’s because the March quarter showed a continuation
        of AmTrust’s practice of setting aside seemingly-low reserves against
        future claims, despite a decade of state insurance filings that show
        “adverse development” in its reserves – meaning that insurance losses
        have exceeded the company’s earlier estimates.

        202. That AmTrust had materially understated its reserves for years was

  further confirmed on November 6, 2017, when AmTrust announced prior year

  adverse loss and allocated loss adjustment expenses (“loss”) reserve development of

  $327 million for the third quarter ended September 30, 2017. Significantly, the

  increase in loss reserves was based on cases the Company had known about for years

  – namely its program business for the 2013 through 2016 accident years. The $327




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  million reserve increase was so large, and so material that it effectively wiped out

  68% of the Company’s 2016 net income attributable to common stockholders.

               4.     AmTrust Takes Steps to Strengthen Its Balance Sheet
        203. In late spring 2017, rumors arose that the Karfunkel-Zyskind Family

  was positioning itself to take AmTrust private. Specifically, in a May 10, 2017

  article titled “Amtrust, private company,” The Insurance Insider reported that the

  Karfunkel-Zyskind Family would likely seek to take the Company private with

  private equity assistance.

        204. The Karfunkel-Zyskind Family took advantage of the Company’s

  historically low stock prices to further increase their stake in AmTrust. On May 25,

  2017, AmTrust issued a press release announcing its entry into the $300 million

  Private Placement, discussed above. In the May 25, 2017 press release announcing

  the Private Placement, Zyskind praised the transaction and the Company’s future:

        The capital contribution gives AmTrust a higher capital base to support
        our business platform and organic growth opportunities. In addition to
        enhancing our balance sheet and capital base, this sizeable investment
        of $300 million should also provide confidence to all of our
        stakeholders that we are well capitalized to grow and write business.

        205. On June 5, 2017, the Karfunkel-Zyskind Family also moved

  Karkowsky, Zyskind’s long-time right-hand associate (who was also a key AmTust

  employee involved in the Tower Transaction) to the position of Executive Vice

  President and CFO. By appointing Karkowsky to this important position as the

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  Company’s principal financial officer and principal accounting officer, the

  Karfunkel-Zyskind Family ensured that he would be directly involved in any going-

  private transaction. This move was surprising to investors, given Karkowsky’s

  dearth of accounting and financial reporting experience. Indeed, Karkowsky is a

  lawyer with a history of mergers and acquisitions work in the insurance industry.

        206. Throughout 2017, AmTrust took several steps to strengthen its balance

  sheet and position itself for long-term growth, while also simplifying its balance

  sheet in advance of a going-private transaction. For example, during a May 8, 2017

  earnings call, Zyskind revealed that the Company was “exploring several ways to

  monetize the value of [AmTrust’s] fee business” and that the Company had been in

  discussions with “several interested parties” and was seeking to sell a 51% stake to

  a “private equity-like partner” (the “Fee Business Sale”). Zyskind further indicated

  during the May 8, 2017 earnings call that the Company’s fee business was

  potentially worth more than $2 billion.17 Thereafter, on June 9, 2017, AmTrust

  announced that it had agreed to sell over 10 million shares of NGHC in a third-party

  transaction valued at almost $212 million. According to Karkowsky, AmTrust

  undertook the sale “in order to simplify [its] balance sheet and investment portfolio

  composition.” Then, on July 6, 2017, AmTrust disclosed that it had entered into an


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     Two days later, The Insurance Insider reported that the Company retained BOA
  to advise it in connection with the Fee Business Sale.
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  agreement for a loss development cover with Premia Reinsurance Ltd. providing for

  up to $400 million of reinsurance for adverse net loss reserve development in excess

  of AmTrust’s stated net loss reserves (the “Cover Agreement”).

        207. Zyskind continued to assure the market that AmTrust was financially

  strong and had great long-term potential. For example, in a July 6, 2017 press

  release, Zyskind touted the benefits of the Cover Agreement and stated that

        By entering into [this transaction], we are providing confidence to all
        of our stakeholders that we are well insulated from any potential reserve
        volatility in the future….We are committed to acting in the long-term
        interests of the Company and our shareholders, supporting
        opportunities for growth and success across our global operations
        and continuing to be a strong, stable partner for our brokers, agents,
        and policyholders.
        208. Nonetheless, just as the stock hit a 52-week low in November 2017 on

  an announcement of the enormous loss reserve increases, the Karfunkel-Zyskind

  Family immediately pounced on the opportunity to take the Company private on the

  cheap. In fact, the same week he filed with the SEC his signed admission (approved

  by the Audit Committee) in the Company’s Form 10-Q that AmTrust’s $13.46 stock

  price at the end of 3Q 2017 was well below its fair value, Zyskind went before the

  Board to propose taking the Company private.

  V.    THE TRANSACTION WAS A PRODUCT OF AN UNFAIR PROCESS
        209. In their public filings, the Defendants have attempted to create the

  impression that an independent special committee was zealously advocating for

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  stockholders’ rights in negotiating the Transaction and that the Transaction was

  otherwise negotiated according to the dictates of Kahn v. M&F Worldwide Corp.,

  88 A.3d 635 (Del. 2014). Contrary to this impression, the process leading to the

  Transaction must be viewed against the ugly backdrop of the Defendants’ long

  record of misconduct. The committee that was formed for the stated purpose of

  negotiating on behalf of the Company’s stockholders was not independent, lacked

  necessary information, and was not empowered to seriously negotiate. It allowed

  itself to be pushed around by the Control Group to approve the transaction under

  timing constraints that were coercive, exhibiting the very “controlled mindset” of a

  fatally-conflicted and deficient special committee of the kind critiqued by the Court

  of Chancery and the Delaware Supreme Court in the Southern Peru litigation. See

  Americas Mining Corp. v. Theriault, 51 A.3d 1213 (Del. 2012). Like the committee

  there, the Take-Private Special Committee viewed its mandate narrowly and

  seriously considered only one option: endorsing the Control Group’s going-private

  transaction.

        A.       THE CONTROL GROUP TIMES ITS OFFER TO TAKE ADVANTAGE OF
                 ITS OWN MISCONDUCT
        210. The Proxy discloses that Zyskind and Stone Point initiated discussions

  regarding a going-private transaction in September 2017, but that Zyskind

  unilaterally suspended such discussions until after the Company announced its


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  disappointing third quarter 2017 financial results in early November 2017, which

  caused the stock price to plummet and created the opportunity for the Control Group

  to pursue privatization at a lower price.

        211. Defendants’ delays and manipulation of the Company’s accounting

  afforded the Control Group an opportunity to acquire the Company at a lower price

  when it finally came to light. Knowing that the market was not properly judging the

  value of the Company given the uncertainty caused by the revelation of the improper

  accounting practices they had overseen, the Control Group pounced.

        212. Specifically, on November 6, 2017, the Company announced a $327

  million loss reserve charge that resulted in a 25% stock price drop (nearly $3 per

  share on heavy trading). Only two days later, on November 8, 2017, Zyskind

  suggested to the Board that the Company should explore strategic alternatives,

  including a potential going-private transaction, and resumed communications with

  Stone Point the very next day. The Proxy does not indicate that Zyskind informed

  the Board at its November 8, 2017 meeting that he had been approached by Stone

  Point about a potential take-private transaction in September 2017.18

        213. On November 8, 2017, during an earnings call to discuss the

  Company’s third quarter financial results, both Karkowsky and Zyskind touted the


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    Despite Lead Plaintiffs’ specific request, the Company did not produce meeting
  minutes for a November 8, 2017 Board meeting as part of the 220 Documents.
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  Company’s prospects for fiscal year 2018. Indeed, Karkowsky noted that various

  actions taken by the Company in 2017 to strengthen its balance sheet “have allowed

  us to set AmTrust up for a strong and successful 2018,” and that the Company’s

  improved reserve practices “position[ed] AmTrust for much greater profitability and

  predictability in 2018.” Karkowsky noted:

        Now turning to our outlook…the takeaway is that we are carrying our
        2017 accident year loss ratio above the average loss ratios of the
        affected accident years 2012 to 2016, excluding Specialty Program.
        This gives us a high degree of confidence in our current reserve
        position, and we expect that we won’t need to provide much in the
        way of earnings adjustments going forward. We believe that the year-
        to-date adjusted underlying combined ratio of 95.5% is a better proxy
        for the likely go-forward profile of our business, allowing for a degree
        of positive or negative variance driven by marketing conditions in our
        core lines, particularly workers’ compensation, business picks by
        quarter and some seasonality. This combined ratio profile, combined
        with continued solid investment income results, will allow us to
        generate our targeted 12% to 15% operating return on equity on our
        adjusted book value and generate the consistently profitable results
        our shareholders can rely on.

        214. In slides presented during the same call, AmTrust management touted

  the Fee Business Sale (which would close at the end of February 2018, just before

  the Merger Agreement was signed), stating that the transaction “unlocks significant

  shareholder value,” and “enhances AmTrust’s balance sheet strength and financial

  flexibility.” The slides stated that the “~$950 million of gross cash proceeds” from

  the Fee Business Sale would “enhance [AmTrust’s] ability to pursue attractive

  underwriting opportunities,” enabling the Company to generate “operating ROE of

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  12-15%.” Further, the deal would be “accretive to book value and tangible book

  value by approximately $3.50 and $6.00 respectively through the gain on the

  transaction and reduction in goodwill and intangibles.”

        215. On November 9, 2017, A.M. Best announced that AmTrust was “under

  review with negative implications.” Almost four months later, just two days before

  the deal was signed, AmTrust’s management used the prospect of a downgrade by

  A.M. Best (known of since early November) to justify a dramatically depressed set

  of projections, even though, as explained further below, management knew it was

  fully within their power to cure the defects leading to A.M. Best’s concerns, and that

  a ratings downgrade was thus highly unlikely.

        216. A.M. Best indicated that the Fee Business Sale would positively affect

  its review of AmTrust. While A.M. Best was wary of the Company’s reserve charge,

  the ratings agency observed that the Fee Business Sale was “expected to significantly

  improve the equity position and balance sheet strength of [AmTrust] upon

  completion of the transaction.” A.M. Best also noted that: (1) “[t]he improvement in

  financial leverage on a total and tangible basis is projected to be significant once the

  transaction closes;” (2) “risk-adjusted capitalization…also is expected to strengthen

  materially”; and (3) “[t]he overall improvement in the holding company’s position

  upon closure of the sale will be a net positive to [AmTrust’s] ratings and those of its



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  subsidiaries.” A.M. Best further positively observed the many actions taken by the

  Company in 2017 to improve its balance sheet.

        217. A.M. Best concluded its analysis by stating that AmTrust would remain

  under review with negative implications until: (1) the Fee Business Sale closed, and

  A.M. Best assessed the transaction’s impact on risk-adjusted capital; and (2) the

  Company’s annual report on Form 10-K for fiscal year 2017 (the “2017 10-K”) was

  filed, and A.M. Best assessed the full-year reserve information contained therein.

        B.     THE SPECIAL COMMITTEE FAILS TO PROTECT THE PUBLIC
               STOCKHOLDERS OF AMTRUST

               1.    The Special Committee Is Belatedly Formed and
                     Inadequately Empowered
        218. According to the Proxy, on November 16, 2017, Zyskind discussed

  with the Board the potential association of Stone Point and the Control Group. See

  Proxy at 22. The next day, Stone Point signed a non-disclosure agreement to obtain

  access to the Company’s non-public information. Id. The Board did not form a

  special committee or delegate the approval of matters relating to the Control Group’s

  plans to take the Company private to the purportedly independent directors. While

  the Proxy claims that “Mr. Zyskind advised the Board of Stone Point’s interest in a

  potential transaction at a meeting of the Board on November 16, 2017” and that “the

  Board determined to permit Stone Point to conduct due diligence,” the November

  16, 2017 Board minutes make no reference at all to Stone Point or the Board’s

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  purported determination; rather, the November 16, 2017 Board minutes state that

  Zyskind informed the Board that “the Company had begun to receive unsolicited

  calls from potential investors,” and that “senior management was in the process of

  negotiating non-disclosure agreements with certain parties so they could commence

  due diligence and have discussions with Company management.”

        219. During the November 16, 2017 Board meeting, various alternative

  transactions were discussed, including not only a going-private transaction, but also

  “a significant investment from an unrelated third party or possibly a combination of

  a third party investor with the Karfunkel and Zyskind families participating.”

  (AFSI-220FDP_0694). Ultimately, the Special Committee was not authorized to

  consider any of these other alternative transactions. Instead, it was limited to

  considering a going-private transaction with the Control Group and their partners at

  Stone Point (with the Control Group, the “MBO Group” or “Acquiring Group”).

        220. Furthermore, the November 16, 2017 Board minutes do not identify the

  “potential investors” who had approached the Company, nor the parties with whom

  “senior management” was negotiating non-disclosure agreements. Accordingly, it

  is unclear whether the Board was ever apprised of these critical details in the first

  instance.




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        221. Nonetheless, the Proxy claims that the following day, November 17,

  2017, Stone Point entered into a confidentiality agreement with the Company and

  thereafter began conducting due diligence. Proxy at 22.19

        222. According to a research note issued by investment bank SunTrust

  Humphrey Robinson (“SunTrust”) on November 27, 2017, “[t]he [C]ompany has

  not seen any material change in the flow of new business submissions or its binding

  ratio, either of which might signal some change in appetite among brokers to work

  with AmTrust (a possibility in light of recent events).” The note also observed that

  AmTrust’s workers’ compensation lines possessed “less sensitivity around financial

  strength ratings, especially at the smaller end of the market that is AFSI’s specialty

  (where brokers have low incentive to move accounts because of the low commission

  dollars involved).”

        223. The SunTrust note also stated that AmTrust’s new capital provided it

  with profit-enhancing opportunities. Among these opportunities was the expiration

  of the Company’s reinsurance agreement with Maiden Holdings, which could

  “provid[e] the option for AmTrust to use its own capital to support premium and

  thereby drop more profit to the bottom line.”




  19
    Lead Plaintiffs specifically requested, but did not receive, this confidentiality
  agreement as part of one of the Section 220 document productions.
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        224. SunTrust observed that “[w]ith the stock trading at a meaningful

  discount to post-fee deal tangible book value, AFSI is a noteworthy value idea.”

  Indeed, SunTrust observed that “[o]n price-to-earnings, the company trades at 7.2X,

  well below its P&C industry peers . . . .” SunTrust assigned AmTrust a price target

  of $16 per share.

        225. The notion that a robust market existed for potential fundamental

  corporate transactions involving the Company is further corroborated by minutes

  from the Board’s December 21, 2017 meeting. The minutes state that Karkowsky

  noted that unidentified members of “senior management had been approached by a

  handful of interested parties considering investment in the Company or financing

  alternatives,” and that “[s]enior management had entered into non-disclosure

  agreements with several parties.”

        226. At this meeting, the Board was presented with financial projections

  prepared by the Company with the assistance of the Company’s financial advisor on

  the Fee Business Sale, Bank of America (“BOA”), which “had assisted the Company

  in preparing the financial projections.” Further, the December 21, 2017 Board

  minutes indicate that Karkowsky offered to discuss the projections at a future

  meeting.

        227. The December 21, 2017 Board minutes do not identify the “handful of

  interested parties” or describe the “investments” or “financing alternatives” these
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  parties were interested in pursuing. The December 21, 2017 Board minutes also do

  not identify the members of “senior management” who entered into the

  aforementioned non-disclosure agreements, nor the circumstances under which

  these agreements were entered. In fact, the Proxy does not reference the December

  21, 2017 Board meeting at all. There is no record that the Board was ever apprised

  of any material details regarding these alternative transactions.

        228. The Proxy claims that, on December 22, 2017, Stone Point spoke to

  unnamed “representatives of the Karfunkel-Zyskind Family” to discuss Stone

  Point’s “interest in pursuing a take-private transaction” with the Karfunkel-Zyskind

  Family and “to provide more information about Stone Point.” Proxy at 22.

               2.     Zyskind Finally Informs the Board of a Potential Take-
                      Private Transaction Involving Stone Point; In Response, the
                      Conflicted Board Forms the Conflicted Special Committee

        229. The Board met on December 27, 2017 to discuss a request from the

  MBO Group to waive Section 203 of the DGCL with respect to discussions between

  the Control Group and Stone Point regarding their designs to take the Company

  private. The December 27, 2017 Board meeting minutes mark the first time in the

  220 Documents that Stone Point was identified to the Board as one of the “potential

  investors” pursuing a potential transaction with the Company and/or the Karfunkel-

  Zyskind Family.



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        230. The December 27, 2017 Board minutes further state that Zyskind told

  the Board that he had been contacted by other unidentified parties who “inquired

  about the Company’s or the Karfunkel Family’s interest in a potential transaction.”

  However, the Board minutes reflect that Zyskind only discussed Stone Point as “he

  and the Karfunkel Family have known Stone Point for many years.” The meeting

  minutes do not reflect discussion about the other potential investors or the identities

  of such investors.

        231. At the December 27, 2017 meeting, the Board was asked to consider

  granting Stone Point a waiver under 8 Del. C. § 203 to permit Stone Point to discuss

  a joint proposal with the Karfunkel-Zyskind Family (the “Waiver”). Oddly, the

  Karfunkel-Zyskind Family’s counsel at Paul, Weiss, Rifkind, Wharton and Garrison

  LLP (“Paul Weiss”) counseled the Board on “the requirements for the Waiver.”

        232. The December 27, 2017 Board minutes further state that the Audit

  Committee—i.e., DeCarlo, Fisch and Gulkowitz—would meet later that day or the

  following morning with its counsel at Simpson, Thacher & Bartlett LLP to discuss

  the Waiver.

        233. The Board met again the next day and formed a limited special

  committee with effectively no powers other than to consider whether to grant the

  Waiver requested by the MBO Group. This committee was comprised of DeCarlo,

  Fisch, Gulkowitz and Rivera “subject to a final determination that each of them is
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  independent and disinterested.” With the exception of Rivera, these were the same

  Audit Committee members who approved the Tower Transaction. The resolutions

  also appointed DeCarlo as Chairman of the committee. As discussed further herein,

  DeCarlo, Fisch, and Gulkowitz could not act independently of the Karfunkel-

  Zyskind Family and/or one another in considering matters connected with a potential

  going-private transaction.

        234. Stone Point and the Control Group’s need for the Waiver created

  leverage for the committee. The committee could have obtained, but failed to obtain,

  concessions from Stone Point or the Control Group for the Waiver. As Institutional

  Shareholder Services, Inc. (“ISS”) would note, the “special committee would have

  been in a much stronger negotiating position had it obtained a binding commitment

  from the Karfunkel-Zyskind Family to vote in favor of a ‘superior proposal’ as a

  condition for granting the family a waiver.” Such a condition “could have led to a

  much more open process and prevented the family from potentially blocking a better

  outcome for unaffiliated shareholders.” Instead, on January 8, 2018, this limited

  special committee gifted the MBO Group the Waiver for no consideration, failing to

  use the MBO Group’s request as negotiating leverage, and gratuitously agreeing to

  waive the obligations of the non-disclosure agreement the Company had entered into

  with Stone Point. (AFSI_220FDP_0861).



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        235. The Proxy indicates that on January 8, 2018, Paul Weiss contacted

  Willkie Farr, who had been selected as the committee’s counsel on January 2, to

  request that the committee permit the Karfunkel-Zyskind Family to make a joint

  proposal with Stone Point to take AmTrust private.

        236. At a January 8, 2018 meeting of this limited special committee, it

  passed a resolution granting Stone Point and the Karfunkel-Zyskind Family the

  requests above.

        237. Minutes from the Special Committee’s January 8, 2018 meeting reflect

  that the “selection of an appropriate independent financial advisor for the Special

  Committee” was discussed. During the course of this discussion, it was noted that

  “Bank of America Corporation had … declined the potential engagement when

  previously approached.” This statement is remarkable as it demonstrates that the

  Special Committee was considering retaining a financial advisor that it knew was

  already serving as a financial advisor for AmTrust management, and that had

  existing loyalties that conflicted with the Special Committee’s interest. While Bank

  of America declined this representation, the mere fact that the Special Committee

  “approached” it demonstrates the Committee’s lack of independence from the

  Karfunkel-Zyskind Family, and also demonstrates its failure to act in the furtherance

  of the interests of minority stockholders.



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        238. The following day, on January 9, 2017, representatives of Stone Point

  and the Karfunkel-Zyskind Family met with a “ratings agency” (presumably, A.M.

  Best) and made a “confidential presentation” disclosing that the group intended to

  make an offer to take AmTrust private. The Proxy does not explain why such a

  meeting was held without the involvement or supervision of the Board or Special

  Committee and whether it was appropriate or necessary. Nor does the Proxy

  describe the nature of the confidential presentation.

        239. Also, on January 9, 2017—approximately two months after Zyskind

  notified the Board of his intent to take AmTrust private—the Karfunkel-Zyskind

  Family-dominated Board adopted resolutions formally appointing the Special

  Committee to negotiate and evaluate the imminent offer from the Acquiring Group.

  While the December 28, 2017 resolution referenced (at least perfunctorily) the

  Special Committee’s authority to explore “other strategic alternatives,” the January

  9, 2017 resolution, as described herein, made clear that the Special Committee would

  only be authorized to consider a “proposal from the Karfunkel Family or any other

  bidder affiliated or working with the Karfunkel Family.”

        240. The Special Committee’s limited authority would also come as a

  surprise to the financial advisor it would soon retain (Deutsche Bank), which

  anticipated pursuing “strategic alternatives,” including a “sale to [a] third party.”

  Pursuing such strategic alternatives would, at a minimum, have had the benefit of
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  “facilitat[ing] price discovery.” Moreover, according to Deutsche Bank, “[s]trategic

  buyers may identify potential synergies through consideration of [AmTrust]’s

  platform.” Deutsche Bank also observed that AmTrust could benefit from a strategy

  of maintaining the status quo and foregoing a transaction altogether, as the Company

  could “[b]enefit from remedial actions that are already underway.”20

        241. Moreover, the December 9, 2017, resolution made clear that it was

  “understood” that any definitive agreement it would negotiate was nonetheless

  “subject to the approval of the [Karfunkel-Zyskind Family-dominated] Board.” In

  other words, the Special Committee, from its inception, recognized that its authority

  was severely limited.

        242. The Special Committee thereafter “determined to retain Deutsche Bank

  as its financial advisor.” Remarkably, the Proxy notes that the Special Committee

  made this decision based on the perceived “absence of potential conflicts of interest

  that would prevent Deutsche Bank from acting as [an] independent financial

  advisor” even though it had not yet received a conflict disclosure letter from

  Deutsche Bank. In fact, it would be another week until Deutsche Bank would deliver



  20
    In this same presentation, Deutsche Bank identified as “considerations” weighing
  against the Merger 1) the fact that AmTrust had already “communicated to regulators
  and rating agencies that it has no near-term plans for M&A” and 2) that a merger
  process would “distract from ongoing initiatives to right-size the business and
  restore profitability.”
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  to the Special Committee a letter disclosing its relationships to the Special

  Committee’s counterparties (i.e., the Karfunkel-Zyskind Family and Stone Point).

  As discussed herein, Deutsche Bank was not independent.

        243. In the late afternoon of January 9, 2018, Stone Point and the Karfunkel-

  Zyskind Family submitted to the Board a letter proposing to acquire all of the

  outstanding shares of AmTrust common stock that the Karfunkel-Zyskind Family

  did not already own or control for $12.25 per share in cash (the “Proposal”).

        244. Stone Point and the Karfunkel-Zyskind Family attempted to design

  their Proposal to comport with M&F Worldwide, nominally conditioning the

  proposal on approval by an independent special committee and a fully informed

  majority of AmTrust’s minority stockholders. The Proposal also ominously stated:

        [T]he Family Stockholders have no interest in selling any of the shares
        of common stock of AmTrust owned or controlled by them. As such,
        the Family Stockholders would not expect, in their capacity as
        stockholders of AmTrust, to vote in favor of any alternative sale,
        merger or similar transaction involving AmTrust. If the special
        committee does not recommend, or the stockholders of AmTrust do not
        approve, the proposed transaction, the Family Stockholders currently
        intend to continue as long-term stockholders of AmTrust.

        245. The proposal made clear that the Karfunkel-Zyskind Family, as the

  controlling stockholder of AmTrust, would veto any transaction not to its liking,

  even if that alternative transaction was in the interest of AmTrust stockholders. Such

  a coercive dynamic is the ultimate “deal protection.” All parties—the Special

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  Committee, minority stockholders, the controlling stockholder, and potential

  acquirers—discern this dynamic, which would prevent any superior proposals from

  even arising.

        246. As the following slide from one of Deutsche Bank’s presentations

  makes clear, the Karfunkel-Zyskind Family and Stone Point deliberately timed their

  Proposal to coincide with the time period in which AmTrust was trading at its lowest

  price in five years:21




  21
     In the very next slide from Deutsche Bank’s presentation, displayed below, the
  false impression is given that the Special Committee succeeded in obtaining a
  revised merger price at the unique time (i.e., the “sweet spot”) in which AmTrust
  was trading above its peers. In fact, the slide, which reflects only a three month
  window that started only after the Company’s substantial stock drop, does not
  account for the several immediate preceding years in which AmTrust substantially
  outperformed its peers. This brief three-month snapshot is troubling in that it
  appears to intentionally mask the fact that AmTrust’s low stock price was
  historically uncharacteristic:
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        247. The chart also reflects that (at least compared to AmTrust) there had

  been minimal stock movement by AmTrust’s peer companies over the past several

  years (in fact, the industry peers had slightly outperformed the S&P 500). This fact

  calls into question the Special Committee’s repeated decisions (as described more

  fully infra) to request downward projections to reflect “adverse industry trends.”




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        248. The viewer of this slide should also bear in mind that only two months

  earlier—on November 9, 2017 (when Zyskind was already engaging in discussions

  to take the Company private), Zyskind assured public investors that AmTrust’s stock

  price was not indicative of the Company’s fair value.

        249. Only then, on January 9, 2018—following receipt of the proposal, two

  months after Zyskind first disclosed his interest in taking AmTrust private, and after

  squandering the opportunity to leverage the Waiver—did the Board take action to

  officially form a special committee consisting of DeCarlo, Fisch, Gulkowitz and

  Rivera (the “Special Committee”), as described above. Despite the fact that the

  Board’s resolution at its December 28, 2017 meeting expressly authorized the

  limited special committee to consider “other strategic alternatives available to the

  Company” in addition to a potential transaction with Stone Point and the Karfunkel-

  Zyskind Family, the resolution provided by the actual Special Committee and

  approved by the Board the following day on January 9, 2018 severely restricted the

  Special Committee’s authority, authorizing it only to “consider any proposal from

  the [Control Group] or any other bidder affiliated or working with the [Control

  Group] to acquire all or a material portion of the outstanding common stock of the

  Company or enter into any business combination transaction with the Company.”

  (AFSI_220FDP_1224). Neither the January 8, 2018 committee meeting minutes nor

  the Proxy identify the reasons for the Special Committee’s decision to severely
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  restrict its authority. The resolution appointed DeCarlo as chair of the Special

  Committee. On November 9, 2017, AmTrust stock opened at $11.78 and closed at

  $10.90.

        250. The four directors appointed to the Special Committee were not

  independent for purposes of satisfying the requirement that a controller’s takeout

  offer be conditioned on approval by a fully independent committee to shift the

  applicable standard of review, as alleged in detail below.

        251. The Special Committee’s mandate was extremely limited. Despite its

  original authorization to consider other strategic alternatives available to the

  Company, the Special Committee, seemingly of its own accord, was now only

  authorized to consider offers if they were made by or with the Control Group. The

  Special Committee was not authorized to consider, for example, other business

  combinations with, or investments by, third parties, despite that the Board had

  previously been informed that there existed third parties interested in pursuing a

  strategic transaction with the Company.

        252. In connection with these discussions, on January 9, 2018, Stone Point

  and the Karfunkel-Zyskind Family—i.e., Zyskind, G. Karfunkel and L. Karfunkel—

  entered into a joint bidding agreement (the “JBA”). Notably, the exclusivity

  provisions of the JBA precluded the parties from working with any other person or

  entity, which like the Special Committee’s choked mandate, served to effectively
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  foreclose the Company from pursuing alternative transactions. Indeed, Section 5 of

  the JBA provides that:

        No Party shall negotiate or initiate or continue discussions with (a) any
        other person or entity or otherwise solicit, encourage (including by
        providing any information to), or enter into any agreement (written or
        oral) with, any other person or entity relating to the acquisition of all or
        any material part of AmTrust, its subsidiaries or any material portion of
        the AmTrust and its subsidiaries’ assets[.]

        253. On January 9, 2018, the Special Committee determined to engage

  Deutsche Bank as its financial advisor. According to the Proxy, the Special

  Committee approved the retention of Deutsche Bank “approximately one week”

  before purportedly receiving a disclosure letter from Deutsche Bank describing the

  relationships between Deutsche Bank, on the one hand, and the Company, Stone

  Point, and the Karfunkel-Zyskind Family, on the other. Proxy at 24.22

        254. The Proxy states that “[i]n the late afternoon of January 9, 2018,” id.,

  the MBO Group submitted a letter to the Board containing the Initial Proposal to

  take AmTrust private at $12.25 per share (the “Proposal Letter”). The Proposal

  Letter contemplated a merger of AmTrust with a wholly-owned subsidiary of an

  acquisition vehicle formed by the MBO Group. The Proposal Letter also assumed

  that the proposed transaction would include the roll-over of shares held by the


  22
     The Proxy does not disclose the contents of the Disclosure Letter, and the
  Company did not produce the Disclosure Letter as part of the 220 Documents despite
  Plaintiffs’ specific request.
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  Karfunkel-Zyskind Family, including those shares acquired in the Private

  Placement, as well as an additional cash contribution by the Karfunkel-Zyskind

  Family into the acquisition vehicle.

         255. Later that evening of January 9, 2018, the Board met to discuss

  proposed Special Committee resolutions setting forth the Special Committee’s

  powers and mandate. Despite the Proxy’s assertion that the Proposal Letter was

  submitted to the Board earlier that day, the minutes from this meeting make no

  reference to the Initial Proposal or the Proposal Letter. Instead, the minutes merely

  state that the purpose of the meeting was to adopt the proposed Special Committee

  resolutions. At the conclusion of the meeting, the full Board approved the proposed

  Special Committee resolutions.

         256. The following day, on January 10, 2017, the Board’s receipt of the

  Proposal was disclosed to the public. Stone Point and the Karfunkel-Zyskind Family

  announced that their going private Proposal would allow “Amtrust to focus on the

  long term without the emphasis on short-term results,” which was consistent with

  management’s statement that the fair value of AmTrust common stock was not

  reflected in its trading price.

         257. In the wake of this news, an analyst from SunTrust Robinson

  Humphrey Inc. (“SunTrust”) identified a price target of $16.00 for AmTrust. The

  analyst also included the following Industry Valuation Comparison, which
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  demonstrates that AmTrust’s price/earning ratio (“P/E Ratio”) and price-to-book

  ratio (“P/B Ratio”) were far below the P/E Ratio and P/B Ratio for comparable

  companies, and absent some compelling reason why AmTrust’s fundamentals were

  significantly inferior to the comparable companies,23 suggests that the market was

  significantly undervaluing AmTrust’s stock:




  SunTrust Robinson Humphrey Inc., Management-Led Takeout Proposed (Jan. 9,

  2018).

        258. As described herein, Deutsche Bank, the Special Committee’s financial

  advisor, made similar findings with respect to AmTrust and its peers.




  23
    Deutsche Bank’s benchmarking analysis indicates that, if anything, AmTrust’s
  fundamentals were in line, or better, than the comparable companies.
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        259. Similarly, on January 12, 2018, when AmTrust stock was trading at

  $12.55, Compass Point Research & Trading, LLC (“Compass Point”) identified a

  price target of $15.00, noting that “the decision to take AFSI private leads us to the

  assumption that short-term headlines may create more headaches for management,

  but long-term, the upside is obviously higher. Otherwise it is unlikely private equity

  firm Stone Point Capital (with many investments in the insurance space) would have

  teamed up with AFSI family insiders to take the company private.” Compass Point

  Research & Trading, LLC, Market Assumes Offer Could Rise…But By How Much?

  (Jan. 12, 2018).

        260. In fact, the modus operandi of most private equity firms—and Stone

  Point is no exception—is to identify companies they perceive to be undervalued, and

  acquire them through taking advantage of market timing, which Stone Point and the

  Karfunkel-Zyskind Family were able to do here, but without the inconvenient

  possibility of having to compete with other potential bidders.

        261. Compass Point noted that a higher offer of $13.50 (the consideration

  ultimately reflected in the initial Merger Price) “still represents more than 40%

  upside to Stone Point and the investor group,” observing that several large

  transactions by AmTrust in 2017 had “strengthened [the Company’s] capital

  position” and that AmTrust “maintains a competitive advantage on the expense side

  of their operations within the small commercial Workers Comp business through
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  their IT platform, as well as being a leader in the Warranty business,” which

  Compass Point identified as “long term upsides,” given its belief that the market for

  both Workers Comp and warranty products would be expanding.

               3.    The Special Committee Was Conflicted
        262. The four directors appointed to the Special Committee were not

  independent. Thus, for that reason alone, the Defendants must bear the burden to

  prove that the Transaction was entirely fair to AmTrust’s public stockholders.

        263. First, DeCarlo appears to make his livelihood serving companies

  affiliated with the Control Group. DeCarlo has served as a close associate and

  trusted advisor of M. Karfunkel and Zyskind for nearly 20 years—dating back to

  before they had even entered the insurance industry. DeCarlo recently testified that

  Zyskind and M. Karfunkel had personally appointed him to upwards of 20 boards of

  directors and that he has never voted against a related-party transaction involving

  the Karfunkel-Zyskind Family.

        264. Further, discovery in the Cambridge Derivative Action has established

  that DeCarlo, Gulkowitz, and Fisch—a majority of the Special Committee—are

  fundamentally incapable of exercising appropriate independent judgement in the

  context of conflicted transactions involving members of the Karfunkel-Zyskind

  Family. As described at length above, the Tower Transaction was riddled with

  conflicts, and yet DeCarlo and Gulkowitz to this day insist that neither M. Karfunkel,

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  nor G. Karfunkel, nor Zyskind ever harbored any conflict of interest in connection

  with the Tower Transaction. DeCarlo, moreover, voiced a fundamentally distorted

  view of the nature of conflicts of interest. He testified that, essentially, there can be

  no conflict in a transaction if the transaction appears to be a good deal for the

  Company—even if the only person telling you it is a good deal is conflicted.

        265. In addition to his role in facilitating misconduct by the Control Group

  at AmTrust, he has served as a director of NGHC, which is another Karfunkel

  creation and continues to be operated as another branch of the Karfunkel Family of

  companies, currently by its CEO, Barry Karfunkel. DeCarlo has served as a director

  of NGHC since its founding and he serves on the boards of three other NGHC

  subsidiaries by virtue of his relationship with the Karfunkels: National Health

  Insurance Company, Imperial Fire and Casualty Insurance Company and Century-

  National Insurance Company. DeCarlo is also a director of “several of [AmTrust’s]

  subsidiaries.” In 2017, DeCarlo earned a total of $318,086 from his service on the

  AmTrust Board and another $118,395 from his NGHC board service.                       As

  acknowledged by the Court, the transactions at issue in the Cambridge Derivative

  Action involved DeCarlo taking part in transactions involving “obvious conflicts of

  interest.” DeCarlo is not independent of the Control Group.

        266. Moreover, DeCarlo is named as a Defendant and faces a substantial

  likelihood of liability in both the Cambridge Derivative Action and Accounting
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  Derivative Action. Therefore, he sought to personally benefit from the Transaction

  by attempting to deprive the Plaintiffs in those derivative actions of standing to

  continue prosecuting those actions.     This conflict was partially recognized by

  AmTrust and DeCarlo as he “recused himself from all discussions and decisions

  made by the Special Committee in respect of the Cambridge Derivative Action.”

  Proxy at 31. However, this was woefully insufficient as he participated in all

  deliberations that did not directly reference the Cambridge Derivative Action,

  despite the fact that those deliberations, and ultimately his approval of the

  Transaction, resulted in his receipt of unique benefits through the dismissal of those

  derivative actions.

        267. Second, Gulkowitz served as a director on the Company’s Board since

  2006 and was also a director of several AmTrust subsidiaries. The Karfunkel-

  Zyskind Family, through the Hod Foundation (which they control), owns a 10%

  interest in a fund managed by Brookville, the firm founded by Gulkowtiz and of

  which he remains a partner. Gulkowitz also served on the advisory board of

  Gryphon Investors when its portfolio company, Orchid Underwriters, entered into a

  partnership with a subsidiary of NGHC.

        268. Gulkowitz has significant ties to Deutsche Bank and its affiliates.

  Gulkowitz previously served as a Senior Managing Director and member of the

  partners’ management group at Bankers Trust, an investment bank, before it was
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  acquired by Deutsche Bank in 1999. Following the acquisition, Gulkowitz remained

  at Deutsche Bank, where he served as Chief Global Strategist for Corporate Finance.

  Gulkowitz’s prior affiliations with Deutsche Bank AG raise serious questions as to

  whether he could act impartially and independently when selecting the Special

  Committee’s financial advisor. Neither the Proxy nor the 220 Documents indicate

  that Gulkowitz’s affiliations with Deutsche Bank were disclosed to the Special

  Committee.

        269. Moreover, Gulkowitz is named as a Defendant and faces a substantial

  likelihood of liability in both the Derivative Actions. Therefore, he sought to

  personally benefit from the Transaction by attempting to deprive the Plaintiffs in

  those derivative actions of standing to continue prosecuting those actions.

        270. Third, Fisch served as a director on the Company’s Board since 2010,

  as well as a director of at least 20 of AmTrust’s subsidiaries. Based on public

  disclosures by AmTrust and her deposition testimony in the Cambridge Derivative

  Action, a material portion of Fisch’s annual income is derived from these director

  fees. In addition, Fisch has long-standing ties to Zyskind during her time at Willis,

  and owes her current directorships at AmTrust and its subsidiaries to Zyskind. Fisch

  was not independent of the Control Group. Further, Fisch testified in the Cambridge

  Derivative Action that she has voted on approximately 20-30 related-party

  transactions involving the Karfunkel-Zyskind Family and has never voted against
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  any such transaction. Nor was she aware of any other Board member having ever

  voted against any such transaction.

        271. Furthermore, neither DeCarlo nor Gulkowitz testified that Fisch ever

  raised concerns regarding any conflict of interest despite the web of such conflicts.

  Before approving the Tower Transaction, Fisch, like DeCarlo and Gulkowitz, never

  identified any conflict of interest, never considered alternatives, never considered

  hiring outside advisors, did not ask for more time, and was content to rely solely on

  a presentation by the conflicted Zyskind. Moreover, Fisch is named as a Defendant

  and faces a substantial likelihood of liability in both the Derivative Actions.

  Therefore, she sought to personally benefit from the Transaction by attempting to

  deprive Plaintiffs in those derivative actions of standing to continue prosecuting

  those actions.

        272. Moreover, Fisch is named as a Defendant and faces a substantial

  likelihood of liability in both of the Derivative Actions. Therefore, she personally

  benefits from the consummation of the Transaction if the Plaintiffs in those

  derivative actions lose standing to continue prosecuting those actions.24




  24
    The final member of the Special Committee, Defendant Rivera, is also named as
  a Defendant and faces a substantial likelihood of liability in the Accounting
  Derivative Action. Therefore, he too personally benefits from the consummation of
  the Transaction if the Plaintiffs in that action lose standing to prosecute the same.
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        273. Further, each of DeCarlo, Fisch, and Gulkowitz were incapable of

  independently and disinterestedly valuing the Derivative Claims. Each was a

  defendant in the Derivative Actions and each faces a substantial likelihood of

  liability for breaches of fiduciary duty in their own right. Indeed, DeCarlo—the

  Chairman of the Special Committee—effectively admitted as much when he

  belatedly recused himself from “all discussions and decisions made by the Special

  Committee in respect of the Cambridge Litigation.” While the January 8, 2018

  Special Committee meeting minutes indicate that the Special Committee determined

  that each individual was independent with respect to a potential transaction proposal

  submitted by the Karfunkel-Zyskind Family and Stone Point, the Special Committee

  failed to consider the obvious and disabling conflicts of DeCarlo, Fisch, Gulkowitz

  as defendants in the Cambridge Derivative Action. In its resolutions forming the

  Special Committee, the Board resolved to compensate the members of the Special

  Committee (a) $20,000 per month up to the time a definitive proxy or offer to

  purchase was mailed, (b) thereafter, $10,000 per month until closing, and (c) $1,000

  per hour in connection with time spent “in connection with any dispute, litigation,

  claim, proceeding or obligation” arising out of a transaction. Knowing that this

  transaction, which was the result of an improper process and was riddled with

  conflicts, would be the subject of litigation, the Board ensured that the Special

  Committee would be further enriched to the tune of $1,000 per hour in connection
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  with the litigation and would actually have an incentive to approve a transaction that

  resulted in litigation.

         274. The result of these conflicts was an unfair process (and unfair price)

  where the Special Committee acted like a controlled board and did everything it

  could to justify bowing to the Control Group’s wishes, including repeated downward

  revisions to the Company’s projections.

                4.     Given Its Capture by The Karfunkel-Zyskind Family, the
                       Special Committee Unsurprisingly Ignores Its
                       Informational Vacuum to Justify the Transaction and
                       Blesses the Unfair Transaction
         275. According to the 220 Documents, the projections provided to the Board

  at its December 21, 2017 meeting represented Company’s management’s best

  estimates as to the Company’s future performance and which were a product of the

  Company’s ordinary course planning and were provided to potential suitors,

  including Stone Point, interested in pursuing a potential transaction with the Control

  Group (the “Ordinary Course Projections”). Once the Control Group obtained a

  strategic partner in Stone Point, these projections would be repeatedly pushed

  downward over the course of the “negotiations” that followed the Initial Proposal to

  help justify the preordained endorsement of the MBO Group’s proposal.

         276. According to the Proxy and 220 Documents, the Company’s

  management, together with BOA, created the Ordinary Course Projections during


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  the Company’s annual budgeting process. In fact, the financial planning process had

  been redesigned to be even more robust after the current CFO took office in mid-

  2017. The individual business units provided their expertise on the budgets and

  projections pertaining to their units, which were then rolled up into a consolidated

  set of projections.   This process was subject to several layers of review and

  approvals, culminating in a meeting of business executives in November and specific

  approval by Karkowsky and Defendant Zyskind. These projections were then

  “accelerated and finalized” on December 20, 2017 with the help of BOA, the

  Company’s financial advisor on the Fee Business Sale, “in light of the discussions

  with potentially interested parties,” and were subsequently shared with Stone Point

  and others. Despite this rigorous process of constructing and validating the Ordinary

  Course Projections, once the process of selling the Company to the Control Group

  began in earnest, the Special Committee and management determined to set aside

  the Ordinary Course Projections and instead rely on newly created projections that

  were crafted to justify the Transaction.

        277. The Proxy claims that the Special Committee met on January 16, 2018

  to discuss, among other things, the Initial Proposal and the Ordinary Course

  Projections. Proxy at 27-28. With regard to the Ordinary Course Projections, the

  Proxy states that:



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        After discussion, the Special Committee determined that the Budget
        Projections were no longer current, and that updated projections from
        Company management would be necessary because, among other
        things, the Budget Projections were prepared before the enactment of
        the Tax Cuts and Jobs Act of 2017 and did not take into account
        subsequent transactions involving the Company or the Company’s
        latest expectations regarding operating results for the fourth quarter of
        2017 and the full year 2017.

  Id. The minutes from the January 16, 2018 telephonic Special Committee meeting,

  however, do not evidence any such discussions or determinations.

        278. The Proxy indicates that Deutsche Bank and BOA met with Zyskind’s

  right-hand associate, Karkowsky, on January 23, 2018 to conduct a due diligence

  overview of AmTrust. Proxy at 28. In connection with the Special Committee’s

  purported determination that the Ordinary Course Projections were outdated, the

  Proxy states that:

        Mr. Karkowsky orally provided representatives of Deutsche Bank and
        representatives of [BOA] with Company management’s current
        estimates of the future operating and financial performance of the
        Company, and advised that management’s assumptions upon which the
        Budget Projections were based, had changed as a result of
        developments in the fourth quarter of 2017 that were not contemplated
        in the preparation of the Budget Projections.

  Id.   Thereafter, the Proxy indicates that Karkowsky agreed that AmTrust

  management would provide updated projections “to reflect those items not

  contemplated in preparation of the Budget Projections.” Id.




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        279. According to the Proxy, the following day, January 24, 2018, AmTrust

  management provided the Special Committee and Deutsche Bank with Company

  management’s updated financial projections, which were downwardly adjusted from

  the Ordinary Course Projections (the “Case 1 Projections”). Proxy at 28.

        280. On January 29, 2018, the Special Committee met telephonically with

  Deutsche Bank and Willkie Farr to request yet another set of downwardly-adjusted

  projections. Specifically, the Proxy states that the Special Committee and Deutsche

  Bank “noted that the Case 1 Projections were inconsistent with financial analysts’

  consensus estimates for the Company and the Company’s peer group,” and “did not

  appear to reflect certain adverse industry trends and Company issues discussed with

  the Company management at a January 23, 2018 Audit Committee meeting.”25

        281. The Proxy further claims that DeCarlo and representatives of Deutsche

  Bank spoke again with Karkowsky the following day, January 30, 2018, about the

  Case 1 Projections. Proxy at 29. Apparently after realizing the Case 1 Projections

  would still not justify the unfairly low price sought by the MBO Group, Defendant

  DeCarlo specifically requested revised financial performance projections reflecting



  25
     Curiously, the January 29, 2018 Special Committee meeting minutes do not
  evidence any such discussions or conclusions. And, despite Plaintiffs’ specific
  request, the Company did not produce the January 23, 2018 Audit Committee
  meeting minutes as part of the 220 Documents. The Proxy does not disclose any
  further information about this meeting.
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  both negative industry trends and negative operational and reputational issues

  specific to the Company. Purportedly, DeCarlo “noted the Special Committee’s

  discussions regarding whether the Case 1 Projections were inconsistent with adverse

  industry trends and recent issues at the Company discussed during the January 23,

  2018 Audit Committee meeting,”26 and “requested, on behalf of the Special

  Committee, that Company management prepare an alternate case of financial

  projections to reflect such trends and issues.” Id. DeCarlo’s request—which is not

  referenced in Special Committee meeting minutes—marked the second time in two

  weeks that the Special Committee sought downwardly-adjusted projections from the

  Company. The Special Committee was purportedly formed to advance the interests

  of AmTrust’s public stockholders. Accordingly, it should have been focused on

  securing the highest possible take-out price. Instead, it appears that the Special

  Committee acted to drive down the take-out price by proactively rejecting

  management’s projections as too high and seeking downwardly revised projections.

  Simply put, the Special Committee was effectively negotiating against the interests

  of the stockholders it was supposed to be representing—something that would be

  inexplicable but for the Special Committee members’ conflicts of interest.



  26
    Plaintiff specifically asked that the Company provide the meeting minutes from
  the January 23, 2018 Audit Committee meeting; however, the Company did not
  produce the minutes as part of the 220 Documents.
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        282. The following day, January 31, 2018, AmTrust management responded

  to the Special Committee’s request for downwardly-revised projections by providing

  the Special Committee and Deutsche Bank with a new set of projections (the “Case

  2 Projections”). The Proxy claims that the Case 2 Projections “reflect[ed] a more

  challenging operating environment[,] reputational and business pressures faced by

  the Company, slower growth, more conservative projected underwriting

  assumptions reflecting recent loss reserve activity and a more conservative balance

  sheet in light of the rating agency placing the Company under review with negative

  implications.” Proxy at 29.

              5.     Zyskind and AmTrust Management Manipulate the Special
                     Committee’s Valuation Through Threats of a Ratings
                     Downgrade
        283. On February 1, 2018, the Special Committee and Deutsche Bank held

  a telephonic meeting and were joined by “Company management”—namely,

  Zyskind, Karkowsky and Deputy CFO Zachary Wolf (Karkowsky’s right-hand

  associate in connection with the negotiation of the Tower Transaction)—to discuss

  the Case 1 Projections and Case 2 Projections. According to the meeting minutes,

  the discussion concerned, among other things, the background of the preparation of

  the Case 1 Projections and Case 2 Projections, bases, models and assumptions used

  in these projections, the status of the Company’s reserves, and the status of the

  Company’s relationship with reinsurers, regulators and rating agencies.

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         284. The Special Committee met in person on February 5, 2018. At this

  meeting, Deutsche Bank presented its preliminary financial analyses utilizing the

  Case 1 Projections and Case 2 Projections, the latter of which contained significant

  downward adjustments purportedly predicated on “the rating agency placing the

  Company under review with negative implications.” At the February 5, 2018

  meeting, Deutsche Bank also discussed the status of the Company’s fourth quarter

  2017 financial results, as well as the anticipated timing of the audit by KPMG,

  AmTrust’s auditor.

         285. The Special Committee met telephonically on February 7, 2018.

  According to the Proxy, after noting a purported lack of “‘in-bound’ inquiries from

  third parties related to a potential alternative acquisition or other strategic transaction

  proposals” (which the Special Committee was not authorized to consider anyway)

  and, previously, the Karfunkel-Zyskind Family’s unwillingness to sell its shares in

  connection with a third-party transaction, the Special Committee directed Deutsche

  Bank to provide Stone Point and the Karfunkel-Zyskind Family with a

  counterproposal of $17.50 per share. Proxy at 30.

         286. The Proxy states that, on February 8, 2018, Deutsche Bank

  communicated the $17.50 per share counterproposal and “reviewed certain valuation

  analyses” supporting this proposal. Proxy at 30. Notably, the $17.50 per share

  counterproposal was predicated on a discount dividend model contained in the Case
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  1 Projections that was actually upwardly adjusted from the relevant figures

  contained in Deutsche Bank’s February 5, 2018 preliminary presentation.

         287. The Special Committee met telephonically later that day on February

  8, 2018. While the Proxy states that the Special Committee “directed” Deutsche

  Bank to meet with representatives of Stone Point and the Karfunkel-Zyskind Family

  to further discuss the counterproposal, Proxy at 30, the minutes from the Special

  Committee’s meeting indicate that Deutsche Bank informed the Special Committee

  that it was already “in the process of scheduling a follow-up meeting” with Stone

  Point and the Karfunkel-Zyskind Family.

         288. The Proxy states that, on February 11, 2018, Deutsche Bank met with

  representatives of Stone Point, the Karfunkel-Zyskind Family, and BOA. The Proxy

  further indicates that Karkowsky also attended this meeting and provided an

  “update…on the Company’s anticipated 2017 fourth quarter and full year 2017

  financial results.” Proxy at 30. The Proxy does not disclose the substance of what

  Karkowsky conveyed at this meeting. Although not disclosed in the Proxy, the

  minutes from a Special Committee meeting held later that day indicate that Deutsche

  Bank’s discussion with Karkowksy also included “recent correspondence between

  the [SEC] and the Company,” and “preliminary reports on the 2018 Q1 financial

  results.”



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        289. Three days later, on February 14, 2018, the Special Committee held a

  meeting with “certain representatives of Stone Point and the Karfunkel-Zyskind

  Family,” as well as Karkowsky and representatives of BOA, to discuss the Special

  Committee’s counterproposal. The meeting minutes indicate that the meeting was

  called at the request of the Karfunkel-Zyskind Family and Stone Point. According

  to the minutes, James Carey (“Carey”) of Stone Point explained “Stone Point’s

  position in respect of the [potential going-private transaction], including Stone

  Point’s views on the Company’s financial position and the effect that the [going

  private transaction] could have on the Company’s rating by A.M. Best Company.”

  Meanwhile, Zyskind “explained the Karfunkel-Zyskind Family’s view on the

  [potential going-private transaction],” and Karkowsky provided an update on “the

  status of the 2017 Q4 financial statements and when they would be available.” While

  not reflected in the meeting minutes, the Proxy nevertheless indicates that Stone

  Point and the Karfunkel-Zyskind Family expressed their intent to submit a revised

  proposal within the range of $12.85 to $12.90 per share. Proxy at 31.27

        290. According to the Proxy, sometime prior to February 16, 2018, the

  Special Committee requested that “Company management provide a determination


  27
    A Deutsche Bank presentation dated February 26, 2018 indicates that the “Buyer
  Group increase[d] offer to $12.90” on February 15, 2018, but neither the Proxy nor
  220 Documents evidence that the Special Committee was apprised of this offer or
  discussed it during its meetings.
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  as to which financial projections represented management’s best current estimates

  of the future financial performance of the Company”—that is, the Case 1 Projections

  or the Case 2 Projections. Proxy at 31. The Proxy states that, in response to this

  inquiry, “management” informed the Special Committee on February 16, 2018 that

  “in light of developments that had become apparent since the Case 1 Projections

  were prepared,” the more extreme Case 2 Projections were a better estimate of the

  Company’s expected financial performance. Id.

        291. The only relevant “development” that occurred between the preparation

  of the Case 1 and Case 2 Projections was that, on February 14, 2018, the MBO

  Group indicated that they would reject the Special Committee’s counterproposal and

  revert with an offer of $12.85–12.90 per share.

        292. The Proxy indicates that on February 18, 2018, the Special Committee

  met with “Company management” to further discuss the latter’s view on the Case 2

  Projections. The Special Committee specifically inquired as to “what the impact

  would be on the Case 2 Projections if the Company’s insurance company

  subsidiaries’ ratings were downgraded to below an ‘A’ and/or the Company’s 2017

  year-end results when finalized were worse than Company’s management’s current

  expectations regarding such results[.]” Proxy at 31.     According to the Proxy,

  Karkowsky stated that the Company’s projections would be revised lower from the



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  Case 2 Projections.28 Id. At the direction of the Special Committee, AmTrust’s

  management then prepared yet another set of financial projections (the “Special

  Committee Case Projections”) with still more aggressive negative assumptions

  concerning loss ratios, net investment yield, capital return, and anticipated premium

  growth. Proxy at 32.

        293. The same day it was provided with the Special Committee Case

  Projections, the Special Committee delivered a revised counteroffer of $15.10 per

  share to the MBO Group, despite receiving no formal rejection of the $17.50 per

  share counteroffer, see Proxy at 32, but rather a shakedown from the Karfunkel-

  Zyskind Family, Stone Point, and Karkowsky at the February 14, 2018 Special

  Committee meeting. See Proxy at 30-32. The MBO Group rejected the $15.10 per

  share counteroffer on February 23, by countering at $13 per share. Proxy at 32. The

  MBO Group also rejected the inclusion of a “go shop” period, during which the

  Company would have been permitted to solicit potential acquirers, and of a voting

  agreement requiring the Control Group to vote in favor of any superior proposal

  from a third party. Proxy at 33.

        294. After discussing the events of February 21, 2018, the Proxy indicates

  that, “over the next several days,” the Special Committee, Deutsche Bank and


  28
    The Company did not produce any minutes from a February 18, 2018 Special
  Committee meeting in the 220 Productions.
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  Willkie Farr met with the “Company’s management” to discuss the delay in the

  filing of the 2017 10-K and “the Company’s discussions with the rating agency”—

  presumably, A.M. Best. Proxy at 31. During these discussions, the Proxy states that

  “Company management indicated that, given the status of the year-end audit

  process,” it was possible that the Company would not meet the March 1, 2018

  deadline by which to timely file its 2017 10-K, but that it expected to make said

  filing by March 16, 2018, the new deadline if AmTrust sought an extension under

  Rule 12b-25 of the Exchange Act (“Rule 12b-25”). Id.

        295. The February 25, 2018 Special Committee meeting minutes further

  state that the Special Committee discussed outstanding issues in the draft merger

  agreement and that the Special Committee directed Deutsche Bank to request that

  the Company provide it with 1) the current draft of the 2017 10-K; 2) a draft of the

  Company’s Q4 2017 financial statements; and 3) yet another set of downwardly-

  adjusted financial projections based on the scenario that the Company’s rating was

  downgraded by A.M. Best (the “Downside Projections”). The real design of the

  Downside Projections was to make the Special Committee Case Projections look

  more reasonable than they actually were.

        296. According to a Deutsche Bank presentation dated February 26, 2018,

  the Downside Projections specifically “reflect[ed] consequences of a delayed 10-[K]

  filing and a potential ratings downgrade by A.M. Best[.]” This was a farce. The
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  Special Committee knew that A.M. Best had only put the Company’s rating under

  review until it filed its full year 2017 results and completed the Fee Business Sale.

  Moreover, the Special Committee knew that the Fee Business Sale would be

  consummated by the end of February 2018 and the Company would file its 2017 10-

  K after a brief fifteen-day extension. If it had simply waited for these events to

  happen, the market would have likely rewarded AmTrust with a higher stock price.

  Thus, it appears the Special Committee manufactured illusory negative factors to,

  once again, drive down the Company’s projections so that it could reach a deal with

  the Control Group before the market could begin rewarding AmTrust for its

  turnaround.

        297. While not mentioned in the Proxy, the February 25, 2018 Special

  Committee meeting minutes indicate that the Special Committee contemplated

  Deutsche Bank’s placement of outbound calls to third parties for purposes of

  gauging market interest in a transaction with the Company. The Proxy and 220

  Documents, however, do not evidence that Deutsche Bank ever took any such action.

        298. According to the Proxy, on February 26, 2018, the Special Committee

  participated in a teleconference with “the Company’s management” in order “to

  receive an update on Company management’s anticipated timing of the filing of the

  2017 10-K and the Company’s discussions with the ratings agency.” Proxy at 33.



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  The minutes from a 5:00 p.m. meeting of the Special Committee29 that day indicate

  that the teleconference participants included, among others, (1) Zyskind; (2)

  Karkowsky; (3) Robert Giammarco (“Giammarco”) of BOA; and (4) the Karfunkel-

  Zyskind Family’s counsel at Paul Weiss.

        299. The Proxy states that “[o]n the call, Mr. Karkowsky indicated that the

  Company would not be filing the 2017 Form 10-K by March 1, 2018, but that

  Company management currently expected to file the 2017 10-K within the 15-day

  grace period available under the SEC’s rules but there was no certainty that the

  Company would be able to do so.” Proxy at 33. The minutes from the 5:00 p.m.

  meeting, do not, however, reflect that Karkowsky communicated such information

  to the Special Committee at this meeting.

        300. Moreover, while the Proxy states that “Mr. Karkowsky also advised the

  Special Committee that management had informed the ratings agency about the

  delay in the filing of the 2017 10-K,” Proxy at 33, the minutes from the 5:00 p.m.

  Special Committee meeting reveal that Karkowsky and Carey of Stone Point

  participated in this meeting with A.M. Best. The minutes from the meeting also do

  not reflect that Karkowsky advised the Special Committee of his discussions with


  29
     While not referenced in the Proxy, the 220 Documents indicate that the Special
  Committee actually met at 11:00 a.m. The minutes from the 11:00 a.m. meeting
  merely state that its purpose was to discuss the Transaction and provide no
  information regarding the substance of this meeting.
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  A.M. Best about the delay in the filing of the 2017 10-K. Indeed, the minutes

  vaguely state that Karkowsky “summarized” the call with A.M. Best, “during which

  the representatives of AM Best informed the Company that AM Best was ‘going to

  committee to consider ratings action’ on the Company.” Neither the Proxy nor the

  220 Documents evidence that the Special Committee or any of its advisors contacted

  A.M. Best to verify such information.

        301. Furthermore, according to the Proxy, this marked the second time that

  the Karfunkel-Zyskind Family and Stone Point met with a ratings agency. The

  Proxy indicates that on January 9, 2018, certain unidentified “representatives of

  Stone Point and the Karfunkel-Zyskind Family” attended a meeting with a “ratings

  agency”—again, presumably A.M. Best—at which time they made a “confidential

  presentation” advising the agency that they were considering a potential going-

  private transaction with the Company. Proxy at 24. Neither the Proxy nor the 220

  Documents provide any additional information regarding this meeting. By all

  measures, Stone Point and the Karfunkel-Zyskind Family were heavily involved in

  and influenced the Company’s interaction with A.M. Best.

        302. The meeting minutes further indicate that Zyskind, Karkowsky,

  Giammarco and Givertz left the call and the Special Committee then proceeded to

  discuss the Special Committee Projections with Deutsche Bank. The presentation

  prepared by Deutsche Bank for that meeting reflect that, in addition to the draft of
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  the 2017 10-K, fourth quarter financial statements, and Downside Projections, the

  Special Committee and/or its advisors purportedly requested a “back-up plan” and

  the “presentation/ talking points in the A.M. Best discussion on Feb 26th, 2018[.]”

  The Special Committee then determined to make a counter-offer of $14.00 per share.

        303. The Proxy suggests that, sometime after the 5:00 p.m. Special

  Committee meeting but before its next meeting at 9:45 p.m. that night, Deutsche

  Bank communicated the $14.00 per share offer to Zyskind. See Proxy at 33.

        304. The Proxy further indicates that, “in order to induce Stone Point [] to

  support a transaction at a higher price,” the Karfunkel-Zyskind Family agreed to a

  deal modification, including an agreement to cause the Company to pay Stone Point

  a transaction fee of $15.0 million if the Transaction was consummated. Proxy at 33.

  The Proxy indicates that Stone Point and the Karfunkel-Zyskind Family agreed to a

  “best and final” offer of $13.50 per share. See id. As later events revealed, this was

  merely bluster that the Special Committee accepted.

        305. While the Proxy claims that Zyskind relayed the $13.50 offer to the

  Special Committee and that the committee met on the “evening” of February 26,

  2018 to discuss the offer, the minutes from the 9:45 p.m. February 26, 2018 Special

  Committee meeting merely indicate that “Mr. Stynes [of Deutsche Bank] provided

  the Special Committee with an overview of the call with Barry Zyskind and his

  feedback to the Special Committee’s counteroffer proposal” of $14.00 per share.
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        306. The Proxy also states that at a February 26, 2018 Special Committee

  meeting, the committee “resolved to approve and adopt the Special Committee Case

  Projections,” and directed Deutsche Bank to use these projections in its financial

  analysis. Proxy at 34. The meeting minutes, however, do not reflect any such

  resolution. Rather, the minutes indicate that the Special Committee was still without

  several critical pieces of information at this time including, among other things, an

  updated draft of the 2017 10-K and a draft of the Company’s financial statements

  for the fourth quarter of 2017.

        307. The 220 Documents evidence that the Special Committee met twice

  telephonically on the following day, February 27, 2018. According to the 220

  Documents, the Special Committee met first at 11 a.m. and “discussed their ongoing

  review of the financial projections modeled by the Company and the potential need

  for additional information from the Company.” Neither the Proxy nor the meeting

  minutes identify the potential “additional information” that was needed from the

  Company at this time, nor whether it was received.

        308. The 220 Documents further evidence that the Special Committee met

  telephonically later that day on February 27, 2018 at 9:15 p.m. to discuss the

  “Revised Merger Agreement” including with respect to the “termination rights,

  termination fee and expense reimbursements” sought by Stone Point and the

  Karfunkel-Zyskind Family.
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           309. The Proxy claims that, on February 27 and 28, 2018, Willkie Farr and

  Skadden negotiated the terms of the merger. One of the remaining terms subject to

  negotiation was a provision relating to termination rights proposed by Stone Point

  and the Karfunkel-Zyskind Family that would be triggered in the event that: (1) any

  of the Company’s insurance subsidiaries is downgraded below “A”; and (2) the

  Company failed to file the 2017 10-K by a specified date following the 15-day grace

  period offered under Rule 12b-25. Thus, while Zyskind was pressuring the Special

  Committee to strike a deal to stave off a purported looming ratings downgrade, he

  was simultaneously negotiating a way to get out of the deal in the event a ratings

  downgrade occurred and would not be required to pay any termination fee in such

  event.

           310. Throughout the entire process of negotiating the Transaction, the

  Special Committee lacked current financial information about AmTrust, which

  makes its decision to revise the projections all the more inexplicable. It was not until

  February 25—just days before completing negotiations—that the Special

  Committee finally resolved to ask the Company’s management for the current draft

  of the Company’s Form 10-K. The Special Committee apparently did not receive a

  draft of the Form 10-K until February 27, one day before it approved the Transaction.

  According to a presentation provided by Deutsche Bank in connection with a

  February 28, 2018 Special Committee meeting, while February 28, 2018 marked the
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  “target transaction signing date,” the Special Committee was still awaiting the

  receipt of “updated consolidated financials.”

        311. Without accurate current financial information, the Special Committee

  lacked the most fundamental information necessary to engage in negotiations to sell

  the Company. This is all the more true given that the counterparty with which the

  Special Committee was supposed to be negotiating consisted of insiders who would

  have superior knowledge even if the Special Committee had accurate financial

  statements.

        312. Again, the Special Committee could have waited for this information

  before agreeing to sell the Company. But the members of the Special Committee

  had an interest in finalizing a sale of the Company and operated under the influence

  of members of the Control Group. Accordingly, they willingly acceded to the

  artificial time constraints imposed by the Control Group.

        313. Further, even if the Special Committee were independent—and it was

  not—the Special Committee’s informational vaccum rendered it fundamentally

  incapable of carrying out its duties to effectively represent AmTrust’s minority

  stockholders. The Special Committee acted in bad faith by failing to act in the face

  of its known duty to apprise itself of all relevant financial information and allowing

  the Control Group to rush it into a transaction before the Company’s financial

  statements were current.
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        314. At 3:30 p.m. on February 28, 2018, the Special Committee met with

  Willkie Farr and Deutsche Bank. At the meeting, Deutsche Bank provided its views

  on the potential transaction. While Deutsche Bank’s fairness presentation claims

  that the Special Committee received “the latest draft of the 10-K” on February 27,

  2017, the presentation and 220 Documents do not evidence that the Company

  provided to the Special Committee the “updated consolidated financials” or any of

  the other information requested by the Special Committee such as the talking points

  from the February 26, 2018 A.M. Best presentation or the “back-up plan.” According

  to the 220 Documents, this presentation also marked the first time that the Special

  Committee was apprised of the $13.50 per share offer.

        315. At 5:00 p.m., AmTrust issued a press release announcing the

  consummation of the Fee Business Sale. In the press release, Zyskind stated that the

  close of the Fee Business Sale “mark[ed] a significant milestone in our efforts to

  unlock value and build a stronger capital base for AmTrust, while positioning both

  AmTrust and the U.S. fee companies for continued, profitable growth[.]”

        316. At 9:00 p.m. that day, the Special Committee met again telephonically

  with Deutsche Bank and Willkie Farr. The Proxy claims that the Special Committee

  discussed the “risks and consequences of rejecting” the proposed transaction. The

  Proxy further indicates that Deutsche Bank approved the $13.50 per share

  counteroffer provided by Stone Point and the Karfunkel-Zyskind Family.
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        317. At the conclusion of the meeting, the Special Committee purportedly

  approved resolutions recommending that the Board adopt draft resolutions

  approving the Transaction at a price of $13.50 per share. The 220 Documents,

  however, do not evidence an executed version of these resolutions.

        318. Sometime after the 9:00 p.m. Special Committee meeting, the Board

  executed resolutions approving the Transaction.

        319. The Proxy claims that shortly after midnight on the morning of March

  1, 2018, the parties executed and delivered the merger agreement governing the

  Transaction (the “Take-Private Merger Agreement” or “Merger Agreement”).

  Proxy at 35.

        320. The $13.50 per share consideration represented an increase of only

  $1.25 from the price offered in the Acquiring Group’s $12.25 proposal. As the

  below chart from Deutsche Bank’s analysis demonstrates, the Special Committee

  obtained only 3 price “bumps” from the Acquiring Group during its short tenure:




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        321. Later on March 1, 2018, AmTrust issued a press release announcing it

  had entered into the Take-Private Merger Agreement. In the press release, Zyskind

  was quoted as saying: “I believe that this transaction represents an exciting step

  forward for AmTrust, our employees, and the agents, brokers, partners, and

  customers we serve. As a private enterprise, we will be able to focus on long-term

  decisions, without the emphasis on short-term results.”

        322. Also on March 1, 2018, the Company filed a Form NT 10-K with the

  SEC disclosing that AmTrust was seeking relief under Rule 12b-25. The Form NT
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  10-K discloses that “additional time is needed for the [Company] to complete its

  consolidated financial statements for the fiscal year ended December 31, 2017, and

  as a consequence, for [KPMG] to complete its audit procedures and audit of the

  consolidated financial statements included in the Form 10-K.”30

        323. Two weeks later, on March 16, 2018, AmTrust filed the 2017 10-K

  within the extension period provided by Rule 12b-25, which was signed by Zyskind,

  Karkowsky, and each of the Special Committee members, among others. The 2017

  10-K reiterated AmTrust’s “overall financial objective” of “produc[ing] a return on

  equity of 12.0% - 15.0% over the long term.”

        324. The 2017 10-K also reemphasized the notion that 2017 was an outlier

  in terms of the Company’s financial performance. Indeed, the 2017 10-K stated that

  “[a]lthough we did not achieve our key growth and profitability measures for the

  year ended December 31, 2017, we do not consider this to be a trend,” and attributed

  this negative performance to various unique events, such as “catastrophe losses in

  our Small Commercial Business segment from Hurricanes Harvey, Irma and Maria

  and the earthquake in Mexico, prior period adverse reserve development in all of our

  segments and higher professional service fees.” The 10-K assured investors that


  30
     Shortly after the Company’s announcement that it had entered into the Take-
  Private Merger Agreement, on March 5, 2018, Lead Plaintiffs separately issued 220
  demands to inspect certain books and records of the Company in connection with
  the Private Transaction.
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  “[m]anagement believes that significant progress has been made in enhancing

  internal control over financial reporting through the period ended December 31,

  2017.” In other words, management was representing that it was addressing the risks

  that gave rise to the shareholder litigation commenced in 2017.

               6.     The Special Committee and Company Hire Conflicted
                      Advisors

                      a.    Deutsche Bank’s Conflicts
        325. The Special Committee’s financial advisor, which issued a fairness

  opinion endorsing the Transaction, was conflicted.         The Proxy disclosed that

  Deutsche Bank and its affiliates provided services to Stone Point and its affiliates

  and the Company itself (meaning its management led by the Control Group). In the

  preceding two years, Deutsche Bank had earned $9.7 million from services provided

  to Stone Point and its affiliates and $1.4 million from services provided to AmTrust

  and its affiliates. Deutsche Bank was incentivized to provide a fairness opinion

  blessing the Transaction so that it could continue to earn fees from Stone Point and

  the Control Group in the future. Furthermore, $6.5 million of its $8.5 million fee

  was contingent on the consummation of the Transaction, thus giving it a further

  incentive to provide its blessing to the Transaction regardless of its merits.

        326. While the full extent of Deutsche Bank’s conflicts is unknown at this

  time, several connections between Stone Point and Deutsche Bank raise serious


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  questions as to whether Deutsche Bank was independent from Stone Point. For

  example, Stone Point’s CEO Charles Davis is a member of the Advisory Board of

  Deutsche Bank and earns $100,000 per year from that service. Prior to Stone Point,

  Davis was a partner at Goldman, Sachs & Co., where he spent 23 years. One of

  Deutsche Bank’s lead bankers advising on the Transaction, Celeste Guth, is a

  Managing Director and Co-Head of the Global Financial Institutions Group at

  Deutsche Bank. From 1986 to 2015, Guth worked at Goldman Sachs. According

  to a May 23, 2018 Icahn presentation filed with the SEC, during her tenure at

  Goldman Sachs, Guth worked directly for Charles Davis. Icahn also stated that he

  believed that “other of [Guth’s] colleagues at Goldman during this time period

  included Stephen Friedman and Nicolas Zerbib, both of whom sit with Chuck Davis

  on Stone Point’s investment committee.”

        327. Furthermore, Deutsche Bank has a long history of advising AmTrust

  and NGHC. By way of example, the LinkedIn profile for Meir Lewis, a member of

  the Deutsche Bank team that advised the Special Committee, lists several notable

  transactions involving AmTrust and NGHC, including:

             “Acquisition of Direct General by National General (Jun ’16)”

             “Sale of U.S. Specialty Homeowners business by QBE to National
              General (Sep ’15)”

             “Follow-on equity offering for National General (Mar ’15)”

          “Follow-on equity offering for AmTrust (Jan ’15, Nov ’15)”
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        328. Notably, the presentation materials provided by Deutsche Bank in

  connection with its January 4, 2018 meeting with the Special Committee do not

  identify Lewis’ involvement in the NGHC-Direct General transaction, nor do the

  Proxy or the 220 Documents evidence that this transaction was otherwise disclosed

  to the Special Committee.

        329. Given Deutsche Bank’s numerous ties to Stone Point and the other

  members of the Control Group, it is doubtful that Deutsche Bank could have

  recommended against this Transaction.

                    b.     BOA’s Conflicts
        330. The Company’s retention of BOA also created conflicts. As

  acknowledged in the Proxy, BOA had a pecuniary interest in the Transaction and the

  private entity contemplated by the Transaction. Indeed, the Proxy admits that “an

  affiliate of [BOA]…engaged in preliminary discussions with the Karfunkel-Zyskind

  Family about providing debt financing in connection with the [Transaction],” and

  that “the Company and Stone Point have asked [BOA] to participate in a new credit

  facility that the Company may enter into at the closing of the [Transaction], the

  proceeds of which [BOA] understands will be used, among other things, to refinance

  the Company’s convertible notes.” Proxy at 57-58.




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        331. Finally, the Company’s financial advisor, BOA, has longstanding and

  strong ties to Stone Point and the Karfunkel-Zyskind Family. For example, the Proxy

  discloses that:

        The senior member of the [BOA] deal team advising the Company in
        connection with the [Transaction] (who we refer to in this section of the
        proxy statement as the “[BOA] Representative”) has also participated
        in coverage activities and the provision of services with respect to
        [BOA’s] relationship with Stone Point and affiliates and investees of
        the Karfunkel-Zyskind Family. The [BOA] Representative has had an
        ongoing relationship with Stone Point and its senior principals over
        many years and has also served as the relationship manager with respect
        to [BOA’s] relationship with Stone Point. In addition to participating
        on [BOA] deal teams advising Stone Point in connection with
        transactions by its portfolio companies, he has also advised other parties
        in connection with their transactions with Stone Point and its portfolio
        companies. In addition, the spouse of the [BOA] Representative serves
        as a principal of Stone Point. The [BOA] Representative introduced
        Stone Point to the Company as a potential transaction counterparty in
        connection with the Fee Business sale process.31

        332. While the Proxy claims that the relationships described in the foregoing

  paragraph were disclosed to the Board and the Special Committee, there are a

  number of relationships involving BOA and its affiliates which the Proxy suggests

  were not disclosed to the Special Committee. Those relationships involving BOA

  include, but are not limited to:

              With regard to AmTrust, (i) acting as financial advisor to the Company
               in connection with mergers and acquisitions (including the Fee

  31
    Proxy at 59. Upon information and belief, the “[BOA] Representative” is
  Giammarco and the “spouse of the [BOA] Representative” is Jacqueline M.
  Giammarco, a Principal and Chief Compliance Officer at Stone Point.
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                 Business Sale), (ii) having acted or acting as a lender to the Company,
                 (iii) having provided or providing certain distressed and mortgage
                 trading services to the Company, and (iv) having provided or providing
                 certain treasury and management services and products to the
                 Company.

                With regard to the Karfunkel-Zyskind Family, (i) having acted as a
                 bookrunner on certain offerings of senior notes and preference shares
                 by Maiden Holdings, (ii) currently acting (including certain senior
                 members of the deal team advising the Company in connection with the
                 [Transaction]) as a financial advisor to the board of directors of Maiden
                 Holdings in evaluating strategic alternatives, (iii) having acted or acting
                 as a lender to Maiden Holdings; and (iv) having provided or providing
                 certain treasury and management services to, another of the Karfunkel-
                 Zyskind Family’s affiliates.

                With regard to Stone Point, (i) having acted as financial advisor to
                 Stone Point and certain of its affiliates and portfolio companies in
                 connection with certain mergers and acquisitions, (ii) having acted or
                 acting as administrative agent, collateral gent, arranger, bookrunner
                 and/or lender for Stone Point and certain of its affiliates and portfolio
                 companies, (iii) having acted or acting as underwriter, initial purchaser
                 and placement agent for various equity and debt offerings undertaken
                 by Stone Point and its affiliates, (iv) having provided or providing
                 certain foreign exchange and mortgage trading services to the Stone
                 Point and its affiliates and (v) having provided or providing certain
                 treasury and trade services and products to Stone Point and certain of
                 its affiliates and portfolio companies. 32

           333. The structure of BOA’s compensation in connection with the

  Transaction created a further conflict. The entirety of BOA’s aggregate $10 million

  fee was contingent upon completion of the Transaction. Thus, even putting aside its

  deep connections to the Karfunkel-Zyskind Family and Stone Point, BOA was



  32
       See Proxy at 58-59.
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  financially incentivized to steer negotiations towards consummation of the

  Transaction.

  VI.   THE UNFAIR PROCESS YIELDED AN UNFAIR PRICE
        334. The MBO Group’s initial purchase price of just $13.50 per share was

  unfair to the Company’s minority stockholders and provoked widespread

  stockholder opposition. It represented a clear attempt to take AmTrust private at an

  unfair price. The Icahn bump to $14.75 per share did not result in a fair price. It

  was merely enough to satisfy Icahn and enough other short term holders, many of

  whom likely entered their investments after the announcement of the initial proposal,

  to support the deal.33 As described herein, the Company’s stock price was artificially

  depressed prior to the Transaction’s announcement due to uncertainty created by the

  Company’s disclosures regarding material weaknesses in its financial reporting, its

  loss reserves, and the restatement of its financials.

        335. The buyout price was announced in the immediate wake of troubling

  disclosures, locking in a rough price “ceiling” of $13.50 per share for AmTrust stock

  before the market could adequately evaluate the Company’s prospects based on

  further financial reporting and the closing of the Fee Business Sale, which would



  33
    Icahn had his own investment and tactical reasons to negotiate a quick settlement
  in consideration for a $1.25 price bump. In less than one month, Icahn’s investment
  in 18.4 million AmTrust shares netted him approximately $23 million in profits.
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  have removed the overhang caused by the A.M. Best ratings review. Defendants’

  own statements belie that the price could have been fair. The ceiling likely would

  have held if not for vigorous public outcry against the unfairness of the $13.50 per

  share price.

        336. In the November 6, 2017 press release announcing a large reserve

  charge, Zyskind continued to emphasize the Company’s financial stability and long-

  term growth prospects. Specifically, Zyskind observed that “[w]ith this reserving

  action and the transactions we have announced earlier this year and today, we have

  transformed the Company’s balance sheet and established the strongest capital

  profile in AmTrust’s history….With our large capital base and disciplined

  underwriting approach, we are well positioned to continue to be a leading provider

  of small commercial business insurance and warranty coverage globally.”

  Meanwhile, Karkowsky noted that “[e]ven after recognizing the prior year

  development, primarily in accident years 2013 through 2016, our overall

  underwriting business was profitable.”

        337. Later on November 6, 2017, the Company issued a second press release

  announcing that the Company found a partner for the Fee Business Sale in MDP. In

  connection with the Fee Business Sale, AmTrust agreed to transfer a 51% interest in

  certain U.S.-based fee businesses to MDP in a transaction valued at $1.15 billion. In

  return, AmTrust received gross cash proceeds of $950 million and retained a 49%
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  equity interest in the business. According to the November 6, 2017 press release

  regarding the Fee Business Sale, the transaction was approved by the Board and

  expected to close in the first half of 2018. BOA served as AmTrust’s financial

  advisor in connection with the Fee Business Sale.

        338. Zyskind also touted the Fee Business Sale. Among other things,

  Zyskind stated that “[t]he transaction…aligns with our recent initiatives to further

  strengthen our balance sheet and simplify our organization, and provides us with

  capital to support AmTrust’s meaningful organic growth opportunities.”

        339. Defendant Zyskind himself stated that the decline in AmTrust’s share

  price as of November 2017 was “relatively short-term in nature” and “not

  indicative of an actual decline in our fair value or our reporting units’ fair value.”

  Specifically, Zyskind signed AmTrust’s Form 10-Q for the third quarter of 2017,

  dated November 9, 2017, which stated as follows:

        Based on the consideration of all available evidence, including analysis
        of quantitative and qualitative factors, we believe the share price
        decline in the nine months of 2017 is relatively short-term in nature
        and is primarily related to the restatement of prior period results and
        associated material weaknesses disclosed in our Annual Report on
        Form 10-K for the year ended December 31, 2016, and is not
        indicative of an actual decline in our fair value or our reporting units’
        fair value.

        340. Indeed, just one month earlier, on October 6, 2017, AmTrust’s common

  stock had traded as high as $14.35 per share—$0.85 per share above the initial deal


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  price—and just three months earlier, on August 3, 2017, it had traded as high as

  $16.21 per share—$2.71 per share above the initial deal price. And as recently as

  February 2017, AmTrust’s common stock traded above $27 per share—more than

  twice the initial buyout price of $13.50 per share. The proposed $13.50 takeout price

  was 62.0 percent below the company's all-time high closing price and 41.7 percent

  below the company's highest closing price in the 52 weeks before the deal was

  announced.

        341. Based on AmTrust’s purported December 31, 2017 book value of

  $16.23—as calculated by the Special Committee’s financial advisor, Deutsche

  Bank—AmTrust’s predicted generation of 12-15% operating ROE would imply

  operating earnings per share of $1.95 to $2.44.

        342. In spite of this, even the most optimistic projections used by the Special

  Committee—the “Case 1 Projections”—showed the Company’s operating earnings

  per share failing to reach even the low end of this range until 2021. For comparison,

  the various sets of projections used by the Special Committee are listed below:

                           Operating Earnings Per Share
                                      2018     2019     2020          2021      2022


   Special Committee Case                0.87       .98      1.25     1.52      1.88
   Case 1                                1.21       1.44     1.71     1.98      2.28
   Case 2                                0.87       0.94     1.05     1.18      1.31
   Downside Case                         0.21       -0.13    0.23     0.48      0.69

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        343. As such, it appears that AmTrust management created unrealistically

  negative projections once it realized that its goal was to take the Company private

  on the cheap—only to revise those projections downward even further to help justify

  accepting the meager offer from the MBO Group.

        344. Further, the projections used by the Special Committee and by

  Deutsche Bank were based on the assumption that AmTrust’s best days are over,

  and that the Company will continue to dramatically lag its peer companies in the

  coming years. However, the buyout price does not account even for the possibility

  of improvement, which was already occurring as exhibited by the Fee Business Sale,

  thus allowing insiders—who have greater knowledge of the Company’s true

  financial picture and prospects—to capture all of the returns from any improvement

  in performance after they take the Company private.

        345. The creation of the absurdly pessimistic “Downside Projections” in

  particular had no purpose other than to make the Special Committee Case

  Projections appear more reasonable and thus to make the MBO Group’s unfair offer

  look more attractive. Specifically, the Downside Projections were based on the

  possibility of a ratings downgrade by A.M. Best. But by February 27, 2018, when

  these “downside” projections were first presented to the Special Committee,

  management already knew that A.M. Best would likely not downgrade AmTrust’s

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  ratings further. Specifically, AmTrust management knew that the reason A.M. Best

  was considering further ratings action on AmTrust was the late filing of its 10-K.

  But AmTrust management also knew that the Company would soon file its Form 10-

  K and thus that an A.M. Best ratings downgrade was highly unlikely. Indeed, the

  same day the Merger Agreement was signed, March 1, 2018, AmTrust filed a Form

  NT 10-K stating that AmTrust was merely seeking a fifteen-day extension to file its

  Form 10-K. AmTrust then abided by this extension, filing its Form 10-K on March

  16, 2018.    Thus, the “Ratings Downgrade Case” has never been a realistic

  possibility, but rather has been used as a boogeyman to scare the Company’s

  minority stockholders into accepting an unfair price.

        346. Indeed, as ISS—which initially opposed the Transaction—noted, while

  the Board’s interest in pursuing a sale of the Company at such a low price “implies

  that the company’s problems would be long lasting,” in reality “the publicly

  available information paints a less dire picture of the company’s prospects.”

  Importantly, ISS noted, “the board did not conclude that the near-term prospects

  appeared dim and thus the best solution was to sell the company; its decision to begin

  the sale process was in response to an inquiry from a potential buyer after AmTrust’s

  stock had fallen sharply.” And because the MBO Group includes the CEO, ISS

  asked: “if he is willing to buy at this price, does that not imply that the company’s

  challenges are not so severe?”
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        347. ISS further noted that the Company itself stated, in its 2017 Form 10-

  K, that “[m]anagement believes that significant progress has been made in enhancing

  internal control over financial reporting.” ISS also noted that even the Special

  Committee’s unduly negative projections show the Company’s diluted operating

  earnings per share rising 44% between 2018 and 2020.

        348. Ironically, the Company’s downwardly-manipulated projections were

  not enough on their own to justify a low deal price. Deutsche Bank was also forced

  to rely on an unrealistically high cost of equity in order to justify their low valuation

  of AmTrust. Specifically, Deutsche Bank used a Cost of Equity/Discount Rate range

  of 12-16% to justify the buyout price of $13.50 per share. In order to derive this

  discount rate, Deutsche Bank created a range of equity risk premiums with

  AmTrust’s company-specific risk premium on one end and a peer-company risk

  premium on the other. However, Delaware courts have expressed strong preference

  for the use of supply-side equity risk premiums.34 Using a supply-side equity risk

  premium results in a substantially lower cost of equity range of 10%-12%. Relying

  on the same Special Committee Case Projections used by Deutsche Bank, and


  34
     See, e.g., In re Orchard Enterprises, Inc., No. CIV.A. 5713-CS, 2012 WL
  2923305, at *19 (Del. Ch. July 18, 2012), judgment entered sub nom. In re Appraisal
  of the Orchard Enterprises, Inc. (Del. Ch. July 26, 2012), and aff’d sub
  nom. Orchard Enterprises, Inc. v. Merlin Partners LP, No. 470, 2012, 2013 WL
  1282001 (Del. Mar. 28, 2013) (recognizing the Chancery Court’s “default
  acceptance of the supply-side equity risk premium.”).
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  keeping all other assumptions the same as they were in Deutsche Bank’s analysis

  (including using the same artificially low perpetuity growth rate of 1.5%), this cost

  of equity range implies a per-share valuation of $15.09–$18.75 (with a midpoint of

  $16.72), i.e. anywhere from 11.7% to 38.8% higher than the buyout price.

        349. There are further reasons to question Deutsche Bank’s analysis.

  Among other things, Deutsche Bank’s analysis is filled with inappropriate

  adjustments and assumptions that are driven by (1) AmTrust’s currently depressed

  market price (which is more of a reflection of investor mistrust of Company

  management than it is of the underlying profitability of the Company), and (2) the

  many events which made 2017 an atypical year for AmTrust, such as its abnormally

  high reserve charges and the catastrophic losses incurred in the third quarter of 2017.

        350. Deutsche Bank’s multiples analysis is also flawed. In conducting this

  analysis, Deutsche Bank inappropriately “discounts” median P/E multiples by 57%

  and 36%, and transforms what would be genuine “comps” into essentially

  “AmTrust” driven estimates (driven primarily by recent AmTrust pricing). Said

  differently, the two price-to-earnings approaches that Deutsche Bank presents are

  really just one approach after this non-standard discounting. Deutsche Bank also

  inappropriately applies these “discounts” to its calculation of price-to-book-value

  and price-to-tangible-book-value calculations.



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        351. In addition, Deutsche Bank’s analysis incorrectly assumes that

  AmTrust’s anomalous 2017 year is indicative of future performance during the

  projection period, which results in a gross undervaluation of AmTrust. As AmTrust

  acknowledged in its 2017 10-K, the conditions driving the Company’s 2017

  financial performance are not expected to continue going-forward. Deutsche Bank

  knew or should have known of this information and advised the Special Committee

  to accord little weight to the anomalous events of 2017 when conducting its

  valuation. Deutsche Bank, however, appears to have done the opposite and instead

  advised the Special Committee to consider conditions in 2017 to be typical for

  AmTrust going forward.

        352. Deutsche Bank also conducted a flawed dividend discount analysis that

  undervalued AmTrust. For example, Deutsche Bank’s assumption that AmTrust will

  continue with its current market value to debt ratio significantly impacts all the

  implied valuation ranges. The assumption is entirely inappropriate on several levels,

  is grossly inflated from AmTrust’s capital structure pre-2017, and is grossly inflated

  relative to AmTrust’s peers. Indeed, the abnormally high market value to debt ratio

  is driven primarily by the current depressed AmTrust pricing. The use of this

  inappropriate assumption generates significant upward bias in the cost of equity and,

  as a result, downward bias in all the calculated valuation ranges.



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        353. Moreoever, as ISS pointed out, Deutsche Bank improperly compared

  the Merger to 15 buyouts of “stressed” property and casualty insurers, even though

  “AmTrust’s fundamental appear to be improving, which may make comparisons to

  ‘stressed’ situations not that relevant.”

        354. In addition, Deutsche Bank’s treatment of stock repurchases appears to

  fail to account for the additional value that investors will receive, aside from

  dividends.

        355. Specifically, in a financial supplement dated January 24, 2018, BOA,

  AmTrust’s financial advisor, provided the Company with updated financial

  projections. Those projections were thereafter forwarded to the Special Committee.

  As described in the Proxy:

        On January 24, 2018, Company management provided the Special
        Committee and representatives of Deutsche Bank with Company
        management’s updated estimates of the future financial performance of
        the Company (the “Case 1 Projections”), reflecting certain adjustments
        to the Budget Projections as a result of the Tax Cuts and Jobs Act of
        2017, recent transactions involving the Company, and updated
        estimates of the Company’s operating results for the fourth quarter of
        2017 and the full year 2017.

        356. For clarity and for completeness, AmTrust’s Summary Financial

  Projections of the Case 1 projections from the financial supplement are displayed

  herein:




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        357.   The particular line item at issue is the one marked “share repurchases”

  which reflects that the Company projected share repurchases in the terminal years

  of 2020, 2021, and 2022 of $43.1, $70.1, and $101.1 million.

        358. It is remarkable that management could issue projections reflecting

  future share repurchases, which are invariably dependent on the trading price of the

  common stock, without also predicting AmTrust’s trading prices during those

  anticipated future repurchases. The basis for these projected share repurchases was

  not disclosed to stockholders.

        359. Crucially, the Special Committee and Deutsche Bank failed to consider

  these share repurchases. Rather, Deutsche Bank’s analysis in its Case 1 projections,

  relied on the “dividends” line item, but did not include the projected share

  repurchases. Analytically, the monetary effect on a company’s decision to issue

  dividends is the same as its decision to repurchase stock. Cash available for share

  repurchases is the same as cash available for dividends. Yet the repurchases were

  not treated the same as dividends. The failure to account for share buybacks in the

  terminal years had a significant decreasing impact on AmTrust’s implied fair value.

        360. The share repurchases were deliberately placed by management and

  BOA into a separate line item for the Case 1 projections.         And the Special

  Committee’s and Deutsche Bank’s analysis, which minimized the importance of the



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  projected share repurchases, had the effect of manipulating downward the dividend

  discount model for the Case 1 projections.

        361. Correction of these flaws alone indicates that AmTrust common stock

  is worth significantly more than the Transaction consideration, even without

  including the hundreds of millions of dollars of value attributable to the Derivative

  Claims.

        362. Finally, the Transaction undervalued the Company because it fails to

  properly account for the value of derivative claims brought on the Company’s

  behalf. Specifically, while the Special Committee assigned a low value to the

  Cambridge Derivative Claims, they failed to assign any value to the Accounting

  Derivative Action.

        363. In sum, the MBO Group used unrealistically negative projections and

  assumptions to justify their unfairly low buyout price, taking advantage of their

  insider knowledge of AmTrust’s true prospects while relying on excessive

  pessimism to scare the Company’s public stockholders into accepting far less than

  fair value for their shares.

        A.     AMTRUST’S STOCKHOLDERS AND MARKET COMMENTATORS AGREE
               THE INITIAL PRICE WAS UNFAIR

        364. Major AmTrust stockholders including Carl Icahn, who held more than

  9.3% of the Company’s outstanding shares, came out emphatically against the


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  buyout, and Icahn solicited proxies to oppose the deal. In a press release dated May

  17, 2018, Icahn emphasized that the deal was “blatantly taking advantage” of

  minority stockholders, and that it clearly “undervalues” the Company. Icahn also

  criticized Defendants for creating a “stealth” record date (discussed further herein),

  which disenfranchised minority stockholders and which made a “sham” of Delaware

  law, and which had the effect of depriving Defendants’ of any “business judgment

  treatement” in connection with the Merger. Public stockholders apparently agreed

  that $13.50 was less than the value of the stock, as on the day that Icahn publicly

  filed his letter to the Board with the SEC, AmTrust’s stock traded above $13.50

  throughout the day, rising as high as $14.00 and closing at $13.76.




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         365. On May 23, 2018, Icahn’s investment firm, Icahn Capital, L.P. (“Icahn

  Capital”), filed a Form DFAN14A incorporating a slide presentation that laid out

  Icahn’s case for why the Transaction grossly undervalued AmTrust. First, Icahn

  noted that AmTrust’s stock was under “heavy pressure” at the time the Transaction

  was announced, due to a rapid series of negative disclosures:




         366. However, in spite of these “challenges,” Icahn Capital pointed out,

  AmTrust’s Combined Ratio35 was in line with its peers, and was far ahead of its

  peers in annual growth. Moreover, AmTrust had maintained a steady level of total

  reserves to total capital, similar to that of its peers:



  35
    The combined ratio is equal to loss and loss adjustment expenses plus acquisition
  costs and other underwriting expenses divided by net earned premiums.
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        367. As such, Icahn Capital concluded that the main reason that AmTrust’s

  common stock had traded at a discount compared to its peers was that “investors

  haven’t wanted to own the company believing that a transaction like the proposed

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  going private could occur, particularly given the historical disregard the

  Karfunkel/Zyskinds have demonstrated toward public shareholders.”

        368. Nonetheless, Icahn Capital showed management’s own claim that the

  Company expected a future return on operating equity of 12–15% implied a

  valuation significantly higher than $13.50 per share based on the Company’s book

  value per share as of March 31, 2018:




        369. Moreover, Icahn Capital showed (building on Deutsche Bank’s own

  analysis of return on equity compared with price/book value per share) that AmTrust

  should trade at 1.8x-2.2x book value (implying a price of $26.06 to $31.86 per share)

  based on the March 31, 2018 book value of $14.48 per share. Icahn Capital

  illustrated this through a graph based on Deutsche Bank’s own graph in its February


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  28, 2018 presentation to the Special Committee, modified to reflect management’s

  statements about projected return on equity:




        370. Icahn Capital also pointed out certain of the serious errors in the

  Deutsche Bank Fairness Opinion relied on by the Special Committee, which in turn

  improperly lowered Deutsche Bank’s valuation of the Company. For example,

  Deutsche Bank “uses a flawed concept where they look at the one and five year

  discount of AmTrust’s Price to Earnings multiple vs. its peer group,” which

  Deutsche Bank then applies “to the peers[’] current trading multiple to derive a per

  share value for AmTrust.” This method is fatally flawed, however, because (1) “five

  years (and certainly one year) is not long enough to cover the entire insurance cycle,”

  and (2) 2017 was a disastrous and admittedly transitional year for the company,”

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  meaning that its one-year and five-year P/E multiples are unusually low compared

  to peers and not representative of the true value and prospects of the Company.

        371. In sum, Icahn Capital emphasized that it was “strongly against the

  transaction at the rock bottom price of $13.50 per share.”

        372. Days after Icahn announced his opposition to the deal, Plaintiff Arca—

  which owned 2.4% of the Company’s outstanding shares—publicly expressed its

  agreement with Icahn that the initial Transaction dramatically undervalued the

  Company in a press release, which read, in relevant part:

        PRAGUE, May 21, 2018 /PRNewswire/ -- Arca Capital, one of the
        largest shareholders of AmTrust Financial Services, Inc., plans to work
        with Carl Icahn and other minority shareholders in opposing the
        proposed privatization transaction.

                                     *     *      *

        Arca Capital has long held the view that AmTrust Financial Services
        is a fundamentally strong business and has questioned the
        justification for its decline of over 50% since January 2017. During
        that 15 month period, the stock has declined from over $27 per share to
        under $13 per share amidst no significant changes to the business.
        While ordinary shareholders have lost retirement and college
        funds, Barry Zyskind and his in-laws are now trying to privatize the
        firm at what Arca believes is an absurdly low valuation.

        Arca Capital, which owns approximately 2.4% of outstanding shares of
        AmTrust Financial, has led an advocacy campaign since March of
        2018, when the privatization plan was announced, on behalf of ordinary
        investors to oppose the transaction. The campaign has involved
        creating an organization, ProtectAmTrustInvestors.org, meeting with
        relevant influencers, advertising, and even conducting demonstrations
        of angry shareholders and allies outside of AmTrust Headquarters. The

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        purpose of this campaign has always been to build a strong coalition to
        oppose privatization. Arca is continuing to meet with other minority
        shareholders to bolster this coalition. Arca has led the way in
        demanding transparency and reform at AmTrust through its numerous
        demands for documents from management to assess if the decline in
        share price may have been due to purposeful manipulations pushed
        by Barry Zyskind.

        “AmTrust Financial is a fundamentally strong company but actions
        by Mr. Zyskind and his allies have undermined it. Whether or not
        these actions were purposeful, the result was a significant stock
        devaluation that hurt ordinary investors but allowed the prospect of a
        cheap sale to the very same Barry Zyskind. At very minimum,
        AmTrust management took advantage of the uncertainty in the
        company's situation and the unfavourable market conditions to
        attempt to take AmTrust private on the cheap,” said Pavol Krúpa,
        Chairman of Arca Capital.

        373. Several days later, Plaintiff Arca urged its fellow stockholders to reject

  the Transaction and reiterated that “AmTrust is a fundamentally strong company that

  we believe is on the cusp of a major rebound in share price.”

        374. On May 25, 2018, ISS issued its greatly anticipated report on the

  Merger, which criticized the Special Committee’s “less-than-robust sale process,”

  and which concluded that “a standalone scenario seems to be a preferable alternative

  to the currently proposed transaction” and, accordingly, “a vote AGAINST the

  merger is warranted.” ISS suggested a valuation range between $14.35 and $20.82

  per share.

        375. Among many other things, ISS questioned the Special Committee’s

  independence, observing that its leader, Defendant DeCarlo, “has served since 2006

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  as an AmTrust director and since 2010 as a director of [NGHC], an insurance

  company where Zyskind has been a director since 2013 and whose CEO is Barry

  Karfunkel, [Barry] Zyskind’s brother-in-law.”        ISS also noted that “[a]nother

  concerning item is the long gap between when Stone Point approached

  Chairman/CEO Barry Zyskind with its offer to jointly bid for the company and when

  Zyskind informed directors.” All told, “[t]he board appears not to have prepared for

  the possibility that its management would be involved in purchasing the company”

  and that “[o]ne result of that lack of preparation was that after the special committee

  was formed, it did not formally engage a financial advisor for three weeks, during

  which the buyer group made its initial offer for the company.”

        376. ISS also took issue with the Proxy’s suggestion that AmTrust’s growth

  was slowing down:

        However, the publicly available information paints a less dire picture
        of the company’s prospects. It’s important to recall that the board did
        not conclude that near-term prospects appeared dim and thus the best
        solution was to sell the company; its decision to begin the sale process
        was in response to an inquiry from a potential buyer after AmTrust’s
        stock had fallen sharply. The buyer group eventually included the
        company’s CEO, who would appear to know the company as well as
        anyone; if he is willing to buy at this price, does that not imply that the
        company’s challenges are not so severe?

        377. Accordingly, and consistent with analyst observations—as well as

  Zyskind’s own acknowledgment that AmTrust’s stock price was “not indicative” of

  the Company’s “fair value”—it was clear that the Karfunkel-Zyskind Family and
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  Stone Point took advantage of the 2017 market-overreaction, and would acquire

  AmTrust at a considerable discount, at the expense of AmTrust’s minority

  stockholders.

        378. Even after Icahn’s involvement and intense opposition to the Merger,

  there is no indication that the Special Committee reconsidered its decision to

  recommend the Merger Agreement. Indeed, the Proxy notes that in the week

  following ISS’s May 25, 2018 recommendation against the Merger, the Special

  Committee “met with representatives of the Company’s largest stockholders [not

  including Arca] to solicit their support for the merger and also met with

  representatives of the proxy advisory firms to seek such firms’ endorsement of the

  merger.”

        B.    THE SPECIAL COMMITTEE FAILED TO ADEQUATELY VALUE THE
              DERIVATIVE CLAIMS

              1.    The Special Committee Made No Good Faith Valuation of
                    the Cambridge Derivative Claims
        379. On January 18, 2018, eight days after the Company publicly disclosed

  the potential Transaction, counsel to Cambridge sent a letter to Willkie Farr

  requesting that the Special Committee ensure that AmTrust’s shareholders receive

  appropriate value for the Cambridge Derivative Claims in connection with any

  going-private transaction (the “Cambridge Letter”). The Cambridge Letter advised



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  that Cambridge’s experts valued the Cambridge Derivative Claims in excess of $300

  million.

        380. The Special Committee, however, failed to negotiate for or receive

  appropriate value for the Cambridge Derivative Claims or the Accounting Derivative

  Claims as part of the Transaction consideration. Indeed, the Special Committee

  wholly failed to conduct any meaningful analysis about the value of such claims as

  they were required to do as fiduciaries. Rather, the 220 Documents evidence only

  vague discussions at a few Special Committee meetings about the Derivative Claims.

        381. For example, according to the meeting minutes for a telephonic Special

  Committee meeting held on January 24, 2018, Willkie Farr merely “addressed” the

  Cambridge Letter and the meeting minutes provide no further information about the

  substance of this address.

        382. The Proxy then states that on February 1, 2018, the Special Committee

  purportedly received an update from “the Special Committee's Delaware counsel,

  [RLF]” concerning “the various pre-existing shareholder lawsuits involving the

  Company, including the Cambridge Derivative Action, and counsel's analysis

  concerning the valuation of certain shareholder derivative claims asserted on the

  Company’s behalf.” Proxy at 29. The Special Committee minutes do not, however,

  reflect that any such an update ever took place and RLF is not even listed as an

  attendee at any of the three Special Committee meetings held that day. While there
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  was an “update” about derivative claims at the 2:15 p.m. Special Committee

  meeting, it was given by Willkie Farr and the meeting minutes merely state that it

  concerned “an update regarding the status of the Company’s pending federal and

  state litigation proceedings and the investigation of the Company by the [SEC].”

        383. On February 15, 2018, the Special Committee held a telephonic

  meeting at which Willkie Farr addressed the Cambridge Derivative Claims, among

  other things. The meeting minutes reflect that at the end of Willkie Farr’s update,

  DeCarlo informed the Special Committee that he was recusing himself “from all

  discussions and decisions made by the Special Committee in respect of the

  Cambridge Litigation” as a result of his “involvement” in that litigation. DeCarlo’s

  admission of his inability to disinterestedly and independently consider the

  Cambridge Derivative Claims (after having participated in two prior Special

  Committee meetings where derivative claims were mentioned), is equally applicable

  to the other members of the Special Committee who are also defendants in the

  Derivative Actions who never recused themselves.

        384. On February 20, 2018, the same day that the Special Committee

  received a draft merger agreement from the Karfunkel-Zyskind Family and Stone

  Point, counsel for Cambridge finally received a response to the January 18, 2018

  Cambridge Letter from Willkie Farr, who asked to set up a call. The next day,

  attorneys from Willkie Farr and counsel for Cambridge held a conference call, but
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  very early in the call it became clear that Willkie Farr had not taken even the most

  basic steps to assess the value of the claims asserted in the Cambridge Derivative

  Action. In fact, neither Willkie Farr nor RLF had signed-on to the existing

  confidentiality and protective order in the Cambridge Derivative Action as was

  necessary in order for them to review the actual litigation record. Neither firm did

  so until February 22, 2018, at Cambridge’s counsel’s request.

        385. Cambridge’s counsel also asked Willkie Farr on the February 21, 2018

  call about the timing of the Special Committee’s process, and Willkie Farr responded

  that the committee “was working through the various issues with its advisors.” Later

  developments reveal the lack of candor in that representation, as Willkie Farr had to

  know at the time that negotiations were in the very final stages and that the

  Transaction—which was publicly announced on March 1, 2018—was imminent.

        386. As the Special Committee was racing to finalize the Take-Private

  Merger Agreement on February 27, 2018, the Proxy claims that the Special

  Committee met with “representatives of Willkie Farr and RLF to discuss their legal

  advisors’ review and analysis concerning the valuation of the claims asserted in the

  Cambridge Derivative Action, which included review of the litigation record,

  mediation submissions and other relevant documents as well as discussions with

  plaintiff’s and defendants’ counsel in the Cambridge Derivative Action.” Proxy at

  34. The Special Committee meeting minutes, however, reflect otherwise.
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        387. First, RLF is not listed as an attendee at the February 27, 2018

  telephonic Special Committee meeting. In fact, contrary to the Proxy, the 220

  Documents do not evidence that the Special Committee ever met with RLF. Second,

  the meeting minutes merely state that a representative from Willkie Farr “discussed

  the current status of the [Cambridge Derivative Action], the associated claims and

  defenses as well as potential outcomes, including the potential range of settlement.”

        388. On the final day when the Special Committee was finalizing the terms

  of the Take-Private Merger Agreement, a February 28, 2018 Deutsche Bank

  presentation vaguely made reference to a “contingent litigation asset (based on upper

  end of Willkie [Farr] estimate)” worth between $15 million and $25 million. This

  purported value lacks any reasonable basis and the Special Committee did not

  demand, negotiate for or receive even remotely sufficient value for the Cambridge

  Derivative Claims or any other Company asset, such as the Accounting Derivative

  Claims, as part of the Transaction consideration. In sum, the eleventh hour mention

  of the Cambridge Derivative Claims at a Special Committee meeting and no

  substantial discussion or evaluation of the value of these claims or the Accounting

  Derivative Claims does not comport with the fiduciary duties of the Special

  Committee which required them to “‘value and get full consideration for all of the

  corporation’s material assets,’ including litigation assets.” In re Primedia, Inc.



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  S’holders Litig., 67 A. 3d 455, (Del. Ch. 2013) (quoting In re Massey Energy Co.,

  C.A. No. 5430-VCS, 2011 WL 2176479, at *3 (Del. Ch. May 31, 2011)).

               2.    The Special Committee Did Not Value the Accounting
                     Derivative Claims at All
        389. While the process surrounding the sham evaluation of the Cambridge

  Derivative Action shows that it was not undertaken in good faith, the situation

  regarding the Accounting Derivative Action is worse still. The Board and Special

  Committee did not value the Accounting Derivative Claims at all. The documents

  Lead Plaintiffs obtained pursuant to Section 220 reveal no discussion whatsoever of

  the recovery the Company could obtain from the Accounting Derivative Action.

  This failure is due to the self-interest of each of the Special Committee members.

  Each is a defendant in the Accounting Derivative Action and each would stand to

  gain if they could successfully cut off plaintiffs’ standing to pursue the Accounting

  Derivative Claims through the Transaction.

                                     *     *      *

        390. As shown by the many deficiencies in the process and various

  disclosures in the Proxy, the Special Committee viewed its mandate as an extremely

  narrow one—to justify the MBO Group’s proposed going-private deal—and never

  seriously considered any alternative option, nor did it proactively take steps to

  expand its mandate to include a market check or to obtain authorization to solicit


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  other proposals, despite the fact that Zyskind had informed the Board that he had

  been contacted by several parties concerning a going-private transaction. Indeed, in

  the Proxy, the Company disclosed that the Special Committee consciously hemmed

  itself in to its limited view of its responsibilities, constraining itself in advance rather

  than seeking to defend the interests of minority public stockholders.

         391. In considering the MBO Group’s initial bid, “[t]he Special Committee

  discussed the limited potential alternatives available to the Company given that the

  Karfunkel-Zyskind Family had indicated … that it was not interested in selling the

  shares of common stock it held or controlled to a third party[.]” Proxy at 30. This

  is not a legitimate factor for consideration (or, at a minimum, should not have been

  the predominant factor that the Special Committee made it), because the Special

  Committee was duty-bound, in the Court of Chancery’s language from Southern

  Peru, to “aggressively test[] the assumption that the [Transaction] was a good idea

  in the first place.” In re S. Peru Copper Corp. S'holder Derivative Litig., 52 A.3d

  761, 801 (Del. Ch. 2011), aff'd sub nom. Americas Mining Corp. v. Theriault, 51

  A.3d 1213 (Del. 2012).

         392. The Special Committee was not empowered to say “no”

  unconditionally. It was there to bless a foregone conclusion, as demonstrated by its

  own conduct in, inter alia, negotiating against itself, continually revising financial



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  projections downward, and giving away valuable benefits to the MBO Group for

  nothing.

        393. These deficiencies in process are all the more glaring in that the Take

  Private Special Committee—3/4 of which comprise the members of the Audit

  Committee (DeCarlo, Fisch, and Gulkowitz)—never considered the Company’s

  November 2017 Form 10-Q representation that the then-current trading price

  ($13.46) undervalues the Company and reflects a short-term market overreaction to

  an earnings miss or the other statements by Zyskind and other management touting

  the Company’s prospects.       According to the Audit Committee Charter, that

  committee was required to discuss that 10-Q with Company management. Audit

  Committee Charter at 2. The lack of any explanation or attempted harmonization of

  the Special Committee’s March 1, 2018 endorsement of a $13.50 per share deal

  price, in light of the approval of a November 2017 statement forcefully arguing that

  a $13.46 share price undervalues the Company, speaks volumes about the fairness

  of the Transaction and the process deficiencies complained of herein.

               3.    Defendants Are Forced to Improve the Terms to Buy
                     Stockholder Support, but Still Fail to Provide an Entirely
                     Fair Price
        394. Even after June 3, 2018, the day the majority of minority stockholders

  rejected the $13.50 per share offer, the Special Committee failed to negotiate at all

  for a better price from the Acquiring Group. In fact, there is no suggestion whatsover

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  in the Proxy that the Special Committee even attempted to negotiate against the

  Acquiring Group for an improved offer. Instead, negotiations (which lasted less than

  one day)36 were solely between the Acquiring Group and Icahn. The failure to

  meaningfully participate in negotiations for a better offer (despite the tremendous

  leverage obtained by minority stockholders as a result of the June 3, 2018 vote

  adjournment) constituted, at the very least, an abdication the Special Committee’s

  responsibilities to AmTrust’s public shareholders and a violation of its duty of care.

         395. Despite Icahn’s success in obtaining a $1.25 price increase for

  AmTrust’s minority stockholders (something the Special Committee failed to even

  attempt to accomplish) it must be noted that Icahn was merely a large minority

  stockholder, who acted for his own interests and who, unlike the Special Committee

  members, owed no fiduciary duties to other stockholders. Minority stockholders

  should not have to rely on a well-resourced activist investor to advocate indirectly

  for their interests.

         396. On June 7, 2018, the Company announced that it had entered into an

  amendment to the Merger Agreement, whereby the Acquiring Group increased its


  36
    According to the Proxy, on June 4, 2018, “Mr. Icahn advised [Zyskind] that he
  would support the merger if the merger consideration was increased to $14.75, an
  increase of $1.25 per share” and by the evening, Zyskind informed Icahn that the
  Acquiring Group was “prepared to increase the merger consideration to $14.75 per
  share subject to entering into a satisfactory Support Agreement with the Icahn
  Group.”
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  offer from $13.50 to $14.75 per share. In connection with the Amended Merger

  Agreement, Defendants entered into a settlement with Icahn, whereby Icahn would

  agree to support the Merger, voluntarily dismiss his breach of fiduciary duty action

  with prejudice, and forego any appraisal rights.

        397. One stockholder that was not satisfied, however, was Plaintiff Arca,

  which still maintained the offer price was far below AmTrust’s true value (which

  Arca believed to be $22 per share). Pavol Krúpa (“Krúpa”), chairman of Arca, told

  Reuters after the announcement of the Amended Merger Agreement that “[Arca is]

  still opposed to the $14.75 [per share] deal value – we think this still undervalues the

  company and it’s still not enough.” Krúpa went on to clarify that “[t]he increased

  offer is just a cosmetic change to sway some shareholder’s view.”

        398. The Arca chairman also noted that based on Arca’s valuations, the

  original $13.50 transaction price was equivalent to a 0.93x Price to Book Value

  Ratio (P/BV), “but AmTrust should be trading at 1.8-2.2x P/BV which represents a

  share price of $26 to $31. This argument is supported by the Deutsche Bank initial

  analysis. In light of these figures, we feel like $22 per share is fair value.”

        399. The increased offer price, however, caused ISS to modify its

  recommendation, and now advise a vote in favor of the Merger, given that the $14.75

  Merger Consideration was (barely) between its original valuation range of $14.35

  and $20.82 per share. ISS’s updated analysis was far from a ringing endorsement of
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  the Merger’s fairness. Specifically, ISS noted that “[t]he revised offer does not fully

  alleviate concerns related to the company’s sales process highlighted in our original

  report. This may contribute to the skepticism among certain shareholders regarding

  the value that they are scheduled to receive, including Arca Capital, which continues

  to oppose the transaction.” ISS also observed that AmTrust’s June 11, 2018 filing

  submitted in opposition to Icahn’s proxy campaign had walked back management’s

  previous representation that it expected to produce a return on equity of 12.0%-

  15.0% over the long-term.

        400. On June 21, 2018, the Company reconvened the special meeting of its

  stockholders to vote on the adoption of the Amended Merger Agreement.37 While

  the Company had amended the Take-Private Merger Agreement between the

  adjournment of the special meeting and the reconvening, they did not set a new

  record date. The proposal to adopt the Merger Agreement purportedly was approved

  by the requisite votes of all AmTrust stockholders (79.8%) and of the unaffiliated

  stockholders (67.4%).

        401. On July 3, 2018, A.M. Best removed AmTrust from “under review with

  negative implications” and downgraded the financial strength of AmTrust’s



  37
    The Special Meeting was previously adjourned from its originally scheduled date
  of June 4, 2018 after AmTrust failed to garner adequate stockholder support for the
  $13.50 deal price.
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  insurance companies from an “A” to “A-.” Notwithstanding the downgrade, A.M.

  Best noted that “[t]he rating actions reflect AmTrust’s balance sheet strength, which

  A.M. Best categorizes as very strong[.]” A.M. Best also commented that AmTrust’s

  risk-adjusted capitalization improved in the first quarter of 2018 due to “a reduction

  in investment risk following the sale of certain private and related party investments

  that carried substantial risk charges,” and that AmTrust possesses “relatively modest

  exposure to natural catastrophe and terrorism events, which is reflected in favorable

  performance on stress tests[.]” Thus, the ratings downgrade, the possibility of which

  management repeatedly used to strong-arm the Special Committee and public

  stockholders into accepting an inadequate merger offer, was not nearly as

  consequential as management had described.

        402. A.M. Best also noted that “[t]he recently approved plan under which

  AFSI will be privatized has a neutral impact on the rating . . . .” 38

        403. Moreover, as reflected in the Amended Merger Agreement, the

  Acquiring Group had negotiated for the right to terminate the Merger in the event of

  a ratings downgrade. But in the July 3, 2018 press release, the Acquiring Group

  stated that it would not be asserting that right:



  38
    AmTrust stock price did not move based on this news, likely because the $14.75
  per share Merger Agreement had already been approved by stockholders and was a
  fait accompli.
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        Barry Zyskind, Chairman and CEO of AmTrust, said, “With the
        completion of A.M. Best’s review and the issuance of an “A-”
        (Excellent) rating, with a Stable outlook, we can move forward with
        certainty and confidence in AmTrust’s ability to support its business
        globally and capitalize on opportunities for the long term. On behalf of
        the Karfunkel-Zyskind Family and our partner Stone Point Capital, we
        remain fully committed to our proposed transaction to take AmTrust
        private and are looking forward to continuing to serve our clients,
        agents, partners and policyholders.”


        404. In other words, after having secured approval of the Merger, the

  Acquiring Group acknowledged that a ratings downgrade was a distraction, and not

  relevant to AmTrust’s fair value and the overall financial merits of the Merger.

        405. On July 23, 2018, Evergreen Parent, K-Z Evergreen, and Trident Pine

  entered into agreements with Enstar Group Limited (“Enstar”) and MDP pursuant

  to which MDP and Enstar would partially fund the Transaction by contributing $200

  million and $150 million, respectively, to Evergreen Parent in exchange for equity

  interests. Enstar is an affiliate of Stone Point.

        406. On August 9, 2018, AmTrust filed with the SEC its quarterly report on

  Form 10-Q for the second quarter of 2018, which was signed by Zyskind and

  Karkowsky and reviewed by the Audit Committee (i.e., DeCarlo, Fisch and

  Gulkowitz). In stark contrast to Zyskind and Karkowsky’s prior portrayal of a

  potential ratings downgrade as disastrous to AmTrust’s business in connection with

  the Special Committee’s consideration of the Transaction, the Form 10-Q essentially

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  admitted that the downgrade had no material impact on the Company’s business.

  Indeed, the Form 10-Q states:

        On July 3, 2018, A.M. Best Company (“A.M. Best”) removed our
        rating from under review with negative implications and assigned our
        insurance companies a financial strength rating of “A-” (Excellent)
        with a stable outlook.

        Although a ratings downgrade occurred, A.M. Best categorizes our
        balance sheet as very strong with a high-quality capital profile. In
        addition, our risk-adjusted capitalization, as measured by A.M. Best’s
        Capital Adequacy Ratio (BCAR) strengthened materially through the
        first quarter of 2018. From a credit strength perspective, we are not
        aware of any significant implications to our business as a consequence
        of the downgrade, and do not believe it has materially impacted our
        access to the capital markets. We are not aware of any significant loss
        of business or change in business mix related to this event. The
        downgrade had no impact on any of our debt covenants or credit
        facilities, as we did not fall below any minimum credit rating
        requirements.

        407. Accordingly, the Form 10-Q confirms that a potential ratings

  downgrade was nothing more than pretext designed to coerce the Special Committee

  into agreeing to the Transaction promptly on terms favorable to the Karfunkel-

  Zyskind Family and Stone Point.

        408. The Transaction closed on November 29, 2018.

  VII. THE STOCKHOLDER VOTE WAS COERCED

        409. The Transaction was subject to the condition that “the holders of at least

  a majority of all outstanding shares of Common Stock” held by the public

  stockholders vote in favor of the Transaction (i.e., a majority-of-the-minority voting

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  condition), but the Defendants manipulated the vote so as to render it coercive and

  meaningless.

        410. First, the Defendants manipulated the record date to determine who was

  entitled to vote on the Transaction to disenfranchise millions of shares held by those

  stockholders with a true economic interest in the outcome of the vote.

        411. The Defendants first filed the Preliminary Proxy concerning the

  Transaction on April 9, 2018. The Preliminary Proxy had blanks inserted for the

  record date on the stockholder vote and the date of the vote itself, thus falsely

  implying they had not yet been set. However, the final proxy statement that was

  filed on May 4, 2018 (previously defined as the “Proxy”), disclosed a back-dated

  record date of April 5, 2018 and that the vote would be held on June 4, 2018. Since

  companies are prohibited from retroactively setting a record date, the Board

  necessarily must have set the date prior to the filing of the Preliminary Proxy and

  consciously and deliberately decided not to disclose that fact to stockholders.

        412. By failing to disclose that it had already set a record date, the Board

  disenfranchised the holders of tens of millions of shares bought between April 5 and

  May 4, unfairly tilting the scales in favor of approval. As a result of its strategically

  timed, late disclosure of the record date, many of the “votes” cast on the Transaction

  were cast by holders who no longer had a financial interest in the outcome of the

  vote and were unlikely to scrutinize its merits. The Board also maximized the
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  number of empty votes that could be cast at the stockholder meeting by scheduling

  it sixty days after the record date, the maximum time permitted by Delaware law.

        413. For example, funds affiliated with Carl Icahn, who initially announced

  his strong opposition to the Transaction at the initial price, beneficially owned

  approximately 18.4 million AmTrust shares, or 9.3% of the Company’s total

  outstanding shares, all of which were acquired after the belatedly disclosed record

  date. Icahn’s funds acquired beneficial ownership of nearly 8.6 million of these

  shares between the time the Company set and disclosed the record date because he

  thought the Transaction undervalued AmTrust and intended to vote against it. In

  total, nearly 24 million shares were traded between the record date and its disclosure

  on May 4.39 As a result, despite his strong and vocal opposition to the Transaction,

  Icahn and other stockholders who may have opposed the deal lacked the ability to

  vote their stakes to defeat the Transaction directly.

        414. Thus, the Control Group ensured that the public stockholder vote on the

  Transaction was heavily tilted in its favor, thus depriving numerous stockholders of




  39
      The 24 million shares traded number is based on total daily trading volumes
  published by Yahoo! Finance and may include shares that have been double counted
  if they traded hands multiple times. Approximately 88 million shares were held by
  the public, half plus one of which, or approximately 44 million, must have been
  voted in support of the Transaction to satisfy the closing conditions.
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  the ability to vote with their wallets as Delaware law typically encourages. It is

  extremely unusual for a company to manipulate a vote in this manner.

        415. For example, ISS reviewed a sample of thirty-eight stockholder

  meetings held within the last two years by S&P 1500 companies to seek stockholder

  approval of a merger. While a large number of these entities filed a preliminary

  proxy, not a single one set a record date preceding that preliminary proxy. The

  Control Group has no justification, let alone a compelling one, for its unique

  manipulation of the vote in this manner.

        416. Second, stockholders were more likely to vote to approve the

  Transaction because they were at an informational disadvantage to the Control

  Group. Insurance companies, like AmTrust, primarily receive income through

  insurance premiums and investment returns. The value of insurance companies is

  dependent on estimates of how much they will have to pay out to resolve claims

  associated with those premiums. While the amount of premiums is known and

  disclosed, insurance companies only disclose summary information about the claims

  they receive. Moreover, the quality of an insurance company’s reinsurance is

  unknown to public stockholders. This informational vacuum is heightened here

  since AmTrust utilized companies related to the Control Group for half of its

  reinsurance. These critical pieces of information only known to corporate insiders,

  like the Control Group, are necessary to determine whether established loss reserves
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  and reinsurance will cover incoming claims.          Thus, the Control Group took

  advantage of the uncertainty in the market resulting from AmTrust’s accounting

  issues to exploit their informational advantage.

        417. Third, the Board prematurely scheduled the stockholder vote to be held

  before the expected bounce back in the Company’s performance. The Transaction

  required numerous regulatory approvals before it could close, and ultimately the

  Closing did not occur until November 29, 2018. This had the effect of causing more

  stockholders to vote in favor of the Transaction than would have if the Company

  waited to hold the vote until its financial results began to improve.

        418. Finally, stockholders were coerced by the Control Group’s pervasive

  and long-running misconduct. Stockholders were artificially more likely to vote to

  approve the Transaction not on its merits, but rather to seize whatever premium they

  could and escape what had proven to be a Control Group that prioritized its own

  interests, as explained above, over its fiduciary duties.

  VIII. DEFENDANTS HAVE FAILED TO DISCLOSE ALL MATERIAL
        INFORMATION
        419. In addition to being coercive, the stockholder vote on the Transaction

  was not fully informed, as the Defendants have failed to accurately disclose all

  material information in the Proxy.




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        420. For example, the Proxy failed to disclose that in its 10-Q for the third

  quarter of 2017, which was signed by Defendant Zyskind, the Company explained

  that it conducted an analysis to determine whether it had to write down its goodwill

  and stated:

        Based on the consideration of all available evidence, including analysis
        of quantitative and qualitative factors, we believe the share price
        decline in the nine months of 2017 is relatively short-term in nature
        and is primarily related to the restatement of prior period results and
        associated material weaknesses disclosed in our Annual Report on
        Form 10-K for the year ended December 31, 2016, and is not
        indicative of an actual decline in our fair value or our reporting units'
        fair value. As a result, we have concluded that goodwill is not impaired
        as of September 30, 2017. We will continue to monitor the share price
        and underlying fundamentals of each of our reporting units during the
        remainder of 2017.

        421. In other words, the Company declared that, as of September 30, 2017,

  mere weeks before the Control Group began exploring taking the Company private,

  its trading price did not reflect its fundamental fair value because the market

  overreacted to its accounting issues. Additionally, on an investor conference call to

  discuss the Q3 2017 results, the Company’s management touted that the Company

  would be able to generate its targeted 12-15% annual operating return on equity on

  its adjusted book value.

        422. At no time since the filing of that 10-Q on November 9, 2017, did the

  Company reverse course and disclose that it had taken a goodwill impairment or that

  it would not be able to generate its target returns, thus reflecting that AmTrust’s

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  management and Board had not changed its view. Rather, the Company’s 10-Q for

  the first quarter of 2018, which it filed on May 10, 2018 (after the Proxy), reaffirmed

  that AmTrust’s “overall financial objective is to produce a return on equity of 12.0%-

  15.0% over the long term.”40 This is irreconcilable with the Proxy.

        423. On the last trading day prior to September 30, 2017, AmTrust’s share

  price closed at $13.46, a mere four cents below the initial deal price. At no point

  does the Proxy disclose that the Company’s CEO, who is also the leader of the

  Control Group attempting to take the Company private, signed a 10-Q stating that

  he believes a price of $13.46 per share undervalues the Company.41 Nor does it

  disclose that the Company’s management expected AmTrust to generate annual

  returns of 12-15%, which would justify a deal price well over $20 per share. In fact,

  the projections that are disclosed in the Proxy reflect materially lower returns

  without disclosing any explanation for such a large discrepancy.




  40
     The Company excised such disclosure from its later 10-Q filings, stating instead
  that “We have historically evaluated our operations by monitoring key measures of
  growth and profitability, including combined ratio and return on equity. However,
  in light of the Merger, management is re-evaluating these key measures and
  respective operation targets with the partners of Evergreen Parent.” AmTrust Form
  10-Q filed August 9, 2018 at 40; AmTrust Form 10-Q filed November 9, 2018 at 42.
  41
     Nor is the 10-Q among the specific SEC filings incorporated by reference in the
  Proxy.
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        424. This is material information to any stockholder considering whether to

  vote to approve a sale of the Company to corporate insiders and must be disclosed.

  Failing to do so rendered the Proxy materially false and/or misleading.42

        425. In addition to failing to disclose that the Company and its insiders

  believe that what is effectively the deal price undervalues the Company, the Proxy

  also failed to disclose or misrepresented a litany of other material information.

              The Proxy failed to disclose the basis for management’s projected share
               repurchases. As discussed earlier, the Special Committee and Deutsche
               Bank failed to consider share repurchases reflected in the Case 1
               projections, which had the effect of significantly manipulating
               downward the dividend discount model.

              As discussed herein, the Proxy falsely assured investors that AmTrust
               would continue to be bound by SEC regulations by virtue of the fact
               that the preferred stockholders would remain listed on the New York
               Stock Exchange. Given that a chief concern for those voting common
               stockholders who were also preferred stockholders was that the
               Karfunkel-Zyskind Family was orchestrating the Merger in order to
               evade public scrutiny, the Proxy’s representation that preferred stock
               would remain listed worked to dispel these concerns. Those assurances
               have now been proven to be false. Also, many common stockholders
               also owned preferred stock, and likely voted with the interests of their
               preferred stock holdings in mind.         Indeed, publicly available
               information available from Bloomberg demonstrates that several of the
               largest holders of AmTrust common stock also had significant holdings
               of preferred stock. Defendants did not state their true intentions
               regarding the delisting as they feared alienating those large and


  42
    Notably, the Proxy does disclose that the day prior to the release of this 10-Q and
  the same day as the above-referenced investor conference call, the Board held a
  meeting to discuss the release of the financial results for the third quarter of 2017,
  where Zyskind raised for the first time the possibility of a going-private transaction.
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              influential shareholders of common stock who also owned large
              holdings of preferred stock.

             The Proxy stated that the Merger was fair, given “the risk of a potential
              ratings downgrade by A.M. Best below ‘A’, especially in light of the
              fact that such ratings [are] ‘under review with negative implications.’”
              As noted earlier, the Acquiring Group’s conduct once a downgrade was
              announced and after the Merger was already approved suggests that this
              “risk” was illusory.

             The Proxy failed to disclose the true pervasive extent of the conflicts of
              interest faced by members of the Special Committee as discussed
              herein.

             The Proxy disclosed that one purported reason for forcing a downward
              revision of the Company’s projections from its Ordinary Course
              Projections was the effect of the Tax Cuts and Jobs Acts of 2017 (the
              “Tax Bill”). However, the Tax Bill was widely regarded as providing
              an enormous benefit to corporations as it reduced the corporate tax rate
              from 35% to 21%. The Proxy did not explain why or how the Tax Bill
              would have had a negative impact on AmTrust.

             The Proxy disclosed that Deutsche Bank used the present value of an
              estimated range of $15-$25 million for a “contingent litigation asset,”
              but the Proxy failed to explain this term or this valuation.43 It also failed
              to disclose any information regarding the value the Company placed on
              the Accounting Derivative Action.


  43
      AmTrust issued supplemental disclosures on May 24, 2018 stating that
  (supplemental disclosure in bold):
         On February 24, 2018, representatives of Deutsche Bank, Willkie Farr
         and Richards Layton met to discuss the review and analysis undertaken
         by Willkie Farr and Richards Layton concerning the valuation of claims
         asserted in the Cambridge Derivative Action, which were estimated to
         be between $15 million and $25 million.
  However, Lead Plaintiffs did not receive any meeting minutes or other documents
  in the 220 Production evidencing this meeting or this valuation. Furthermore, this
  disclosure does not state when this estimate was made, nor by whom.
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            Charles Davis, the CEO of Stone Point, is a member of Deutsche
             Bank’s Advisory Board. However, the Proxy failed to disclose that
             Celeste Guth, the Co-Head of Deutsche Bank’s Global Financial
             Institutions Group and the lead banker on the Transaction, worked
             directly for Davis at Goldman Sachs from 1986-2015.

            The Proxy disclosed that BOA, which was engaged by the Company in
             connection with the Fee Business Sale in November 2017 and the
             Transaction, had discussions with the Control Group about also
             providing debt financing in connection with the Transaction. However,
             the Proxy failed to disclose any details on the nature of such
             discussions. Additionally, the Proxy disclosed that the senior member
             of the BOA team advising AmTrust in connection with the Transaction
             “has had an ongoing relationship with Stone Point and its senior
             principals over many years,” but did not disclose any details regarding
             that ongoing relationship. Moreover, the Proxy failed to disclose that
             BOA assisted management in preparing the Ordinary Course
             Projections. (AFSI_220FDP_0679).

            The Proxy also fails to note that the Special Committee had sought to
             retain BOA as its financial advisor, even though it was AmTrust
             management’s advisor.          This fact demonstrates the Special
             Committee’s lack of independence from AmTrust management, which
             is material, given that stockholders are relying on the recommendation
             of the Special Committee when voting on whether to approve the
             Merger.

            The Proxy failed to disclose the details of any employment related
             negotiations that occurred between Stone Point and its affiliates and the
             Company’s senior management, including Zyskind.

            The Proxy claimed that at a November 16, 2017 Board meeting, “the
             Board determined to permit Stone Point to conduct due diligence in
             connection with a potential going-private transaction.” However,
             nothing in that meeting’s minutes indicates the Board ever gave such
             authorization. (AFSI_220FDP_0694).

            The Proxy disclosed that the Company held discussions with five
             strategic and financial sponsor parties in November and December
             2017 related to a potential going-private transaction, that some parties
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             made inquiries about a potential going private transaction, and that
             some of those parties entered into confidentiality and standstill
             agreements. However, the Proxy failed to disclose any details
             regarding those discussions, whether any parties indicated interest in
             exploring a transaction, and whether any party was able to publicly
             disclose interest in submitting a superior offer. The Proxy also did not
             disclose that on December 21, 2017, the Board was advised that “senior
             management had been approached by a handful of interested parties,”
             and that on December 27, 2017, Zyskind advised the Board that he had
             been contacted by “other parties” aside from Stone Point.

            The Proxy disclosed that on January 16, 2018, the Special Committee
             authorized Stone Point and the Control Group to engage in discussions
             with a potential co-investor in the Transaction, but it failed to disclose
             that the co-investor in question was MDP, the same entity to which the
             Company sold a majority stake in its fee business concurrently with
             Zyskind declaring his intent to explore a going private transaction.
             (AFSI_220FDP_0886).

            The Proxy is littered with vague, generic references, such as to
             “representatives of the Karfunkel-Zyskind Family” or “Company
             management,” but frequently does not identify these individuals.
             Knowing the identities of these individuals was material to the minority
             stockholders in deciding how to vote on the Transaction because of
             Zyskind’s conflicting roles as Chairman and CEO of the Company, on
             the one hand, and as a member of the Karfunkel-Zyskind Family and/or
             MBO Group, on the other.

            The Proxy disclosed that “representatives of Stone Point and the
             Karfunkel-Zyskind Family met with the ratings agency” on January 9,
             2018. The Proxy also references “the Company’s discussions with the
             ratings agency” in late February 2018, but fails to disclose that Stone
             Point participated in these meeting. Since one of the purported reasons
             for the Special Committee’s support of the Transaction was “the risk of
             a potential ratings downgrade,” minority stockholders deciding how to
             vote on the deal would have considered information regarding the
             substance of these meetings—including the identities of each meeting’s
             attendees—material.


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              The Proxy disclosed that Defendant DeCarlo recused himself from
               Special Committee discussions concerning the Cambridge Derivative
               Action “[i]n light of the allegations against him as a defendant” therein.
               However, the Proxy does not discuss why Defendants Gulkowitz and
               Fisch determined not to recuse themselves from the same discussions
               as they are also named defendants in the Cambridge Derivative Action.

              The Proxy disclosed that the Special Committee and its advisors valued
               the Cambridge Derivative Claims at approximately $15 million to $25
               million. The Proxy did not, however, disclose that Cambridge had
               asserted that the value of the claim was greater than $300 million. Nor
               did the Proxy provide any explanation or support for the dramatically
               lower valuation ascribed to the claim by the Special Committee and its
               advisors.

        426. Furthermore, as noted extensively herein, there are material factual

  discrepancies between the Proxy and the internal documents produced by the

  Company in response to the 220 Demand.

        427. The coercive nature of the vote and the omission of material

  information makes the Proxy false and/or misleading as stockholders were unable to

  make a fully informed decision regarding whether to approve the Transaction on its

  merits. As such, the Defendants cannot rely on the outcome of the stockholder vote

  to avoid entire fairness review of the Transaction.

  IX.   TROUBLING POST-MERGER DEVELOPMENTS
        428. Developments since the closing of the Merger have made clear that the

  Acquiring Group seeks to freeze out all remaining public stakeholders in AmTrust,

  and with it, any corresponding regulatory scrutiny.


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        429. As noted earlier, the Proxy stated that preferred shares of AmTrust

  would continue to be listed on the New York Stock Exchange and that “the reporting

  obligations with respect to such shares under the Exchange Act will therefor

  continue.” Those statements were repeated in subsequent quarterly reports filed in

  August 2018 and November 2018, which assured that preferred shares would

  “remain outstanding.”

        430. Defendants made the same assurances to state regulators when seeking

  approval of the Merger. As reported in Barron’s, the group’s application to the state

  insurance commissions represented that “AmTrust will continue to remain subject

  to certain SEC reporting requirements and requirements governing the independence

  of its audit committee given that its preferred stock will remain outstanding and

  listed on the New York Stock Exchange postmerger.”

        431. Moreover, on or about January 22, 2018, earlier in the merger process,

  and in connection with the Acquiring Group’s initial merger offer, the Karfunkel-

  Zyskind Family filed Amendment Number 14 to their Schedule 13D, which assured

  that “it is the Group’s current intention that, following completion of the proposed

  transaction, each series of the Issuer’s preferred stock will continue to be listed on

  the New York Stock Exchange.” The Amendment appears to have been in response

  to inquiries raised by Barron’s concerning the status of preferred stockholders under

  the Acquiring Group’s January 9, 2018 Offer.
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        432. Notwithstanding these representations, on January 18, 2019, less than

  two months after the Merger closed, AmTrust announced that its Board (which

  contained all the same members pre-Merger, in addition to Karkowsky; Mark

  Serock, who joined the Board following the execution of the Merger Agreement;

  and two Stone Point executives) had approved “the delisting of all six series of

  preferred stock and two series of subordinated notes from the New York Stock

  Exchange.”

        433. The delisting became effective on or about February 7, 2019, “at which

  time AmTrust’s SEC reporting obligations with respect to the [securities] will be

  suspended.”

        434. The Board purportedly made this decision based on its “determination

  that the administrative costs and burdens associated with maintaining the listings on

  the NYSE and the registration exceed the benefits given the small number of record

  holders and low daily trading volume.” The press release also identified “the

  Company’s new ownership structure” since the Merger, and made a vague reference

  to the “resulting changes to its long-term strategy” as reasons for the delisting. No

  explanation was given as to why these facts were only anticipated after approval for

  the Merger was already secured.

        435. The announcement’s effect on the trading price of preferred shares (of

  which there were over $1 billion outstanding) was swift. As Barron’s reported, “The
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  announcement of the delisting resulted in a 40% decrease in the trading price of the

  preferred stock and some of AmTrust’s notes.” Barron’s also noted that the delisting

  was a “seeming reversal of promises that AmTrust managers made to the [SEC] and

  state insurance regulators.”   Bill Alpert, “Troubled Insurer AmTrust to Delist

  Preferred Stock,” Barron’s, Jan. 23, 2019.

        436. Investors were apoplectic. For example, Jan Martinek, the principal of

  Central European Capital Partners and holder of preferred stock issued an open letter

  to Stone Point, challenging the delisting decision and stating that Stone Point was

  compromising its reputation by agreeing to the delisting decision, which enriched it

  and the Karfunkel-Zyskind Family at the expense of “retail” investors. Martinek

  also submitted a letter to the SEC objecting to the delisting, and noting that he

  purchased preferred equity specifically in reliance on AmTrust’s assurances that the

  shares would remain listed, and urging the SEC to commence an investigation.

        437. Other investors have expressed similar sentiments, and have contacted

  AmTrust directly to note their disapproval.

        438. Others have commenced litigation. For example, Mark Gottlieb, a

  holder of Series B and C Preferred Stock commenced suit against Defendants in this

  Court alleging breaches of fiduciary duty in connection with the delisting. Gottlieb

  alleges that Defendants have approved the delisting



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        in order to pave the way for the Karfunkel-Zyskinds and Stone Point to
        become the only resort for would-be sellers of Preferred Stock at an
        extraordinarily depressed price, a depressed price that they caused. By
        taking out the Preferred at these depressed prices, the Karfunkel-
        Zyskinds will have effectively transferred the hundreds of millions of
        dollars of value they destroyed through the Delisting away from the
        Preferred Stock and into their own pockets.

        439. And it was not only investors who expressed outrage at this squeeze-

  out of the remaining public equity-holders. Specifically, On February 4, 2019,

  Keefe, Bruyette & Woods, Inc. (“KBW”), an underwriter for AmTrust preferred

  securities and debt notes, sued AmTrust in New York State Supreme Court, asserting

  claims for breach of contract (among others) and alleging reputational harm in

  connection with AmTrust’s delisting announcement. KBW moved to preliminarily

  enjoin AmTrust from moving forward with the delisting and also contacted the SEC,

  urging it to postpone the effectiveness of the delisting. As explained in its complaint:

        One of the selling features for the Depositary Shares was the fact that
        they were to be listed on the NYSE. A listing on a national securities
        exchange, such as the NYSE, triggers a company’s reporting
        requirements under the Securities Exchange Act of 1934. The reporting
        requirements provide securities holders with continuous information
        material to their investment in the company including quarterly reports,
        annual reports, proxy solicitations and notice of unscheduled material
        events or corporate changes. Listing on the NYSE also provides
        securities holders with a liquid trading market.

        In the Underwriting Agreement for the Series F Depositary Shares
        dated September 20, 2016 (the “Underwriting Agreement”), AmTrust
        explicitly covenanted that it would keep the Depositary Shares listed on
        the NYSE. AmTrust gave the exact same covenant in the Underwriting

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        Agreements for all of the Preferred Shares (series A-F) and the two
        issues of Subordinated Debt Notes.

        440. KBW alleges that “it is extremely important that investors have faith in

  [its] strategies and solutions” and that the delisting deprived the holders of the

  preferred securities of “material company information,” and “remove[d] a liquid

  trading market for these securities.” As a result, “the delisting will significantly

  damage KBW’s and its affiliate’s customer relationships” and “significantly impair

  KBW’s and its affiliate’s reputation and goodwill.”

        441. On February 6, 2019, a justice in New York State Supreme Court, New

  York County, denied KBW’s request for a temporary restraining order to enjoin the

  delisting, stating that a resulting decrease in share price was a harm to be suffered

  by investors, not an underwriter like KBW.

        442. The following day, on February 7, 2019, AmTrust filed a Form 15

  advising that it had terminated listing of the preferred stock.

  X.    CLASS ACTION ALLEGATIONS

        443. Lead Plaintiffs bring this action pursuant to Rule 23 of the Rules of the

  Court of Chancery, individually and on behalf of all other holders of AmTrust’s

  common stock (except defendants herein and any persons, firm, trust, corporation or

  other entity related to or affiliated with them and their successors in interest) who




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  are or will be threatened with injury arising from defendants’ wrongful actions, as

  more fully described herein.

        444. This action is properly maintainable as a class action.

        445. The Class is so numerous that joinder of all members is impracticable.

  The Company has thousands of stockholders who are scattered throughout the

  United States. As of the April 5, 2018 record date, there were 196,355,229 shares

  of AmTrust’s common stock outstanding.

        446. There are questions of law and fact common to the Class including,

  inter alia, whether:

               a.        The Individual Defendants breached their fiduciary duties by
                         agreeing to the Transaction;

               b.        The Individual Defendants acted in furtherance of their own self-
                         interests to the detriment of the Class;

               c.        Stone Point and its affiliates aided and abetted the wrongful
                         conduct alleged herein; and

               d.        Lead Plaintiffs and the other members of the Class have been
                         injured by the wrongful conduct alleged herein and, if so, what
                         is the proper remedy and/or measure of damages; and

               e.        Lead Plaintiffs and the other members of the Class have been
                         damaged irreparably by Defendants’ conduct.

        447. Lead Plaintiffs are committed to prosecuting the action and have

  retained competent counsel experienced in litigation of this nature. Lead Plaintiffs’

  claims are typical of the claims of the other members of the Class, and Lead Plaintiffs


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  have the same interests as the other members of the Class. Lead Plaintiffs are

  adequate representatives of the Class.

         448. Defendants have acted, or refused to act, on grounds generally

  applicable to, and causing injury to, the Class.

  XI.    COUNTS

                                  COUNT I
                        BREACH OF FIDUCIARY DUTY
                     AGAINST THE DIRECTOR DEFENDANTS

         449. Lead Plaintiffs repeat and reallege each and every allegation above as

  if set forth in full herein.

         450. The Director Defendants, as AmTrust directors, owe the Class the

  fiduciary duties of due care, good faith, candor and loyalty. By virtue of their

  positions as directors of AmTrust, the Director Defendants had the power to

  influence and/or cause, and did influence and/or cause, the Company to engage in

  the practices complained of herein. Each Director Defendant was required to: (a)

  use their ability to manage AmTrust in a fair, just and equitable manner; (b) act in

  furtherance of the best interests of AmTrust and its stockholders and not their own;

  and (c) fully disclose the material circumstances, procedures, and terms of the

  Transaction so that stockholders can make a fully informed decision.

         451. The Director Defendants breached their fiduciary duties by supporting

  and/or acquiescing to the Transaction that greatly undervalued AmTrust and

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  provided consideration to AmTrust’s minority stockholders that was grossly unfair.

  The Director Defendants knowingly supported and/or acquiesced to the Transaction

  even though the transaction process was woefully deficient given that, among other

  things: (a) the Karfunkel-Zyskind Family were permitted to manipulate and control

  the transaction process, including the Company’s financial projections and valuation

  process used by the Special Committee and its respective advisors; (b) the Special

  Committee was conflicted; and (c) the financial advisors retained by the Company

  and the Special Committee were conflicted.

        452. The Director Defendants also utterly failed to (a) ascribe appropriate

  value to the Derivative Claims and (b) insist that the Karfunkel-Zyskind Family

  compensate the minority stockholders for that value. Instead of conducting any

  meaningful investigation into the value of the lost corporate opportunities in the

  Tower Transaction and instead of hiring a financial advisor to assess such value, the

  Director Defendants unreasonably relied upon an uninformed valuation of a

  “contingent litigation asset” by a lawyer at a time when the deal price for the

  Transaction was virtually agreed upon.

        453. The Director Defendants failed to fulfill their fiduciary duties in

  connection with the inadequate and unfair Transaction, which resulted in an unfair

  price through an unfair process.



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         454. As a result of the AmTrust directors’ breaches of fiduciary duty in

  agreeing to the Transaction, the Class has been harmed.

                                    COUNT II
                            BREACH OF FIDUCIARY DUTY
                          AGAINST ZYSKIND AS AN OFFICER
         455. Plaintiffs repeat and reallege each and every allegation above as if set

  forth in full herein.

         456. Defendant Zyskind, in his capacity as an AmTrust officer, owed the

  public stockholders of AmTrust the fiduciary duties of loyalty, due care and good

  faith. To fulfill these fiduciary duties, Defendant Zyskind is obligated to act in the

  best interests of AmTrust’s public stockholders and not sacrifice those interests in

  favor of his own interests.

         457. In negotiating the unfair Transaction, Zyskind breached his fiduciary

  duties by placing his own interests ahead of those of AmTrust’s public stockholders.

  Zyskind abused his position of trust by orchestrating a deal that guaranteed that

  AmTrust’s insiders would take the Company private at an artificially low price rather

  than seeking the best transaction available for AmTrust’s public stockholders.

         458. As a result of Zyskind’s breaches of fiduciary duty, the Class has been

  harmed.




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                             COUNT III
                    BREACH OF FIDUCIARY DUTY
         AGAINST ZYSKIND, G. KARFUNKEL, AND L. KARFUNKEL
         459. Lead Plaintiffs repeat and reallege each and every allegation above as

  if set forth in full herein.

         460. Zyskind, G. Karfunkel, and L. Karfunkel, as controlling stockholders

  of AmTrust, owed the Class the fiduciary duties of due care, good faith, candor and

  loyalty. By virtue of their positions as controlling stockholders (in addition to being

  directors and/or officers) of AmTrust and their exercise of control and ownership

  over the business and corporate affairs of the Company, they at all relevant times

  had the power to control and influence and did control and influence and cause the

  Company to engage in the practices complained of herein.

         461. AmTrust had an interest in acquiring Tower, as evidenced by the

  Company’s overtures to Tower and its advisors, including but not limited to the offer

  to purchase Tower submitted by the Company in December 2013.

         462. An acquisition of Tower and/or its ongoing business lines, including

  both Tower’s commercial and personal lines, was a business opportunity that

  AmTrust was financially able to undertake.

         463. Without first informing the AmTrust Board, the Karfunkel-Zyskind

  Family improperly and self-interestedly caused the Company to abandon its pursuit

  of Tower and instead initiated its own pursuit of Tower in a manner that diverted

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  valuable business opportunities away from AmTrust and redirected them to two

  other Karfunkel-Zyskind Family-controlled entities, ACP and NGHC.

        464. In connection with the Tower Transaction, the Karfunkel-Zyskind

  Family’s improper conduct included, among other things, (a) misappropriating due

  diligence conducted by AmTrust in connection with its exploration of a deal with

  Tower; (b) usurping a corporate opportunity from the Company through ACP and

  NGHC, including by siphoning the valuable Personal Lines businesses to NGHC;

  (c) simultaneously representing AmTrust, ACP, and NGHC in connection with the

  Tower Transaction; (d) shifting additional risk to AmTrust through the modifications

  to the Tower Transaction; (e) causing the Company to participate in a $250 million

  loan to ACP to facilitate its acquisition of Tower, and (f) demanding the Earn-Out.

  This conduct constitutes a breach of the Karfunkel-Zyskind Family’s fiduciary

  duties owed to the Company and its stockholders.

        465. AmTrust has been and continues to be harmed by the Karfunkel-

  Zyskind Family’s improper usurpation of the Company’s corporate opportunity to

  acquire Tower and breaches of fiduciary duty in causing the Company to enter into

  related agreements unfair to the Company.

        466. The Company is entitled to restitution including disgorgement of any

  profits received by ACP or the Karfunkel-Zyskind Family as a result of the Tower

  Transaction.
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        467. Cambridge informed the Karfunkel-Zyskind Family and the Special

  Committee’s counsel that Cambridge’s financial advisor valued the Cambridge

  Derivative Claims in excess of $300 million.

        468. Nevertheless, the Special Committee and its advisors valued a

  “contingent litigation asset” at between $15 million and $25 million. The Special

  Committee apparently took no action to value the Accounting Derivative Action.

  While it is unclear what the “contingent litigation asset” refers to, to the extent it

  refers to the Cambridge Derivative Claims or Accounting Derivative Claims,

  singularly or collectively, such a valuation is wholly inadequate and uninformed.

        469. As detailed above, the minority stockholders of AmTrust received

  grossly inadequate compensation for the valuable derivative claim asset of AmTrust

  while the Karfunkel-Zyskind Family intended to receive the valuable benefit of

  extinguishing the Derivative Claims upon the consummation of the Transaction. It

  is inconceivable that the Karfunkel-Zyskind Family would choose to pursue the

  Derivative Claims on AmTrust’s behalf now.

        470. Additionally, as detailed above, the Transaction is neither procedurally

  nor financially fair to AmTrust’s minority stockholders. The Karfunkel-Zyskind

  Family manipulated and controlled the Transaction process, including the

  Company’s financial projections and the valuation process used by the conflicted

  Special Committee. The Transaction also greatly undervalued AmTrust and
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  provided severely inadequate and unfair compensation to AmTrust’s minority

  stockholders. The financial unfairness of the Transaction stems in part from the

  failure of the Karfunkel-Zyskind Family to fairly compensate AmTrust’s minority

  stockholders for the valuable Derivative Claims.

         471. As a result of the Karfunkel-Zyskind Family’s conduct in this regard,

  AmTrust’s minority stockholders have suffered and will continue to suffer

  substantial harm.

         472. The Transaction was inadequate and unfair, reflecting an unfair price

  and an unfair process.

         473. Zyskind, G. Karfunkel, and L. Karfunkel failed to fulfill their fiduciary

  duties in connection with the unfair Transaction.

         474. As a result of the breaches of fiduciary duty by Zyskind, G. Karfunkel,

  and L. Karfunkel in connection with the Transaction, the Class has been harmed.

                          COUNT IV
     AIDING AND ABETTING BREACHES OF FIDUCIARY DUTIES
  AGAINST STONE POINT, TRIDENT PINE, AND THE TRIDENT FUNDS
         475. Lead Plaintiffs repeat and reallege each and every allegation above as

  if set forth in full herein.

         476. Stone Point, Trident Pine, and the Trident Funds knowingly assisted,

  by reason of their status as parties to the Take Private Merger Agreement, their

  possession of non-public information, and their involvement with the Control Group

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  throughout the deal negotiation process, and have aided and abetted the Director

  Defendants and Zyskind as an officer defendant, in the aforesaid breach of their

  fiduciary duties. Such breaches of fiduciary duties could not and would not have

  occurred but for the conduct of Stone Point, Trident Pine, and the Trident Funds,

        477. As a result of this conduct, the Class has been harmed.

        478. Lead Plaintiffs and the Class have no adequate remedy at law.

  XII. RELIEF REQUESTED
        WHEREFORE, Lead Plaintiffs demand judgment as follows:

               a.      Finding the Director Defendants liable for breaching their

  fiduciary duties to the Class;

               b.      Finding the Officer Defendant Zyksind liable for breaching his

  fiduciary duties to the Class;

               c.      Finding Zyskind, G. Karfunkel, and L. Karfunkel liable for

  breaching their fiduciary duties to the Class;

               e.      Finding that Stone Point, Trident Pine, and the Trident Funds

  aided and abetted the other breaches of fiduciary duty by the other Defendants;

               f.      Awarding the Class damages, together with pre- and post-

  judgment interest;

               g.      Awarding Lead Plaintiffs the costs and disbursements of this

  action, including attorneys’, accountants’, and experts’ fees; and

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             h.    Awarding such other and further relief as is just and equitable.

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                          CERTIFICATE OF SERVICE
        I, Marcus E. Montejo, do hereby certify on this 8th day of May, 2019, that I

  caused a copy of the Amended Verified Consolidated Class Action Complaint to be

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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

   JAN MARTINEK,

                               Plaintiff,
                                                           19 Civ. 8030 (KPF)
                        -v.-

   AMTRUST FINANCIAL SERVICES, INC.,                    OPINION AND ORDER
   BARRY D. ZYSKIND, GEORGE KARFUNKEL,
   and LEAH KARFUNKEL,

                               Defendants.

  KATHERINE POLK FAILLA, District Judge:

        Plaintiff Jan Martinek brings this putative securities class action against

  AmTrust Financial Services, Inc. (“AmTrust” or the “Company”), and AmTrust

  executives Barry D. Zyskind, George Karfunkel, and Leah Karfunkel (together,

  the “Individual Defendants,” and with AmTrust, “Defendants”). Plaintiff alleges

  that he and other putative class members suffered losses when Defendants

  made false and misleading statements regarding the Company’s preferred stock

  trading on the New York Stock Exchange (“NYSE”) following the Individual

  Defendants’ buyout of the Company’s common stock. Plaintiff has brought

  securities fraud claims under Sections 10(b) and 20(a) of the Securities

  Exchange Act of 1934, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5

  promulgated thereunder, 17 C.F.R. § 240.10b-5. Defendants have moved to

  dismiss the Complaint pursuant to Federal Rules of Civil Procedure 9(b) and

  12(b)(6) for failure to state a claim. As set forth in the remainder of this

  Opinion, while the Court does not believe that each of Plaintiff’s proffered
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  misstatements and omissions suffices to state a claim for securities fraud,

  several do. Defendants’ motion to dismiss is accordingly denied.

                                        BACKGROUND 1

  A.    Factual Background

        1.     AmTrust’s Issuance of Preferred Stock

        AmTrust is an insurance company founded and controlled by the

  Karfunkel-Zyskind Family. (Compl. ¶¶ 14-18). As relevant here, the Family

  consists of Barry Zyskind, AmTrust’s CEO and Chairman of the Board, and

  AmTrust directors George Karfunkel and Leah Karfunkel. (Id. at ¶ 14).

        Between 2013 and 2016, AmTrust issued six different series of preferred

  stock and depositary shares, raising almost $1 billion from the public. (Compl.

  ¶ 26). The preferred stock was issued pursuant to a prospectus, registration

  statement, and prospectus supplements, all filed by AmTrust with the SEC.

  (Id.). AmTrust also filed a Certificate of Designation with the SEC for each

  series of preferred stock. (Id.).




  1     The facts in this Opinion are drawn primarily from Plaintiff’s Complaint (“Complaint” or
        “Compl.” (Dkt. #5)), which is the operative pleading in this case, and the Declaration of
        Kevin S. Reed (“Reed Decl.” (Dkt. #29)) and attached exhibits. The documents attached
        to the Reed Declaration are documents that have been publicly filed with the United
        States Securities and Exchange Commission (the “SEC”). See Tongue v. Sanofi, 816
        F.3d 199, 209 (2d Cir. 2016) (“The Court may [] consider any written instrument
        attached to the complaint, statements or documents incorporated into the complaint by
        reference, legally required public disclosure documents filed with the SEC, and
        documents possessed by or known to the plaintiff upon which it relied in bringing the
        suit.” (internal quotation marks omitted)).
        For ease of reference, the Court refers to Defendants’ opening brief as “Def. Br.” (Dkt.
        #29); Plaintiff’s opposition brief as “Pl. Opp.” (Dkt. #30); and Defendants’ reply brief as
        “Def. Reply” (Dkt. #31).

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        As part of each of the preferred stock offerings, AmTrust entered into

  underwriting agreements in which it covenanted, with respect to each series of

  preferred stock, “[t]o use its commercially reasonable efforts to list the

  Securities on the NYSE within 30 days of the Closing Date and to maintain the

  listing of the Securities on the NYSE.” (Compl. ¶ 27; see id. at ¶¶ 28, 31).

  These underwriting agreements were attached as exhibits to the prospectus

  supplements (and other documents) filed with the SEC and were available to

  the investing public. (Id.). The first page of each prospectus supplement for

  each series of preferred stock stated that AmTrust “intend[s] to apply to list the

  depositary shares representing the Series Preferred Stock on the New York

  Stock Exchange[.]” (Id. at ¶ 29).

        Following the issuance of the preferred stock, AmTrust applied to list its

  stock on the NYSE. (See Compl. ¶ 32). The NYSE timely approved the listing of

  each of the AmTrust series of preferred stock, and all six series of preferred

  stock were listed and publicly traded on the NYSE. (Id.). Plaintiff purchased

  shares of all six series of preferred stock of AmTrust on the NYSE. (Id. at ¶ 12).

  According to NYSE rules, a listing on the NYSE is continuous once it is

  approved, as long as fees are paid by the listing company. (Id.).

        The shares of preferred stock were redeemable or callable at various

  times in the future, but none of the series was redeemable or callable prior to

  August 2019. (Compl. ¶ 33). Specifically, the preferred stock was subject to

  optional redemption (each series subject to a redemption date, but none prior

  to August 2019) at a redemption price equal to $1,000 per share. (Id.).

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  Moreover, upon any liquidation, dissolution, or winding up of AmTrust, holders

  of preferred stock would be entitled to the liquidation preference (after payment

  of liabilities) of $1,000 per share. (Id.).

           2.    The SEC Investigation and the Genesis of the Going-Private
                 Transaction

           For years prior to the Individual Defendants’ buyout proposal, AmTrust

  engaged in accounting practices that, when finally investigated by the SEC, the

  New York Department of Financial Services (“DFS”), and the Federal Bureau of

  Investigation (the “FBI”), resulted in AmTrust having to restate approximately

  three years of financial statements from 2013 to 2017. (Compl. ¶ 35). As a

  result of adverse publicity resulting from the restatement of several years of

  AmTrust’s financial statements, increases in loss reserves, and the disclosure

  of the SEC investigation, AmTrust’s stock price dropped by half — from $27 to

  approximately $13.46 — over the first three quarters of 2017. (Id.). Despite

  the disappointing performance of AmTrust common stock, AmTrust’s Form 10-

  Q for the third quarter of 2017 (filed on November 9, 2017) stated:

                 Based on the consideration of all available evidence,
                 including analysis of quantitative and qualitative
                 factors, we believe the share price decline in the nine
                 months of 2017 is relatively short-term in nature and is
                 primarily related to the restatement of prior period
                 results and associated material weaknesses disclosed in
                 our Annual Report on Form 10-K for the year ended
                 December 31, 2016, and is not indicative of an actual
                 decline in our fair value or our reporting units’ fair
                 value.

  (Id.).




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        At the same time AmTrust management represented to the investing

  public that the poor performance of AmTrust stock was to be short-lived, the

  Karfunkel-Zyskind Family and Stone Point Capital LLC (“Stone Point”), a

  private equity firm specializing in management buyouts, approached the

  AmTrust Board, disclosing their intention to take the Company private.

  (Compl. ¶ 37; see also id. at ¶ 19). The Individual Defendants began preparing

  for a take-private acquisition on May 25, 2017, when AmTrust issued

  24,096,384 shares of common stock in a private placement, solely to the

  Karfunkel-Zyskind Family, at $12.45 per share. (Id. at ¶ 38). This transaction

  increased the Karfunkel-Zyskind Family’s control over AmTrust by about 10%,

  bringing them to a position of over 50% ownership of AmTrust. (Id.).

        A few months later, in September 2017, Zyskind and Stone Point

  engaged in further discussions about the possibility of taking AmTrust private.

  (Compl. ¶ 39). However, the Company’s financial performance in the third

  quarter of 2017 was disappointing and caused a further decline in the price of

  the stock. (Id.). The parties halted discussions about taking AmTrust private

  as the Karfunkel-Zyskind Family saw an opportunity to achieve the same goal

  at a lower price. (Id.). On November 8, 2017, only a day before he would sign

  the 10-Q stating that AmTrust’s stock performance “was not indicative of an

  actual decline in [AmTrust’s] fair value or our reporting units’ fair value,”

  Zyskind approached the Board, suggesting a potential going-private

  transaction. (Id. at ¶ 39).




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        During this time and for several years prior (beginning in at least June

  2013, the month when AmTrust started issuing its preferred stock), AmTrust

  responded, on an ongoing basis, to an investigation by the SEC into the

  Company’s accounting practices. (Compl. ¶ 41). The practices under scrutiny

  included accounting for loss and loss adjustment expense reserve estimates for

  AmTrust’s major business lines and segments, internal controls, investment in

  life settlement contracts, and certain acquisitions. (Id.). Although the Wall

  Street Journal reported in April 2017 that AmTrust’s accounting had been

  investigated by the SEC and some accounting matters had been disclosed, the

  SEC’s five-year-long investigation into AmTrust was not disclosed until

  AmTrust filed its 2018 proxy statement on May 4, 2018, soliciting approval of

  the buyout proposal set out below. (Id.).

        Further disclosures from the SEC’s investigation into AmTrust’s

  accounting practices came to light throughout 2018. (Compl. ¶ 42). In mid-

  October 2018, the SEC announced that it had barred three former accountants

  at BDO USA LLP (“BDO”) from auditing publicly traded companies because

  they had released an audit report for AmTrust before the underlying auditing

  work had been performed. (Id.). In brief, BDO had been hired by AmTrust in

  2013 to perform a consolidated audit of its financial statements and internal

  controls. (Id.). The audit report was issued and publicly disclosed in early

  2014, but the work papers were backdated and the underlying work supporting

  the audit report was not performed until months after AmTrust’s annual report

  had been publicly issued. (Id.).

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        3.    The Individual Defendants’ Buyout Proposal

        On January 9, 2018, Trident Pine Acquisition LP, an affiliate of Stone

  Point, together with the Individual Defendants and certain entities controlled

  by them (collectively, the “Acquisition Group”), sent a letter (the “Proposal

  Letter”) to the Board of Directors of AmTrust proposing the potential

  acquisition of all of AmTrust’s outstanding shares of common stock not already

  owned or controlled by the Karfunkel-Zyskind Family (the “Proposal”). (Compl.

  ¶ 44). In the Proposal Letter, the Acquisition Group offered a purchase price of

  $12.25 per share in cash — the lowest price for AmTrust common stock in the

  preceding five years. (Id.). The Proposal Letter was signed by David Wermuth

  (Vice President and Secretary of the general partner of Trident), Zyskind,

  George Karfunkel, and Leah Karfunkel. (Id.).

        Importantly, the Proposal contemplated only the acquisition of the

  Company’s common stock, and not any of AmTrust’s preferred stock. (Compl.

  ¶ 45). To that end, the Proposal Letter stated: “Finally, this proposal also

  contemplates that the outstanding series of AmTrust preferred stock will

  remain outstanding in accordance with their terms.” (Id.).

        On January 10, 2018, Defendants Zyskind, George Karfunkel, and Leah

  Karfunkel filed a Schedule 13D (Amendment No. 13) in which they disclosed

  the Proposal, attaching copies of the Proposal Letter and a January 9, 2018

  press release announcing the Proposal. (Compl. ¶ 46). The press release made

  no mention of the preferred stock. (Id.). The Schedule 13D further announced

  that, as indicated in the Proposal, the Karfunkel-Zyskind Family expected that


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  a special committee of the Board of Directors of AmTrust would consider the

  Proposal and make a recommendation to the Board. (Id.). On January 10,

  2018, AmTrust issued a press release announcing the formation of a special

  committee of AmTrust directors (the “Special Committee”) to review the

  Proposal. (Id. at ¶ 47).

        Shortly after the announcement of the Proposal, the financial press and

  investors queried Defendants as to the future of the preferred stock in light of

  the contemplated buyout. (Compl. ¶ 48; id. at ¶ 66(b)). Indeed, observers were

  puzzled as to why the Karfunkel-Zyskind Family intended to keep the preferred

  stock listed, given that it would defeat a central justification for going private —

  to avoid the regulatory and public scrutiny and associated expense inherent in

  any publicly traded company. (Id. at ¶ 48; see id. at ¶ 41).

        To clarify the position, on January 22, 2018, the Individual Defendants

  filed a Schedule 13D (Amendment No. 14), to address the preferred stock and

  confirm that the intent of the Proposal was that all the series of the preferred

  stock would remain outstanding and continue to be listed on the NYSE.

  (Compl. ¶ 48; see also id. at ¶ 66(c)). On January 22, 2018, following this

  announcement, the prices of each series of preferred stock rose to close

  between 4.2% and 6.4% higher than the preceding trading day (January 19,

  2018); by the end of that trading week, each series of preferred stock closed

  between 6% and 9.8% higher than the closing price on January 19, 2018. (Id.

  at ¶ 48).




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        Following several weeks of negotiations between and among the Board,

  the Special Committee, and others, AmTrust announced on March 1, 2018 (the

  “March 1, 2018 Press Release”), that it had entered into a definitive merger

  agreement with Evergreen Parent, L.P., an entity formed by the Acquisition

  Group whereby the Karfunkel-Zyskind Family, the Company’s majority

  controlling stockholder, and Stone Point would acquire the Company’s minority

  common shares for $13.50 per share (the “Merger”). (Compl. ¶ 49). The March

  1, 2018 Press Release stated with respect to the preferred stock:

              Each share of the Company’s currently outstanding
              preferred stock will remain outstanding and it is
              expected that they will continue to be listed on the New
              York Stock Exchange following the consummation of
              the transaction.

  (Id.). Stone Point and the Karfunkel-Zyskind Family also announced in the

  March 1, 2018 Press Release that the Merger would allow AmTrust “to be able

  to focus on long term decisions, without the emphasis on short-term results.”

  (Id. at ¶ 51). As of March 1, 2018, the Stone Point website contained the

  following representation concerning the Merger: “Each share of the Company’s

  currently outstanding preferred stock will remain outstanding and it is

  expected that they will continue to be listed on the New York Stock Exchange

  following the consummation of the transaction.” (Id. at ¶ 52).

        4.    The Merger’s Reception

        The Merger was heavily criticized following its announcement. (Compl.

  ¶ 54). For example, one large AmTrust stockholder launched a public relations

  campaign in which it urged activist investor Carl Icahn to invest in AmTrust


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  and wage a proxy battle opposing the Merger. (Id.). On May 17, 2018, Icahn

  publicly disclosed that he had acquired approximately 9.4% of AmTrust’s

  common stock and sent a letter to the AmTrust Board of Directors informing it

  that (i) other stockholders had requested his assistance in “oppos[ing] your

  opportunistic going private transaction,” and (ii) Icahn had determined that the

  Merger was “blatantly taking advantage of AmTrust’s minority shareholders.”

  (Id. at ¶ 55). Icahn not only publicly implored stockholders to vote against the

  Merger, but also filed a lawsuit against the Karfunkel-Zyskind Family for

  breaches of fiduciary duty. (Id.). However, despite owning 9.4% of AmTrust

  common stock (the equivalent of nearly one-fifth of all unaffiliated stock), Icahn

  was unable to vote his stock against the Merger, as he had purchased the stock

  following the Merger vote record date set by the AmTrust Board. (Id.).

        AmTrust publicly filed a preliminary proxy statement to encourage

  stockholders to vote in favor of the Merger. (Compl. ¶ 56). The preliminary

  proxy statement represented that the preferred shares would continue to be

  listed on the NYSE following the Merger and, thus, the Company’s reporting

  obligations under the Securities Exchange Act of 1934 would continue. (Id.).

  Specifically, the preliminary proxy filed with the SEC in a Schedule 14A on

  April 9, 2018, stated, at page 17:

              Q: What effects will the merger have on AmTrust
              Financial?

              A: The shares of common stock of the Company are
              currently registered under the Exchange Act, and such
              shares are quoted on the NASDAQ Stock Market under
              the symbol “AFSI.” As a result of the merger, all of the
              shares of common stock of the Company will cease to
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               be publicly traded and will be owned by Parent.
               Following the consummation of the merger, the
               registration of the shares of common stock of the
               Company and our reporting obligations with respect to
               such shares under the Exchange Act will be terminated
               upon application to the SEC. In addition, upon the
               consummation of the merger, such shares will no longer
               be listed on any stock exchange or quotation system,
               including on the NASDAQ Stock Market. However, each
               outstanding share of preferred stock of the Company will
               remain outstanding and will continue to be listed on the
               New York Stock Exchange following the merger and the
               reporting obligations with respect to such shares under
               the Exchange Act will therefore continue.

  (Id. (emphasis added)). Defendants repeated this statement in a definitive

  proxy, issued by Defendants and filed with the SEC in a Schedule 14A on May

  4, 2018. (Id. at ¶ 57). The definitive proxy also reprinted the entirety of the

  original Proposal Letter, in which the Individual Defendants had stated:

  “Finally, this proposal also contemplates that the outstanding series of

  AmTrust preferred stock will remain outstanding in accordance with their

  terms.” (Id. at ¶ 58).

        On May 25, 2018, Institutional Shareholder Services (“ISS”) issued its

  report on the Merger, which criticized the Special Committee’s “less-than-

  robust sale process,” and which concluded that “a standalone scenario seems

  to be a preferable alternative to the currently proposed transaction”;

  accordingly, ISS concluded that “a vote AGAINST the merger is warranted.”

  (Compl. ¶ 59). ISS suggested a valuation range between $14.35 and $20.82

  per share. (Id.). Among other things, ISS questioned the independence of the

  Special Committee’s chairperson, and criticized certain missteps by the

  Committee during negotiations. (Id.). ISS also disputed AmTrust’s suggestion
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  that the Company’s growth was slowing down, noting that “the publicly

  available information paints a less dire picture of the company’s prospects.”

  (Id.). ISS noted that Zyskind “would appear to know the company as well as

  anyone,” and that his willingness to buy the Company at $13.50 per share

  implied that “the company’s challenges are not so severe.” (Id.).

        The Merger was so heavily criticized that it became clear to Defendants

  that the vote on the Proposal would likely not satisfy the majority-of-the-

  minority condition to which Defendants had agreed in order to comply with

  Delaware corporate law. (Compl. ¶ 60). Accordingly, the vote on the Merger

  was adjourned. (Id.). Following adjournment, Icahn and Zyskind engaged in

  negotiations, and within a day, the Acquisition Group agreed to increase its

  offer by $1.25 per share, to $14.75 per share. (Id. at ¶ 61). In less than a

  month, Icahn’s investment in 18.4 million AmTrust common shares had netted

  him approximately $23 million; he agreed to support the Merger at the revised

  price, terminate his proxy battle, and dismiss his lawsuit. (Id.).

        In light of this nominal increase the Merger consideration now fell (albeit

  barely) within ISS’s fairness range as identified above. (Compl. ¶ 63).

  Consequently, ISS modified its determination, recommending the Merger. (Id.).

  On June 21, 2018, a majority of unaffiliated stockholders (67.4%) voted to

  approve the Merger. (Id. at ¶ 69).

        5.    The Merger’s Closing and Defendants’ Delisting of the
              Preferred Stock

        The Merger closed on November 29, 2018, and the Acquisition Group

  acquired the remaining unaffiliated shares of AmTrust’s common stock.
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  (Compl. ¶ 70). Less than two months later, on January 18, 2019, AmTrust

  issued a press release announcing the delisting of all six series of preferred

  stock (as well as two series of subordinated notes), the last remaining publicly

  traded AmTrust equity securities. (Id. at ¶ 71).

        AmTrust began the delisting process by filing a Form 8-K with the SEC

  announcing its intent to delist the preferred stock from the NYSE and issuing a

  press release to the same effect. (Compl. ¶ 72). The press release, issued on

  January 18, 2019, announced that AmTrust’s Board had approved the

  voluntary delisting and deregistration of all six series of its publicly traded

  preferred stock. (Id.). The press release stated, inter alia,

               AmTrust Financial Services, Inc. (“AmTrust” or the
               “Company”) today announced that its Board of
               Directors has approved the voluntary delisting of all six
               series of preferred stock and two series of subordinated
               notes from the New York Stock Exchange.

                                          ***

               The Company expects the delisting of the Listed
               Securities to become effective on or about February 7,
               2019 at which time AmTrust’s SEC reporting
               obligations with respect to the Listed Securities will be
               suspended.

               AmTrust’s decision to delist and deregister the Listed
               Securities was based on its determination that the
               administrative costs and burdens associated with
               maintaining the listings on the NYSE and the
               registration exceed the benefits given the small number
               of record holders and low daily trading volume. In
               addition, this decision was made in light of the
               Company’s new ownership structure and the resulting
               changes to its longterm strategy, following the
               completion of AmTrust’s go-private transaction on
               November 29, 2018 and the delisting of its common
               stock.

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  (Id.). 2

             According to Plaintiff, the impact of the announcement was devastating

  to the approximately $1 billion worth of preferred stock then outstanding.

  (Compl. ¶ 81). Specifically, on the next trading day following the

  announcement of the delisting, the prices of all series of preferred stock

  dropped, as Barron’s reported, by almost 40%, losing over $300 million in

  value in one day. (Id. at ¶ 82; see also id. at ¶ 81). Barron’s also noted that

  the delisting was a “seeming reversal of promises that AmTrust managers made

  to the [SEC] and state insurance regulators.” (Id. at ¶ 81 (quoting Bill Alpert,

  “Troubled Insurer AmTrust to Delist Preferred Stock,” Barron’s, Jan. 28,

  2019)). 3

             6.     The Response to the Delisting Decision

             Investors were shocked and angry. (Compl. ¶ 86). Plaintiff issued an

  open letter to Stone Point, challenging the delisting decision and stating that

  Stone Point was compromising its reputation by agreeing to delist, which

  enriched it and the Karfunkel-Zyskind Family at the expense of retail investors.

  (Id.). Plaintiff also submitted a letter to the SEC objecting to the delisting and

  noting that he had purchased preferred equity specifically in reliance on




  2          Following the delisting, AmTrust’s preferred stocks became traded on “pink sheets,”
             without the protections afforded to the shareholders by being listed on the NYSE or
             another national exchange. (Compl. ¶ 76).
  3          Specifically, Barron’s reported that the Acquisition Group’s application to state
             insurance commissions stated that “AmTrust will continue to remain subject to certain
             SEC reporting requirements and requirements governing the independence of its audit
             committee given that its preferred stock will remain outstanding and listed on the New
             York Stock Exchange post-merger.” (Compl. ¶ 66(b)).

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  AmTrust’s assurances that the shares would remain listed and urging the SEC

  to commence an investigation. (Id.). Other investors, including those who have

  commenced litigation, expressed similar sentiments, and contacted AmTrust

  directly to note their disapproval. (Id.).

        Further, Keefe, Bruyette & Woods, Inc. (“KBW”), an underwriter for

  AmTrust’s preferred securities and debt notes, sued AmTrust in New York State

  Supreme Court, asserting claims for breach of contract and alleging

  reputational harm in connection with AmTrust’s delisting announcement. See

  Keefe, Bruyette & Woods, Inc. v. AmTrust Fin. Serv., Inc., Index

  No. 650695/2019 (N.Y. Sup. Ct. 2019). (Compl. ¶ 88). KBW moved to

  preliminarily enjoin AmTrust from proceeding with the delisting, urging it to

  postpone the effectiveness of the delisting. (Id.). It also contacted the SEC.

  (Id.). As alleged in its complaint:

               4. One of the selling features for the Depositary Shares
               was the fact that they were to be listed on the NYSE. A
               listing on a national securities exchange, such as the
               NYSE, triggers a company’s reporting requirements
               under the Securities Exchange Act of 1934. The
               reporting requirements provide securities holders with
               continuous information material to their investment in
               the company including quarterly reports, annual
               reports, proxy solicitations and notice of unscheduled
               material events or corporate changes. Listing on the
               NYSE also provides securities holders with a liquid
               trading market.

               5. In the Underwriting Agreement for the Series F
               Depositary Shares dated September 20, 2016 (the
               “Underwriting    Agreement”),   AmTrust     explicitly
               covenanted that it would keep the Depositary Shares
               listed on the NYSE. AmTrust gave the exact same
               covenant in the Underwriting Agreements for all of the


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                  Preferred Shares (series A-F) and the two issues of
                  Subordinated Debt Notes.

  (Id. at ¶ 88). KBW alleged that the delisting deprived the holders of the

  preferred securities of “material company information,” and “remove[d] a liquid

  trading market for these securities.” (Id. at ¶ 89). As a result, KBW alleged

  that “the delisting will significantly damage KBW’s and its affiliate’s customer

  relationships,” “damage KBW’s reputation as an underwriter,” “significantly

  impair KBW’s and its affiliate’s reputation and goodwill,” and that “it is obvious

  that tens of thousands of retail investors have already been negatively impacted

  by AmTrust’s public announcement of its intent to delist its Preferred Shares.”

  (Id.).

           On February 7, 2019, a judge of the New York County Supreme Court

  denied KBW’s request for a temporary restraining order to enjoin the delisting,

  stating that “[w]ith respect to the decrease in [preferred] share price, this is a

  harm to the investor,” not an underwriter like KBW. (Compl. ¶ 90). On

  July 29, 2018, the court dismissed KBW’s complaint without prejudice,

  reiterating the points raised in its February 7, 2019 ruling, and stating that

  KBW had failed to allege that it, as AmTrust’s underwriter, had suffered a

  direct injury as a result of the delisting. (Id.). 4


  4        Several preferred stockholders also filed an action against AmTrust in New York State
           Supreme Court, alleging, among other things, breach of contract and other common law
           claims. (Compl. ¶ 91 (citing Matlick v. AmTrust Financial Services, Inc., Index
           No. 651349/2019 (N.Y. Sup. Ct. 2019))). AmTrust also moved to dismiss the complaint
           in that action, and on March 16, 2020, the court granted its motion. See Matlick, Index
           No. 651349/2019, Dkt. #187 (Sup. Ct. N.Y. Cty. Mar. 16, 2019). The claims in that
           case — brought under Sections 11 and 12 of the Securities Exchange Act of 1934 and
           New York State law, see id. — are different from the claims at issue here and, for the
           most part, do not bear on the Court’s analysis.

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        On February 7, 2019, AmTrust filed a Form 15 advising that it had

  terminated listing of all series of preferred stock. (Compl. ¶ 92). The Form 15,

  signed by Stephen Ungar, Senior Vice President, General Counsel and

  Secretary of AmTrust, was entitled “Certification and Notice of Termination of

  Registration Under Section 12(g) of the Securities Exchange Act of 1934 or

  Suspension of Duty to File Reports Under Sections 13 and 15(d) of the

  Securities Exchange Act of 1934.” (Id.).

  B.    Procedural History

        Plaintiff filed the Complaint, styled as a putative class action, on

  August 28, 2019. (Dkt. #1; see also Dkt. #5). On September 6, 2019, Plaintiff

  reported that the notice required to be published by the Private Securities

  Litigation Reform Act, 15 U.S.C. § 78u-4(a)(3)(A), had been published on

  August 30, 2019, in PR Newswire. (Dkt. #10). On September 9, 2019, the

  Court issued a motion schedule for any party wishing to be appointed as lead

  plaintiff. (Dkt. #11). The Court received a motion only from Plaintiff Jan

  Martinek. (See Dkt. #18-21). Accordingly, on November 18, 2019, the Court

  issued an order appointing Martinek as lead plaintiff, to represent purchasers

  of AmTrust preferred stock from January 22, 2018, to January 18, 2019,

  inclusive (the “Class Period”), and approving his selection of Wolf Popper LLP as

  lead counsel. (Dkt. #23).

        On January 27, 2020, Defendants filed their motion to dismiss the

  Complaint. (Dkt. #27-29). Plaintiff filed his opposition brief on March 13,

  2020. (Dkt. #30). Defendants filed their reply brief on April 3, 2020. (Dkt.

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  #31). On April 6, 2020, Defendants submitted a request for oral argument on

  their motion. (Dkt. #32). The Court endorsed Defendants’ letter explaining

  that the Court would order oral argument if and when it decided that oral

  argument would aid the Court in resolving the motion. (Dkt. #33). The Court

  has now reviewed the motion papers and has determined that oral argument is

  unnecessary.

                                      DISCUSSION

  A.    Applicable Law

        1.     Motions to Dismiss Under Federal Rule of Civil
               Procedure 12(b)(6)

        When considering a motion to dismiss under Rule 12(b)(6), a court

  should “draw all reasonable inferences in [the plaintiff’s] favor, assume all

  well-pleaded factual allegations to be true, and determine whether they

  plausibly give rise to an entitlement to relief.” Faber v. Metro. Life Ins. Co., 648

  F.3d 98, 104 (2d Cir. 2011) (internal quotation marks omitted) (quoting Selevan

  v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d Cir. 2009)). Thus, “[t]o survive a

  motion to dismiss, a complaint must contain sufficient factual matter, accepted

  as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 570 (2007)).

        “While Twombly does not require heightened fact pleading of specifics, it

  does require enough facts to ‘nudge [a plaintiff’s] claims across the line from

  conceivable to plausible.’” In re Elevator Antitrust Litig., 502 F.3d 47, 50 (2d

  Cir. 2007) (per curiam) (quoting Twombly, 550 U.S. at 570). “Where a

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  complaint pleads facts that are ‘merely consistent with’ a defendant’s liability,

  it ‘stops short of the line between possibility and plausibility of entitlement to

  relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557). Moreover,

  “the tenet that a court must accept as true all of the allegations contained in a

  complaint is inapplicable to legal conclusions. Threadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements, do

  not suffice.” Id.

        2.     Securities Fraud Under Section 10(b), Rule 10b-5, and
               Section 20(a)

        Under Section 10(b) of the Exchange Act, it is

               unlawful for any person, directly or indirectly, by the
               use of any means or instrumentality of interstate
               commerce or of the mails, or of any facility of any
               national securities exchange ... [t]o use or employ, in
               connection with the purchase or sale of any security
               registered on a national securities exchange or any
               security not so registered, or any securities-based swap
               agreement any manipulative or deceptive device or
               contrivance in contravention of such rules and
               regulations as the Commission may prescribe as
               necessary or appropriate in the public interest or for the
               protection of investors.

  15 U.S.C. § 78j(b). Rule 10b-5, promulgated by the SEC under Section 10(b),

  further provides that a person may not

               employ any device, scheme, or artifice to defraud[;] ...
               make any untrue statement of a material fact or ... omit
               to state a material fact necessary in order to make the
               statements made, in the light of the circumstances
               under which they were made, not misleading[;] or ...
               engage in any act, practice, or course of business which
               operates or would operate as a fraud or deceit upon any
               person[;] in connection with the purchase or sale of any
               security.


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  17 C.F.R. § 240.10b-5. “Although Section 10(b) does not expressly provide for

  a private right of action, courts have long recognized an implied private right of

  action under Section 10(b) and Rule 10b-5.” In re Longtop Fin. Techs. Ltd. Sec.

  Litig., 939 F. Supp. 2d 360, 376 (S.D.N.Y. 2013) (citing Superintendent of Ins. v.

  Bankers Life & Cas. Co., 404 U.S. 6, 13 n.9 (1971) (“It is now established that a

  private right of action is implied under [Section] 10(b).”)).

        To prevail on a Section 10(b) or a Rule 10b-5 claim, a plaintiff must prove

  “[i] a material misrepresentation or omission by the defendant; [ii] scienter;

  [iii] a connection between the misrepresentation or omission and the purchase

  or sale of a security; [iv] reliance upon the misrepresentation or omission;

  [v] economic loss; and [vi] loss causation.’” GAMCO Inv’rs, Inc. v. Vivendi

  Universal, S.A., 838 F.3d 214, 217 (2d Cir. 2016) (quoting Halliburton Co. v.

  Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014)). Such claims are subject to

  the heightened pleading requirements of Rule 9(b) of the Federal Rules of Civil

  Procedure and the Private Securities Litigation Reform Act (the “PSLRA”), 15

  U.S.C. § 78u-4(b). See, e.g., ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d

  87, 99 (2d Cir. 2007) (affirming that securities fraud claims must satisfy the

  heightened pleading standards of both Rule 9(b) and the PSLRA); Arco Capital

  Corp. v. Deutsche Bank AG, 949 F. Supp. 2d 532, 539 (S.D.N.Y. 2013) (same).

        Under Rule 9(b), a plaintiff must “state with particularity the

  circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This requires that a

  plaintiff’s complaint: “[i] specify the statements that the plaintiff contends were

  fraudulent, [ii] identify the speaker, [iii] state where and when the statements

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  were made, and [iv] explain why the statements were fraudulent.” Rombach v.

  Chang, 355 F.3d 164, 170 (2d Cir. 2004) (internal quotation marks omitted)

  (quoting Mills v. Polar Molecular Corp., 12 F.3d 1170, 1175 (2d Cir. 1993)). In

  contrast, “intent, knowledge, and other conditions of mind may be averred

  generally.” Kalnit v. Eichler, 264 F.3d 131, 138 (2d Cir. 2001) (quoting Fed. R.

  Civ. P. 9(b)).

         Section 20(a) of the Exchange Act provides that “[e]very person who,

  directly or indirectly, controls any person liable under [the Exchange Act and

  its implementing regulations] shall also be liable jointly and severally with and

  to the same extent as such controlled person to any person to whom such

  controlled person is liable.” 15 U.S.C. § 78t(a). A claim under Section 20(a) is

  thus dependent on the validity of an underlying securities violation. Indeed, to

  establish control-person liability, a plaintiff must show [i] “a primary violation

  by the controlled person”; [ii] “control of the primary violator by the defendant”;

  and [iii] that the controlling person “was, in some meaningful sense, a culpable

  participant in the controlled person’s fraud.” ATSI Commc’ns, Inc., 493 F.3d at

  108.

         3.        The Challenged Elements of Plaintiff’s Securities Fraud Claim

         Defendants’ motion attacks two elements of Plaintiff’s claims, arguing

  that Plaintiff failed to allege adequately: (i) a material misrepresentation or

  omission and (ii) scienter. The Court addresses each in turn.




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              a.     Material Misrepresentations or Omissions

        Rule 10b-5 prohibits “mak[ing] any untrue statement of a material fact”

  or “omit[ting] to state a material fact necessary in order to make the statements

  made, in light of the circumstances under which they were made, not

  misleading.” 17 C.F.R. § 240.10b-5(b). “A statement is misleading if a

  reasonable investor would have received a false impression from the

  statement.” In re Inv. Tech. Grp., Inc. Sec. Litig., 251 F. Supp. 3d 596, 609

  (S.D.N.Y. 2017) (quoting Freudenberg v. E*Trade Fin. Corp., 712 F. Supp. 2d

  171, 180 (S.D.N.Y. 2010)). “The ‘veracity of a statement or omission is

  measured not by its literal truth, but by its ability to accurately inform rather

  than mislead prospective buyers.’” In re Pretium Res. Inc. Sec. Litig., 256

  F. Supp. 3d 459, 472 (S.D.N.Y. 2017) (quoting Kleinman v. Elan Corp., plc, 706

  F.3d 145, 153 (2d Cir. 2013)).

        “Section 10 ‘do[es] not create an affirmative duty to disclose any and all

  material information.’” In re Pretium Res. Inc. Sec. Litig., 256 F. Supp. 3d at

  472 (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011)).

  “Thus, generally, ‘an omission is actionable under the securities laws only

  when the corporation is subject to a duty to disclose the omitted facts.’” In re

  Inv. Tech. Grp., Inc. Sec. Litig., 251 F. Supp. 3d at 609 (quoting Stratte-McClure

  v. Morgan Stanley, 776 F.3d 94, 101 (2d Cir. 2015)). “A duty to disclose under

  Rule 10b-5 may arise ‘when there is a corporate insider trad[ing] on

  confidential information, a statute or regulation requiring disclosure, or a

  corporate statement that would otherwise be inaccurate, incomplete, or


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   misleading.’” Id. (alteration in original) (quoting Stratte-McClure, 776 F.3d at

   101).

           Even where a company is not under a duty to disclose, however, once it

   “chooses to speak, it has a ‘duty to be both accurate and complete.’” Sharette

   v. Credit Suisse Int’l, 127 F. Supp. 3d 60, 78-79 (S.D.N.Y. 2015) (quoting

   Plumbers’ Union Local No. 12 Pension Fund v. Swiss Reinsurance Co., 753

   F. Supp. 2d 166, 180 (S.D.N.Y. 2010)). This obligation only extends, however,

   to facts necessary to render “what was revealed [to] not be so incomplete as to

   mislead.” Richman v. Goldman Sachs Grp., Inc., 868 F. Supp. 2d 261, 273

   (S.D.N.Y. 2012) (quoting In re Bristol Myers Squibb Co. Sec. Litig., 586 F. Supp.

   2d 148, 160 (S.D.N.Y. 2008)). Indeed, a company need not “accuse itself of

   wrongdoing,” nor disclose an ongoing investigation, where the failure to do so

   would not make the company’s statements misleading. Id. (quoting In re

   Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367, 377 (S.D.N.Y. 2004)); see also

   Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 277 F. Supp. 3d 500, 511 (S.D.N.Y.

   2017) (“For such a duty [to disclose uncharged wrongdoing] to arise, … there

   must be a connection between the illegal conduct and the misleading

   statements beyond the simple fact that a criminal conviction would have an

   adverse impact upon the corporation’s operations in general or the bottom

   line.” (quoting Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 164 F. Supp. 3d 568,

   581 (S.D.N.Y. 2016))).

           To be actionable, a misstatement or omission must also be material,

   meaning that “a reasonable investor would have considered [it] significant in

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   making investment decisions.” Heller v. Goldin Restructuring Fund, L.P., 590

   F. Supp. 2d 603, 614 (S.D.N.Y. 2008) (quoting Ganino v. Citizens Utils. Co., 228

   F.3d 154, 161 (2d Cir. 2000)). This is so where “there [is] a substantial

   likelihood that the disclosure of the omitted fact would have been viewed by the

   reasonable investor as having significantly altered the total mix of information

   made available.” In re Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600,

   646 (S.D.N.Y. 2017) (quoting ECA, Local 134 IBEW Joint Pension Tr. of Chi. v. JP

   Morgan Chase Co., 553 F.3d 187, 197 (2d Cir. 2009)). “[W]hether an alleged

   misrepresentation is material necessarily depends on all relevant

   circumstances,” and “[b]ecause materiality is a mixed question of law and fact,

   in the context of a Fed. R. Civ. P. 12(b)(6) motion, a complaint may not properly

   be dismissed … on the ground that the alleged misstatements or omissions are

   not material unless they are so obviously unimportant to a reasonable investor

   that reasonable minds could not differ on the question of their importance.” In

   re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65, 79 (S.D.N.Y. 2017) (last

   alteration in original) (quoting ECA, 553 F.3d at 197)).

               b.     Scienter

         As mentioned above, pursuant to the PSLRA, “no defendant may be held

   liable for any … false or misleading statements unless [a] [p]laintiff has stated

   ‘with particularity facts giving rise to a strong inference that the defendant

   acted with the required state of mind.’” In re Banco Bradesco, 277 F. Supp. 3d

   at 664 (quoting 15 U.S.C. § 78u-4(b)(2)) (emphasis added). Scienter includes “a

   mental state embracing intent to deceive, manipulate, or defraud,” or


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   “recklessness.” Id. at 664 (quoting Ernst & Ernst v. Hochfelder, 425 U.S. 185,

   193 n.12 (1976); ECA, 553 F.3d at 198). A “strong inference” that a defendant

   acted with scienter need not be an irrefutable inference, though it “must be

   more than merely plausible or reasonable[.]” Tellabs, Inc. v. Makor Issues &

   Rights, Ltd., 551 U.S. 308, 314 (2007). It cannot be identified “in a vacuum,”

   as “[t]he inquiry is inherently comparative[.]” Id. at 323. A “strong inference” is

   an inference that is “cogent and at least as compelling as any opposing

   inference one could draw from the facts alleged.” Id. at 324.

         To evaluate whether the PSLRA’s standard has been met, courts consider

   “whether all of the facts alleged, taken collectively, give rise to a strong

   inference of scienter, not whether any individual allegation, scrutinized in

   isolation, meets that standard.” Tellabs, Inc., 551 U.S. at 323 (emphasis in

   original); see also id. at 326 (“[The court’s job is not to scrutinize each

   allegation in isolation but to assess all the allegations holistically. ... [A] court

   must ask: When the allegations are accepted as true and taken collectively,

   would a reasonable person deem the inference of scienter at least as strong as

   any opposing inference?”). And “[w]hen the defendant is a corporate entity, ...

   the pleaded facts must create a strong inference that someone whose intent

   could be imputed to the corporation acted with the requisite scienter.”

   Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital Inc., 531 F.3d

   190, 195 (2d Cir. 2008). “Ascribing a state of mind to a corporate entity is a

   difficult and sometimes confusing task … because the hierarchical and

   differentiated corporate structure often muddies the distinction between

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   deliberate fraud and an unfortunate (yet unintentional) error caused by mere

   mismanagement.” Jackson v. Abernathy, 960 F.3d 94, 98 (2d Cir. 2020).

         Ultimately, the facts pleaded must: (i) show “that the defendants had the

   motive and opportunity to commit fraud,” or (ii) constitute “strong

   circumstantial evidence of conscious misbehavior or recklessness.” ECA, 553

   F.3d at 198. “In order to raise a strong inference of scienter through ‘motive

   and opportunity’ to defraud, [a plaintiff] must allege that [defendants]

   ‘benefitted in some concrete and personal way from the purported fraud.’” Id.

   (emphasis added) (quoting Novak v. Kasaks, 216 F.3d 300, 307-08 (2d Cir.

   2000)). It is not enough for a plaintiff to show “[m]otives that are common to

   most corporate officers, such as the desire for the corporation to appear

   profitable and the desire to keep stock prices high to increase officer

   compensation[.]” Id.; accord, e.g., Chill v. Gen. Elec. Co., 101 F.3d 263, 268 (2d

   Cir. 1996) (“[A] generalized motive ... which could be imputed to any publicly

   owned, for-profit endeavor, is not sufficiently concrete for purposes of inferring

   scienter.”).

         In the absence of a showing of motive, a plaintiff must plead conscious

   misbehavior or recklessness. Conscious recklessness is a “state of mind

   approximating actual intent, and not merely a heightened form of negligence.”

   S. Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109 (2d Cir. 2009)

   (quotation mark and emphasis omitted) (quoting Novak, 216 F.3d at 312). To

   plead conscious recklessness adequately, a plaintiff must allege facts showing

   “conduct which is highly unreasonable and which represents an extreme

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   departure from the standards of ordinary care to the extent that the danger

   was either known to the defendants or so obvious that the defendant must

   have been aware of it.” In re Carter-Wallace, Inc. Sec. Litig., 220 F.3d 36, 39 (2d

   Cir. 2000); accord Rothman v. Gregor, 220 F.3d 81, 90 (2d Cir. 2000) (quoting

   Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38, 47 (2d Cir. 1978)). A plaintiff

   may allege that a defendant “engaged in deliberately illegal behavior, knew

   facts or had access to information suggesting his public statements were not

   accurate, or failed to check information that he had a duty to monitor.” Nathel

   v. Siegal, 592 F. Supp. 2d 452, 464 (S.D.N.Y. 2008) (citing Novak, 216 F.3d at

   311). Opinions or predictions can be the basis for scienter “if they are worded

   as guarantees or are supported by specific statements of fact, or if the speaker

   does not genuinely or reasonably believe them.” In re Int’l Bus. Machs. Corp.

   Sec. Litig., 163 F.3d 102, 107 (2d Cir. 1998) (citation omitted).

   B.    Analysis

         1.    Plaintiff Has Adequately Pleaded an Actionable Misstatement

         Plaintiff argues that each of Defendants’ representations about

   AmTrust’s preferred stock remaining listed on the NYSE following the Merger

   was a material misstatement. In response, Defendants argue that Plaintiff has

   not shown that these statements were false when made, and in any event, such

   statements are protected forward-looking statements that cannot give rise to a

   Section 10(b) claim. (Def. Br. 14). Both sides group such alleged

   misstatements into five groups (see Def. Br. 9-15; Pl. Opp. 12), which

   groupings the Court adopts for purposes of this Opinion.


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               a.     Defendants’ Representations That the Preferred Stock
                      “Will” Continue to Be Listed Are Actionable

         While Plaintiff proffers several types of alleged misstatements, the

   representations that are most clearly actionable are Defendants’ statements

   that the preferred stock “will” continue to be listed post-Merger. In their

   April 9, 2018 preliminary proxy, Defendants stated that the preferred stock

   “will continue to be listed on the [NYSE] following the merger and the reporting

   obligations with respect to such shares under the Exchange Act will therefore

   continue.” (Compl. ¶ 67 (emphases added)). This statement was then repeated

   in AmTrust’s final proxy and in subsequent Form 10-Qs. (See id. at ¶ 68).

   These statements laid to rest any investor doubt regarding the certainty of

   Defendants’ “expectations” regarding the preferred stock.

         Defendants posit two arguments with respect to these alleged

   misstatements. First, Defendants argue that “Plaintiff does not allege any facts

   suggesting that this statement was false when made, particularly as the go-

   private transaction by its own terms had no effect on the Preferred Stock,

   which remained listed for a time after the transaction closed.” (Def. Br. 14).

   But the very fact that Defendants decided to delist the preferred shares barely

   two months after the Merger closed — on bases that were known to Defendants

   at the time they represented that they “will” maintain the listings — strongly

   suggests that Defendants knew this statement to be false when made.

         Further, Defendants’ interpretation of this statement is strained and

   inconsistent with how an investor would reasonably interpret this statement.

   Defendants’ statement that they “will” maintain the preferred stock’s listing
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   indicated to investors that Defendants had evaluated the pros and cons of

   continuing to list the preferred stock on the NYSE and had made a reasoned

   determination to continue. See In re Pretium Res. Inc. Sec. Litig., 256 F. Supp.

   3d at 472 (“The ‘veracity of a statement … is measured … by its ability to

   accurately inform rather than mislead prospective buyers.’” (quoting Kleinman,

   706 F.3d at 153)). No investor would reasonably understand Defendants’

   representation of “continuing” to maintain the listing post-buyout as leaving

   open the possibility of delisting a mere seven weeks after the Merger closed —

   even though such a period is, as Defendants strain to argue, “a time.” See

   Omnicare, Inc. v. Laborers Dist. Council Const. Industry Pension Fund, 575 U.S.

   175, 186-87 (2015) (“[W]hether a statement is ‘misleading’ depends on the

   perspective of a reasonable investor: The inquiry … is objective.”). Defendants’

   representations were, at best, misleading. See Wilson v. Merrill Lynch & Co.,

   671 F.3d 120, 130 (2d Cir. 2011) (“[S]o-called ‘half-truths’ — literally true

   statements that create a materially misleading impression — will support

   claims for securities fraud.”); In re Sadia, 269 F.R.D. 298, 302 (S.D.N.Y. 2010)

   (noting, in the materiality context, the need to analyze “how information would

   be viewed by a reasonable investor,” which is “influenced by considerations of

   fairness, probability, and common sense” (citing Basic v. Levinson, 485 U.S.

   224, 231-32 (1988))).

         Second, Defendants claim that they expressly identified statements in the

   “Questions and Answers” section of these proxy statements as forward-looking




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   statements protected by the PSLRA. (Def. Br. 14). 5 But the only cautionary

   language in the proxies was that certain unidentified statements within a

   dense five-page Q&A section may be forward-looking. (See Reed Decl., Ex. 12

   at 82). As an initial matter, it is questionable that a reasonable investor would

   have understood assurances that Defendants “will” take certain action within

   their control to be forward-looking. See, e.g., In re Gen. Elec. Co. Sec. Litig., 857

   F. Supp. 2d 367, 380, 388, 397 (S.D.N.Y. 2012) (finding that CEO’s statement

   that investors could “count on a great dividend” was actionable and not

   protected by safe harbor for forward-looking statements, when the dividend

   was cut some ten weeks later).




   5     Plaintiff contends that the safe harbor provision of the PSLRA would not apply to
         Defendants’ statements because such an affirmative defense does not protect
         statements “made in connection with a going private transaction.” (Pl. Opp. 11 (quoting
         15 U.S.C. § 78u-5(b)(1)(E))). Plaintiff also points to another statutory exemption to the
         safe harbor rule for statements “made in disclosure of beneficial ownership in a report
         required to be filed … pursuant to section 13(d).” (Id. (quoting 15 U.S.C. § 78u-
         5(b)(2)(F)). Plaintiff purports that this exemption applies to the Schedule 13D that
         Defendants filed on January 22, 2018, at the beginning of the Class Period. (See id.).
         Defendants respond that Plaintiff’s claims are not based on the “going private” part of
         the transaction, but are based solely about shares that remained public. (Def. Reply 2).
         Defendants are correct that “Plaintiff offers no authority suggesting that the PSLRA safe
         harbor exception was intended to apply to representations about shares that were
         publicly traded before and after the transaction, nor any reason that an investor should
         be able to consider forward-looking statements about publicly traded shares that are
         accompanied by cautionary language to be material in one context but not the other.”
         (Id.). Defendants also argue that even if Plaintiff were correct that the PSLRA’s safe
         harbor provision did not apply, it is of no moment because the same result obtains
         under the judicially created “counterpart” to the PSLRA’s safe harbor, the “bespeaks
         caution” doctrine, which covers forward-looking statements regarding intention and
         expectation. (See id. at 3 (citing Rombach v. Chang, 355 F.3d 164, 173 (2d Cir. 2004)
         and Johnson v. Sequans Commc’ns S.A., No. 11 Civ. 6341 (PAC), 2013 WL 214297, at
         *15 (S.D.N.Y. Jan. 17, 2013)).
         The Court need not decide which of the safe harbor provision or the bespeaks caution
         doctrine applies because, as explained in this Opinion, Defendants’ statements were
         either: (i) not adequately cautionary or (ii) knowingly false.

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         In any event, this generalized warning is insufficient to invoke the safe

   harbor provision of the PSLRA. See 15 U.S.C. § 78u-5(c)(1)(A)(ii) (stating that

   forward-looking statement must be “accompanied by meaningful cautionary

   statements identifying important factors that could cause actual results to differ

   materially from those in the forward-looking statement” (emphases added)); see

   also Slayton v. Am. Express Co., 604 F.3d 758, 770-71 (2d Cir. 2010) (rejecting

   boilerplate and generalized warnings as insufficient to invoke safe harbor); In re

   Skechers USA, Inc. Sec. Litig., No. 18 Civ. 8039 (NRB), 2020 WL 1233759, at *7-

   8 (S.D.N.Y. Mar. 12, 2020) (explaining that to trigger PSLRA safe harbor,

   warnings must contain sufficiently meaningful information about specific risks

   addressed by alleged misstatements).

               b.    Defendants’ Statements of Expectation or Current
                     Intention That the Preferred Stock Would Continue to Be
                     Listed Are Actionable

         Plaintiff’s next category of misstatements involves Defendants’

   “expectation” that the preferred stock would continue to be listed on the NYSE.

   Specifically, Plaintiff alleges that on three occasions between March 1 and

   May 4, 2018, AmTrust stated that “[e]ach share of the Company’s currently

   outstanding preferred stock will remain outstanding and it is expected that

   they will continue to be listed on the New York Stock Exchange following the

   consummation of the transaction.” (Compl. ¶¶ 50, 52, 66(f), (h), (k)).

         Defendants contend that Plaintiff has failed to plead any facts suggesting

   that this statement of expectation was false when made, particularly as the

   preferred stock did remain outstanding for a time after the go-private


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   transaction closed. (Def. Br. 12). Further, Defendants argue that each time

   AmTrust made this statement, it simultaneously cautioned investors that

   “[w]hen we use words such as … ‘expect’ … we do so to identify forward-looking

   statements … [and] [a]ctual results may differ materially from those expressed

   or implied in these statements.” (Reed Decl., Ex. 7 at 1; id. at Ex. 8 at 5; id. at

   Ex. 14 at 5). According to Defendants, “[t]his cautionary language means that

   AmTrust’s statements of its expectations are protected by the PSLRA’s safe

   harbor, which protects forward looking statements that are either ‘identified

   and accompanied by meaningful cautionary language or [are] immaterial or the

   plaintiff fails to prove that [they were] made with actual knowledge that it was

   false or misleading.’” (Def. Br. 12-13 (quoting Ong v. Chipotle Mexican Grill,

   Inc., 294 F. Supp. 3d 199, 237 (S.D.N.Y. 2018)).

         While there are, of course, circumstances where “expectations” are

   forward-looking and protected by the PSLRA’s safe harbor provision, see, e.g.,

   Ong, 294 F. Supp. 3d at 237, this case presents a much closer question. At

   the outset of its analysis, the Court finds it worth noting that while the

   “cautionary” language here refers to the word “expect,” it does not meaningfully

   address the specific risk that AmTrust would decide to delist the preferred

   stock. See In re Skechers USA, Inc. Sec. Litig., 2020 WL 1233759, at *8. But

   even if the Court were to accept Defendants’ contention that these statements

   fall within the PSLRA’s safe harbor provision, the Court would still find the

   statements actionable. As explained herein, Plaintiff has pleaded that the

   Defendants’ proffered reasons for delisting the stock that were known or

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   knowable to Defendants at the time they held their “expectations” and that,

   therefore, these statements were made with actual knowledge that they were

   false or misleading.

         Defendants claimed that AmTrust’s decision to delist was based on its

   “determination that the administrative costs and burdens associated with

   maintaining the listings on the NYSE and the registration exceed the benefits

   given the small number of record holders and low daily trading volume.”

   (Compl. ¶ 76). The press release announcing the delisting also identified “the

   Company’s new ownership structure” since the Merger and made a vague

   reference to the “resulting changes to its long-term strategy” as reasons for the

   delisting. (Id.). The Individual Defendants were the founders, long-time

   controlling stockholders, and directors and officers of AmTrust, who spent

   months planning to take the Company private. (See Compl. ¶¶ 37-40). The

   Acquisition Group conducted extensive due diligence as early as November 17,

   2017, in advance of its January 9, 2018 Proposal, for the Merger that closed on

   November 29, 2018. Thus, both the “administrative costs and burdens

   associated with maintaining the listings on the NYSE” and the Company’s “new

   ownership structure” were certainly facts known to Defendants throughout

   2018, when they publicly stated that the preferred stock would remain listed.

   Moreover, as Plaintiff argues, to the extent “costs” were the actual issue, the

   listing could have been moved to another exchange such as NASDAQ. Instead,

   the preferred stocks were left to be traded on pink sheets with none of the

   protections afforded by being listed on the NYSE or another national

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   exchange. 6 Notably, none of these “explanations” for the delisting was included

   as a “risk” related to the preferred stock in AmTrust’s 2017 Form 10-K or any

   other SEC filing by any Defendant during the Class Period. (Id. at ¶ 79).

         Defendants respond that “even if the facts supporting the delisting were

   knowable when Defendants made these statements, that would not create a

   strong inference that Defendants (i) had those facts in mind in 2018,

   (ii) concluded they justified delisting the preferred stock, (iii) decided to delist,

   and (iv) falsely stated that they did not expect to delist.” (Def. Reply 5-6). But

   Defendants’ had an obligation to avoid half-truths, see Wilson, 671 F.3d at

   130, and by perpetuating the “expectation” that the preferred stock would

   continue to be listed, Defendants fostered the misimpression that they had

   contemplated what would happen with the preferred stock following the Merger

   and had made a conscious decision that the preferred stock would remain

   listed. Accordingly, the Court finds Defendants’ statements regarding their

   “expectations” that the preferred stock will continue to remain listed to be

   actionable.

                 c.    Plaintiff’s Remaining Proffered Misstatements Are Not
                       Actionable

         The remainder of Plaintiff’s alleged misstatements are non-actionable.

   First, Plaintiff points to nine statements made by AmTrust between January

   and November 2018, that the Merger “contemplates that the outstanding series


   6     Further, the vague gesture to the “small number of record holders” was deceptive, per
         Plaintiff, because, as Defendants know, the majority of investors are not the actual
         record holders of the stock they beneficially own — most investors own the stock in
         street name through financial institutions. (See Compl. ¶ 78).

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   of AmTrust preferred stock will remain outstanding in accordance with their

   terms.” (Compl. ¶¶ 45, 58, 66(a), (d), (g), (i)-(m)). Plaintiff claims that this

   statement is untrue because the prospectus supplements, which describe the

   terms of the governing certificates of designation and deposit agreements for

   the preferred stock, stated that AmTrust “intends to apply to list” the stock’s

   depository shares on the NYSE, and because AmTrust made statements in the

   underwriting agreements that it would use commercially reasonable efforts to

   list the stock. (Pl. Opp. 17-18).

         Defendants rejoin that, as an initial matter, the prospectus supplements

   and underwriting agreement that contain the representation that Defendants

   intend to apply to list the preferred stock, are not terms of the preferred stock,

   which are contained solely in the certificates of designation and depositary

   agreements. (See Def. Br. 10). Defendants also contend that regardless of

   whether these terms are technically part of the preferred stocks, the prospectus

   supplements contain no promise that the preferred stock would remain listed,

   much less remain listed in perpetuity. The Court agrees with the latter

   argument, and the reasoning of Matlick v. AmTrust Fin. Servs., Inc., 67 Misc. 3d

   1202(A), 2020 WL 1294669 (Sup. Ct. N.Y. Cty. Mar. 16, 2020), in which the

   court explained that at the time of issuing the preferred shares, “AmTrust had

   no duty to inform investors of the fact that it could one day voluntarily delist its

   Securities, a fact which federal law has always made clear[.]” Id. at *8.

         Second, Plaintiff points to a presentation prepared by the Special

   Committee’s financial advisor, Deutsche Bank. The presentation contained a

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   slide identifying, as a “key term” of the Proposal, that the preferred shares

   would “remain outstanding in accordance with their terms,” and indicating

   under the heading “comments/areas for clarification” this meant the “[o]ngoing

   disclosure and other obligations of the preferred securities.” (Compl. ¶ 66(i),

   (k)). As noted above, the Court has found statements indicating that the

   preferred stock would remain outstanding in accordance with its terms not to

   be actionable. Further, the fact that Deutsche Bank raised AmTrust’s

   disclosure and other obligations of the preferred stock as a “comment” or “area

   for clarification” is not an affirmative statement by Defendants that the

   preferred stock would continue to be listed on the NYSE and is far too vague to

   induce reasonable reliance by an investor. See, e.g., Abuhamdan v. Blyth, Inc.,

   9 F. Supp. 3d 175, 192 (D. Conn. 2014) (finding reference to “growth at

   ViSalus” too vague to induce reasonable reliance by an investor).

         Plaintiff’s final category of misstatements are those that were published

   in a Barron’s article regarding representations that AmTrust made to insurance

   regulators, which article became public after AmTrust announced the delisting.

   (See Compl. ¶¶ 66(b), (n), 81, 88-91). Plaintiff does not allege that he was

   aware of these statements until they were published, and a “plaintiff cannot

   rely on acts of which [he] was unaware.” Arco Capital Corp. Ltd. v. Deutsche

   Bank AG, 986 F. Supp. 2d 296, 306-07 (S.D.N.Y. 2013) (citing Stoneridge Inv.

   Partners, LLC v. Scientific-Atlanta Inc., 552 U.S. 148, 161, 171 (2008)). As

   Plaintiff could not have relied on these statements until after AmTrust

   announced its decision to delist the Preferred Stock, these alleged statements

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   cannot give rise to a Section 10(b) claim. However, as explained below, such

   statements may be relevant when considering Defendants’ scienter.

         2.     Plaintiff Has Adequately Pleaded Scienter

         As explained above, a strong inference of scienter can be pleaded in two

   ways: “[i] showing that the defendants had both motive and opportunity to

   commit the fraud or [ii] [facts] constituting strong circumstantial evidence of

   conscious misbehavior or recklessness.” ATSI Commc’ns, Inc., 493 F.3d at 99

   (citations omitted). A complaint will survive “only if a reasonable person would

   deem the inference of scienter cogent and at least as compelling as any

   opposing inference one could draw from the facts alleged.” Tellabs, Inc., 551

   U.S. at 324. In determining whether Plaintiff has adequately pleaded scienter,

   “[t]he court’s job is not to scrutinize each allegation in isolation but to assess

   all the allegations holistically.” Id. at 326.

         Plaintiff provides the following narrative explaining Defendants’ motive

   and opportunity to commit fraud: AmTrust was plagued by accounting

   scandals during its time as a public company. (See Compl. ¶ 35). On

   February 27, 2017, AmTrust announced that it had identified “material

   weaknesses” in its financial reporting internal controls. Id. Then, on March 6,

   2017, AmTrust announced that it would be increasing its loss reserves, and

   that its financial statements for 2014, 2015, and 2016 were unreliable and

   would need to be restated. (See id.). On April 11, 2017, the Wall Street Journal

   reported that the SEC, the FBI, and DFS were, with the help of a former




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   AmTrust auditor, investigating AmTrust’s finances. (Id.; id. at ¶ 41). 7 These

   disclosures caused the price of AmTrust common shares to plummet from

   $27.66 on February 24, 2017, to $15.30 by market close on April 11, 2017,

   and caused the filing of several lawsuits, including a consolidated securities

   fraud action and a derivative action. See In re AmTrust Fin. Servs., Inc. Sec.

   Litig., No. 17 Civ. 1545 (LAK) (S.D.N.Y.); In re AmTrust Fin. Servs., Inc. Deriv.

   Litig., No. 17 Civ. 553 (MN) (D. Del.). 8

         According to Plaintiff, the Individual Defendants seized on the

   opportunity to take AmTrust private at the moment its common stock was

   trading at an uncharacteristic low. (Compl. ¶ 53). A private buyout would

   obviate the need for AmTrust to comply with the periodic public financial

   reporting that is required of public companies under the Securities Exchange

   Act. (Id. at ¶ 43). Furthermore, a buyout would extinguish any derivative

   liability arising out of the accounting scandal that could expose the Individual

   Defendants to significant personal liability. (Id.). Thus, the only thing exposing

   Defendants to SEC reporting and derivative liability was the listing of the

   preferred shares on the NYSE. However, acquiring the preferred stock in the

   buyout, in addition to the common stock, would materially increase the cost of


   7     Despite the report, Defendants did not acknowledge the existence of the SEC’s five-year-
         long investigation until May 2018, when they were soliciting approval of the Merger.
         (See Compl. ¶¶ 41-42 (identifying additional disclosures in October 2018 regarding the
         SEC’s findings against AmTrust’s accountants)).
   8     Further, the Individual Defendants had been defending against a stockholder derivative
         action in the Delaware Court of Chancery since 2015, arising from their alleged
         usurpation of a valuable insurance business from AmTrust. See In re AmTrust Fin.
         Servs., Inc. S’holder Litig., No. 2018-0396 (AGB), 2020 WL 914563, at *3 (Del. Ch.
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   such a buyout. As told by Plaintiff, the listing of the preferred stock posed a

   problem for the Individual Defendants, who wished to take AmTrust private

   and evade the financial reporting obligations that had plagued them and the

   Company in recent years. (Id. at ¶¶ 6, 41, 48, 84).

         Precisely for this reason, when the Individual Defendants proposed the

   Merger, investors and the public questioned their motives: maintaining the

   preferred stocks on the NYSE would require AmTrust to continue complying

   with regulations governing public companies and would defeat a seemingly

   central justification for any going-private acquisition. In order to ensure that

   the Merger was approved, Defendants had to assuage the market, state

   insurance commissions, and stockholders voting on the Merger by representing

   that the preferred stock would remain listed and that AmTrust would continue

   to be subject to reporting requirements. Notably, many of the investors in

   preferred stock were also shareholders of AmTrust’s common stock: in

   assessing whether to vote for the Merger, those investors needed to be

   reassured that their preferred stock would remain listed and, therefore, liquid.

   In order to ensure that the Merger was approved, Defendants maintained that

   they “expected” the preferred stock to remain listed and later stated that it

   “will” remain listed.

         Defendants respond to Plaintiff’s allegations of motive by citing cases in

   which courts have held that motives common to corporate officers are

   insufficient to show scienter. (See Def. Br. 17-18). It is true that motives such

   as the desire for a corporation to appear profitable, the desire to complete a

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   merger, and the desire to keep stock prices high to increase officer

   compensation do not suffice to constitute “motive.” See ECA, 553 F.3d at 198.

   At the same time, motive can be proven through a showing that the defendant

   “benefitted in some concrete and personal way from the purported fraud.” Id.

         The motive Plaintiff ascribes to the Individual Defendants here — to

   squeeze out minority stockholders to acquire a highly profitable business, at a

   time when AmTrust common stock was trading at historic lows, and in the

   process to extinguish existing derivative securities fraud claims exposing each

   of the Individual Defendants to personal liability — is particular, unique, and

   indicative of Defendants benefiting in a concrete and personal way from the

   purported fraud. See id. (“‘[M]otive’ showing is generally met when corporate

   insiders allegedly make a misrepresentation in order to sell their own shares at

   a profit.”); Moon Joon Yu v. Premiere Power LLC, No. 14 Civ. 7588 (KPF), 2015

   WL 4629495, at *9 (S.D.N.Y. Aug. 4, 2015) (concluding that defendant’s need to

   generate money to pay off a $2.4 million settlement obtained against him

   constituted a personal and concrete motive). As Plaintiff explains, the cases

   cited by Defendants are inapposite, as they do not address the situation here,

   where AmTrust’s controlling stockholders were not effecting a typical

   transaction with a third party for the benefit of the Company and its

   stockholders, but rather were seeking a transaction to benefit themselves, to

   squeeze out minority stockholders, which would also extinguish their derivative

   liability. Cf. Kalnit v. Eichner, 99 F. Supp. 2d 327, 337-39 (S.D.N.Y. 2000)

   (acknowledging that allegations that directors “hoped to receive increased

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   compensation, lucrative executive positions and other corporate perquisites”

   were reasonable, but insufficient to demonstrate scienter, as such a rule would

   expose independent directors to liability for virtually any merger), aff’d, 264

   F.3d 131 (2d Cir. 2001); Elliott Assocs., L.P. v. Hayes, 141 F. Supp. 2d 344, 359

   (S.D.N.Y. 2000) (rejecting inference of scienter where controlling stockholders

   were attempting to “maximize their equity control over a company” while

   raising “much needed capital”).

         The fact of the matter is that, prior to the Merger, Defendants repeatedly

   assured investors that the preferred stock would remain listed, and then, less

   than two months after the transaction closed, decided to delist the preferred

   stock. Defendants’ professed reasons for delisting the stock — which, as

   explained above, were known to the Individual Defendants before the Merger —

   only strengthen Plaintiff’s argument this was a classic bait and switch.

   Accordingly, the Court finds that Plaintiff’s narrative of scienter is “cogent and

   at least as compelling as any opposing inference one could draw from the facts

   as alleged.” See In re Adv. Battery Techs., Inc., 781 F.3d 638, 644 (2d Cir.

   2015) (quoting Tellabs, 551 U.S. at 324).

         3.    Plaintiff Has Adequately Stated a Claim for Control Person
               Liability Under Section 20(a)

         The Complaint also alleges that the Individual Defendants violated

   Section 20(a). A prima facie case of control person liability under Section 20(a)

   of the Exchange Act requires “[i] a primary violation by the controlled person;

   [ii] control of the primary violator by the defendant; and [iii] that the defendant



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   was, in some meaningful sense, a culpable participant in the controlled

   person’s fraud.” ATSI Commc’ns, Inc., 493 F.3d at 108.

         In moving to dismiss, Defendants argue that the Section 20(a) claim

   must fail because Plaintiff has: (i) failed to plead a Section 10(b) or Rule 10b-5

   claim against AmTrust; and (ii) not adequately pleaded that any Individual

   Defendant culpably participated in securities fraud. (Def. Br. 23). However, as

   explained above, the Court has already found that Plaintiff has stated a

   primary violation of Section 10(b) and adequately pleaded scienter. Plaintiff

   has certainly alleged facts showing that the Individual Defendants “knew or

   should have known that [AmTrust], over whom [the Individual Defendants] had

   control, was engaging in fraudulent conduct.” Special Situations Fund III QP,

   L.P. v. Deloitte Touche Tohmatsu CPA, Ltd., 33 F. Supp. 3d 401, 439 (S.D.N.Y.

   2014). Accordingly, Plaintiff has adequately pleaded his Section 20(b) claim.

                                     CONCLUSION

         For the reasons explained above, Defendants’ motion to dismiss is

   DENIED.

         Defendants are hereby ORDERED to file a responsive pleading on or

   before September 4, 2020. Further, the parties are hereby ORDERED to

   submit a proposed case management plan to the Court on or before

   September 11, 2020.

         SO ORDERED.

   Dated:      August 14, 2020
               New York, New York               __________________________________
                                                     KATHERINE POLK FAILLA
                                                    United States District Judge
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                                                    Transaction ID 67446229
                                                    Case No. N22C-04-010 MMJ CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                          C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                     PRAECIPE

   TO:         Prothonotary
               Superior Court of the State of Delaware
               Leonard L. Williams Justice Center
               500 North King Street
               Wilmington, DE 19801

         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 524. At the time of service, the
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1021 of 1049 PageID #: 1033




   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         FORGE UNDERWRITING LIMITED


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 524. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         ASPEN SYNDICATE 4711


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 525. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         MARKEL BERMUDA LIMITED



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         PLEASE ISSUE a summons to the Plaintiffs’ counsel of record, commanding

   him to summon and direct the below-named Defendants to answer the Complaint by

   serving the below-named Defendant pursuant to 10 Del. C. § 3104 with copies of

   the Summons and Complaint as follows:

         MARKEL BERMUDA LIMITED
         10275 W. Higgins Road, Suite 750
         Rosemont, IL 60018


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 525. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         ALLIANZ GLOBAL US RISKS INSURANCE COMPANY


         PLEASE ISSUE a summons to the Plaintiffs’ counsel of record, commanding

   him to summon and direct the below-named Defendants to answer the Complaint by

   serving the below-named Defendant pursuant to 10 Del. C. § 3104 with copies of

   the Summons and Complaint as follows:




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         ALLIANZ GLOBAL US RISKS INSURANCE COMPANY
         225 W. Washington St., #1800
         Chicago, IL 60606-3484


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 525. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         ARCH INSURANCE COMPANY


         PLEASE ISSUE a summons to the Plaintiffs’ counsel of record, commanding

   him to summon and direct the below-named Defendants to answer the Complaint by

   serving the below-named Defendant pursuant to 10 Del. C. § 3104 with copies of

   the Summons and Complaint as follows:

         ARCH INSURANCE COMPANY
         210 Hudson Street, Suite 300
         Jersey City, NJ 07311-1107


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the


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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1024 of 1049 PageID #: 1036




   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 525. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         IRONSHORE INDEMNITY, INC.


         PLEASE ISSUE a summons to the Plaintiffs’ counsel of record, commanding

   him to summon and direct the below-named Defendants to answer the Complaint by

   serving the below-named Defendant pursuant to 10 Del. C. § 3104 with copies of

   the Summons and Complaint as follows:

         IRONSHORE INDEMNITY, INC.
         175 Berkeley Street
         Boston, MA 02116


         PLEASE ISSUE summons to the below-named Defendant for service by the

   Sheriff of Kent Castle County upon the Defendant listed below by serving two (2)

   copies of the Summons, Praecipe, and Complaint for the Defendant on the

   Department of Insurance, State of Delaware, 1351 West North Street, Dover,

   Delaware 19904, in accordance with 18 Del. C. § 525. At the time of service, the

   sheriff will deliver a check payable to the Commissioner of Insurance in the amount

   of $25.00, representing the required fee.

         U.S. SPECIALTY INSURANCE COMPANY



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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1025 of 1049 PageID #: 1037




         PLEASE ISSUE a summons to the Plaintiffs’ counsel of record, commanding

   him to summon and direct the below-named Defendants to answer the Complaint by

   serving the below-named Defendant pursuant to 10 Del. C. § 3104 with copies of

   the Summons and Complaint as follows:

         U.S. SPECIALTY INSURANCE COMPANY
         13403 Northwest Freeway
         Hoston, TX 77040

                                            BERGER HARRIS LLP

                                            /s/ David J. Baldwin
                                            David J. Baldwin (No. 1010)
                                            Peter C. McGivney (No. 5779)
                                            Zachary J. Schnapp (No. 6914)
                                            1105 N. Market Street, 11th Floor
                                            Wilmington, Delaware 19801
                                            Phone: (302) 655-1140
                                            Fax: (302) 655-1131
                                            dbaldwin@bergerharris.com
                                            pmcgivney@bergerharris.com
                                            zschnapp@bergerharris.com

                                            Attorneys for Plaintiff
   Dated: April 1, 2022




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                                                      Case No. N22C-04-010 MMJ CCLD
                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1027 of 1049 PageID #: 1039




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   ALLIANZ GLOBAL US RISKS INSURANCE COMPANY

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      Case No. N22C-04-010 MMJ CCLD
                                                          SUMMONS – LONG ARM

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   TO: PLAINTIFF’S COUNSEL

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1029 of 1049 PageID #: 1041




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   ALLIANZ GLOBAL US RISKS INSURANCE COMPANY

   THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      Case No. N22C-04-010 MMJ CCLD
                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1031 of 1049 PageID #: 1043




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   ARCH INSURANCE COMPANY

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      Case No. N22C-04-010 MMJ CCLD
                                                          SUMMONS – LONG ARM

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   TO: PLAINTIFF’S COUNSEL

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1033 of 1049 PageID #: 1045




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   ARCH INSURANCE COMPANY

   THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1035 of 1049 PageID #: 1047




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   ASPEN SYNDICATE 4711

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1037 of 1049 PageID #: 1049




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   FORGE UNDERWRITING LIMITED

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      Case No. N22C-04-010 MMJ CCLD
                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1039 of 1049 PageID #: 1051




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   IRONSHORE INDEMNITY, INC.

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      Case No. N22C-04-010 MMJ CCLD
                                                          SUMMONS – LONG ARM

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   TO: PLAINTIFF’S COUNSEL

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1041 of 1049 PageID #: 1053




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   IRONSHORE INDEMNITY, INC.

   THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      EFiled: Apr 01 2022 12:17PM EDT
                                                      Transaction ID 67446229
                                                      Case No. N22C-04-010 MMJ CCLD
                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1043 of 1049 PageID #: 1055




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   MARKEL BERMUDA LIMITED

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1044 of 1049 PageID #: 1056
                                                      EFiled: Apr 01 2022 12:17PM EDT
                                                      Transaction ID 67446229
                                                      Case No. N22C-04-010 MMJ CCLD
                                                          SUMMONS – LONG ARM

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   TO: PLAINTIFF’S COUNSEL

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1045 of 1049 PageID #: 1057




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   MARKEL BERMUDA LIMITED

   THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      EFiled: Apr 01 2022 12:17PM EDT
                                                      Transaction ID 67446229
                                                      Case No. N22C-04-010 MMJ CCLD
                                     SUMMONS – INSURANCE COMMISSIONER

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   THE STATE OF DELAWARE
   TO THE SHERIFF OF KENT COUNTY

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1047 of 1049 PageID #: 1059




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   U.S. SPECIALTY INSURANCE COMPANY

   TO THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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                                                      EFiled: Apr 01 2022 12:17PM EDT
                                                      Transaction ID 67446229
                                                      Case No. N22C-04-010 MMJ CCLD
                                                          SUMMONS – LONG ARM

         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


    AMTRUST FINANCIAL SERVICES,
    INC.,

                Plaintiff,

                v.                           C.A. No. N22C-____________ CCLD

    FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
    ASPEN SYNDICATE 4711,        TWELVE DEMANDED
    MARKEL BERMUDA LIMITED,
    ALLIANZ GLOBAL US RISKS
    INSURANCE COMPANY, ARCH
    INSURANCE COMPANY,
    IRONSHORE INDEMNITY, INC.,
    and U.S. SPECIALTY INSURANCE
    COMPANY,

                Defendants.


                                      SUMMONS

   TO: PLAINTIFF’S COUNSEL

         YOU ARE COMMANDED:

         1.    To summon the below-named Defendants so that, within twenty (20)

   days after serve hereof upon Defendants, exclusive of the day of service, Defendants

   shall serve upon David J. Baldwin, Plaintiff’s attorney, whose address is c/o Berger

   Harris LLP, 1105 N. Market Street, 11th Floor, Wilmington, DE 19801, answers to
Case 1:22-cv-01210-UNA Document 2-1 Filed 09/15/22 Page 1049 of 1049 PageID #: 1061




   the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense).

         2.     To serve upon Defendants a copy hereof and of the Complaint (and of

   the Affidavit of Demand if any has been filed by Plaintiff).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy

   U.S. SPECIALTY INSURANCE COMPANY

   THE ABOVE-NAMED DEFENDANT

         In case of your failure, within twenty (20) days after service hereof upon you,

   exclusive of the day of service, to serve on Plaintiff’s attorney names above answers

   to the Complaint (and, if an Affidavit of Demand has been filed, an Affidavit of

   Defense), judgment by default will be rendered against you for the relief demanded

   in the Complaint (or in the Affidavit of Demand, if any).

   Dated: April ___, 2022                        LISA FONTELLO
                                                 Prothonotary


                                                 ______________________________
                                                 Per Deputy




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